                              Case 1:23-cv-20727-RKA Document 106-30 Entered on FLSD Docket 06/09/2023 Page 1 of
                                                                    401
4/6/23, 4 :25 PM                                                                    tankbottoms.eth I Address Ox5d95baEBB84 12AD827287240A5c28 1E3 b830d27E I Etherscan


   •       Address       Ox5d95baEEIB8412AD827287240A5c281E3bB30d27E                      d)     =~     ~




       O tankllottoms.elh Q                                                                                                                                                                                         *    More     v




        Overview                                                                        More Info                                                                Multi Chain

        ETH BALANCE                                                                     PRIVATE NAME TAGS                                                        MULTICHAIN ADDRESSES
        ♦ 1 .000866563619795418 ETH                                                        +Add                                                                  9 addresses found via Blockscan   0

        ETH VALUE                                                                       LAST TXN SENT
        $ 1,875.79 (@$1,874.17/ETH)                                                     Oxa4ee4cf3823fb... from 14 days 37 mins ago

        TOKEN HOLDINGS                                                                  FIRST TXN SENT

          $4,095.51 (>172 Tokens)                                           Ei          Oxd7c37add39fb9 ... from 610 days 42 m ins ago




       1ran5.ae1100"     Internal Transactions   Token Transfers (ERC·20)        NFT Transfers        Analytics    Comments



        ~¥" latest 25 from a total of 2,407 transactions

                  Transaction Hash                Method ©          'v    Block 'v        Age                           From   'v                           To   'v                              Value              Tm Fee

                  Oxa4ee4of3823fb9f47c...               Transfer          16892372        14 days 37 mins ago           O tankbottoms.eth c9         Wt     la'.! Movement DAO: Pre... c9        4.1 657 4007 ETH   0.00091715


                  Oxc2ecd209865350o9 ...                Transfer          16886009        14 d ays 22 hrs ago           Ox608125 ... 7239Fe80   cP    ..    () tankbottoms.eth       LD          2.8902365 ETH      0.00043382.


                  Oxbcaaf690e00b9,'.580...          Mint Terrano...       16723593        37 days 18 hrs ago            O tankbottoms.eth c9         001    la'.! Oxl a7B3c...3723a189 c9        O.OSETH            0.00474548


                  Oxc7aaafadc25ff7.~66._            Mini From Fix....     16708453        39 days 21 hrs ago            O tankbottoms.eth cP         001    la'.! Foundation : Fixed Pri... LD   0.01 ETH           0.00262679


                  Oxd0766d8d56faf8e97-                     Bid            16708366        39 days 21 hrs ago            O tankbottoms.eth LD         OUT    la'.! 0)(607c44..8E9a7a42      cP    0.515 ETH          0.00561949


                  Oxa8c2aa2da76c0d65 ..                 Tr.!nsftt         16707137        40 days 1 hr ago              O tankbottoms.eth LD         OUT    O benreed,elh LD                     6.5 ETH            0.00046192


                  Oxb743e991 Ob98fll0e8 ..•             Transft!t         16707129        40 days 1 hr ago              O tankbottoms.eth c9         OUT    Ox55dEd4...c904d510           c9     SETH               0.00047873


                  Ox7d5b707b8135cB889...               Withdraw           16706461        40 days 3 hrs ago             O tankbottoms.eth c9         OU1'   la'.! Wrapped Ether c9               OETH               0.00106414


                  Ox58d9a04895d92 Saa._             Futfill Basic Of...   16703919        40 days 12 hrs ago            O tankbottoms.eth cP                la'.! Seaport 1.1   c9               0.097 ETH          0.002.95425




htlps://ethe rscan.io/address/Ox5d95baE 8884 12AD827 287240A5c281 E3b830d27E                                                                                                                                                          1/2



                                                                                                                  EXHIBIT 127                                                                                 PLAINTIFF0001011
4/6/23, 4:25 PM                       Case 1:23-cv-20727-RKAtankbottoms.eth
                                                                Document        106-30
                                                                            I Address      Entered on FLSD Docket
                                                                                      Ox5d95baEBB8412AD827287240A5c281    06/09/2023
                                                                                                                       E3bB30d27E I ElherscanPage 2 of
                                                                                          401
       e       Transaction Hash                   Method(z)              Block            Age                           From                                         To                                       Value                     Txn Fee


       @       Oxa931aadc8cbl 5ae9 ...                    Mint           16703487         40 days 13 hrs ago            O tankbottoms.eth (!)               OUT      I;') Manifold: lazy Claim [9             0.008 ETH                 0.00262616


       @       Ox56809c73e8f29e780._                      Mint           16695136         41 days 18 hrs ago            O tankbottoms.eth c.D               OUT      ~ Manifold: Lazy Claim      [.O          0 .008 ETH                0.00372585


       @       Ox93f1252319a91890L                     Set Addr          16694101         41 days 21 hrs ago            O tankbottoms.eth c9                OIIT     I;') ENS: Public Resolver 2 c,O          OETH                      0.00188935


       @       Ox0ad3b95a577ba6b4 __                Register With ...    16694093         41 days 21 hrs ago            O tankbottoms.eth c.D               OIIT     ~ ENS: ETH Registrar __       c9         0 .0033409 ETH            0.01088521


       @       Oxeb7acdcdb1549245 ...                   Cancel           16694049         41 days21 hrs ago             O tankbottoms.eth c9                0\JT     I;') Seaport 1 .1   c9                   OETH                      0.00338742


       @       Ox6b2545a0b7b9c74b...                    Commit           16693987         41 days 22 hrs ago            O tankbottoms.eth c,O               OIJT     ~ ENS: ETH Registrar ...      c!)        OETH                      0.00170117


       @       Oxb4d0a1 e289aaa2c4 ...                 Purchase          16693881         41 days 22 hrs ago            O tankbottoms.eth c,O               O'JT     I;') Base: Base, lntroduc... c,O         0.000777 ETH              0.00372301


       @       Oxdecf f5b5f11 f6dd6bd...                Set Text         16693764         41 days 22 hrs ago            Otankbottoms.eth c!)                O!IT     ~ ENS: Public Resolver 2     c.D         OETH                      0.00392301


       @       Oxf f0dc00c834856574..                Batch Airdrop       16693758         41 days 22 hrs ago            O tankbottoms.eth c,O               OIIT     ~ Ox6C8ACA...9036E6aA             c,O    OETH                      0.0023155


       @       Ox258349f7f46b24bee. .•                 Multicall         16693753         41 days 22 hrs ago            Otankbottoms.eth (!)                O.JT     I;') ENS: Public Resolver 2 c,O          OETH                      0.00505306


       @       Ox99c0f99f 9e34dcf 28f ...            Batch Airdrop       16693688         41 days 23 hrs ago            O tankbottoms.eth c.D               011T     ~ Ox6C8ACA...9036E6aA             [.O    OETH                      0.00692363


       @       Ox6bfdaed387fc6343f...                   Cancel           16693050         42 days 1 hr ago              O tankbottoms.eth c,O               O\JT     I;') Seaport 1 .1   cP                   OETH                      0.0033115


       @       Ox8823f1eOOf 9d42382._                   Cancel           16691886         42 days 5 hrs ago             () tankbottoms.eth c!)              OUT      ~ Seaport 1 .1      c.D                  OETH                      0.00456318


       @       Ox66825e9176c336cc ...               Set Approval ...     16691838         42 days 5 hrs ago             Otankbottoms.eth c,O                OUT      I;') Ox9eF81 B...49a8544c c,O            OETH                      0.00353472


       @       Oxd3996738c3ef70064...               Mint From Fix...     16690831         42 days 8 hrs ago             O tankbottoms.eth c,D               OIIT     ~ Foundation: Fixed Pri...    c.D        O.Dl ETH                  0.00525271


       @       Oxede753dl 2 1272728 ...             Mint From Fix...     16690825         42 days 8 hrs ago             O tankbottoms.eth c,O               OIIT     I;') Foundation: Fixed PrL c,O           0.025 ETH                 0.00462621


                                                                                                             VIEW   ALL TRANSACTIONS      ➔




                                                                                                                                                                                                                            I Download: CSV Expon ch I

   ~; A wallet address is a publicly available address that allows its owner to receive funds from another party. To access the funds in an address, you must have its private key. Learn more about addresses in our Knowledge Base.




                                                                                                                                                                                                                   PLAINTIFF0001012
htlps ://elherscan .io/address/Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                                                                                               212
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                   Transactions




                                                                                 PLAINTIFF0001013
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                                                                             401
   Transactions
   For Ox5d95baE888412AD827287240A5c281 E3b830d27E O             tin kbottoms.eth




      A total of 2,407 transactions found                                                                                                                                   First   <     Page 1 of 25   >   Last   '\{v



       0      Txn Hash                      Method0              Block              Age                    F-rom                             To                                         Value                  Txn Fee


       @      Oxa4ee4cf3823fb9f47c...            Transfer        16892372           14 days 44 m ins ago   O tankbottoms.eth   L□     OUT    0 Movement DAO: Presale [9                 4.16574007 ETH         0.00091715


       @      Oxc2ecd209865350c9...              Transfer        16886009           14 days 22 hrs ago     Ox608125...7239Fe80 c..D    IN    O tankbottoms.eth c..D                     2.890236506 ETH        0.00043382


       @      Oxbcaaf690e00b92580...         Mint Terraflo...    16723593           37 days 18 hrs ago     O tankbottoms.eth c.,D     Oll!   E] Ox1a7B3c...3723a189 c.,D                0.05 ETH               0.00474548


       @      Oxc7aaafadc25ff72b66...        Mint From Fix .•    16708453           39 days 21 hrs ago     O tankbottoms.eth [9       OUT    ®Foundation: Fixed Pric ...    [9          0.01 ETH               0.00262679


       @      Oxd0766d8d56faf8e97...                Bid          16708366           39 days 21 hrs ago     O tankbottoms.eth c..D     Oll!   0 Ox6D7c44...8E9a 7a42 L□                  0.515 ETH              0.00561949


       @      Oxa8c2aa2da 76c0d65...             Transfer        16707137           40 days 1 hr ago       Otankbottoms.eth L□        OVT    O benreed.eth c..□                         6.5 ETH                0.00046192


       @      0Xb743e991 Ob98f40e8...            Transfer        16707129           40 days 1 hr ago       O tankbottoms.eth [9       Oll!   Ox55dEd4 ...c904d510 c..D                  5 ETH                  0.00047873


       @      Ox7d5b707b8f35c8889...            Withdraw         16706461           40 days 3 hrs ago      O tankbottoms.eth   L□     OLIT   0 Wrapped Ether c..D                       0 ETH                  0.00106414


       @      Ox58d9a04895d92Baa...          Fulfill 8aslc0r_    16703919           40 days 12 hrs ago     O tankbottoms.eth   L□     OIJJ   0 Seaport 1.1 L□                           0.097 ETH              0.00295425


       @      Oxa931aadc8cb15ae9...                M int         16703487           40 days 14 hrs ago     0   tankbottoms.eth [.D    Oll!   El Manifold: Lazy Claim [..D               0.008 ETH              0.00262616


       @      Ox56809c73e8f29e780...               Mint          16695136           41 days 18 hrs ago     O tankbottoms.eth [.D      Oll!   ®Manifold: Lazy Claim [.D                  0.008 ETH              0.00372585


       @      Ox93f1252319a91890L                Set Addr        16694101           41 days 21 hrs ago     O tankbottoms.eth [9       OIJJ   0 ENS: Public Resolver 2 [..D              0 ETH                  0.00188935


       @      Ox0ad3b95a577ba6b4...          Register W1tri -~   16694093           41 days 21 hrs ago     O tankbottoms.eth   c..□   OUT    0 ENS: ETH Registrar Co...     LO          0.003340904 ETH        O.Q1088521


       @      Oxeb7acdcdb1549245...               Cancel         16694049           41 days 21 hrs ago     0   tankbottoms.eth [.D    OUT    ®Seaport 1.1 [.D                           0 ETH                  0.00338742


       @      Ox6b2545a0b7b9c74b...              Commit          16693987           41 days 22 hrs ago     0   tankbottoms.eth [9     our    0 ENS: ETH Registrar Co...     [9          0 ETH                  0.00170117


       @      Oxb4d0a 1e289aaa2c4 ...           Purchase         16693881           41 days 22 hrs ago     O tankbottoms.eth i:9      OlJJ   0 Base: Base, Introduced ... c..D          0.000777 ETH           0.00372301


       @      Oxdecff5b5f11 f6dd6bd...           Set Text        16693764           41 days 22 hrs ago     O tankbottoms.eth [.D      OUT    ®ENS: Public Resolver 2 [9                 0 ETH                  0.00392301


                                                                                                                                                                                                PLAINTIFF0001014
https://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                                                                     1/5
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                                                                           401
      CD    Txn Hash                 Method(v    Block Age              From                           To                  Value                                                    Txn Fee


      @     0xff0dc00c834856574...      Batch Airdrop      16693758   41 days 22 hrs ago   0 tankbottoms.eth t,O      our     E] 0x6C8ACA...9D36E6aA (9           0 ETH             0.0023155


      @     0x258349f7f46b24bee...         Multicall       16693753   41 days 22 hrs ago   O tankbottoms.eth t,O      OUT     0 ENS: Public Resolver 2 t,O        0 ETH             0.00505306


      @     0x99c0f99f9e34dcf28f...     Batch Airdrop      16693688   41 days 23 hrs ago   0 tankbottoms.eth c9       Q(Jf    0 0x6C8ACA...9D36E6aA t,O           0 ETH             0.00692363


      @     0x6bfdaed387fc6343f ...        Cancel          16693050   42 days 1 hr ago     O tankbottoms.eth t,O      OIJl    0 Seaport 1.1 t,O                   0 ETH             0.0033115


      @     0x8823fl e00f9d42382 ...       Cancel          16691886   42 days 5 hrs ago    O tankbottoms.eth t,O      ovr     El Seaport 1.1 c9                   0 ETH             0.00456318


      @     0x66825e9176c336cc...      Set Approval ...    16691838   42 days 5 hrs ago    0 tankbottoms.eth t,O      OUT     0 0x9eF81 B...49a8544c t,O          0 ETH             0.00353472


      @     0xd3996738c3ef70064...     M int From FCc      16690831   42 days 8 hrs ago    O tankbottoms.eth t,O      OIJl    0 Foundation: Fixed Pric...   t,O   0.0, ETH          0.00525271


      @     0xede753d121272728...      Mint From Ftx ._    16690825   42 days 8 hrs ago    O tankbottoms.eth c9       OIJl    0 Foundation: Fixed Pric...   t,O   0.025 ETH         0.00462621


      @     0x62722a8970b68ff5f...         Deposit         16689070   42 days 14 hrs ago   O tankbottoms.eth t,O      OUT     0 Wrapped Ether t,O                 13 ETH            0.00118939


      @     0x97d6334fec22e493e...     Fulfil1 Basic0r._   16689049   42 days 14 hrs ago   O tankbottoms.eth t,O      OUT     0 Seaport 1.1 t,O                   0.092 ETH         0.00453739


      @     0x0162ddff14a6ce53d...         Execute         16688901   42 days 15 hrs ago   O tankbottoms.eth c9       OUT     0 Uniswap: Universal Ro...    t,O   0 ETH             0.0057126


      @     0xa75e57908S74a92b...          Approve         16688900   42 days 15 hrs ago   0   tankbottoms.eth t,O    OUT     0 Compound: COMP Tok...       t,O   0 ETH             0.00134078


      @     0x63782c6e99e21 c 13...        Execute         16688830   42 days 15 hrs ago   O tankbottoms.eth c9       Olli'   0 Uniswap: Universal Ro... c9       0 ETH             0.00486962


      @     0xc64a869213ba469d...          Approve         16688827   42 days 15 hrs ago   O tankbottoms.eth t,D      OUT     0 SushlSwap: SUSHI Tok...     t,D   0 ETH             0.00119097


      @     0x09e1571 f63c3f55ad ...   Exec Ttansact...    16688788   42 days 15 hrs ago   O tankbottoms.eth t,O      OUT     E] 0xb05E9E,..d40F4345 (9           0 ETH             0.01628321


      @     0xf703002b85e36b2c3...         Redeem          16688708   42 days 15 hrs ago   O tankbottoms.eth   t,O    OUT     0 Compound: cSushi Tok...     [.O   0 ETH             0.00467108


      @     0x58eccb8fbd038664e...     Set Approval ...    16688053   42 days 18 hrs ago   O tankbottoms.eth   t,D    OUT     0 0x2E840LfC721 Eff c9              0 ETH             0.00434305


      @     0x8b084ebb65b49b88f...           Mint          16688033   42 days 18 hrs ago   O tankbottoms.eth t,O      OUT     E] Manifold: Lazy Claim [.O         0.008 ETH         0.00451429


      @     0x823ffb3f8560c67 5df...   Set Approval ...    16688030   42 days 18 hrs ago   0 tankbottoms.eth c9       Ol/T    E] 0x9AD003...59A41a9e [.O          0 ETH             0.00178027


      @     0x651430d546d9bd2a...          Transfer        16685102   43 days 4 hrs ago    0x0Df721 ...073506f0 t,O    IN     O tankbottoms.eth c9                0.012593208 ETH   0.0012334


      @     0xa7732970bd5153adf..      Set Approval ...    16681866   43 days 15 hrs ago   O tankbottoms.eth t,O      Q(Jf    0 0xE78339.•.0A8E0099 [.O           0 ETH             0.00123972


      @     0xc811 e747a0847713 ...    Set Approval ...    16681851   43 days 15 hrs ago   O tankbottoms.eth t,O      OIJl    0 0x2F9B2e... 15a6A0D5 [9           0 ETH             0.00169386

                                                                                                                                                                      PLAINTIFF0001015
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                                         2/5
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      CD    Txn Hash                Method(v    Block Age             From                           To                  Value                                           Txn Fee


      @     Ox6144f6c2175c803ef...          M int        16681419   43 days 16 hrs ago   0 tankbottoms.eth t,O      our     0 Manifold: Lazy Claim c9       0.008 ETH    0.00373007


      @     Oxf6f08d608e90820fa...       Wrthdraw        16681187   43 days 17 hrs ago   O tankbottoms.eth t,O      OUT     0 Wrapped Ether t,O             0 ETH        0.00075356


      @     Oxb5a2c0325269b64a ...    Set Approval ...   16680848   43 days 18 hrs ago   0 tankbottoms.eth c9       Q(Jf    0 Ox0f4738 ...42DDC53f c..□     0 ETH        0.00114948


      @     Ox86bb89e2b09a8389...     Set Approval ...   16680842   43 days 18 hrs ago   O tankbottoms.eth c..□     OIJl    0 Queens+KingsAvatars: ... c9   0 ETH        0.0011591


      @     Oxe12561408a4f1 b3ab...   Set Approval ...   16680838   43 days 18 hrs ago   O tankbottoms.eth t,O      ovr     E] Ox2DOD57...5a814154 [.O      O ETH        0.00110124


      @     Ox177a68b032b03fa Sc...   Set Approval ...   16680834   43 days 18 hrs ago   0 tankbottoms.eth c..O     OUT     0 Ox885525...3EF005c5 c..□      0 ETH        0.001111


      @     Oxdefd0f3deed38c548...    Set Approval ...   16680826   43 days 18 hrs ago   O tankbottoms.eth c..□     OIJl    0 Oxe70659...03dF8e43 (9        0 ETH        0.00122775


      @     Ox9e85e7b2e9807 486...    Set Approval ...   16680812   43 days 18 hrs ago   O tankbottoms.eth c:9      OIJl    0 Gnars: GNAR Token c9          0 ETH        0.0012818


      @     Ox21b078e0e3e1007d...     Set Approval ...   16680784   43 days 18 hrs ago   O tankbottoms.eth [.O      OUT     0 Ox68A51 o...3d342b6D (9       0 ETH        0.00121014


      @     Oxd47603b318d0a0ae ...        Cancel         16680769   43 days 18 hrs ago   O tankbottoms.eth c..O     OUT     0 Seaport 1.1 c..□              0 ETH        0.00154306


      @     Oxb9c7ce2d3f1d18a5a...     Cancel Order      16678904   44 days 1 hr ago     O tankbottoms.eth c9       OUT     0 Blur.io: Marketplace c..□     0 ETH        0.00202134


      @     Oxa73dc8faa02a77e77...        Approve        16678901   44 days 1 hr ago     0   tankbottoms.eth [.O    OUT     0 Wrapped Ether [.O             0 ETH        0.00143233


      @     Ox44a0abd69da 1bcf6d...       Deposit        16678567   44 days 2 hrs ago    O tankbottoms.eth c:9      Olli'   0 Wrapped Ether c..□            13 ETH       0.0019159


      @     Ox7f2f987c60e5c9604...          M int        16674604   44 days 15 hrs ago   O tankbottoms.eth   c..□   OUT     0 Manifold: Lazy Claim (9       0.008 ETH    0.0030631


      @     Oxb03a58b4d26d7be8...         Transfer       16673848   44 days 18 hrs ago   O tankbottoms.eth   t,O    OUT     O natasha-pankina.eth [.O       0.2 ETH      0.00066956


      @     Ox52914908fb333de70...       Purchase        16673843   44 days 18 hrs ago   O tankbottoms.eth   c..□   OUT     0 Ox06ad0c...00b37356 t,O       0.4 ETH      0.00560356


      @     Ox55807b4537f43e74f...        Traoofer       16673110   44 days 20 hrs ago   O tankbottoms.eth c..□     OUT     0 natasha-pankina.eth c9        0.2 ETH      0.00059065


      @     Ox605a2f949caf66d16...        Transfer       16672758   44 days 21 hrs ago   Otankbottoms.eth c..□      OUT     Ox3bB438...aA9048Db c..□        2 ETH        0.00063591


      @     Oxcb267e82e9fdb4797...        Transfer       16669971   45 days 7 hrs ago    Ox608125...7239Fe80 c..□    IN     Otankbottoms.eth c..□           2.95 ETH     0.00092138


      @     Ox7bb850e26861 efb95...         M int        16666777   45 days 17 hrs ago   O tankbottoms.eth t,O      OUT     0 Manifold: Lazy Claim c..□     0.008 ETH    0.00289737


      @     Ox51e6c30930ae589e...     Set Approval ...   16666767   45 days 18 hrs ago   O tankbottoms.eth   c..□   Q(Jf    0 Ox928f07...fEa65fcf c..□      0 ETH        0.00102144


      @     Ox09e2a8729d01ca81f...     Cancel Order      16666739   45 days 18 hrs ago   O tankbottoms.eth t,O      OIJl    0 Blur.io: Marketplace c..O     0 ETH        0.00147016

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       CD     Txn Hash                  Method(v    Block Age             From                           To                  Value                                             Txn Fee


       @      Ox08ce56c875587c4c...       Cancel Orders        16666738    45 days 18 h rs ago    0   tankbottoms.eth t,O   our    0 Blur.io: Marketplace t,D     0 ETH        0.00464413


       @      OX511 ff8ffbcfeca702c...    Cancel Orders        16666737    45 days 18 hrs ago     O tankbottoms.eth t,O     OUT    0 Blur.io; Marketplace t,O     0 ETH        0.0023625


       @      Ox21 ff2ed823c3fa992 ...    Cancel Orders        16666736    45 days 18 hrs ago     0 tankbottoms.eth [9      Q(Jf   0 Blur.io: Marketplace t,D     0 ETH        0.00493438


       @      Oxefal b795db51 b73ac...    Cancel Orders        16666733    45 days 18 hrs ago     O tankbottoms.eth t,O     O\JT   0 Blur.io: Marketplace t,O     0 ETH        0.009293


       @      Ox80cb63c7c3cd29bb ...       Cancel Order        16666731    45 days 18 hrs ago     O tankbottoms.eth t,O     ovr    El Blur.io; Marketplace t,O    O ETH        0.001 59731


       @      Oxe56bbeb60662de45...       Cancel Orders        16666717    45 days 18 hrs ago     0   tankbottoms.eth t,O   OUT    0 Blur.io: Marketplace t,O     0 ETH        0.00358937


       @      Oxa6298617fda49ec7f...      Cancel Orders        166667 15   45 days 18 hrs ago     O tankbottoms.eth t,O     O\JT   0 Blur.io: Marketplace t,O     0 ETH        0.00271102


       @      Oxfb4d4aa58ba4712e6...            Mint           16660354    46 days 1 5 h rs ago   O tankbottoms.eth c:9     O\JT   0 Manifold; Lazy Claim c:9     0.008 ETH    0.00265492


       @      Ox9eb0c608d14b8d2e ...      Fulfill Basic Or,_   16653099    47 days 16 hrs ago     O tankbottoms.eth [.O     OUT    0 Seaport 1.1 [.O              0.25 ETH     0.0033034


       @      Ox00864a8a0ec78a 7e...            Mint           16651184    47 days 22 hrs ago     O tankbottoms.eth   t,O   OUT    0 Manifold: Lazy Claim t,D     0.008 ETH    0.00533567


       @      Oxfd104224a5043b3e6...      Transfer From        16650279    48 days 1 hr ago       O tankbottoms.eth [9      OUT    0 OxB03f66...c F58dafb t,O     0 ETH        0.00180653


       @      Oxd l db81f127452cdc1 ...   Transfer From        16650271    48 days 1 hr ago       0   tankbottoms.eth [.O   OUT    0 OxBOCf1 a...02Fb08B2 @       0 ETH        0.00270163


       @      Oxf75833c843f463018...      Safe Transfer ·-     16650268    48 days 1 hr ago       O tankbottoms.eth c:9     OUT    0 Oxc34444...87f066dA [9       0 ETH        0.00329134


       @      Ox8f882ff7f3acc36a40...     Transfer From        16650259    48 days 1 hr ago       O tankbottoms.eth t,D     OUT    0 Ox3F3dA1...BA8D8FOO (9       0 ETH        0.00265793


       @      Oxc3108493a7e768fl 5 ...    Fulfill Basic Or__   16646772    48 days 13 hrs ago     O tankbottoms.eth   t,O   OUT    0 Seaport 1.1 t,O              0.0089 ETH   0.00346985


       @      Ox92160601 1190d362 ...       Mint Batch         16646687    48 days 13 h rs ago    O tankbottoms.eth   t.O   OUT    0 Manifold; Lazy Claim @       0.38 ETH     0.00266299


       @      Ox8f71 b04ef834dc4aa ...      Mint Batch         16646628    48 days 14 h rs ago    O tankbottoms.eth   t,D   OUT    0 Manifold: Lazy Claim cP      0.024 ETH    0.00315361


       @      Oxbe81 e8292aabccdb...            Mint           16643972    48 days 22 hrs ago     O tankbottoms.eth t,O     OUT    0 Manifold: Lazy Claim   t,D   0.066 ETH    0.00747444


       @      Ox0692b4d9a827bec2 ...          Transfer         16638464    49 days 17 h rs ago    0 tankbottoms.eth [9      OUT    O developer.beef69 t.O         2 ETH        0.0010749


       @      Ox594b9fb1c1 b4b705c...     Set Approval ...     16638243    49 days 18 hrs ago     O tankbottoms.eth [.O     OUT    0 Loot LOOT Token @            O ETH        0.00192295


       @      Oxb25cfecc66922fd2fb...        Withdraw          16638195    49 days 18 hrs ago     O tankbottoms.eth   t,O   Q(Jf   0 Blur: Biddi ng t,O           0 ETH        0.001 58456


       @      Ox97b28907f207314fb...      Exec Transact...     16638166    49 days 18 hrs ago     O tankbottoms.eth   [.O   O\JT   0 Oxb05E9E...d40F4345 [.O      0 ETH        0.0021689

                                                                                                                                                                       PLAINTIFF0001017
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                                     4 /5
4/6/23, 4 :26 PM                        Case 1:23-cv-20727-RKA Document 106-30      Entered on
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                                                                                  401
       CD      Txn Hash                      Method(v    Block Age             From                           To                  Value                                                                                                            Txn Fee


       @       Ox69d5ce49363f6ef0b...                 Exec Transact...      16638162          49 days 18 hrs ago              0   tankbottoms.eth t,D              0VI       0 Oxb05E9E... d40F4345 t,D                  0 ETH                     0.00346325


       @       OX4356cedadb846ba4...                      Transfer          16638121          49 days 18 hrs ago             O meowsdao.eth t,D                     IN       0   tankbottoms.eth t,D                     0.12030424 ETH            0.0008002


       @       Oxa95ab25f9a5769b24...                 Print Reserve...      16637876          49 days 19 hrs ago             0 tankbottoms.eth (9                  our       0 J uicebox: Terminal V1     t,D            0 ETH                     0.00186946


       @       Ox70504e1281 bc0a7f3 ...               Adopt Kitty Ca_       16637829          49 days 19 hrs ago             O tankbottoms.eth t,D                 OUT       0 Ox793290.. EC38EcE8 (9                    0.05 ETH                  0.00565865


       @       Ox541904abe6ca88ac ...                 Adopt Kitty Ca,.      16637793          49 days 19 hrs ago             O tankbottoms.eth t,D                 ovr      El Ox793290... EC38Ec E8 t,D                 0.05 ETH                  0.00672643


       @       Oxe111 f48baa7505591 ..                 Bulk Transfer        16637252          49 days 21 hrs ago              0 tankbottoms.eth t,D                OUT       0 OpenSea: Transfer Hel.,. c9               0 ETH                     0 .03211007


       @       Ox7196073cb83bac25 ...                 Set Approval ...      16637251          49 days 21 hrs ago              O tankbottoms.eth t,D                OUT       0 J PG People: JPG Token (9                 0 ETH                     0.00175282


       @       Oxc364a557ad1 e00c7 ...                Set Approval ...      16637250          49 days 21 hrs ago             O tankbottoms.eth c9                  OUT       0 0x13c136...56b8867C (9                    0 ETH                     0.00201774


       @       Ox20deb96ac9515780 ...                 Set Approval ...      16637249          49 days 21 hrs ago             O tankbottoms.eth t,D                 OUT       0 Bobu the Bean Fa rmer: ... t,D            0 ETH                     0.00183947


       @       Oxbaddc95d966e87d8 ...                 Set Approval ...      16637247          49 days 21 hrs ago             O tankbottoms.eth t,D                 OUT       0 0x9FB2EE ..a5dc404f t,D                   0 ETH                     0.00169734


       @       Oxa66 71 b9dcdcbfb828. ..              Set Approval ...      16637246          49 days 21 hrs ago             O tankbottoms.eth (9                  O\IT      0 Ox6A5D1 4 .. 503597DC t,D                 0 ETH                     0.0018756


       @       Oxl 63907624fe288320 ...               Set Approval ...      16637244          49 days 21 hrs ago             0    tankbottoms.eth t,D              OUT       0 OxAc9DB3... 3B181 799       (9            0 ETH                     0.00202135


       @       Ox94e1 5dd65bddc2e8 ...                Set Approval ...      16637242          49 days 21 hrs ago             O tankbottoms.eth c9                  Ollr      0 Ox329B5D...8Be11618 (9                    0 ETH                     0.00167956


       @       Oxfc25ca031 d72704dc..                 Set Approval ...      16637240          49 days 21 hrs ago             O tankbottoms.eth t,D                 OUT       § Avastars: AVASTARTo... t,D                0 ETH                     0.00181036


       @       Ox0dd813fe5b43b08ce...                 Set Approval ...      16637239          49 days 21 hrs ago             O tankbottoms.eth t,D                 OUT       0 Ox64931 F... 6996D764 t,D                 O ETH                     0.00181926


       @       Ox9465364c61 fc5c99c...                    Transfer          16632271          50 days 14 hrs ago              Ox4Ab54c...7305d80c t,D               IN      0    tankbottoms.eth t,D                     0.182725874 ETH           0.00063765


       @       Ox5e263262980232a8 ...                     Traoofer          16632268          50 days 14 hrs ago              OxF37FOE...38AdDaAB        (9         IN      0 tankbottoms.eth t,D                        0.19841521 ETH            0.00064942



      Show:     100        Records                                                                                                                                                                                    First    <    Page 1 of 25     >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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                                                                   Elhereum Transactions     FLSDI Elherscan
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   Transactions
   For 0x5d95baEBB8412AD827287240A5c281 E3bB30d27E O           taikbottoms.eth




     A total of 2,407 transactions found                                                                                                                           Flrst    <   Page2 of 25    >   Last   '\{v



      e      Txn Hash                      MethodG)                 Block        Age                  From                              To                                        Value             Txn Fee


      ©      0x77796422fb66d68f8...             Transfer           16632265      50 days 14 hrs ago   O meowsdao.eth [.O         IN     O tankbottoms.eth [.O                     0.25 ETH          0.00063448


      ©      0x1de38618f62234805...         Safe Transfer ,~       16632247      50 days 14 hrs ago   () tankbottoms.eth   cP   Ol'T    0 0xB03f66...cF58dafb [.O                 0 ETH             0.00229167


      ©      0xd305337effe974cbf...             Deposit            16632231      50 days 14 hrs ago   O tankbottoms.eth [,O     Ol'T    0 Blur. Bidding c.O                       0.6668 ETH        0.00081038


      ©      0xl 63a2c34b366d9efc...         Bulk Transfer         16632216      50 days 14 hrs ago   O tankbottoms.eth cP      Ol'T    0 OpenSea: Transfer Hel ... c9            0 ETH             0.01694305


      ©      0x77834c64af34da35d ...        Set Approval ...       16632215      50 days 14 hrs ago   O tankbottoms.eth [.O     OlT     0 OKPC: OKPC Token [.O                    0 ETH             0.00102458


      ©      0xdef8ee16a8fd21301 ...        Set Approval ...       16632213      50 days 14 hrs ago   () tankbottoms.eth [.O    OL·r    ®mannys.game: MNYG._          [.O         0 ETH             0.001 16269


      ©      0x99fa9e8f72840913e...         Set Approval -··       16632212      50 days 14 hrs ago   O tankbottoms.eth c.O     OlT     ®Turf Plots; TURF Token (9                0 ETH             0.00118881


      ©      0x4ad2ac1f15c6d8bcd ...        Set Approval -··       16632211      50 days 14 hrs ago   O tankbottoms.eth [.O     Ot.'T   0 0x45c233...7C050866 [.O                 0 ETH             0.00130959


      ©      0x7d2c629da01a788c...           Bulk Transfer         16632121      50 days 14 hrs ago   O tankbottoms.eth c.O     OLT     0 OpenSea: Transfer Hel... cP             0 ETH             0.00459668


      ©      0x3dc2f3693abe2ca50...         Set Approval ...       16632119      50 days 14 hrs ago   O tankbottoms.eth c.O     OlT     ®Nyan Cat: NyanBall Tok... (9             0 ETH             0.0013721 8


      ©      0x24af57b566ca838a1...         Set Approval ...       16632118      50 days 14 hrs ago   O tankbottoms.eth [,O     Ol1     ®Air Mail by Vinnie Hage...   [,O         0 ETH             0.00139781


      ©      0xc19ea31 fb40a64482 ...       Set Approval _..       16632117      50 days 14 hrs ago   O tankbottoms.eth [.O     OLT     0 0xc98a0C...96865be9 [.O                 0 ETH             0.00140906


      ©      Oxe0cf4227ad6327824...          Bulk Transfer         16632095      50 days 14 hrs ago   O tankbottoms.eth [.O     Ol1     0    OpenSea: Transfer Hel... LO          0 ETH             0.02487255


      ©      0x5969ce586f04e3f37...         Set Approval ...       16632094      50 days 14 hrs ago   0   tankbottoms.eth [,O   Ol'T    ®0x5CCbBC...dd361352 [.D                  0 ETH             0.00123991


      ©      0x1 a07d1e1d0fb955ee...        Set App,oval ...       16632093      50 days 14 hrs ago   O tankbottoms.eth c.D     OlT     0 0x97ed92...9e415e79 [.O                 0 ETH             0.00117786


      ©      0x26481 f3f0f45e3e3e...        Set Approval ..,       16632092      50 days 14 hrs ago   O tankbottoms.eth cP      OLT     0 0xEF8590 ...d5ee438D [.O                0 ETH             0.001 26767


      ©      0x5901 b6de791 eeae4f...       Set App,oval ...       16632091      50 days 14 hrs ago   O tankbottoms.eth (,0     OLT     ® Interface: IN][PA Token c.□             0 ETH             0.00114983


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      @     Oxc736e6951 e2c4506 ...      Set Approval ...      16632089    50 days 14 hrs ago   O tankbottoms.eth c.O      O<.'T   0 Oxa51cEe...b05039 1d c□         0 ETH        0.0011791 1


      @     Ox41000312d2a5f229 ...       Set App1oval...       16632088    50 days 14 hrs ago   O tankbottoms.eth c□       O,.'T   0 OpenSea: OPENSTORE ... L□       0 ETH        0.001 16868


      @     Ox50379b5bb3f0a59d6...       Set App,oval ...      16632087    50 days 14 hrs ago   O tankbottoms.eth c□       OI.T    0 Ox5276f4...4b167689 c□          0 ETH        0.00130239


      @     Oxda0d379da0050bf30...       Set Approval ...      16632086    50 days 14 hrs ago   ◊ tankbottoms.eth c□       OLT     0 Ox1AF26E...2839dC32 c□          0 ETH        0,00122688


      @     Ox82e28ae3b920b851f...       Set App,oval ...      16632085    50 days 14 hrs ago   O tankbottoms.eth [.O      OL'T    0 Bleeps: BLEEP Token [.O         0 ETH        0.00114808


      @     Oxf9e4cc9635461 ad94...      Fulfill Basic Or...   16631863    50 days 15 hrs ago   O tankbottoms.eth cP       OLT     0 Seaport 1.1 c□                  1.5111 ETH   0.00440429


      @     Ox9ee830ad7179219b ...           Execute           1662681 2   51 days 8 hrs ago    O tankbottoms.eth c□       OLT     0 Uniswap: Universal Ro...   c□   0 ETH        0.00188131


      @     Ox4968a39131 ff73f21 ...         Execute           16626810    51 days 8 hrs ago    0   tankbottoms.eth   cP   OI.T    0 Uniswap: Universal Ro... cP     0 ETH        0.00249729


      @     Ox934e97dc907cd52a ...          Withdraw           16626808    51 days 8 hrs ago    O tankbottoms.eth c□       OLT     0 Yearn: yvDAl Vault c□           0 ETH        0.00103287


      @     Ox4e0b33e200478400 ...           Approve           16626788    51 days 8 hrs ago    O tankbottoms.eth cP       01.'T   0 Yearn: yvDAI Vault c_D          0 ETH        0,0007099


      @     Oxde3ab448602d1 aOO ...      Set Approval ...      16626435    51 days 9 hrs ago    O tankbottoms.eth c□       04.'T   0 Ox6e92A6...50668771 c□          0 ETH        0.00036347


      @     Oxel dfe22af04d01 OeO ...    Set Approval ...      16626434    51 days 9 hrs ago    O tankbottoms.eth c□       OLT     0 Ox9e790c...e653bAf2 c9          0 ETH        0.00036215


      @     Ox9035629fb6820448a...       Set App,oval ...      16626433    51 days 9 hrs ago    () tankbottoms.eth c□      OLT     0 OxF22DA0...7F986fld c□          0 ETH        0.00035412


      @     Oxe8b87c99693693cb...        Set Approval ...      16626433    51 days 9 hrs ago    O tankbottoms.eth [.O      04.T    0 Nouns3D: N3D Token cO           0 ETH        0.00036089


      @     Ox5a09767395e13657...            Approve           16626431    51 days 9 hrs ago    O tankbottoms.eth c□       OLT     0 Centre: USD Coin c9             0 ETH        0.00092936


      @     Oxb773df1942be9f913...           Transfer          16626410    51 days 9 hrs ago    () tankbottoms.eth    cP   Ot.T    0 Compound: cUNI Token c□         0 ETH        0.00192255


      @     Ox0d7 dde9c706c488d ...          Multicall         16626395    51 days 9 hrs ago    () tankbottoms.eth    cO   Ot.T    0 Uniswap V3: Positions ..   c□   0 ETH        0.00383134


      @     Ox05cd5748cac2f26e6...           Multicall         16626389    51 days 9 hrs ago    () tankbottoms.eth    cO   OLT     0 Unlswap V3: Positions ..   c□   0 ETH        0.00598122


      @     Oxd3ad025178764cb8...        Exec- Transact..      16626330    51 days 10 hrs ago   O tankbottoms.eth c□       Ot.T    0 Oxb05E9E...d40F4345 c□          0 ETH        0.00116248


      @     Ox905d8ddbc3be4483 ...           Set Text          16626293    51 days 10 hrs ago   O tankbottoms.eth c□       OLT     0 ENS: Public Resolver 2 c9       0 ETH        0.00075971


      @     Oxb2b9923c1458141 f3 ...         SetAdd1           16626262    51 days 10 hrs ago   O tankbottoms.eth c□       Ol.'T   0 ENS: Public Resolver 2 c□       0 ETH        0.00071651


      @     Ox2386ea3e08fc68aac...           Set Addr          16626257    51 days 10 hrs ago   O tankbottoms.eth c□       OLT     0 ENS: Public Resolver 2 cP       0 ETH        0.00071001

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       @     Oxeab88958407c0d52 ...          Set Addr         16626255   51 days 10 hrs ago   O tankbottoms.eth c.O     OLT     0 ENS: Public Resolver 2 c□         0 ETH   0.00073277


       @     Ox5d81 c52c91 b6dc5ef...        Set Addr         16626254   51 days 10 hrs ago   O tankbottoms.eth c□      OLT     0 ENS: Public Resolver 2 c□         0 ETH   0.00065636


       @     Ox253c250014552341 ...          Set Addr         16626252   51 days 10 hrs ago   O tankbottoms.eth cD      OlT     0 ENS: Public Resolver 2 rP         0 ETH   0.00063825


       @     Ox66ef48579a7f57791             Set Addr         16626249   51 days 10 hrs ago   O tankbottoms.eth c□      OLT     0 ENS: Public Resolver 2 rP         0 ETH   0.00069386


       @     Ox811100133357ea26...           Set Addr         16626246   51 days 10 hrs ago   O tankbottoms.eth co      OLT     IE] ENS: Public Resolver 2   cO     0 ETH   0.0006645


       @     Ox3aae7e62e145a62e...           Set Addr         16626242   51 days 10 hrs ago   O tankbottoms.eth (_D     OLT     0 ENS: Public Resolver 2 cD         0 ETH   0.00069797


       @     Ox1 c9bdbfe8aa2d0faf...     Set Ap proval ...    16626208   51 days 10 hrs ago   O tankbottoms.eth c□      OLT     0 Nouns3D: N3D Token c□             0 ETH   0.00072482


       @     Oxb06fa7080c4c98d80...      Set Approval ...     16626205   51 days 1O hrs ago   0   tankbottoms.eth (_D   OlT     0 OxF22DAO...7F986f1 d r_D          0 ETH   0.00071481


       @     Oxac16c290654e0686...       Set Approval ...     16626198   51 days 10 hrs ago   O tankbottoms.eth cD      OLT     0 Ox9e790c...e653bAf2 rP            0 ETH   0.00075882


       @     Ox0f9662a42aea0cf09 ...     Set Approval ...     16626192   51 days 10 hrs ago   O tankbottoms.eth (_D     01.T    0 BlockArt: EBA Token LD            0 ETH   0.00069773


       @     Ox9b302a4254bbd432...       Set Approval ...     16626184   51 days 10 hrs ago   O tankbottoms.eth cD      OLT     0 Ox6e92A6...5066B771 [.D           0 ETH   0.0006843


       @     Ox8bcd7fe0d27585570...      Set Approval ...     16626169   51 days 10 hrs ago   O tankbottoms.eth cD      OLT     0 Oxe987E9...b9CA2423 c□            0 ETH   0.0006724


       @     Ox55ccb7d16aa82244...       Set Ap proval ...    16626166   51 days 10 hrs ago   () tankbottoms.eth   cD   OLT     0 JPG People: JPG Token cD          0 ETH   0.0007794


       @     Ox3b3bf4d64bb73cl 5d ...    Set Approval ...     16626153   51 days 10 hrs ago   O tankbottoms.eth cD      OL'f    0 Ox50a645...361d57d7 L□            0 ETH   0.00082791


       @     Ox125bc95e81a9f7022...      Set Ap proval . ..   16626075   51 days 11 hrs ago   O tankbottoms.eth cD      OLT     0 Obits: Obits Token cD             0 ETH   0.00193894


       @     Ox9007ce0f32fe53aab...      Set Approval ...     16626054   51 days 11 hrs ago   () tankbottoms.eth   rP   OLT     0 Ox2b111 O...E5B5259c cD           0 ETH   0.00340113


       @     Ox7f574a6de7b88292c...      Set Approval ...     16626046   51 days 11 hrs ago   () tankbottoms.eth   cO   OLT     0 Ox413506...d8b404c0 (_D           0 ETH   0.00242688


       @     Ox891 b857a44d0ee49 ...        Withdraw          16625991   51 days 11 hrs ago   () tankbottoms.eth c□     OLT     0 Blur: Bidding c□                  0 ETH   0.0007341 8


       @     Ox9133a175de23e6a3...       Set Ap proval ...    16625963   51 days 11 hrs ago   O tankbottoms.eth cD      Ot:"I   0 Headscapes: HDSCP T... cD         0 ETH   0.00124802


       @     Oxfd8a8e2f00acf70c70...     Set Approval ...     16625957   51 days 11 hrs ago   O tankbottoms.eth c□      on      0 LootExplorers: EXPLRS...    (_D   0 ETH   0.00081954


       @     Oxe2e6ec1614ed1935...       Set Approval ...     16625950   51 days 11 hrs ago   O tankbottoms.eth c□      OlT     0 Queens+KingsAvatars: ... c□       0 ETH   0.00075436


       @     Ox1 f58b50bb9491570c...     Set Approval ...     16625948   51 days 11 hrs ago   O tankbottoms.eth cD      OLT     0 Ox17B19C...C42F5429 c□            0 ETH   0.00068378

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       @      0x39d2828fc9a04d0f8...       Set Approval ...   16625946   51 days 11 hrs ago   O tankbottoms.eth c.O       O<."T   0 Bored Breakfast Club: ...    L□   0 ETH   0.00070886


       @      0xf5d5cb8db6848e135...       Set App1oval ...   16625941   51 days 11 hrs ago   O tankbottoms.eth tO        on      0 0x8427e4...Dc31 E349 c9           0 ETH   0.00074076


       @      0x27f1 ad31 0ee3221 0c ...   Set App,oval ...   16625935   51 days 11 hrs ago   O tankbottoms.eth c□        OI.T    0 0x0f4738...42DDC531 tD            0 ETH   0.00076609


       @      0x9cb6fec891 cb6ff1 e 1...      Withdraw        16625929   51 days 11 hrs ago   O tankbottoms.eth c□        OLT     0 Blur. Bidding tD                  0 ETH   0.0006755


       @      0xde92532f6809399c4...       Set App,oval •..   16625919   51 days 11 hrs ago   O tankbottoms.eth tO        OLT     ® 0xFa9Ecc...065ac4B3 tO            0 ETH   0.00073558


       @      0x89bd117fca08f86c6...       Set Approval ...   16625910   51 days 11 hrs ago   O tankbottoms.eth c9        OLT     0 0xa9248a...06ffd2e2 c:P           0 ETH   0.00076388


       @      0x8fef4e9da6288f571 ...      Set App1oval •..   16625898   51 days 11 hrs ago   O tankbottoms.eth c□        OLT     0 0x928f07...fEa65fcf c:P           0 ETH   0.00070279


       @      0x42a767b0182bc5b6...         Bulk Execute      16625881   51 days 11 hrs ago   0   tankbottoms.eth   c:P   Ol."T   0 Blur.io: Marketplace c:P          0 ETH   0.01936512


       @      0x47d20dc0f6a669b91 ...      Set Approval ...   16625878   51 days 11 hrs ago   O tankbottoms.eth tD        OLT     0 LilNoun: LILNOUN Token (9         0 ETH   0.00074313


       @      0x0bc64111 cfd8443a8 ...     Set Approval ...   16625689   51 days 12 hrs ago   O tankbottoms.eth c:P       01."T   0 0x23f0DC...900ab5e1    c□         0 ETH   0.0003683


       @      0xe8e1811d7ade1d7fa...       Set Approval ...   16625689   51 days 12 hrs ago   O tankbottoms.eth tD        04.T    0 Terraforms: TERRAFOR... c□        0 ETH   0.00036672


       @      0x0913862c017bda6d ...       Set Approval ...   16625688   51 days 12 hrs ago   O tankbottoms.eth tD        OLT     0 Framergence: FRAM To.•       tD   0 ETH   0.00037892


       @      0x72e42e589fdd25f39...       Set App,oval •..   16625687   51 days 12 hrs ago   () tankbottoms.eth tO       OL"T    0 0x5bAA92...220c407c tO            0 ETH   0.00045061


       @      0xc2c4346f56438d917...       Set Approval ...   16625687   51 days 12 hrs ago   O tankbottoms.eth [.O       O<.'T   0 0xc34444...87f066dA (9            0 ETH   0.00045061


       @      0X17bfdcb5e4ead2f42...       Set App1oval •..   16625686   51 days 12 hrs ago   O tankbottoms.eth tO        OLT     0 Air Mail by Vinnie Hage...   tO   0 ETH   0.0004609


       @      0xdb64fcade3bebb92c...       Set App1oval ...   16625686   51 days 12 hrs ago   () tankbottoms.eth    cP    Oi.T    0 0xC4c377...4859b041     tO        0 ETH   0.0004609


       @      0x337acbc6e2da18d5...        Set Approval ...   16625685   51 days 12 hrs ago   () tankbottoms.eth c□       01.'T   0 0x93298D.. 1Da5fFb8 (9            0 ETH   0.00047498


       @      0x99ad39897edb42d6...        Set Approval ...   16625685   51 days 12 hrs ago   () tankbottoms.eth c□       OLT     0 0xA6cEf6...Af1 1E922 c□           0 ETH   0.00047623


       @      0x3e3f775954e5af82e...       Set App1oval •..   16625684   51 days 12 hrs ago   O tankbottoms.eth tO        Ot:T    0 Nyan Cat: NyanBall Tok... tO      0 ETH   0.00043151


       @      0x253876ca9b0e2499 ...           Set Text       16625626   51 days 12 hrs ago   O tankbottoms.eth tO        OLT     0 ENS: Public Resolver 2 c9         0 ETH   0.00081969


       @      0xbbd89a0eff83ddb58...        Bulk Transfer     16625622   51 days 12 hrs ago   O tankbottoms.eth c□        Ol.'T   0 OpenSea: Transfer Hel...     c□   0 ETH   0.01 139142


       @      0x498065d7781 bf889...       Set Approval ...   16625620   51 days 12 hrs ago   O tankbottoms.eth tO        OLT     0 EthereumTowers: ETT ... cP        0 ETH   0.00065968

                                                                                                                                                                      PLAINTIFF0001022
https :/ /etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=2                                                                                                       4/5
4/6 /23, 4 :26 PM                      Case 1:23-cv-20727-RKA Document 106-30
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       @       Ox3f03d88ed99c1 ef54 ...                  Set Approval ...       16625618            51 days 12 hrs ago             O tankbottoms.eth c.O            ot.,       0 OXFE82F6 ...deOCAEc9 [_Q                       0 ETH            0.00068201


       @       Oxf83498b9aea67e898 ...                   Set App1oval ...       16625616            51 days 12 hrs ago             O tankbottoms.eth c.□            0,.1'      0 Ox20eCda...9bf2c6dC c.□                        0 ETH            0.00070287


       @       Ox3fe5e9649629c2407 ...                   Set Approval ...       16625615            51 days 12 hrs ago             ◊ tankbottoms.eth c.D            on         0 Ox5Bf683...138D4C2A [.O                        0 ETH            0.00075031


       @       Ox9c8f6342752c3084d ...                   Set Approval ...       16625613            51 days 12 hrs ago             O tankbottoms.eth c.D            OLT        0 Ox001 F97...6E962E94 C.0                       0 ETH            0.00074645


       @       Ox1187822f0974a4e81...                    Set App,oval ...       16625611            51 days 12 hrs ago             0   tankbottoms.eth [.O          on         0 Nyan Cat NyanBall Tok...         [.O           0 ETH            0.00079657


       @       Ox0d6bdc904274a65b...                     Set Approval ...       16625610            51 days 12 hrs ago             O tankbottoms.eth cP             OLT        0 OxA6cEf6...Af11 E922 c.O                       0 ETH            0.0008448


       @       Ox401 cc4242fa 1d29bf...                   Bulk Transfer         16625595            51 days 12 hrs ago             O tankbottoms.eth c.□            OL1'       0 OpenSea: Transfer Hel...         c.□           0 ETH            0.01744762


       @       Ox7211b7a8f23a7a500_,                     Set Approval ...       16625593            51 days 12 hrs ago             0   tankbottoms.eth    cP        on         0 Art Blocks: BLOCKS To ... cP                   0 ETH            0.00076966


       @       Ox31fd2cb7e1 el 58c70 ...                 Set App1oval ...       16625592            51 days 12 hrs ago             O tankbottoms.eth [.O            OLT        0 Ox8306FB...7DFC7473 [.O                        0 ETH            0.00098035


       @       Ox8e7609e105d04818...                     Set Approval   4.,     16625591            51 days 12 hrs ago             O tankbottoms.eth cP             on         0 Ox66293A...7F60Ad21 [.O                        0 ETH            0.00080979


       @       Ox38d3d3c5d0ecd9d3 ...                    Set Approval ...       16625590            51 days 12 hrs ago             O tankbottoms.eth [.D            on         0 Art Blocks: EXPLORE T...         [.
                                                                                                                                                                                                                   O            0 ETH            0.00070171


       @       Ox8800629d8c96856b...                    Set Approval ...        16625589            51 days 12 hrs ago             O tankbottoms.eth [.O            OLT        0 Oxd89f09...6C589b6C [.O                        0 ETH            0.000786


       @       Ox60cbe9788f45edaa5...                   Set App,oval ...        16625587            51 days 12 hrs ago             () tankbottoms.eth c.□           Ol'f       0 Ox93298D... 'I Da5fFb8 C.0                     0 ETH            0.00074094


       @       Ox295aa816820c1166 ..                     Set Approval ...       16625586            51 days 12 hrs ago             ◊ tankbottoms.eth      cP        01.'T      0 OxC4c377. ..4859b041       [.O                 0 ETH            0.00076603


       @       OX5a6ec070cdce0ef7b ...                   Set App1oval ...       16625585            51 days 12 hrs ago             O tankbottoms.eth [.O            01.'T      0 Ox1c43E7...3F7f51 Ee cP                        0 ETH            0.00070234


       @       Oxc41 6ab3b13143d5e ...                  Set App1oval ...        16625584            51 days 12 hrs ago             () tankbottoms.eth     cP        CH.,       0 Oxa02749...e231 D433 c.D                       0 ETH            0.0006829


       @       Ox656c0a144316f94da...                    Set Approval ....      16625583            51 days 12 hrs ago             () tankbottoms.eth c.D           01.1       0 Ox205A10.....C46D10a9 c.O                      0 ETH            0.00068801



      Show:     100        Records                                                                                                                                                                                      First   <   Page2of 25     >       Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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      A total of 2,407 transactions found                                                                                                                             First      <    Page3 of 25   >   Last   '\{v



       0      Txn Hash                      Method(!)                Block           Age                  From                           To                                          Value                Txn Fee


       @      Ox885946a 78144ef4c5 ...           Approve             16625582        51 days 12 hrs ago   O tankbottoms.eth LO     OUT   0 CryptoKitties: Core LO                    OETH                 0.00077212


       @      Ox12a5b5e96f821 fe9e...        Set A pprova I ...      16625581        51 days 12 hrs ago   O tankbottoms.eth   LO   OUT   0 0xA80617...caa63e71 LO                    OETH                 0.00065755


       @      Ox0da1 d4149a349c03...         Set Approva I .••       16625580        51 days 12 hrs ago   () tankbottoms.eth LO    0vr   0 Galalctic Gang: GG Token c.,0             0 ETH                0.0007825


       @      OxcOe 19238dd1 9cab1...         Bulk Transfer          16625552        51 days 12 hrs ago   O tankbottoms.eth   LO   our   0 OpenSea: Transfer Hel... c.,O             OETH                 0.01962975


       @      Ox775b7d29c360151 a ...        Set Approval ...        16625551        51 days 12 hrs ago   O tankbottoms.eth   LO   OUT   0 BrainDrops: BRAIN Tok... c.,0             OETH                 0.00076024


       @      Oxf1c8ef1db6bcec9bl ...        Set Approva I ...       16625549        51 days 12 hrs ago   O tankbottoms.eth LO     OUT   0 Party Degenerates: PA.. c.,O              OETH                 0.00073686


       @      ox97df8ef180f5cf2fee...        Set Approva I ...       16625547        51 days 12 hrs ago   O tankbottoms.eth c9     OUl   0 Plasticity by p4stoboy: ... c.,O          O ETH                0.00070782


       @      Oxacaa6dec44cac37fa...         Set Approva I ...       16625546        51 days 12 hrs ago   O tankbottoms.eth LO     our   0 0x74503C...D01756bB @                     OETH                 0.00078312


       @      Ox12154eebb972a5fcb...         Set Approva I ...       16625545        51 days 12 hrs ago   O tankbottoms.eth LO     our   0 OxOE42Ff...9ba35FbB      Lo               OETH                 0.00075125


       @      Ox292b8c4b566092acf...         Set Approval ...        16625543        51 days 12 hrs ago   O tankbottoms.eth L□     our   0 Ox0b17Cb...42997382 @                     OETH                 0.00072527


       @      Oxe72f527e01 b99f83a ...       Set Approval ...        16625541        51 days 12 hrs ago   O tankbottoms.eth c9     wr    0 Koripo by Rich Poole: K...     c.,□       0 ETH                0.00069029


       @      Oxfdb704d8bf625b8fc...         Set Approval ...        16625540        51 days 12 hrs ago   O tankbottoms.eth LO     our   0 Ox23fODC...900ab5e1 @                     OETH                 0.00069845


       @      Oxea8ae38d 120e34cf6...        Set Approval ...        16625538        51 days 12 hrs ago   O tankbottoms.eth   L□   our   0    Terraforrns: TERRAFOR... [.O           OETH                 0.00071493


       @      Oxf86e3d0ca69448e1e...         Set Approval ...        16625536        51 days 12 hrs ago   O tankbottoms.eth LO     our   0 Framergence: FRAM To... c.,□              OETH                 0.00065358


       @      Oxeef96146c1044a001 ...        Set Approval ...        16625535        51 days 12 hrs ago   O tankbottoms.eth LO     our   0 Ox90e0Ec... ee9D6A91      c9              OETH                 0.00097413


       @      Oxa2ac3996561 cd5dd...         Set Approva I ...       16625524        51 days 12 hrs ago   ( ) tankbottoms.eth LO   our   0 Streets by esraeslen: T...     c.,O       OETH                 0.00041838


       @      Oxeb7eb822decdd868...          Set Approval ...        16625524        51 days 12 hrs ago   O tankbottoms.eth c.,□   our   0 Nyan Cat: NVAN Token L□                   0 ETH                0.00035113


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                                                                            Transactionson   FLSDIDocket
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      @     Ox28ed3d718b3a0b99...        Set Approval ...     16625523    51 days 12 hrs ago   O tankbottoms.eth t,O      WI      0 0x6d0e04...5e31b61B t,O            OETH        0.00036021


      @     OX1 cdc683c4d1 a7dfbe...     Set Approval ...     16625522    51 days 12 hrs ago   Otankbottoms.eth t,O       our     0 lconicNFT; IMNFT Token t,O         0 ETH       0.00037277


      @     Ox727af4abf7c2bbf56...       Set Approval ...     16625521    51 days 12 hrs ago   ◊ tankbottoms.eth t,O      our     0 Creepz: CBC Token t,O              OETH        0.00033479


      @     Ox23f14ce71 aa75a985...      Set Approval ...     16625520    51 days 12 hrs ago   Otankbottoms.eth t,O       our     0 Creepz: ARMS Token t,O             0 ETH       0.00035068


      @     Oxdd7c434292156ee2...        Set Approval •..     16625520    51 days 12 hrs ago   O tankbottoms.eth t,O      0\/1"   (B Creepz: SHAPE Token t,O           0 ETH       0.00035093


      @     Ox2125688758cbaf3ac ...       Bulk Transfer       1662551 7   51 days 12 hrs ago   O tankbottoms.eth t,O      our     0 OpenSea: Transfer Hel. .. t,O      OETH        0.00654152


      @     Ox996dc91 Odf242d820...      Set Approva I ...    16625516    51 days 12 hrs ago   O tankbottoms.eth t,O      our     0 OxFC8bB0...092fCA72 t,O            OETH        0.00077981


      @     Oxe7549c0389e0bf3a2...       Set Approval ...     16625515    51 days 12 hrs ago   O tankbottoms.eth t,O      our     0 Air Mail by Vinnie Hage...   c9    OETH        0.00072597


      @     Oxaeaf693aa6f0429fd...       Set Approval ...     16625513    51 days 12 hrs ago   O tankbottoms.eth (.0      0\/1"   0 Oxc34444...87f066dA t,D            OETH        0.00079025


      @     Ox1 fe9a5c4e5f98e0bb ..      Set Approva I ...    16625512    51 days 12 hrs ago   O tankbottoms.eth t,O      our     0 Ox878269 .3Dba8073 t,D             OETH        0.00078671


      @     Ox9b7387c4ddb654b6...        Set Approva I ...    16625510    51 days 12 hrs ago   O tankbottoms.eth t,D      our     0 Ox5bAA92...220c407c t,O            0 ETH       0.00073043


      @     Ox7f6aea1b437fd2300...       Set Approva I .••    16625509    51 days 12 hrs ago   0   tankbottoms.eth   c9   our     0 OxF44155.. .4C76B4B2 t.D           OETH        0.00072221


      @     Ox6e04350bec506662...        Set Approva I ...    16625507    51 days 12 hrs ago   O tankbottoms.eth (9       our     0 Nyan Cat: NYAN Token t,D           OETH        0.00066586


      @     Ox6de 7ec84B6f aa4B97 ...    Set Approva I •..    16625506    51 days 12 hrs ago   O tankbottoms.eth cP       OUT     0 Streets by esraeslen: L      t,O   0 ETH       0.00073614


      @     Oxc27f32384d97ade8B ...      Initialize Burn ..   1662537B    51 days 13 hrs ago   O tankbottoms.eth t,D      OUT     0 0xa4fb4b...53e120cB t.D            O ETH       0.0031773


      @     Oxabd3aa7bcd74b05b...        Register Exten__     16625376    51 days 13 hrs ago   O tankbottoms.eth (9       ovr     0 Ox70B5Dd...B69b9275 @              OETH        0.00198544


      @     Ox5659Bcaab5f5790ca...        M int Base New      16625356    51 days 13 hrs ago   O tankbottoms.eth t,O      OUT     0 Ox70B5Dd ...B69b9275 (9            0 ETH       0.00303863


      @     Ox0593B5024fc74e5a6 ...        Ox60806040         16625335    51 days 13 hrs ago   O tankbottoms.eth t,O      OUT     tlrn Create: UGH cP                  OETH        0.00377592


      @     Ox8Bc54710343be543 ...             M int          16625277    51 days 13 hrs ago   Otankbottoms.eth t,O       0\/1"   0 0xc68afc...9c11b094 t.D            OETH        0.00517266


      @     Ox1 Bb2e23d1 faf53a21 ...     Create Series       16625276    51 days 13 hrs ago   Otankbottoms.eth t,O       0\/1"   0 0xc6Bafc...9c11 b094 t.D           O ETH       0.00204678


      @     Ox83518c9bcddea 76a ...      Register E.xten__    16625274    51 days 13 hrs ago   O tankbottoms.eth t,O      our     0 Ox0fdf12...72Ac8c2A t,D            OETH        0.00156171


      @     Ox683bc055c3a92e9d...           M int Base        16625224    51 days 13 hrs ago   O tankbottoms.eth t,O      OU!     0 OxDfdf12...72Ac8c2A @              0 ETH       0.00302626

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       @      Oxfc1f 4cf45e6c377fc9...        o,&0806040         16625189   51 days 14 hrs ago   O tankbottoms.eth t,O       ovr    !ml Create: KINDL cP                 OETH        0.00395485


       @      Ox48fe76aaae9ebe7b9...          Set Token URI      16625079   51 days 14 hrs ago   O tankbottoms.eth t,O       our    0 Ox018aF7...E4c6CEBE t,O            0 ETH       0.00063783


       @      Oxd7b94e5df1 1 f55399 ...       Bulk Transfer      16623599   51 days 19 hrs ago   ◊ tankbottoms.eth t,O       OUI    0 OpenSea: Transfer Hel...     t,O   OETH        0.00562318


       @      Oxb2c2366bdb60880d ...         Set Approval ...    16623598   51 days 19 hrs ago   O tankbottoms.eth t,O       our    0 Ox06D804...42B7f86B @              0 ETH       0.00126715


       @      Ox9e4339ac748b4e19...          Set Approval ...    16623597   51 days 19 hrs ago   O tankbottoms.eth t,O       0\/T   0   Creepz: SHAPE Token   cP         0 ETH       0.00732554


       @      Ox4519a284550f5fea5 ...        Set Approval ...    16623596   51 days 19 hrs ago   O tankbottoms.eth t,O       our    0 Creepz: ARMS Token t,O             OETH        0.00139881


       @      Ox943ebed465b891 fl b...       Set Approva I ...   16623593   51 days 19 hrs ago   O tankbottoms.eth t,O       our    0 Creepz: CBC Token t,O              OETH        0.00159471


       @      Oxd0d1 c4550d1 d79b2f...        Bulk Transfer      16623456   51 days 19 hrs ago   O tankbottoms.eth t,O       our    0 OpenSea: Transfer Hel...     t,O   OETH        0.00745529


       @      Ox5b5ddf50ea0962b1 a...        Set Approval ...    16623455   51 days 19 hrs ago   O tankbottoms.eth (.0       0\/T   0 lconicNFT: IMNFT Token (9          OETH        0.00077434


       @      Ox85fd573febe035d19...         Set Approva I ...   16623454   51 days 19 hrs ago   O tankbottoms.eth t,O       our    0 Ox6d0e04...5e31 b6l B t,O          OETH        0.00079648


       @      Ox537086de066b96a1 ...         Set Approva I ...   16623452   51 days 19 hrs ago   O tankbottoms.eth t,O       our    0 Ox4229fb...05AOOEd7 t,D            0 ETH       0.00087064


       @      Oxaf53701 aeff782fc1 f ...     Set Approva I .••   16623451   51 days 19 hrs ago   0   tankbottoms.eth   cP    our    0 QQL Mint Pass: QQL-M ...     (.0   OETH        0.00083267


       @      Oxe8aa73594f3d4c8db...         Set Approva I ...   16622720   51 days 22 hrs ago   O tankbottoms.eth cP        our    0 Ox878269...30ba8073 t.O            OETH        0.00066755


       @      Oxf550c8f7bb1 c8b6fd...        Set Approva I •..   16622698   51 days 22 hrs ago   O tankbottoms.eth cP        OUI    0 Oxe01569...CB4C7698 t,D            0 ETH       0.00057487


       @      Oxab3cbc3fffe3d7ad2e...        Set Approva I ..    16622698   51 days 22 hrs ago   O tankbottoms.eth     t,O   OUT    0 Nyan Cat NYAN Token cP             O ETH       0.00051997


       @      Ox40eaac263e33032b...          Set Approva I ...   16622697   51 days 22 hrs ago   O tankbottoms.eth     cP    ovr    0 # LetsWalk: #LetsWalk ... t.O      OETH        0.00057387


       @      Ox9daa79e5d7f41215d...         Set Approva I ...   16622697   51 days 22 hrs ago   O tankbottoms.eth t,D       OUT    0 Nyan Cat: NyanBall Tok... t,D      0 ETH       0.00061391


       @      ox79c44559be745eff0 ...        Set Approval ...    16622696   51 days 22 hrs ago   O tankbottoms.eth t,O       OUT    0 Oxc34444...B7f066dA t,D            OETH        0.00061129


       @      Oxl Be1 deaa9094403ef...       Set Approva I ...   16622695   51 days 22 hrs ago   O tankbottoms.eth t,O       0\/T   0 Ox5bM92...220c407c LO              OETH        0.00061424


       @      Ox480c86bb8bbf9d017 ...        Set Approva I ...   16622683   51 days 22 hrs ago   O tankbottoms.eth t,O       our    0 dotdotdots; dotdotdot ...    t.D   O ETH       0.0005081 7


       @      Oxb2ad 154e9c0b581 f4 ...      Set Approval ...    16622682   51 days 22 hrs ago   O tankbottoms.eth t,O       our    0 Oxf5813L144Fb006 t,O               0 ETH       0.00050919


       @      Ox9f804650f653d3f8d...         Set Approva I ...   16622682   51 days 22 hrs ago   O tankbottoms.eth t,O       OUI    0 Ledger: BOBNX Token @              OETH        0.00050674

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       CD    Txn Hash                   Method(v   Block Age             From                              To                   Value                                            Txn Fee


       @     Oxa273463266f83a0fc...      Set Approval ...    16622680   51 days 22 hrs ago   O tankbottoms.eth t,O       WT     0 The Otherside: OTHR T...     t,O   OETH        0.0005026


       @     Oxcf6e436b126088224...      Set Approval ...    16622500   51 days 23 hrs ago   Otankbottoms.eth t,O        our    Ox078AFb...70Ced968 t,O              0 ETH       0.0005875


       @     Ox16150987bf84ee9da...      Set Approval ...    16622494   51 days 23 hrs ago   ◊ tankbottoms.eth t,O       our    0 PROOF Collective: PRO...     (9    OETH        0.00064304


       @     Ox8428e50eb395804d ...      Set Approval ...    16622488   51 days 23 hrs ago   Otankbottoms.eth t,O        our    0 Ox503a30...D88384A3 (9             0 ETH       0.0007836


       @     Ox64d8f55152bd2085...       Set Approval ...    16622487   51 days 23 hrs ago   O tankbottoms.eth t,O       0\/T   0 Poolsuite Executive Me...    t,O   0 ETH       0.00050459


       @     Ox5df4e4082ef6a9f52...      Set Approval ...    16622483   51 days 23 hrs ago   O tankbottoms.eth t,O       OUT    0 OxBC6f8c...2F987829 c9             OETH        0.00053563


       @     Oxe1 f20ca2c4db1c0fd...      Bulk Transfer      16622480   51 days 23 hrs ago   O tankbottoms.eth t,O       our    0 OpenSea: Transfer Hel...     t,O   OETH        0.01939936


       @     Oxdac27143a496f959a...      Set Approval ...    16622478   51 days 23 hrs ago   O tankbottoms.eth t,O       our    0 dotdotdots: dotdotdot ...    t,O   OETH        0.0009529


       @     Ox99db19de45429071 ...      Set Approval ...    16622476   51 days 23 hrs ago   O tankbottoms.eth (.0       0\/T   0 Ox5bAA92...220c407c (9             OETH        0.00105034


       @     Ox167db8972a8d1 Oc7...      Set Approva I ...   16622473   51 days 23 hrs ago   O tankbottoms.eth t,O       our    0 Ox878269.. 3Dba8073    t,O         OETH        0.00106449


       @     Ox3739629aa93fe8bf4...      Set Approva I ...   16622471   51 days 23 hrs ago   O tankbottoms.eth t,O       our    0 Oxf58132...144Fb006 t,O            0 ETH       0.00104027


       @     Ox4a2988eb86c225dd...       Set Approva I ...   16622470   51 days 23 hrs ago   0   tankbottoms.eth   c9    our    0 Oxc34444...87f066dA (.0            OETH        0.001 12067


       @     Ox408d9a46024dcd5a ...       Bulk Transfer      16622427   51 days 23 hrs ago   O tankbottoms.eth (9        our    0 OpenSea: Transfer Hel_,      t.O   OETH        0.01646738


       @     Ox15ae5efa53cee8b9f...      Set Approva I •..   16622426   51 days 23 hrs ago   O tankbottoms.eth c9        our    0 Nyan Cat: NyanBall Tok__ t,O       0 ETH       0.00137429


       @     OxOa7551d55ac1 f1c5a ...    Set Approva I ..    16622425   51 days 23 hrs ago   O tankbottoms.eth     t,O   OUT    0 #LetsWalk: #LetsWalk ...     (.0   O ETH       0.00127095


       @     Ox8782dlc29fe2c9ab2 ...     Set ApprovaI ...    16622424   51 days 23 hrs ago   O tankbottoms.eth (9        WT     0 Nyan Cat NYAN Token t,0            OETH        0.001 19698


       @     Ox0070131cee21099e...        Bulk Transfer      16607267   54 days 2 hrs ago    O tankbottoms.eth t,O       OUT    0 OpenSea: Transfer Hel...     t,O   0 ETH       0.00647468


       @     Oxc0e249834c 12c0b4...      Set Approval ...    16607265   54 days 2 hrs ago    O tankbottoms.eth t,O       OUT    0 Oxe01569...CB4C7698 t,O            OETH        0.0008818


       @     Oxba0ec2dbeb21 c7e0f...     Set Approva I ...   16607264   54 days 2 hrs ago    Otankbottoms.eth t,O        0\/T   0 Ox6C6f8c....2F987829 t.D           OETH        0.00085835


       @     Ox1 c9427626f057268b ...    Set Approva I ...   16607261   54 days 2 hrs ago    Otankbottoms.eth t,O        0\/T   0 Ledger: BOBNX Token (9             O ETH       0.00091082


       @     Oxc61858075e7f70620...      Set Approval ...    16607260   54 days 2 hrs ago    O tankbottoms.eth t,O       our    0 Poolsuite Executive Me_. t,O       0 ETH       0.00098441


       @     Ox7ac9424d19940fbe4...      Set Approva I ...   16607258   54 days 2 hrs ago    O tankbottoms.eth t,O       OUI    0 The Otherside: OTHR T...     t.O   OETH        0.00095472

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       e       Txn Hash                        Method<:1) Block Age             From                              To                   Value                                                                                                         Txn Fee


       @           Ox0e502a30169Bc9aa ...                 Bulk Transfer        16607231          54 days 2 hrs ago              O tankbottoms.eth t,O               Wl        0 OpenSea: Transfer Hel...          t,O      OETH                      0.00414803


       @       Oxbc53743a6d4d5dc6 ...                    Set Approval ...      16607230          54 days 2 hrs ago              O tankbottoms.eth t,O               our       0 Ox503a30...D8B3B4A3 t,O                    O ETH                     0.00109827


       @       Ox275ab1 117cfa9194c...                   Set Approval ...      16601195          54 days 22 hrs ago             ◊ tankbottoms.eth      t,O          OUI       Ox078AFb...70Ced968 [9                       OETH                      0.00130819


       @       Oxa3d91 cl a2578b002 ...                  Set Approval ...      16601192          54 days 22 hrs ago             ◊ tankbottoms.eth      t,O          our       0 PROOF Collective: PRO...          t,O      0 ETH                     0.00120653


       @       Ox11921e17969152a9...                      Mint Wrth Sign       16600609          55 days 24 mins ago            O tankbottoms.eth t,O               O\JT      0 Ox7e8Ba6...F77C3EA7 t,O                    0 ETH                     0.00277464


       @       Ox46118b7 4e7f044ddf...                   Exec Transact ...     16599625          55 days 3 hrs ago              0   tankbottoms.eth t,O             our       0 Ox607d56...effc3B4a t,O                    OETH                      0.00266962


       @       Oxfb68b13ee0a65def3...                        Transfer          16599501          55 days 4 hrs ago              () tankbottoms.eth t,O              our       0 Polygon (Matic) : Matic ... t,O            OETH                      0.00170535


       @       Oxebcb9c316e774994...                         Transfer          16599498          55 days 4 hrs ago              ◊ tankbottoms.eth t,O               our       0 The Graph: GRT Token        r.9            OETH                      0.00160833


       @       Ox4500dd75b481684d...                         Transfer          16599417          55 days 4 hrs ago              O tankbottoms.eth r.9               OUI       0 Ox3abF2A...00646f66 r.9                    OETH                      0.00385092


       @       Oxaaf4d8eb1 el 4036ef...                      Transfer          16595426          55 days 17 hrs ago             O service-provider.eth t,O           IN       O tankbottoms.eth t,O                        2.25 ETH                  0.000561 11


       @       Ox6baa02f 65bff93e5f9...                      Transfer          16583708          57 days 9 hrs ago              O servioe-provider.eth t,O           IN       () tankbottoms.eth t,O                       2.5 ETH                   0.00050536


       @       Oxe4ab7a6e5c0e1067...                         Transfer          16579177          58 days 19 m ins ago           0   tankbottoms.eth t,O             our       0 0xE090D1 ...B6804c45 [.O                   2.5 ETH                   0.001 17383


       @       Ox3ff4b2214a423c670...                        Transfer          16578515          58 days 2 hrs ago              O winnerchicken.eth [.O              IN       O tankbottoms.eth t,O                        0.07545382 ETH            0.00102193


       @       Oxd8f29ab07fc6430c4...                       Purchase           16578483          58 days 2 hrs ago              O tankbottoms.eth c9                our       0 Noun Checks: NCH K T... t,O                0.0198 ETH                0.00313958


       @       Ox7294af70950deace3 ...                   Register With ...     16578117          58 days 3 hrs ago              O tankbottoms.eth t,O               OUT       0 ENS: ETH Registrar Co... t,O               0.006746933    ETH        0.01142876


       @       Oxdb60fa3b2b091d546...                        Commit            16578102          58 days 3 hrs ago              O tankbottoms.eth c9                WT        0 ENS: ETH Registrar Co... t,O               OETH                      0.00170472


       @       Oxc378f9e9e5cb7aa2c ..                     Batch Airdrop        1657802B          5B days 4 hrs ago              O tankbottoms.eth c9                our       0   Ox6C8ACA...9D36E6aA [9                   0 ETH                     0.01009114



      Show:     100        Records                                                                                                                                                                                      First   <     Page 3 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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4/6/23, 4 :27 PM                  Case 1:23-cv-20727-RKA Document 106-30
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                                                                           401
   Transactions
   For Ox5d95baEBB8412AD827287240A5c281 E3b830d27E O           taikbottoms.eth




      A total of 2,407 transactions found                                                                                                                                Flrst   <   Page4 of 25   >   Last   '\{v



       0      Txn Hash                      Method 0            Block            Age                  From                              To                                       Value                   Txn Fee


       @      Ox6ee095306213e 794 ...         Batch Airdrop     16577950         58 days 4 hrs ago    O tankbottoms.eth L□        0U1   0 Ox6C8ACA __9D36E6aA L□                 0 ETH                   0.01085325


       @      Ox858b0e2b4d757f4e5...          Batch Airdrop     16577940         58 days 4 hrs ago    O tankbottoms.eth cP        0U1   0 Ox329CA3...df34b618 L□                 0 ETH                   0.00948055


       @      Oxa7828f709ee1 e208f...             Mi nt         16577276         58 days 6 hrs ago    O tankbottoms.eth L□        0U1   ®Manifold: Lazy Claim L□                 0.0026 ETH              0.00260299


       @      Oxc6540020f39c9acca...              Mi nt         16576777         58 days 8 hrs ago    O tankbottoms.eth cP        OUT   ®Manifold: Lazy Claim cP                 0.0026 ETH              0.00253069


       @      Oxffecd1 c40bfbdd86c2 ...           Mi nt         16576771         58 days 8 hrs ago    O tankbottoms.eth cP        OUT   0 Manifold: Lazy Cl aim 2 L□             0.004 ETH               0.0043782


       @      Ox4c5610267bed13a0...               Mi nt         16576762         58 days 8 hrs ago    O tankbottoms.eth L□        0U1   E] Manifold: Lazy Cl aim L□              0.0066 ETH              0.00299626


       @      OX054cc51 f7eaa85a62 ...       Set Subnod e __    16576756         58 days 8 hrs ago    O tank bottoms.eth L□       OUT   E] ENS: Registry with Fall...   cP       0 ETH                   0.00170368


       @      Oxc4582d11 e2a9f666d ...       Exec TransacL      16576599         58 days 8 hrs ago    O tankbottoms.eth L□        OUT   0 Ox193249 ... 18337436 (P               0 ETH                   0.00164673


       @      Ox49b1645234893c91 ...         Exec Transact._    16576586         58 days 9 hrs ago    O tankbottoms.eth L□        OUl   0 Ox193249... 18337436 L□                0 ETH                   0.00173352


       @      Oxaf0b8844fc8e11878...         Exec Traooact~     16576580         58 days 9 hrs ago    0   tank bottoms.eth   LD   OUl   E] Ox193249... 18337436 (P               0 ETH                   0.00169049


       @      Oxd47ecde1 ab915806...         Exec TransacL      16576577         58 days 9 hrs ago    O tankbottoms.eth LD        OUT   ®Ox193249... 18337436 (P                 0 ETH                   0.00174249


       @      Oxabcbee46774970f96...              Mi nt         16575515         58 days 12 hrs ago   O tankbottoms.eth LD        OUl   ®Prometheans: PROME...          LD       0 ETH                   0.00158659


       @      Ox31 ddb3fl56af02dbd7..             Mint          16575377         58 days 13 hrs ago   O tankbottoms.eth LO        OUl   0 Prometheans: PROME...         LO       0 ETH                   0.00149761


       @      Oxcc020bb238f1b2ad2...              Mi nt         16575255         58 days 13 hrs ago   0   tankbottoms.eth    LD   0U1   ®Manifold: Lazy Claim LD                 0.0069 ETH              0.00249778


       @      Oxdd06c23a9d733d48f...              Mi nt         16575250         58 days 13 hrs ago   O tankbottoms.eth LD        OUl   0 Mani fold: Lazy Claim LD               0.0069 ETH              0.00299829


       @      Ox485d8e1cc263e60c...               Mint          16575244         58 days 13 hrs ago   O tankbottoms.eth LD        OUT   0 Manifold: Lazy Claim LD                0.005 ETH               0.00288401


       @      Ox1 ec743d1f070381 f5 ...        Mint Batch       16575239         58 days 13 hrs ago   0   tank bottoms.eth   LD   out   E] Manifold: Lazy Claim   LD             0 ETH                   0.00299895


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                                                                           From                           To                    Value                                              Txn Fee


       @      Oxad6e8a05b1331 afOO...    Fulfill Basic Or...   16575130   58 days 13 hrs ago   0   tankbottoms.eth tD    OUT   B Seaport 1.1 tD                  0.1 ETH           0.00370072


       @      0Xd000bf84e3e3305e1 ...    Fulfill Advanc...     16575125   58 days 13 hrs ago   0   tank bottoms.eth tD   OUl   B Seaport 1.1 tD                  0.0748 ETH        0.00297613


       @      Ox6783ef6c288045ed1 ...    Fulfill Basic Or...   16575117   58 days 13 hrs ago   ◊ tankbottoms.eth tD      OUT   B Seaport 1.1 tD                  0.071 ETH         0.00371715


       @      Oxba012614a1788c2d...          Set Text          16569768   59 days 7 hrs ago    ◊ tankbottoms.eth    tD   OUT   § ENS: Public Resolver 2 cP       0 ETH             0.00192319


       @      OX176b73e97af175625 ...     Batch Airdrop        16569759   59 days 7 hrs ago    ◊ tank bottoms.eth   tD   OUT   El Ox6CBACA...9D36E6aA cP         0 ETH             0.00538912


       @      Oxb65868368c9c1 Oa6 ...        Set Text          16569692   59 days 8 hrs ago    O tankbottoms.eth cP      OUT   § ENS: Public Resolver 2 tD       0 ETH             0.0010343


       @      Ox7c1c12b9ee92745ff...      Batch Airdrop        16569676   59 days 8 hrs ago    ◊ tankbottoms.eth    tD   OUT   § Ox6C8ACA...9D36E6aA cP          0 ETH             0.00354795


       @      Ox5f86a8763f1d66259...         Set Text          16569645   59 days 8 hrs ago    O tank bottoms.eth cP     OUT   § ENS: Public Resolver 2 (9       0 ETH             0.00220669


       @      Oxaf1201 0106d45255...         Set Text          16569608   59 days 8 hrs ago    O tankbottoms.eth [.D     OUT   § ENS: Public Resolver 2 tD       0 ETH             0.00213466


       @      Oxf9d540161f91997f6.        Batch Airdrop        16569596   59 days 8 hrs ago    O tankbottoms.eth tD      OUT   § Ox6C8ACA_ 9D36E6aA tD           0 ETH             0.00471 551


       @      Ox4456bcef7b1 ddbdaa...        Transfer          16569585   59 days 8 hrs ago    ◊ tankbottoms.eth tD      OUT   0 Oxb05E9E...d40F4345 tD          1 ETH             0.00048887


       @      Oxe225d1 Ob4a8d7056...     Exec Transact.~       16569567   59 days 8 hrs ago    0   tankbottoms.eth tD    OUT   § Oxb05E9E...d40F4345 tD          0 ETH             0.00152971


       @      Oxbe137522a49d60e0 ...         Set Text          16569547   59 days 8 hrs ago    O tank bottoms.eth tD     OUT   0 ENS: Public Resolver 2 tD       0 ETH             0.00071187


       @      Ox42bbc6717888c31 e ...    Exec Transact,_       16569532   59 days 8 hrs ago    O tankbottoms.eth i:P     OUT   0 Oxb05E9E...d40F4345 tD          0 ETH             0.00142701


       @      Oxa3aad42202f8b9259 ...    Exec Transact,_       16569524   59 days 8 hrs ago    O tankbottoms.eth tD      OUT   6 Oxb05E9E...d40F4345 cP          0 ETH             0.00290519


       @      Oxcc7a56e0b6db0065...          Set Addr          16569521   59 days 8 hrs ago    O tank bottoms.eth tD     OUT   § ENS: Public Resolver 2 tD       0 ETH             0.00122067


       @      Ox905f4c615f8a94e4f...            Mint           16569499   59 days 8 hrs ago    0 tankbottoms.eth i:P     OUT   0 Compound: cUNI Token i:P        0 ETH             0.00443038


       @      ox07cdt4ab5be229800...         Approve           16569497   59 days 8 hrs ago    O tankbottoms.eth tD      OUT   § Uniswap Protocol: UN I ... tD   0 ETH             0.00082402


       @      Ox84397b47e3c313cc...      Fulfill Availabl..•   16569458   59 days 8 hrs ago    O tank bottoms.eth tD     OUT   B Seaport 1.1 tD                  0.2169 ETH        0.00657608


       @      Ox1676e8f61ceaa1615...     Fulfill Availabl...   16568476   59 days 12 hrs ago   O tank bottoms.eth tD     OUT   B Seaport 1.1 tD                  0.0028 ETH        0.00481912


       @      Ox9194d40274ecce18 ...         T,ansfer          16567600   59 days 15 hrs ago   O tankbottoms.eth tD      OUT   Ox5044fF... 29Acde38 tD           0.061524452 ETH   0.00035804


       @      Ox998386058abd67a6...         Mint Batch         16564260   60 days 2 hrs ago    0   tankbottoms.eth tD    OUl   § Manifold: Lazy Claim tD         0.1435 ETH        0.00269196

                                                                                                                                                                         PLAINTIFF0001030
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      @     Ox0227d38efb400b1 e8...      Mint Batch       16564253    60 days 2 hrs ago    0   tankbottoms.eth tD   OUT   0 Manifold: Lazy Claim tD           0.0615 ETH      0.00361032


      @     Ox2ebfed4eba4072218...     Exec TrallSact_    16561B1 7   60 days 10 hrs ago   0   tankbottoms.eth tD   OUl   B Ox46065c...d68c991 B tD           0 ETH           0.00259105


      @     Ox336c37a1558b054fa...     Exec Transact.-    16561B11    60 days 10 hrs ago   ◊ tankbottoms.eth tD     OUT   0 Ox46065c...d68c9918 tD            0 ETH           0.0015521


      @     Oxdd71 c330eBb634cd...     Exec Transact._    16560B51    60 days 13 hrs ago   ◊ tankbottoms.eth   tD   OUT   (B Ox193249... 18337436 tD          0 ETH           0.00141559


      @     Ox934e79330a8867B3 ...     Exec Tral\Sact_    16560B42    60 days 13 hrs ago   ◊ tankbottoms.eth   tD   OUT   E] Ox193249... 18337436 tD          0 ETH           0.0013 1878


      @     Oxe46072181803191 d ...    Exec TrallSact._   16560B36    60 days 13 hrs ago   0   tankbottoms.eth (9   OUT   0 0x193249... 18337436 tD           0 ETH           0.00135632


      @     Ox448eb4c989feb0271 ...    Exec Transact._    16560B30    60 days 13 hrs ago   ◊ tankbottoms.eth   tD   OUT   [B Ox193249... 18337436 tD          0 ETH           0.00105357


      @     Oxb5134f7fd3bb5affbc...    Exec Transact,_    16560B25    60 days 13 hrs ago   0   tankbottoms.eth (9   OUT   0 0x193249... 18337436 c9           0 ETH           0.00150659


      @     Ox709a39caba3B1 94e...        Set Addr        16560754    60 days 14 hrs ago   O tankbottoms.eth tD     OUT   0 ENS: Public Resolver 2 tD         0 ETH           0.00099885


      @     Oxc8c3dcaB74dfedd63...     Set Subnode ·-     16560751    60 days 14 hrs ago   O tankbottoms.eth tD     OUT   0 ENS: Regist ry w ith Fall... tD   0 ETH           0.00122233


      @     Oxef4f62f906fOBbB9cf..     Exec Transact,_    16560732    60 days 14 hrs ago   ◊ tankbottoms.eth tD     OUT   0 Ox971 645...aBl 4FD96 tD          0 ETH           0.00147234


      @     Ox2619e20edf2Bcbc56...     Exec Transact.-    16560716    60 days 14 hrs ago   0   tankbottoms.eth tD   OUT   0 Ox607d56...effc3B4a (9            0 ETH           0.00136765


      @     Ox06d8c23ef23ed46f2...     Exec TransacL      16560710    60 days 14 hrs ago   O tankbottoms.eth tD     OUT   0 Ox607d56...effc384a tO            0 ETH           0.00145314


      @     Ox0d679d069205e785 ...     Exec Transact,_    16560702    60 days 14 hrs ago   O tankbottoms.eth (9     OUT   0 Ox607d56...effc384a tD            0 ETH           0.00140455


      @     Ox9227d9f5a76454fdb...     Exec Transact,_    16560699    60 days 14 hrs ago   O tankbottoms.eth [.O    OUT   0 Ox607d56...effc384a [.O           0 ETH           0.00147129


      @     Oxc28Bf860afdd68664...     Exec TransacL      16560692    60 days 14 hrs ago   O tankbottoms.eth tO     OUT   B Ox607d56...effc384a (9            0 ETH           0.00091415


      @     Ox050ba63ace3eeb05...      Exec Transact._    16560620    60 days 14 hrs ago   0 tankbottoms.eth (9     OUT   0 Ox607d56...effc384a tD            0 ETH           0.00141784


      @     Oxd362c8a9897c4ede...           Mint          16557332    61 days 1 hr ago     O tankbottoms.eth tD     OUT   0 Manifold: Lazy Cl aim (9          0.023 ETH       0.00264549


      @     Ox795c02b55ad9b63c ...          Mint          16554453    61 days 11 hrs ago   O tankbottoms.eth tD     OUT   0 Prometheans: PROME... tD          0 ETH           0.00135478


      @     Ox1bd23d7a273a33f5a...        Purchase        16551461    61 days 21 hrs ago   O tankbottoms.eth tO     OUT   0 100 Meals: FEED Token tD          0.099 ETH       0.00347836


      @     Ox17a2ad0368930e1d ...          Mint          16546123    62 days 15 hrs ago   O tankbottoms.eth tD     OUT   0 Prometheans: PROML       . tD     0.04 ETH        0.00194133


      @     Oxc67849a4b84c62a3...         Purchase        16543732    62 days 23 hrs ago   0   tankbottoms.eth tO   OUl   0 Ox71B3bb...F61c4a17 [9            0 ETH           0.00341449

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                                                                            401
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       ©     Oxab89c7a98b943cda...          Purchase        16543726   62 days 23 hrs ago    0   tankbottoms.eth tD    OUT   0 Ox146509 ...f6f694E1 tD        0 ETH              0.00335555


       ©     Oxc43f153fdb90b75e8...            Mi nt        16543660   62 days 23 hrs ago    0   tank bottoms.eth tD   OUT   0 Prometheans: PROME_. tD        0.04 ETH           0.00247902


       @     Ox02bce2824ef2ae61 f ...        T,ansfer       16543374   63 days 22 mins ago   ◊ tankbottoms.eth tD      OUT   Oxa7e431 ... 8465B095 tD         1.25ETH            0.00107215


       ©     Oxed563d9b3a185767...       Bless And List     16543049   63 days 1 hr ago      ◊ tankbottoms.eth    tD   OUT   0 Ox51d3BC...060F20AF (9         0.01 ETH           0.00392521


       ©     Ox1 d3a3fc288d0dcc3a...     Approve For A...   16543046   63 days 1 hr a_go     ◊ tank bottoms.eth   tD   OUT   0 Ox845dD2...fdbAOC88 tD         0 ETH              0.00177467


       ©     Oxee7b0a7827a81e01 ...          Transfer       16541394   63 days 7 hrs ago     0   tankbottoms.eth (9    OUT   0 benreed.eth tD                 24 ETH             0.00059138


       ©     Oxd331 b66834ff723d7...         Transfer       16541388   63 days 7 hrs ago     ◊ tankbottoms.eth    tD   OUT   Ox55dEd4...c904d510 tD           603.00032563 ETH   0.0006131


       ©     Ox338cf63bbal d76546...         Execute        16541376   63 days 7 hrs ago     0   tank bottoms.eth (9   OUT   0 Uniswap: Universal Ro_, (9     0 ETH              0.00955149


       ©     Ox042fb5561051841 Be...         Approve        16541370   63 days 7 hrs ago     O tankbottoms.eth tD      OUT   0 Maker: Dai Stablecoin (9       0 ETH              0.00139448


       ©     Oxel c 7cd4a457a 7733 ...   Exec Transact,_    16540184   63 days 11 hrs ago    O tankbottoms.eth tD      OUT   0 0x193249... 18337436 tD        0 ETH              0.00100131


       ©     Ox755bbe3ad767b557...       Exec Transact,_    16540167   63 days 11 hrs ago    O tankbottoms.eth tD      OUT   0 0x193249 ... 18337436 tD       0 ETH              0.00128691


       ©     Ox92089e431 c00c3b8...       Set Delegate      16540011   63 days 11 hrs ago    0   tankbottoms.eth tD    OUT   0 Snapshot: Delegation tD        0 ETH              0.00082237


       ©     Oxe67eb623ae6831 d2...      Exec Transac:L     16538486   63 days 16 hrs ago    O tank bottoms.eth tD     OUT   0 Ox2187e6...CA706fbD tD         0 ETH              0.00112396


       ©     Oxbf9718863c19ee9b6 ...     Exec Transact ,_   16538446   63 days 16 hrs ago    O tankbottoms.eth (9      OUT   0 Ox2187e6.. CA706fbD tD         0 ETH              0.00163542


       ©     Oxaece43eec53ce96d1 ...     Create Proxy ·-    16538337   63 days 17 hrs ago    O tankbottoms.eth tD      OUT   0 Safe: Proxy Factory 1.3.0 tD   0 ETH              0.0109261


       ©     Ox45f00b0aaaa09b227...      Exec TransacL      16538323   63 days 17 hrs ago    O tank bottoms.eth tD     OUT   0 Oxl a9DAd ...AB6E25ad tD       0 ETH              0.00227593


       ©     Ox557c91 dd8da4e987...      Exec Transact,_    16538314   63 days 17 hrs ago    0 tankbottoms.eth (9      OUT   0 Oxl a9DAd ...AB6E25ad (9       0 ETH              0.00254306


       ©     Ox3f0bbdc44ddb28034...         Multicall       16538226   63 days 17 hrs ago    O tankbottoms.eth tD      OUT   0 ENS: Public Resolver 2 tD      0 ETH              0.00239325


       ©     Oxcb75326bfd3405003...          Set Text       16538182   63 days 17 hrs ago    O tank bottoms.eth tD     OUT   0 ENS: Public Resolver 2 tD      0 ETH              0.00226876


       ©     Ox199fca4450f4998eb ...      Batch Airdrop     16538123   63 days 18 hrs ago    O tank bottoms.eth tD     OUT   0 Ox6CBACA...9036E6aA (9         0 ETH              0.00255582


       ©     Oxe7cddd8daa9a4d34...          Set Addr        16538090   63 days 18 hrs ago    O tankbottoms.eth tD      OUT   0 ENS: Public Resolver 2 tD      0 ETH              0.00106046


       ©     Oxe0076e3a1634068e...       Purchase Upg...    16536690   63 days 22 hrs ago    0   tankbottoms.eth tD    OUl   0 Ox1a65Fa...a9c15b52   c9       0.5 ETH            0.0037136

                                                                                                                                                                       PLAINTIFF0001032
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=4                                                                                                          4/5
4 /6 /23, 4 :27 PM                     Case 1:23-cv-20727-RKA Document 106-30
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       @       Ox25e6e95dfc5eebf5d...                 Publish Block .•       16536688          63 days 22 hrs ago              0   tankbottoms.eth tD           OUl       0 Ox1a65Fa...a9c15b52 tD                     0 ETH                     0.00226506


       @       Ox8726b79df4a11815...                     Purchase            16536683          63 days 22 hrs ago              0   tank bottoms.eth tD          OUl       0 Ox1a65Fa...a9c15b52 tD                     1.5 ETH                   0.00757023


       @       Ox71 b93603aeb12f7a 5...               Purchase Upg...        16536661          63 days 22 hrs ago              ◊ tankbottoms.eth tD             OUT       0 Ox1a65Fa...a9c15b52 c,D                    1 ETH                     0.00504813


       @       Ox3cbfdd4b1 cfbaa2d0 ...               Purchase Upg...        16536638          63 days 23 hrs ago              O tankbottoms.eth c,D            OUT       0 Ox1a65Fa...a9c15b52 @                      3 ETH                     0.01 139577


        @      OX168e3be759b4218b...                     Purchase            16536636          63 days 23 hrs ago              ◊ tank bottoms.eth     tD        OUT       El Ox1a65Fa...a9c15b52 @                     1.5 ETH                   0.00823624


       @       Ox1 5b830b40be5257f8 ...                  Purchase            16536625          63 days 23 hrs ago              ◊ tankbottoms.eth      c,D       OUT       0 Ox1a65Fa...a9c15b52 [.D                    3 ETH                     0.01 183839


       @       Oxd9e8915b7633bef84...                 Set Subnode -~         16536081          64 days 52 mins ago             ◊ tankbottoms.eth      c,D       OUT       0 ENS: Registry with Fall... cP              0 ETH                     0.00276237


        @      Ox9c3d11 bl 8c8cl31ef...               Set Approval ..        16530839          64 days 18 hrs ago              O tank bottoms.eth @             01/T      0 Art Blocks: BLOCKS To".        @           0 ETH                     0.00040189


       @       Oxl 6836f3bba38bf33a...                Set Approval ...       16530839          64 days 18 hrs ago              O tankbottoms.eth [.D            OUT       0 OxCeaAb1 ...A79218a4 c,D                   0 ETH                     0.00040272


        @      Ox6fd4434f4dca33950...                 Set Approval .•        16530837          64 days 18 hrs ago              O tankbottoms.eth c,D            OUT       0 Terraforms: TERRAFOR...        (9          0 ETH                     0.00041771


       @       Ox7daa86d38d703fbb4 ...                Set Approval .•        16530836          64 days 18 hrs ago              ◊ tankbottoms.eth c,D            OUT       0 Terra forms: TERRAFOR... c,D               0 ETH                     0.00042302


       @       Oxl 898febf1e6f78d60 ...               Set Approval ·"        16530836          64 days 18 hrs ago              ◊ tankbottoms.eth tD             OUT       0 Art Blocks: BLOCKS To ...      tD          0 ETH                     0.00038333


        @      Ox354f67701 b4f3fd05 ...               Set Approval ·"        16530835          64 days 18 hrs ago              O tank bottoms.eth tD            OUT       0 OxBOc1 ff. ..eDd523D8 tD                   0 ETH                     0.00042711


        @      Ox9c774182fb7d7c35f...                 Set Approval .•        16530835          64 days 18 hrs ago              O tankbottoms.eth c9             OUT       0 Ox018aF7.•.E4c6CEBE c,D                    0 ETH                     0.00050711


       @       Ox9fdf304bc91 e9520c...                Set Approval ..        16530834          64 days 18 hrs ago              O tankbottoms.eth tD             OUT       0 OxCeaAb1 ...A79218a4 tD                    0 ETH                     0.00040106


       @       Oxe5b38c6d583df6319 ...                Set Approval ·"        16530833          64 days 18 hrs ago              O tank bottoms.eth tD            our       0 Terraforms: TERRAFOR...        tD          0 ETH                     0.00043544


        @      Ox922ab9dc9f5b318a 1..                 Set Approval ..        16530823          64 days 18 hrs ago              O tankbottoms.eth c9             OUT       0 OxBOc1fLeDd523D8 c,D                       0 ETH                     0.00040043



      Show:     100        Records                                                                                                                                                                                    First    <   Page4 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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                                                                    ElhereumEntered
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                                                                           401
   Transactions
   For Ox5d95baEBB8412AD827287240A5c281 E3b830d27E O              taikbottoms.eth




      A total of 2,407 transactions found                                                                                                                      Flrst   <     Page 5of 25     >   Last      '\{v



       0      Txn Hash                      MethodG)                     Blo ck      Age                  From                           To                                          Value       Txn Fee


       @      Ox2cbe949f6279e78f1 ...        Set Approva I ...           16530823    64 days 18 hrs ago   O tankbottoms.eth LO    ovr    0 0x97ed92. .9e415e79 LO                    0 ETH       0.00040879


       @      Oxdc0548b35e8bc8ae...              Approve                 16530822    64 days 18 hrs ago   O tankbottoms.eth LO    OVT    0 Wrapped Ether (9                          0 ETH       0.00036337


       @      Ox3ae0e83b841 ab4fb5...            Approve                 16530822    64 days 18 hrs ago   O tankbottoms.eth (9    OUT    0 Wrapped Ether (.0                         0 ETH       0.00036355


       @      Oxf7c022ee13ea621 b7...            Approve                 16530821    64 days 18 hrs ago   O tankbottoms.eth (9    OVT    0 Wrapped Ether c.O                         0 ETH       0.00037345


       @      Oxe678ae904baca5f93...             Approve                 16530821    64 days 18 hrs ago   O t ankbottoms.eth LO   OVT    0 Wrapped Ether (9                          0 ETH       0.00037214


       @      Ox9c8d97a565362c52 ...             Approve                 16530820    64 days 18 hrs ago   O t ankbottoms.eth LO   OV1    0 Wrapped Ether LO                          0 ETH       0.00036724


       @      Oxl fee5683bdecf2529 ...           Approve                 16530820    64 days 18 hrs ago   O tankbottoms.eth L□    OU,    0 Wrapped Ether c.D                         0 ETH       0.00036724


       @      Oxd414e0ba029c73b1..           Set Approva I ...           16530820    64 days 18 hrs ago   O tankbottoms.eth L□    OUT    0 WeMint Washington: W ... LO               O ETH       0.00037209


       @      Ox73f6b9e23249ba0eb...         Set Approva I ...           16530820    64 days 18 hrs ago   O tankbottoms.eth LO    OUT    0 We Mint Washington: W... LO               0 ETH       0.00037209


       @      Oxcf5742849600bl 4a6...        Set Approval ...            16530819    64 days 18 hrs ago   O tankbottoms.eth L□    ou,    0 Ox4C91 E6 ...1 B818408 (9                 O ETH       0.00039121


       @      Ox6a2adb0d6f23dd5cc...         Set Approval ...            16530819    64 days 18 hrs ago   O tankbottoms.eth (.0   O<JT   ®Terraforms: TERRAFOR... (9                 0 ETH       0.00038903


       @      Oxc19ba274b15c7345...          Set Approval ...            16530818    64 days 18 hrs ago   O tankbottoms.eth LO    OUT    0 Terraforms: TERRAFOR... (9                O ETH       0.00039051


       @      ox11 a5e5553760ce44...         Set Approva I . ..          16530818    64 days 18 hrs ago   O tankbottoms.eth (9    OUT    El Terra forms: TERRAFOR.,.   LO            0 ETH       0.00038918


       @      Ox685e050fdd462695e...         Set Approval ...            16530817    64 days 18 hrs ago   O tankbottoms.eth (.0   OVT    0 Ox307767...40DE50aE (9                    0 ETH       0.00039241


       @      Ox5d5f7ef8aa42f30a7f...        Set Approval ...            1653081 7   64 days 18 hrs ago   O tankbottoms.eth LO    001    0 Ox018aF7 ...E4c6CEBE (.D                  O ETH       0.00047154


       @      Ox05a 788005026a24e...             Approve                 1653081 7   64 days 18 hrs ago   O tankbottoms.eth LO    OUT    0 Ox549ea7...D26E964D L□                    0 ETH       0.00039206


       @      Oxacfc207b5d8646a76...             Approve                 16530816    64 days 18 hrs ago   O tankbottoms.eth (.0   OUT    ®SushiSwap: SUSHI Tok...      c_D           0 ETH       0.00040707


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https ://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=S                                                                                                                              1/5
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                                                                             401
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       @      Ox851 ef2b9fa 5200d3c ...         Approve         16530816   64 days 18 hrs ago   O tankbottoms.eth c9      OUT   0 Lido: Staked ETH Token (9           0 ETH   0.00076574


       @      Oxfd74c6d9bcae8117f...        Set Approval...     16530812   64 days 18 hrs ago   O tankbottoms.eth LD      OUT   0 Ox928f07...fEa65fcf LD              0 ETH   0.00045154


       @      Oxffc60122dc42a7228 ...       Set Approva I ...   16530812   64 days 18 hrs ago   O t ankbottoms.eth c9     our   0 Ox928f07...fEa65fcf LD              0 ETH   0.00044998


       @      Oxccd0dec4b1fb9b 1fa ...      Set Approva I ...   16530812   64 days 18 hrs ago   O tankbottoms.eth c9      OUT   0 Ox49D02b...7b0D6961 (9              0 ETH   0.00045057


       @      Ox774f5e0d119401 ff6...           Approve         16530811   64 days 18 hrs ago   O tankbottoms.eth c9      OUT   El Rocket Pool: rETH Token LD         0 ETH   0.00046673


       @      Ox1 d2e28bb5e86b638...            Approve         16530811   64 days 18 hrs ago   O tankbottoms.eth c9      OVT   0 Rocket Pool: rETH Token c9          0 ETH   0.00046557


       @      Ox43c58edaa7eb58afa ...           Approve         16530809   64 days 18 hrs ago   O tankbottoms.eth LO      OUT   0 Polygon (Matic): Matic ... c9       0 ETH   0,00043435


       @      Oxec9dbc0993572e30f...            Approve         16530808   64 days 18 hrs ago   O tankbottoms.eth c9      our   0 Polygon (Matic): Matic ... c9       0 ETH   0.00043701


       @      Ox9d8b1 e12ebc99970...        Set Approve I ...   16530807   64 days 18 hrs ago   O tankbottoms.eth [.O     OVT   0 Loot LOOT Token (9                  0 ETH   0.0003582


       @      Oxd33f46233e5248a68 ...       Set Approval ...    16530807   64 days 18 hrs ago   O tankbottoms.eth L□      OUT   0 Loot: LOOT Token [.D                0 ETH   0.00035696


       @      Ox4b673c6ee2dc91 e6...            Approve         16530807   64 days 18 hrs ago   O tankbottoms.eth c9      ovr   0 LooksRare: LOOKS Tok...    [.D      0 ETH   0.00035852


       @      Ox407b3548d8c46468 ...        Set Approva I ...   16530807   64 days 18 hrs ago   0   tankbottoms.eth [.O   OVT   0 Oxa9248a...06ffd2e2 [.O             0 ETH   0.00035984


       @      Oxdfl f86af6dl Oc86d4...      Set Approva I ...   16530805   64 days 18 hrs ago   O tankbottoms.eth [.O     OUT   0 Oxa9248a...06ffd2e2 c9              0 ETH   0.0003916


       @      Ox9937b21 b2164fff4d...       Set Approva I ...   16530804   64 days 18 hrs ago   O tankbottoms.eth [.O     ovr   0 PREMINT Collector: PR .. c9         0 ETH   0.00085252


       @      Ox53cd9117def85abb9...        Set Approva I ...   16530803   64 days 18 hrs ago   O tankbottoms.eth c9      OUT   0 Poolsuite Executive Me... c9        O ETH   0.00044458


       @      Ox042ac0a3240cd274 ...        Set Approva I...    16530802   64 days 18 hrs ago   O tankbottoms.eth [.O     OUT   0 Poolsuite Executive Me... c9        0 ETH   0.00044765


       @      Oxb495423bea 1dc259...        Set Approva I ...   16530802   64 days 18 hrs ago   O tankbottoms.eth [.O     ovr   0 Poolsuite Executive Me... c9        0 ETH   0.00044765


       @      Ox4c2a2e2ec49b5b66...         Set Approva I ...   16530786   64 days 18 hrs ago   O tankbottoms.eth [.O     OVT   0 Ox68A510...3d342b6D c..D            0 ETH   0.00038912


       @      Ox8d7d724ee3a8e660...         Set Approva I ...   16530786   64 days 18 hrs ago   O tankbottoms.eth LD      OUT   0 The Otherside: OTHR L c9            0 ETH   0.00039166


       @      Ox637f6721 d5e0e9b9b...       Set Approva I ...   16530784   64 days 18 hrs ago   O tankbottoms.eth LD      OUT   0 The Otherside: OTHR T,..   c..D     O ETH   0.00042213


       @      Ox21 f86364bae5b7f3c ..       Set Approva I ...   16530783   64 days 18 hrs ago   O tankbottoms.eth [.O     our   0 Ox885525. .3EF005c5 c9              0 ETH   0.0003981 1


       @      Ox6aebbef9872df8a98...        Set Approva I ...   16530780   64 days 18 hrs ago   O tankbottoms.eth LD      OUT   0 Moonbirds Oddities: O".    LD       0 ETH   0.00086141

                                                                                                                                                                    PLAINTIFF0001035
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                                                                   ElhereumEntered
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       @     Ox7735f44d14ab251 ff...       Set Approval ...    16530780   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    0 Moonbirds Oddities: O". c9        0 ETH   0.00049905


       @     Oxaeb2e92e252c2c2ae...        Set Approval ...    16530779   64 days 18 hrs ago   O tankbottoms.eth r.,O    out    0 Moonbirds: MOONBIR". c9           0 ETH   0.00089545


       @     Ox4f31900f9894a8066...            Approve         16530778   64 days 18 hrs ago   O tankbottoms.eth c9      Olff   0 Ox48E1 Fd...20B6bb49 r.,0         0 ETH   0.00040802


       @     Ox793ea1 c6afe41 d0c4...          Approve         16530778   64 days 18 hrs ago   O tankbottoms.eth c9      OlIT   0 Ox48E1 Fd...20B6bb49 c9           0 ETH   0.00040802


       @     Oxf5f09f5ba452353c6...            Approve         16530778   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    El World Domination: ME... c9       0 ETH   0.0004074


       @     Oxaf42d980264ee0746...        Set Approva I ...   16530763   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    0 Ox329CA3 ...df34b618 r.,O         0 ETH   0.00048737


       @     Oxd23e38e095d7107c...         Set Approval ...    16530760   64 days 18 hrs ago   O tankbottoms.eth r.,O    OlIT   0 Ox6C8ACA...9D36E6aA r.,O          0 ETH   0.00043679


       @     Ox5c72ebeaac2c1 acOO...           Approve         16530759   64 days 18 hrs ago   O tankbottoms.eth c9      Olff   0 Apecoin: APE Token c9             0 ETH   0.00040408


       @     Oxddedba5cd7e64720...         Set Approve I ...   16530758   64 days 18 hrs ago   O tankbottoms.eth [.O     OUT    0 Oxa9248a...06ffd2e2 r.,O          0 ETH   0.00041526


       @     Ox81313b9b5588b8b7 ...        Set Approval ...    16530757   64 days 18 hrs ago   O tankbottoms.eth r.,O    OUT    0 Oxa9248a...06ffd2e2 c9            0 ETH   0.0004141 2


       @     Oxd5de068e73e7a05b...             Approve         16530757   64 days 18 hrs ago   O tankbottoms.eth c9      ovr    0 CitaDAO: KNIGHT Token (9          0 ETH   0.00041 16


       @     Oxael 121 dfbb3da4833...      Set Approva I ...   16530756   64 days 18 hrs ago   0   tankbottoms.eth [.O   OUT    0 Ox94adc7...c60A48a4 [.O           0 ETH   0.00043643


       @     Ox0ac78fd42c4a08ad1 ...       Set Approva I ...   16530756   64 days 18 hrs ago   O tankbottoms.eth [.O     OUT    0 Ox94adc7...c60A48a4 [.O           0 ETH   0.00043779


       @     Ox374a9bffe316b1 cb8 ...      Set Approva I ...   16530755   64 days 18 hrs ago   O tankbottoms.eth r.,0    ovr    0 Ox0f4738...42DDC53f (9            0 ETH   0.00044311


       @     Ox06e14215eedc97e2 ...        Set Approva I ...   16530754   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    0 HeadDAO: HEAD Token r.,0          O ETH   0.00041 161


       @     Ox2ccce16e449608ad...         Set Approva I...    16530754   64 days 18 hrs ago   O tankbottoms.eth [.O     OUT    Ox078AFb...70Ced96B r.,O            0 ETH   0.0004026


       @     Oxf81 cbe88e81 d01 d78...     Set Approva I ...   16530753   64 days 18 hrs ago   O tankbottoms.eth r.,O    OVT    OXD78AFb ..70Ced96B [.O             0 ETH   0.00036183


       @     Ox04455b2261056a0f9 ...       Set Approva I ...   16530753   64 days 18 hrs ago   O tankbottoms.eth r.,O    OUT    Ox078AFb ..70Ced96B (9              0 ETH   0.00036183


       @     Oxadc250bddfb7ee88a...        Set Approva I ...   16530753   64 days 18 hrs ago   O tankbottoms.eth r.,O    OUT    0 gmDAO Token v2: GMV... (9         0 ETH   0.00036581


       @     Ox47e6e3ed2bdcc7aaf...        Set Approva I ...   16530753   64 days 18 hrs ago   O tankbottoms.eth r.,O    OUT    0 ForgottenRunesWarrior... r.,O     O ETH   0.00036286


       @     Ox26b58b54e62c9198 ...            Approve         16530751   64 days 18 hrs ago   O tankbottoms.eth r.,O    Olff   0 ENS: ENS Token r.,O               0 ETH   0.00041259


       @     Ox739d8f54f7682d054...            Approve         16530751   64 days 18 hrs ago   O tankbottoms.eth r.,O    OUT    0 ENS: ENS Token @                  O ETH   0.00041 16

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                                                                           401
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       @     Ox252d499d42d 53290 ...          Approve         16530750   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    El Maker. Dai Stablecoin c,□        0 ETH   0.00041748


       @     Oxc3a213f8d4007e0f3...           Approve         16530750   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    El Maker. Dai Stablecoin c9         0 ETH   0.00041748


       @     Ox44f97bbc073422266 ...          Approve         16530749   64 days 18 hrs ago   O t ankbottoms.eth c9     OlfT   0 Maker: Dai Stablecoin c,□         0 ETH   0.00042446


       @     Oxd705176e2420b65d...            Approve         16530749   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    El Maker: Dai Stablecoin (9         0 ETH   0.00042446


       @     Ox775c61 ea9cc85f47f...          Approve         16530744   64 days 18 hrs ago   O tankbottoms.eth (9      OUT    0 Maker: Dai Stablecoin (9          0 ETH   0.00039229


       @     Oxb91489137fbf29135...           Approve         16530744   64 days 18 hrs ago   O tankbottoms.eth (9      OUT    El Maker: Dai Stablecoin c,□        0 ETH   0.00039229


       @     Ox022febe333a6322c4...           Approve         16530743   64 days 18 hrs ago   O tankbottoms.eth c:.□    OUT    El Maker: Dai Stablecoin (9         0 ETH   0.00039363


       @     Ox506645de1d417486...            Approve         16530742   64 days 18 hrs ago   O tankbottoms.eth c9      OlfT   El Curve.fl: CRV Token (9           0 ETH   0.00041324


       @     Ox7f01 a8bb46a40ce58 ...     Set Approve I ...   16530738   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    El Creepz: ARMS Token (9            0 ETH   0.00040606


       @     Oxeaf9ce8bc4118e709...       Set Approval ...    16530738   64 days 18 hrs ago   O tankbottoms.eth L□      OUT    E) Creepz: VAULT Token L□           0 ETH   0.00040849


       @     Oxc65b9b228c57fbf2d...       Set Approva I ...   16530737   64 days 18 hrs ago   O tankbottoms.eth c9      ovr    0 Creepz Invasion Pass: I... L□     0 ETH   0.00039636


       @     Ox6dedfbe63b265b148...       Set Approva I ...   16530736   64 days 18 hrs ago   0   tankbottoms.eth c,□   OUT    El Creepz: CBC Token c,□            0 ETH   0.00038369


       @     Ox9b25f6e11 e22334c4 ...     Set Approva I ...   16530735   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    0 Ox6D0065...07200c0b c,O           0 ETH   0.00038901


       @     Ox7005963e64047823...        Set Approva I ...   16530725   64 days 18 hrs ago   O tankbottoms.eth [,O     ovr    0 OxdOFabB...39376937 L□            0 ETH   0.00043659


       @     OX130741c9da5a05afc...           Approve         16530725   64 days 18 hrs ago   O tankbottoms.eth c9      OUT    El Compound: cDAI Token c,□         O ETH   0.00053195


       @     Oxf91 b97d588e6604ae...      Set Approva I ...   16530725   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    El Ox66293A...7F60Ad21 c9           0 ETH   0.00091694


       @     Oxe7d464c46b7253b3 ...       Set Approva I ...   16530724   64 days 18 hrs ago   0 tankbottoms.eth L□      ovr    El Ox66293A...7F60Ad21 c9           0 ETH   0.00047554


       @     Oxb855bee28a42bfd97...       Set Approva I ...   16530724   64 days 18 hrs ago   O tankbottoms.eth L□      OUT    El Oxa4384a...d0Eb60Ac L□           0 ETH   0.00042597


       @     Ox829f0a411fb182540...           Approve         16530723   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    El OxeD1840...BF0778a9 c9           0 ETH   0.00051837


       @     Oxb84c8a2725320e0e...            Approve         16530723   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    El BendDAO; BEND Token c,□          O ETH   0.00051829


       @     Ox375bf532df0c76d94...       Set Approva I ...   16530722   64 days 18 hrs ago   O tankbottoms.eth L□      OlfT   El Ox90e0Ec...ee9D6A91     c:.□     0 ETH   0.00109897


       @     Ox82bf18733d3ef38a1 ...      Set Approva I ...   16530721   64 days 18 hrs ago   O tankbottoms.eth c,□     OUT    El Ox6dDe04...5e31b61 B cP          0 ETH   0.00040665

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https ://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=S                                                                                                    4/5
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       @>      Ox0185821 Od5845411 ...                    Set Approval ...         16530720           64 days 18 hrs ago                O tankbottoms.eth c9             OUT        0 Ox6dDe04...5e31 b61 B (9                     0 ETH           0.00043218


       @>      OX589c8d8cf48fe4fd0...                     Set Approval...          16530720           64 days 18 hrs ago                O tankbottoms.eth r.,O           WT         0 Ox6dDe04...5e31b61 B (9                      O ETH           0.00043218


       @       Ox117711df7df5d6b4c...                     Set Approva I ...        16530719            64 days 18 hrs ago               O t ankbottoms.eth c9            OUT        0 Ox8306FB...7DFC7473 c9                       0 ETH           0.00117804


       @>      Ox1 dd69a 73a340ac42...                        Approv@              16530712           64 days 18 hrs ago                O tankbottoms.eth r.,O           OlfT       0 The Graph: GRT Token r.,O                    0   ETH         0.00045872


       @>      Ox7de259bc9c61 4a61 ...                        Approve              16530257           64 days 20 hrs ago                O tankbottoms.eth r.,O           OUT        0 The OpenDAO: SOS To... r.,O                  0 ETH           0.00062037


       @>      Ox2120659afe0b7735b...                     Gated Mint Ed.-          16529696            64 days 22 hrs ago               0   tankbottoms.eth    c9        OUT        0 Ox1 bf979 ...25F2de5e r.,O                   0   ETH         0.0071397


       @>      Ox89021 d56e4f02b3dc...                    Set Subnode ...          16529149           65 days 7 mins ago                O tankbottoms.eth c:.□           OlfT       0 ENS: Registry with Fall.,.     c:.□          0   ETH         0.00292808


       @>      Ox0892887d96bac3ab ...                     Set Subnode ...          16528451           65 days 2 hrs ago                 O tankbottoms.eth c9             OUT        0 ENS: Registry with Fall... c9                0   ETH         0.00184637


       @>      Ox541 e3ab027c54611 ...                    Set Subnode ...          16527786           65 days 4 hrs ago                 O tankbottoms.eth [.O            OUT        0 ENS: Registr y with Fall... c9               0   ETH         0.00229275


       @>      Ox9a1 f8c6ecba730a97 ...                   Set Subnode ...          16527380           65 days 6 hrs ago                 O tankbottoms.eth r.,O           OUT        0 ENS: Registry with Fall... c9                0   ETH         0.00267364


       @>      Ox8ae797ec83ecaaa35...                         Set Addr             16527363           65 days 6 hrs ago                 O tankbottoms.eth c9             ovr        0 ENS: Public Resolver 2 c9                    0 ETH           0.00255494


       @>      Oxe81d25140a87796e...                      Set Subnode •..          16527358           65 days 6 hrs ago                 0   tankbottoms.eth    [.O       OUT        0 ENS: Registry with Fall...     r.,O          0 ETH           0.00324662


       @>      Ox39a9f759f83cd855b...                         Execute              16521468           66 days 1 hr ago                  O tankbottoms.eth [.O            OUT        0 Uni swap: Universal Ro... c9                 0 ETH           0.00251594


       @>      Ox5115442417c6179e...                         Withdraw              16521464           66 days 1 hr ago                  O tankbottoms.eth r.,0           OVT        0 Yearn: yvDAI Vault r.,O                      0   ETH         0.00167088


       @>      Oxd431 fd87a8 1 fed42f...                      Execute              16521436           66 days 1 hr ago                  O tankbottoms.eth c9             OVT        0 Uni swap: Universal Ro... c9                 O ETH           0.00400622


       @>      Ox6ed9141b2daf00cd0...                         Approve              16521434           66 days 1 hr ago                  O tankbottoms.eth [.O            OUT        0 Rocket Pool: rETH Token r.,O                 0   ETH         0.00109493


       ®       Oxa498bb11d1e7b1 a2...                     Exchange_mu.~            16521424           66 days 1 hr ago                  O tankbottoms.eth r.,O           ovr        0 Curve.fl: Swap Router c9                     0   ETH         0.00395396



      Show:     100        Records                                                                                                                                                                                     First   <   Page5of 25                Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base,




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      A total of 2,407 transactions found                                                                                                                                     First   <    Page 6of 25   >   Last   '\{v



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       @      OxfdcBbB38a94a5705f...             Approve              16521422         66 days 2 hrs ago     O tankbottoms.eth LD          Ol/T   0 Lido: Staked ETH Token LD             OETH                 0.00132864


       @      Ox78fdd9458ecee7342..          Fulfrll Basic Or..       16514498         67 days 1 hr ago      O tankbottoms.eth LD          OIJT   0 Seaport 1.1 LD                        0.59 ETH             0.00528691


       @      Ox66eb70c1407528f0c...             Execute              16514491         67 days 1 hr ago      () tankbottoms.eth LD         OUT    0 Blur.io: Marketplace L□               0.449 ETH            0.00642907


       @      Ox56 75892036945e1 d ...       Fulfrll BasicOr._        16514454         67 days 1 hr ago      O tankbottoms.eth L□          0\/T   0 Seaport 1.1 L□                        0.62 ETH             0.00420326


       @      Ox90780bddf190c9cb6...             Trar\sfe.r           16512665         67 days 7 hrs ago     OX608125...7239Fe80      (9    IN    O tankbottoms.eth (9                    3 ETH                0.00031542


       @      Oxf159eb1c3475e9c45...               M int              16507785         67 days 23 hrs ago    O tankbottoms.eth   L□        Ol/T   0 Manifold: Lazy Claim 2 L□             0 ETH                0.00297113


       @      OX21 d5eddff51 f38998...       BatchBuyW1t._            16507430         68 days 53 mins ago   O tankbottoms.eth (9          0\/T   0 Blur.lo: Marketplace 2   (9           0.332884403 ETH      0.00420266


       @      Ox141 Oc971 f0c831df0 ...          Deposit              16507424         68 days 54 mins ago   O tankbottoms.eth   L□        our    0 Blur: Bidding L□                      1 ETH                0.00070338


       @      Ox34f4 7bcb 10173bf50...       Fulfill Basic Qr._       16507401         68 days 59 mins ago   O tankbottoms.eth L□          our    0 Seaport 1.1 LD                        0.7 ETH              0.00231198


       @      Oxced9f230325e7b33d...         Fulfrll Basic Or.•       16507374         68 days 1 hr ago      O tankbottoms.eth L□          OUT    0 Seaport 1.1 L□                        0.094 ETH            0.00218601


       @      Oxa4edfce3bdc659019...         Fulfill Basic Or.•       16507366         68 days 1 hr ago      O tankbottoms.eth (9          our    0 Seaport 1.1 e,D                       0.03 ETH             0.00224473


       @      Ox7520deefe74fd461 f ...       Fulfill Basic Or.~       16507362         68 days 1 hr ago      O tankbottoms.eth L□          OUI    0 Seaport 1.1 L□                        0.03 ETH             0.00231811


       @      Ox49163bac32498d84...          Fulfill A<fvanc.~        16507360         68 days 1 hr ago      O tankbottoms.eth   L□        OUT    0    Seaport 1.1 Lo                     0.0925 ETH           0.0019946


       @      Ox48ca0f29fc9ce7531 ...        Fulfill Advanc,_         16507357         68 days 1 hr ago      O tankbottoms.eth e,D         our    0 Seaport 1.1 e,D                       0.0925ETH            0.00233148


       @      Ox2a84aa9e411364e0 ...         Fu~,11 Availabl...       16507350         68 days 1 hr ago      O tankbottoms.eth L□          our    0 Seaport 1.1 LD                        0.14409 ETH          0.00805549


       @      Oxabb241 b4e507b404...         Fu~,11 Availabl...       16507343         68 days 1 hr ago      () tankbottoms.eth L□         OUI    0 Seaport 1.1 L□                        0.11137785 ETH       0.00817732


       @      Oxcfa5126cf0f8f41247...        Fulfill Availabl...      16507281         68 days 1 hr ago      O tankbottoms.eth L□          OUT    0 Seaport 1.1 e,D                       0.2277 ETH           0.01242626


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       @     Ox110711c1 fd4e63d4d ...     Fulfill AvailabL..   16507277   68 days 1 hr ago      O tankbottoms.eth t,O           our    0 Seaport 1.1 t,O                  1.042 ETH   0.00922633


       @     Ox2c17bd2d429285c2 ...           Execute          16507187   68 days 1 hr ago      Otankbottoms.eth t,O            our    0 Uniswap: Universal Ro... t,O     O ETH       0.00331507


       @     Oxd8ef247ddbf0eafe1 ...      Fulfill Basic Or.•   16507152   68 days 1 hr ago      ◊ tankbottoms.eth t,O           OUI    0   Seaport 1.1 t,O                0.69ETH     0.00323025


       @     Oxe6a62596975cedee...            Transfer         16507130   68 days 1 hr ago      Oservice-provider.eth c9         IN    O tankbottoms.eth c9               2 ETH       0.00038755


       @     Oxaaa10293fceacfd32...       Toggle Nesting       16502251   68 days 18 hrs ago    O tankbottoms.eth t,O           ovr    0 Moonbirds: MOONBIR...      t,O   0 ETH       0.0007818


       @     Ox97ce7db56f32f420e...           Transfer         16502245   68 days 18 hrs ago    0   tankbottoms.eth t,O         ovr    Ox8COOf4... 6dc23cc3 (9            3 ETH       0.00035473


       @     Ox078aefdddbd69f247 ...          Transfer         16501981   68 days 19 hrs ago    Ox608125...7239Fe80        c9    IN    O tankbottoms.eth t,D              3 ETH       0.00029939


       @     Ox82f3b4a38f65714f5...       Fulfill AvailabL..   16501936   68 days 19 hrs ago    Otankbottoms.eth t,O            our    0 Seaport 1.1 t,O                  0.054 ETH   0.005871 19


       @     Ox80432aca5022ae32...            Transfer         16501915   68 days 19 hrs ago    O tankbottoms.eth (.0           ovr    Ox8COOf4...6dc23cc3 (9             4ETH        0.00030379


       @     Oxad229dc9a943d138...        Set Subnode ·~       16493823   69 days 22 hrs ago    O tankbottoms.eth t,O           our    0 ENS: Registry with FalL t,O      OETH        0.00174766


       @     Ox233c9caad14f5bd8d ...          Set Addr         16485976   71 days 47 mins ago   O tankbottoms.eth t,O           our    0 ENS: Public Resolver 2 t.D       0 ETH       0.00101947


       @     Oxf6f302cb67c2d1 eta...          Execute          16480815   71 days 18 hrs ago    0   tankbottoms.eth   c9        our    0 Uniswap: Universal Ro... (.0     OETH        0.00371505


       @     Ox7d1 f9aef92f025727...          Approve          16480534   71 days 19 hrs ago    O tankbottoms.eth (9            our    0 ENS: ENS Token t.O               OETH        0.00092292


       @     Oxc840f8cfbe82580acf...          Transfer         16480524   71 days 19 hrs ago    O tankbottoms.eth cP            our    0 Centre: USD Coin t,D             0 ETH       0.00128884


       @     Ox514c0bc5a8e2da64...            Execute          16480520   71 days 19 hrs ago    O tankbottoms.eth t,O           OUT    0 Uniswap: Universal Ro... (.0     O ETH       0.00268186


       @     Ox623b8f191 e4975f42 ...         Approve          16480517   71 days 19 hrs ago    O tankbottoms.eth (9            WT     0 Maker: Dai Stablecom (9          OETH        0.00080052


       @     Ox0233b6a206e5259b...           Withdraw          16480511   71 days 19 hrs ago    O tankbottoms.eth t,D           our    0   Yearn: yvDAI Vault t,O         0 ETH       0.00131735


       @     Oxfb41 ae437042a5c2c...          Deposit          16445161   76 days 17 hrs ago    Otankbottoms.eth t,O            OUT    0 Ox8ee392...7da41908 t,D          OETH        0.00168503


       @     Ox7cb84d0de0942e21 ...        Batch Airdrop       16443065   77 days 32 mins ago   Otankbottoms.eth t,O            our    0 Ox6C8ACA. ..9036E6aA t,O         OETH        0.0071 838


       @     Ox077d47c36365ef380...          Mint Batch        16441489   77 days 5 hrs ago     Otankbottoms.eth t,O            our    0 Manifold: Lazy Claim (9          O ETH       0.00197879


       @     Ox2c465a8a6dbd2228 ...       Exec Transact ...    16430781   78 days 17 hrs ago    O tankbottoms.eth t,O           our    0 Ox2187e6..CA706fbD t,D           0 ETH       0.00158077


       @     Oxbf18745508a1 b5a6f...       Batch Airdrop       16430042   78 days 20 hrs ago    O tankbottoms.eth t,O           0111   0 Ox6C8ACA...9036E6aA (9           0 ETH       0.01364376

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       @     Oxf61 Oa356924928589...        Batch Aitdrop      16430035   78 days 20 hrs ago   O tankbottoms.eth t,O       0Ul    0 Ox6C8ACA. ..9036E6aA t,O           OETH             0.01178697


       @     Oxce2fb821 aSl 221163...       Batch Airdrop      16430013   78 days 20 hrs ago   Otankbottoms.eth t,O        OUl    0 Ox6C8ACA. .. 9036E6aA t,O          0 ETH            0.01470521


       @     Ox42c253380bfbbc0c6 ...        Batch Airdrop      16429959   78 days 20 hrs ago   ◊ tankbottoms.eth t,O       our    0 Ox329CA3...df34b618 t,O            OETH             0.03769882


       @     Oxd90737426e995a28...          Batch Airdrop      16429892   78 days 20 hrs ago   Otankbottoms.eth t,O        our    0 Ox329CA3...df34b618 (9             0 ETH            0.00666986


       @     Ox88aae4705b98501 e ...       Exec Transact...    16428001   79 days 3 hrs ago    O tankbottoms.eth t,O       0\/T   0 0xla90Ad,.. A86E25ad t,O           0 ETH            0.00268263


       @     Ox609f1752eb171 a 78c...          SetAddr         16427941   79 days 3 hrs ago    O tankbottoms.eth t,O       OUT    0 ENS: Public Resolver 2 t,O         OETH             0.00151914


       @     Oxd5e3d3df9fd5b3d33 ...       Sot Su bnodo ...    16427939   79 days 3 hrs ago    O tankbottoms.eth t,O       our    0 ENS: Registry with Fall...   t,O   OETH             0.00118384


       @     Ox709d4f4773b37166c...        Redeem Pass._       16427878   79 days 3 hrs ago    O tankbottoms.eth t,O       our    0 Ox503a30...D88384A3 t,O            O.OSETH          0.00576546


       @     0     Oxd64e79b31066a53d...   Redeem Pass._       16427874   79 days 3 hrs ago    O tankbottoms.eth (.0       0\/T   0 Ox503a30...D8B384A3 (9             O.OSETH          0.00134549


       @     Oxd273f3ac93649c5ce...        Redeem Pass,_       16427873   79 days 3 hrs ago    O tankbottoms.eth t,O       OUT    0 Ox503a30...D88384A3 t,O            0.05ETH          0.00430352


       @     Oxdb4b5ecf3ae1 e3627 ...         Set Owner        16427860   79 days 3 hrs ago    O tankbottoms.eth t,O       OUT    0 ENS: Registry with Fall...   t,D   0 ETH            0.00076502


       @     Ox801b7346bca0568a ...           Set Addr         16427717   79 days 3 hrs ago    0   tankbottoms.eth   cP    OUT    0 ENS: Public Resolver 2 (.0         OETH             0.00151888


       @     Ox7fef70ebd2b9c86ae...            SetAddr         16427693   79 days 4 hrs ago    O tankbottoms.eth (9        OUT    0 ENS: Public Resolver 2 t.O         OETH             0.00214833


       @     Oxc40109a0239c4149...         Exec Transact ...   16427666   79 days 4 hrs ago    O tankbottoms.eth cP        our    0 Oxl a90Ad...AB6E25ad t,D           0 ETH            0.00374539


       @     Oxd04459ecc60b3938...         Sot Subnodo ...     16427631   79 days 4 hrs ago    O tankbottoms.eth     t,O   OUT    0 ENS: Registry with FalL      (.0   O ETH            0.00333136


       @     Oxaae5e387c546c1e2 ...            SetAddr         16427604   79 days 4 hrs ago    O tankbottoms.eth (9        WT     0 ENS: Public Resolver 2 t.O         OETH             0.00245922


       @     Ox951415f679d1014d ...        Register With ...   16427598   79 days 4 hrs ago    O tankbottoms.eth t,D       OUT    0 ENS: ETH Registrar Co...     t,O   0.00700781 ETH   0.01522547


       @     Ox7d8cc7a8e93ff970c...            Commit          16427590   79 days 4 hrs ago    O tankbottoms.eth t,O       OUT    0 ENS: ETH Registrar Co...     t,O   0 ETH            0.00292103


       @     Ox95774306e177c3d8...             Transfer        16426474   79 days 8 hrs ago    Otankbottoms.eth t,O        0\/T   0 Yearn: yvDAI Vault t.O             OETH             0.00085308


       @     Ox3e3f988800204e097...            Transfer        16425043   79 days 12 hrs ago   Otankbottoms.eth t,O        0\/T   0 Maker: Dai Stablecoin (9           O ETH            0.0008249


       @     0)(1 2eb0ba67cc72f1 62...         Deposit         16424869   79 days 13 hrs ago   O tankbottoms.eth     t,O   our    0 Ox8ee392...7da41908 t,D            0 ETH            0.0022496


       @     Ox3586f4f5eb57af77c...            Approve         16424864   79 days 13 hrs ago   O tankbottoms.eth t,O       our    0 Maker: Dai Stablecoin (9           0 ETH            0.00069724

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       @       Ox52bb1 a138483169fe...           Transfer         16424853   79 days 13 h rs ago   O tankbottoms.eth t,O       OUT   0 Maker. Dai Stablecoln t,O            OETH        0.00082727


       @       Ox2467ed86689bf259f...            Transfer         16424850   79 days 13 hrs ago    Otankbottoms.eth t,O        our   Oxa7e431 ...8465B095 t,O               0.25 ETH    0.00033298


       @       Ox2db5456a7ce244ae...         Set SU bnode ...     16424777   79 days 13 h rs ago   ◊ tankbottoms.eth t,O       our   0 ENS: Registry with Fall... t,O       OETH        0.0012311


       @       Oxf35971604f0c6ca3d...            Multicall        16423943   79 days 16 hrs ago    Otankbottoms.eth t,O        our   0 ENS: Public Resolver 2 c.,O          0 ETH       0.0024137


        @      Ox511 f3bc42081e6264 ...      Set SU bnode ...     16423924   79 days 16 hrs ago    O tankbottoms.eth t,O       ovr   0 ENS: Registry with FalL       c.,O   0 ETH       0.00728023


       @       Ox29c682e185043614...         Set SU bnode ...     16423910   79 days 16 hrs ago    O tankbottoms.eth t,O       our   0 ENS: Regist ry with Fall.,. c.,0     OETH        0.00072806


       @       Ox681611d789c7681 ff...        Batch Airdrop       16390974   84 days 7 hrs ago     O tankbottoms.eth t,O       our   0 Ox6CBACA. .9D36E6aA        (9        OETH        0.008533%


        @      Oxf6f77a 1645426f2db...           Set Text         16390957   84 days 7 hrs ago     O tankbottoms.eth c.,O      our   0 ENS: Public Resolver 2    (9         OETH        0.0017661 1


       @       Oxa0ef1 9142f41323fd ...       Batch Airdrop       16390939   84 days 7 hrs ago     O tankbottoms.eth c.,0      ovr   0 Ox6CBACA...9D36E6aA        (9        OETH        0.00253228


        @      Ox47e57ba382a4fb5cl . .          SetAddr           16390871   84 days 7 hrs ago     O tankbottoms.eth     t,O   our   0 ENS: Public Resolver 2 c.,O          OETH        0.00069297


       @       Oxbbe38fdbdbcd225fb...           Set Addr          16390868   84 days 7 hrs ago     O tankbottoms.eth t,O       our   0 ENS: Public Resolver 2 c.,0          0 ETH       0.00072824


       @       Ox4bc8ae35b789cf39a ...          Set Addr          16390848   84 days 7 hrs ago     0   tankbottoms.eth   (9    our   0 ENS: Public Resolver 2 c.,0          OETH        0.000752


        @      Oxd9d29c8fce39221 Be...           SetAddr          16390844   84 days 7 hrs ago     O tankbottoms.eth (9        our   0 ENS: Public Resolver 2 c.,O          OETH        0.00073595


        @      Ox7f06c9b 48a55ce0ad ...         SetAddr           16390842   84 days 7 hrs ago     O tankbottoms.eth (9        our   0 ENS: Public Resolver 2 (9            0 ETH       0.00073044


       @       Ox321 e1da0021 a7835...          SetAddr           16390753   84 days 7 hrs ago     O tankbottoms.eth t,O       OUT   0 ENS: Public Resolver 2    c.,0       O ETH       0.00086691


       @       Ox7605aa47adb2f5b69 ...       Exec Transact...     16389217   84 days 13 hrs ago    O tankbottoms.eth (9        WT    0 Oxb05E9E...d40F4345 c.,O             OETH        0.00095326


        @      Ox4786e12bf07c6ae1 f...       Exec Transact ...    16389209   84 days 13 hrs ago    O tankbottoms.eth t,O       our   0 Oxb05E9E..d40F4345 (9                0 ETH       0.00093004


       @       Oxfbf91 d6de50a 115cd...          Transfer         16383896   85 days 6 hrs ago     O tankbottoms.eth t,O       our   Ox3b8438 ...aA9048Db t,O               lETH        0.00056179


       @       Oxae2508f72ec632304 ...             Pay            16378130   86 days 2 hrs ago     Otankbottoms.eth t,O        ovr   0 Ox594Cb2 ...8864ec63 c.,O            0.14 ETH    0.01333055


       @       Ox8b1845f49d08035cd...            Multicall        16378126   86 days 2 hrs ago     Otankbottoms.eth t,O        ovr   0 Uniswap V3: Router 2     (9          O ETH       0.00351 182


       @       Oxa76787d342f1b f503 ...          Redeem           16375799   86 days 10 h rs ago   O tankbottoms.eth c.,O      our   0 Compound: cDAI Token c.,O            0 ETH       0.00226223


       @       Oxc5c029d4aa747e1 c ...       Fulfill AvailabL..   16375672   86 days 1O h rs ago   O tankbottoms.eth t,O       OUl   0 Seaport 1.1 c.,O                     0.228 ETH   0.00525067

                                                                                                                                                                                PLAINTIFF0001042
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1 OO&p=6                                                                                                                 4 /5
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       e       Txn Hash                        Method<:1) Block Age               From                               To                   Value                                                                                                    Txn Fee


       @       Ox1578cb34€46c2b2f5...                       Transfer           16338207          91 days 15 hrs ago             O tankbottoms.eth t,O               CM        0 Centre: USD Coin t,O                      OETH                     0.00113062


       @       OX70996f2c33c51 f8c9 ...                     Multicall          16338200          91 days 15 hrs ago             O tankbottoms.eth t,O               our       0 Uniswap V3: Router 2 c9                   3.08 ETH                 0.00217469


       @       Ox817903d06c8cbceb ...                      Mint Batch          16334204          92 days 5 hrs ago              ◊ tankbottoms.eth      t,O          OUI       0 Manifold: Lazy Claim t,O                  OETH                     0.00388862


       @       Ox3cec67c23f63a6530...                       Transfer           16302635          96 days 15 hrs ago             ◊ tankbottoms.eth      t,O          OUI       Oxl 5F873 ...56C3b61 D (9                   0.0556551 ETH            0.00031423


       @       Ox7fca7 40ec5b1685f2...                      Transfer           16302613          96 days 15 hrs ago             O tankbottoms.eth t,O               O\JT      Oxl 5F873 ...56C3b61 D t,O                  0.0017664 ETH            0.00028397


       @       Ox7eb279c124a81446f...                       Claim All          16302554          96 days 15 hrs ago             0   tankbottoms.eth t,O             our       0 Oxf58132... 144Fb006 t,O                  OETH                     0.00577042


       @       Oxb72f6cf24f9443630...                    Safe Transfer ·-      16301865          96 days 17 hrs ago             () tankbottoms.eth t,O              OUI       0 archive edition: AE Tok...      t,O       OETH                     0.00336103


       @       Ox097769898b89bd8e ...                         M int            16301857          96 days 17 hrs ago             ◊ tankbottoms.eth t,O               our       0 Manifold: Lazy Claim 2 c9                 OETH                     0.00251666


       @       Oxb6bb751 ba3ee21b4 ...                        M int            16301818          96 days 17 hrs ago             O tankbottoms.eth (.0               O\JT      0 Manifold: Lazy Claim 2 t,O                0.008 ETH                0.00275003


       @       Ox24bd270b8be04c28 ...                     Claim Rebate         16301786          96 days 17 hrs ago             O tankbottoms.eth t.O               DUI       0 QQL Mint Pass: QQL-M ...        t,O       OETH                     0.00056019


       @       Oxdf529da67441 da6ac...                      Transfer           16301733          96 days 18 hrs ago             O tankbottoms.eth t,O               our       Ox15F873 ...56C3b61D (9                     0.0401856 ETH            0.00033734


       @       Oxc8e8f69e5365b6ecf...                         Mint             16288606          98 days 14 hrs ago             0   tankbottoms.eth (.0             our       0 Manifold: Lazy Claim (.0                  OETH                     0.00186088


       @       Ox96b3458250424e6fa ...                     Mint Batch          16288166          98 days 15 hrs ago             O tankbottoms.eth (9                our       0 Manlfold: Lazy Clalm t.O                  0.02 ETH                 0.00172647


       @       Ox84f1a16ceceefd559 ...                        M int            16288158          98 days 15 hrs ago             O tankbottoms.eth (9                OUT       0 Manifold: Lazy Claim t,O                  0.005 ETH                0.00172892


       @       OX57a80e374c87b66b ...                      Mint Batch          16287528          98 days 17 hrs ago             O tankbottoms.eth t,O               OUT       0 Manifold: Lazy Claim (.0                  0.04 ETH                 0.00163074


       @       Oxc8cd521ca932a8c4...                          M int            16247573          104 days 7 hrs ago             O tankbottoms.eth (9                WT        0 Manifold: Lazy Claim      t.O             0.069 ETH                0.00136102


       @       Ox5ald6420e6b5a7fd4...                    M int ~rom Fix._      16247236          104 days 8 hrs ago             O tankbottoms.eth c9                OUT       0 Foundation: Rxed Pric...        t,O       0.07 ETH                 0.00195007



      Show:     100        Records                                                                                                                                                                                    First    <     Page6 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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   Transactions
   For Ox5d95baE888412AD827287240A5c281 E3b830d27E O             tinkbottoms.eth




     A total of 2,407 transactions found                                                                                                                                  First   <    Page 7 of 25   >   Last   '\{v



      0      Txn Hash                      Method0                  Block          Age                   From                               To                                        Value                 Txn Fee


      @      Oxc119850d3173b673.                  Mint              16247234       104 days B hrs ago    O tankbottoms.eth LO       ovr     0    Manifold: Lazy Claim LO              0.069 ETH             0.00157884


      @      Ox2788e07e72abbe5d...                Mint              16247223       104 days 8 hrs ago    O tankbottoms.eth LO       ovr     0 Manifold: Lazy Claim LO                 0.05 ETH              0.00132529


      @      Oxaa5b31 feeeaa02890 ...       Fulfill Basic Or.-      16247220       104 days 8 hrs ago    O tankbottoms.eth c9       OUT     B Seaport 1,1 c.,O                        0.18 ETH              0.00228809


      @      Oxcee7109edd7de215...                Mint              16247195       104 days B hrs ago    O tankbottoms.eth c9       00.T    B Manifold: Lazy Claim c9                 0 ETH                 0.00146887


      @      Oxdl c8121 ca 7f09476a ...           Mint              16247188       104 days 8 hrs ago    O tankbottoms.eth LO       ovr     0    Manifold: Lazy Claim LO              0 ETH                 0.001551 79


      @      Ox2aee33f3e1abdfce5...               Mint              16247185       104 days B hrs ago    O tankbottoms.eth LO       OVI     0 Manifold: Lazy Claim 2 LD               0.009 ETH             0.00205523


      @      OX1d9b48aleb51333e...               Claim              16247142       104 days B hrs ago    O tankbottoms.eth c.,D     our     B OxC4Da92...50595298 c.,D                0 ETH                 0.00120889


      @      Oxa7f4237ac33a0776a ...              Mint              16247129       104 days 8 hrs ago    O tankbottoms.eth LD       OtJf    0 OxB7cd56...2553426F LD                  0.131 ETH             0.00131951


      @      Ox1273650248477c90...          Mint Public Sa._        16244726       104 days 16 hrs ago   O tankbottoms.eth LO       OUT     0 Ox413506...dBb404cO (9                  0.264 ETH             0.00102249


      @      Ox2bbcc06fl 3dcc223d ...       Fulfill Basic Or,-      16244713       104 days 17 hrs ago   O tankbottoms.eth c9       ovr     B Seaport 1 ,1 c9                         0.096 ETH             0.00201709


      @      0~7c43cbeb3de66743...          Register With ...       16244132       104 days 18 hrs ago   O tankbottoms.eth c9       0<.IT   § ENS: ETH Registrar Co...      c9        0.004527259 ETH       0.00317323


      @      Oxf7fl 7678039301618...            Commit              16244097       104 days 19 hrs ago   ◊ tankbottoms.eth LO       OIJT    0    ENS: ETH Registrar Co ... c.,D       0 ETH                 0.00060566


      @      Ox7bd80e6b86cadf55c...             SetAddr             16243633       104 days 20 hrs ago   O tankbottoms.eth Lo       OUT     0    ENS: Public Resolver 2 [..D          0 ETH                 0.00076299


      @      Oxl 433f9ad8e9752209...        Set Subnode .•          16243629       104 days 20 hrs ago   0   tankbottoms.eth c..D   OUT     B ENS: Registry with Fall... c9           0 ETH                 0.00099444


      @      Oxa9c2def6ad33e0a75...           Mint Batch            16243080       104 days 22 hrs ago   O tankbottoms.eth c.,O     our     0    Manifold: Lazy Claim 2 LD            0.1332 ETH            0.0069906


      @      Ox9c0e57bc3c208431 ...              SuyV2              16242978       104 days 22 hrs ago   O tankbottoms.eth LO       OUT     0    Foundation: Market LO                0.15 ETH              0.00205698


      @      Ox42al 6c22bd2f39553...            Transfer            16229672       106 days 19 hrs ago   O tankbottoms.eth [.O      OlJ[    Ox739356 ...60E28F3B [.D                  8.27444685 ETH        0.00026621


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       @      Ox4dfa808f4fb701006...       Set Backgrou...        16220656   108 days 1 hr ago     () tankbottoms.eth   c9   wr    El Ox87f661 ...4005c696 L□        0 ETH       0.00088141


       @      Ox013a9ba26eed758e...        Exec TransacL          16212327   109 days 5 hrs ago    O tankbottoms.eth c9      our   El Ox2187e6...CA706fb0 L□         O ETH       0.0015482


       @      Ox5f310745dc6c89806...       Fulfill Ava ilabl...   16212220   109 days 5 hrs ago    ◊ tankbottoms.eth LO      our   El Seaport 1.1 c9                 0.207 ETH   0.00566557


       @      Ox82ec49698d946f0fa...       Fulfill Basic Qr__     16212068   109 days 6 hrs ago    ◊ tankbottoms.eth    LO   OUT   El Seaport 1 .1 c9                0.798 ETH   0.00225366


       @      Oxd8c94fd71962fl b7a ...     Exec Transact.~        16201062   110 days 19 hrs ago   O tankbottoms.eth LO      OUT   El Ox2187e6...CA706fb0 c9         0 ETH       0.00091579


       @      Ox7811 Oa394a220922...              Mint            16190186   112 days 7 hrs ago    O tankbottoms.eth LO      OUT   El Manifold: Lazy Claim L□        0.2 ETH     0.00169268


       @           Ox3e08362eb79d6cb4...       Execute            16184003   113 days 4 hrs ago    O tankbottoms.eth LO      OUT   B Uniswap: Universal Ro... c9     0.12 ETH    0.01308666


       @      Ox4bf4f79385f39615fc...         Mint Batch          16172004   114 days 20 hrs ago   O tankbottoms.eth (9      our   El Manifold: Lazy Claim L□        0.15 ETH    0.00196974


       @      Ox5fc0121 d89070a40c...           Cancel            16169741   115 days 4 hrs ago    O tankbottoms.eth L□      OUT   El Seaport 1 .1 L□                0 ETH       0.00228072


       @      Ox1f57a8b17694ab368...           Multicall          16169691   115 days 4 hrs ago    O tankbottoms.eth LO      our   B Uniswap VJ: Router 2 LO         0 ETH       0.00375182


       @      Ox7e143e472588e44a...            Approve            16169689   115 days 4 hrs ago    O tankbottoms.eth LO      our   0 Curve.ti: CRV Token c9          0 ETH       0.007461 81


       @      Ox0c9906a31 bc23713...           Multicall          16169686   115 days 4 hrs ago    0   tankbottoms.eth L□    OUT   El Uniswap V3: Router 2 L□        0 ETH       0.0035048


       @      Ox4185173d8f41c6007...       Safe Trans1er ...      16168774   115 days 7 hrs ago    O tankbottoms.eth L□      OUT   0   Ledger. BOBNX Token L□        0 ETH       0.0007826


       @      Oxfb69 7e32cc22fec45...      Safe Transfer ...      16168773   115 days 7 hrs ago    O tankbottoms.eth LO      our   El Ledger: BOBNX Token LO         0 ETH       0.00080233


       @      Ox71c0abe409134b5c...        Safe Transfer __       16168768   115 days 7 hrs ago    O tankbottoms.eth (9      our   El Ledger. BOBNX Token L□         O ETH       0.00105655


       @      Ox534725a1 eaaf9ea95...          Multicall          16168307   115 days 9 hrs ago    O tankbottoms.eth (9      our   El Uniswap VJ: Router 2 L□        0 ETH       0.00238815


       @      Ox0768eea6761 fc7383 ...         Approve            16168305   115 days 9 hrs ago    0 tankbottoms.eth LO      our   0   ENS: ENS Token [9             0 ETH       0.00064107


       @      Ox3355ee3b94d37c4e...           Withdraw            16168300   115 days 9 hrs ago    O tankbottoms.eth LO      our   El Wrapped Ether LO               0 ETH       0.00041415


       @      Ox2e26eb2cca191 bc9...           Transfer           16168258   115 days 9 hrs ago    O tankbottoms.eth (9      our   El Rocket Pool: rETH Token L□     0 ETH       0.00071336


       @      Ox4c7020992c929145 ...           Transfer           16168255   115 days 9 hrs ago    O tankbottoms.eth L□      our   El Lido: Staked ETH Token (9      O ETH       0.00131715


       @      Ox81e161 bb04fee418c...      Exec Transact.~        16166635   115 days 14 hrs ago   O tankbottoms.eth LO      our   El Ox70335A...Be07D053 LO         0 ETH       0.0009158


       @      Oxa8e0984e2130387f8...       Create Proxy ...       16166628   115 days 14 hrs ago   O tankbottoms.eth c9      OUT   El Safe: Proxy Factory 1.3.0 L□   O ETH       0.00366669

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       CD      Txn Hash                    Method (v  Block Age               From                              To                  Value                                                    Txn Fee


       @       0x586276edac3afd009 ...          Mint Batch         1615537 8   117 days 4 hrs ago    () tankbottoms.eth    c9   wr    0 Manifold: La zy Claim L□            0.0207 ETH       0.00296338


       @       0xe28b37 6a5fc6af6a0 ...            Mint            16140337    119 days 6 hrs ago    O tankbottoms.eth c9       aur   0 0x967 9d1 . ..46EEc448 L□           0.0025 ETH       0.00200858


       @       0x69f24d2cebc 7e76a0 ...         Purchase           16139393    119 days 9 hrs ago    ◊ tankbottoms.eth L□       our   0 0x6CB45c ...6B2ca051      L□        0 ETH            0.00143009


       @       0x96cf66f82dce3e548...        Fulfill Basic Q r._   16138944    119 days 11 hrs ago   ◊ tankbottoms.eth [.D      OUT   0 Seaport 1 .1 c9                     0.0 452 ETH      0.0023525


        @      0xb4395f1 dec7924f46...             Mint            16138904    119 days 11 hrs ago   O tankbottoms.eth [.O      OUT   0 Manifold: Lazy Claim LO             0.08 ETH         0.00171655


       @       0x1 c8601 a037582a7 6 ...     Fulfill Basic Or,-    16137703    119 days 15 hrs ago   O tankbottoms.eth [.O      OUT   0 Seaport 1.1 c9                      0.09 ETH         0.00280239


       @       0x4817f25ef4c6b889d ...       Futf1II Advanc,_      16135898    119 days 21 hrs ago   O tankbottoms.eth [.D      OUT   0 Seaport 1 ,1 c9                     0.00069999 ETH   0.00186845


        @      0x772632f5f969d1 e36 ...      Fulfill Advanc,_      16135849    119 days 21 hrs ago   O tankbottoms.eth c9       our   0 Seaport 1 .1 L□                     0.00069999 ETH   0.00172773


       @       0x81d9748c515be7b7 ...        Fulfill Advanc._      16135845    119 days 21 hrs ago   O tankbottoms.eth [.D      OUT   0 Seaport 1 ,1 L□                     0.00069999 ETH   0.00174602


        @      0x447822ed4c396c94...         Fulfill Advanc,_      16135831    119 days 21 hrs ago   O tankbottoms.eth [.O      OUT   0 Seaport 1 .1 L□                     0.00069999 ETH   0.00264598


       @       0xde269d2d1249b662...             M int One         16135753    119 days 22 hrs ago   O tankbottoms.eth L□       OUT   0 0x040EA5...0C9A7C08 [.O             0 ETH            0.00129012


       @       0x7021354aece5cc03...               M int           16135751    119 days 22 hrs ago   0   tankbottoms.eth   LO   OUT   0 0xA70919...D27D0600 L□              0 ETH            0.00161 161


        @      0x6493f057080d04fce...              Mint            16135749    119 days 22 hrs ago   O tankbottoms.eth c□       OUT   0   Manifold: Lazy Claim   c9         0 ETH            0.00210691


        @      0x1dda47556619167a ...        Fulfill Basic Or,_    16135730    119 days 22 hrs ago   O tankbottoms.eth [.O      OUT   0 Seaport 1 .1 LD                     0.000069 ETH     0.00227478


       @       0xed7f3a43586399e72 ...             Mint            16134711    120 days 1 hr ago     O tankbottoms.eth c9       our   0 Manifold: Lazy Claim L□             0 ETH            0.00232676


        @      0x9ec277fbe23f31 b92...             M int           16134706    120 days 1 hr ago     O tankbottoms.eth c9       our   0 Manifold: Lazy Claim L□             0.0069 ETH       0.00253423


        @      0xece9a43136bcfdbbc...            T,ansfer          16133247    120 days 6 hrs ago    0x 167Fd5...F620ED49 [.O   IN    O tankbottoms.eth   c9                0.269 ETH        0.00036589


        @      0 x5eb730b0100c06Sd ...        Presale Mint         16130854    120 days 14 hrs ago   O tankbottoms.eth [.O      OUT   0 0x2F982e...1 5a6A0D5 [.D            0.48 ETH         0.00245091


       @       0xaab570bceb63c0ca ...              Mint            16130759    120 days 15 hrs ago   O tankbottoms.eth (9       OUT   0 Manifold: Lazy Claim 2 c□           0.05 ETH         0.0022251


       @       0x4baddb9fe619dca20 ...            Mint To          16130735    120 days 15 hrs ago   O tankbottoms.eth c9       OUT   0 Prometheans: PROME...          L□   0 ETH            0.00112732


       @       0x9addb51 a90419c2d ...         Public Mint         16130734    120 days 15 hrs ago   O tankbottoms.et h [.O     our   0 0x6302ce...C77C7bAE L□              0 ETH            0.00130184


       @       0x361 b83641d8d614b...            Mint One          16130732    120 days 15 hrs ago   O tankbottoms.eth c9       OUT   0 0x040EA5...0C9A7C08 c□              0 ETH            0.0021784

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       @     Oxe2f6aac89747fad8d ...         Exec Trans.ace       16130606   120 days 15 hrs ago   () tankbottoms.eth   c9   our   B Ox2187e6...CA706fb0 c9             0 ETH        0.00085705


       @     OX174771bcbffb1 fe7b ...         Pre Sale Mint       16126951   121 days 3 hrs ago    O tankbottoms.eth c9      aur   e] Ox03214E...38E8aD79 c..D          0.22 ETH     0.00305503


       @     Oxd8ec3c358fec1 f44a ...        Mint From F'ix...    16125393   121 days 9 hrs ago    ◊ tankbottoms.eth cO      our   B Foundation: Fixed Pric...     co   0.044 ETH    0.00175082


       @     Ox95acbd6fcf857421 e ...              M int          16125379   121 days 9 hrs ago    ◊ tankbottoms.eth    cO   OUT   B Manifold: Lazy Claim c..D          0.09 ETH     0.00127122


       @     Oxa7b08ad0bc4e4efa9...                M int          16125372   121 days 9 hrs ago    O tankbottoms.eth co      OUT   el Manifold: Lazy Claim co           0.09 ETH     0.00147382


       @     Ox244f5292e1d149b54...          Fulfill Basic Or,-   16125248   121 days 9 hrs ago    O tankbottoms.eth cO      OUT   B Seaport 1.1 c9                     0.39 ETH     0.00204531


       @     Ox0fe845372c919f24f...              Deposit          16120446   122 days 1 hr ago     O tankbottoms.eth cD      OUT   e] Wrapped Ether LD                  0.7 ETH      0.00050654


       @     Ox5ce101659c6aead7...           Finalize Reser ...   16115529   122 days 18 hrs ago   O tankbottoms.eth c..D    our   B Foundation: Market c..D            0 ETH        0.001431 12


       @     Ox51460a3c94a28e25...           Finalize Reser ...   16115526   122 days 18 hrs ago   O tankbottoms.eth LD      ovr   B Foundation: Market c..D            0 ETH        0.00171641


       @     Oxdae7c 7d764d0d92bf...         Fuff1II Basic Or,_   16108064   123 days 19 hrs ago   O tankbottoms.eth LO      OUT   0 Seaport 1 .1 cO                    0.639 ETH    0.00150709


       @     Oxe79b7db230d76883...            Place Bid V2        16107771   123 days 20 hrs ago   O tankbottoms.eth cO      OUT   0   Foundation: Market c..D          0.5 ETH      0.00100699


       @     Oxdafa2128a9d59a498...           Place Bid V2        16107766   123 days 20 hrs ago   0   tankbottoms.eth LO    OUT   B Foundation: Market LO              0.5 ETH      0.00099913


       @     Oxc68abee13bbb3354...           Fulfill Basic Or._   16100979   124 days 19 hrs ago   O tankbottoms.eth LD      OUT   0 Seaport 1.1 c..D                   0.4499 ETH   0.00256043


       @     Ox38281ee940c49fb3f...            Incarcerate        16100926   124 days 19 hrs ago   O tankbottoms.eth LO      ovr   0 Ox23fODC...900ab5e1     LO         0 ETH        0.00245925


       @     Ox6c1937d89bc9829a ...            Incarcerate        16100907   124 days 19 hrs ago   O tankbottoms.eth c9      our   e] Ox23fODC...900ab5e1 LD            O ETH        0.00251717


       @     Oxb7713c72f1885d2e6...          Set App,oval .•      16100906   124 days 19 hrs ago   O tankbottoms.eth c..D    our   B OxdOFabB...39376937 c..D           0 ETH        0.00052021


       @     Oxcd976cab52f3abd18 ...             T,ansfer         16091859   126 days 1 hr ago     0 tankbottoms.eth LO      our   0 Ox2187e6...CA706fb0 LO             17.35 ETH    0.00032154


       @     0     Ox22ec29f56e6633da1 ...    Mint Multiple       16091849   126 days 1 hr ago     O tankbottoms.eth LO      OUT   0 Ox94724C...07aD3f47 LD             21.4 ETH     0.00092312


       @     0     Ox8b9c7abbcc877067...      M int M ultiple     16091846   126 days 1 hr ago     O tankbottoms.eth (9      our   el Ox94724C...07aD3f47 LD            22 ETH       0.00089945


       @     0     Ox833c19863609d591...      Mint Multiple       16091844   126 days 1 hr ago     O tankbottoms.eth c9      our   e] Ox94724C...07aD3f47 LD            22.2 ETH     0.00088292


       @     Oxd6d93226ac5af56c5...          Exec Transact.~      16091757   126 days 1 hr ago     O tankbottoms.et h LO     our   0 Ox2187e6...CA706fb0 Lo             0 ETH        0.00096773


       @     Oxe18633e3463b2f50b...          Set Approval   •¥
                                                                  16090429   126 days 6 hrs ago    O tankbottoms.eth c9      OUT   e] Ox6dDe04...Se31 b61 B C..0        0 ETH        0.00080491

                                                                                                                                                                            PLAINTIFF0001047
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 7                                                                                                              4/5
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                                                                                   401
       e       Txn Hash                        Method (!) Block Age               From                              To                  Value                                                                                                       Txn Fee


       @       Ox75d2b6f113a61863 ...                    Set Appt'Oval __      16090428          126 days 6 hrs ago            () tankbottoms.eth      c9           CH.I[    0 Ox6dDe04...Se31 b61 B LO                   0 ETH                     0.00081523


       @       Ox9f90e511 c07Sbdf90 ...                  Withdraw AvaL         16088293          126 days 13 hrs ago           O tankbottoms.eth c9                 aur      0 Ox49128C...F9DS0443 LO                     O ETH                     0.00063892


       @       Ox90b61 ce930c8f50df...                         Mint            16084519          127 days 2 hrs ago            ◊ tankbottoms.eth LO                 our      0 Compound: cDAI Token LO                    0 ETH                     0.00233573


       @       Ox81304901750ce24e...                     Set App,oval .•       16083941          127 days 4 hrs ago            ◊ tankbottoms.eth       LO           OUT      0 Ox6dDe04...5e31 b61 B (9                   0 ETH                     0.00062051


       @       Ox2cd12ded5fa0c0b1c ...                   Mint Paying L         16083859          127 days 4 hrs ago            O tankbottoms.eth LO                 OUT      0   Ox6dDe04...5e31 b61 B LO                 0.469 ETH                 0.00745924


       @       Ox891 c5c61 b0b9077e...                   Set Multiple F.•      16083189          127 days 6 hrs ago            O tankbottoms.eth L□                 OUT      0 OxF8D838.. .472baF8c (9                    0 ETH                     0.00120029


       @       Ox4d2m5d15ceb371 c ...                         Leave            16042880          132 days 21 hrs ago           O tankbottoms.eth LO                 OUT      0 The OpenDAO: Staking ... c9                0 ETH                     0.00061591


       @       Oxc04bd6c86ba4ada0 ...                        Deposit           16040933          133 days 4 hrs ago            ◊ tankbottoms.eth       c9           our      0 Wrapped Ether c9                           0.2 ETH                   0.00080576


       @       Ox3e361957a6ded83e...                     Exec Transact.~       16038759          133 days 11 hrs ago           O tankbottoms.eth LO                 ovr      0 Ox2187e6... CA706fbD LO                    0 ETH                     0.00108924


       @       Oxfeb606c0786532778...                        Multicall         16036114          133 days 20 hrs ago           O tankbottoms.eth LO                 OUT      0 Uniswap V3: Router 2 LO                    0 ETH                     0.00169864


       @       Ox3ad881 f05o01b9aac...                       Transfer          16036091          133 days 20 hrs ago           O service·provider.eth c□             IN       O tankbottoms.eth c9                        4 ETH                     0.00026098


       @       Oxacb3697d7f14f0f36...                        Multicall         16035120          133 days 23 hrs ago           0   tankbottoms.eth LO               OUT      0 Uniswap V3: Router 2 LO                    0 ETH                     0.00290709


       @       Ox3aa16f8f361947d48 ...                         Mint            16022703          135 days 17 hrs ago           O tankbottoms.eth c9                 our      0 Oxaed045...8529b9B8 c9                     0 ETH                     0.00135986


       @       Oxe0b5c2d7f5982e5a8 ...                         Mint            16022700          135days 17 hrs ago            O tankbottoms.eth c□                 our      0 Ox4db027,_d51D6591 cO                      0 ETH                     0.00161003


       @       OX6d313d19 5ac918ea ...                         Mint            16022697          135 days 17 hrs ago           O tankbottoms.eth c9                 our      0 OxC74407...770Dc88d (9                     O ETH                     0.00232849


       @       Ox023c6bfcfe07658fef...                   Fulfill Basic Or.•    16021569          135 days 21 hrs ago           O tankbottoms.eth LO                 our       0 Seaport 1 .1 LO                           0.56 ETH                  0.00203583


       @       Ox0235a3a92ef249ddf...                    Fulfill Basic Or..    16021535          135 days 21 hrs ago           O tankbottoms.eth L□                 OUT      0 Seaport 1.1 L□                             0.549 ETH                 0.00255012



      Show:     100        Records                                                                                                                                                                                     First   <     Page 7 of 25     >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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                                                                                         Information Elherscan 06/09/2023 Page 39 of
                                                                           401
   Transactions
   For Ox5d95baE888412AD827287240A5c281 E3b830d27E O              tin kbottoms.eth




      A total of 2,407 transactions found                                                                                                                             First   <    Page8of 25   >   Last   '\{v



       0      Txn Hash                      Method 0              Bloclc             Age                   From                            To                                     Value               Txn Fee


       @      Ox0ec45984ac3264ac...          Claim Public L...    16000207           138 days 20 hrs ago   O tankbottoms.eth L□      OUl   0 Humankind: LNCH Tok...     L□        0.18 ETH            0.00086639


       @      OX3dc89cda972cca26...                Mint           16000167           138 days 21 hrs ago   O tankbottoms.eth L□      ou,   0 Ox329450...104b2C90 L□               OETH                0.00139433


       @      Ox7f57f0a04e616bc04...               Mint           16000161           138 days 21 hrs ago   O tankbottoms.eth c□      OU1   0 OxEaFdE7...03deac25 c□               0.088 ETH           0.00110876


       @      Ox4d4a0dbada225aa6 ...               Mint           16000159           138 days 21 hrs ago   O tankbottoms.eth @       OU1   E] Ox59f399...9Fe04d9d c□              OETH                0.00099369


       @      Oxc0bbf90a347d2371 c ...       Claim Public L,_     16000158           138 days 21 hrs ago   O tankbottoms.eth   L□    ou,   0 Humankind: LNCH Tok... cP            0.09 ETH            0.00103055


       @      Ox91 fd87d83b8556be2...            BuyV2            16000149           138 days 21 hrs ago   O tankbottoms.eth L□      OU1   B Foundation: Market L□                0.135 ETH           0.00157329


       @      Ox73cc32895338d31 b ...            BuyV2            16000059           138 days 21 hrs ago   O tankbottoms.eth @       OU1   B Foundation; Market @                 0.2 ETH             0.00159352


       @      Oxa60348b644bfbb573...             Mint lo          16000037           138 days 21 hrs ago   O tankbottoms.eth @       OUl   0 Promelheans: PROME...      c,□       0 ETH               0.0011476


       @      Oxa60f2c4067ab3274b...               Pay            16000005           138 days 21 hrs ago   0 tankbottoms.eth c,□     OUl   0 Ox594Cb2...8864ec63 c,□              0.022 ETH           0.00338535


       @      Ox74ec502b841 ff929b ...             Pay            15999994           138 days 21 hrs ago   () tankbottoms.eth @      OU1   0 Ox594Cb2...8864ec63 c,D              0.022 ETH           0.00402024


       @      Ox65ea5e561 Se92276...         Set Contentha   .w   15996598           139 days 8 hrs ago    () tankbottoms.eth c□     OUl   E] ENS: Public Resolver 2 c,D          O ETH               0.0005926


       @      Oxc5359e9745092b61 ..                Pay            15996089           139 days 10 hrs ago   O tankbottoms.eth c,□     OU1   0 Ox594Cb2... 8864ec63 c,□             1ETH                0.00368138


       @      OxOf1 o 53d5cec049e07 ...          Transfer         15995982           139 days 11 hrs ago   OxOb51A7...07ffA7E1 (9    IN    O tankbottoms.eth La                   4.941855935 ETH     0.00025633


       @      Ox0bdafca04fec84d5bf...         Make Offer V2       15993854           139 days 18 hrs ago   O tankbottoms.eth @       OUl   0 Foundation: Market c,□               0.25 ETH            0.001 73787


       @      Ox6767bc7bacf59953f...               Mint           15990911           140 days 4 hrs ago    0   tankbottoms.eth @     OU1   0 Oxb3c9CF... 5B6bEe7d c,□             OETH                0.00209332


       @      Ox5665b1 Ocfd7b1 de4a ...          Transfer         15985814           140 days 21 hrs ago   0   tankbottoms.eth L□    OU,   OxDb51A7...07ffA7E1 c,D                3 ETH               0,00029318


       @      Ox75cc46625a07c198 ...             BuyV2            15977178           142 days 2 hrs ago    0   tankbottoms.eth c,D   OUl   0 Foundation: Market c_D               0.0488 ETH          0.00308547


                                                                                                                                                                                          PLAINTIFF0001049
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                                                                           Transactionson   FLSDIDocket
                                                                                        Information Elherscan 06/09/2023 Page 40 of
                                                                         401
      e     Txn Hash                 Method<:1) Block  Age             From                               To                  Value                                       Txn Fee


      @     Ox99dbc41 a5a2b7e6d...     Pre Sale Mint    15975319   142 days 8 hrs ago    0   tankbottoms.eth t,D   OU1    0 Ox20eCda...9bf2c6dC t,D       0.0999 ETH      0.00112135


      @     Oxc64 7633ac74d59ca ...    Pre Sale Mint    15975312   142 days 8 hrs ago    0   tankbottoms.eth t,D   OUl    0 Ox20eCda...9bf2c6dC t,D       0.0999 ETH      0.00153307


      @     Ox458dbb735b7cdb1 c ...        Mint         15967298   143 days 11 hrs ago   O tankbottoms.eth L□      OUl    0 Ox5ebFD5...COb4a444 L□        O.Q1 ETH        0.00244891


      @     Ox6c1471 b1d65cce6c...       Multicall      15950292   145 days 20 hrs ago   O tankbottoms.eth (9      OUl    0 Uniswap V3: Router 2    L□    1ETH            0.00215947


      @     Ox1 e06399bc522c3ef3...       8uyV2         15946786   146 days 7 hrs ago    O tankbottoms.eth t,O     OUl    0 Foundation: Market t,O        0.1 ETH         0.0024503


      @     Oxd66d012ee56aea78 ...         Mint         15946518   146 days 8 hrs ago    O tankbottoms.eth L□      OUl    0 OxA3C81 F...a7F1 DD21    L□   0 ETH           0.00126529


      @     Oxc784c39d4ba409c0...      Make Offer V1.   15946371   146 days 9 hrs ago    O tankbottoms.eth (9      OUl    0 Foundation: Market (9         0.12 ETH        0.0018442


      @     Ox68a989b7af521 c056...      Free Mint      15946302   146 days 9 hrs ago    O tankbottoms.eth L□      OUl    0 Ox3C6a2F...7e8D8D2f t,D       OETH            0.00124272


      @     Oxc7b012c0a883a9ff9...         Mint         15946301   146 days 9 hrs ago    O tankbottoms.eth   L□    OUl    0 Ox50a7A5...4321 a398 (9       OETH            0.00130781


      @     Ox9423d0d1f0f0819b0...       Free Mint      15946300   146 days 9 hrs ago    O tankbottoms.eth L□      OUl    0 Ox8b78AF   .1f9e4735 L□       OETH            0.0013357


      @     Ox722bcf9aa01 e3b4f1 ..         Pay         15946287   146 days 9 hrs ago    O tankbottoms.eth L□      OU1    0 Ox594Cb2 ..8864ec63 LD        0.088 ETH       0.01317924


      @     Ox2b888e8a102e067f4...          Bid         15945965   146 days 10 hrs ago   O tankbottoms.eth   L□    OUl    0 Ox6D7c44...8E9a7a42 t,D       0.2575 ETH      0.00463083


      @     Ox0c5a1 bbb00e65047 ...         Pay         15944246   146 days 16 hrs ago   O tankbottoms.eth   L□    OUl    0 Ox594Cb2...8864ec63 t,D       0.022 ETH       0.00738255


      @     Ox6afbb1de146674b23 ..       Purchase       15899850   152 days 21 hrs ago   O tankbottoms.eth LD      OUl    0 OxFE82F6 ...deOCAEc9 LD       0.28 ETH        0.00128995


      @     Ox1124bfb23c085776b ...       Create        15894531   153 days 15 hrs ago   O tankbottoms.eth t,D     OUl    0 Oxc1d628...EB4E4727 t,D       0 ETH           0.00933192


      @     Oxaa0e4379105f86c4a ..       Purchase       15894348   153 days 15 hrs ago   O tankbottoms.eth   L□    OUl    0 Ox0711A9... C584f450 t,D      0 ETH           0.00183802


      @     Oxfl 53b66d2b417d63...       Purchase       15894302   153 days 15 hrs ago   O tankbottoms.eth (9      0111   0 Ox0711A9...C584f450 L□        0 ETH           0.00299012


      @     Ox48f5e0bbab2eacc30...          Bid         15891380   154 days 1 hr ago     O tankbottoms.eth L□      OUl    0 Ox6D7c4L8E9a7a42 L□           0.78795 ETH     0.00231 447


      @     Ox6eef9c0543c6ed7e3...        Presale       15885452   154 days 21 hrs ago   0   tankbottoms.eth t,D   OUl    0 Ox887F39...8E932d7f t,D       0 ETH           0.00213076


      @     Oxecc743218c1e857f4...       Transfer       15870890   156 days 22 hrs ago   O tankbottoms,eth L□      OUl    Ox7dEc48... 2D26e098 L□         6.5 ETH         0.00037236


      @     Ox9645c3c5e060b552...        Transfer       15870880   156 days 22 hrs ago   Ox8a9742... 11682328 L□    IN    O tankbottoms.eth L□            1.9228797 ETH   0.00037981


      @     Oxd3d8ba89c64147a5...        Transfer       15870872   156 days 22 hrs ago   0   meowsdao.eth (9        IN    O tankbottoms.eth (9            1.1 ETH         0.00040491

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       CD    Txn Hash                 M ethod(v  Block  Age               From                               To                  Value                                                 Txn Fee


       @     Ox98550060f74f99af0...         Multicall          15870869   156 days 22 hrs ago   0   tankbottoms.eth t,D     OU1    0 Uniswap V3: Router 2 t,D        O ETH             0.00383746


       @     OX4d791945b529ef13e...         Approve            15870867   156 days 22 hrs ago   0   tankbottoms.eth t,D     OUl    0 The Graph: GRT Token t,D        OETH              0.00091611


       @     Ox66f4ea6813642a2d1 ..            Mint            15866004   157 days 14 hrs ago   O tankbottoms.eth L□        OUl    0 Ox868f9C...a 1C6D178 (9         0.0007ETH         0.00081903


       @     Ox8e9980152467cd1f4...     Fulfill AvailabL       15811402   165 days 5 hrs ago    O tankbottoms.eth c9        OUl    0 Seaport 1.1 L□                  0.448999999 ETH   0.00796966


       @     Oxb7da042c051e20e5...      Fulfill Availabl...    15811383   165 days 6 hrs ago    O tankbottoms.eth t,O       OUl    0 Seaport 1.1 t,O                 0.3549 ETH        0.00894985


       @     Oxea2e916928f9e2cd3 ...    Fulfill Availabl...    15807317   165 days 19 hrs ago   O tankbottoms.eth L□        OUl    0 Seaport 1.1 c9                  0.1799 ETH        0.00423092


       @     Oxc7a9fa29a 796588fa ...          Mint            15792894   167 days 19 hrs ago   O tankbottoms.eth c9        OUl    0 Ox5ebFD5...COb4a444 L□          0.369 ETH         0.00352298


       @     Ox8c6b09e1e3d9c267 ...         Mlnt NFT           15770481   170 days 23 hrs ago   O tankbottoms.eth t,D       OUl    0 Ox87acAE...E9bdc6c1 (9          0.15 ETH          0.00476337


       @     Ox139304ff827f35819...      Claim Refund          15769582   171 days 2 hrs ago    O tankbottoms.eth L□        OUl    0 Ox9c11 DA...668AC797 (9         OETH              0.00270439


       @     Ox5938e712ceb1 f9fe6 ..    Fulfill B.asic Or...   15767096   171 days 10 hrs ago   O tankbottoms.eth L□        OUl    0 Seaport 1.1 L□                  0.1899 ETH        0.00273952


       @     Ox9b6473af9b467d47...          Multicall          15766572   171 days 12 hrs ago   O tankbottoms.eth     L□    OUl    0 ENS: Public Resolver 2 LD       0 ETH             0.00080255


       @     Ox80af6ee3698bedc5c...          Cancel            15766145   171 days 13 hrs ago   O tankbottoms.eth L□        OUl    0 Seaport 1.1 t,D                 OETH              0.00070514


       @     Ox173567d5173Bf9f88...          Cancel            15766142   171 days 13 hrs ago   O tankbottoms.eth t,D       OUl    0 Seaport 1.1   t,D               OETH              0.00076222


       @     Oxab998bc8Bf4c129f1 ..      Allowlist Mint        15754815   173 days 3 hrs ago    O tankbottoms.eth LD        OUl    0 lconicNFT: IMNFT Token LD       0.08 ETH          0.00229203


       @     Ox976826259fc996363 ...        Purchase           15750874   173 days 16 hrs ago   O tankbottoms.eth     t,D   OUl    0 Oxb62611...Fc8E6c0b (9          O ETH             0.00137022


       @     Ox9b6098c4decd 1e07...         Withdraw           15746128   174 days 8 hrs ago    O tankbottoms.eth t,D       OUl    0 Wrapped Ether t,D               OETH              0.00044593


       @     Ox72c76f39cfb01 a03b ...   Withdraw AvaL          15743578   174 days 17 hrs ago   O tankbottoms.eth     c9    0111   0 Ox49128C...F9D50443 (9          0 ETH             0.00072169


       @     Ox68c866f9494f2237b...     Mint Whit@list ...     15733989   176 days 1 hr ago     O tankbottoms.eth L□        OUl    Windchime - Secret Ga... L□       0.1 ETH           0.00654812


       @     OxOe27e1 Oee84e9b08 ...        Purchase           15733726   176 days 2 hrs ago    0   tankbottoms.eth t,D     OUl    0 Oxl Bc482...93f1ddE7 t,D        0.005 ETH         0.00196731


       @     Ox25d3e6a074a29a64 ...     Reconfigure F.M        15732163   176 days 7 hrs ago    O tankbottoms.eth c9        0111   0 Ox4e3ef8...8F651351 c9          OETH              0.00393195


       @     Oxf2da19d448el a608a ...   Purchase Blue...       15731374   176 days 10 hrs ago   O tankbottoms.eth     L□    OUl    0 Async Blueprints: ASY...   L□   0 ETH             0.0021899


       @     Ox68c5e4d32d8357d1 ...           Claim            15731362   176 days 10 hrs ago   0   tankbottoms.eth   c9    OUl    OxEdB67E... 20FaE8e9 t,D          OETH              0.00739575

                                                                                                                                                                         PLAINTIFF0001051
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=8                                                                                                                3/5
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       @     Ox0f0e76cc36e0596b9...      Allow List Mint       15721070   177 days 20 hrs ago    0   tankbottoms.eth t,D     OU1    0 Ox931 e60... 07619be4 t,D   0.0138 ETH   0.00565979


       @     Ox64a3567464a31338 ...      Fulfill Basic Or...   15712661   179 days 51 mins ago   O tankbottoms.eth t,D       OUl    0 Seaport 1.1 t,D             0.59 ETH     0.00679675


       @     Oxcc3a5d089a329953...             Mint            157016B2   1BO days 13 hrs ago    O tankbottoms.eth L□        OUl    0 Ox4e3200...F2bBA01 E L□     0.05 ETH     0.00062225


       @     Ox829cfaeaa1 a784ecc...     Fulfill Basic Or...   156969B5   181 days 5 hrs ago     O tankbottoms.eth (9        OUl    0 Seaport 1.1 L□              45.99 ETH    0.0039235


       @     Oxb76fd399d296dbe49...      Exec Trans&cL         15695674   181 days 9 hrs ago     O tankbottoms.eth t,O       OUl    0   Ox2187e6...CA706fbD [.O   OETH         0.00035445


       @     Oxee2d9dc40ef72043f...      Set Approval ...      15695650   1B1 days 9 hrs ago     O tankbottoms.eth L□        OIJl   0 Ox928f07 ...fEa65fcf L□     0 ETH        0.00028665


       @     Ox175f7d7029a8c264a...      Set Approval ...      15695622   181 days 10 hrs ago    O tankbottoms.eth (9        OUl    0 Ox928f07...fEa65fcf L□      0 ETH        0.00025597


       @     Ox7426c98d056a2c77 ...          Multicall         15695604   1 81 days 10 hrs ago   O tankbottoms.eth (9        OUl    0 Uniswap V3: Router 2 (9     OETH         0.00074883


       @     Ox2e997a97b16c83d8...             Mint            15694688   181 days 13 hrs ago    O tankbottoms.eth     L□    OUl    0 Compound: cDAI Token (9     0 ETH        0.00083576


       @     Ox1 a8f2004180422d9 ...      Whitelist Mint       15694370   1 81 days 14 hrs ago   O tankbottoms.eth L□        OUl    0 OxD17Fce...5D9D058C L□      0 ETH        0.00036457


       @     Ox2fa737e46456364a5...          Transfer          15682845   183 days 4 hrs ago     O tankbottoms.eth L□        OU1    0 Maker: Dai Stablecoin L□    0 ETH        0.00372376


       @     Ox632755e953236d54f...      Fulfill Basic Or...   15680212   183 days 13 hrs ago    O tankbottoms.eth     L□    OIJl   0 Seaport 1.1 [.O             0.77 ETH     0.00091678


       @     Oxdf3d89a9b2f535ITT...          Transfer          15680170   183 days 13 hrs ago    O service-prov1der.eth L□    IN    () tankbottoms.eth L□         3.78 ETH     0.00016597


       @     Ox4116b402aac782b5...        Make0fferV2          15680108   183 days 13 hrs ago    O tankbottoms.eth L□        OUl    0 Foundation: Market L□       0.25 ETH     0.00082208


       @     Oxfa10609c65254fa56...            Mint            15677558   183 days 22 hrs ago    O tankbottoms.eth L□        OUl    0 Ox5ebFD5...COb4a444 L□      0.169 ETH    0.00389194


       @     Ox140465340e68b582 ...       Batch Airdrop        15676706   184 days 1 hr ago      O tankbottoms.eth     L□    OUl    0 Ox6C8ACA...9D36E6aA L□      OETH         0.00294368


       @     Oxcc19500226829d03 ...      Fulfill Basic Or...   15666545   185 days 11 hrs ago    O tankbottoms.eth (9        OU1    0 Seaport 1.1 (9              0.1769 ETH   0.00135145


       @     Ox85cbb45ecd98b4bb...           Transfer          15657717   186 days 17 hrs ago    O tankbottoms.eth L□        OUl    Ox55dEd4... c904d510 L□       77 ETH       0.0001 1019


       @     Ox649d66567222f16c3...          Multicall         15657694   186 days 17 hrs ago    O tankbottoms.eth     L□    OUl    0 Uniswap V3: Router 2 (9     OETH         0.00133735


       @     Ox3954fb0d49593483...       Exec Transact.~       15652584   187 days 10 hrs ago    O tankbottoms.eth (9        0111   0 Ox2187e6...CA706fbD L□      OETH         0.00043261


       @     Oxabdc785004a9e044...       Exec Transact._       15652491   187 days 10 hrs ago    O tankbottoms.eth L□        QU,    0 Ox2187e6...CA706fbD L□      0 ETH        0.00030557


       @     Oxe3f7631638 62ffe1c ...         Cancel           15646404   188 days 7 hrs ago     0   tankbottoms.eth   (9    QU,
                                                                                                                                    0 Seaport 1. 1 L□             OETH         0.00166364

                                                                                                                                                                      PLAINTIFF0001052
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=8                                                                                                         4/5
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                                                                                   401
       CD      Txn Hash                      Method(v   Bloci< Age               From                                To                  Value                                                                                                    Txn Fee


       @       Oxe4feda380cddc9686...                  Batch Airdrop        15646140          188 days 8 hrs ago              O tankbottoms.eth c□                 OUl       0 Ox6C8ACA...9036E6aA LD                    O ETH                    0.0009997 6


       @       Ox8e99f3e65511ab281 ...                 Activate Pass        15646078          188 days 8 hrs ago              O tankbottoms.eth       c□           OUl       0 DropKit Pass: DKP Tok...       c□         OETH                     0.0010146


       @       Oxe25b617e820ea697...                      Transfer          15645720          188 days 9 hrs ago              O tankbottoms.eth L□                 OUl       Ox55dEd4 ...c904d510 LD                     51 ETH                   0.00023086


       @       Oxb796309e8e4c44d9...                        Mint            15643712          188 days 16 hrs ago             O tankbottoms.eth (9                 OUl       0 Oxa82b85... 663679Ab (9                   0 ETH                    0.00113209


       @       Oxef8c955fe6b5df20d ...                 Mint Genesis         15634620          189 days 22 hrs ago             O tankbottoms.eth LD                 OUl       0   Ox9c11 DA... 668AC797 LD                2 ETH                    0.0018837


       @       Ox31b714333de7e151 ..                   Claim Rebate         15634185          190 days 6 mins ago             O tankbottoms.eth L□                 OUl       0 QQL Mint Pass: QQL-M...        c□         0 ETH                    0.00048024


       @       Ox9565d5e2b0c9bd73...                   Claim Rebate         15633357          190 days 2 hrs ago              O tankbottoms.eth (9                 OUl       0 QQL Mint Pass: QQL-M ...       LO         0 ETH                    0.00154328


       @       Ox7a5562801 c4cafbc8 ...                  Purchase           15633326          190 days 2 hrs ago              O tankbottoms.eth (9                 OUl       0 QQL Mint Pass: QQL-M ...       c□         OETH                     0.00980196


       @       Oxce5d8e924487ce9d...                     Purchase           15633243          190 days 3 hrs ago              O tankbottoms.eth c□                 OUl       0 QQL Mint Pass: QQL·M ...       L□         30 ETH                   0.00223994


       @       Oxe21520f7b2ec55bd4...                    Purchase           15630521          190 days 12 hrs ago             O tankbottoms.eth L□                 OUl       0 Ox72a756... 8bbEaA06 (9                   OETH                     0.00129177


       @       Ox4d321 a5750124340 ...                    Transfer          15627652          190 days 22 hrs ago              OxC582D5... 22F9B383 LD              IN       O tankbottoms.eth L□                        51 ETH                   0.0002436


       @       Ox233d9caed2dd1 ce4...                     Multicall         15613175          192 days 22 hrs ago             O tankbottoms.eth       c□           OUl       0 ENS: Public Resolver 2 c□                 OETH                     0.0019802


       @       Oxf51414dffb5e49781 ...                    Transfer          15612747          193 days 4 mi ns ago            O meowsdao.eth [.O                    IN       () tankbottoms.eth [.O                      0.55 ETH                 0.00018169


       @       Oxc96b8f4879473bfd9...                 Safe Transfe, ...     15612023          193 days 2 hrs ago              O tankbottoms.eth L□                 OUl       0 Ox018aF7... E4c6CEBE LD                   OETH                     0.00037773


       @       Oxd864f5a53b55a2f1 a ...               Cancel Buy Pr,_       15612009          193 days 2 hrs ago              O tankbottoms.eth       c□           OUl       0 Foundation: Market [.O                    0 ETH                    0.00070049


       @       Ox6f832b84eb2d955c6...                 Cancel Buy Pr,_       15611820          193 days 3 hr s ago             O tankbottoms.eth       c.□          OUl       0 Foundation: M arket [.O                   OETH                     0.00082678


       @       Oxb605cafae7eb250c9 ...                       Bid            15611477          193 days 4 hrs ago              O tankbottoms.eth L□                 OUl       0 Ox6D7c44...8E9a7a42 (9                    0.103 ETH                0.00292794



      Show:     100        Records                                                                                                                                                                                    First    <    Page8 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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   Transactions
   For Ox5d95baEB88412AD827287240A5c281 E3b830d27E O               tin kbottoms.eth




      A total of 2,407 transactions found                                                                                                                           First   <   Page9 of 25    >   Last   \{v



       0      Txn Hash                      Method(v                    Block         Age                   From                             To                                    Value             Txn Fee


       @      Oxc60cefe4fbd258315...           Public Mint              15611368      193 days 4 hrs ago    () tankbottoms.eth c.D     OUT   0 Oxb63988 ..55326a69 c.D             0.003 ETH         0.00096066


       @      Oxa17ef77e84abeb0a2...         Mint To Multip...          15611363      193 days 4 hrs ago    () tankbottoms.eth [.D     OVT   0 Ox79EFe7 ..4E7f769b cP              0 ETH             0.00098638


       @      Ox5bc662557281062b...          Recruit Your A...          15610035      193 days 9 hrs ago    O tankbottoms.eth [.D      OUT   0 SSA INTERNATIONAL: ... [.D          0.03 ETH          0.00087549


       @      Ox2128639f0aa36df52...               M int                15604651      194 days 3 hrs ago    () tankbottoms.eth    cP   00T   0 Ox4e3200... F2bBA01 E tO            0.01 ETH          0.00100908


       @      Ox6f45a011 06fdf7dde...        Finalize Reser.~           15602399      194 days 1O hrs ago   () tankbottoms.eth    cP   OUT   0 Foundation: Market   cP             0 ETH             0.00058289


       @      Ox31263cfafd0533da8. .          Place BldV2               15601314      194 days 14 hrs ago   () tankbottoms.eth c.D     OUT   0 Foundation: Market c.D              3.25 ETH          0.0003529


       @      Oxa2d958ad5a6ace6c...              Deposit                ]5592953      195 days 18 hrs ago   () tank bottoms.eth   cP   00T   0 Wrapped Ether cP                    2.13 ETH          0.00019324


       @      Ox5b8972cb4e5f71598 ...             Cancel                15592941      195 days 18 hrs ago   O tankbottoms.eth c.D      OUT   0 Seapon 1.1 c.D                      0 ETH             0.00040933


       @      Ox3f0bcd64497afadec...            Set Name                15592230      195 days 20 hrs ago   O tankbottoms.eth c.D      OUT   0 ENS: Reverse Registrar c.D          0 ETH             0.00029672


       @      Oxa22ae4fc9655c6619...             Transfer               15584769      196 days 21 hrs ago   O tank bottoms.eth @       OUT   0 The Graph; GRTToken @               0 ETH             0.00060017


       @      Ox7dff171692131 cee3...        Fulfill Basic Or...        15584741      196 days 21 hrs ago   () tankbottoms.eth tD      OUT   § Seapon1 .1 [.D                      39.9 ETH          0.00250481


       @      Ox550e3d7de7a6ff040...             Multicall              15584702      196 days 22 hrs ago   O tankbottoms.eth c.D      OUT   0 Uniswap V's. Router 2 [.D           0 ETH             0.00262958


       @      Ox3e187b1 c740bd617 ...            Approve                15584698      196 days 22 hrs ago   O tankbonoms.eth Lo        OUT   ~ Apecoln: APE Token    LO            0 ETH             0.00100829


       @      Oxe07dac7af7009d796 ...             Cancel                15579093      197 days 17 hrs ago   O tankbottoms.eth [.D      OUT   § Seapon 1.1 [.D                      0 ETH             0.00045391


       @      Ox3541634484932164...                M int                15570748      198 days 21 hrs ago   O tankbottoms.eth [.D      OUT   0 OxABF3e9...43A8E7C1 [.D             0.01 ETH          0.00217537


       @      Ox29033df74 73e2bb88...            Mint Gift              15570744      198 days 21 hrs ago   0   tankbottoms.eth   cP   OUT   0 OxABF3e9...43A8E7C1 @               0 ETH             0.00222503


       @      Ox90c3a3a5dd6669f89...            Create Bid              15551494      201 days 14 hrs ago   0 tank bottoms.eth [.D     OUT   § OxC28eOd...Of92a209 [.D             0.012 ETH         0.00034119


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       @     Oxbd8eaa796467178e...           Fulfill Baslc Or...   15548432   202 days 23 mins ago   O tankbottoms.eth [.D      Ol/T   ®Seaport 1.1 [.D                       0 ETH        0.00173569


       @     OX13ec777fa5da93803...          Set Approval .•       15548430   202 days 23 mins ago   O tank bottoms.eth [.O     Ol/T   ®Creepz Invasion Pass: I...      [.O   0 ETH        0.00046863


       @     Ox8efdcef816a4cab14...             Withdraw           15548391   202 days 31 mins ago   O tankbottoms.eth [.D      our    El Wrapped Ether [.D                   0 ETH        0.00026301


       @     Oxa167d773b0171d44...           Fulfill Advanc...     15548303   202 days 49 mins ago   O tankbottoms.eth c9       OUT    B Seaport 1.1 [.O                      0 ETH        0.00225028


       @     Oxl d412047cd5d2ff27...         Fulfill Advanc...     15548303   202 days 49 mins ago   O tank bottoms.eth [.O     Ol/T   B Seaport 1.1 (.0                      0 ETH        0.00167489


       @     Ox12db284c79be794b ...          Fulfill Advanc...     15548297   202 days 50 mins ago   O tankbottoms.eth [.D      Ol/T   ®Seaport 1.1 c..D                      0 ETH        0.00174765


       @     Ox86cbd441 c8c50ac4...          Exec Transact...      15547008   202 days 5 hrs ago     () tankbottoms.eth    c9   OUT    ®Ox2187e6...CA706fbD [.D               0 ETH        0.00074622


       @     Ox 57 50f6fa Oa46ec244...           Transfer          15543802   202 days 16 hrs ago    O tank bottoms.eth @       OUT    Ox686570... lfCbfD22 @                 0.1 ETH      0.00015018


       @     Ox30fd8c4cbb187ebdd...                Mint            15537135   203 days 14 hrs ago    O tankbottoms.eth c..D     OUT    § Ox4e3200...F2bBA01 E [.O             0 ETH        0.00130995


       @     Oxf429859475bd6871 ..                 Mint            15537046   203 days 15 hrs ago    O tank bottoms.eth c..D    OUT    ®Ox0946Eb...80725d76 LO                0 ETH        0.00064858


       @     Ox5371 f743c252a7a3c ...              Mint            15537043   203 days 15 hrs ago    (} tankbottoms.eth c..D    Ol/T   El Ox0946Eb...80725d76 c9              0 ETH        0.00066218


       @     Ox22f0e3e4eb6efdbc7...          Set Approval __       15530943   204 days 16 hrs ago    () tank bottoms.eth (.0    OUT    § Terraforms: TERRAFOR". [.D           0 ETH        0.00060291


       @     Ox62b13a 1c95d667ce...          Set Approval ·-       15530939   204 days 16 hrs ago    () tank bottoms.eth [.O    OUT    ®Creepz: ARMS Token @                  0 ETH        0.0005441


       @     Ox4c51 c5839b377da8 ..                M int           15530846   204 days 16 hrs ago    () tank bottoms.eth [.O    Ol/T   El Oxc704b8...6b2099aa c9              0.0001 ETH   0.00052736


       @     OX172a896657fc52526...                M int           15530843   204 days 16 hrs ago    O tank bottoms.eth [.D     OUT    § Ox6b4814...bB810Cb8 @                0 ETH        0.00057552


       @     Oxeeb2b4436e0a 743df...         PUBUCSALL             15530842   204 days 16 hrs ago    O tank bottoms.eth c..D    Ol/T   ®Ox27d9C0... 3CCCc827 [.O              0 ETH        0.00070799


       @     Oxd1c02731ff1cafc5c1 ..               M int           15530841   204 days 16 hrs ago    () tankbottoms.eth c..D    OVT    El Oxec42D7 .. ldB268B4    [.O         0 ETH        0.00055865


       @     Ox63a6a 765f81707506...           Mint Token          15530840   204 days 16 hrs ago    () tankbottoms.eth c..D    OUT    B Ox18C221   .. D6Fc63ac   c9          0 ETH        0.00050916


       @     Ox73376e7141858c4e...                 Claim           15530840   204 days 16 hrs ago    () tank bottoms.eth c..D   Ol/T   ®Ox3b2EF1 ...15ab40FO c..D             0 ETH        0.00094871


       @     Oxdda9ff0e5fcf3c76c8...             Multicall         15526311   205 days 10 hrs ago    () tank bottoms.eth c..D   OUT    ®Uniswap V3: Router 2 [.O              0 ETH        0.00088148


       @     0     Ox6e2a09e206461464...     Exec Transact...      15524410   205 days 18 hrs ago    O tank bottoms.eth c..D    OUT    ®Ox2187e6...CA706fbD LO                0 ETH        0.00046202


       @     Oxa2 l 97a4148f4c l fab ...     Exec Transact..       15524410   205 days 18 hrs ago    () tank bottoms.eth   c9   OUT    ®Ox2187e6... CA706fbD c..D             0 ETH        0.00061946

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      @     Ox614cec739aa45fd00 ...      Exec Transact...   15524205   205 days 18 hrs ago   O tankbottoms.eth [.O      0\/T   0 Ox2187e6...CA706fbD [.O            0 ETH         0.00083939


      @     OX4355cc158e6a72aa ...       Set Metadata ...   15518034   206 days 19 hrs ago   () tankbottoms.eth [.O     OUT    0 OxD8B435...ddBc47d3 [.O            0 ETH         0.00045371


      @     Oxe69e08b2a28457f51 ...      Set Metadata -..   15518025   206 days 19 hrs ago   Otankbottoms.eth [.O       our    0 OxD8B435...ddBc47d3 [.O            0 ETH         0.00047758


      @     Ox8041884776e7bb10 ...       Set Metadata -··   15518007   206 days 19 hrs ago   O tankbottoms.eth cP       OUT    0 OxD8B435...ddBc47d3 [.O            0 ETH         0.00047645


      @     Oxca2879409ee29659...        Set Approval ·-    15517643   206 days 20 hrs ago   O tankbottoms.eth (.0      OUT    El Ox66293A...7F60Ad21   (.0         0 ETH         0.00033675


      @     Ox0198c4b1ec3bddc4...        Mint Early Ace__   15507940   208 days 11 hrs ago   0   tankbottoms.eth [.O    OUT    0 Ox66293A... 7F60Ad21   [.O         0.15 ETH      0.00110005


      @     Ox399ea3c1 267b378a ...          Cancel         15507828   208 days 11 hrs ago   () tankbottoms.eth    cP   OUT    0 Seaport 1.1 [.O                    0 ETH         0.00039852


      @     Oxc94dfbd2344de52f1 ...          Cancel         15507800   208 days 11 hrs ago   Otankbottoms.eth cP        OUT    0 Seaport 1.1 cP                     0 ETH         0.00058562


      @     Ox59ecea1ef9261a448 ...          Cancel         15507798   208 days 12 hrs ago   O tankbottoms.eth [.O      OUT    0 Seaport 1.1 [.D                    0 ETH         0.00048139


      @     Ox98770de7bcd 1a 128...           Mint          15507776   208 days 12 hrs ago   O tankbottoms.eth [.O      OUT    0 Ox57edE1...884bAadO @              0 ETH         0.00056075


      @     Oxdb588c0db76c5195...           Purchase        15507770   208 days 12 hrs ago   (} tankbottoms.eth [.O     OUT    0 Ox89653B...BcD3c17C [.O            0 ETH         0.00091 55


      @     Ox0b71 de65827d89a4...         Public Mint      15507764   208 days 12 hrs ago   () tankbottoms.eth (.0     OVT    0 Oxdf6dAE...f873c312 [.O            0.015 ETH     0.00065066


      @     Ox44c6ce0a7e 79f0e54...      Exec Transact..    15506635   208 days 16 hrs ago   () tankbottoms.eth [.O     OUT    0 Ox2187e6...CA706fbD [.O            0 ETH         0.00068921


      @     Ox365175507eebe28b...             Mint          15503674   209 days 4 hrs ago    () tankbottoms.eth [.O     OUT    0 Ox880Ed8...Fa9f8C81 L□             0.15ETH       0.00542582


      @     Oxac8c307b57a245d4...        Purchase Pre._     15503651   209 days 4 hrs ago    O tankbottoms.eth [.O      OUT    0 OxFf334F...7420A5a6 [.O            0 ETH         0.00566517


      @     Ox187ecc6cc5784c10 ...           Cancel         15503609   209 days 4 hrs ago    O tank bottoms.eth [.O     OUT    0 Seaport 1. 1 (.D                   0 ETH         0.0025345


      @     Ox940e709d75eb6b19...             M int         15503595   209 days 4 hrs ago    () tankbottoms.eth [.O     0\/T   0 Oxadb3E3...068aDD2d [.O            0.15 ETH      0.00265293


      @     Oxbb62d4efc2febaf9e5...         Purchase        15486880   211 days 21 hrs ago   () tankbottoms.eth [.O     OUT    0 Ox86af66...67eD6A95 [.O            0 ETH         0.0016117


      @     Oxb8595b00c69dc331 ...             Run          15486873   211 days 21 hrs ago   () tankbottoms.eth [.O     OUT    0 X2Y2: Exchange [.O                 0.00044 ETH   0.00312367


      @     Oxa7603be7e94cb151 ...       Set Contentha...   15480945   212 days 19 hrs ago   () tankbottoms.eth [.O     0\/T   0 ENS: Public Resolver 2 [.O         0 ETH         0.00131095


      @     Ox110cbee719799777...             Mint          15480803   212 days 20 hrs ago   O tankbottoms.eth [.O      our    0 Snowmen: Snowmen T...        [.O   0 ETH         0.00115402


      @     Ox7082ef43a4d3a9ecb...            Mint          15480788   212 days 20 hrs ago   ( ) tankbottoms.eth   cP   OUT    0 Ox81929D...A588C8D5 (9             0 ETH         0.00114692

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       @     Oxc6f3d04f43299e104 ...          Purchase         15480783   212 days 20 hrs ago   O tankbottoms.eth [.O          0\/T   0 Ox96cdE1...36e31 a4f (.0           0 ETH     0.00141046


       @     Ox34e338146a7ec2b4...            Purchase         15480764   212 days 20 hrs ago   () tank bottoms.eth [.O        OVT    0 OX96cdE1...36e31 a4f [.O           0 ETH     0.00083377


       @     Ox53db6bf4e480bd407 ...           Transfer        15480472   212 days 21 hrs ago   Otankbottoms.eth [.O           our    Ox55dEd4 ...c904d510 [.O             125 ETH   0.00037423


       @     Ox3592fe58c53ed02d2 ...           Mutticall       15480459   212 days 21 hrs ago   O tankbottoms.eth [.O          OUT    0 Uniswap V3: Router 2 [.O           0 ETH     0.00591506


       @     Ox7e057e6f6243d8f07 ...           Transfer        15479489   213 days 1 hr ago     O tank bottoms.eth (.0         OVT    Ox55dEd4...c904d510 (.0              19 ETH    0.00023336


       @     Ox71 cb5caa8fd975c8e...           Transfer        15479480   213 days 1 hr ago     0   service-provider.eth [.O    IN    O tankbottoms.eth [.O                9.5 ETH   0.00021733


       @     Ox76587a9d3aa4706c ...            Cancel          15479373   213 days 2 hrs ago    () tankbottoms.eth (P          OUT    0 Seaport 1.1 [.O                    0 ETH     0.00059337


       @     Oxe353539fb4fa0866b...         Batch Airdrop      15479366   213 days 2 hrs ago    Otank bottoms.eth @            OlfT   0 Ox6C8ACA...9036E6aA @              0 ETH     0.00127982


       @     Ox72d57d34f315ecf05...              Mint          15479360   213 days 2 hrs ago    O tankbottoms.eth [.O          OV'f   0 Ox54b2b2...21046960 @              0 ETH     0.00123039


       @     Oxf8731 cl db4a676d62...          Multicall       15477698   213 days 8 hrs ago    O tankbottoms.eth [.O          OVT    0 Uniswap V3: Router 2 [.O           0 ETH     0.00083326


       @     Oxac1 ce6c643f64c3cc...           App,ove         15477692   213 days 8 hrs ago    (} tankbottoms.eth [.O         OVT    0 Polygon (Matic): Matic ...   [.O   0 ETH     0.00029937


       @     Ox29dc02bd3e18bec2 ...        Fill Quote Tok...   15477674   213 days 8 hrs ago    () tank bottoms.eth (.0        OV'f   0 Rainbow: Router [.O                0 ETH     0.00087197


       @     Ox5718ab71c23fd13a1 ...           Approve         15477674   213 days 8 hrs ago    () tank bottoms.eth [.O        0\/T   0 C,taDAO: KNIGHT Token [.O          0 ETH     0.0002324


       @     Ox862f7ff28515319a2L          Withdraw ETH        15477597   213 days 9 hrs ago    () tank bottoms.eth [.O        OVT    0 BendDAO: WETHGatew... [P           0 ETH     0.0018121


       @     0~41783cd1 f81 f33d70 ...         Approve         15477570   213 days 9 hrs ago    O tank bottoms.eth [.O         OlJT   0 OxeD1840... BF0778a9 [.O           0 ETH     0.00025508


       @     Ox78f720c9570fb36ca ...        Batch Airdrop      15477404   213 days 9 hrs ago    O tank bottoms.eth [.O         OVT    0 Ox6C8ACA. ..9036E6aA @             0 ETH     0.00242786


       @     Oxab786f69baf5dfca8...            Set Text        15477399   213 days 9 hrs ago    () tankbottoms.eth [.O         0\/T   0 ENS: Public Resolver 2 [.O         0 ETH     0.00034777


       @     Ox873edc494d6ec941 ..          Batch Airdrop      15477347   213 days 9 hrs ago    () tankbottoms.eth [.O         OlJT   0 Ox6C8ACA...9036E6aA [.O            0 ETH     0.00150725


       @     Ox69c281 a036fac079a...        Batch Airdrop      15477340   213 days 9 hrs ago    () tank bottoms.eth [.O        OlJT   0 Ox6C8ACA...9D36E6aA @              0 ETH     0.00129774


       @     Oxae734845f81 at702a ...       Batch Airdrop      15477333   213 days 9 hrs ago    () tank bottoms.eth [.O        0\/T   0 Ox6C8ACA...9036E6aA @              0 ETH     0.00164675


       @     Ox305b70f3adeb41234...         Batch Airdrop      15477302   213 days 10 hrs ago   O tankbottoms.eth [.O          OlfT   0 Ox6C8ACA...9036E6aA (P             0 ETH     0.00740696


       @     Ox29ac037f037a4f0b1 ...       Create Pair ETH     15477278   213 days 10 hrs ago   () tankbottoms.eth @           OUT    0 sudoswap: Pair Factory @           0 ETH     0.01724138

                                                                                                                                                                           PLAINTIFF0001057
https ://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=9                                                                                                              4/5
4/6/23, 4 :28 PM                       Case 1:23-cv-20727-RKA Document 106-30
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       (:1)    Txn Hash                        Method<:1) Bloclt Age
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                                                                                  From                             To                  Value                                                                                                        Txn Fee

       @>      Oxd4b82fb40a006f072...                     Set Approval __        15477261          213 days 10 hrs ago               O tankbottoms.eth [.D               Ol/T      0 Ox6C8ACA...9036E6aA (9                     0 ETH               0.0002723


       @>      OX5l bf6e79111e671 lc...                       Cancel             15477162          213 days 10 hrs ago              () tank bottoms.eth (.D              OUT       0 Seaport 1.1 [.O                            0 ETH               0.00041038


       @>      Ox6a15840bd38ad99c...                         Mint Ite m          15477096          213 days 10 hrs ago               Otankbottoms.eth [.D                our       0   OxCeaAb1... A79218a4 [.O                 0.0034 ETH          0.0021'2465


       @>      Ox32adbl 03d8a 7c8fb3 ...                     Ftee Mint           15477085          213 days 10 hrs ago              O tankbottoms.eth c9                 OUT       0 Ox0405E9..COOf6c43 [.D                     0 ETH               0.00073967


       @>      Ox29el 87eb11 l 2474b...                        Mint              15477080          213 days 10 hrs ago               O tank bottoms.eth [.O              Ol/T      0   Ox3A91fE...3B3B29dE [.O                  0 ETH               0.00084297


       @>      Ox2c372a35b03d103a ...                          Mint              15477078          213 days 10 hrs ago               0   tank bottoms.eth [.D            Ol/T      0 OxeC8a4C...A4fOBE18 (9                     0.01 ETH            0.00063201


       @>      Oxe5538f9627b27ae6a ...                        Mint To            15477075          213 days 10 hrs ago              () tank bottoms.eth     c9           OUT       0 Oxa5C62f...9c1 1 A3c7 c9                   0 ETH               0.00081487


       @>      Ox292691336eb1 2801 ...                    Set Approval ·-        15477065          213 days 1O hrs ago               Otank bottoms.eth (9                Ol/T      0 OxCeaAb1 ...A79218a4 [.O                   0   ETH             0.00038472


       @>      Oxb43b8278d63f9698 ...                        Mint Item           15477022          213 days 11 hrs ago               O tank bottoms.eth [.D              OUT       0 OxCeaAb1 ...A79218a4 (9                    0.0032 ETH          0.00168256


       @>      Ox6c4620173e4a4f l c7 ...                     Mint Item           15477015          213 days 11 hrs ago               O tank bottoms.et h [.D             OUT       0 OxCeaAbLA79218a4 [.D                       0.0032 ETH          0.00150653


       @>      Oxcb1 f94085ffa30242 ...                      Mint Ite m          15477003          213 days 11 hrs ago              (} tank bottoms.eth [.D              OUT       0 Ox Cea Ab1...A79218a4 [.D                  0.0032 ETH          0.00146172


       @>      Ox753e3587f4927f76f...                        Mint Item           15477003          213 days 11 hrs ago              () tank bottoms.eth [.D              OUT       0 OxCeaAb1...A79218a4 (9                     0.0032 ETH          0.00146172


       @>      Oxbfbb5355bdef33100...                        Mint Item           15476993          213 days 11 hrs ago              () tank bottoms.eth     [.O          OUT       0 OxCeaAb1 ...A79218a4 [.O                   0.0032 ETH          0.00175171


       @>      Oxdde00562d6a 71 ec8...                       Mint Ite m          15476971          213 days 11 hrs ago              () tank bottoms.eth     cP           OUT       0 OxCeaAb1...A79218a4 LD                     0.0032 ETH          0.00257071


       @>      Ox627ba82a2ef7c3cd9...                        Mint Item           15476960          213 days 11 hrs ago               O tank bottoms.eth [.D              OUT       0 OxCeaAb1 ...A79218a4 [.D                   0.0032 ETH          0.00158216


       @>      Ox279686a7ddl a62fd0...                       Mint Item           15476955          213 days 11 hrs ago               O tank bottoms.eth [.O              Ol/T      0 OxCeaAb1...A79218a4 (9                     0.0032 ETH          0.00167801


       ®       Ox73400286c651c205 ...                        Mint Item           15476950          213 days 11 hrs ago              () tank bottoms.eth [.O              OUT       0 OxCeaAbl ...A79218a4 (9                    0.0032 ETH          0.00139927



      Show:     100        Records                                                                                                                                                                                     First    <     Page9 of 25     >     Last


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   ;Q, A t ransaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=9                                                                                                                                                                                     5/5
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   Transactions
   For Ox5d95baEB88412ADB27287240A5c281 E3b830d27E O tin kbottoms.e th




      A total of 2,407 transactions found                                                                                                                      First   <   Page 10 of 25   >   Last   '\{v



       0      Txn Hash                      Method0              Block      Age                    From                              To                                    Value                 Txn Fee


       @      Ox5e96c382ac71 ae99...            Mint Item        15476950   213 days 11 hrs ago    O tankbottoms.eth LO       OUT    0 OxCeaAbLA79218a4 LO                 0.0032 ETH            0.00139927


       @      Oxe9c2d9ea69800d12...             Mint Item        15476949   213 days 11 hrs ago    O tankbottoms.eth LO       0\/1   0 OxCeaAb1 ...A79218a4 L□             0.0032 ETH            0.001 55296


       @      Ox0bbfc8e47dfec2639...            Free Mint        15476642   213 days 12 hrs ago    O tankbottoms.eth t,O      0VT    @] Ox86b490...342E9bCB t,O            0 ETH                 0.00048269


       @      Ox48baf1 3713d792b6c...            Cancel          15476174   213 days 14 hrs ago    O tankbottoms.eth c9       0VT    B Seaport 1 .1 c9                     0 ETH                 0.00033524


       @      Oxcff0c23e6a91a1e74...             App,ove         15475880   213 days 15 hrs ago    O tankbottoms.eth LO       0\/1   § BendDAO: BEND Token (P              0 ETH                 0.00030704


       @      Oxf7fd192ff523584ed5...         OeposHTH           15475873   213 days 15 hrs ago    O tankbottoms.eth LO       OVT    § BendDAO: WETHGatew... LO            5 ETH                 0.00204577


       @      Ox73917ef1 9b82c9e13...            Cancel          15475850   213 days 15 hrs ago    O tankbottoms.eth c9       001    B Seaport 1.1 c9                      0 ETH                 0.00092982


       @      Oxc54452el 76319b43 ...           Withdraw         15475836   213 days 15 hrs ago    O tankbottoms.eth cP       OVT    0 Wrapped Ether cP                    0 ETH                 0.00032106


       @      Ox06999dfce7fa176ee...             Cancel          15475836   213 days 15 hrs ago    0 tankbottoms.eth LO       OUT    0 Seaport 1.1 [..O                    0 ETH                 0.00063932


       @      Ox53502a2cc9fb5d403...               Mint          15475044   213 days 18 hrs ago    0   tankbottoms.eth c.,O   001    B OxB359c6...3a40A3ES c9              0.005 ETH             0.00066237


       @      Oxf425bdd835b4be958...               Mint          15473453   214 days 59 mins ago   O tankbottoms.eth c.,O     0VT    § Ox1d98D2...eOAD9782 t,O             0 ETH                 0.00074824


       @      Ox2668b5f776c0a5a38...               M int         15473439   214 days 1 hr ago      O tankbottoms.eth LO       OUT    0 Ox646f8A...2181ffd8 [..O            0 ETH                 0.00051175


       @      Ox4c0dcac9ff8ba 1190...              Mint          15471399   214 days 8 hrs ago     O tankbottoms.eth Lo       OUT    0    Oxa7cA19...cf916DOO L,0          0.004 ETH             0.00056378


       @      Ox96bf0b4a8f4d84291 ...        Set Approval ·-     15471096   21 4 days 10 hrs ago   0   ta nkbottoms.eth t,O   0VT    B Creepz: CBC Token t9                O ETH                 0.00071639


       @      Ox8823cf2067f96de1 b ...       Set Approval ...    15471096   214 days 10 hrs ago    0   tankbottoms.eth c.,0   our    § Creepz: CBC Token LO                0 ETH                 0.00071 639


       @      Oxd8fef990a9cf32d8f2...        set Approval   •M   15471096   21 4 days 10 hrs ago   0   tankbottoms.eth [..O   OUT    B Creepz: CBC Token cP                0 ETH                 0.00128011


       @      Oxdd59d52f60b551 d7...         Set Approval .•     15471057   214days10hrsago        0 tankbottoms.eth t,O      OUT    § Loot: LOOT Token (9                 0 ETH                 0.00042716


                                                                                                                                                                                   PLAINTIFF0001059
https://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 100&p=10                                                                                                                           1/5
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                                                                              Transactionson  FLSDIDocket
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       CD    Txn Hash                  M ethod(v  Block  Age              From                               To                  Value                                              Txn Fee


       @     Ox97a407ca 7984257a ...      Set Approval ·-     15471001   214 days 10 hrs ago   0   tankbottoms.eth [.O     OUT   0 The Otherside: OTHR T...      t.D   0 ETH        0.0003106


       @     Ox06c7125c19a751a3...        Set Approval ·-     15470943   214days10hrsago       O tankbottoms.eth t.D       OUT   0 Moonbirds Oddities; 0 ... r.9       0 ETH        0.00021253


       @     Oxb011 babal f11 a931 b...         Burn          15470872   214 days 10 hrs ago   ◊ tankbottoms.eth t.D       OUT   0 Ox174150...6F289FA6 t.D             0 ETH        0.00038748


       @     Ox3c98c62f01 b53c885..       Set Approval ·-     15470396   214 days 12 hrs ago   O tankbottoms.eth [.D       OUT   0 Ox68A510...3d342b6D [.O             0 ETH        0.00029942


       @     Ox1222a1a39bfe0af48 ...      Mint Allowlist...   15470276   214days13hrsago       O tankbottoms.eth t.D       OUT   0 Oxc4a748...1343c2e1 t.D             0 ETH        0.00113484


       @     Ox3d2be619d457 4a25...          Free Mint        15469129   214 days 17 hrs ago   0   tankbottoms.eth t.D     OUT   0 Ox71868f...9Ae7dEBb t.D             0 ETH        0.00063348


       @     Ox3e5a22143197bc4b ...          Free Mint        15469126   214 days 17 hrs ago   O tankbottoms.eth [.D       OUT   0 Oxbb5773... 70968Ba9 [.D            0 ETH        0.00052305


       @     Oxlfbb11f52e2cc0fd2...          Purchase         15469126   214 days 17 hrs ago   O tankbottoms.eth r.9       OUT   0 Ox6191 bC...3Bea2e6E r.9            0.0003 ETH   0.00083361


       @     Ox275a802831b04d3c...              Mint          15469125   214 days 17 hrs ago   O tankbottoms.eth t.D       OUT   0 Oxf9eC6F...D4831421    [.O          0.0042 ETH   0.00075555


       @     Ox88faa1388023f7691 ...            Mint          15469122   214days17hrsago       O tankbottoms.eth [.D       OU!   0 Ox905030.   0634De0A [.D            0 ETH        0.00089178


       @     Oxc8919ed60deeebe7 ...             Mint          15469122   214 days 17 hrs ago   O tankbottoms.eth t.D       ovr   0 Ox43df27...03877030 t.D             0 ETH        0.0007091


       @     Ox59a5de9380bb9f0 Sb...            Mint          15469120   214 days 17 hrs ago   0   tankbottoms.eth t.D     OUT   0 OxaBf9e1...0b592e1 D t.D            0 ETH        0.00080733


       @     Oxfc5f929f414434e40...             Mint          15469120   214 days 17 hrs ago   O tankbottoms.eth t.D       OUT   0 Ox67087C...3e3cBObd t.D             0 ETH        0.00117801


       @     Ox356945141d4b4a5e...              Mint          15469120   214days17hrsago       O tankbottoms.eth [.O       ovr   0 OxCC46ae._57d558D6 r..D             0 ETH        0.00163351


       @     Oxfa213bc213c302bb5...             Mint          15469113   214 days 17 hrs ago   O tankbottoms.eth t.D       OUT   0 Ox4F8AFD...1A991070 [.O             0.0019 ETH   0.00120973


       @     Oxa8e5d7dafee0c3cab...             Mint          15469098   214 days 17 hrs ago   0 tankbottoms.eth t.D       OUT   0 OxE32b3a...D084D256 t.D             0.004 ETH    0.001 93152


       @     Oxb646072b642a2af12...         Public Mint       15469093   214days17hrsago       O tankbottoms.eth (.0       ovr   0 Ox08fA32.•.435d869A (.0             0.009 ETH    0.00132639


       @     Ox441 d2d1 d55a9ab66...            Mint          15468804   214days18hrsago       O tankbottoms.eth [.D       OUT   0 Ox22f5f1 ...8d7638b3 [.D            0.005 ETH    0.00044574


       @     Ox35bee15a09d72031 ...         Public Mint       15468799   214 days 18 hrs ago   0 tankbottoms.eth t.D       OUT   0 Ox069138... B7C7629C t.D            0.009 ETH    0.00043733


       @     Oxb6113020db58bb29 ...             Mint          15468793   21 4 days18hrsago     O tankbottoms.eth [.O       OUT   0 Ox22f5f1 ...8d7638b3 r.9            0.005 ETH    0.00041727


       @     Oxl 4b1dlc974ee5d8e...             M int         15468791   214days18hrsago       O tankbottoms.eth [.D       OUT   0 Ox55d862-eD484851       [.O         0.009 ETH    0.00063145


       @     Ox0529549aa1 d853d8...        Batch Airdrop      15468782   214 days 18 hrs ago   0   tankbottoms.eth   r.9   OUT   0 Ox6C8ACA...9D36E6aA r.9             O ETH        0.00096958

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https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=10                                                                                                               2/5
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             Txn Hash                 Method(v   Block
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                                                                        From                               To                  Value                                        Txn Fee
       CD                                               Age


       @     Ox48b15e0b2efa7320b...     Fulfill Basic Or...   15468750   21 4 days 19 hrs ago   0   tankbottoms.eth (,0    OUT   0 Seaport 1.1 c9               0.001 ETH   0.00059262


       @     Oxb57e81 Of41 a85f664...         Mint            15468624   21 4 days19hrsago      O tankbottoms.eth cO       OUT   0 Ox6Dd779...3116Dbd7 cO       0.05 ETH    0.00066518


       @     Ox6ef48cebde1274f89...           M int           15468576   21 4 days 19 hrs ago   ◊ tankbottoms.eth (,0      OUT   0 Ox6Dd779...3116Dbd7 (,0      0.002 ETH   0.00044276


       @     Oxfa1931 a78470c3c23 ...      Main Sale          15468570   21 4 days 19 hrs ago   O tankbottoms.eth cO       OUT   0 Oxf6298d...286C1AAC (9       0 ETH       0.00059675


       @     Oxe35c037d8d14363f5...           Mint            15468568   21 4 days 19 hrs ago   O tankbottoms.et h (,0     OUT   0   OX43df27...03877030 (,0    0 ETH       0.00050235


       @     Ox6308be391a1089c6 ...        Free Mint          15468568   21 4 days 19 hrs ago   0   tankbottoms.eth (,0    OUT   0 Oxbb5773...70968Ba9    (,0   0 ETH       0.00042524


       @     Ox7c3422c1 c38cdf58e ...         Mint            15468567   21 4 days 19 hrs ago   O tankbottoms.eth cO       OUT   0 Ox56A3fb...eb4b8CEd (9       0 ETH       0.0005975


       @     Ox66fc6048ebe7d 1ffe7...         Mint            15468565   214days19hrsago        O tankbottoms.eth c9       OUT   0 Ox741dd3...FFb7058F (9       0 ETH       0.00074839


       @     Oxed05738249b64783...            Mint            15468564   214 days 19 hrs ago    O tankbottoms.eth (,0      OUT   0 Ox9dl f25...eddc0D9f (9      0 ETH       0.00058289


       @     Oxl 4b2aecb7c873444...           Mint            15468562   214 days 19 hrs ago    O tankbottoms.eth cO       OU!   0 Ox22f5f1 ...8d7638b3 cO      0 ETH       0.00070856


       @     Oxbc97ed4e33a71214...            Mint            15468557   21 4 days 19 hrs ago   O tankbottoms.eth (,0      ovr   0 Ox3432AF...7a550eC7 [.O      0002 ETH    0.00059353


       @     Ox028947c99070f7080...           Mint            15468555   214 days 19 hrs ago    0   tankbottoms.eth (,0    OUT   0 Ox6Dd779...3116Dbd7 (,0      0.001 ETH   0.00050927


       @     Ox4d3eeeeb41da7c3b...          Multicall         15457591   216days1 4 hrsago      O tankbottoms.eth cO       OUT   0 Uniswap V3: Router 2 cO      0 ETH       0.0020424


       @     Ox7caf0acbaa69205ce...         Transfer          15457444   216 days 14 hrs ago    O tankbottoms.eth cO       sar   O tankbottoms.eth c9           0 ETH       0.00022317


       @     OX5beb98d844b0ec69 ...           Grab            15457391   216 days 14 hrs ago    O tankbottoms.eth (,0      OUT   0 Ox4ddeF8...2B8674A4 (,0      0.001 ETH   0.00447426


       @     Ox94f51 fa2e0e31b607 ...         Grab            15457370   216days1 4 hrsago      O tankbottoms.eth cO       OUT   0 Ox4ddeF8...2B8674A4 cO       0.001 ETH   0.00357398


       @     Ox3c7227a13f9573189...           Grab            15457358   216 days 14 hrs ago    O tankbottoms.eth cO       ovr   0 Ox4ddeF8. .288674A4 (9       0.001 ETH   0.00543084


       @     Oxfa 79b030d34cf8ffb3...         Grab            15457347   216 days 14 hrs ago    O tankbottoms.eth cO       OUT   0 Ox4ddeF8. .2B8674A4 cO       0.001 ETH   0.00526089


       @     Ox44aa84c9a70e4687...            Grab            15457326   216 days 15 hrs ago    O tankbottoms.eth cO       OUT   0 Ox4ddeF8...2B8674A4 cO       0.001 ETH   0.00344044


       @     Oxfb81 Obb8b8ae26ee6 ...         Grab            15457297   216 days 15 hrs ago    O tankbottoms.eth (,0      OUT   0 Ox4ddeF8...2B8674A4 cO       0.001 ETH   0.00501415


       @     Ox938452a86b8e55bef...           Grab            15457290   216 days 15 hrs ago    O tankbottoms.eth cO       OUT   0 Ox4ddeF8... 2B8674A4 (,0     0.001 ETH   0.00442902


       @     Ox956de1f19f43fbb10...           Tear            75457237   216 days 15 hrs ago    0   tankbottoms.eth   c9   OUT   0 Oxa9248a...06ffd2e2 c9       O ETH       0.00112521

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                                                                           Transactionson   FLSDIDocket
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      @     0xe691 d605415f4d6bd...          Tea,           15457224   216 days 15 hrs ago    0   tankbottoms.eth (,0     OUT   0 0xa9248a...06ffd2e2 c9      0 ETH       0.00132265


      @     0xd7d718920dfccbd6b...     Set Approval ·-      15457223   216 days 15 hrs ago    O tankbottoms.eth cO        OUT   0 0x307767.. .40DE50aE cO     0 ETH       0.00046992


      @     0x93c268f8c5053f847...     Set Approval __      15454589   217 days 1 hr ago      ◊ tankbottoms.eth (,0       OUT   0 0xa9248a...06ffd2e2 c9      0 ETH       0.00083093


      @     0x98943a2d6e1 ef0ea4...    Set Approval ·-      15454589   217 days 1 hr ago      O tankbottoms.eth cO        OUT   0 0xa9248a...06ffd2e2 c9      0 ETH       0.00083139


      @     0xfb042c4123d852e1 b ...   Set Approval ·-      15454589   217 days 1 hr ago      O tankbottoms.eth (,0       OUT   0   0xa9248a...06ffd2e2 (,0   0 ETH       0.00082388


      @     0x17dd974e63a81564...      Exec Transact...     15454476   217 days 1 hr ago      0   tankbottoms.eth (,0     OUT   0 0x2187e6...CA706fbD cO      0 ETH       0.001 36583


      @     0x365605efffc72e56b...     Mint With Proof      15452429   217 days 9 hrs ago     O tankbottoms.eth cO        OUT   0 0xEDb680...31 b8a914 c□     0.07 ETH    0.001 30409


      @     0x1 ede635545e27558 ...    Exec Transact.~      15451789   217 days 12 hrs ago    O tankbottoms.eth c9        our   0 0x2187e6...CA706fbD (9      0 ETH       0.00055719


      @     0x4557dc9108cd985c_.        Transfer From       15450954   217 days 15 hrs ago    O tankbottoms.eth (,0       OUT   0 0xa51cEe...b050391d c□      0 ETH       0.00072433


      @     0xl 1a3c0a4756d018f8..       Mint Avatar        15450943   217 days 15 hrs ago    O tankbottoms.eth cO        OU!   0 0xa51cEe...b050391d cO      0.25 ETH    0.00132859


      @     0xb4f671062547ef9ec...     Futfdl Basic Or...   15449233   217 days 21 hrs ago    O tankbottoms.eth c□        ovr   0 Seaport 1.1 [.O             0.7 ETH     0.00259516


      @     0x5d91af560dacd5415...      Whitelist Mint      15449179   217 days 22 hrs ago    0   tankbottoms.eth (,0     OUT   0 0x32E542...acA177B4 (9      0.3 ETH     0.00348685


      @     0xde7b7068c79d0298 ...       Mint Avatar        15442382   219days14minsago       O tankbottoms.eth cO        OUT   0 0xa51cEe...b050391d cO      0 ETH       0.00151978


      @     0x33a57158bf4d5f993...       Mint Avatar        15442351   219 days 19 mins ago   O tankbottoms.eth c□        ovr   0 0X1l51cEe...b050391d c□     0 ETH       0.00296098


      @     0xbdb2d300e0391477...            Mint           15442289   219 days 34 mins ago   O tankbottoms.eth (,0       OUT   0 0x01f55b...a30e7f65 (,0     0.08 ETH    0.00438575


      @     0x83f0c75efe4c542df...      Place Bid V2        15433880   220 days 8 hrs ago     O tankbottoms.eth cO        OUT   0 Foundation: Market c□       2.3 ETH     0.00096197


      @     0xbf517b48d55004a7 ...         Transfer         15425931   221 days 15 hrs ago    O tankbottoms.eth c□        ovr   0x55dEd4...c904d510 c□        5 ETH       0.000084


      @     0xb29b13038b269478...          Multicall        15421547   222 days 8 hrs ago     O tankbottoms.eth cO        OUT   0 Uniswap V3: Router 2 c□     0 ETH       0.00091527


      @     0Xbbde89efd891675de...         Transfer         15419863   222 days 14 hrs ago    O tankbottoms.eth cO        OUT   0x55dEd4...c904d510 cO        11 ETH      0.000147


      @     0x7c5e137a9ee36afb0...         Multica11        15418286   222 days 20 hrs ago    O tankbottoms.eth (,0       OUT   0 Uniswap V3: Router 2 (,0    0 ETH       0.00246403


      @     0xc1c67061Sb1949fba . .        Multlcall        15417280   223 days 34 mins ago   O tankbottoms.eth cO        OUT   0 Uniswap V3: Rout er 2 c□    0 ETH       0.00140683


      @     0x899ca1bb7b47b1 fbc ...       Transfer         15414315   223 days 11 hrs ago    O service-provider.eth c9   IN    O tankbottoms.eth c9          2.75 ETH    0.00018265

                                                                                                                                                                  PLAINTIFF0001062
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1OO&p=10                                                                                                      4/5
4/6/23, 4 :28 PM                       Case 1:23-cv-20727-RKA Document 106-30
                                                                         ElhereumEntered
                                                                                   Transactionson   FLSDIDocket
                                                                                                Information Elherscan 06/09/2023 Page 53 of

       (:1)    Txn Hash                      Method<:1) Block  Age
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                                                                               From                               To                  Value                                                                                                        Txn Fee


       @       Ox1d11b1c8e5d9df13e...                     Set Addr          15411960         223 days 21 hrs ago              0   tankbottoms.eth (,0              WT        e] ENS: Publ ic Resolver 2 (9               0 ETH                     0.000687


       @       OX678d80d81380ad3e...                      Set Addr          15411954         223 days 21 hrs ago              O tankbottoms.eth cO                 OUI       e] ENS: Public Resolver 2 (9                0 ETH                     0.00057631


       @       Oxb379072000918f6ed...                 Set Approval ·-       15411891         223 days 21 hrs ago              O tankbottoms.eth (,0                our       OxD78AFb...70Ced96B (,0                     0 ETH                     0.00063844


       @       Oxabl 9de6a12fb90d28 ...               Set Approval __       15411891         223 days 21 hrs ago              O tankbottoms.eth cO                 OUT       OxD78AFb...70Ced968         (9              0 ETH                     0.00075755


       @       Ox30eb6f15c302561fl...                 Set Approval ...      15411891         223 days 21 hrs ago              O tankbottoms.eth (,0                OVT       OxD78AFb...70Ced96B (,0                     0 ETH                     0.00063728


       @       Ox311 8f6a49a5ca81f6 ...               Register With ·-      15411826         223 days 21 hrs ago              0   tankbottoms.eth cO               OVT       el ENS: ETH Registrar Co... c9              0.009710721 ETH           0.00279633


       @       Oxb365eb314dc7614d...                      Commit            15411821         223 days 21 hrs ago              O tankbottoms.eth c9                 OUT       B ENS: ETH Regist rar Co...       cO        0 ETH                     0.00041148


       @       Ox8bcae65a4e44d096 ...                     Transfer          15411686         223 days 22 hrs ago              0 service-provider.eth c9             IN       O tankbottoms.eth (,0                       0.45 ETH                  0.000357


       @       Ox45d660ee13097926...                      Transfer          15409069         224 days 8 hrs ago               O tankbottoms.eth (,0                WI        Ox961 5e8 ... FaFA068e (,0                  0.00291996 ETH            0.000126


       @       Oxc720d0c4a8527b39...                      Transfer          15407255         224 days 15 hrs ago              O tankbottoms.eth cO                 OUI       e] Maker: Dal Stablecoin cO                 0 ETH                     0.00041444


       @       Oxc2096a7c012cf80a7 ...                     Grab             15405690         224 days 21 hrs ago              O tankbottoms.eth (,0                ovr       0 Ox4ddeF8 ...2B8674A4 (,D                  0001 ETH                  0.00475918


       @       Ox35a0adefl c3780347 ...               Purchase Pub....      15397361         226 days 5 hrs ago               0   tankbottoms.eth (,0              OllT      B OxF54fD2... 13c502a5 (,0                  0.05 ETH                  0.00098798


       @       OxeOa 193 52614653ca•.                 Reconfigure F...      15397263         226 days 5 hrs ago               O tankbottoms.eth cO                 OVT       0 Ox4e3ef8...8F651351        cO             0 ETH                     0.00676898


       @       Ox09470e33fcddc2ab2 ...                    Transfer          15395052         226 days 13 hrs ago              O tankbottoms.eth cO                 OVI       Ox8a9742... 1168232B cD                      1.25 ETH                 0.00013901


       @       Ox9efa1834b6c7e2894...                  Transfer From        15393471         226 days 19 hrs ago              O tankbottoms.eth (,0                OV1       B Ox4ddeF8 ...2B8674A4 (,0                  O ETH                     0.00101455


       @       Oxc59d3f252c72b81ac...                      Grab             15392780         226 days 22 hrs ago              O tankbottoms.eth cO                 OUT       B Ox4ddeF8 ...2B8674A4 cO                   0.001 ETH                 0.00399247


       @       Ox975014dfef98e6880...                    Set Name           15391889         227 days 1 hr ago                O tankbottoms.eth cO                 OVI       0 ENS: Reverse Registrar c9                 0 ETH                     0.00103121



      Show:     100        Records                                                                                                                                                                                   First     <   Page 10 of 25    >     last


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   ;Q, A 1ransactlon is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




                                                                                                                                                                                                                               PLAINTIFF0001063
htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=10                                                                                                                                                                                       5/5
4/6/23, 4 :28 PM                  Case 1:23-cv-20727-RKA Document 106-30
                                                                    E l hereumEntered
                                                                              Transactionson  FLSDIDocket
                                                                                           Information Elherscan 06/09/2023 Page 54 of
                                                                             401
   Transactions
   For Ox5d95baEBB8412AD827287240A5c281 E3b830d27E O            taikbottoms.eth




      A total of 2,407 transactions found                                                                                                                        First    <   Page 11 of 25   >   Last   '\{v



       0      Txn Hash                      Method(v               Block          Age                   From                            To                                    Value                 Txn Fee


       @      Ox30bbb74badb56e80...          Register With ,_      15391865       227 days 2 hrs ago    () tankbottoms.eth LD    OUT    0 ENS: ETH Registrar Co_.    LO       0.010500581 ETH       0.00414238


       @      Oxc6ba6c2f7c3b11d15...             Commft            15391818       227 days 2 hrs ago    () tankbottoms.eth LD    OVl    0 ENS: ETH Registrar eo __   LO       0 ETH                 0.00055624


       @      Oxl 4ef5064a080e3523...        Registe r With·-      15391744       227 days 2 hrs ago    O tankbottoms.eth LD     OUl    ® ENS: ETH Registrar Co...   L□       0.007000387 ETH       0.00862025


       @      Ox21 e523abfc45ce1 c6...           Commit            15391458       227 days 3 hrs ago    O tankbottoms.eth   cP   OUl    ® ENS: ETH Registrar Co... cP         0 ETH                 0.00064846


       @      Oxe38060c689201 b7d ...            Deposit           15390914       227 days 5 hrs ago    O tankbottoms.eth LD     OVl    0 Wrapped Ether LD                    0.25ETH               0.00060465


       @      Oxeee4d4 99b9063237...             Transfer          15389895       227 days 9 hrs ago    () tankbottoms.eth LD    OUT    Ox55dEd4...c904d510 [P                10 ETH                0.00010482


       @      Ox5523456eb9a36dda...             Multicall          15388813       227 days 13 hrs ago   O tankbottoms.eth L□     OUT    ®Uniswap V3: Router 2 cP              0 ETH                 0.00062277


       @      Oxe353fbb58eb600201 ...           Transfer           15386720       227 days 21 hrs ago   O tankbottoms.eth   L□   OUl    0 Maker: Dai Stablecoin cP            0 ETH                 0.00017124


       @      Ox462e209418bacf25d...              Grab             15386157       227 days 23 hrs ago   O tankbottoms.eth LD     OUl    0 Ox4ddeF8...288674A4 Lo              0.001 ETH             0.00297135


       @      oxad7dde51 dd912479...             Transfer          15384221       228 days 7 hrs ago    () tankbottoms.eth L□    OUl    Ox55dEd4...c904d510 [P                15 ETH                0.00014322


       @      Oxffddb68113b279971 ...              Mint            15383089       228 days 11 hrs ago   () tankbottoms.eth L□    OUl    ®Ox9AF892...312794d2 L□               0 ETH                 0.00144455


       @      Oxed5e2578f1628b8a9...               Mint            15383089       228 days 11 hrs ago   O tankbottoms.eth LD     OUl    0 OxbF1673...C6b4a645 Lo              0 ETH                 0.00063488


       @      Ox4cf27580d69c8fe06...               Mint            15383088       228 days 11 hrs ago   O tankbonoms.eth 19      OUT    0 Ox1 5bOA6...COf324Ca Lo             0 ETH                 0.00065981


       @      Oxf49c1994f9639560b...              Seize            15383020       228 days 11 hrs ago   O tankbottoms.eth L□     0\1T   ®Ox4ddeF8 ...2B8674A4 LO              0 ETH                 0.00154968


       @      Oxel 485d6a07c733a8...           Cancel Bid          15382965       228 days 11 hrs ago   O tankbottoms.eth   L□   OUl    0 Oxa35375...54fa5DB9 L□              0 ETH                 0.00036286


       @      Oxb50b82573bf2836e0 ...         Bid On Token         15382911       228 days 11 hrs ago   () tankbottoms.eth L□    OUT    0 Oxa35375...54fa5DB9 LD              0.66 ETH              0.00051335


       @      Oxe91 bf574c4f4a45ee...             Grab             15382693       228 days 12 hrs ago   Otankbottoms.eth L□      0\1T   ®Ox4ddeF8...2B8674A4 LO               0.001 ETH             0.00169041


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https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=11                                                                                                                              1/5
4/6/23, 4 :28 PM                 Case 1:23-cv-20727-RKA Document 106-30
                                                                   ElhereumEntered
                                                                            Transactionson  FLSDIDocket
                                                                                         Information Elherscan 06/09/2023 Page 55 of

       (:1)   Txn Hash                   Method<:1) Block Age
                                                                          401
                                                                           From                            To                  Value                                               Txn Fee


       @      Ox1b18dcbbb87ac2b1 ...       Set Buy Price    15382655    228 days 12 hrs ago    () tankbottoms.eth [.D     OUl    0 Foundation: Market [.D             0 ETH        0.00015949


       @      Oxe722ca6806d51 bl b ...     Set Buy Price    15382616    228 days 13 hrs ago    () tankbottoms.eth t.D     OUl    0 Foundation: Market t.D             O ETH        0.0005221 4


       @      Oxc528a9e9860bc81 b ...     Set Approval ·-   15382567    228 days 13 hrs ago    Ot ankbottoms.eth [.D      001    0 Ox018aF7...E4c6CEBE @              0 ETH        0.00021161


       @      Oxafe82236a1 fe748ad ...        Transfer      15382550    228 days 13 hrs ago    () tankbottoms.eth t.D     SELF   O tankbottoms.eth t.D                0 ETH        0.00010068


       @      Ox2114792303b02e47 ...      Withdraw AvaL     15382369    228 days 14 hrs ago    O tankbottoms.eth [.O      OUl    0 Ox49128C...F9050443 [.O            0 ETH        0.00024373


       @      Oxcec44eb84c183180...            Grab         15381855    228 days 15 hrs ago    0 tankbottoms.eth cP       OUl    0 Ox4ddeF8...2B8674A4 LD             0.001 ETH    0.0012678


       @      Ox1 el e993a47f49a305...         Grab         15381704    228 days 16 hrs ago    () tankbottoms.eth t.D     OUl    0 Ox4ddeF8...288674A4 t.D            0.001 ETH    0.00184905


       @      Oxeb93cd04cc58bd36...            Grab         15381649    228 days 16 hrs ago    Otankbottoms.eth t.D       OUT    0 Ox4ddeF8 ...2B8674A4 @             0.001 ETH    0.00196796


       @      Ox8a29e3277dffc37a0 ...        Multicall      15381280    228 days 18 hrs ago    O tankbottoms.eth [.D      OUl    0 Uniswap V3: Router 2 t.D           0 ETH        0.00137936


       @      Oxd288bba88e9bffl 19 ...          Mint        15381238    228 days 18 hrs ago    O tankbottoms.eth t.D      OUl    0 OxB68Bf5...2A207f54 [..D           0 ETH        0.00081127


       @      Ox5a8c07adaaedfd33d...           Grab         15381 149   228 days 18 hrs ago    () tankbottoms.eth [.D     OUl    0 Ox4ddeF8...2B8674A4 [..D           0001 ETH     0.0027821


       @      Oxd4a09509050cb923...            Grab         15381 147   228 days 18 hrs ago    () tankbottoms.eth [.D     OUl    0 Ox4ddeF8... 2B8674A4 [.D           0.001 ETH    0.00239078


       @      Ox339eccfa 728b162a2 ...         Grab         153811 40   228 days 18 hrs ago    O tankbottoms.eth    t.D   OUl    0 Ox4ddeF8 ...288674A4 c:9           0.001 ETH    0.0036031


       @      Ox410624735d3600fe0...           Grab         15381133    228 days 18 hrs ago    () tankbottoms.eth   cP    OUT    0 Ox4ddeF8 ..2B8674A4 [.D            0.001 ETH    0.00265787


       @      Oxf2954115382b917b...            Grab         15381121    228 days 18 hrs ago    O tankbottoms.eth [.D      OUl    0 OX4ddeF8...2B8674A4 (9             0.001 ETH    0.00232728


       @      Ox5f526db90e89ebba8...         Transfer       153811 21   228 days 18 hrs ago    O tankbottoms.eth    t.D   SELF   O tankbottoms.et h [..O              0 ETH        0.00012016


       @      Oxcl b8518c3f6932af4...          Grab         15381121    228 days 18 hrs ago    0 tankbottoms.eth cP       OUT    0 Ox4ddeF8 ...2B8674A4 cP            0.001 ETH    0.00233286


       @      Oxcc4a3f06b4c660ede...           Grab         15380890    228 days 19 hrs ago    () tankbottoms.eth t.D     OUl    0 Ox4ddeF8 ..2B8674A4 [.O            0.001 ETH    0.00227598


       @      OXl c774270b543bb6fa...          Grab         15380179    228 days 22 hrs ago    O tankbottoms.eth t.D      OUl    0 OxaOdadf...064cCeb0 t.D            0.0001 ETH   0.00439343


       @      Ox7bf0a47c123f7ed98...         Transfer       15378294    229 days 5 hrs ago     O tankbottoms.eth    t.D   OUl    Ox8a9742... 1168232B      cP         0.35ETH      0.00024847


       @      Oxd006f1455e72d31 fb...      Redeem Pass      15374568    229 days 19 hrs ago    O tankbottoms.eth t.D      OUT    0 DropKit Pass: DKP Tok...     t.D   0 ETH        0.00401332


       @      Ox45648ee3131 Ofaefd ...        T,ansfer      15373257    230 days 34 mins ago   () tankbottoms.eth t.D     OUT    Ox55dEd4...c904d510 @                14.7 ETH     0.00037292

                                                                                                                                                                          PLAINTIFF0001065
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=11                                                                                                              2/5
4/6/23, 4 :28 PM                 Case 1:23-cv-20727-RKA Document 106-30
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                                                                             Transactionson  FLSDIDocket
                                                                                          Information Elherscan 06/09/2023 Page 56 of
                                                                           401
       CD    Txn Hash                    M ethod(v  Block Age               From                            To                  Value                                                   Txn Fee


       @     Oxaadb2eaa01 ff8d0cc...           Transfer       15373223    230 days 41 mins ago   O tankbottoms.eth [.D     SELF   O tankbottoms.eth [.D               0 ETH             0.000294


       @     Oxa62c49cd82b0ed43...            Multicall       1537 1409   230 days 7 hrs ago     O tankbottoms.eth [.D     OUl    El Uniswap V3: Router 2 [.D         O ETH             0.00345027


       @     Ox7151 c0fe0fb57f46fb ...        Redeem          15371378    230 days 7 hrs ago     ◊ tankbottoms.eth [.D     OUT    El Compound: cDAI Token [.O         0 ETH             0.00373534


       @     Oxa4f00b9fdb7f5b527...         Redeem Pass       15371024    230 days 8 hrs ago     () tankbottoms.eth LD     OUT    0 DropKit Pass: DKP Tok.,.     c9   0.15 ETH          0.0024774


       @     Ox3ee8c2 l 51 bff55acc...         Transfer       15362137    231 days 18 hrs ago    O tankbottoms.eth [.O     OUT    Ox55dEd4...c904d510 [.O             27.05 ETH         0.00013611


       @     Ox9acb9febc267fa8cf0 ...         Multicall       15362123    231 days 19 hrs ago    0 tankbottoms.eth [.D     OUl    El Uniswap V3: Router 2 c9          O ETH             0.00182741


       @     CD Ox28e70bff896cf17cc...     Safe Transfer ·-   15359850    232 days 3 hrs ago     () tankbottoms.eth [.D    OUT    0 ENS: Base Registrar Im ...   c9   0 ETH             0.00032175


       @     Oxec7a7e2a95d4e131 ...       Safe Transfer .•    15359845    232 days 3 hrs ago     Otankbottoms.eth [.D      OUT    El ENS: Base Registrar Im ... c9    0 ETH             0.00057992


       @     Oxd72611 a47faa347e0...          Multicall       15359622    232 days 4 hrs ago     O tankbottoms.eth [.D     OUT    El Uniswap V3: Router 2 [.D         1 ETH             0.00193174


       @     Ox33854dc8db0a 7ab1 ..         Bid On Token      15357314    232 days 13 hrs ago    O tankbottoms.eth [.D     OUT    0 Oxa35375.._54fa5DB9 [.D           0.6 ETH           0.00090163


       @     Oxbcl 32c2fc47c88ade...         Set Owner        15357201    232 days 13 hrs ago    () tankbottoms.eth [.D    OUl    0 ENS: Registry with Fall... [.O    0 ETH             0.00023767


       @     Oxc3942b6f0e71262b7...        Register With·-    15355994    232 days 18 hrs ago    () tankbottoms.eth [.D    OUT    E) ENS: ETH Registra r Co... [.D    0.008741185 ETH   0.0027522


       @     Ox7074e761f9d288b3f...            Commit         15355984    232 days 18 hrs ago    O tankbottoms.eth [.D     OUl    0 ENS: ETH Registra r Co ... LD     0 ETH             0.00045743


       @     Oxf86 l 530ffefbba46ea...           Mint         15353990    233 days 1 hr ago      () tankbottoms.eth   c9   OUl    0 Oxa7eDd5...a2a92C95     c9        0 ETH             0.00087755


       @     Ox986ad7a928099285...               Mint         15353989    233 days 1 hr ago      O tankbottoms.eth [.D     OUT    El OxA84355...2535D870 [.D          0 ETH             0.00095367


       @     Ox4c627da1f7be7dbe6 ...             Mint         15353986    233 days 1 hr ago      O tankbottoms.eth [.D     OUT    El Oxa7eDd5...a2a92C95 [.D          0 ETH             0.00116593


       @     CD Ox47f63a4114291 c47b...        Transfe,       15353985    233 days 1 hr ago      0 tankbottoms.eth c9      OUl    0 0x5879EB .. 25960360 [.O          0 ETH             0.00023462


       @     Oxe885582080f043536...           Transfer        15353984    233 days 1 hr ago      () tankbottoms.eth [.D    OUT    0 0x5879EB ..25960360 [.O           0 ETH             0.00203002


       @     Oxl 5ff78eb805911275...         Public Mint      15353982    233 days 1 hr ago      O tankbottoms.eth [.D     OUl    E) OxAC2DOb...8dd33F91    £9        0.002 ETH         0.00082768


       @     Oxdcdd9f26b6facb88c...       Set Approval ·-     15353779    233 days 2 hrs ago     O tankbottoms.eth [.D     OUl    B Ox49D02b...7b006961 c9            0 ETH             0.00058966


       @     Ox5733d7c2e7065f8ae...          Public Mint      15353769    233 days 2 hrs ago     O tankbottoms.eth [.D     OUT    0 Ox49D02L 7b0D6961 [.O             0.14 ETH          0.00099517


       @     Ox45063e4eaae45145...           Public Mint      15353760    233 days 2 hrs ago     O tankbottoms.eth [.D     OUT    El Ox49D02b...7b0D6961 c9           O.o7ETH           0.001471 13

                                                                                                                                                                          PLAINTIFF0001066
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=11                                                                                                                   3/5
4/6/23, 4 :28 PM                   Case 1:23-cv-20727-RKA Document 106-30
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       CD    Txn Hash                      M ethod(v  Block Age                From                            To                  Value                                         Txn Fee


       @     Oxd873532949391448...                 Mint            15353609    233 days 3 hrs ago    () tankbottoms.eth [.D    OUl   B Ox489A4c... 128A6b71     c9   0 ETH       0.00096806


       @     OX7b7e3a6e86f02c530...                Mint            15353609    233 days 3 hrs ago    () tankbottoms.eth [.O    OUl   B Ox63F32D...94758819 [.O       0 ETH       0.00107722


       @     Ox60f7oc12ba75750ec...          Redeem Pass ...       15353033    233 days 5 hrs ago    Otankbottoms.eth [.D      001   OxD78AFb ...70Ced96B [.D        0.05 ETH    0.00179519


       @     Ox1 a6c1afedfffb882bb...         Place Bid VZ         15352728    233 days 6 hrs ago    () tankbottoms.eth LD     0Ul   B Foundation: Market [.O        0.15 ETH    0.00192843


       @           Oxaa 56be9406e6c4dd ...        BuyV2            15350466    233 days 15 hrs ago   O tankbottoms.eth [.O     OUl   B Foundation: Market [.O        0.5 ETH     0.00204015


       @     Ox8feeb3116f5f0a77d...          Exec Transact._       15350341    233 days 15 hrs ago   0 tankbottoms.eth [.D     OUl   B Ox449328...8Fb8c181 [.D       0 ETH       0.00081505


       @     Oxe9817e5d9a8ee530 ...          Make Offer V2         15350041    233 days 16 hrs ago   () tankbottoms.eth [.O    001   B Foundation: Market [.D        0.25 ETH    0.00130158


       @     Ox5de8061368e2a569...           Make OfferV2          15350038    233 days 16 hrs ago   Otankbottoms.eth [.O      OUT   B Foundation: Market [.O        0.25 ETH    0.00116874


       @     Ox0 l e4fc7ea19dl Scee...       Make Offer V2         15350038    233 days 16 hrs ago   O tankbottoms.eth [.D     OUl   B Foundation: Market [.D        0.35ETH     0.00128873


       @     Ox56d26257abd968d3 ...          Exec Transact.-       15346547    234 days 5 hrs ago    O tankbottoms.eth [.D     OUl   B OxD2427c...13556982      c9   0 ETH       0.00116412


       @     Oxac3fdf56a2417d6dc...          Exec Transact,_       15346506    234 days 6 hrs ago    () tankbottoms.eth [.D    OUl   0 OxD2427c...135569B2 t.D       0 ETH       0.0010697


       @     Ox9dbbfaa5a9fcb2d5e...          Make OllerV2          15343171    234 days 18 hrs ago   () tankbottoms.eth [.D    OUl   B Foundation: Market [.D        0.25ETH     0.00168012


       @     Oxfa2ca2a 7658fe5f2e8...              Mint            15339974    235 days 7 hrs ago    O tankbottoms.eth [.O     OUl   0 Ox139b44...79632095 LD        0 ETH       0.00080491


       @     Oxfe89af73b8ae4742d...                Mint            15339974    23 5 days 7 hrs ago   () tankbottoms.eth   c9   OUT   0 Ox487689...bcBec7AO [.O       0 ETH       0.00123995


       @     Ox81677bc64fe3e51 a9 ...            Transfer          15339841    235 days 7 hrs ago    O tankbottoms.eth [.D     0Ul   § Ox1 a9DAd...AB6E25ad [.D      0.25ETH     0.00012094


       @     Ox6ab617e67696fd472...              Transfer          15339837    235 days 7 hrs ago    O tankbottoms.eth [.O     OUl   B Ox449328...8Fb8cl 81   [.O    0.25 ETH    0.00012253


       @     Ox89155a57c71541 Hf...              Set Te xt         15339738    23 5 days 8 hrs ago   0 tankbottoms.eth c9      OUl   0 ENS: Public Resolver 2 [.O    0 ETH       0.00075673


       @     Ox4caa8dca7a54492f3...              Transfer          15339728    23 5 days 8 hrs ago   () tankbottoms.eth [.D    OUl   O developer.beef69 [.D          0.5 ETH     0.0001615


       @     Oxeb6c9b5141519a41...            Transfer From        1533971 1   235 days 8 hrs ago    O tankbottoms.eth [.O     OUl   § Ox6C8ACA...9D36E6aA LD        0 ETH       0.00189343


       @     OxOl 06aea9e90c0d13...          Fulfill Basic Or...   15339558    235 days 8 hrs ago    O tankbottoms.eth [.D     OUl   B Seaport 1.1 [.D               3.55 ETH    0.00102911


       @     Oxl 250da35c69647f97...         Fulfill Basic Or...   15339533    235 days 8 hrs ago    O tankbottoms.eth [.D     OUT   B Seaport 1.1 [.D               0.07 ETH    0.00101072


       @     Oxc7f00483b43189294...              Multic.all        15339481    235 days 9 hrs ago    O tankbottoms.eth [.D     OUl   B ENS: Public Resolver 2   c9   0 ETH       0.00062246

                                                                                                                                                                         PLAINTIFF0001067
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=11                                                                                                           4/5
4/6/23, 4 :28 PM                       Case 1:23-cv-20727-RKA Document 106-30
                                                                         ElhereumEntered
                                                                                  Transactionson   FLSDIDocket
                                                                                               Information Elherscan 06/09/2023 Page 58 of
                                                                                401
       0       Txn Hash                        Method(v   Block Age              From                            To                  Value                                                                                                         Txn Fee


       ©       Ox117755914eee24f69...                        SetAddr            15339192          235 days 10 hrs ago              () tankbottoms.eth [.D           OU'l      0 ENS: Public Resolver 2 [.D                 0 ETH                   0.00038763


       ©       OX76ab87bc59377077f...                     Set Suboode ...       153391 77         235 days 10 hr s ago             () tankbottoms.eth t.D           OUl       0 ENS: Registry with Fall... t.D             0 ETH                   0.00042741


       ©       Ox55836611 a49b31 ea ...                  Create Proxy ·-        15339169          235 days 10 hrs ago              Ot ankbottoms.eth cP             OU'!      0 Safe: Proxy Factory 1.3.0         cP       0 ETH                   0.00183334


       ©       Ox598fdda54fa071bb1 ...                         Claim            15339030          235 days 10 hrs ago              () tankbottoms.eth t.D           OUl       0 Ox477ABB...8614ae0D cP                     0 ETH                   0.00067938


       ©       Oxb29454f8f58e181 a3 ...                         Mint            15339027          235 days 10 hr s ago             O tankbottoms.eth [.O            OOJT      El Oxed491 A ...3fa99139 [.O                 0 ETH                   0.00049522


       ©       Ox58a00edb5cdef6bcf...                           Mint            15339024          235 days 10 hrs ago              0 tankbottoms.eth cP             OOJT      0 Ox85865A...FEB614e9 t.D                    0 ETH                   0.0004731


       ©       Ox481 dl 1o15f1al bb06 ...                       Mint            15339023          235 days 10 hrs ago              () tankbottoms.eth t.D           OUT       0 Ox3F664A...2706aDd8 cP                     0 ETH                   0.00045106


       ©       Oxc62fa479b853ccfba...                           Mint            15339022          235 days l O hr s ago            Otankbottoms.eth t.D             OUT       0 Ox377846... Al eA2DOa t.D                  0 ETH                   0.00062916


       ©       Ox7136cfd64aedf9318 ...                      Public Mint         15339020          235 days 10 hrs ago              O tankbottoms.eth [.D            OOJT      0 0xE76417...bBDllaa1 (9                     0 ETH                   0.0005293


       ©       Ox9eb7c5e2a141Od24...                            Mint            15339020          235 days 10 hrs ago              O tankbottoms.eth t.D            OUl       0 Ox3A92d3...E87eE7d4 t.D                    0 ETH                   0.00053844


       ©       Ox6e474eccb9cc2eala ...                       Free Mint          15339019          235 days 10 hrs ago              () tankbottoms.eth [.D           OUl       0 Al Nightbirds Project X: ... [.O           0 ETH                   0.00046446


       ©       Ox236a908301083634f ...                       Transfer           15331192          236 days 16 hr s ago             () tankbottoms.eth [.D           OOJT      Ox55dEd4...c904d510 @                        35ETH                   0.00026662


       ©       Ox6e2ae3a6340eb44d...                            Mint            15330979          236 days 17 hrs ago              O tankbottoms.eth t.D            OUl       0 Oxda84a1 ...Od2A9727        t.D            0 ETH                   0.00048871


       ©       Ox1 c519b3506336824...                           Mint            15330977          236 days 17 hrs ago              () tankbottoms.eth     cP        OUT       0 Ox30901L97e4E590 cP                        0 ETH                   0.00075704


       ©       OX168b1964bfa544b36 ...                    Mint To Multip...    15330976           236 days 17 hr s ago             O tankbottoms.et h     [.D       OUl       0 OxC85E72...6d9EDba3 [.D                    0 ETH                   0.00056124


       ©       Ox89271 f4fb43443c99 ...                         Mint            15330966          236 days 17 hrs ago              O tankbottoms.eth t.D            OUT       0 Ox868189... 168aD5c8 t.D                   0 ETH                   0.00055624


       ®       Ox4a9b911a67601b5fe...                           Mint            15330965          236 days 17 hrs ago              O tankbottoms.eth      cP        OUT       0 Oxl cd266.•.b8792e5e t.D                   0 ETH                   0.00070394



      Show:     100        Records                                                                                                                                                                                     First    <   Page11 of 25    >     last


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   ;Q, A t ransaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




                                                                                                                                                                                                                                PLAINTIFF0001068
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 11                                                                                                                                                                                   5/5
4/6/23, 4 :28 PM                  Case 1:23-cv-20727-RKA Document 106-30
                                                                    E l hereumEntered
                                                                              Transactionson  FLSDIDocket
                                                                                           Information Elherscan 06/09/2023 Page 59 of
                                                                             401
   Transactions
   For Ox5d95baEB88412ADB27287240A5c281 E3b830d27E O              tin kbottoms.eth




      A total of 2,407 transactions found                                                                                                                                 First     <   Page 12 of 25   >   Last   '\{v



       0      Txn Hash                      M etho d0                 Block          Age                    From                               To                                       Value                 Txn Fee


       @      Oxec2b7ab0d7fee58e7 ...        Fulfill Basic Or.•       15330955       236 days 17 hrs ago    () tankbottoms.eth LO       OUT    0 Seaport 1.1 LO                         0.99 ETH              0.00110249


       @      Ox82dd6b4b8841709f..               SetAddr              15329403       236 days 22 hrs ago    () tankbottoms.eth LO       OV1    0 ENS: Public Resolver 2 LO              0 ETH                 0.00045455


       @      Ox90b99bef6886e920b...             SetAddr              15329400       236 days 22 hrs ago    O tankbottoms.eth    c.,0   OV1    0 ENS: Public Resolver 2 c.,0            0 ETH                 0.00041293


       @      Ox8420e747febbaf429...             SetAddr              15329390       236 days 23 hrs ago    O tankbottoms.eth    c9     OV1    0 ENS: Public Resolver 2 c9              0 ETH                 0.00049836


       @      Ox9f82d19e783ba07fc..              SetAddr              15329385       236 days 23 hrs ago    O tankbottoms.eth LO        OUT    0 ENS: Public Resolver 2 LO              0 ETH                 0.00063183


       @      Oxcdc6e81 ed9f84 f4eb...           SetAddr              15329382       236 days 23 hrs ago    () tankbottoms.eth LO       OUT    0 ENS: Public Resolver 2 LO              0 ETH                 0.00047015


       @      Oxd52b2a4f9cfdd4378...             SetAddr              15329371       236 days 23 hrs ago    () tankbottoms.eth   c9     OV1    0 ENS: Public Resolver 2 c9              0 ETH                 0.00066976


       @      Oxbel 36d9d702f407f3...            SetAddr              15329364       236 days 23 hrs ago    O tankbottoms.eth    LO     OVl    0 ENS: Public Resolver 2 c9              O ETH                 0.00074663


       @      Ox1 eed42c83al d9e62...        Register With __         15329360       236 days 23 hrs ago    O tankbottoms.eth    LD     O\JI   0 ENS: ETH Registrar Co...      LD       0.005684103 ETH       0.00375834


       @      Ox484365ed662acc07...              Commit               15329341       236 days 23 hrs ago    () tankbottoms.eth   c9     OVl    0 ENS: ETH Registrar Co... c9            0 ETH                 0.00101 126


       @      Oxc8ca54c2effac9821 ...        Set Approva I ...        15329161       236 days 23 hrs ago    O tankbottoms.eth c9        OVl    0 Ox850A7c...f20CC401 c.,D               0 ETH                 0.00088221


       @      Ox67d6a78b881 b41 ac ...          Purchase              15329152       236 days 23 hrs ago    Otankbottoms.eth LD         O\il   0 Dx24E579... 2E69e977 c.,D              0.001234 ETH          0.00150483


       @      Ox48a5d8dbdba03631 ...                Buy               15329128       237 days 2 mlns ago    O tankbonoms.eth c.,D       OUl    0    Ox6D7c44...8E9a7a42 c.,D            0.073233 ETH          0.00328785


       @      Ox7024aae4dc4fd881 f...        Fulfill Basic Or.•       15329100       237 days 7 mins ago    O tankbottoms.eth c.,D      OVl    0 Seaport 1.1 c.,D                       0.03 ETH              0.00224783


       @      Oxf5480df0670bce7f6...         Fulfill Basic Or.•       15329070       237 days 15 mins ago   O tankbottoms.et h LD       OVl    0 Seaport 1.1 LD                         0.069 ETH             0.0045511


       @      Oxb6478b49d09a980d ...          Batch Airdrop           15329067       237 days 16 mins ago   () tankbottoms.eth   c9     OUl    0 Ox6CBACA...9D36E6aA c.,0               0 ETH                 0.00225083


       @      Ox9c5074b42a6779e8 ...          Batch Airdrop           15329062       237 days 17 mins ago   O tankbottoms.eth c.,D      OVl    0 Ox6CBACA...9D36E6aA c.,D               0 ETH                 0.00183102


                                                                                                                                                                                                PLAINTIFF0001069
https ://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 12                                                                                                                                       1/5
4/6/23, 4 :28 PM                  Case 1:23-cv-20727-RKA Document 106-30
                                                                    ElhereumEntered
                                                                            Transactionson   FLSDIDocket
                                                                                         Information Elherscan 06/09/2023 Page 60 of
                                                                           401
       CD    Txn Hash                     Method(v   Block Age              From                           To                  Value                                                    Txn Fee


       @     0     Oxa3a68b04d6fb97364...   Fulfill Basic Or._    15329050   237 days 20 mins ago   O tankbottoms.eth    L□   00T    0 Seaport 1.1 L□                 0.039499 ETH      0.00308547


       @     Ox3be6f9f9632c179dc...         Fulfill Basic Or.•    15329050   237 days 20 mins ago   O tankbottoms.eth    L□   OIJl   0 Seaport 1.1 L□                 0.038333 ETH      0.00289717


       @     Ox7fa09f2540a8d8c52...         Fulfill Basic Or...   15329029   237 days 25 mins ago   ◊ tankbottoms.eth L□      OUl    @ Seaport 1.1 L□                 0.0098 ETH        0.00307499


       @     Ox6c8446ee3c07029a ...         Fulfill Basic Or._    15329026   237 days 26 mins ago   O tankbottoms.eth L□      oor    @ Seaport 1.1 L□                 0.02 ETH          0.00275545


       @     Ox9166516fc347d5da9...         Fulfill Basic Or.•    15329024   237 days 26 mins ago   O tankbottoms.eth L□      OUl    @ Seaport 1.1 L□                 0.088 ETH         0.00229731


       @     Oxl 885cd2ac6fc55784...        Fulfill Basic Or._    15329013   237 days 29 mins ago   O tankbottoms.eth c9      OIJl   0 Seaport 1.1 (9                 0.01 ETH          0.0021 8176


       @     Ox52ef693f608b5b1 fcf...       Fulfill Basic Or.•    15328961   237 days 37 mins ago   () tankbottoms.eth L□     OUl    @ Seaport 1.1 L□                 0.022 ETH         0.00262891


       @     Ox4af1 aa4faad2d3ef8...        Batch Op<!n P.•       15328959   237 days 37 mins ago   O tankbottoms.eth L□      Ol/1   0 Ox8427e4...Dc31 E349 c9        0 ETH             0.00291 744


       @     Oxl 347e7963b8acl c8...            Purchase          15328941   237 days 41 mins ago   O tankbottoms.eth L□      OUl    0 OxB7B052...078B504C L□         0.2 ETH           0.00186479


       @     Oxeb0fda0bf23aba1Ob...               M int           15328906   237 days 49 mins ago   O tankbottoms.eth    L□   00T    0 Ox868189...16Ba05c8 c9         0 ETH             0.00199721


       @     Ox457cd9121357d019 ...               M int           15328903   237 days 49 mins ago   () tankbottoms.eth L□     00T    0 OxA08689...eC1Ab73c L□         0 ETH             0.00201561


       @     Oxacdac18a44a07cdd...              Free Mi nt        15328902   237 days 50 mins ago   O tankbottoms.eth    L□   OUl    0 OxA35381 ...9808fF73 L□        0 ETH             0.0017234


       @     Ox5a28c6dad424f6994...         Register With·-       15326766   237 days 8 hrs ago     O tankbottoms.eth    L□   OUl    0 ENS: ETH Registrar Co... c9    0.008880585 ETH   0.00355816


       @     Oxdfa69ca31 a08aa014 ...           Commit            15326757   237 days 8 hrs ago     O tankbottoms.eth c9      OUT    0 ENS: ETH Registrar Co."   L□   0 ETH             0.00072102


       @     Oxc7c4b5fc339497a19 ...        Create Proxy ...      15326113   237 days 11 hrs ago    O tankbottoms.eth    L□   001    0 Safe: Proxy Factory 1.3.0 L□   0 ETH             0.00423013


       @     Oxd55d77042fe49ecdc...                Pay            15326026   237 days 11 hrs ago    () tankbottoms.eth   c9   Ol/1   0 Ox7 Ae63F...483b8397 L□        0.05 ETH          0.00238937


       @     Ox60ed04aefd49d2c8d...              Claim            15325979   237 days 11 hrs ago    O tankbottoms.eth    c9   OUT    0 0x70C24c...c7e16505 L□         0.05 ETH          0.00365051


       @     Ox536f3d5b9b1ba5e8L            Fulfill Basic Or._    15324096   237 days 19 hrs ago    () tankbottoms.eth L□     001    @ Seaport 1.1 L□                 0.012 ETH         0.00379379


       @     Oxe2e1e71a166bf3349...         Fulfill Basic Or._    15324077   237 days 19 hrs ago    () tankbottoms.eth L□     OUl    0 Seaport 1.1 L□                 0.02 ETH          0.00315186


       @     Oxce731 cf704e1bd4e9 ...           Multicall         15320050   238 days 10 hrs ago    O tankbottoms.eth (9      OUl    0 Uniswap V3: Router 2 L□        O ETH             0.00288722


       @     Oxacae07de191d3071..               Redeem            15320041   238 days 10 hrs ago    O tankbottoms.eth    L□   OUJ    0 Compound: cDAI Tok:en L□       0 ETH             0.00220895


       @     Oxc032b611 c3ca8961 ...            Transfer          15318072   238 days 18 hrs ago    O tankbottoms.eth (9      OU!    Ox55d Ed4...c904d510 (9          26.25030188 ETH   0.00042904

                                                                                                                                                                          PLAINTIFF0001070
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=12                                                                                                                   2/5
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                                                                            401
       CD    Txn Hash                    Method(v   Block Age                From                           To                  Value                                             Txn Fee


       @     Oxb29f20ff0c89c 37e1 ...          Multicall       15317977    23B days 18 hrs ago    O tankbottoms.eth L□     OOJ    0 Uniswap V3: Router 2 L□           O ETH       0.00541567


       @     Oxedb3be75cf05eB71 l ...      Redeem Unde.-       1531 7969   23B days 18 hrs ago    O tankbottoms.eth   L□   OOJ    0 Compound: cDAI Token c9           0 ETH       0.00454928


       @     Ox697b458B140f13f3B...        Exec Transact ...   15315208    239 days 4 hrs ago     Otankbottoms.eth L□      OUl    0 OxE090D1...B6B04c45 L□            0 ETH       0.00622269


       @     Ox76016ce1 d6a87117...              M int         15313261    239 days 12 hrs ago    O tankbottoms.eth L□     001    0 Ox752fFD.. .43dB081D L□           0 ETH       0.00087338


       @     OXl df26dl 3dcccb0087 ...           M int         15313260    239 days 12 hrs ago    O tankbottoms.eth L□     OUl    0   OxC07Ff4...92461439 LD          0 ETH       0.00077365


       @     Ox1 c6ffe64f3386732b ...            M int         15313258    239 days 12 hrs ago    O tankbottoms.eth c9     OUl    0 Ox75DAA3...8eb1B8d5 (9            0 ETH       0.00063787


       @     Ox3c254d26b1c282f09 ...           Transfer        15303351    241 days 1 hr ago      () tankbottoms.eth L□    OUl    Ox55dEd4...c904d510     c9          127 ETH     0.000421 14


       @     Ox9c3132812b3c8b67 ...            Mufticall       15303341    241 days 1 hr ago      ◊ tankbottoms.eth   c9   OUl    0 Uniswap V3: Router 2 L□           0 ETH       0.00489625


       @     Ox6ddafa7499e57471 f...           Transfer        15303082    241 days 2 hrs ago     O tankbottoms.eth   L□   OUl    0 OxD2427c... 135569B2 LD           6.5 ETH     0.00082274


       @     Oxf148444b8901 a537 ...       Set Metadata ,_     15301635    241 days 7 hrs ago     O tankbottoms.eth   L□   OOJ    0 OxD8B435...ddBc47d3 LD            0 ETH       0.00068066


       @     Oxdedcbb46e76f09d7b ...           Transfer        15298348    241 days 20 hrs ago    () tankbottoms.eth L□    OOJ    0 Maker. Dai Stablecoin LD          0 ETH       0.0002966


       @     Oxcl abe7f3f4be0ea86...       Set Ens Name...     15297094    242 days 59 mins ago   O tankbottoms.eth L□     OUl    0 OxE3c01 E...8EF9FfB6 (9           0 ETH       0.00071445


       @     Ox3910875ee586371 ff...       Set Ens Name...     15297089    242 days 1 hr ago      Otankbottoms.eth LD      OUl    0 OxE3c01 E...8EF9FfB6 (9           0 ETH       0.001361 9


       @     Ox30d1 ea9B8df3ebcfe ...          Set Text        152952B7    242 days 7 hrs ago     Otankbottoms.eth L□      001    0 ENS: Public Resolver 2 LD         0 ETH       0.00050303


       @     Oxac7c5f955171773a3 ...       Set Su bnode ...    15295279    242 days 7 hrs ago     O tankbottoms.eth c9     OUl    0 ENS: Registry with Fall...   L□   0 ETH       0.00062663


       @     Oxd439fa053b93Bbdea...        Set Metadata __     15295241    242 days 7 hrs ago     () tankbottoms.eth LD    01/1   0 OxDBB435...ddBc47d3 LD            O ETH       0.00026186


       @     Oxl 5ad50dadec11366 ...             M int         15285849    243 days 18 hrs ago    O tankbottoms.eth c9     001    0 OxEefCaA...b846Bb1B c9            0 ETH       0.00117724


       @     Oxa5306b5a 776ef7aa 7 ...         Freemint        15285849    243 days 18 hrs ago    () tankbottoms.eth L□    OUl    0 Ox1281 14 ...5a8177Dd La          0 ETH       0.00105135


       @     Ox2cf57458c3c271 d70...           Migrate         15285834    243 days 19 hrs ago    () tankbottoms.eth L□    OOJ    OxDragons: OXD Token LD             0 ETH       0.001 10551


       @     Ox07ef6363B64ec49e6...        Set Approva I ...   15285825    243 days 19 hrs ago    O tankbottoms.eth c9     OUl    0 gmDAO Token v2: GMV... (9         O ETH       0.0005445


       @     Ox2bcd41 f7e4f5943e5 ...      Set Approva I ...   15284793    243 days 22 hrs ago    O tankbottoms.eth   L□   OU1    0 Poolsulte Executlve Me ... La     0 ETH       0.00055088


       @     Ox4f4cbdb517ffe5ea2...        Set Approva I ...   15284793    243 days 22 hrs ago    O tankbottoms.eth c9     OOl    0 Poolsuite Executive Me... c9      O ETH       0.00055088

                                                                                                                                                                          PLAINTIFF0001071
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=12                                                                                                             3/5
4/6/23, 4 :28 PM                 Case 1:23-cv-20727-RKA Document 106-30
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                                                                                          Information Elherscan 06/09/2023 Page 62 of
                                                                            401
       CD    Txn Hash                    Me1hod(v   Block Age                From                           To                  Value                                                   Txn Fee


       @     Ox5e1Ob9a12c4f92945 ...       Set Approva I ...    15284792   243 days 22 hrs ago   O tankbottoms.eth   L□    OU1    0 Poolsuite Executive Me... L□      O ETH             0.00055211


       @     Oxd1 f1725551 be7df59...      Fulfill Basic Or.•   15277190   245 days 3 hrs ago    O tankbottoms.eth   L□    OU1    0 Seaport 1.1 L□                    1.89 ETH          0.00277999


       @     Ox6b2ab91958a44640...         Set SU bnode ...     15277087   245 days 3 hrs ago    Otankbottoms.eth L□       OUl    0 ENS: Registry with Fall...   L□   0 ETH             0.00160719


       @     Oxed5a3f1 Obc4ffb2aa...           S..tAddr         15276943   245 days 4 hrs ago    O tankbottoms.eth c.□     oor    0 ENS: Public Resolver 2 c9         0 ETH             0.00191094


       @     Ox9f5f453eb6f18fa1 b8 ...     Set &, bnode ..•     15276942   245 days 4 hrs ago    O tankbottoms.eth L□      OUl    0 ENS: Registry with Fall...   L□   0 ETH             0.00216629


       @     Oxfa6f3c46584071543...        Register With ·-     15276770   245 days 4 hrs ago    O tankbottoms.eth c9      OUl    0 ENS: ETH Registrar Co... c9       0.010263433 ETH   0.00510302


       @     Oxb81 c81213590d06f9...           Commit           15276762   245 days 4 hrs ago    () tankbottoms.eth c.□    OUl    0 ENS: ETH Registrar Co... c9       0 ETH             0.00104422


       @     Oxb50bfb6af65b60d4f...        Set M etadata __     15275407   245 days 9 hrs ago    ◊ tankbottoms.eth   c9    OUl    0 OxD8B435...ddBc47d3 (9            0 ETH             0.00034888


       @     Ox8 l 9407e94bb4087 l ...        Cla im M int      15271077   246 days 1 hr ago     O tankbottoms.eth   L□    OUl    0 OxOOC65f...77Ef3240 (9            0 ETH             0.00487607


       @     Ox40d4e5f9fa6el 4a23 ...          Set Text         15270495   246 days 4 hrs ago    O tankbottoms.eth   c.□   OU1    0 ENS: Public Resolver 2 c.□        0 ETH             0.00098698


       @     Oxdcf38dl 71 a939b595...          Multicall        15267388   246 days 15 hrs ago   () tankbottoms.eth c.□    OU1    0 Uniswap V3: Router 2 c9           2 ETH             0.0009768


       @     Ox703d5cfd81 d015f0b...          MultiS..r>d       15264141   247 days 4 hrs ago    0   tankbottoms.eth L□    OUl    0 Safe: Multi Send Call 0 ... c9    0 ETH             0.00359797


       @     Oxa009595156389d09...            Withdraw          15264137   247 days 4 hrs ago    O tankbottoms.eth L□      OUl    0 Wrapped Ether L□                  0 ETH             0.00121031


       @     Ox131 b9c109b260113 ...             M int          15250446   249 days 7 hrs ago    O tankbottoms.eth L□      001    0 Oxl 39b44...79632095 c.□          0 ETH             0.0011 6552


       @     Ox4ad06df0af9d0977a...         Batch Airdrop       15250436   249 days 7 hrs ago    O tankbottoms.eth c9      OUl    @ OX6C8ACA...9D36E6aA L□            0 ETH             0.00149563


       @     Ox2f1234f45ac2b359a...         Batch Airdrop       15250383   249 days 7 hrs ago    () tankbottoms.eth L□     01/1   0 Ox6C8ACA...9D36E6aA L□            O ETH             0.0005491 7


       @     Ox9205188d2920b490 ...            Delegate         15250301   249 days 7 hrs ago    O tankbottoms.eth   L□    001    @ Compound: COMP Tok...        c9   0 ETH             0.00105508


       @     OxOcc21 ef3aa9a2460b...         Claim Comp         15250204   249 days 8 hrs ago    () tankbottoms.eth c.□    OU1    @ Compound: Comptroller c.□         0 ETH             0.00076255


       @     Ox0458227c98c4aa44...             Redeem           15249941   249 days 9 hrs ago    () tankbottoms.eth L□     01/1   0 Compound: cDAI Token L□           0 ETH             0.00075467


       @     Oxf4768c9b71 b97ef99...        Batch Airdrnp       15249266   249 days 11 hrs ago   O tankbottoms.eth c9      OUl    @ Ox6C8ACA...9D36E6aA L□            O ETH             0.00809301


       @     Oxd1 Oda0f3a660dl 7d7...       Batch Airdrop       15249135   249 days 11 hrs ago   O tankbottoms.eth c.□     OUl    @ Ox6C8ACA...9D36E6aA [.O           0 ETH             0.00069323


       @     Ox8bf6196fd74864ae2...        Exec Transact ...    15249028   249 days 12 hrs ago   O tankbottom s.eth c9     OOl    0 Ox02427c...135569B2 L□            O ETH             0.00061887

                                                                                                                                                                          PLAINTIFF0001072
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=12                                                                                                                   4/5
4/6/23, 4 :28 PM                       Case 1:23-cv-20727-RKA Document 106-30
                                                                         ElhereumEntered
                                                                                 Transactionson   FLSDIDocket
                                                                                              Information Elherscan 06/09/2023 Page 63 of
                                                                                401
       CD      Txn Hash                        Method(v   Block Age              From                           To                  Value                                                                                                          Txn Fee


       @       Ox57f580b90229e2ed0...                         M int            15248795          249 days 13 hrs ago              O tankbottoms.eth       L□       OUl       0 Unique Explorers: UE T... L□              O ETH                     0.00063244


       @       Ox11232527b4ae32c8 ...                         M int            15248792          249 days 13 hrs ago              O tankbottoms.eth       L□       OUl       0 0Xc6CF68...9181FOe1 L□                    0 ETH                     0.00088174


       @       0   Ox0b33a0d45f087d08...                 Free Mint Pub._       15248705          249 days 13 hrs ago              ◊ tankbottoms.eth L□             OUl       0 OxD84303...88193645 L□                    0 ETH                     0.00026462


       @       Ox2d1523113d2e476d ...                    Free Mint Pub__       15248704          249 days 13 hrs ago              ◊ tankbottoms.eth L□                       0 OxDB4303...88193645 L□                    0 ETH                     0.00097103
                                                                                                                                                                   °"'
       @       Oxc676600282978ccd...                          M int            15248704          249 days 13 hrs ago              Otankbottoms.eth L□              OUl       0 Ox238335...30A3E2DA         cP            0 ETH                     0.00101 005


       @       Oxb2e9e733ab77400fc...                      Public Mint         15248703          249 days 13 hrs ago              Otankbottoms.eth c9              OUl       0 Ox6509b0 ..F0079E52 LO                    0 ETH                     0.00058074


       @       Oxd25b656784db7b35 ...                        Mint To           15248703          249 days 13 hrs ago              () tankbottoms.eth L□                      0 Ox4e608D. .BbeDe8Be Lo                    0 ETH                     0.0008274
                                                                                                                                                                   °"'
       @       Oxba83ee93465659d1 ...                         M int            15248703          249 days 13 hrs ago              ◊ tankbottoms.eth       c9       OUl       0 Ox853fD5... efeA07Ea      c9              0 ETH                     0.00204978


       @       Oxc764226b66 l 4fb801 ...                    Purchase           15248593          249 days 14 hrs ago              O tankbottoms.eth       L□       OUl       0 Ox3FFFc8...Be658748 L□                    0.0015 ETH                0.0005161


       @       Ox3ec711 585ff1 ef37f7.                    Create Edition       15248584          249 days 14 hrs ago              O tankbottoms.eth       L□       OUl       0 Zora Labs: Contract Fa ... L□             0 ETH                     0.00478153


       @       Ox52425aecefb4fc892...                    Claim Free De,_       15247997          249 days 16 hrs ago              () tankbottoms.eth L□            OUl       0 OxDC267B...3696a699 (9                    O ETH                     0.00055694


       @       Ox8bf26c069f76cd580...                      Public Mint         15247997          249 days 16 hrs ago              0   tankbottoms.eth L□           OUl       0 Ox6509b0... F0079E52 L□                   0 ETH                     0.00037299


       @       Ox727e7dOfB929379eb...                         M int            15247997          249 days 16 hrs ago              Otankbottoms.eth L□              OUl       0 Puffer Gang: PUFF Tok...        (9        0 ETH                     0.00059094


       @       Ox53460a8055b78f317 ...                      Free Mint          15247997          249 days 16 hrs ago              Otankbottoms.eth c9              OUT       0 Oxc67Be5...8f04aF96 c..□                  0 ETH                     0.00046094


       @       Ox85a3dddc9558e5tt5...                     Transfer From        15245930          250 days 3 mins ago              O tankbottoms.eth       L□       OUl       0 OXD8B435... ddBc47d3 L□                   0 ETH                     0.00044836


       @       Ox69634f50f4b3192b7...                    Set Ens Name...       15245345          250 days 2 hrs ago               () tankbottoms.eth      c9       01/1      0 OxE3c01 E...8EF9FfB6       (9             O ETH                     0.00094795


       @       Oxf92324b47a1 d7a4ee...                       Set Text          15245323          250 days 2 hrs ago               () tankbottoms.eth      c9       OUT       0 ENS: Public Resolver 2      c9            0 ETH                     0.000371 94



      Show:     100        Records                                                                                                                                                                                   First     <   Page 12 of 25    >     Last


                                                                                                                                                                                                                                         IDownload; csv Export c±, J

   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




                                                                                                                                                                                                                               PLAINTIFF0001073
htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=12                                                                                                                                                                                    5/5
4/6/23, 4 :28 PM                  Case 1:23-cv-20727-RKA Document 106-30
                                                                    El hereumEntered
                                                                             Transactionson  FLSDIDocket
                                                                                          Information Elherscan 06/09/2023 Page 64 of
                                                                            401
   Transactions
   For Ox5d95baEB88412AD827287240A5c281 E3b830d27E O            tin kbottoms.eth




      A total of 2,407 transactions found                                                                                                                               Rrst   <    Page 13 of 25   >   Last   '\{v



       0      Txn Hash                      M ethod 0                Blo ck        Age                   From                              To                                      Value                  Txn Fee


       @      0    Ox09f68535c9144Bld4...    Register With ,~       15245303       250 days 2 hrs ago    () tankbottoms.eth L□      OVT    0 ENS: ETH Registrar Co... L□           0.009559098 ETH        0.0003067


       @      Oxc4c8c06655a40ebc ...         Register With ·~       15245300       250 days 2 hrs ago    O tankbottoms.eth L□       OVT    0 ENS: ETH Registrar Co __    cP        0.009559098 ETH        0.00271047


       @      Ox62f0d4fe5379a8eb5...             Commit             15245291       250 days 2 hrs ago    O tankbottoms.eth    cP    OIJT   0 ENS: ETH Registrar Co... tD           0 ETH                  0.00047284


       @      Ox9f72c862386fl c99b ...          Multicall           15245274       250 days 2 hrs ago    O tankbottoms.eth    cP    OtJT   0 ENS: Public Resolver 2   cP           0 ETH                  0.00704447


       @      Oxl 8c4dd26ca460834 ...            T,ansfer           15245274       250 days 2 hrs ago    O tankbottoms.eth LO       OVT    0 0xeE59CD ..6d870E64 LO                0.005786166 ETH        0.00245595


       @      Oxae25565da9191 b8d...         Deploy Projec...       15245261       250 days 2 hrs ago    () tankbottoms.eth LO      OVT    0 0x9E84bE. .D7468ABc Lo                0 ETH                  0.01636495


       @      OX158feb84017893ed1 ...        Set Subnode .•         15245245       250 days 2 hrs ago    () tankbottoms.eth   cP    OtJT   0 ENS; Registry with Fall_. tD          0 ETH                  0.00034643


       @      Ox9ffc419f0f9e4983f8...        Set Subnode .•         15245216       250 days 2 hrs ago    O tankbottoms.eth cP       OVT    0 ENS: Registry with Fall.,. LO         0 ETH                  0.0014237


       @      Ox1 cc46bbf7637712d4...           Multicall           15236602       251 days 10 hrs ago   ( ) tankbottoms.eth L□     OUT    0 Uniswap V3; Router 2 LO               2.25 ETH               0.00123131


       @      Ox993a7 c007a661429 ...           Withdraw            15235473       251 days 15 hrs ago   O tankbottoms.eth    cP    OtJT   0 Wrapped Ether   cP                    0 ETH                  0.00047313


       @      Ox705c490be2ee2b76...                Mint             15227500       252 days 20 hrs ago   () tankbottoms.eth tD      OVT    ®Ox5586cA ..3b912Cc9 tD                 0 ETH                  0.00109169


       @      Ox5a68ba78bab3c02e...                Mint             15227500       252 days 20 hrs ago   O tankbottoms.eth c..O     OUT    0 Oxl 75d5A...4e7f6098 Lo               0 ETH                  0.0010216


       @      Oxd6bde838acaec67e...                Mint             15227500       252 days 20 hrs ago   O tankbottoms.eth    [.O   OUT    E] Ox92E4AE...E4a91045 La               0 ETH                  0.00134379


       @      Ox4368ed5588220b29 ...               Mint             15227498       252 days 21 hrs ago   O tankbottoms.eth cP       OIJT   ®OxdOC826...55C6ced7 tD                 O ETH                  0.00396556


       @      Oxe5542726419613d4...                Mint             15227492       252 days 21 hrs ago   O tankbottoms.eth c..O     OIJT   0 Ox809c92... 2091 F9b9 tO              0 ETH                  0.00124223


       @      Oxacd1 d4ed1 ef563b87 ...            Mint             15221629       253 days 18 hrs ago   O tankbottoms.eth tO       OUT    0 Ox86C2fD... Bfb701c6 LO               0 ETH                  0.00065823


       @      Ox4a9607ed1 ff81553c ...       Set Metadata ...       15220373       253 days 23 hrs ago   O tankbottoms.eth [.O      OtJT   ®OxDBB435...ddBc47d3 (9                 0 ETH                  0.00057206


                                                                                                                                                                                           PLAINTIFF0001074
https://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=13                                                                                                                                    1/5
4/6/23, 4 :28 PM                Case 1:23-cv-20727-RKA Document 106-30
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                                                                             Transactionson  FLSDIDocket
                                                                                          Information Elherscan 06/09/2023 Page 65 of
                                                                           401
       e     Txn Hash                   Method(v   Block A ge               From                           To                   Value                                                    Txn Fee


       @     Ox93dc37a202361 fa95...      Set Metadata ...   15219864   254 days 1 hr ago     O tankbottoms.eth t,D       OUT    0 Ox088435...ddBc47d3 (9              0 ETH             0.00340112


       @     Ox2b1 fa11671 18c76a7...     Register Wrth .•   15219825   254 days 1 hr ago     () tankbottoms.eth t,D      OUT    0 ENS: ETH Registrar Co...     t,D    0.004016679 ETH   0.00402126


       @     Ox817b084ed8d0e6ea...        Set Metadata ...   15219816   254 days 1 hr ago     ◊ tankbottoms.eth c,0       our    0 Ox088435...ddBc47d3 [..O            0 ETH             0.00070166


       @     Oxe38497c15b862cf63...           Commit         15219784   254 days 1 hr ago     O tankbottoms.eth c9        OII,   0 ENS: ETH Registrar Co...     [..O   0 ETH             0.00137759


       @     Oxdd8c07644b3685ac ...       Launch Projec,_    15219781   254 days 1 hr ago     O tankbottoms.eth [..O      CUT    0 Ox4e3ef8...8F651351    t,O          0 ETH             0.01108359


       @     Ox12762dc4fecd331 de...      Launch Projec.-    15219633   254 days 2 hrs ago    O tankbottoms.eth c,0       OUT    0 Ox4e3ef8 ...8F651351   t,O          0 ETH             0.00468473


       @     Ox1b 1 ccb420d06adf53...      Getwaveridet      15218224   254 days 7 hrs ago    O tankbottoms.eth c9        OII,   0 Ox19dbAO...FaB5B4f4 @               0 ETH             0.00181105


       @     Oxa87e98cc7cf241696...             Mint         15218223   254 days 7 hr s ago   O tankbottoms.eth @         OUT    0 Ox674998...561C8f7a c9              0 ETH             0.00156992


       @     Oxb3632c3fe6066dd84...             Pay          15217122   254 days 11 hrs ago   O tankbottoms.eth c,D       OUT    0 Ox7Ae63F...483b8397 (9              0.5 ETH           0.00176859


       @     Ox0c52e56e02d798ee...         Pre Sale M int    15213899   254 days 23 hrs ago   O tankbottoms.eth    [..O   OUT    0 Ledger: LMP Token [..O              0 .3 ETH          0.00227831


       @     Ox8897620775e37764 ...          Invalidate      15213292   255 days 2 hrs ago    O tankbottoms.eth c9        OUT    0 Ox94adc7...c60A48a4 [..O            0 ETH             0.00399065


       @     Ox7d04ba6b7f963b3b7 ...         Invalidate      15213291   255 days 2 hr s ago   O tankbottoms.eth c,D       OUT    0 Ox94adc7...c60A48a4 t,D             0 ETH             0.00380551


       @     Ox6e9cff45bddd262e6...          Invalidate      15213289   255 days 2 hrs ago    O tankbottoms.eth t,D       CUT    0 Ox94adc7...c60A48a4 c9              0 ETH             0.00305792


       @     Ox95015d52e07fddbf7...       TraMfer From       15213273   255 days 2 hrs ago    O tankbottoms.eth [..O      OUT    0 Ox94adc7...c60A48a4 [..O            0 ETH             0.00858582


       @     Oxfd3f8d09ab4587b84...       Transfer From      15213262   255 days 2 hrs ago    O tankbottoms.eth [..D      OIJT   0 Ox94adc7...c60A48a4 c9              O ETH             0.00891028


       @     Ox497d9fbf44629a283 ...      Transfer From      15213255   255 days 2 hrs ago    O tankbottoms.eth t,D       OUT    0 Ox94adc7...c60A48a4 t,D             0 ETH             0.01204639


       @     Ox0fd37319204036d8...        Transfer From      15213254   255 days 2 hrs ago    O tankbottoms.eth c9        OUT    0 Ox94adc7...c60A48a4 [..O            0 ETH             0.00952988


       @     Ox8742f15d7d5423a9 ...       Transfer From      15213254   255 days 2 hrs ago    O tankbottoms.eth [..O      OIJT   0 Ox94adc7...c60A48a4 [..O            0 ETH             0.00952988


       @     Ox53f54cff345c02a01 ...          Cancel         15213227   255 days 2 hrs ago    () tankbottoms.eth t,D      OUT    0 Seaport 1.1 t,D                     0 ETH             0.00168239


       @     Oxc7a9f2807b5dcd527...           Cancel         15213227   255 days 2 hrs ago    O tankbottoms.eth t,D       OUT    0 Seaport 1.1 t,D                     O ETH             0.00168239


       @     Ox3d6df4d2ba4ed6d13 ...          Cancel         15213227   255 days 2 hrs ago    O tankbottoms.eth [..O      OUT    0 Seaport 1.1 [..D                    0 ETH             0.00168186


       @     Oxbb5eea7fb1 f213779...          Cancel         15213215   255 days 2 hr s ago   () tankbottoms.eth   c9     OUT    0 Seaport 1.1 t,D                     O ETH             0.001 11671

                                                                                                                                                                            PLAINTIFF0001075
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 13                                                                                                                   2/5
4/6/23, 4 :28 PM                Case 1:23-cv-20727-RKA Document 106-30
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                                                                              Transactionson  FLSDIDocket
                                                                                           Information Elherscan 06/09/2023 Page 66 of
                                                                           401
       e     Txn Hash                   Method(v   Block Age                From                            To                   Value                                             Txn Fee


       @     Ox98108atb46a78a405...       Transfer From     15213215    255 days 2 hrs ago    O tankbottoms.eth t,D     OUT    0 Ox94adc7...c60A48a4 (!)          0 ETH            0.00259437


       @     Ox7t712caccbb7f4de0...       TraMferFrom       15213214    255 days 2 hrs ago    () tankbottoms.eth t,D    OUT    0 Ox94adc7...c60A48a4 (!)          0 ETH            0.00233906


       @     Oxe23e791 ec682932fe...          Cancel        15213212    255 days 2 hrs ago    ◊ tankbottoms.eth c,0     our    0 Seaport 1.1 t,D                  0 ETH            0.00089888


       @     Ox8f51df49520bc17da...           Cancel        15213190    255 days 2 hrs ago    O tankbottoms.eth (!)     OUT    0 Seaport 1.1 c,D                  0 ETH            0.00170687


       @     Oxcdb084e87724144d ...           Cancel        15213190    255 days 2 hrs ago    O tankbottoms.eth t,O     DUT    0 Seaport 1.1 t,O                  0 ETH            0.00170723


       @     Ox341965b23778831d ...           Cancel        15213189    255 days 2 hrs ago    O tankbottoms.eth c,0     OUT    0 Seaport 1.1 c,D                  0 ETH            0.00160945


       @     Ox653d5dc47b2a03f21 ..           Cancel        15213189    255 days 2 hrs ago    O tankbottoms.eth (!)     OUT    0 Seaport 1.1 c,D                  0 ETH            0.00160979


       @     Ox428d40487e6a54e7 ...           Cancel        15213188    255 days 2 hrs ago    O tankbottoms.eth (!)     OUT    0 Seaport 1.1 t,D                  0 ETH            0.0014466


       @     Ox08544d01 fedbe95b5...          Cancel        15213187    255 days 2 hrs ago    O tankbottoms.eth c,D     OUT    0 Seaport 1.1 t,D                  O ETH            0.00130195


       @     Oxa7f537951 fb3257aa ...         Cancel        15213179    255 days 2 hrs ago    O tankbottoms.eth   t.D   OUT    0 Seaport 1.1 t.D                  0 ETH            0.00127213


       @     Ox3a42da9335698efe7 ...      Transfer From     15213150    255 days 2 hrs ago    O tankbottoms.eth (!)     OUT    0 Ox94adc7...c60A48a4 t.D          0 ETH            0.00204714


       @     Oxl e24761 15blc53b0 ...         Cancel        152131 13   255 days 2 hrs ago    O tankbottoms.eth t.D     OUT    0 Seaport 1. 1 t,D                 0 ETH            0.00144142


       @     Oxab40a05a3396fbe35...       TrallSfer From    15213103    255 days 2 hrs ago    O tankbottoms.eth t,D     DUT    0 Ox94adc7...c60A48a4 (!)          0 ETH            0.0026251 1


       @     Ox16965c5ft7c61d90L               Pay          15209677    255 days 15 hrs ago   O tankbottoms.eth t.D     OUT    0 Juicebox: Terminal V1_1 c,0      0.042 ETH        0.00064534


       @     Oxaa59d b2f32bf460fd...         Redeem         15209136    255 days 17 hrs ago   O tankbottoms.eth t,D     Ol/T   0 Ox94adc7...c60A48a4 (!)          0.001 ETH        0.00322803


       @     Ox4c9ffb46c3Sda1 le7...        Withdraw        15209065    255 days 17 hrs ago   O tankbottoms.eth t,D     OUT    0 Ox94adc7...c60A48a4 t,D          0 ETH            0.00071577


       @     Oxa1el e8f84b0ee5b35...         Redeem         15209050    255 days 17 hrs ago   O tankbottoms.eth (!)     OUT    0 Ox94adc7...c60A48a4 t.D          0.0008 ETH       0.00361697


       @     Oxeael 9504c0073e82 ...         Redeem         15209045    255 days 18 hrs ago   O tankbottoms.eth t.D     Ol/T   0 Ox94adc7...c60A48a4 t.D          0.003 ETH        0.00340319


       @     Ox7ed1491ebe830055 ...           Renew         15209009    255 days 18 hrs ago   () tankbottoms.eth t,D    OUT    0 ENS: ETH Registrar Co...   t,D   0.01792511 ETH   0.00057341


       @     Ox39c8006c8117c410...            Cancel        15208195    255 days 21 hrs ago   O tankbottoms.eth t,D     OUT    0 Seaport 1.1 t,D                  O ETH            0.00076338


       @     Ox4d687de511937efb2..            Cancel        15208127    255 days 21 hrs ago   O tankbottoms.eth t.D     OUT    0 Seaport 1.1 t.D                  0 ETH            0.001158


       @     Oxe91836fa2874ed639...       Transfer ERC7._   15208069    255 days 21 hrs ago   () tankbottoms.eth (!)    OUT    0 Ox35CA26...2e4586C3 t,D          0 ETH            0.00156128

                                                                                                                                                                       PLAINTIFF0001076
https://etherscan.io/txs?a=Ox5d95baEBBB412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=13                                                                                                              3/5
4/6/23, 4 :28 PM                 Case 1:23-cv-20727-RKA Document 106-30
                                                                   E l hereumEntered
                                                                              Transactionson  FLSDIDocket
                                                                                           Information Elherscan 06/09/2023 Page 67 of
                                                                            401
       CD    Txn Hash                    Method(v   Block Age                From                           To                   Value                                     Txn Fee


       @     Oxe315d157934a94c1 ...        S..t Approval ·-    15208067   255 days 21 hrs ago   O tankbottoms.eth t,D    OUT     0 Ox94adc7...c60A48a4 (9     O ETH        0.00041128


       @     Ox453cfa1342e34438a ...           Multicall       15206185   256 days 4 hrs ago    O tankbottoms.eth t,D    OUT     0 Uniswap V3: Router 2 (9    2.25 ETH     0.001 86521


       @     Ox213acbe26858ad68...          Batch Airdrop      15205987   256 days 5 hrs ago    ◊ tankbottoms.eth c,D    our     0 Ox6C8ACA...9D36E6aA t,D    0 ETH        0.0032721 1


       @     Oxaal969647ca394de...         Set App,oval ·~     15205978   256 days 5 hrs ago    O tankbottoms.eth (9     OIIl"   0 Ox94adc7...c60A48a4 c,D    0 ETH        0.00055688


       @     Ox481 ed21 fl dl 2104b4...     Batch Airdrop      15205794   256 days 6 hrs ago    O tankbottoms.eth [.O    CUT     El Ox6CBACA...9D36E6aA t,O   0 ETH        0.00565527


       @     Ox5632ea6eb119061 e...           Start Sale       15205763   256 days 6 hrs ago    O tankbottoms.eth c,0    OUT     0 0x6CBACA ..9D36E6aA (9     0 ETH        0.00074518


       @     Ox06a193cel 6ce6800 ...          Stop Sale        15205756   256 days 6 hrs ago    O tankbottoms.eth (9     OIIl"   E) Ox6C8ACA. .9D36E6aA (9    0 ETH        0.00038376


       @     Ox370fl Odb029736ec4...       Create. Redee ...   15205653   256 days 6 hrs ago    O tankbottoms.eth (9     OUT     0 Ox94adc7...c60A48a4 (9     0 ETH        0.00549552


       @     Ox09b1321bdacl 147e...        Create Redee...     15205646   256 days 6 hrs ago    O tankbottoms.eth c,D    OUT     0 Ox94adc7...c60A48a4 (9     O ETH        0.00371563


       @     Ox3b2394908c45e8c2...         Create Redee ...    15205564   256 days 6 hrs ago    O tankbottoms.eth c.□    OUT     0 Ox94adc7...c60A48a4 c,D    0 ETH        0.00383212


       @     Ox33a38c88d2b26c33...               Mint          15205542   256 days 7 hrs ago    O tankbottoms.eth (9     OUT     0 Ox94adc7...c60A48a4 c,O    0 ETH        0.00272797


       @     Ox4cda1 e314c9bd34e...              Mint          15205518   256 days 7 hrs ago    O tankbottoms.eth c,D    OUT     0 Ox94adc7...c60A48a4 t,D    0 ETH        0.00140059


       @     Oxe76879e6af3dac9fl ...             M int         15205500   256 days 7 hrs ago    O tankbottoms.eth t,D    CUT     0 Ox47ef18...9458ebEE c.□    0 ETH        0.0006518


       @     Ox08cb9b3b0a24dd33...           Public Mint       15205498   256 days 7 hrs ago    O tankbottoms.eth [.O    OUT     0 Ox6aa717...8085365C t,D    0.009 ETH    0.0006534


       @     Ox8308514e1 ce47aa4f...             Mint          15205465   256 days 7 hrs ago    O tankbottoms.eth [.D    OUT     0 Ox94adc7...c60A48a4 (9     O ETH        0.00182124


       @     Oxa12401300ff8c2fad...              M int         15205373   256 days 7 hrs ago    O tankbottoms.eth t,D    OUT     0 Ox94adc7...c60A48a4 t,D    0 ETH        0.00224626


       @     Ox5d98686dcf02bdc89 ___             Mint          15205322   256 days 7 hrs ago    O tankbottoms.eth (9     OUT     0 Ox94adc7...c60A48a4 c.□    0 ETH        0.00199638


       @     Ox6 l 58bb30375aa88d ...            Mint          15205240   256 days 8 hrs ago    O tankbottoms.eth c.□    OUT     0 Ox94adc7...c60A48a4 c.□    0 ETH        0.00231478


       @     OX00ed92d801ad121fd ...          Start Sale       15205210   256 days 8 hrs ago    () tankbottoms.eth t,D   OUT     0 Ox6CBACA... 9D36E6aA t,D   0 ETH        0.00073201


       @     Oxe1e9be91 Oa7f499f6...          Stop Sale        15205202   256 days 8 hrs ago    O tankbottoms.eth t,D    OUT     0 Ox6C8ACA...9D36E6aA (9     O ETH        0.00031382


       @     Ox65a20b4ebf2bad033...           Start Sale       15205188   256 days 8 hrs ago    O tankbottoms.eth c.□    OUT     0 Ox6CBACA...9D36E6aA c,D    0 ETH        0.00136807


       @     Oxacd08f52f27876fc0...        Transfer ERC7._     15204715   256 days 10 hrs ago   () tankbottoms.eth (9    our     0 Ox35CA26... 2e4586C3 t,D   O ETH        0.00151412

                                                                                                                                                                   PLAINTIFF0001077
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=13                                                                                                      4/5
4/6/23, 4 :28 PM                       Case 1:23-cv-20727-RKA Document 106-30
                                                                         ElhereumEntered
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                                                                                                Information Elherscan 06/09/2023 Page 68 of
                                                                                401
       CD      Txn Hash                        Method (v  Block Age              From                            To                   Value                                                                                                         Txn Fee


       @>      Ox7f99631701a2d4c3b...                     S..t Approval ·-      15204712           256 days 10 hrs ago            O tankbottoms.eth [..O           OUT       0 Ox329CA3...df34b618 [..O                   O ETH                     0.00032472


       @>      Oxa7c07a9bbb9ddb45f...                         Transfer          15204704           256 days 10 hrs ago            () tankbottoms.eth c□            OUT       0 World Domination: ML .         c□          0 ETH                     0.00049235


       @       Oxdf64849b4e1 c48b01 ...                       Transfer          15204703           256 days 10 hrs ago            O tankbottoms.eth c,□            our       El Maker: Dai Stablecoin c□                  0 ETH                     0.00043052


       @>      Ox5a67e7b8d94eaec2 ...                         T,ansfer          15204697           256 days 10 hrs ago            O tankbottoms.eth c9             our       Orobokkuma.eth c9                            6.25101579 ETH            0.00013828


       @       Oxaa0f87d75d8fd9325...                         Transfer          15204685           256 days 10 hrs ago            O tankbottoms.eth [..O           DUT       0   robokkuma.eth [..O                       0.062552778 ETH           0.00016191


       @       Ox81 d080d66bdd0738...                           Mint            15204409           256 days 11 hrs ago            O tankbottoms.eth c,0            OUT       0 Ox94adc7...c60A48a4 c,D                    0 ETH                     0.00182132


       @>      Ox3d563e8e98f 60be5a...                          Mint            15204397           256 days 11 hrs ago            O tankbottoms.eth c9             our       0 Ox94adc7...c60A48a4 c,O                    0 ETH                     0.00215924


       @       Ox946ec3b812ff897b1 ...                          Mint            15204386           256 days 11 hrs ago            O tankbottoms.eth c9             OUT       0 Ox94adc7...c60A48a4 c9                     0 ETH                     0.00211 856


       @       Ox9a5e02b3f31 fbe483 ...                   Mint To Multip...     15204381           256 days 11 hrs ago            O tankbottoms.eth c,□            OUT       0 Ox9AEBec...09e877b8 c□                     O ETH                     0.00066856


       @>      Ox37470b5baef34c02b...                           Mint            15204381           256 days 11 hrs ago            O tankbottoms.eth c,O            OUT       0 OxC76826...98bD105f c,D                    0 ETH                     0.00052237


       @>      Ox187260951 fcb3696a ...                        Claim            15204381           256 days 11 hrs ago            O tankbottoms.eth c9             OUT       El Ox43FBDA...58D532c1        c,D            0 ETH                     0.00086927


       @>      Ox24c2293cc7bc97e6...                            Mint            15204379           256 days 11 hrs ago            O tankbottoms.eth c,□            OUT       0 OxCd07d0...4af745A6 [..O                   O ETH                     0.00094506


       @       Oxeb74702dc0c8f3206...                           Mint            15204378           256 days 11 hrs ago            O tankbottoms.eth      c□        DUT       0 OxE90C1 o...AaE839e6 c□                    0 ETH                     0.00071409


       @       Ox86d55f197ee84a9d0 ...                       Free Mint          15204377           256 days 11 hrs ago            O tankbottoms.eth c,D            OUT       El Ox6fD346...0B13619b c,D                   0 ETH                     0.0005527


       @>      Oxac5d71345f3dee5b3...                          Claim            15203790           256 days 13 hrs ago            O tankbottoms.eth [..D           OIJT      0 Synthetic Nouns: s NOU... [..D             O ETH                     0.00168213


       @>      Ox8ed18c283edd0ef31 ...                          Mint            15203531           256 days 14 hrs ago            O tankbottoms.eth      c□        OUT       0 Ox94adc7...c60A48a4 c□                     0 ETH                     0.0020991 1


       @       Oxe47abddb6434e16c...                      Create Collect.~      15203425           256 days 15 hrs ago            O tankbottoms.eth c9             OUT       El Ox775ecE...bOE908D6 c9                    0 ETH                     0.00392916



      Show:     100        Records                                                                                                                                                                                    First     <   Page 13 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowl edge Base.




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htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 13                                                                                                                                                                                    5/5
4/6/23, 4 :28 PM                  Case 1:23-cv-20727-RKA Document 106-30
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   Transactions
   For 0x5d95baEBB8412AD827287240A5c281 E3b830d27E O taikbottoms.e th




      A total of 2,407 transactions found                                                                                                                         Rrst   <   Page 14 of 25    >   Last   '\{v



       0      Txn Hash                      Method0             Block      Age                    From                               To                                      Value                  Txn Fee


       @      0x749e2cd85b44f2ed7...            Transfer        15202642   256 days 18 hrs ago    () tankbottoms.eth [.,O     OUT    0x2A8497...93e28b9F    r.9              6.42083432 ETH         0.0001602


       @      0x6889f88ec957d0daf..          Create Collect..   15200870   257 days 40 mins ago   () tankbottoms.eth [.,O     OUl    0 0x775ecE...b0E908D6 [.,O              0 ETH                  0.0024287


       @      0x0e557928d3d856cc...           Set Base URI      15200771   257 days 57 mins ago   O tankbottoms.eth r.9       OU1    0 0x6C8ACA...9D36E6aA c,O               0 ETH                  0.00095661


       @      0xb59dabd063904c56...          Create Collect..   15200754   257 days 1 hr ago      O tankbottoms.eth r.9       001    0 0x775ecE...b0E908D6 f.9               0 ETH                  0.00301142


       @      0x8f42b7b56bf60ad60 ...           Transfer        15200322   257 days 2 hrs ago     O tankbottoms.eth    [.,O   OUT    O sveltedev.eth r.9                     1.6636942 ETH          0.00037821


       @      0x525ac97532ef429a6...            Transfer        15197340   257 days 13 hrs ago    () tankbottoms.eth [.,O     OUT    0 Maker: Dai Stablecoin [.,D            0 ETH                  0.00031004


       ©      0x4766ead50d76719ff...             Set Text       15196925   257 days 15 hrs ago    () tankbottoms.eth   r.9    00T    0 ENS: Public Resolver 2 r.9            0 ETH                  0.00063631


       ©      0x40e15ce7c8642050...          Set Contentha...   15196868   257 days 15 hrs ago    O tankbottoms.eth [.,O      00T    0 ENS: Public Resolver 2 r.9            0 ETH                  0.00058552


       @      0xe82d5cc3fe52f39fe3...         Batch Airdrop     15196833   257 days 15 hrs ago    O tankbottoms.eth    [.,O   O\JI   0 0x329CA3...df34b618 [.,O              0 ETH                  0.00309668


       ©      0X36bbb3f396a7268b4...              Mint          15196746   257 days 16 hrs ago    O tankbottoms.eth    r.9    001    0 0Xce9E2a...f64B474f c,D               0 ETH                  0.00062972


       @      0xl 95a9180f3423d34 ...             Mint          15196743   257 days 16 hrs ago    O tankbottoms.eth r.9       00T    0 0x0b7F44...96afc45C c,D               0 ETH                  0.00096235


       @      0x94f3f4bb08a89765f...              M int         15196740   257 days 16 hrs ago    O tankbottoms.eth [.,O      O\Jl   0 Dx7cE32F...485f83Bf [.,D              0 ETH                  0.0010866


       ©      Ox9b7eb8ccl 80bdab4...              Mint          15196740   257 days 16 hrs ago    O tankbonoms.eth     c..□   OUl    0    0xCF261c... 8150df18 [9            0 ETH                  0.00074742


       @      0x7165f950c6dl e0f50...            Set Text       15194464   258 days 28 mins ago   O tankbottoms.eth    c,O    00T    0 ENS: Public Resolver 2 c,O            0 ETH                  0.00106401


       @      0x8d36131c3ab1 f28c1 ...          Transfer        15193309   258 days 4 hrs ago     O tankbottoms.et h [.,O     00T    0x2753c7...69el 2DC5 [..O               0.317514748 ETH        0.00033824


       ©      0x33a7ab07ba1 abf21 b...            Mint          15192603   258 days 7 hrs ago     () tankbottoms.eth c..O     OUl    0 Dx82f7E0 ...FA9678E1   [.,O           0 ETH                  0.001 22278


       @      0xcf4edcc131188ae83...              Mint          15192603   258 days 7 hrs ago     0 tankbottoms.eth c,O       00T    0 0x65A83D... 3E9971 E0 c,O             0 ETH                  0.0011204


                                                                                                                                                                                     PLAINTIFF0001079
https://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 14                                                                                                                              1/5
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       e     Txn Hash                   Method<:1) Block Age               From                           To                  Value                                           Txn Fee


       @     Ox8921777a02e3dfc62...            M int        15192496    258 days 7 hrs ago    O tankbottoms.eth   L□   OOJ    0 Ox724faA...BCB8D3f3 (9            0 ETH       0.00142657


       @     Oxf9cb740c98b6745d1 ...         Transfer       15189212    258 days 20 hrs ago   O tankbottoms.eth   L□   OOJ    0 OX53E9D2...4285FB15 L□            0.002 ETH   0.00027285


       @     Ox5afb1598bc9981 e94...         SetAddr        15189190    258 days 20 hrs ago   Otankbottoms.eth L□      OUl    0 ENS: Public Resolver 2 L□         0 ETH       0.00090482


       @     Ox61a97434c939d1 de...          SetAddr        15189188    258 days 20 hrs ago   O tankbottoms.eth L□     001    0 ENS: Public Resolver 2 c9         0 ETH       0.00085126


       @     Ox6235f8113fe56f9d4...         Set Addr        151891 76   258 days 20 hrs ago   Otankbottoms.eth L□      OUl    0 ENS: Public Resolver 2 L□         0 ETH       0.00084907


       @     Oxb9176db4e3121488 ...      Create Reven...    15189162    258 days 20 hrs ago   Otankbottoms.eth c9      OUl    0 Ox292055...b84725E5 L□            0 ETH       0.00940368


       @     Ox8ad194ff2d85e3e85 ...     S@t Su bnod@ ...   15189155    258 days 20 hrs ago   () tankbottoms.eth L□    OUl    0 ENS: Registry with Fall... c9     0 ETH       0.00154964


       @     Ox885de34547759c65 ...      Set Su bnode ...   15189150    258 days 20 hrs ago   ◊ tankbottoms.eth   c9   OUl    0 ENS: Registry with Fall... c9     0 ETH       0.00192748


       @     Oxal 62a3658e2a23cb...      Set Su bnod• ...   15189150    258 days 20 hrs ago   O tankbottoms.eth   L□   OUl    0 ENS: Registry with Fall...   L□   0 ETH       0.00090474


       @     Ox88a69bbe190105e2 ...      Set Su bnode ...   15189150    258 days 20 hrs ago   O tankbottoms.eth   L□   OOJ    0 ENS: Registry with Fall...   L□   0 ETH       0.00090443


       @     Ox3d5ec077537928a1f ...        Start Sale      15189081    258 days 20 hrs ago   () tankbottoms.eth L□    OOJ    0 Ox329CA3...df34b618 L□            O ETH       0.00129797


       @     Ox8268742fbfbb2e430...         Stop Sal•       15189067    258 days 20 hrs ago   0   tankbottoms.eth L□   OUl    0 Ox329CA3... df34b618 L□           0 ETH       0.00053813


       @     Oxc7469aac116c1391 ...      Set Su bnode ...   15189035    258 days 20 hrs ago   Otankbottoms.eth L□      OUl    0 ENS: Registry with Fall... c9     0 ETH       0.00121559


       @     Ox02bbc802bd6 7ebcb...      Set Su bnode ...   15189030    258 days 20 hrs ago   Otankbottoms.eth L□      001    0 ENS: Registry with Fall...   L□   0 ETH       0.0010574


       @     0Xae788ea1 aabee75c8 ...    S@t Su bnod@ ...   1518901 5   258 days 20 hrs ago   O tankbottoms.eth c9     OUl    0 ENS: Registry with Fall...   L□   0 ETH       0.00177835


       @     Ox59f45be6751308696...            M int        15188906    258 days 21 hrs ago   () tankbottoms.eth L□    01/T   0 OxfDf3b9...3407bEBE L□            O ETH       0.00082974


       @     OxOf37456e02fc515c1...            M int        15188906    258 days 21 hrs ago   O tankbottoms.eth   c9   001    0 OxfDf3b9...3407bEBE L□            0 ETH       0.00082974


       @     Ox1ee51 Oe8f74be866e ...          M int        15188903    258 days 21 hrs ago   () tankbottoms.eth L□    001    0 Oxc42EOB...7971 B407 La           0 ETH       0.00092179


       @     OX09d32643b8fd860cb...            M int        15188903    258 days 21 hrs ago   () tankbottoms.eth L□    01/T   0 Ox82f7EO...FA9678E1     L□        0 ETH       0.00126561


       @     Ox67838c0a505c3b46 ...            Mint         15188903    258 days 21 hrs ago   O tankbottoms.eth c9     OUl    0 Ox806b0c...9D4e14fc c9            O ETH       0.00103606


       @     Oxecfa5f714400569dc...            M int        15188903    258 days 21 hrs ago   O tankbottoms.eth   L□   OUl    0 Ox059E5a...63a53BAO Lo            0 ETH       0.00094401


       @     Oxe8cd97a011ba19c1...             M int        15188899    258 days 21 hrs ago   Otankbottom s.eth c9     OOl    0 OxfDf3b9...3407bEBE (9            O ETH       0.00103852

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https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=14                                                                                                        2/5
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       0     Txn Hash                   Method(v   Block Age                From                           To                  Value                                   Txn Fee


       @     Ox0a765aa9b84de90a ...          Multicall       15188630   258 days 22 hrs ago   O tankbottoms.eth   L□   OOJ    0 Uniswap V3: Router 2 L□    2.5 ETH     0.0030692


       @     Ox9c79b1 bb5eab57ed...        Presale Mint      15188391   258 days 23 hrs ago   O tankbottoms.eth   L□   OOJ    0 Ox329CA3...df34b618 (9     O ETH       0.00176319


       @     Oxl bef54f0f8b823a92...      Reconfigure F.~    15188225   258 days 23 hrs ago   Otankbottoms.eth L□      OUl    0 Ox4e3ef8...8F651351   LO   0 ETH       0.00456228


       @     Oxc032871 d99188895...       Set Metadata __    15188189   258 days 23 hrs ago   O tankbottoms.eth L□     001    0 OxD86435...dd6c47d3 L□     0 ETH       0.00088529


       @     Ox84c59075e8f57b6e5 ...           M int         15187043   259 days 3 hrs ago    O tankbottoms.eth L□     OUl    0 OxD53F6c...40D39167 c9     0 ETH       0.00232918


       @     Oxff0a3c3d01 df9cc0a...        Public Mint      15187040   259 days 3 hrs ago    O tankbottoms.eth r9     OUl    0 OxOeC73b...51021781   LD   0 ETH       0.00317333


       @     Ox49d5ea7a5c01 eCJc7...         Start Sale      15187025   259 days 3 hrs ago    () tankbottoms.eth L□    OUl    0 Ox329CA3... df34b618 (9    0 ETH       0.00349336


       @     Oxd5d24a26e243d1c4 ...          Slop Sale       15187008   259 days 3 hrs ago    ◊ tankbottoms.eth   r9   OUl    0 Ox329CA3...df34b618 (9     0 ETH       0.00139921


       @     Ox55b7afe47f83f055e...            M int         15186712   259 days 5 hrs ago    O tankbottoms.eth   L□   OUl    0 Ox804F9B...5E6b6649 LD     0 ETH       0.00219083


       @     Ox0812d895ab509dc6...             M int         15186709   259 days 5 hrs ago    O tankbottoms.eth   L□   OOJ    0 Ox053D65...88814144 L□     0 ETH       0.00273886


       @     Ox044ad b687c099428 ...         Start Sale      15186536   259 days 5 hrs ago    () tankbottoms.eth L□    OOJ    0 Ox329CA3...df34b618 L□     O ETH       0.0026641 1


       @     Ox5fc65ea 7cc5e60b6f...         Stop Sale       15186527   259 days 5 hrs ago    0   tankbottoms.eth L□   OUl    0 Ox329CA3...df34b618 L□     0 ETH       0.00119007


       @     Ox02b78ae8f0a2f5a40...          Stop Sale       15186521   259 days 5 hrs ago    O tankbottoms.eth LD     OUl    0 Ox329CA3...df34b618 (9     0 ETH       0.0009863


       @     Ox9dff8fb9a9cc1 dd7a...           M int         15186508   259 days 5 hrs ago    O tankbottoms.eth L□     001    0 Ox3eBd1a...BAd86b6d LD     0 ETH       0.0036202


       @     Ox23c3905b3d57069b...             M int         15186490   259 days 5 hrs ago    O tankbottoms.eth r9     OUl    0 Ox804F9B...5E6b6649 LD     O ETH       0.00567438


       @     Ox87818c4f888689ee6...        Presale Mint      15186489   259 days 5 hrs ago    () tankbottoms.eth LD    01/1   0 Ox329CA3...df34b618 (9     0 ETH       0.00740601


       @     Ox814852427a4aec40...        Create Reven...    15186479   259 days 5 hrs ago    O tankbottoms.eth r9     001    0 Ox292055 ..b84725ES LO     0 ETH       0.01538494


       @     Oxece7975e46b395b9...             M int         15186459   259 days 5 hrs ago    () tankbottoms.eth L□    OUl    0 Ox804F9B ..SE6b6649 LD     0 ETH       0.00623599


       @     Oxd4922869be8b9bad...           Start Sale      15186454   259 days 5 hrs ago    () tankbottoms.eth L□    01/1   0 Ox329CA3... df34b618 (9    0 ETH       0.00810819


       @     Ox23406a1de1 f5fa09b...      Set Merkle Root    15186431   259 days 5 hrs ago    O tankbottoms.eth r9     OUl    0 Ox329CA3...df34b618 LD     O ETH       0.00417097


       @     Oxl 224ce35066fa9e3f...       Set Base URI      15186338   259 days 6 hrs ago    O tankbottoms.eth L□     OUl    0 Ox329CA3...df34b618 (9     0 ETH       0.01082667


       @     Ox493c90f8c86e89e1e...       Create Collect..   15186255   259 days 6 hrs ago    O tankbottoms.eth r9     OOl    0 Ox775ecE...bOE908D6 (9     O ETH       0.00799007

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       @     Oxc23d898a7dd334df1 ...      Create Collect..   15186123   259 days 7 hrs ago    O tankbottoms.eth   L□   OU1    0 Ox775ecE. ..bOE90BD6 (9     O ETH       0.00370173


       @     Oxb439f61 b63af8f9a2...      Set Metadata .•    15184835   259 days 12 hrs ago   O tankbottoms.eth   L□   OU1    0 OxDBB435...ddBc47d3 L□      0 ETH       0.000721 4


       @     Oxeaec69ca99f614f85...        Add Liquidity     15184816   259 days 12 hrs ago   Otankbottoms.eth L□      OUl    0 SushiSwap: Router c□        0 ETH       0.02307933


       @     Oxl eb22907f3d4a7 d4d...        Claim For       15184808   259 days 12 hrs ago   O tankbottoms.eth c□     001    0 OxCBBBe1 ...8995f371   c□   0 ETH       0.00075933


       @     Ox9a973f5293aa9ab12...          Approve         15184803   259 days 12 hrs ago   Otankbottoms.eth L□      OUl    0   Wrapped Ether LO          0 ETH       0.00045802


       @     Oxl 28406e44bc5a 7d3 ...        Approve         15184796   259 days 12 hrs ago   Otankbottoms.eth c9      OUl    0 Ox549ea7 ... D26E964D c9    0 ETH       0.00053802


       @     Ox30cf470ef2ab7b00b...             Pay          15184790   259 days 12 hrs ago   () tankbottoms.eth c□    OUl    0 Ox7Ae63F...483b8397 c□      0.5 ETH     0.00182048


       @     Ox538f548ffabb9a2f72...      Set M etadata ·-   15184753   259 days 12 hrs ago   ◊ tankbottoms.eth   c9   OUl    0 OxDBB435...ddBc47d3 (9      0 ETH       0.00039768


       @     Ox489837d6795c8940...             M int         15184621   259 days 12 hrs ago   O tankbottoms.eth   L□   OU1    0 Ox2712E5... 8099425a L□     0 ETH       0.00207453


       @     Ox3cfe889c64e712720...            M int         15184619   259 days 12 hrs ago   O tankbottoms.eth   c□   OU1    0 Ox3eBdla...BAd86b6d c□      0 ETH       0.00148174


       @     Oxbl ec6f48c7fba3e87 ..           M int         15184618   259 days 12 hrs ago   () tankbottoms.eth c□    OU1    0 Ox9275D5...5B23f171 LD      0 ETH       0.00167712


       @     Ox2fd9d2878c369f2c1 ...         Free Mint       15184618   259 days 12 hrs ago   0   tankbottoms.eth L□   OU1    0 Ox1378c6...C6410920 L□      0 ETH       0.00127752


       @     Oxd68a0757e9a12369 ...            M int         15184617   259 days 12 hrs ago   Otankbottoms.eth L□      OUl    0 Oxe942fD...Od086528 L□      0 ETH       0.001 771 01


       @     Ox8886422cb1 ff298bb...           M int         15184616   259 days 12 hrs ago   Otankbottoms.eth L□      001    0 Ox8D3f5f4036AFC7 (9         0 ETH       0.001 20385


       @     Oxl 55704ba7659f43d ...           M int         15184616   259 days 12 hrs ago   O tankbottoms.eth   c9   OUl    0 Ox2DOD57...5a814154 L□      0 ETH       0.00149902


       @     Ox6817b3994f ldcfeda ...       Public Sale      15184616   259 days 12 hrs ago   () tankbottoms.eth L□    01/1   0 Ox11 FeE2...d1 Bd4d6f L□    O ETH       0.0014416


       @     Ox97b902f025fcdbfd5...          Transfer        15184553   259 days 13 hrs ago   O tankbottoms.eth   LD   001    0 brileigh.eth   c9           1 ETH       0.00038031


       @     OxObab8cOfcefb50e81 ...         Transfer        15184552   259 days 13 hrs ago   () tankbottoms.eth c□    OU1    O gabrielrce.eth c□           1 ETH       0.00034156


       @     Oxc9967c2fba44c12a8...           Setlext        15184543   259 days 13 hrs ago   () tankbottoms.eth L□    01/1   0 ENS: Public Resolver 2 L□   0 ETH       0.00040852


       @     Oxb55f31 f4762f72173 ...     Issue Token For    15184437   259 days 13 hrs ago   O tankbottoms.eth c9     OU1    0 Ox4e3ef8...8F651351    L□   O ETH       0.02327284


       @     Ox227b9414b0a6e3d3...           Mufticall       15183727   259 days 16 hrs ago   O tankbottoms.eth   c□   OUl    0 Uniswap V3: Router 2 cO     2.25 ETH    0.0032862


       @     Oxb5a54c25db16ad2c...           Set Addr        15182896   259 days 19 hrs ago   Otankbottoms.eth c9      001    0 ENS: Public Resolver 2 c9   O ETH       0.001 00521

                                                                                                                                                                PLAINTIFF0001082
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=14                                                                                                    4/5
4/6/23, 4 :28 PM                       Case 1:23-cv-20727-RKA Document 106-30
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       (:1)    Txn Hash                        Method<:1) Block Age
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       @       Ox9f05a3cac35fdec3af...                    Deploy Projec._       15182891          259 days 19 hrs ago              O tankbottoms.eth      L□        00T       0 Ox9E84bE...D7468ABc t,O                   O ETH                     0.03406463


       @       Ox88d89e42799ba010...                          Multicall         15182891          259 days 19 hrs ago              O tankbottoms.eth      L□        00T       0 ENS: Public Resolver 2 L□                 0 ETH                     0.00369022


       @       Ox9b9808d21998905a...                      Set SU bnode ...      15181261          260 days 1 hr ago                ◊ tankbottoms.eth L□             OUl       0 ENS: Registry with Fall...      L□        0 ETH                     0.00611594


       @       Ox5025e0b354a01927...                      Set Ens Name...       15181250          260 days 1 hr ago                ◊ tankbottoms.eth L□             00-1      0 OxE3c01 E...8EF9Ff86 L□                   0 ETH                     0.00995635


       @       Oxa7bf2144ea6469300...                     launch Projec...      15181245          260 days 1 hr ago                Otankbottoms.eth L□              OUl       0   Ox4e3ef8... 8F651351     LO             0 ETH                     0.04813755


       @       Ox57eb5326af44a7ca1 ..                     Redeem Toke._         15181 124         260 days 1 hr ago                Otankbottoms.eth c9              00T       0 Ox7Ae63F...483b8397 LO                    0 ETH                     0.00485489


       @       Ox97a6e6cd452b32b5 ...                           Pay             15181114          260 days 1 hr ago                () tankbottoms.eth L□            00-1      0 Ox7Ae63F...483b8397 Lo                    0.5 ETH                   0.00510165


       @       0   Oxa17d1418caf24c015 ...                   Withdraw           15179395          260 days 8 hrs ago               ◊ tankbottoms.eth      c9        OUl       0 Wrapped Ether c9                          0 ETH                     0.0004092


       @       Oxe48171 c43972978e_.                         Withdraw           15179393          260 days 8 hrs ago               O tankbottoms.eth LO             001       0 Wrapped Ether L□                          0 ETH                     0.00056297


       @       Ox2b972abfaa3e71 b65 ...                         Mint            15179238          260 days 8 hrs ago               O tankbottoms.eth LO             OUl       0 Dx72Da76...78304dB1        Lo             0 ETH                     0.00095462


       @       Ox496803bd621 ddd73...                           Mint            15179166          260 days 9 hrs ago               () tankbottoms.eth c□            OUl       0 Ox2AeE08... 5c4b1A30 LO                   O ETH                     0.00213536


       @       Ox9dcee141d9c4e5b4 ...                         Approve           15179120          260 days 9 hrs ago               0   tankbottoms.eth    LO        OUl       0 Ox4CDOc4 ...4E47f526 LO                   0 ETH                     0.0004398


       @       Ox8cee6c9d06eeeafb9...                          Bond             15179110          260 days 9 hrs ago               Otankbottoms.eth LO              OUl       0 Oxeb02ad...6f8c44CC L□                    0 ETH                     0.00174682


       @       Oxe2b433b49f0e13a49...                         Approve           15178968          260 days 9 hrs ago               Otankbottoms.eth c9              OUT       0 Ox9559Aa••.4c9a3593 cD                    0 ETH                     0.00078581


       @       Oxb04a38631946a5e7...                          Approve           15178964          260 days 9 hrs ago               O tankbottoms.eth      L□        001       0 The Graph: GRT Token LO                   0 ETH                     0.00079862


       @       Ox7d540fad67be00aff...                         Approve           15178960          260 days 9 hrs ago               () tankbottoms.eth     c9        001       0 Maker: Dai Stablecoin L□                  O ETH                     0.00083002


       @       Oxae3da9a45e1bd408...                          Approve           15178956          260 days 9 hrs ago               O tankbottoms.eth      c9        OUT       0   Wrapped Ether    c9                     0 ETH                     0.00079675



      Show:     100        Records                                                                                                                                                                                    First     <   Page 14 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowl edge Base.




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htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1 OO&p= 14                                                                                                                                                                                   5 /5
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   Transactions
   For Ox5d95baEBB8412AD827287240A5c281 E3b830d27E O            taikbottoms.eth




      A total of 2,407 transactions found                                                                                                                     First      <   Page 15 of 25   >   Last   '\{v



       0      Txn Hash                      Me1hod0                   Block       Age                   From                           To                                         Value           Txn Fee


       @      Oxeb66bde5966a846b ...             Approve              15178955    260 days 9 hrs ago    O tankbottoms.eth LO     our   0 Wrapped Ether LO                         0 ETH           0.000745


       @      Ox5cd850e6689239de ...               Mint               15177775    260 days 14 hrs ago   O tankbottoms.eth LO     001   0 OxE90E6b...91 l 4C402 (9                 0 ETH           0.00084736


       @      Ox8ea5b57e0d97a989f...            Free Mint             15177768    260 days 14 hrs ago   O tankbottoms.eth LO     OV1   0 Ox0c81 FF... l 039e1 aO t,O              0 ETH           0.00149152


       @      Ox312d611d3a8a9cb9...                Mint               15177768    260 days 14 hrs ago   O tankbottoms.eth cP     OV1   0 0xBaE289 .. 7C45083D @                   0 ETH           0.00134717


       @      Oxa0701934a78c52e6...                Mint               15177764    260 days 14 hrs ago   O tankbottoms.eth LO     OV1   0 0xE90E6b. .9114C402 (9                   0 ETH           0.00111687


       @      Ox6784365aa39cb21 f f.             Transfer             15177520    260 days 15 hrs ago   O tankbottoms.eth LO     OV1   ®World Domination: ML.           LO        0 ETH           0.00064679


       @      Ox914 73bdc0c90cff5fe...           Multicall            15177393    260 days 15 hrs ago   O tankbottoms.eth cP     OU!   ®Unlswap V3: Positions ... cP              0.0001 ETH      0.09974753


       @      Oxbe5bb33bfeb115086...         Add Liquid;ty .•         15177375    260 days 16 hrs ago   O tankbottoms.eth   cP   OV1   ®SushiSwap: Router cP                      0 .0001 ETH     0.05154808


       @      Ox0f7062289e0426c99...             Approve              15177362    260 days 16 hrs ago   O tankbottoms.eth LO     OUl   0 Ox48E1 Fd ...20B6bb49 (9                 0 ETH           0.00128388


       @      Ox63a 73e462b5a1c a7 ...           Approve              15177353    260 days 16 hrs ago   O tankbottoms.eth cP     001   0 Ox48E1 Fd...2086bb49 LO                  0 ETH           0.00097232


       @      Ox46a5b62b5e15e705 ...               Mint               15177301    260 days 16 hrs ago   O tankbottoms.eth   L□   OU1   0 OxE7522b...4CF44b29 t,O                  0 ETH           0.00214702


       @      Ox036217c2b7aa8b96f...           Mint Public            15177301    260 days 16 hrs ago   O tankbottoms.eth LO     OUl   0 OxE640f3...34698b84 LO                   0 ETH           0.0027097


       @      Ox6c9078704816490fc...               Mint               15177300    260 days 16 hrs ago   O tankbottoms.eth Lo     OUT   0 Oxeba9bB...7643bD7B L□                   0 ETH           0.00219638


       @      Oxe29e9669f640a6920 ...              Mint               15177300    260 days 16 hrs ago   0   tankbottoms.eth LO   OUT   0 Ox003d6F...Ca3b4541      t,O             0 ETH           0.00175631


       @      Oxl Ofc39e2a93dd8117...              Mint               15177298    260 days 16 hrs ago   O tankbottoms.eth LO     WT    0 Ox9AAC4o...835Fc7C8 Lo                   0 ETH           0.00263967


       @      Oxf3a 170667dd5c4d06...              Mint               15177297    260 days 16 hrs ago   O tankbottoms.eth cP     OUT   0 Ox0D241e...477E3596 c..O                 0 ETH           0.00276546


       @      Ox47022696a5f9a0d80...               Mint               15177296    260 days 16 hrs ago   O tankbottoms.eth t,O    OUT   ®Ox55a0c8...A6Bc0201 cP                    0 ETH           0.00185554


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https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=15                                                                                                                            1/5
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       CD    Txn Hash                      Method(v   Block Age                  From                           To                   Value                                    Txn Fee


       @     Ox16237ba2853b77ba...                 Mint         15155935   263 days 23 hrs ago     O tankbottoms.eth cO    OUT   0 OxF9865a ...1098ca56 LO       0 ETH        o.00110sn


       @     Ox65c6f59f7a7d4373f...                Mint         15155930   263 days 23 hrs ago     O tankbottoms.eth cO    OUT   0 Ox06396f... A 1OC8038 cO      0 ETH        0.00186421


       @     Oxadc3876e4e14fd38f...                Mint         15155930   263 days 23 hrs ago     O tankbottoms.eth [.O   our   0 Ox5647e5...b10dbCBb [.O       0 ETH        0.00184879


       @     Oxc91c5fad93cbe1017...                Mint         15155929   263 days 23 hrs ago     O tankbottoms.eth c9    OUT   0 Oxe89Ea8...D75690Fc      c9   0 ETH        0.00155687


       @     Oxc584c57340acec77...                 Tap          15155624   264 days 54 m ins ago   O tankbottoms.eth co    OUT   0 J uicebox: Terminal Vl   LD   0 ETH        0.00835787


       @     Ox1 e6c93d0ce695db4 ...         Print Reserve...   15155622   264 days 54 m ins ago   O tankbottoms.eth [.O   OUT   0 J uicebox: Terminal V1 [.O    O ETH        0.00582587


       @     Oxb7edcd7d1 bc0a63a...                Mint         15152437   264 days 12 hrs ago     O tankbottoms.eth c9    OUT   0 0x2C13dD...30A10229 [.O       0 .001 ETH   0.00294451


       @     Ox241 a6a291 ab5ac78...               Mint         15151358   264 days 16 hrs ago     O tankbottoms.eth c9    our   0 Ox95322C... 270A390c (9       0 ETH        0.00092632


       @     Ox3bb75e14bcf86131a...             Free Mint       15151355   264 days 16 hrs ago     O tankbottoms.eth cO    OUT   0 Ox79068B...c46E6711 LD        0 ETH        0.00077819


       @     Ox5298125fd31 4ef266...               Mint         15151354   264 days 16 hrs ago     O tankbottoms.eth [.O   OUT   0 Ox1940dA...88b07aBa [.D       0 ETH        0.00091865


       @     Oxdd19098fb5c4759d1 ...               Mint         15151352   264 days 16 hrs ago     O tankbottoms.eth c□    our   0 OxCOF766...e51FCA7a (9        0 ETH        0.00093884


       @     Ox9235d4a801 e60f3ef...               Mint         15151350   264 days 16 hrs ago     O tankbottoms.eth cO    OUT   0 OxC03bC8... f4f65063 LD       0 ETH        0.00062747


       @     Oxa51Oec9ea13578c9...                 Mint         15151350   264 days 16 hrs ago     O tankbottoms.eth cO    OUT   0 Ox440AF4 ...7E88304C LD       0 ETH        0.00090679


       @     Ox80f7907afd5cf4ccb...                Mint         15151341   264 days 16 hrs ago     O tankbottoms.eth [.O   our   0 Ox4f093A...23d7BC1 B L□       0 ETH        0.0006619


       @     0     OX456a726e090ab2c9...           Mint         15151338   264 days 16 hrs ago     O tankbottoms.eth cO    00T   0 ox587951 ...26297EB1 c□       0 ETH        0.0002726


       @     Oxl bc5b4a66566fea89 ...        Safe Transfer ·-   15150370   264 days 20 hrs ago     O tankbottoms.eth cO    0UT   0 Ox0B963B... b842C534 LO       0 ETH        0.00061594


       @     Oxa3907df49c881ea3d...          Mint And Tran...   15150346   264 days 20 hrs ago     O tankbottoms.eth c9    our   0 0x0B963B ..b842C534 [.O       0 ETH        0.00278783


       @     Ox94837738e185f49a9...          Mint And Tran...   15149959   264 days 22 hrs ago     O tankbottoms.eth LO    OUT   0 0x0B963B ..bB42C534 LO        0 ETH        0.00557574


       @     Oxe55660923c806178 ...           Create Token      15149904   264 days 22 hrs ago     O tankbottoms.eth cO    0UT   0 Rarible: ERC1155 Fact... co   0 ETH        0.01348641


       @     0     Ox6fb48dd42b80c4e6d...          Mint         15142978   265 days 23 hrs ago     O tankbottoms.eth c9    OUT   0 OxaF9856...7D744210 co        0 ETH        0.00091627


       @     Ox22d18d1dc344221 3 ...               Mint         15142978   265 days 23 hrs ago     O tankbottoms.eth LO    our   0 OxaF9856.. 70744210      c9   0 ETH        0.00275228


       @     Ox8e80ba2fc5cle399d ...            Free Mint       15142889   266 days 17 m ins ago   O tankbottoms.eth c9    OUT   0 Ox39f106...75028a07 c□        0 ETH        0.00371223

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https://etherscan.io/txs?a=Ox5d95baEBBB412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=15                                                                                                        2/5
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       CD    Txn Hash                      Method(v   Block Age                  From                           To                   Value                              Txn Fee


       @     Ox43e8791 ed4a6241 7 ...              Mint          15140873   266 days 7 hrs ago    O tankbottoms.eth cO     OUT     0 OxC03bC8...f4f65063 (9     0 ETH   0.0008358


       @     Oxdd0f0dc5df30cb4c6...          Mint To Multip...   15140867   266 days 7 hrs ago    O tankbottoms.eth cO     001     0 Ox2c7751 ...7394088D LO    0 ETH   0.00071674


       @     0     Oxa14f032550abe4a46...          Mint          15138904   266 days 14 hrs ago   O tankbottoms.eth [.O    our     0 OxCD823F...8BC729A1 c□     0 ETH   0.00040958


       @     Ox7b4de2e5c8279e66...                 Mint          15138904   266 days 14 hrs ago   O tankbottoms.eth c9     OUT     0 Oxc76aC5...D71 C93De LO    0 ETH   0.0012191


       @     Oxd0537998b6630326 ...                Mint          15138904   266 days 14 hrs ago   O tankbottoms.eth co     OUT     0 Oxd307CB...B56BA19c cP     0 ETH   0.0014783


       @     Ox81 fd6c585542ae6ee ...              Mint          15138901   266 days 14 hrs ago   O tankbottoms.eth [.O    OUT     0 Ox3ce1 FF...Bb008d22 (9    O ETH   0.00104914


       @     Ox45b2353d6a9a3606 ...                Mint          15137770   266 days 19 hrs ago   O tankbottoms.eth   c9   OUT     0 OxObC13A...03D397D0 (9     0 ETH   0.00565807


       @     Ox49a9636a95f9a2d6b ...               Mint          15137760   266 days 19 hrs ago   O tankbottoms.eth c9     our     0 Ox6081 FF...c8B7E9al (9    0 ETH   0.00488732


       @     Ox4e07a40e17106c54...                 Mint          15137759   266 days 19 hrs ago   O tankbottoms.eth cO     OUT     0 Oxeec5e2...0eEOc661   cO   0 ETH   0.0046057


       @     Oxa6c7348be35eb428...              Purchase         15137759   266 days 19 hrs ago   O tankbottoms.eth [.O    OUT     0 Ox28eE63...B2bd7e8d LO     0 ETH   0.00327764


       @     Ox7d0b7394d1 a8b6da ...            Mint NFT         15137759   266 days 19 hrs ago   O tankbottoms.eth cO     OVT     0 Ox1e9579 ...35761047 [.O   0 ETH   0.00499193


       @     Ox79f2f6dcdf4bb4ef98...            Free Mint        15137759   266 days 19 hrs ago   O tankbottoms.eth cO     OUT     0 Ox2DC675...aae847d5 co     0 ETH   0.00435545


       @     Oxb25e50aaald6d3cd...                 Mint          15137752   266 days 19 hrs ago   O tankbottoms.eth cO     OUT     0 OxEl f273 ...86603c43 LO   0 ETH   0.00485086


       @     Oxcd2e1285e9d5035c...              Purchase         15136749   266 days 22 hrs ago   O tankbottoms.eth [.O    O<.I!   0 Ox28eE63...B2bd7e8d LD     0 ETH   0.00506509


       @     Ox82511 ef58f06516c2 ...           Purchase         15136735   266 days 22 hrs ago   O tankbottoms.eth cO     O<IT    0 Ox2BeE63...B2bd7e8d LO     0 ETH   0.00638664


       @     Oxl c414dfae9a3f03aa ...              Mint          15134617   267 days 6 hrs ago    O tankbottoms.eth cO     OUT     0 Ox79fEb9...4C3F44E8 LO     OETH    0.00177338


       @     Oxe48fade76e0a958fa ...               Mint          15133103   267 days 12 hrs ago   O tankbottoms.eth   cP   OVT     0 Ox8290F6...A 7989a7a LO    0 ETH   0.00171454


       @     Oxba9e2c9174f63af6f...                Mint          15133100   267 days 12 hrs ago   O tankbottoms.eth LO     OUT     0 OxE57aD2... 5e9f6995 L□    0 ETH   0.00238949


       @     Oxfcf29a7117b6ffbcfa...            Mint NFT         15133098   267 days 12 hrs ago   O tankbottoms.eth cO     OUT     0 Ox25CF06... 5C51 D47C L□   0 ETH   0.00163092


       @     Ox0916ba7dea9788cef...          Free Mint Claim     15133098   267 days 12 hrs ago   O tankbottoms.eth   cP   OUT     0 Ox25db55...6E30fA69 c□     0 ETH   0.00151839


       @     Ox73fa9712bcde54a27...             Fr~ Mint         15133096   267 days 12 hrs ago   O tankbottoms.eth LO     our     0 Ox281 bb7...69E9ac7f Lo    0 ETH   0.00228064


       @     Ox5d0826d0ab1 a0369 ...               Mint          15133096   267 days 12 hrs ago   O tankbottoms.eth c9     OUT     0 Ox2ffc84...35EeOE57 c□     0 ETH   0.00163509

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       (:1)   Txn Hash                     Method <:1) Block Age
                                                                             401 From                           To                   Value                                  Txn Fee


       @      Oxd28d892ff90cc224e...          Mint Free     15131817   267 days 17 hrs ago     O tankbottoms.eth   c□     01.1T   0 Dead Cat Bounce: DCB ... c□   0 ETH     0.0023343


       @      Oxe858c90aa746d5a4...              Mint       15131816   267 days 17 hrs ago     O tankbottoms.eth   c□     QUI     0 Ox465c34...0EE34D67 c□        0 ETH     0.00251461


       @      Oxa1bf01 c30701 Ofb25...           Buy        15131637   267 days 17 hrs ago     O tankbottoms.eth c.,0     OUT     0 Not Gold: NOTGD Token [9      0 ETH     0.00127418


       @      Ox60ae620b3d34a739...              Mint       15131636   267 days 17 hrs ago     O tankbottoms.eth [9       OUT     0 Ox80B513...B6729062 c.,O      0 ETH     0.00116966


       @      Ox43adcc2167ec17ff5...             Mint       15131633   267 days 17 hrs ago     O tankbottoms.eth   c□     OUT     0 Ox480B76...0708344B L□        0 ETH     0.00210565


       @      Ox8ccd842d1 Obce21 a ...           M int      15131169   267 days 19 hrs ago     O tankbottoms.eth c.,0     OUT     0 Oxe0c341 ... Bd8d3643 [9      O ETH     0.00134597


       @      Ox63940bc929c67b0f0...          Free Mint     15131168   267 days 19 hrs ago     O tankbottoms.eth [9       OUT     0 Ox940181 ...809dFA3E [9       0 ETH     0.00164422


       @      Ox11e61468847dd4ad...              Mint       15129812   268 days 44 m ins ago   O tankbottoms.eth [9       OUT     0 Ox5b84e5...de2A7D3C [9        0 ETH     0.00268682


       @      Ox348892209c58caad...           Mint Raffle   15126234   268 days 14 hrs ago     O tankbottoms.eth   c□     OUT     0 Ox805Ff6...8A8bl 4f6 L□       0.1 ETH   0.00196501


       @      Ox91 d73d8da659dbf3...             Mint       15125812   268 days 15 hrs ago     O tankbottoms.eth c.,O     OUT     0 Ox797194...6ff84B80 c.,O      0 ETH     0.00112211


       @      Oxc5f14040a9c50eca8...             Mint       15125812   268 days 15 hrs ago     O tankbottoms.eth c□       OUT     0 Ox9eb8a3...84854C91 c□        0 ETH     0.00184889


       @      Ox2d59384abd535feab...             Mint       15125808   268 days 15 hrs ago     O tankbottoms.eth c□       OUT     0 OxDBbBe2...82Ee4a04 L□        0 ETH     0.01205854


       @      Oxf076bd1 eel 718d94a...           Mint       15125808   268 days 15 hrs ago     O tankbottoms.eth   c□     OUT     0 Ox048aD6...4Ef68CC9 L□        0 ETH     0.00338359


       @      Ox105e95004f0f40a24...             Mint       15125804   268 days 15 hrs ago     O tankbottoms.eth c.,0     our     0 OxbC43f5...caAA94fa c.,0      0 ETH     0.00182464


       @      Ox69ab900cde50caa2 ...         General Mint   15125803   268 days 15 hrs ago     O tankbottoms.eth   c□     OUT     0 Ox3554f7...A5a5c833 L□        0 ETH     0.00138077


       @      Ox68d18f247672ec35e...             Mint       15125803   268 days 15 hrs ago     O tankbottoms.eth c□       OUT     0 Oxc50145...8F5b62BC L□        0 ETH     0.00139182


       @      Oxf236 7d6766e0f8d7 5...           Mint       15125802   268 days 15 hrs ago     O tankbottoms.eth [9       our     0 FCKGAS: FGAS Token [9         0 ETH     0.00154826


       @      Ox6cfd91783ad29433f..            BuyV2        15124078   268 days 21 hrs ago     O tankbottoms.eth c..□     OUT     0 Foundation: Market c..□       0.1 ETH   0.00261831


       @      Ox81 Oda637ceccceb86...            Mint       15123259   269 days 54 m ins ago   O tankbottoms.eth c□       OUT     0 OX64cF25...bC26e706 c□        0 ETH     0.00320397


       @      Oxe5b3bce89303c4f2b...             Mint       15123257   269 days 55 m ins ago   O tankbottoms.eth [9       OUT     0 OxFa9Ecc...065ac4B3 [9        0 ETH     0.00407919


       @      Oxa66cbb1 f8535b90e2...            Mint       15123255   269 days 55 m ins ago   O tankbottoms.eth   c..□   OUT     0 OxaeCc93...BC735599 c..O      0 ETH     0.00307861


       @      Ox904dd0bb6842d225...              Mint       15121917   269 days 5 hrs ago      O tankbottoms.eth [9       OUT     0 0x791377...COFd1575 c□        0 ETH     0.00283617

                                                                                                                                                                  PLAINTIFF0001087
https ://elherscan.io/txs?a=Ox5d95baEBBB412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=15                                                                                                     4/5
4/6/23, 4 :29 PM                       Case 1:23-cv-20727-RKA Document 106-30
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                                                                                               Information Elherscan 06/09/2023 Page 78 of

       (:1)    Txn Hash                         Method <:1) Block Age
                                                                                 401 From                           To                   Value                                                                                                        Txn Fee


       @       Oxe8a4ee526d0e39fde...                       Mint To Muftip...      15121914          269 days 5 hrs ago                 O tankbottoms.eth c□             OUT        0 Ox46667b ...c74A1 F75 L□                   0 ETH               0.00356714


       @       0Xd7e419b9af7b1 af47 ...                           Mint             15121895          269 days 5 hrs ago                 O tankbottoms.eth       c□       l,IU1      0 Ox791377...COFd1575 c□                     0 ETH               0.0039343


       @       Ox130ae975310956b6...                        Mint To Multip...      15121892          269 days 5 hrs ago                 O tankbottoms.eth c□             OllT       0 Ox46667b...c74A1F75 c□                     0 ETH               0.00442465


       @       Ox9d03184c94434bfdf...                       Batch Buy Wit._        15121838          269 days 6 hrs ago                 O tankbottoms.eth L□             OUT        It] Gem: GemSwap 2 L□                        0 ETH               0.01147497


       @       Ox7746de9d23e1 f4b3b...                         Approve             15121834          269 days 6 hrs ago                 O tankbottoms.eth c□             OUT        0 Wrapped Ether c□                           0 ETH               0.00117848


       @       Oxfd48ad1 a4995d78c1 ..                         Approve             15121768          269 days 6 hrs ago                 0   tankbottoms.eth L□           OUT        0 Wrapped Ether LO                           o ETH               0.00081285


       @       Ox4aff8ee14cc87c5d4...                        Plac-, Bid V2         15121227          269 days 8 hrs ago                 O tankbottoms.eth c9             OUT        0 Foundation: Market      c9                 0.45ETH             0.00217622


       @       Ox24989ae533e265c2...                            Set Text           15120170          269 days 12 hrs ago                O tankbottoms.eth c9             OllT       0 ENS: Public Resolver 2       cD            0 ETH               0.00129546


       @       Oxbe0d82b611 Obf0b42...                          Transfer           15119449          269 days 15 hrs ago                O tankbottoms.eth cD             0\/T       0 Ox3abF2A...00646f66 (9                     0 ETH               0.00046344


       @       Oxcc6fe05053b93512e...                           Cancel             15118947          269 days 16 hrs ago                O tankbottoms.eth       L□       OUT        0 Seaport 1.1 LO                             0 ETH               0.00162232


       @       Ox2ccf3b8f83f38e0c3f...                          Cancel             15118941          269 days 17 hrs ago                O tankbottoms.eth c□             001        0 Seaport 1.1 L□                             0 ETH               0.00139184


       @       Oxb949dafc89101 d7fc...                          Cancel             15117126          269 days 23 hrs ago                O tankbottoms.eth cD             OUT        0 Seaport 1. 1   LD                          0 ETH               0.00081663


       @       Oxd21 a5d96535cf947e...                          Cancel             15117126          269 days 23 hrs ago                O tankbottoms.eth cD             OUT        0 Seaport 1.1    cD                          0 ETH               0.00083411


       @       Oxf7e0d75d4e624cabb...                           Cancel             15117126          269 days 23 hrs ago                O tankbottoms.eth L□             OUT        0 Seaport 1.1 c9                             0 ETH               0.0012396


       @       Oxa3587 4dec4a0b3e1 ...                            Mint             15117126          269 days 23 hrs ago                O tankbottoms.eth       c□       OUT        0 Ox80A68E...6CA2ec2F (9                     0 ETH               0.00208046


       @       Oxaebfb12dOd1 a89038...                        BIJI/ Tickets        15117126          269 days 23 hrs ago                O tankbottoms.eth       cD       WT         0 Oxc6BAAc...7cF548A8          (9            OETH                0.00344454


       @       Ox40cce69a573f4aa60...                            Mint              15117126          269 days 23 hrs ago                O tankbottoms.eth       [.O      001        0 Ox9861 CO...E11613Ac L□                    0.01 ETH            0.00181051


      Show:     100        Records                                                                                                                                                                                      First    <   Page 15 of 25      >     Last



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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions i n our Knowl edge Base.




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htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=15                                                                                                                                                                                        5/5
4/6/23, 4 :29 PM                   Case 1:23-cv-20727-RKA Document 106-30
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                                                                              401
   Transactions
   For 0x5d95baEBB8412ADB27287240A5c281 E3b830d27E O                t¥1kbo1toms.eth




      A tot al of 2,407 transactions found                                                                                                                               First   <   Page 16 of 25   >   Last   '\{v



       0      Txn Hash                       Method0                  Block           Age                   From                                To                                   Value                 Txn Fee


       @      0xe41c072a94681b55 ...             Free Mint            15117126        269 days 23 hrs ago   () tankbottoms.eth    c..D   OUT    0 0xBCc3d1 ...01 eCc3d6 c..O         0 ETH                 0.00201696


       @      0    0x935a229e4c9ee8f46...           Mint              15117029        269 days 23 hrs ago   () ta nkbottoms.eth   c..O   OUT    0 0x64E3c0...8512701 D (P            0 ETH                 0.00072175


       @      0x7e7e57d4448c1 b69 ...             Appt'OVe            15116570        270 days 1 hr ago     O tankbottoms.eth c,0        OUT    0 Wrapped Ether c,0                  0 ETH                 0.00076625


       @      0x4b4bcd3f3ad9de133 ...              Cancel             15116543        270 days 1 hr ago     O ta nkbottoms.eth    cP     OlJT   0 Seaport 1.1 cP                     0 ETH                 0.00141502


       @      0x4726b101 b4d3cdbff..               Cancel             15115343        270 days 6 hrs ago    O ta nkbottoms.eth    cP     OUT    0 Sea port 1.1 cP                    0 ETH                 0.00148836


       @      0xa5e124aefc1 f47e00...              Cancel             15115334        270 days 6 hrs ago    () tankbottoms.eth    c..D   OUT    0 Seaport 1.1 c..O                   0 ETH                 0.00209058


       @      0xeb30e93bc1 d6da6cf...         Futf1II Basic Or...     15715269        270 days 6 hrs ago    O tankbottoms.eth cP         OUT    0 Seaport 1.1 cP                     0.105 ETH             0.00227814


       @      0xffa27d60ec6a772b2...               Cancel             15115105        270 days 7 hrs ago    O tankbottoms.eth cP         OUT    0 Seaport 1.1 cP                     0 ETH                 0.00161547


       @      0xb948cfa1046b094dd...               Cancel             15115099        270 days 7 hrs ago    O tankbottoms.eth c..D       OUT    0 Seaport 1.1 c..O                   0 ETH                 0.00195719


       @      0xa87eb212baa64ea0 ...               Cancel             15715090        270 days 7 hrs ago    O tankbottoms.eth cP         OUT    0 Seaport 1 1 cP                     0 ETH                 0.00171583


       @      0x940405994d3d621 2 ...             Transfer            15115069        270 days 7 hrs ago    () tankbottoms.eth    c,0    SELF   O tankbottoms.eth c,D                0 ETH                 0.00039312


       @      0x7dcb73c6d30b089e...               Transfer            15115015        270 days 7 hrs ago    O tankbottoms.eth c..O       SELF   O tankbottoms.eth c..D               0 ETH                 0.000315


       @      0x54 l ed0d107d3b58b ...            Transfer            15115015        270 days 7 hrs ago    O tankbonoms.eth c..O        SELF   O tankbonoms.eth Lo                  O ETH                 0.00032148


       @      0x0d5701 el 06f14fdbd...             Cancel             15114964        270 days 7 hrs ago    O ta nkbottoms.eth c,0       OUT    0 Seaport 1.1 c,0                    0 ETH                 0.00072812


       @      0x1f95dflcec9bc1013...              Transfer            15114964        270 days 7 hrs ago    () tankbottoms.eth    c..D   SELF   O tankbottoms.eth c,D                0 ETH                 0.00025984


       @      0x3cd9ce9d2e55a244...               Transfer            15114964        270 days 7 hrs ago    () tankbottoms.eth    c..O   SELF   O tankbottoms.eth c..D               0 ETH                 0.00025984


       @      0xl 062d89822c9f5183 ...            Transfer            15114964        270 days 7 hrs ago    Otankbottoms.eth c,D         SELF   Otankbottoms.eth c,D                 0 ETH                 0.00025984


                                                                                                                                                                                         PLAINTIFF0001089
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                                                                           401
       0     Txn Hash                    Melhod(v  Block Age               From                               To                  Value                                         Txn Fee


       @     Oxb06e8b998473459c...            Transfer          15114964    270 days 7 hrs ago    O ta nkbottoms.eth [,O     SELF   0   tankbottoms.eth [,O         0 ETH       0.00025984


       @     Oxa4e579f1 d8ee74ceb...          Transfer          15114964    270 days 7 hrs ago    () tankbottoms.eth cO      SELF   O tankbottoms.eth [,O           0 ETH       0.00025984


       @     Oxf2e11a36f316f96d2...         Public Sale         15114964    270 days 7 hrs ago    O tankbottoms.eth c□       OUT    0 Ox7d1A05...2a860ff1     [,O   0 ETH       0.00120238


       @     Oxc84 f1 ca2c041 b4c8d...        Transfer          15114964    270 days 7 hrs ago    O tankbottoms.eth cP       SELF   ◊ tankbottoms.eth c□            0 ETH       0.000252


       @     Ox412871486890bdc9...            Transfer          15114963    270 days 7 hrs ago    O tankbottoms.eth [,O      SELF   O tankbottoms.eth [,O           0 ETH       0 .000273


       @     Oxaab76395e8305efc6...         M int J pegs        15114686    270 days 8 hrs ago    O tankbottoms.eth cO       OUT    0 Oxc51869...0ceA892f cD        0 ETH       0.00067031


       @     Ox1 a103f592487ec3b5 ...           Mint            15114679    270 days 8 hrs ago    () tankbottoms.eth cD      OUT    0 OxCa885E...3A957324 c.O       0 ETH       0.0024915


       @     Oxa59f9a099bc6c24f3...             Mint            15114679    270 days 8 hrs ago    O tankbottoms.eth cP       01/T   0 OxCaB85E...3A957324 [,O       0 ETH       0.00252888


       @     Oxd203229bb41 cd545...             Mint            15114679    270 days 8 hrs ago    O tankbottoms.eth cD       OIJT   0 Ox797194...6ff84B80 [,O       0 ETH       0.0006694


       @     Oxf3c433fabc9e168efd ...           Mint            151 14672   270 days B hrs ago    O tankbottoms.eth c□       OUT    0 0xcAa8F7 ..DOB00353 (9        0 ETH       0.00098572


       @     Ox0Bf705dce222ae254...             Mint            15114669    270 days 8 hrs ago    () ta nkbottoms.eth e.,D   OUT    0 Ox2E8400 ..fC721Eff @         0.02 ETH    0.00083804


       @     Ox4d4f578532140533f...       Public Sale ML        15114567    270 days 9 hrs ago    0   ta nkbottoms.eth [,O   OIJT   0 Ox05062A...6Aed5782 [,O       0 ETH       0.00101 155


       @     Ox56633c27d2f389d83 ...            M int           15114567    270 days 9 hrs ago    O ta nkbottoms.eth cO      OIJT   0 Ox023CdD...dDD128C3 c.O       0 ETH       0.00134065


       @     Oxcb4c4840f62e1 ccfd ...           Mint            15114567    270 days 9 hrs ago    O tankbottoms.eth e.,0     OUT    0 RoboCosmic: RBC Token (9      0 ETH       0.00067319


       @     Oxc657f974e6ed373d1 ...            Mint            15114567    270 days 9 hrs ago    O tankbottoms.eth [,D      OUT    0 OxAa9207...C4c80B5d [,O       O ETH       0.00086007


       @     Oxe38769c7524ceb3a...          Mint J pegs         15114567    270 days 9 hrs ago    O tankbottoms.eth cO       OUT    0 Oxc51869...0ceA892f cP        0 ETH       0.00083244


       @     Oxb91bdd80762359e4 ...       Fulfill Basic Or...   15113475    270 days 13 hrs ago   O tankbottoms.eth e.,0     OUT    0 Seaport 1-1   c.□             0 87 ETH    0.001 17242


       @     Ox43e212658f29029fd ...           Cancel           15113425    270 days 13 hrs ago   () tankbottoms.eth e.,O    OUT    0 Sea port 1 1 c.O              0 ETH       0.000572


       @     Ox5b3bc3c94c4ac418 ...            Cancel           15113412    270 days 13 hrs ago   O tankbottoms.eth cO       OUT    0 Seaport 1 1 c.O               0 ETH       0.00077671


       @     Oxf6ddd83c639a4687f...            Cancel           15713404    270 days 13 hrs ago   O tankbottoms.eth cP       01/T   0 Seaport 1 1 cP                O ETH       0.00082951


       @     Ox551c6031 bf7916a76...           Cancel           15113395    270 days 13 hrs ago   O tankbottoms.eth e.,O     01/T   0 Seaport 1-1   c.□             0 ETH       0.00049106


       @     Oxdaedcl 0354e490dc ...      Mint To Mutt:ip._     15110001    271 days 2 hrs ago    O tankbottoms.eth cP       01/T   0 OxcFFB4f...FAea1324 @         0 ETH       0.00142962

                                                                                                                                                                        PLAINTIFF0001090
https://etherscan.io/txs?a=Ox5d95baEBBB412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=16                                                                                                           2/5
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       CD    Txn Hash                             Block Age                From                               To                  Value                                         Txn Fee


       @     Ox2713962994bc7ced ...           Mint         15109920    271 days 2 hrs ago    O ta nkbottoms.eth [,O        OUT    0 OxCfFC2d...e1 OD6440 [.O        0 ETH       0.00259861


       @     Oxbffb6679a685a8541 ...          Mint         15109785    271 days 2 hrs ago    () tankbottoms.eth     cO     OUT    0 OxE78339...0A8E0099      [,O    0 ETH       0.00356487


       @     Ox65447911a42f97f4b...          Claim         15109485    271 days 3 hrs ago    O tankbottoms.eth c□          OUT    0 Oxb6728b...C4bdB736 c□          0.002 ETH   0.00224896


       @     Ox9c23569fde97964d6...          Claim         15109485    271 days 3 hrs ago    ◊ tankbottoms.eth      cP     OlfT   0 Oxb6728b...C4bdB736 c□          0.002 ETH   0.00206018


       @     Oxcd12e229aeb067ee...           Claim         15109485    271 days 3 hrs ago    O tankbottoms.eth [,O         OUT    ® Oxb6728b ...C4bdB736 LO         0.002 ETH   0.00209774


       @     Oxd00fba176fdf688e3...          Claim         15109438    271 days 4 hrs ago    O tankbottoms.eth cO          OUT    0 Oxb6728b ...C4bdB736 c□         0.002 ETH   0.00157361


       @     Ox3066987f0d32fb4b0...          Cancel        15108900    271 days 6 hrs ago    () tankbottoms.eth     cO     OlfT   0 Seaport 1.1 cP                  0 ETH       0.00096487


       @     Ox053157efc05ac<l971 ...         Mint         15104841    271 days 21 hrs ago   O tankbottoms.eth cP          OITT   0 Ox4aeF37...fF12Ba58     cP      0 ETH       0.00249988


       @     Oxdb0fdd3a50c4ec2ba ...          Mint         15104840    271 days 21 hrs ago   ◊ tankbottoms.eth      cO     01/T   0 Ox5e6E60...62ba6646 c□          0 ETH       0.00197032


       @     Oxa7351e51 fe85547d5 . .      MintElom        15104839    271 days 21 hrs ago   O tankbottoms.eth c□          OUT    0 Ox78B1DL642b380A [9             0 ETH       0.00162372


       @     Ox0a8738d 18ba0f8106...       Public Mint     15104836    271 days 21 hrs ago   () ta nkbottoms.eth    e.,0   OUT    0 Ox6569fO...DOf8a43d c□          0 ETH       0.00264887


       @     Oxc6987ea1 be7bc601...           Mint         1 5104835   271 days 21 hrs ago   0   ta nkbottoms.eth   [,O    OUT    0 0xc<lDF61...de19FaFa    [,O     0 ETH       0.0030958


       @     Ox9f7a84f678e23d437...         Set Text       15103721    272 days 1 hr ago     O ta nkbottoms.eth     e.,O   OUT    0 ENS; Public Resolver 2 e.,O     0 ETH       0.00298215


       @     Oxf9c7cebdl b0365425 ...    Set Ens Name...   15103721    272 days 1 hr ago     O tankbottoms.eth e.,0        OUT    0 OxE3c01 L 8EF9FfB6 @            0 ETH       0.00539832


       @     Ox696b60f4c8d80ff37 ...        SetAddr        15103693    272 days 1 hr ago     O ta nkbottoms.eth [,O        OUT    0 ENS; Public Resolver 2   c:9    O ETH       0.00225957


       @     Oxd55ebc72224ebec7...          Transfer       15103688    272 days 1 hr ago     O tankbottoms.eth e.,O        OUT    0 OxA97d77...84169C8F      e.,O   O.D1 ETH    0.0060326


       @     0Xd5e3f580db4801 eOa ...    Set Subnode ·-    15103662    272 days 1 hr ago     O ta nkbottoms.eth e.,0       OUT    0 ENS: Registry with Fall... cP   0 ETH       0.00241101


       @     Oxfbfd3ee86dabd6111 ..         Approve        15102634    272 days 5 hrs ago    () tankbottoms.eth     e.,O   OUT    0 Wrapped Ether c□                0 ETH       0.00238906


       @     Oxaa78b4d7cf4f562b0 ...          Mint         15093805    273 days 14 hrs ago   O tankbottoms.eth e.,O        OUT    0 Ox85bdA4...52Ad9595      e.,O   0 ETH       0.00099776


       @     Ox82b672761 f2b7eb2f...          Mint         15093794    273 days 14 hrs ago   O tankbottoms.eth cP          OlfT   0 Ox8751 f3 ...Fc404459   cP      O ETH       0.00085508


       @     Ox12b387eb0a977239 ...           Mint         15093791    273 days 14 hrs ago   O tankbottoms.eth c□          OUT    0 Ox4fa62E...6B5Ceb85 c□          0 ETH       0.00117826


       @     Oxf992372778b67789 ...           Mint         15093290    273 days 15 hrs ago   O tankbottoms.eth cP          OITT   0 Ox4eDcD9...34d739A6      e.,O   0 ETH       0.0126525

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https://elherscan.io/txs?a=Ox5d95baEBBB412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=16                                                                                                          3/5
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              Txn Hash                    Method CD Block Age
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       CD


       @      Oxc678021912f3fcf56...             Mint         15093288    273 days 15 hrs ago    O tankbottoms.eth c..O      OUT    0 Ox2aF4B7...eF3c48C6 c..O           0 ETH             0.00083804


       @      Ox225b704acedbe444...            Transfer       15089894    274 days 4 hrs ago     () meowsdao.eth c..O         IN    O tankbottoms.eth c..O               0.75 ETH          0.00102189


       @      Ox68eb023bd9c5a593f...       Exec Transact-     15087843    274 days 12 hrs ago    O ta nkbottoms.eth c..O     OUT    0 Ox971 B45...a814FD96 c..O          0 ETH             0.00060248


       @      Ox1 c06291 b286fd7925 ...    Exec TransacL      15087 833   274 days 12 hrs ago    ◊ tankbottoms.eth     cP    OlfT   0 Ox971 B45... a814FD96 @            0 ETH             0.00082126


       @      Ox4411 eb2d1 al c1f42d ...   Register W~h ...   15084430    275 days 1 hr ago      O tankbottoms.eth c..D      OUT    ® ENS: ETH Registrar Co...    c..D   0.014622158 ETH   0.00735252


       @      Oxa9b3a316e48d1232...            Commit         15084413    275 days 1 hr ago      O tankbottoms.eth c..D      OUT    0 ENS: ETH Registrar Co... c..D      0 ETH             0.00749694


       @      Ox7cf1 e7290eff0b6e6...            Mint         15080746    275 days 14 hrs ago    () tankbottoms.eth c..O     OlfT   0 OxBOeEa5 ...588464A9 @             0 ETH             0.00109485


       @      Ox3716fcc15f80cc4e0 ...            Mint         1 5080746   275 days 14 hrs ago    O tankbottoms.eth cP        OITT   0 Ox36036e...98D92d55 @              0 ETH             0.0013625


       @      Ox41712ac04ae2d701 ...          Mint Fr~        15080738    275 days 14 hrs ago    ◊ tankbottoms.eth c..O      OUT    0 Oxed82fB...449AD387 @              0 ETH             0.00131651


       @      Oxd009bc2926a2a943 ...             Mint         15080733    275 days 14 hrs ago    O tankbottoms.eth c..O      OUT    0 OxCD823F... 8BC729A1 c..O          0 ETH             0.00127537


       @      Ox2c3b3b93e63b9c47 ...             Mint         15080733    275 days 14 hrs ago    () ta nkbottoms.eth c..O    OUT    0 Ox167a18...0808d0Ae cP             0 ETH             0.00115695


       @      Oxcd74c274ec99bb3af...             Mint         15074260    276 days 14 hrs ago    0   ta nkbottoms.eth c..O   OUT    0 Ox52A06E...e8dBa8d2 (9             0 ETH             0.00150918


       @      Oxf4e8624c077d03084...             Mint         15074252    276 days 14 hrs ago    O ta nkbottoms.eth c..O     OUT    0 Ox0Ea3ae...BCD80E68 c..O           0 ETH             0.00157229


       @      Ox54b 4fdc8c2f 9dcbc3 ...      Mint Human       15074252    276 days 14 hrs ago    O tankbottoms.eth c..O      OUT    0 Ox929F19-..637F8EA4 c..O           0 ETH             0.00150988


       @      Ox7971 Oaeae2e32e00 ...      Mint To Muh:ip,~   15074250    276 days 14 hrs ago    O ta nkbottoms.eth c..O     OUT    0 Ox906D3c...24E11 Dee t,O           0 ETH             0.0017596


       @      Ox4387fe0cb55ed371 f...            Mint         15074249    276 days 14 hrs ago    O tankbottoms.eth c..O      OUT    0 Oxccb497...D6BF4F89 c..O           0 ETH             0.00200897


       @      Ox202601397a64c4af3...          Free Bird       15074249    276 days 14 hrs ago    O ta nkbottoms.eth c..O     OUT    0 Ox849c7a . 262A21 OE c..O          0 ETH             0.00196089


       @      Ox9f7cfa4d b84ae04c0 ...           Mint         15074247    276 days 14 hrs ago    ( ) tankbottoms.eth c..O    OUT    0 0x0616a3 ..9033F107 c..O           0 ETH             0.00268299


       @      0Xbd3849c95ebf4b0bd...       Exec Transact._    15066377    277 days 19 hrs ago    O tankbottoms.eth c..O      OUT    0 Ox02427c... 135569B2 c9            0 ETH             0.0010987


       @      Oxde59c009f242cab29...       Set Metadata ...   15066310    277 days 19 hrs ago    O tankbottoms.eth c9        OUT    0 Ox08B435...ddBc47d3 [9             O ETH             0.00031001


       @      Ox6ada28163086f1524...       Set Metadata ...   15065105    278 days 31 mins ago   O tankbottoms.eth c..O      OUT    0 Ox08B435...ddBc47d3 c..O           0 ETH             0.00062502


       @      OX01 e6a45d63e2a698 ...      Set Metadata ,..   15065103    278 days 33 mins ago   O tankbottoms.eth c9        OITT   0 Ox08B435...ddBc47d3 [9             0 ETH             0.00052254

                                                                                                                                                                             PLAINTIFF0001092
https://etherscan.io/txs?a=Ox5d95baEBBB412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 16                                                                                                                    4/5
4/6/23, 4 :29 PM                       Case 1:23-cv-20727-RKA Document 106-30
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                                                                                  Transactionson  FLSDIDocket
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                                                                                401
       0       Txn Hash                        M ethod(!) Block A ge            From                              To                  Value                                                                                                              Txn Fee


       @       Oxaf1 dbf06123abf635...                      Claim For          15065081          278 days 38 mins ago            O ta nkbottoms.eth [,O               OUT       0 OxCBB8e1 ...8995f371 (9                      0 ETH                     0.00049041


       @       Oxffc17b20072dcfcb2e...                         Mint            15064290          278 days 3 hrs ago              () tankbottoms.eth cD                OIIT      0 Oxd66Eb3...fDD74213 [.O                      0 ETH                     0.00377398


       @       Oxa1a19bfa24f6a4fa3...                     Cancel Order_        15057536          279 days 4 hrs ago              O ta nkbottoms.eth c□                OITT      0 OpenSea: Wyvern Exch...        cO            0 ETH                     0.0058839


       @       Ox26c90ad4c67ddd7a ...                        Transfer          15056027          279 days 10 hrs ago             O service-provider.eth c□             IN       ◊ tankbottoms.eth c□                           1.5 ETH                   0.00027388


       @       Oxbed742ec923317b5 ...                          Mint            15055815          279 days 10 hrs ago             O tankbottoms.eth [,D                01/T      ® Oxa08E3E...3876A7Eb [.D                      0 ETH                     0 .00124305


       @       Oxfdb8e59660ef34042 ...                         Mint            15055812          279 days 10 hrs ago             O tankbottoms.eth cD                 01/T      0 OxDCA72a...442F2b2a LD                       0 ETH                     0.00684056


       @       Ox5ab965a7f96a7a005...                          Mint            15055811          279 days 10 hrs ago             () tankbottoms.eth cD                OIIT      0 OxDe0773...055bdCC1 Lo                       0 ETH                     0.00111469


       @       Oxc7cce5efd3b6c1367 ...                         Mint            15055805          279 days 11 hrs ago             O ta nkbottoms.eth c9                OITT      0 Mojis: $mojis Token cO                       0.000000084 ETH           0.02101293


       @       Ox853dbbb712fde230c...                          Mint            15055800          279 days 11 hrs ago             O tankbottoms.eth c□                 OIJT      0 Ox9886B9...50541be8 LO                       0 ETH                     0.00194832


       @       Oxf9293f1Ofacce335ec...                         Mint            15055799          279 days 11 hrs ago             O tankbottoms.eth c□                 OUT       0 Ox7ea150...2424c53D c□                       0 ETH                     0.00252939


       @       Ox93671ab398135f82f...                     Makin Gnome          15055797          279 days 11 hrs ago             () tankbottoms.eth [,D               OUT       0 Ox1336Fe...91caEb43 [,O                      0 ETH                     0.003744


       @       Ox432e2ec1 a5947fb37 ...                        Mint            15055797          279 days 11 hrs ago             0   ta nkbottoms.eth [,O             01/T      0 Ox7164d7...e45d688D [,O                      0 ETH                     0.00292763


       @       Ox80672942bf6a826d ...                    Futfill Basic Or...   15055781          279 days 11 hrs ago             O ta nkbottoms.eth cD                01/T      0 Seaport 1.1 cO                               0,015 ETH                 0.0029922


       @       Ox1ddc91ad8c712d3c...                      Atomic Match_        15055768          279 days 11 hrs ago             O ta nkbottoms.eth c.O               01/T      0 OpenSea: Wyvern Exch...        c.0           0.075 ETH                 0.00337315


       @       Ox8ca0c1205c9fe7af5...                     Traoofer From        15054486          279 days 15 hrs ago             O tankbottoms.eth [,D                OUT       0 Oxd72EB6...1 D45d4a8 [,O                     O ETH                     0.00179681


       @       Ox408b0526f3791 cda4...                         Mint            15054447          279 days 15 hrs ago             O ta nkbottoms.eth cD                OIJT      0 Oxd72EB6...1 D45d4a8 cO                      1 ETH                     0.00137681


       @       Oxf97d0a582b4a81502...                          Mint            15054443          279 days 15 hrs ago             O tankbottoms.eth c.O                OUT       0 Oxd72EB6... 1D45d4a8 c.O                     1 ETH                     0.00162125



      Show:     100        Records                                                                                                                                                                                     First     <       Page 16 of 25    >     Last



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   ;Q, A t ransaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowl edge Base.




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      A total of 2,407 transactions found                                                                                                                        Rrst     <   Page 17 of 25   >   Last   '\{v



       0      Txn Hash                      Method0             Block      Age                    From                               To                                       Value                 Txn Fee


       @      Oxafcfee594e840360b...            Mint Base       15052862   279 days 22 hrs ago    () tankbottoms.eth [.,O     OUT    0 Ox01BaF7...E4c6CEBE (9                 0 ETH                 0.00707137


       @      Ox6ce503295260844 l ..              Mint          15052671   279 days 22 hrs ago    () tankbottoms.et h [.,O    OUl    0 Ox5f809e...558c7fbd [.,O               0 ETH                 0.00238015


       @      Oxe04e02e4b79cfdl 73 ...            Mint          15052668   279 days 22 hrs ago    O tankbottoms.eth c:9       OVT    0 Ox8d4f0b...C340C3b3 (9                 0 ETH                 0.00311674


       @      Oxl 1Oa59cfl ef46c850 ...      Set Metadata ,_    15052122   280 days 50 mins ago   O tankbottoms.eth    c9     OVT    0 OxD8B435...ddBc47d3 (9                 0 ETH                 0.00162474


       @      Oxba47f2c8c3b17943a ...           Set Owner       15051907   280 days 1 hr ago      O tankbottoms.eth    [.,O   OUT    0 ENS: Registry with Fall..   [.,O       0 ETH                 0.00718512


       @      Ox07ac04a 762765dbe...         Safe Transfer __   15051902   280 days 1 hr ago      () tankbottoms.eth [.,O     OUT    0 ENS: Base Registrar Im__ [.,O          0 ETH                 0.00298144


       @      Ox3bfe7654837024227...            SetAddr         15051897   280 days 1 hr ago      () tankbottoms.eth   c9     OVT    0 ENS: Public Resolver 2 c9              0 ETH                 0.0022006


       @      Ox6692a846a062ad0f4...            Transfer        15051864   280 days 1 hr ago      O tankbottoms.eth [.,O      OVT    Ox06BC1 B...8297c465 [..O                0.125 ETH             0.00120248


       @      Ox7d2594ea226c 782f9 ...       Register With __   15051725   280 days 2 hrs ago     O tankbottoms.eth    [.,O   O\il   0 ENS: ETH Registrar Co...    [.,O       0.005305442 ETH       0.00986848


       @      Ox4cf75088aab50a83a ...            Commit         15050866   280 days 5 hrs ago     () tankbottoms.eth   c9     OVT    0 ENS: ETH Registrar Co... c9            O ETH                 0.00168562


       @      Ox27bb8baad834fb2e9 ...         Place Bid V2      15049891   280 days 10 hrs ago    O tankbottoms.eth c9        OVT    0 Foundation: Market c9                  0.2 ETH               0.00362357


       @      Oxl 07f0dd4064fc8022...             Mint          15049650   280 days 11 hrs ago    Otankbottoms.eth [.,O       OVl    0 DxBC6f8c...2F987829 (9                 1 ETH                 0.00827721


       @      Oxfd7c866ff9f1237f65...         UX9a2b81I5        15049489   280 days 11 hrs ago    O tankbonoms.eth c.,D       OUl    0    Gem: GemSwap 2   l9                 0.0187 ETH            0.0304509


       @      Ox6cef482c9056b7d89...              Mint          15049431   280 days 12 hrs ago    O tankbottoms.eth [.,O      OVT    0 Oxl 636aA...513eA1 EC (9               O ETH                 0.00400814


       @      Oxb294a4d8ac003028 ...              Mint          15049430   280 days 12 hrs ago    O tankbottoms.et h [.,O     OVT    0 Ox066894...d174Cl C2 L□                0.0087 ETH            0.00516084


       @      Ox44010887ed9bf1031 ...             Mint          15049426   280 days 12 hrs ago    () tankbottoms.eth c.,0     OVl    0 Dxa08E3E...3876A7Eb c.,0               0 ETH                 0.00290674


       @      Ox7d162eff7e610457a...           Public Mint      15049412   280 days 12 hrs ago    0 tankbottoms.eth [.,O      001    0 Ox27b528... 89EOf86A [.,O              0 ETH                 0.00361207


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https://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 17                                                                                                                             1/5
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       @     Ox7ea33b2c11378a8ff...             M int          15049354   280 days 12 hrs ago   O tankbottoms.eth   L□   OOJ   0 Oxa08E3E... 3876A7Eb r9    O ETH       0.00273252


       @     Oxac71 f90789c6e6414 ...       0x80813aac         15049354   280 days 12 hrs ago   O tankbottoms.eth   L□   OOJ   0 Ox35cDDe...62a1FE6e L□     0 ETH       0.02142973


       @     Ox95e53c429e4a617d...              M int          15049354   280 days 12 hrs ago   Otankbottoms.eth L□      OU1   0 Ox8a9fc2...46805471   Lo   0 ETH       0.00300353


       @     Ox43e02700584abdac...           FRE Emint         15049354   280 days 12 hrs ago   O tankbottoms.eth L□     001   0 Ox86e438...D77f4398 L□     0 ETH       0.00227264


       @     Ox90031c0133c91964 ...             Mint           15049354   280 days 12 hrs ago   Otankbottoms.eth L□      OU1   0 Ox43c3f6...Be657988 L□     0 ETH       0.00309422


       @     Ox4fda5057e73084278 ...            M int          15049278   280 days 12 hrs ago   Otankbottoms.eth r9      OU1   0 Ox6cOB03 ..8b62ac18 r9     0 ETH       0.0018549


       @     Oxcc1 Off401151268ea...        Public Mint        15049275   280 days 12 hrs ago   () tankbottoms.eth L□    OU1   0 Ox27b528 ..89EOfB6A (9     0 ETH       0.00227047


       @     Ox107a15e0567a3b58 ...             M int          15049078   280 days 13 hrs ago   ◊ tankbottoms.eth   c9   OU1   0 Ox79fEb9 ...4C3F44E8 (9    0 ETH       0.00493775


       @     Ox8ccc4387d27986a2...              Mint           15049061   280 days 13 hrs ago   O tankbottoms.eth   L□   OU1   0 Ox574499...c0d34Ac7 La     0 ETH       0.00386766


       @     Oxcb98e4811 f25ad619 ...        Free Mint         15048533   280 days 16 hrs ago   O tankbottoms.eth   L□   OOJ   0 Ox33e4Fb...COF9D5cA L□     0 ETH       0.00352649


       @     Ox2f6acabde92a96336...       M int To Multip...   15048527   280 days 16 hrs ago   () tankbottoms.eth L□    OOJ   0 Ox947Aa7...28b009a7 LO     0 ETH       0.00227381


       @     Oxf564bc3506be72f94...             Mint           15048475   280 days 16 hrs ago   0   tankbottoms.eth L□   OU1   0 Ox906eF8...65d26367 L□     0 ETH       0.00315181


       @     Ox6ff2532cbfbd7161 c ...       Place Sid V2       15048449   280 days 16 hrs ago   Otankbottoms.eth L□      OU1   0 Foundation: Market r9      0.22 ETH    0.00165613


       @     Ox63cfd2c500f2e75a6...         Place Sid V2       15048429   280 days 16 hrs ago   Otankbottoms.eth L□      001   0 Foundation: Market c9      0.25 ETH    0.00255055


       @     Ox645bf15dbbb4a721 e...      Set Approva I ...    15047766   280 days 19 hrs ago   O tankbottoms.eth (9     OUl   0 OxBOclff...eDd523D8 L□     O ETH       0.00209785


       @     Oxf0aa694b9b74d2ff3...          FRE Emlnt         15047113   280 days 22 hrs ago   () tankbottoms.eth L□    OUl   0 Ox86e438...D77f4398 La     O ETH       0.00761252


       @     Ox6fb5540e19708d216...          Free Mint         15046907   280 days 23 hrs ago   O tankbottoms.eth c9     001   0 Ox71e8dC.•. C20FA315 LD    0 ETH       0.00845999


       @     Ox2a0d9fe0c3dc5732a...             M int          15046903   280 days 23 hrs ago   () tankbottoms.eth L□    OUl   0 Ox1 2889c... 54Fd6BE2 La   0 ETH       0.00765333


       @     Ox3b054b1 b9429cd23...         Mint Candle        15046901   280 days 23 hrs ago   () tankbottoms.eth L□    OOJ   0 Ox463d56...ele49af2 r9     0 ETH       0.01578206


       @     Ox86203b2fa1 bc83689...            M int          15046886   280 days 23 hrs ago   O tankbottoms.eth (9     OU1   0 Ox80clff...eDd523D8 (9     0.01 ETH    0.00643028


       @     OxOe3ac4383293769df...             M int          15046868   280 days 23 hrs ago   O tankbottoms.eth   L□   OUl   0 Ox8d133C...971C96f4 L□     0 ETH       0.00663669


       @     Oxe2ff3ffaba6b9fddc2...            M int          15046864   280 days 23 hrs ago   Otankbottom s.eth (9     OOl   0 Ox484f5B...292cF4Fc r9     O ETH       0.00529909

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https://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=17                                                                                                  2/5
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       @     Ox428884d68b414d0d ...                M int          15046860    280 days 23 hrs ago    O tankbottoms.eth   L□   OOJ    0 Ox6c0B03... Bb62ac1B   (9   O ETH       0.00622549


       @     Ox82f47ea752b44909c ...         Buy Universes...     15046855    280 days 23 hrs ago    O tankbottoms.eth   L□   OOJ    0 Ox063D4D...24B3cb01 L□      O ETH       0.00565204


       @     Ox47 5ebf69dcfc3992a ...              M int          15046716    281 days 13 mins ago   ◊ tankbottoms.eth L□     OUl    0 DxBOc1ff...eDd523D8 L□      0.005 ETH   0.01403479


       @     Ox35373ff45d61 4f23a ...        Fulfill Basic Or.~   15045857    281 days 4 hrs ago     O tankbottoms.eth L□     001    0 Seaport 1.1 L□              0.777 ETH   0.00820759


       @     Ox84a917c5b1dd132f0 ...         Fulfill Basic Or.•   15045816    281 days 4 hrs ago     Otankbottoms.eth L□      OUl    0   Seaport 1.1 L□            0.18 ETH    0.01388823


       @     Oxc2ed0ce4837514cee ...         Safe Transfer ·-     15045778    281 days 4 hrs ago     Otankbottoms.eth (9      OUl    0 Nyan Cat: NYAN Token (9     0 ETH       0.00437726


       @     Ox059fe1 fl aa802f2a2...        Reconfigure F.-      15044452    281 days 10 hrs ago    () tankbottoms.eth L□    OUl    0 Ox4e3efB...BF651351 (9      0 ETH       0.00914875


       @     Ox6e3e2f49f74a5f3fd9...         Set Approva I ...    15042420    281 days 19 hrs ago    ◊ tankbottoms.eth   r9   Ol/1   0 Ox885525... 3EFD05c5 (9     0 ETH       0.00150714


       @     Ox97b455264136fbd5...           Set Approva I ...    15042417    281 days 19 hrs ago    O tankbottoms.eth   L□   OUl    0 Ox6D0065...07200c0b LD      0 ETH       0.00127818


       @     Ox94035ef99e417f796...                M int          15041658    281 days 23 hrs ago    O tankbottoms.eth   L□   OOJ    0 OxBB5525...3EF005c5 L□      0.6 ETH     0.016861 43


       @     Oxfea3e8ee86a47ee82 ...           Mint Presale       15040821    282 days 2 hrs ago     () tankbottoms.eth c□    OOJ    0 Ox6D0065...07200c0b LD      0.088 ETH   0.00373953


       @     Ox2a4ceffff8b7661 Oda ...       Settle Current ...   15032297    283 days 17 hrs ago    0   tankbottoms.eth L□   OUl    0 Ox55eOF7...0Ad3219E LD      0 ETH       0.01069858


       @     Oxelc98b0521f99del 9...            Create Bid        15032267    283 days 17 hrs ago    Otankbottoms.eth LD      OUl    0 Ox55eOF7...0Ad3219E LD      0.36 ETH    0.00151455


       @     0     Ox81 b3a3ddf8ae0b9b7 ..      Create Bid        15032255    283 days 17 hrs ago    Otankbottoms.eth r9      001    0 Ox55eOF7--0Ad32 19E (9      0.04 ETH    0.00107876


       @     Ox376fc2dcbddeed965...             Create Bid        15032220    283 days 17 hrs ago    O tankbottoms.eth (9     Ol/1   0 DX55eOF7...0Ad3219E LD      0.01 ETH    0.00295081


       @     Oxfa212be170945e9Bf...          Settle Current ...   15032207    283 days 17 hrs ago    () tankbottoms.eth LD    Ol/1   0 Ox55e0F7...0Ad3219E LD      O ETH       0.01035199


       @     Oxf2e94a39254286358...             Create Bid        15032128    283 days 17 hrs ago    O tankbottoms.eth r9     001    0 Dx55eOF7...0Ad3219E c□      0.34 ETH    0.0044101


       @     Ox87c1 68fa689a 77ef1 ...          Create Bid        15032126    283 days 17 hrs ago    () tankbottoms.eth c□    001    0 Ox55eOF7...DAd3219E c□      0.3 ETH     0.00356381


       @     0     Ox45ae12b9b75a971 a ...      Create Bid        15032113    283 days 17 hrs ago    () tankbottoms.eth L□    OUl    0 Dx55eOF7...0Ad3219E LD      0.16 ETH    0.00233738


       @     Oxd764a46d3blcea02...              Create Bid        15032105    283 days 17 hrs ago    O tankbottoms.eth (9     OUl    0 Dx55eOF7...0Ad3219E LD      0.01 ETH    0.00388797


       @     Oxece2be36ac7727ab...           Fulfill Basic Or._   15030177    284 days 2 hrs ago     O tankbottoms.eth   c□   OUT    0 Seaport 1.1 c□              1.69 ETH    0.0071 4918


       @     Oxl cal 02237dad99a4 ...          Ox7foe869b         1 5029853   284 days 4 hrs ago     Otankbottoms.eth (9      OUl    0 Ox479dd3...b3267081 (9      O ETH       0.00213447

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      @     Oxb8eb711e64e11fa5e...      Reconfigure F.~     15029422   284 days 6 hrs ago    O tankbottoms.eth    L□   OOJ    0 Ox4e3ef8...8F651351   L□        O ETH        0.01055996


      @     Oxoeb6db408fa2827d0...      Set !,1etadata ,_   15029420   284 days 6 hrs ago    O tankbottoms.eth    L□   OOJ    0 OxD8B435...ddBc47d3 L□          O ETH        0.0010357


      @     Oxeb4029bda13b58f9a...            Pay           15029157   284 days 7 hrs ago    Otankbottoms.eth L□       OUl    0 Ox7Ae63F.. .483b8397 LD         0.069 ETH    0.00675389


      @     CD Oxa45056caebcda4d3...       Create Bid       15027857   284 days 13 hrs ago   O tankbottoms.eth L□      001    0 Ox55e0F7...0Ad3219E L□          0.29 ETH     0.00078635


      @     Oxd57f6db4644308b0...         Place Bid V2      15027608   284 days 14 hrs ago   O tankbottoms.eth L□      OUl    0 Foundation: Market LD           0.11 ETH     0.00142137


      @     Ox9924a9682551877d ...        Place Bid V2      15027607   284 days 14 hrs ago   O tankbottoms.eth c9      OUl    0 Foundation: Market LD           0.11 ETH     0.00132373


      @     Ox9d43c41 e4c42c723 ...      Atomic Match...    15027402   284 days 15 hrs ago   () tankbottoms.eth L□     OUl    0 OpenSea: Wyvern Exch... c9      2.5 ETH      0.00479182


      @     Oxb61a8615e9a28086 ...         Create Bid       15026491   284 days 19 hrs ago   ◊ tankbottoms.eth    c9   Ol/1   0 Ox55eOF7...0Ad3219E (9          0.11 ETH     0.00198773


      @     Ox448b89b0dd2daa4e...       Set Metadata ·-     15026452   284 days 19 hrs ago   O tankbottoms.eth    L□   OUl    0 OxD8B435...ddBc47d3 LD          0 ETH        0.00080705


      @     Ox0e0492ec2ecdd87a ...      Deploy Projec,_     15026230   284 days 20 hrs ago   O tankbottoms.eth    L□   OOJ    0 Ox9E84bE...D7468ABc L□          0 ETH        0.04074402


      @     Oxbfd20c307d1 ed2824...           Pay           15024356   285 days 4 hrs ago    () tankbottoms.eth L□     OOJ    0 Ox7Ae63F.. .483b8397 LD         0.5 ETH      0.01179668


      @     Ox8e0ebfaf872f00081 ...        Create Bid       15023958   285 days 6 hrs ago    0   tankbottoms.eth L□    OUl    0 Ox55eOF7...0Ad3219E LD          0.37 ETH     0.00335575


      @     Oxfdc065e4404a6276b...       Transfer From      15023867   285 days 7 hrs ago    O tankbottoms.eth LD      OUl    0 U INoun: LILNOUN Token LD       0 ETH        0.00404668


      @     CD Oxab5aa674fc7ec7b2a...      Create Bid       15023771   285 days 7 hrs ago    O tankbottoms.eth c9      001    0 Ox55eOF7.-0Ad3219E (9           0.37 ETH     0.00135961


      @     Ox68ae4a8f45b5fabd4...         Create Bid       15023769   285 days 7 hrs ago    O tankbottoms.eth (9      OUl    0 OX55eOF7...0Ad3219E LD          0.37 ETH     0.00162692


      @     Ox3f2edcfa94e82a771 ...        Create Bid       15023765   285 days 7 hrs ago    () tankbottoms.eth   LD   Ol/1   0 Ox55e0F7...0Ad3219E LD          0.35 ETH     0.00176067


      @     Ox6a929f00c19feb7c9 ...        Create Bid       15023757   285 days 7 hrs ago    () tankbottoms.eth   c9   001    0 Ox55eOF7...0Ad3219E LD          0.1 1 ETH    0.00175955


      @     Oxbe634688cadf8e5a0...         Create Bid       15023732   285 days 7 hrs ago    () tankbottoms.eth L□     OUl    0 Ox55eOF7...0Ad3219E LD          0.02 ETH     0.00300461


      @     Ox81cdbcfea854f405e ...      Atomic Match..     15016652   286 days 15 hrs ago   () tankbottoms.eth L□     OUl    0 OpenSea: Wyvern Exch...    L□   3 ETH        0.00483361


      @     Ox76a4e49b2d1 bOeac...      Distribute Res.-    15016398   286 days 16 hrs ago   O tankbottoms.eth (9      OUl    0 Ox4e3ef8...8F651351 LD          O ETH        0.00466011


      @     Ox9960704e5ad0b209 ...      Distribute Res__    15016389   286 days 16 hrs ago   O tankbottoms.eth L□      OUT    0 Ox4e3ef8...8F651351   L□        0 ETH        0.0D775109


      @     Oxb3443f6b868697f68...      Distribute Pay__    15016386   286 days 16 hrs ago   O tankbottoms.eth (9      OUl    0 Ox7Ae63F...483b8397 LD          O ETH        0.00847114

                                                                                                                                                                     PLAINTIFF0001097
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=17                                                                                                       4/5
4/6/23, 4 :30 PM                       Case 1:23-cv-20727-RKA Document 106-30
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                                                                                                Information Elherscan 06/09/2023 Page 88 of
                                                                                  401
       CD      Txn Hash                        Method(v   Block Age                From                           To                  Value                                                                                                          Txn Fee


       @       Oxbba46ea46a878658...                         Claim For          15016383          286 days 16 hrs ago              O tankbottoms.eth      L□        OVJ       0 OxCBB8e1 ...8995f371 (9                   0 ETH                      0.00148698


       @       Oxc407d1 acd321 f9832 ...                         Pay            15016377          286 days 16 hrs ago              O tankbottoms.eth L□             Ol1l      0 Ox7Ae63F.. .483b8397 L□                   0.069 ETH                  0.00447731


       @       Ox7a954b222302ee31 ...                       Ox54<?d778b         15013704          287 days 4 hrs ago               Otankbottoms.eth L□              Ol/l      0 Ox689Bba...cF307f5F L□                    0 ETH                      0.00873784


       @       Ox3d30bf12490fb8612...                            Pay            15010104          287 days 20 hrs ago              O tankbottoms.eth L□             001       0 Ox7Ae63F. ..483b8397 L□                   0.5 ETH                    0.0033971


       @       Oxe39eb18f4c8345555 ...                          M int           15008164          288 days 5 hrs ago               O tankbottoms.eth L□             Ol/l      0   Ox8AE552...07aEC1 C4       c9           0 ETH                      0.0076641


       @       Ox7ff02fe8a59c01 Oe7...                        Transfer          15005637          288 days 16 hrs ago              O tankbottoms.eth c9             Ol/l      O mieos.eth LO                              0.0108558 ETH              0.00056998


       @       Oxca fO f7faf9a64c68d4 ...                     Transfer          15005623          288 days 17 hrs ago              O tankbottoms.eth L□             001       0   gulan.eth   c9                          0.01086287 ETH             0.0004698


       @       Oxdb236243dl f4ce46a ...                   Fulfill Basic Or...   15005442          288 days 17 hrs ago              ◊ tankbottoms.eth      LO        ou,       0 Seaport 1.1     c9                        0.88 ETH                   0.00346307


       @       Ox212e66ac73cb5f5cb ...                        Transfer          15005356          288 days 18 hrs ago              O tankbottoms.eth L□             Ol/l      O fllipv.eth c9                             0.01089661 ETH             0.00055863


       @       Ox4aaba8fbff3b183f74 ...                       Transfer          15005352          288 days 18 hrs ago              O tankbottoms.eth L□             OUl       O peri.eth   LO                             0.01089661 ETH             0.00053389


       @       Ox9604dbbld1617ede...                         Create Bid         15002383          289 days 7 hrs ago               {) tankbottoms.eth L□            OUT       0 Ox55eOFLOAd3219E L□                       0.23 ETH                   0.00328184


       @       OxefObl 63605e50f4a2 ...                   Finalize ReseL        14996944          290 days 6 hrs ago               0   tankbottoms.eth L□           Ol/l      0 Foundation: Market L□                     0 ETH                      0.0047786


       @       Ox046b1 b7f9d7bcfbcb ...                         M int           14996643          290 days 7 hrs ago               O tankbottoms.eth LO             Ol/l      0 Compound: cDAI Token         LO           0 ETH                      0.00386495


       @       Ox8eaae9ec4d02fd874 ...                      Place BldV2         14996509          290 days 8 hrs ago               O tankbottoms.eth c9             OUT       0 Foundation: Market c9                     2 ETH                      0.00150985


       @       Oxb7d78abba59ac258...                        Place Bid V2        14996276          290 days 9 hrs ago               O tankbottoms.eth L□             OUl       0 Foundation: Market      LO                0.7986 ETH                 0.001 17658


       @       Ox59b6cffef0c7a6a73f...                      Place Bid V2        14995710          290 days 11 hrs ago              () tankbottoms.eth     c9        Ol/l      0 Foundation: Market      LO                2.75 ETH                   0.00122809


       @       Oxl f21 OSdl b4734143 ...                    Place Bid V2        14995704          290 days 11 hrs ago              O tankbottoms.eth c9             OUT       0 Foundation: Market c9                     2.2 ETH                    0.0011935



      Show:     100        Records                                                                                                                                                                                    First     <    Page 17 of 25    >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowl edge Base,




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htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=17                                                                                                                                                                                         5/5
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   Transactions
   For Ox5d95baEBB8412AD827287240A5c281 E3b830d27E O            tin kbo1toms.e th




      A total of 2,407 transactions found                                                                                                                          First    <   Page 18 of 25   >   Last   '\{v



       e      Txn Hash                      Method(v            Block               Age                   From                                To                                Value                  Txn Fee


       @      0    Ox6ae0233d30el39ab...      Place Bid V2      14995693            290 days 11 hrs ago   O tankbottoms.eth LD         OUT    0 Foundation: Markel LD            2.2 ETH               0.00124908


       @      Oxbe3997ea l 6615b3e...         Place Bid V2      14995643            290 days 11 hrs ago   O lankbottoms.eth i:P        OUT    0 Foundation: Market LD            1.21 ETH              0.00155368


       @      Ox9ddc2668fe3652374...          Place Bid V2      14995593            290 days 11 hrs ago   O tankbottoms.eth [.D        OllT   0 Foundation: Market [.D           1.21 ETH              0.0014836


       @      Oxe7ad9543ea4e8561 ...          Place Bid V2       14995529           290 days 12 hrs ago   O tankbottoms.eth i:P        OllT   0 Foundation: Market i:P           1 ETH                 0.00147554


       @      Ox32e04683224b7b6d ...          Place Bid V2      14995498            290 days 12 hrs ago   O tankbottoms.eth i:P        OUT    0 Foundation: Market LD            0.8054 ETH            0.00149751


       @      Ox7b65e88f2292179ftL            Place Bid V2      14995472            290 days 12 hrs ago   Otankbottoms.eth LD          OUT    0 Foundation: Markel LD            0.5203 ETH            0.001 11775


       @      Ox6391 c971 bb182336...         Place Bid V2      14995462            290 days 12 hrs ago   Otankbottoms.eth c.D         Oli1   0 Foundation: Markel i:P           0.6655 ETH            0.00106288


       @      Ox00849ad1498651 do...          Place Bid V2       14995456           290 days 12 hrs ago   O tankbottoms.eth LD         OllT   0 Foundation: Market i:P           0.9075 ETH            0.00129423


       @      Ox5b907882e5799de2...           Place Bid V2      14995315            290 days 13 hrs ago   0   lankbottoms.eth LD       OUl    0 Foundation: Market LD            0.75 ETH              0.0009879


       @      Ox5e603839cedc464a ...          Place Bid V2      14995276            290 days 13 hrs ago   0   tankbottoms.eth c.D      OUl    0 Foundation: Market c.D           0.5881 ETH            0.00089045


       @      Ox25f5e3e3451 ef0d94...        Exec Transact...   14993417            290 days 20 hrs ago   O tankbottoms.eth [.D        0111   0 Ox193249...18337436 [.D          0 ETH                 0.00458973


       @      Ox98ef22fdb6f1e1 b27 ...          Multicall       14993244            290 days 21 hrs ago   O tankbottoms.eth LD         0111   0 Uniswap V3: Router 2 LD          2 ETH                 0.00332444


       @      Ox2cd9bc12d703b0db ...            Transfer        14992903            290 days 23 hrs ago   O neodaolst.eth Lo            IN    O tankbottoms.eth Lo               1 ETH                 0.00094799


       @      Oxf28b92e94b2190a6b ...           Transfer         14990295           291 days 10 hrs ago   0   pillowfightclub.eth (9    IN    O ta nkbottoms.eth [.D             0.063653524 ETH       0.002625


       @      Ox3805556431 af90092...         Place Bid V2       14989873           291 days 11 hrs ago   0   tankbottoms.eth [.D      OUT    0 Foundation: Market i:P           0.3 ETH               0.00179092


       @      Ox66536084d430ab74 ...         Exec Transact...    14989580           291 days 13 hrs ago   O tankbottoms.eth LD         OUT    0 Ox607d56...effc384a    LD        0 ETH                 0.00356375


       @      Ox68f9c47d51 e8faafcb ...         Transfer         14988051           291 days 19 hrs ago   Ogulan.eth [.D                IN    O tankbottoms.eth [.D              1 ETH                 0.0006011


                                                                                                                                                                                    PLAINTIFF0001099
htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=18                                                                                                                                  1/5
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                                                                              Transactionson  FLSDIDocket
                                                                                           Information Elherscan 06/09/2023 Page 90 of
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       CD    Txn Hash                  Method(v  Block Age               From                                   To                Value                                                  Txn Fee


       @     Oxf7fad1c8146c503df...            Mint          14986681   292 days 1 hr ago      0   tankbottoms.eth c.□     OUT    0 Ox906eFB...65d26367 (9              0 ETH            0.00616938


       @     Ox36e39c526965c47a ...            Mint          14986645   292 days 1 hr ago      O tankbottoms.eth c.□       OU,    0 Ox906eF8...65d26367     c.□         0 ETH            0.00789637


       @     Ox9ef847e66f2d 1b426...         Transfer        14982519   292 days 18 hrs ago    0 tankbottoms.eth c.□       OUT    Ox55dEd4... c904d510 c.□              15.15 ETH        0.00039352


       @     Ox31 cd5e79878a6049f...         Transfer        14982506   292 days 18 hrs ago    Coinbase 6 c.□              IN     O tankbottoms.eth c9                  15.18 ETH        0.00042848


       @     Oxe6b32585d8f66e0a1 ...       Place Bid V2      14982419   292 days 18 hrs ago    ◊ tankbottoms.eth c.□       OUT    ® Foundation; Market c.□              0.605 ETH        0.00165271


       @     Ox3aab07fbfcfebe9586...       Place Bid V2      14980825   293 days 1 hr ago      0   tankbottoms.eth   c9    OUT    0 Foundation: Market c.□              0.5 ETH          0.00248224


       @     Oxa18d2d615acdbc2a...         Place Bid V2      14980159   293 days 4 hrs ago     O tankbottoms.eth     c.□   OUT    0 Foundation; Market c9               0.25 ETH         0.0047685


       @     Ox628a88bfaacc2fb91 ...         Mukicall        14977577   293 days 14 hrs ago    O tankbottoms.eth c9        Ol/T   0 Uniswap V3: Router 2 c.□            1 ETH            0.00218102


       @     Ox2d58aa2f48115bca3...          Mutticall       14971728   294 days 14 hrs ago    O tankbottoms.eth c.□       OUT    0 Uniswap V3: Router 2 c9             1 ETH            0.00275405


       @     Oxe87ca0d6b7b3d9d5 ...      Stake Produc,_      14971553   294 days 15 hrs ago    O tankbottoms.eth     c.□   OUT    0 Oxfa0b8f...338CBDa3 c.□             0 ETH            0.00444378


       @     Ox0994ec5c54461 a6a ...     Set Approve I ...   14971549   294 days 15 hrs ago    O tankbottoms.eth     c.□   OUT    0 Ox97ed92...9e415e79 c9              0 ETH            0.0013051 1


       @     Oxd302b409a9bd9c33...           Transfer        14971267   294 days 16 hrs ago    Ox8a1 D5F... 21 ec137d (9   IN     O tankbottoms.eth c.□                 0.24931401 ETH   0.00056829


       @     Ox878901 c92259c270 ...           Mint          14971167   294 days 17 hrs ago    O tankbottoms.eth c.□       OUT    0 OxdD69CF...4E3c7325 c.□             0 ETH            0.00348749


       @     Ox67cb5637f21889b14...            Mint          14971164   294 days 17 hrs ago    O tankbottoms.eth t:P       OUT    0 OxeDA7B4...39CDB2fC [.O             0 ETH            0.00361141


       @     Ox410457c8cb62a42e...             Mint          14971128   294 days 17 hrs ago    O tankbottoms.eth     c.□   OUT    0 Ox7e619A...d48F439b (9              0 ETH            0.00255357


       @     Oxff4821dacda969dc4...      Mint Producer_      14970878   294 days 18 hrs ago    O tankbottoms.eth     c.□   OUT    0 Ox493Ec7...207E71 BB (9             0.07 ETH         0.00252757


       @     Ox2b3dca1c67eb8ea1 ...            Mint          14969273   295 days 47 mins ago   O tankbottoms.eth     c.D   OUT    0 mutantgoblinape: mga ...      c.□   0 ETH            0.00813004


       @     Ox3e1a1970724185b1 ...          Multicall       14966332   295 days 12 hrs ago    O tankbottoms.eth     c.□   OUT    0 Unlswap V3: Router 2 c.□            2 ETH            0.00783082


       @     Ox9188bd462850fff07...          Multicall       14964280   295 days 21 hrs ago    0 tankbottoms.eth     c.□   OUT    0 Uniswap V3: Router 2 c.□            2 ETH            0.00449073


       @     Oxdb570b80c613c647 ...             Pay          14960337   296 days 14 hrs ago    O tankbottoms.eth c.□       OUT    0 Juicebox: Terminal Vl _1 c9         0.1234 5 ETH     0.00398657


       @     OxOBacb55c6a48aOe9...           Transfer        14953088   297 days 20 hrs ago    O web3galaxybrain.eth c.□   IN     O tankbottoms.eth   c.□               1.041 ETH        0.00064706


       @     Oxe09dbac5b081 e99f5...         Transfer        14951289   298 days 3 hrs ago     0   tankbottoms.eth c.□     OUl    0 OxaC587a... 1D1 d3142 c.□           0.58 ETH         0.00111523

                                                                                                                                                                           PLAINTIFF0001100
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=18                                                                                                                    2/5
4/6/23, 4:30 PM                Case 1:23-cv-20727-RKA Document 106-30
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                                                                         401
      CD    Txn Hash                  Method(v  Block Age             From                                   To                Value                                           Txn Fee


      @     Ox9ac1480c8df9adadc ...         Multk:all       14946603   298 days 22 hrs ago    O tankbottoms.eth [.D       OUT    0 Uniswap V3: Router 2 c9       0 ETH         0.0030684


      @     Ox2a4bf95d4c2466a95...          Approve         14946599   298 days 22 hrs ago    O tankbottoms.eth c.□       OU,    0 Ox9559Aa...4c9a3593 c.□       0 ETH         0.001 15664


      @     Ox0c4f4ce6f86be892d...          Multk:all       14946496   298 days 23 hrs ago    Otankbottoms.eth [.D        OlIT   0 Uniswap V3: Router 2 [.D      0 ETH         0.00232771


      @     Oxb83f516aed0977a31 ...         Approve         14946491   298 days 23 hrs ago    Otankbottoms.eth c.□        OUT    0 Rocket Pool: rETH Token c9    0 ETH         0.00079265


      @     0X5e3ce4543421 aab4...         Exchange         14946480   298 days 23 hrs ago    ◊ tankbottoms.eth [.O       OUT    0 Curve.f1: ETH/rETH Pool [.O   1 ETH         0.00352968


      @     Ox9a38124c59fb4f53b...            Pay           14945204   299 days 4 hrs ago     0   tankbottoms.eth c.□     OUT    0 Ox7Ae63F...483b8397 [.D       0.12345 ETH   0.01137122


      @     Ox6d4681 d4babf20ae6...     Distribute Res·,_   14944386   299 days 7 hrs ago     O tankbottoms.eth c.□       OUT    0 Ox4e3ef8...8F651351 c9        0 ETH         0.00224682


      @     Ox254547f650b0e6628...      Issue Token For     14944331   299 days 7 hrs ago     O tankbottoms.eth c9        OlIT   0 Ox4e3ef8...8F651351 c9        0 ETH         0.05699077


      @     Ox941044bba1383436...           Mutticall       14942244   299 days 16 hrs ago    O tankbottoms.eth [.D       OUT    0 Unlswap V3: Router 2 c.□      2.25 ETH      0.00422721


      @     Oxe5b33fcdf0266f04cf...         Transfer        14940805   299 days 22 hrs ago    O tankbottoms.eth c.□       SELF   O tankbottoms.eth   c.□         0 ETH         0.00158336


      @     Ox2f15a3246b0a0623b...         Create Bid       14939994   300 days 1 hr ago      O tankbottoms.eth c.D       OUT    0 Ox55eOF7...0Ad3219E c.□       1.05 ETH      0.00280517


      @     Oxa49a6788b1410826...          Create Bid       14939975   300 days 1 hr ago      0   tankbottoms.eth [.D     OUT    0 Ox55eOF7...0Ad3219E [.D       0.68 ETH      0.0035284


      @     Ox8a170e25c8cbf4c23...         Create Bid       14939221   300 days 4 hrs ago     O tankbottoms.eth c.□       OUT    0 Ox55eOF7...0Ad3219E (9        0.68 ETH      0.00262686


      @     Oxae9600a584a048c7...          Create Bid       14939207   300 days 4 hrs ago     O tankbottoms.eth c9        OUT    0 Ox55eOF7..0Ad3219E L□         0.58 ETH      0.00254779


      @     Ox6554c52ed3f15607 2 ...       Create Bid       14938995   300 days 5 hrs ago     ◊ tankbottoms.eth [.D       OUT    0 Ox55eOF7...0Ad327 9E [.D      0.53 ETH      0.0025685


      @     Oxe5c0f8aa35db7aba2...          Mutticall       14928594   302 days 24 mins ago   O tankbottoms.eth   c.□     OUT    0 Uniswap V3: Router 2 c9       2.25 ETH      0.00666496


      @     Oxd41850417beca37b ...            Pay           14928577   302 days 26 mins ago   O tankbottoms.eth c9        OUT    0 Ox7Ae63F...483b8397 L□        0.1234 ETH    0.00879252


      @     Ox392e83371 ec2d71 b ...        Transfer        14928571   302 days 28 mins ago   Oservice-provider.eth c.□    IN    O tankbottoms.eth   c.□         6 ETH         0.00172254


      @     Ox3deb05bfa77f66183...            Pay           74928525   302 days 41 mins ago   0 tankbottoms.eth c.D       OUT    0 Ox7Ae63F...483b8397 c.□       0.5 ETH       0.01189751


      @     Ox3af5e02b60ab3359e...          Multk:all       14923578   302 days 20 hrs ago    O tankbottoms.eth c.□       OUT    0 Uniswap V3: Router 2 c.□      2 ETH         0.01212059


      @     Ox98a536e6c29fa44fc...          Multicall       14923302   302 days 21 hrs ago    O tankbottoms.eth c.□       OUT    0 Unlswap V3: Router 2 c.□      2 ETH         0.01049346


      @     Ox6d0be9fb05bde524f...          Approve         14909690   305 days 5 hrs ago     0   tankbottoms.eth c.□     OlIT   0 Maker: Dai Stablecoin c9      0 ETH         0.00197288

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       @     Ox5acf07cee4071 c9c5...         Muhk:all        14907399   305 days 14 hrs ago   0   tankbottoms.eth c.□   OUT    0 Uniswap V3: Router 2 c9           2.5 ETH           0.00296115


       @     Ox8f5824b8a4e9857e2 ...       Transfer From     14902139   306 days 12 hrs ago   O tankbottoms.eth c.□     OUl    0 Ox64931 F...6996D764 c.□          0 ETH             0.00216209


       @     Oxee4555727b483326 ...       launch FundL       14901891   306 days 13 hrs ago   Otankbottoms.eth c.□      OUl    0 Ox4e3ef8...8F651351   c.□         0 ETH             0.01714863


       @     Ox995e4cf1 fc6ad3044 ...     Set Me tadata _    14901806   306 days 13 hrs ago   Otankbottoms.eth c.□      OVT    0 OxD8B435...ddBc47d3 c.□           0 ETH             0.0018061


       @     Ox1 b383e76586cb537 ...         Transfer        14899466   306 days 22 hrs ago   ◊ tankbottoms.eth [.O     OUT    Ox8a9742...1168232B [.O             0.5 ETH           0.00211096


       @     Ox7adcb5371310120d...           Transfer        14897300   307 days 7 hrs ago    0   tankbottoms.eth c.□   OUT    0 Maker: Dai Stablecoin c.O         0 ETH             0.00317474


       @     Ox896b56448dfba2dd ...       Swap Exact T._     14897296   307 days 7 hrs ago    O tankbottoms.eth   c.□   OVT    0 Uniswap V2: Router 2 c.□          0 ETH             0.01615932


       @     Oxc7cb6cbb60b925ce...           Approve         14897296   307 days 7 hrs ago    O tankbottoms.eth c9      Ol/T   0 Wrapped Ether c9                  0 ETH             0.00487248


       @     Ox0be22d7883541 eOe ...      Atomic Match_      14874398   311 days 1 hr ago     O tankbottoms.eth c.□     OUT    0 OpenSea: Wyvern Exch...     c.□   0.04 ETH          0.00544375


       @     Oxcc877dac1 a0f1409a ...        Transfer        14862332   313 days 6 mins ago   O tankbottoms.eth c.□     OUT    OxE9bE6d...d340DOaF c.□             0.5 ETH           o.0002n63


       @     Oxefd861 d3ba68ebf98...         Transfer        14851840   314 days 17 hrs ago   O tankbottoms.eth   c.□   OUT    Ox55dEd4...c904d510 c.□             0.5 ETH           0.001449


       @     Ox36 7b6e8d575f5c402...           M int         14846347   315 days 14 hrs ago   0   tankbottoms.eth [.D   OUT    0 Compound: cDAI Token c.□          0 ETH             0.00534931


       @     Ox9e1 abaf58e0af5b72...          Deposit        14844601   315 days 21 hrs ago   O tankbottoms.eth c.□     OUT    0 Ox4D05E3...011 BDe58 c9           5 ETH             0.01257447


       @     0Xf039ed0efe2388d28...          Mufticall       14838704   316 days 20 hrs ago   O tankbottoms.eth c9      OUT    0 Unlswap V3: Router 2 c.□          2 ETH             0.0028043


       @     OX6cccb86a0617bf191 ...         Transfer        14830669   318 days 3 hrs ago    ◊ tankbottoms.eth c.□     OUT    Ox55dEd4...c904d510 [.D             5 ETH             0.00100052


       @     Ox20e04da81 111 fe3b5 ...       Multicall       14823889   319 days 6 hrs ago    O tankbottoms.eth   c.□   OUT    0 Uniswap V3: Router 2 c.□          2.75 ETH          0.00398881


       @     Ox680f7675ed131 c0e6 ...        Muhk:all        14823858   319 days 6 hrs ago    O tankbottoms.eth   c.D   OUT    0 Unlswap V3: Router 2 c.D          3.5 ETH           0.0039036


       @     Oxl 23f017c5ea45acaf...         Multicall       14808448   321 days 18 hrs ago   Otankbottoms.eth c.□      OUT    0 Unlswap V3: Positions ...   c.□   0.077181328 ETH   0.18935413


       @     Ox2bcd5d2dd26 7db78...          Approve         14808372   321 days 18 hrs ago   0 tankbottoms.eth c.□     OUT    0 World Dom ination: ME...    c.□   0 ETH             0.00176421


       @     Oxa347d3c08baeeec7...           Mutticall       14808293   321 days 18 hrs ago   O tankbottoms.eth   c.□   OUT    0 Uniswap V3: Router 2 c.□          1 ETH             0.00292305


       @     Ox55b0413012be29b3 ___       Reconfigure F,_    14808283   321 days 19 hrs ago   O tankbottoms.eth   c.□   OUT    0 Ox43780E...0841241A c.□           0 ETH             0.01045921


       @     Oxb792473c09b01 a2d ...      Reconfigure F...   14808210   321 days 19 hrs ago   0   tankbottoms.eth c.□   OUT    0 Ox43780E...0841 241A c9           0 ETH             0.00842613

                                                                                                                                                                      PLAINTIFF0001102
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=18                                                                                                               4/5
4/6/23, 4 :30 PM                       Case 1:23-cv-20727-RKA Document 106-30
                                                                         E l hereumEntered
                                                                                     Transactionson  FLSDIDocket
                                                                                                  Information Elherscan 06/09/2023 Page 93 of
                                                                                   401
       CD      Txn Hash                       Method(v  Block Age               From                                   To                Value                                                                                                           Txn Fee


       @       Oxf4272c7f63cc5d194...                  Set Me tadata __     14808174         321 days 19 hrs ago             0   tankbottoms.eth [.D                   OIIT      0 OxD8B435...ddBc47d3 [.D                      0 ETH                    0.0006437 5


       @       Ox59c2a9777220c5c3...                   Set Approva I ••     14801284         322 days 22 hrs ago             O tankbottoms.eth c.D                     OUT       0 Creepz: CBC Token c9                         0 ETH                    0.00045737


       @       Ox38bbac3da2a63a92...                   Set Approva 1_~       14801279        322 days 22 hrs ago             0 tankbottoms.eth c.□                     OUT       0 Ox97ed92...9e415e79 c.O                      0 ETH                    0.00056849


       @       Ox9629051880679a04 ...                  Set Approva I _       14801275        322 days 22 hrs ago             O tankbottoms.eth c.D                     OUT       0 Ox9940bF...1ff10434 c.0                      0 ETH                    0.00058699


       @       Ox97f8a7aae859c9fc1 ...                     Tra!lSfer        14786548         325 days 6 hrs ago              0   tankbottoms.eth [.D                   OUT       Ox630893...52be1e70 [.O                        0.26160825 ETH           0.00066075


       @       Oxf5a3d04b30a1217dd...                      Transfer          14786541        325 days 6 hrs ago              0   tankbottoms.eth c.D                   OUT       0 Maker: Dai Stablecoin c.D                    0 ETH                    0.00122928


       @       Oxa54bca 5845e98f612 ...                Registe, With ,~      14782499        325 days 22 hrs ago             O tankbottoms.eth      c.□                OUT       0 ENS: ETH Registrar Co...       c.□           0.007756431 ETH          0.00519925


       @       Ox5537d806d8218d63...                       Commit           14782484         325 days 22 hrs ago             O tankbottoms.eth cP                      OUT       0 ENS: ETH Registrar Co...       c.D           0 ETH                    0.00098729


       @       Ox8423f552b065a3afa...                      Transfer          14773378        327 days 8 hrs ago              Oxf746D6...93e9b53f [.D                    IN       O tankbottoms.eth cP                           0.12388175 ETH           0.00085759


       @       Oxeafa794bc8471618e...                      Transfer         14773364         327 days 8 hrs ago              Ox5eF657... aA748507 c.D                   IN       O tankbottoms.eth c.□                          0.1240697 ETH            0.00079039


       @       Oxa100da8d4e9f59aa8...                      Transfer          14773351        327 days 9 hrs ago              Ox421200...7faD41 dF [.D                   IN       O tankbottoms.eth c.□                          0.99888112 ETH           0.00081124


       @       Oxb134f374048a351 a9...                     Transfer          14773345        327 days 9 hrs ago              Ox0e08A6...CA625Bb8 [.D                    IN       O tankbottoms.eth [.O                          0.7990907 ETH            0.00086339


       @       Oxcdcddfe2fec427240...                      Transfer         14773342         327 days 9 hrs ago              O wagmi-studios-deploye• . cP              IN       O tankbottoms.eth cP                           0.12425933 ETH           0.00070508


       @       Ox008fb436bd018b99 ...                      Transfer         14773335         327 days 9 hrs ago              Ox7f41Cc...5dA7D72b d)                     IN       O tankbottoms.eth c.D                          1.812502156 ETH          0.00056731


       @       Ox0c4f24e5c169c6496...                     Withdraw           14773319        327 days 9 hrs ago              O tankbottoms.eth [.D                     OUT       0 Wrapped Ether [.D                            0 ETH                    0.001 12466


       @       Oxca6f997ab1 f l 69df0...                Cancel Order_       14770661         327 days 19 hrs ago             O tankbottoms.eth cP                      OUT       0 OpenSea: Wyvern Exch...        c.D           0 ETH                    0.00305222


       @       Ox7d251Oc095feae2db...                   Cancel Order_       14770641         327 days 19 hrs ago             O tankbottoms.eth      cP                 OUT       0 OpenSea: Wyvern Exch...        c.D           0 ETH                    0.00277949



      Show:     100        Records                                                                                                                                                                                      First    <      Page 18 of 25     >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




                                                                                                                                                                                                                                  PLAINTIFF0001103
htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 18                                                                                                                                                                                         5/5
4/6/23, 4:31 PM                  Case 1:23-cv-20727-RKA Document 106-30
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                                                                           Transactionson   FLSDIDocket
                                                                                        Information Elherscan 06/09/2023 Page 94 of
                                                                          401
   Transactions
   For Ox5d95baEBB8412ADB27287240A5c281 E3b830d27E O           taikbottoms.eth




     A total of 2,407 transactions found                                                                                                                      Rrst         <   Page 19 of 25   >   Last   '\{v



      0      Txn Hash                      Method 0              Block           Ag e                  From                           To                                       Value                 Txn Fee


      @      Oxd585cf8e870654e16...         Set Approval .,.     14770562        327 days 20 hrs ago   O tankbottoms.eth c.□    our   0 0xa9248a ..06ffd2e2 c.D                OETH                  0.00137711


      @      Oxf2ae52bca91b34e3c ...         Presale Mint        14770202        327 days 21 hrs ago   O tankbottoms.eth [.O    OUT   0 0xa9248a ..06ffd2e2 [P                 0.4 ETH               0.00817936


      @      Oxec09171 ac6925680 ...              Pay            14765874        328 days 13 hrs ago   O tankbottoms.eth c.,0   OUT   0 Ox2109e1 ...a844273b c.,0              0.125 ETH             0.01612749


      @      Oxb226a2960567f523f...         Set Approval ...     14765789        328 days 13 hrs ago   O tankbottoms.eth c.,O   OUT   0 ForgottenRunesWarrior. .. c.□          OETH                  0.00382364


      @      Oxd43d7d9ae2f26a257...          Allowlist Mint      14765746        328 days 14 hrs ago   O tankbottoms.eth c.□    OUT   0 0x93b60a ..d025F540 [P                 0.34 ETH              0.00670524


      @      Ox407e92e6187b4406...          Mintlist Sum...      14765728        328 days 14 hrs ago   Otankbottoms.eth c.□     OUT   ® OxB4d9Ac ..66619fBD c.□                0.6 ETH               0.01026235


      @      oxa4a8fb767c0267264...               Pay            14757724        329 days 21 hrs ago   Otankbottoms.eth t:P     OUT   0 OX2109e1...a844273b (P                 0.25 ETH              0.0212641


      @      Oxa2171 Oeff6cf928b4...        Reconfigure F...     14757703        329 days 21 hrs ago   O tankbottoms.eth t:P    OUT   0 Ox437BOE...0841241 A [P                OETH                  0.03854424


      @      Oxce2d87d4b04eb6f6b...         Laur,ch Projec._     14757676        329 days 21 hrs ago   O tankbottoms.eth c.□    our   0 0x43780E.. 0841241A c.□                OETH                  0.09487669


      @      Ox298b2b31588ff1 b41 ...           Transfer         14755151        330 days 6 hrs ago    O tankbottoms.eth c.,D   OUT   Ox8Ba37b...04ed9673 c.,D                 0.05 ETH              0.00652733


      @      Ox0029bb68de5f3cbf1 ...            Redeem           14752042        330 days 18 hrs ago   Otankbottoms.eth c.,0    OUT   ® Compound: cDAI Token c.,D              OETH                  0.00548249


      @      Ox6a25a54d4cab55f0b...             Multicall        14733573        333 days 17 hrs ago   Otankbottoms.eth c.,0    OUT   0 Uniswap V3: Router 2 c.,D              4ETH                  0.00789409


      @      Oxf6439a2cObf45e56f...             Transfer         14718946        336 days 1 hr ago     Coln base 6 c□           IN    O tankbottoms.eth t:P                    1.5132 E TH           0.00155206


      @      Ox63446adf2e674d3ae...             Mullicall        14715757        336 days 13 hrs ago   O tankbottoms.eth c.,0   OUT   0 Uniswap V3: Router 2 c.,D              2.5 ETH               0.00600145


      @      Oxbb4829bb07345a67 ...         Atomic Match_        14709700        337 days 12 hrs ago   O tankbottoms.eth t:P    OUT   0 OpenSea: Wyvern Exch... c.,D           1.83 ETH              0.00901763


      @      Ox2b2aa84c92143130 ...          Cancel Orde:r_      14709380        337 days 13 hrs ago   O tankbottoms.eth c.□    our   0 OpenSea: Wyvern Exch...     c.D        OETH                  0.00297246


      @      Ox3fcca073974aea1f9 ...        Set Approval ...     14709363        337 days 13 hrs ago   ◊ tankbottoms.eth c.,0   VVT   0 The Otherside: OTHR T...    c.,D       OETH                  0.007 83855


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https://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=19                                                                                                                                1/5
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                                                                           401
       CD    Txn Hash                   Method(v  Block Age                From                              To                  Value                                        Txn Fee


       @     Oxd931b514dd2f4db4f...         Approve         14699549   339 days 3 hrs ago     O tankbottoms.eth [.D     011T   0 The Graph: GRT Token (9          OETH        0.00447543


       @     Ox8cff30f2c3e8d4777...          Submit         14696611   339 days 14 hrs ago    O tankbottoms.eth cD      Q\JT   0 Lido: Staked ETH Token [.D       2ETH        0.00425227


       @     Ox30a96774e3d489ee...          Sale Mint       14695862   339 days 17 hrs ago    ◊ tankbottoms.eth   [.O   mrr    El Monster Suit: MS Token [.O      0.28 ETH    0.00535087


       @     Ox5ab4f6268e0280439...      Create Proxy __    14694322   339 days 23 hrs ago    ◊ tankbottoms.eth   cD    OUT    0 Safe: Proxy Factory 1.3.0 c9     OETH        0.02585105


       @     Oxe95a70af3f3a9c5a2 ...       Ox9a2b8115       14694176   339 days 23 hrs ago    O tankbottoms.eth [.O     O\rr   El Gem: GemSwap 2 (9               6.73 ETH    0.02096657


       @     Ox3edbca 16482dcec5...      Exec Transact..    14693147   340 days 3 hrs ago     O tankbottoms.eth [.D     OUT    0 Ox6a67c6...0009592f cD           OETH        0.00844371


       @     Ox7e825051 c8e78237...       Atomic Match_     14689004   340 days 19 hrs ago    O tankbottoms.eth cO      OIIT   0 OpenSea: Wyvern Exch...    [.O   0.1 ETH     1.40298744


       @     Ox0b929f37e7f3c1 a9f...         Transfer       14687313   341 days 1 hr ago      ◊ tankbottoms.eth   c9    o,rr   0 Apecoin: APE Token c9            OETH        0.00130561


       @     Ox453cb124e4d7cl 96...        Mint Public      14682290   341 days 20 hrs ago    O tankbottoms.eth c9      OUT    0 Oxf39aEC...660357Ed [.D          0.08ETH     0.00371384


       @     Ox603830783551c11e ...          Transfer       14670881   343 days 15 hrs ago    Ox0Df721 ...073506f0 cO   IN     O tankbottoms.eth cO               0.16ETH     0.00089281


       @     Ox12734d2ef26a07a63...      Exec Trans.act..   14669501   343 days 20 hrs ago    O tankbottoms.eth [.O     OUT    El Ox6a67c6...0009592f [.O         OETH        0.00641434


       @     Oxdlb150615f96f0529...       Toggle Nesting    14668455   344 days 44 mins ago   0   tankbottoms.eth [.D   OUT    0 Moonbirds: MOON BIR...     [.D   OETH        0.00345133


       @     Ox608f5ba180acf545f...      Set Approval ...   14668162   344 days 1 hr ago      O tankbottoms.eth cD      O\IT   0 Art Blocks: BLOCKS To...   cD    OETH        0.00480222


       @     Ox40753503a 7f73dfc6...     Set Approval ,,.   14668162   344 days 1 hr ago      O tankbottoms.eth cO      OIIT   E] OxOf4738...42DDC53f cO          OETH        0.00508973


       @     Ox59f99d3df6848c8c5 ...     Set Approval ...   14668162   344 days 1 hr ago      O tankbottoms.eth [.D     OUT    0 Terraforms: TERRAFOR... [.D      OETH        0.00485464


       @     OxOdd502f281 acd8984...     Set Approval ...   14668144   344 days 2 hrs ago     O tankbottoms.eth cD      011T   0 Terraforms: TERRAFOR... cD       OETH        0.00368866


       @     Ox65d0e396b24e23a5 ...      Set Approval ...   14668136   344 days 2 hrs ago     O tankbottoms.eth cO      01/T   E] Loot: LOOT Token (9             0 ETH       0.00300533


       @     Ox67d0badf595c0ff4f2...        Delegate        14666305   344 days 8 hrs ago     ◊ tankbottoms.eth   c9    OUT    0 ENS: ENS Token [.O               OETH        0.00431991


       @     Ox584a0198953ed735...       Exec Transsct..    14666069   344 days 9 hrs ago     ◊ tankbottoms.eth cD      OUT    0 Ox6a67c6...0009592f cD           OETH        0.00366249


       @     Oxb04d4684b9c0f0428...      Safe Transfer ·-   14662867   344 days 21 hrs ago    O tankbottoms.eth [.D     OUT    0 Moonbirds: MOON BIR...     cD    OETH        0.00427178


       @     Ox9d5e583b24 7bc8bd...      Swap Exact T...    14657359   345 days 18 hrs ago    O tankbottoms.eth cO      01rr   0 Uniswap V2:. Router 2 cO         OETH        0.0039841 4


       @     Oxbc09a224e70f8abf6...         Approve         14657358   345 days 18 hrs ago    O tankbottoms.eth c9      O\JT   0 LooksRare: LOOKS Tok...    (9    OETH        0.00147572

                                                                                                                                                                      PLAINTIFF0001105
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=19                                                                                                         2/5
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                                                                            401
       e     Txn Hash                     Method<:1) Block Age              From                              To                  Value                                                          Txn Fee


       @     Ox53c479e9d34c7578...             Transfer        14657346   345 days 18 hrs ago   Oxc66376...534c4d03 [.O          IN     O tankbottoms.eth c9                   0.021822328 ETH   0.0007231


       @     Oxa68b65abd5530a6a...           Set Buy Price     14651623   346 days 16 hrs ago   O tankbottoms.eth tO             OUT    0 Foundation: Market    tO             OETH              0.00415029


       @     Ox5fd2f9ed0e3a464e1...         Mint And Appr,_    14651605   346 days 16 hrs ago   ◊ tankbottoms.eth c..□           mrr    0 Oxa4384a...d0Eb60Ac tD               OETH              0.00862798


       @     Oxd8bf1e493838aa1 ee...          SetOiNne:r       14650109   346 days 22 hrs ago   ◊ tankbottoms.eth c..□           OIJT   0 ENS: Registry with Fall... c..□      OETH              0,00090599


       @     Oxeefa9568ebc156344 ...        Transfer From      14650102   346 days 22 hrs ago   O tankbottoms.eth (.0            OUT    El ENS: Base Registrar Im... [.O       OETH              0.00196038


       @     Ox812b3d80045ce16c...          Atomic Match_      14650057   346 days 22 hrs ago   O tankbottoms.eth c..□           OUT    0 OpenSea: Wyvern Exch.., c..□         0.25 ETH          0.00414689


       @     Ox9bb91314dd2d1424...             Place Bid       14649872   346 days 22 hrs ago   O tankbottoms.eth c..□           OIIT   0 Foundation: Market    c9             0.5 ETH           0.00210653


       @     0     Ox818c213a38636c00 ...      Multic.all      14644238   347 days 20 hrs ago   ◊ tankbottoms.eth    c9          Otrr   0 Uniswap V3: Router 2    tO           SETH              0.00311043


       @     Ox98eebff7c86c308ed...            Multicall       14644197   347 days 20 hrs ago   O tankbottoms.eth tD             OVT    0 Uniswap V3: Router 2    [.O          6ETH              0.0032353


       @     Ox125dbc72ea71dBab...          Toggle Nesting     14637414   348 days 21 hrs ago   O tankbottoms.eth c..□           OVT    0 Moonbirds: MOONBIR... c..□           OETH              0.00220546


       @     Ox4Bd7cc0b7 4f2d073c ...           Submit         14635782   349 days 3 hrs ago    O tankbottoms.eth c..O           OUT    0 Lido: Staked ETH Token      c..D     1.25 ETH          0.00500587


       @     Ox3efd4b0e90247Baa0...            Transfer        14635779   349 days 3 hrs ago    0   service-provider.eth   [.O   IN     O tankbottoms.eth (.0                  1.025 ETH         0.00122884


       @     Oxa972ab076d3f79599...              Mint          14631276   349 days 20 hrs ago   O tankbottoms.eth tO             Olrr   0 Compound: cSushi Tok ...      tO     OETH              0.00897786


       @     Oxda6Cll 79cbd3c09c8...           Muhicall        14627190   350 days 12 hrs ago   O tankbottoms.eth c..0           OUT    0 Uniswap V3: Positions ...     c..D   0.499999999 ETH   0.02644816


       @     Ox7b6598f7a9b48f3db...            Approve         14627180   350 days 12 hrs ago   O tankbottoms.eth [.O            OVT    0 Compound: cDAI Token        [.O      OETH              0.00282488


       @     Ox3c60d84685d34322...             Approve         14622993   351 days 3 hrs ago    O tankbottoms.eth tO             0VT    0 SushiSwap: SUSHI Tok...       tO     OETH              0.01227342


       @     Ox587df8f7442b9d767...            Approve         14622981   351 days 3 hrs ago    O tankbottoms.eth c..O           our    0 Wrapped Ether c..□                   0 ETH             0.01043874


       @     ox5465e7199fb064f53.            0x54ed778b        14622745   351 days 4 hrs ago    Otankbottoms.eth c9              OVT    0 Ox689Bba...cF307f5F c..□             OETH              0.01313797


       @     Ox3834fd49Bb7 4a0787 ...            Burn          14621159   351 days 10 hrs ago   Otankbottoms.eth tO              DVT    0 0x174150... 6F289FA6     tO          OETH              0.00355666


       @     Ox7e284c6438edla51 ...            Multicall       14620993   351 days 11 hrs ago   Otankbottoms.eth tD              O\IT   0 ENS; Public Resolver 2     tD        0 ETH             0.00498124


       @     Ox32f71 f11eda0a7d72...        Register With ,-   14620957   351 days 11 hrs ago   O tankbottoms.eth c..□           rnrr   0 ENS: ETH Registfllr Co__      c..D   0.005341832 ETH   0.01269042


       @     Ox2ffed718e3743a028 ...           Commit          14620951   351 days 11 hrs ago   O tankbottoms.eth c9             O\JT   0 ENS: ETH Registrar Co ...     tD     OETH              0.00197045

                                                                                                                                                                                   PLAINTIFF0001106
https://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=19                                                                                                                           3/5
4/6/23, 4 :31 PM                 Case 1:23-cv-20727-RKA Document 106-30
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       e     Txn Hash                    Method<:1) Block Age              From                              To                  Value                                                Txn Fee


       @     Ox9a47de5bea1 ff41 Of...         Transfer•      14620385   351 days 13 hrs ago     O tankbottoms.eth [.D     011T   O mannynotdev.eth [.D              0.0404 ETH        0.0009868


       @     OX153a77eac2ffe0280...            Submit        14619901   351 days 15 hrs ago     O tankbottoms.eth cD      Q\JT   0 Lido: Staked ETH Token cD        1ETH              0.00474559


       @     Oxb92853853e359cfb7 ...          Transfer       14619124   351 days 18 hrs ago     ◊ tankbottoms.eth [.D     OUT    0 CryptoKitties: Core [.D          OETH              0.00298009


       @     Oxa6b181e4e701584f6...           T,ansfer       14618046   351 days 22 hrs ago     OxfEB93c...bAE8b153 (9    IN     O tankbottoms.eth [.D              0.85 ETH          0,0008988


       @     Oxd47da61 f0a3564b36 ...           Burn         14614345   352 days 12 hrs ago     O tankbottoms.eth [.O     OVT    ®OX174150...6F289FA6 [.O           OETH              0.00274314


       @     Ox36b8efb60900e5eec...             M int        14614283   352 days 12 hrs ago     O tankbottoms.eth [.D     OUT    0 Compound: cDAI Token c9          OETH              0.00307471


       @     Ox4a5aa1641823b85e ...           Muhicall       14614277   352 days 12 hrs ago     O tankbottoms.eth [.D     OIIT   0 Uniswap V3: Router 2 c9          3.310155238 ETH   0.00318807


       @     Ox63fe3df64ed6a8997...        Atomk:: Match_    14614198   352 days 13 hrs ago     O tankbottoms.eth c9      OllT   0 OpenSea: Wyvern Exch...    cD    0.95ETH           0.00440989


       @     Ox3c6f1 cd118e02d4e6...       At omic Match_    14613186   352 days 17 hrs ago     O tankbottoms.eth cD      UUT    0 OpenSea: Wyvern Exch...    [.D   0.212 ETH         0.0042815


       @     Ox75ef2187421155fed ..           Muhicall       14613070   352 days 17 hrs ago     O tankbottoms.eth [.D     OUT    0 Umswap V3: Router 2 [.D          2 ETH             0.0038966


       @     Ox3d46995be699c9a0...             Deposit       14613014   352 days 17 hrs ago     O tankbottoms.eth [.D     OUT    0 Tornado.Cash: Router [.D         10 ETH            0.02591944


       @     Ox1480ae8119bced13...         Wrap And Rel...   14611902   352 days 21 hrs ago     0   tankbottoms.eth [.D   OUT    @Tornado.Cash: L1 Helper     c9    1ETH              0.0082886


       @     Oxcccffa fb600aacb04 2 ...       Register       14611898   352 days 21 hrs ago     O tankbottoms.eth cD      O\IT   0 Tornado.Cash: L1 Helper c9       OETH              0.0010753


       @     Ox7ecdbb1b6cd33bf62...           Transfer       14611896   352 days 2 1 hrs ago    Ox8C00f4...6dc23cc3 LD    IN     O tankbottoms.eth [.D              15 ETH            0.00081519


       @     Ox979740bc9c4dfe9c4...              Tap         14605211   353 days 22 hrs ago     O tankbottoms.eth [.D     OUT    @J uicebox: Terminal VL1     c9    OETH              0.00606584


       @     Oxf7ac1d899280eaaf5...        Settle Auction    14604724   354 days 42 rnins ago   O tankbottoms.eth cD      OUT    0 Ox465a67...0790071 b c9          OETH              0.0071 45


       @     Oxd6d228e 7485dcccd ...         Create. Bid     14603851   354 days 3 hrs ago      O tankbottoms.eth LD      0\tf   0 Gnars: GNAR Token LD             0.012 ETH         0.00200512


       @     Ox3454c311 bd0665ec...         Buy4get1 free    14603654   354 days 4 hrs ago      Otankbottoms.eth cP       OUT    0 Blockheads Family: BL_     LD    0.2ETH            0.01611545


       @     Ox39cb4bc22e52204a...         Settle Auction    14601416   354 days 13 hrs ago     Otankbottoms.eth cD       DVT    0 Ox465a67...0790071 b LD          OETH              0.00823027


       @     Ox362116552a 55a852...          Create Bid      14601410   354 days 13 hrs ago     Otankbottoms.eth [.D      011T   0 Gnars: GNAR Token c9             0.013 ETH         0.00163582


       @     0     Ox8e599c945b61f2985..     Create. Bid     14601408   354 days 13 hrs ago     O tankbottoms.eth [.D     011T   0 Gnars: GNAR Token [.D            0.012 ETH         0.00131048


       @     Ox466e5a6f81 l d17f2f...        Create Bid      14600740   354 days 15 hrs ago     O tankbottoms.eth c9      O\IT   0 Gnars: GNAR Token (9             O.D18 ETH         0.00122079

                                                                                                                                                                        PLAINTIFF0001107
https://etherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=19                                                                                                                4/5
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                                                                                                 Information Elherscan 06/09/2023 Page 98 of
                                                                                  401
       CD      Txn Hash                        Method(v  Block Age                From                              To                  Value                                                                                                            Txn Fee


       @       Ox86300c8c086755a4 ...                    Atomic Match_        14596784          355 days 6 hrs ago              O tankbottoms.eth [.D                OIIT     0 OpenSea: Wyvern Exch...          [.D           0.0049 ETH                0.00 582909


       @       OX3be7ad6847 57bf3f3...                   Mint Public Sa ...   14596549          355 days 7 hrs ago              O tankbottoms.eth c□                 O\IT     0 Ox25e3 E4 ...81 C9cC26 [9                      0.05 ETH                  0.00685729


       @       Oxdfd0c7ea0e7d62e38. ..                     Create. Bid        14596296          355 days 8 hrs ago              ◊ tankbottoms.eth       [.O          Olff     0 Gnars: GNAR Token c9                           0.013 ETH                 0.00137335


       @       Oxffa3f355b5d3382f26 ...                  Atomic Match_        14595739          355 days 10 hrs ago             ◊ tankbottoms.eth       c9           OlfT     0 OpenSea: Wyvern Exch...          c□            0.005 ETH                 0.00365558


       @       Ox2088cd628c22ae33...                         Transfer         14595488          355 days 11 hrs ago             O service-provider.eth [.O            IN      O tankbottoms.eth [.O                            2.5 ETH                   0.00048035


       @       Oxb269f5ad950b65a49...                      Create Bid         14594916          355 days 13 hrs ago             O tankbottoms.eth [.O                OUT      0 Gnars: GNAR Token c9                           0.013 ETH                 0.007 25215


       @       Ox53006bd215f0d128 ...                      Create Bid         14594304          355 days 15 hrs ago             O tankbottoms.eth c9                 OlfT     0 Gnars: GNAR Token c9                           O.Dll ETH                 0.00272337


       @       Ox3c2b65b6f4B812cf5...                     Settle Auction       14594301         355 days 15 hrs ago             O tankbottoms.eth c9                 OITT     0 Ox465a67...0790071 b c□                        OETH                      0.01158628


       @       Oxl ea0b470df75d9f53...                     Create Bid         14593822          355 days 17 hrs ago             O tankbottoms.eth cD                 OUT      0 Gnars: GNAR Token c□                           O.Dll ETH                 0.00189696


       @       Ox64dda0cae57a56f79...                     Settle Auction       14593627         355 days 18 hrs ago             O tankbottoms.eth c□                 OUT      0 Ox465a67-..0790071 b c□                        OETH                      0.00672679


       @       Oxd5ff32a68d5578770...                      Create Bid          14593608         355 days 18 hrs ago             O tankbottoms.eth [.O                OUT      0 Gnars: GNAR Token c9                           0014 ETH                  0.0014956


       @       Ox224a84c8a135e0ac...                      Settle Auction      14591777          356 days 1 hr ago               0   tankbottoms.eth [.D              VUT      0 Ox465a67...0790071 b c□                        OETH                      0.0226826


       @       Ox.c470bb7a652c0d56...                          Mint            1458B574         356 days 13 hrs ago             O tankbottoms.eth cD                 0\ff     0 Ox8d3b07...70334AF1         (9                 0.168 ETH                 0.00257499


       @       Oxcb20d3382232af42b...                      Create Bid         14588546          356 days 13 hrs ago             O tankbottoms.eth cO                 OITT     0 Gnars: GNAR Token [.O                          0.022 ETH                 0.00155982


       @       OX1785176155a7fe850...                      c,eate Bid         14588026          356 days 15 hrs ago             O tankbottoms.eth [.D                OUT      0 Gnars: GNAR Token c9                           O.Dll ETH                 0.00252652


       @       0   Ox9416b768cb22c1c0...                   Create Bid          14585172         357 days 1 hr ago               O tankbottoms.eth cD                 D\f!     0 Gnars: GNAR Token c□                           0.025 ETH                 0.00353214


       @       Oxdc76380b4aeb4 te75...                     Create Bid         14584507          357 days 4 hrs ago              O tankbottoms.eth c9                 01/l     0 Gnars: GNAR Token c9                           O.Dll ETH                 0.00428567


      Show:     100        Records                                                                                                                                                                                     First     <       Page 19 of 25     >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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htlps://elherscan.io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=19                                                                                                                                                                                           5/5
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      A total of 2,407 transactions found                                                                                                                             First     <   Page 20 of 25   >   Last   '\{v



       0      Txn Hash                      Method0               Block            Age                   From                               To                                      Value                 Txn Fee


       @      Ox73ee58352626e435 ...         Atomic M atch_       14584347         357 days 5 hrs ago    () tankbottoms.eth c,□      OUT    0 OpenSea: Wyvern Exch...     c,□       0.035 ETH             0.0133866


       @      Ox31632ba4222a 14d7...           Create Bid         14583898         357 days 6 hrs ago    () ta nkbottoms.eth c,□     OUT    0 Gnars: GNAR Token cP                  0.011 ETH             0.00482884


       @      Ox06474ce2ab7b3cea...               M int           14579759         357 days 22 hrs ago   O tankbottoms.eth c,□       OUT    0 Oxb81f4e...166E2E8a c,□               0.333 ETH             0.0059972


       @      Oxb5392433f3f0944c5...            Transfer          14579750         357 days 22 hrs ago   O service-provider.eth cP    IN    O tankbottoms.eth cP                    2.5 ETH               0.00096065


       @      Ox5f1 c5a6032e534c48 ...          Transfer          14579745         357 days 22 hrs ago   O ta nkbottoms.eth   cP     OUT    0 Polygon (Matic): Matic ... c,□        0 ETH                 0.00241542


       @      Ox52c070361 1c807dB.              Transfer          14577747         35B days 5 hrs ago    () tankbottoms.eth c,□      SELF   O ta nkbottoms.eth c,□                  0 ETH                 0.00146197


       @      Oxc8195eff39471980e...         Atomic Match_        14577650         35B days 5 hrs ago    O tankbottoms.eth cP        OUT    0 OpenSea: Wyvern Exch... cP            0.015 ETH             0.01634119


       @      Ox2a7e66debbad13b2 ...              Mint            14577613         35B days 6 hrs ago    O tankbottoms.eth cP        OUT    0 Clock8008: CLOCK Tok... (P            0.1 ETH               0.01039118


       @      Ox3e5d63bB3b3b19B7...          Atomic Match_        14577342         35B days 7 hrs ago    () tankbottoms.eth c,□      OUT    0 OpenSea: Wyvern Exch...     c,□       0.29 ETH              0.01035824


       @      Ox842fcb53e1 bba35f3 ...       MinLSeveraL...       14577297         35B days 7 hrs ago    O tankbottoms.eth cP        OUT    Oxe76512...dAc6a75C      cP             0.05 ETH              0.00930664


       @      Ox4022757eb14ea8f9b...         Transfer From        14576612         358 days 9 hrs ago    () tankbottoms.eth c,□      OUT    0 Ox5b6af9...9C28A857 c,□               0 ETH                 0.00471 804


       @      Ox58fcf267c4c395576...              Mint            14576288         35B days 11 hrs ago   O tankbottoms.eth c,□       OUT    0 OxF5841 E... 1BcOOOCe c,□             0.125 ETH             0.00587321


       @      Ox692804cd26eb33d0...          Exec TransacL        14576205         358 days 11 hrs ago   O tankbonoms.eth c,O        OUT    0 Ox6a67c6...ooo9592f Lo                0 ETH                 0.00395636


       @      Ox58bf2596e29b0f703...            Multicall         14576191         358 days 11 hrs ago   O ta nkbottoms.eth c,□      OUT    0 Uniswap V3: Router 2 c,□              1.25 ETH              0.0057679


       @      Ox7c2536d2f76828985...              Mint            14575083         35B days 16 hrs ago   O tankbottoms.eth c,□       OUT    0 OxOF5FAc...373t694e c,□               0.25 ETH              0.0102064


       @      Ox4e0e3abb32372f6a7...         Exec Traosact.~      14574883         358 days 16 hrs ago   () tankbottoms.eth c,□      OUT    0 Ox6a67c6...0009592f c,□               0 ETH                 0.00913157


       @      Ox4e3ab0B3dce1958c...               Mint            14572395         359 days 1 hr ago     O tankbottoms.eth c,□       WT     Ox5Fe218...06C42B46 c,□                 0.17 ETH              0.0072108


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       e     Txn Hash                    Method CD  Block Age              From                            To                Value                                                        Txn Fee


       @     Oxd5fd2e36e3e5f4566 ...              Mint          14572367   359 days 2 hrs ago     O ta nkbottoms.eth [,O     OUT    Ox5Fe218...06C42B46 [,O             0.17 ETH          0.00958215


       @     Ox33068d8375fe65521 ...              Mint          14572365   359 days 2 hrs ago     () tankbottoms.eth cD      OUT    Ox5Fe218...06C42B46 cO              0.17 ETH          0.01000121


       @     Ox63011 f2d9065b694 ...              Mint          14572365   359 days 2 hrs ago     O tankbottoms.eth c□       OITT   Ox5Fe218...06C42B46 [.O             0.17 ETH          0.01000084


       @     Ox0674beaff75a163fd...         Atomic M atch_      14567835   359 days 18 hrs ago    ◊ tankbottoms.eth    cP    OlfT   0 OpenSea: Wyvem Exch... cP         0.4175 ETH        0.00872727


       @     Ox7bef39bdfe7784241 ...         Mint Allowlist     14567193   359 days 21 hrs ago    O tankbottoms.eth [,O      OUT    Ox5Fe218...06C42846 (,0             0.17 ETH          0 .01044433


       @     Ox7112d9cae5555b0d ...         Exec TransacL       14563557   360 days 11 hrs ago    O tankbottoms.eth cO       OUT    0 Ox6a67c6...0009592f cO            0 ETH             0.00581237


       @     Ox6a8851 e0c47ac620 ...        Exec Transact.~     14563459   360 days 11 hrs ago    () tankbottoms.eth cO      OlfT   0 Ox6a67c6...0009592f cP            0 ETH             0.02450032


       @     Ox8e044588a 13c6976...            Withdraw         14569969   361 days 27 mins ago   O tankbottoms.eth cP       OITT   0 Creepz: Invasion Groun... cP      0 ETH             0.00947727


       @     Ox1 b803194824c5729...            Wtt:hdraw        14559708   361 days 1 hr ago      O ta nkbottoms.eth [,O     0\11   0 Creepz: Invasion Groun...   cD    0 ETH             0.00487536


       @     Ox14eeb8b23dcffe1 d6...            Transfer        14559613   361 days 1 hr ago      O tankbottoms.eth c□       SELF   O tankbottoms.eth   c□              0 ETH             0.001 17891


       @     Oxaa51f607bb71003b4 ...            Transfer        14557640   361 days 9 hrs ago     O partypa nts.eth c□        IN    O tankbottoms.eth c□                1.208293812 ETH   0.00042


       @     Ox543a2e629e3eff56d...             Transfer        14556636   361 days 12 hrs ago    0   ta nkbottoms.eth [,D   OUT    0 Ox3abF2A...00646f66 [,O           0 ETH             0.00065474


       @     Oxa4bead3cc2f5bf93e ...        Atomic Match_       14539819   364 days 3 hrs ago     O tankbottoms.eth cD       OUT    0 OpenSea: Wyvern Exch...     cO    0.149 ETH         0.02016203


       @     Oxc4071 fee4dc7858d0.              Transfer        14534179   365 days 1 hr ago      OxfEB93c.. bAE8bl 53 c□     IN    O tankbottoms.eth cP                0.31 ETH          0.0009492


       @     Ox6a7d3884c92dc474 ...         Register With ...   14527548   366 days 2 hrs ago     O tankbottoms.eth [,D      OVT    0 ENS: ETH Registrar Co_.     [.D   0.007962807 ETH   0.01912617


       @     Oxabcbl e8e9a0f96cc4...            Commit          14527457   366 days 2 hrs ago     O tankbottoms.eth cD       OUT    0 ENS: ETH Registrar Co...    cO    0 ETH             0.00394872


       @     OxdOcOOf9c8586738b7...         Register With ...   14527438   366 days 2 hrs ago     O ta nkbottoms.eth cO      OUT    0 ENS: ETH Registrar Co __ cP       0.004777684 ETH   0.0196124


       @     Ox2aagc932b266f3209...             Commit          14527429   366 days 2 hrs ago     () tankbottoms.eth c□      OUT    0 ENS: ETH Registrar Co__     c□    0 ETH             0.00360532


       @     Ox08840ca40cf0a7a29...             Transfer        14524381   366 days 13 hrs ago    O tankbottoms.eth cO       OITT   0 Compound: cDAI Token cO           0 ETH             0.00949156


       @     0     Dxf571639a99794d2ac...         Mint          14524354   366 days 13 hrs ago    O ta nkbottoms.eth cP      01/T   0 Compound: cDAI Token cP           O ETH             0.00563184


       @     Oxl dad6878c6a3c879...               Mint          14524354   366 days 13 hrs ago    O tankbottoms.eth c□       OUT    0 Compound: cDAI Token c□           0 ETH             0 .0106131


       @     OxOe2f363195efcdb63 ...              Mint          14522318   366 days 21 hrs ago    O tankbottoms.eth cP       OITT   0 Dx8d3b07...70334AF1    cO         0.12 ETH          0.00884

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       e     Txn Hash                    Method CD  Block Age               From                            To                Value                                                          Txn Fee


       @     Oxe6d02d6576cf8a5a9 ...            Pay           14521081    367 days 2 hrs ago    O ta nkbottoms.eth [,O         OUT     0 Juicebox: Terminal V1 c9          0.25 ETH          0.00612075


       @     Oxf0c6dd970240d0623 ...       Atomic Match_      14517 571   367 days 15 hrs ago   () tankbottoms.eth     cD      OUT     0 OpenSea: Wyvern Exch... cD        1.79 ETH          0.00994649


       @     Ox254ad519d0f26157...         Atomic Match..     14517491    367 days 15 hrs ago   O tankbottoms.eth c□           OUT     0 OpenSea: Wyvern Exch... cO        0.075 ETH         0.01125919


       @     Oxadf13c7ede981 b612 ...        Place Bid        14517381    367 days 16 hrs ago   ◊ tankbottoms.eth      c9      OlfT    0 Foundation: Market c.O            0.05 ETH          0.0042333


       @     Oxced78496dea649c7 ...         Collect Art       14517356    367 days 16 hrs ago   O tankbottoms.eth [,O          OUT     0   OKPC: OKPC Token    [.O         0.02 ETH          0.00412278


       @     Ox0e8dce818f7338ce1 ...       Atomic M atch_     14517311    367 days 16 hrs ago   O tankbottoms.eth cO           OUT     0 OpenSea: Wyvern Exch... cO        0.15698769 ETH    0.01007496


       @     Ox96f7e81749adb88a2...         Collect Art       14517273    367 days 16 hrs ago   () tankbottoms.eth     cO      OlfT    0 OKPC: OKPC Token c□               0.02 ETH          0.0038507


       @     Oxb2f2c4f4cd80f61 OeL           Create Biel      14517266    367 days 16 hrs ago   O tankbottoms.eth c9           OUT     0 Gnars: GNAR Token c9              0.022 ETH         0.00299113


       @     Ox5513933e5f2c1 ba51 ...      Atomic Match_      14517263    367 days 16 hrs ago   ◊ tankbottoms.eth c□           01/T    0 OpenSea: Wyvern Exch...      c□   0.1 ETH           0.01222638


       @     Oxe11881 fdad5989064 ...      Atomic Match_      14517240    367 days 16 hrs ago   O tankbottoms.eth c□           OUT     0 OpenSea: Wyvern Exch...      c□   0.0195 ETH        0.01516904


       @     Ox6e216c94cf4a5c504 ...            Mint          14513910    368 days 5 hrs ago    ( ) ta nkbottoms.eth   e.,0    OUT     0 Compound: cDAI Token e.,0         0 ETH             0.00750992


       @     Ox70b7691cb66f4a715...           Approve         14513909    368 days 5 hrs ago    0   ta nkbottoms.eth   [,O     OUT     0 Maker: Dai Stablecoin [,O         0 ETH             0.0017023


       @     Ox135d5bea2c7ae3d9 ...       Exec Transact ...   14509047    368 days 23 hrs ago   O ta nkbottoms.eth     e.,D    OUT     0 OxD2427c...13556982 c9            0 ETH             0.00379724


       @     Oxe52afeebfe8be8b6e...           Unstake         14507286    369 days 5 hrs ago    O tankbottoms.eth e.,0         OUT     0 Juicebox: Ticket Booth (9         0 ETH             0.00334163


       @     Ox68afa3670b229b6ab...             Pay           14501556    370 days 3 hrs ago    O tankbottoms.eth [,D          OUT     0 Juicebox: Terminal V1 (9          1 ETH             0.00919275


       @     Oxc80f27ad0288cba47...           Transfer        14494534    371 days 5 hrs ago    Ox0Df721 ...073506f0      (9    IN     O ta nkbottoms.eth c9               0.759824409 ETH   0.00281789


       @     Ox6dc0565e1649b23f0...             Tap           14494015    371 days 7 hrs ago    O ta nkbottoms.eth e.,0        OUT     0 JuIcebox: Terminal V1_1 e.,0      0 ETH             0.01113627


       @     Oxefb438b6c1 d83507b...      Exec TransacL       14492843    371 days 12 hrs ago   ( ) tankbottoms.eth    e.,O    OUT     0 Ox6a67c6._0009592f e.,O           0 ETH             0.00452515


       @     Ox56d8d4c68b21a13l _            Place Bid        14491127    371 days 18 hrs ago   O tankbottoms.eth e.,O         OUT     0 Foundation: Market c9             0.165ETH          0.00200654


       @     OX11 c2fl 39a76ace32a ...        Multicall       14488274    372 days 5 hrs ago    O tankbottoms.eth c9           OUT     0 Uniswap V3: Positions ... c9      0.14818999 ETH    0.02020005


       @     Ox4937fe0910144b2cc...           Approve         14488270    372 days 5 hrs ago    O tankbottoms.eth e.,O         0 1/1   0 Maker: Dai Stablecoin e.,O        0 ETH             0.00238317


       @     Ox7cbcb8866209c3e6...         Top Uplame.x       14486305    372 days 12 hrs ago   O tankbottoms.eth c9           OU,     0 Ox35fe4a...8B5b699b (9            0 ETH             0.00259953

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       CD     Txn Hash                   Melhod(v   Block Age               From                             To                 Value                                                  Txn Fee


       @      Ox64ab0a127e593247 ...          Transfer      14484781   372 days 18 hrs ago    () serviee-provider.eth c.,D    IN    0   tankbottoms.eth c.,D            5 ETH          0.00082216


       @      Oxef0e012b8e 16855d9...      Atomic Match_    14484760   372 days 18 hrs ago    () ta nkbottoms.eth c.,D       OUT    0 OpenSea: Wyvern Exch...    c.,D   0.069 ETH      0.0077018


       @      Oxa1 f58bd0c125ald86...      MinL0ne_4d       14483156   373 days 27 mins ago   O tankbottoms.eth c.,0         OUT    Oxe76512...dAc6a75C c.,0            0 ETH          0.00325107


       @      Ox689895bffe50d8deb...       Atomic Match_    14483096   373 days 39 mins ago   ◊ tankbottoms.eth    cP        OUT    0 OpenSea: Wyvern Exch... cP        0.03 ETH       0.0076125


       @      Ox2039e1d0e3f602546...       Atomic Match_    14483074   373 days 43 mins ago   O tankbottoms.eth c.,O         OUT    0   OpenSea: Wyvern Exch... c.,O    0.023 ETH      0.00952501


       @      Ox3ed2feba3546f14b2...         Web Mint       14481617   373 days 6 hrs ago     O tankbottoms.eth c.,0         OUT    Ox941ee2 ...749ef635   cP           0.04 ETH       0.01335433


       @      Ox9e2076efbe4fe2728..        Atomic Match_    14481412   373 days 6 hrs ago     () tankbottoms.eth c,O         OUT    0 OpenSea: Wyvern Exch... cP        0.011111 ETH   0.00767698


       @      Ox6b33d996da6e36ea...             Mint        14478394   373 days 18 hrs ago    O tankbottoms.eth cP           OUT    0 Ox174150...6F289FA6 @             0.427 ETH      0.008771 5


       @      Ox104e8df2a90ea989e...       Atomic Match_    14473869   374 days 11 hrs ago    ◊ tankbottoms.eth c,D          01/T   0 OpenSea: Wyvern Exch...    c,D    0.3 ETH        0.00712436


       @      Oxe4ede15010a00e1e...            Burn         14473861   374 days 11 hrs ago    O tankbottoms.eth c,O          OUT    0 Ox174150...6F289FA6 c,O           0 ETH          0.00254271


       @      Ox1 e03fe21 cd6ccd935...     Atomic Match_    14473841   374 days 11 hrs ago    () ta nkbottoms.eth c,0        OUT    0 OpenSea: Wyvern Exch...    c,0    0.29 ETH       0.00611265


       @      Oxl 5ab7d5b683fe3e54 ...     Transfer From    14473675   374 days 11 hrs ago    0   ta nkbottoms.eth c,D       OUT    0 Bleeps: BLEEP Token @             0 ETH          0.00433467


       @      Ox27d7e8370abc0edc...        Transfer From    14472891   374 days 14 hrs ago    O ta nkbottoms.eth c,D         OUT    0 Oxa5372E...401A2fe9 c.,D          0 ETH          0.00163775


       @      Oxe09a7d9a416308df7...           Claim        14472607   374 days 15 hrs ago    O tankbottoms.eth c,0          OUT    0 Ox5f828b...fC2BE7ED c.,0          0 ETH          0.00577192


       @      Ox60b60b66bd787c3c ...         Create Bid     14472585   374 days 15 hrs ago    O ta nkbottoms.eth c,D         OUT    0 Gnars: GNAR Token c.,D            0.011 ETH      0.00300557


       @      Oxafce0506e49300ece ...      Settle Auction   14472584   374 days 15 hrs ago    O tankbottoms.eth c,D          OUT    0 Ox465a67...0790071b c.,D          0 ETH          0.00900477


       @      Oxf5409274ce6b91db0...        Ox60806040      14472441   374 days 16 hrs ago    O ta nkbottoms.eth c,0         OUT    ilm Create: TANK @                  0 ETH          0.01490495


       @      Ox4e051d03b0953ea5 ...       Settle Auction   14470709   374 days 22 hrs ago    () tankbottoms.eth c,O         OUT    0 Ox465a67...079007lb c,O           0 ETH          0.03166971


       @      oxd7f32b3ea5491028e ...           Mint        14470697   374 days 22 hrs ago    O ta nkbottoms.eth c,D         OUT    0 Ox174150...6F289FA6 c,D           0.427 ETH      0.02333079


       @      Oxed3e585dtf1 eel a65...     Atomic Match,_   14470222   375 days 45 mins ago   O ta nkbottoms.eth cP          OUT    0 OpenSea: Wyvern Exch... cP        0.1299 ETH     0.00722927


       @      Ox89130619d872017e...        Atomic Match_    14470199   375 days 50 mins ago   O tankbottoms.eth c,O          OUT    0 OpenSea: Wyvern Exch...    c.,O   0.1299 ETH     0.00708199


       @      OX080be36025c01815 ...         Create Bk:1    14469825   375 days 2 hrs ago     O tankbottoms.eth cP           01/T   0 Gnars: GNAR Token c,D             0.024 ETH      0.00345878

                                                                                                                                                                            PLAINTIFF0001112
https ://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1 OO&p=20                                                                                                              4/5
4/6 /23, 4 :31 PM                       Case 1:23-cv-20727-RKA Document 106-30       Entered on
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                                               Method CD
                                                                                 of  401
       CD      Txn Hash                                   Block Age               From                            To                Value                                                                                                              Txn Fee


       @>      Oxce2t745b1 c0070969 ...                  Atomic Match_         14469798         375 days 2 hr s ago              O ta nkbottoms.eth [,O              01/T      0 OpenSea: Wyvern Exch...        [.O           0.135 ETH                0.00809705


       @>      Ox924e8b0ba7df892bc ...                   Atomic Match_         14469730         375 days 2 hrs ago               () ta nkbottoms.eth cO              01/T      0 OpenSea: Wyvern Exch...        cO            0.05 ETH                 0.0081748


       @>      Ox8cb8d370cd47ee75f...                    Atomic Match_         14469723         375 days 2 hrs ago               O ta nkbottoms.eth c□               01/T      0 OpenSea: Wyvern Exch...        LO            0.05 ETH                 0.00928623


       @>      Ox627d2037c7997206f...                    Atomic Match_         14469711         375 days 2 hrs ago               ◊ tankbottoms.eth      cP           OIIT      0 OpenSea: Wyvern Exch... cP                   0.011 ETH                0.00879164


       @>      OX63cb6bfd92730de5c...                    Atomic Match_         14469706         375 days 2 hrs ago               O tankbottoms.eth [,O               OUT       0   OpenSea: Wyvern Exch... (,0                0.011 ETH                0.00756336


       @>      Oxf4a 16a5af97 16c9fef...                    Mint Art           14468247         375 days 7 hrs ago               O tankbottoms.eth cO                OUT       0 Et hBlockArt c□                              0.1101 ETH               0.02769094


       @>      Oxl a76a80175f552b7e...                        Mint             14468227         375 days 8 hrs ago               () tankbottoms.eth cO               OIIT      0 OxB6aD34...99f1 DCBc c□                      0.1 ETH                  0.00970231


       @>      Oxfa28972e9bc9e6bb1 ...                   Atomic Match_         14468217         375 days 8 hr s ago              O tankbottoms.eth cO                0111      0 OpenSea: Wyvern Exch... cP                   0.008 ETH                0.00553448


       @>      Oxad929baef6c4136bl ...                      Transfer           14468198         375 days 8 hrs ago               Ox7549a4... 0E581bl O @              IN        O tankbottoms.et h [,O                        1.75 ETH                 0.00058582


       @>      Oxddff613a98aee3d02 ...                   Atomic Maten_         14468167         375 days 8 hrs ago               O tankbottoms.eth c□                OUT       0 OpenSea: Wyvern Exch...         c□           0.004 ETH                0.00511199


       @>      Oxfl 46d3980b 15c9993...                       M int            14468149         375 days 8 hrs ago               () ta nkbottoms.eth [,O             OUT       0 OxB6aD34...99f1DC8c [.O                      0.1 ETH                  0.01085347


       @>      Oxal 3c9bea0a6742fdf...                        Mint             14468092         375 days 8 hrs ago               0   ta nkbottoms.eth [,O            OIJT      0 Ox0f4738...42DDC53f [,O                      0.5 ETH                  0.00299742


       @>      Ox98728aa0el ba3625 ...                        Mint             14468085         375 days 8 hr s ago              O tankbottoms.eth cO                01/T      0 Ox0f4738...42DDC53f [9                       0.5 ETH                  0.00408628


       @>      Ox4ba8e0eb87e39a0e...                      Craft For Self       14467258         375 days 11 hrs ago              O tankbottoms.eth [,O               OUT       0 Cranes: CRNS Token cO                        0.02 ETH                 0.00463515


       @>      Ox877674a6c9e08829 ...                        Claim             14467249         375 days 11 hrs ago              O tankbottoms.eth [,O               OUT       0 Headscapes: HDSCP T...         [.O           0.075 ETH                0.01874241


       @>      Ox7ca35259de3a8cc0...                     Atomic Match_         14467227         375 days 11 hrs ago              O tankbottoms.eth cO                OUT       0 OpenSea: Wyvern Exch...        cO            0.037 ETH                0.00372699


       ®       Ox937c9ct71 df958025...                   Atomic Match_         14467194         375 days 11 hrs ago              O tankbottoms.eth cO                OUT       0 OpenSea: Wyvern Exch.• cP                    0.0364 ETH               0.00603701



      Show:     100        Records                                                                                                                                                                                    First     <       Page20 of 25     >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the netwolk. Learn more about transactions in our Knowl edge Base.




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   Transactions
   For Ox5d95baEBB8412AD827287240A5c281 E3b830d27E O           tin kbo1toms.e th




      A total of 2,407 transactions found                                                                                                                     Rrst      <    Page 21 of 25     >   Last   \{v



       0      Txn Hash                      Method0                  Block         Age                   From                           To                                        Value              Txn Fee


       @      Ox87c5476e8cc97979...               Mint               14467137      375 days 12 hrs ago   O tankbottoms.eth LD     OUl   0 Ox66b34C...2Dd800D9 LD                  0.1 ETH            0.00474898


       @      Oxa2e2f45ce3799c45b...         Atorn ic Match_         14467123      375 days 12 hrs ago   O tankbottoms.eth   LD   OUT   0 OpenSea: Wyvern Exch...       LD        0.01 ETH           0.00511003


       @      Ox6c472a51 c9bc9055...         Atomic Match_           14467121      375 days 12 hrs ago   O tankbottoms.eth LD     OUT   0 OpenSea: Wyvem Exch...        L□        0.004 ETH          0.0054361 5


       @      Ox897c2a97ba3b442e...          Atomic Match_           ·t4467115     375 days 12 hrs ago   O tankbottoms.eth   cP   OUT   0 OpenSea: Wyvern Exch... cP              0 .0375 ETH        0.005036


       @      0    Ox5a550ce8476c45f92...    Atomic Match_           14467100      375 days 12 hrs ago   O tankbottoms.eth LD     OUT   0 OpenSea: Wyvern Exch...       [9        0.0069 ETH         0.00171542


       @      Ox18bc42e0dfc263123 ...        Atomic Match_           14467099      375 days 12 hrs ago   O tankbottoms.eth   L□   OUl   0 OpenSea: Wyvern Exch...       L□        0.0069 ETH         0.00460937


       @      Oxe412ecf96cba8b08b ...          Create Bid            14467088      375 days 12 hrs ago   Otankbottoms.eth L□      OUT   0 Gnars: GNAR Token L□                    0.011 ETH          0.0012246


       @      Ox64ee4d0ff4f55e336...          Public Mint            14467080      375 days 12 hrs ago   O tankbottoms.eth   L□   OUT   0 Ox495Fb4...52D893e3 [9                  0.07 ETH           0.00220515


       @      Oxdfl 5d257847d7276e...        Atomic Match_           14467051      375 days 12 hrs ago   O tankbottoms.eth LD     OUT   0 OpenSea: Wyvern Exch...       L□        0.001 ETH          0.00482104


       @      Ox7ae2a3cda412eb35 ...         Atomic Match_           14467050      375 days 12 hrs ago   O tankbottoms.eth   L□   OUT   0 OpenSea: Wyvern Exch... cP              0.013 ETH          0.00390071


       @      Oxfc59cd22834f9c730...         Atomic Match_           14467005      375 days 12 hrs ago   O tankbottoms.eth L□     OUT   0 OpenSea: Wyvem Exch...        L□        0.099 ETH          0.00545836


       @      Oxe2e895c6dd450302...              Claim               14466991      375 days 12 hrs ago   Otankbottoms.eth L□      OUT   0 Ox5f828b...fC2BE7ED L□                  0 ETH              0.00295454


       @      Ox269b5dbf4565494fd...           Purctiase             14466984      375 days 12 hrs ago   O tankbottoms.eth   c□   OUT   0    Ox1 d5014...3273991 a L□             0.1234 ETH         0.00656603


       @      Ox5ad5b14428f9eb1 d4...        Atomic Match_           14466977      375 days 12 hrs ago   0   tankbottoms.eth L□   OUT   0 OpenSea: Wyvem Exch... cP               0.048 ETH          0.00400564


       @      Oxb9c1 Odcc965d7ae1 ..           Create Bid            14466959      375 days 12 hrs ago   O tankbottoms.eth LD     OUT   0 Gnars: GNAR Token L□                    0.012 ETH          0.00137756


       @      Oxe1 a92fea9008c297a ...       Atomic Match_           14466957      375 days 12 hrs ago   O tankbottoms.eth L□     OUT   0 OpenSea: Wyvern Exch...       L□        0 .012 ETH         0.00408561


       @      Ox563b55638d4b3df1 ...           Place Bid             14466838      375 days 13 hrs ago   Otankbottoms.eth L□      Out   0 Foundation: Market L□                   0 .14ETH           0.00104746


                                                                                                                                                                                 PLAINTIFF0001114
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       e     Txn Hash                     Method CD  Block Age                 From                            To                Value                                            Txn Fee


       @     Ox4b3841bb8ab159bd ...        Atomic Match_      14466600   375 days 14 hrs ago    0   tankbottoms.eth [.D    OVT   0 OpenSea: Wyvem Exch...       [.D   0 ETH       0.004139


       @     Oxc1 ce8e25fe0002435...           Transfer       14466573   375 days 14 hrs ago    O winnerchicken.eth t.D    IN    O tankbottoms.eth t.D                1.5 ETH     0.00045365


       @     Oxe9d7800ea20dc057f...           Transfer        14466571   375 days 14 hrs ago    O pillowfightclub.eth c9   IN    O tankbottoms.eth [.O                0.3 ETH     0.00039457


       @     Oxb6el dcb2418891b1 ...       Atomic Match_      14466555   375 days 14 hrs ago    O tankbottoms.eth t.D      OUT   0 OpenSea: Wyvem Exch... c9          0.04 ETH    0.00365928


       @     Ox5c2990e35675b93b ...        Create Collect..   14466193   375 days 15 hrs ago    O tankbottoms.eth [.O      OUT   0 Foundation: Collection ...   [.O   0 ETH       0.00307355


       @     Oxe1c951 b6a2e799f45...          Multicall       14465536   375 days 18 hrs ago    0   tankbottoms.eth t.D    OUT   0 Uniswap V3: Router 2 c9            1 ETH       0.0060286


       @     Oxe6bcf7838d60ecec0...           Mint NFT        14464193   375 days 23 hrs ago    O tankbottoms.eth c9       OUT   @ superBLOX3D: SB3D T... t.D         0.089 ETH   0.00466437


       @     Ox7680a3c7df89d8c4a...        Atomic Match_      14461041   376 days 11 hrs ago    O tankbottoms.eth t.D      OUT   0 OpenSea: Wyvern Exch... c9         0.85 ETH    0.00496289


       @     Ox2367db957d9ea63f9...        Atomic Match_      14460929   376 days 11 hrs ago    O tankbottoms.eth [.O      OUT   0 OpenSea: Wyvern Exch...      t.D   0 .7ETH     0.00519767


       @     Oxcaa 1669c 1748e9a9...       Finalize Reser,_   14460887   376 days 11 hrs ago    O tankbottoms.eth t.D      OUT   0 Foundation: Market [.D             0 ETH       0.00272446


       @     Ox0b72d4798e67eb36...         Atomic Match_      14460846   376 days 11 hrs ago    O tankbottoms.eth   [.D    OUT   0 OpenSea: Wyvem Exch...       L□    0.63 ETH    0.00621985


       @     Ox1 e9f01 afd251360c9 ...        Purchase        14457696   376 days 23 hrs ago    O tankbottoms.eth [.O      OUT   0 Art BIocks [.O                     0 .14ETH    0.01558403


       @     Ox64988c5e33588ec0 ...           Purchase        14457688   376 days 23 hrs ago    O tankbottoms.eth t.D      OUT   0 Art Blocks (9                      0.1 ETH     0.01769944


       @     Oxe54cabcca3b2412a ...        Atomic Match_      14456599   377 days 3 hrs ago     O tankbottoms.eth c9       our   0 OpenSea: Wyvern Exch...      L□    0.675 ETH   0.01647664


       @     Oxe2e8fd2dc4dedf493...        Atomic Match_      14456571   377 days 3 hrs ago     O tankbottoms.eth [.D      OUT   0 OpenSea: Wyvem Exch...       L□    0.59 ETH    0.01564895


       @     Ox18916aa7de070631 ...        Atomic Match_      14456552   377 days 3 hrs ago     O tankbottoms.eth t.D      OUT   0 OpenSea: Wyvern Exch...      L□    0.55 ETH    0.01578204


       @     Oxb546bed07ad75fb6L              Place Bid       14453828   377 days 13 hrs ago    O tankbottoms.eth   [.D    out   0 Foundation: Markel c9              0.05 ETH    0.00238566


       @     Ox678e4843b284fd42a...           Purchase        14453666   377 days 14 hrs ago    O tankbottoms.eth [.D      OUT   0 Art Blocks LO                      0.14ETH     0.00932301


       @     Oxf8e3b067ddOdc9531 ...          Purchase        14453651   377 days 1 4 hrs ago   O tankbottoms.eth t.D      OUT   0 Art Blocks t.D                     0.075 ETH   0.01046855


       @     OX1 4de0aa63fe5755e2...          Purchase        14453612   377 days 1 4 hrs ago   O tankbottoms.eth t.D      OUT   @ Art Blocks   (9                    0.05 ETH    0.01088645


       @     Oxf51 f7d76c62392a80 ...      Atomic Match_      14453605   377 days 14 hrs ago    O tankbottoms.eth   [.D    OUT   0 OpenSea: Wyvern Exch...      LO    0.045 ETH   0.00559708


       @     Ox4b4634f3db8e8a3b3...           Purchase        14453563   377 days 15 hrs ago    O tankbottoms.eth t.D      OUT   0 Art Blocks (9                      0.1 ETH     0.00756797

                                                                                                                                                                      PLAINTIFF0001115
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                                                                               From                            To                Value                                              Txn Fee
       CD


       @     Ox917e383106a54d57...             Deposit         14450057   378 days 4 hrs ago     O tankbottoms.eth [.D        0\/T   0 Loopring: Exchange v2 c9         0.25 ETH    0.00802019


       @     Oxb8cba099ba49667e...            Claim Tax        14447235   378 days 1 4 hrs ago   O tankbottoms.eth c.D        0\/T   0 OXD6D804...42B7f86B c.D          0 ETH       0.00521797


       @     Oxc1 f6f8202b9a77207...             Pay           14446695   378 days 16 hrs ago    Otankbottoms.eth c.D         OUT    0 J uicebox: Terminal Vl_1 c9      0.1 ETH     0.00487212


       @     Ox1 e90d087b35070Bfl ...      Atomic Match_       14442766   379 days 7 hrs ago     Otankbottoms.eth c.D         OUT    0 OpenSea: Wyvem Exch...     c.D   0.045 ETH   0.00461215


       @     Oxbb66ab3b725aba8b...          Claim Lamex        14440793   379 days 1 4 hrs ago   O tankbottoms.eth   [.O      0\/T   0 OX35fe4a... 8B5b699b [.O         0 ETH       0.01655547


       @     Oxf8209a67bcb9b8b93...            Multicall       14436758   380 days 5 hrs ago     0   tankbottoms.eth c.D      Ol/T   0 Uniswap V3: Router 2 c.D         2ETH        0.00657134


       @     Ox188d604b5313f2b4 ...        Exec Transact...    14423738   382 days 6 hrs ago     O tankbottoms.eth c9         0\/T   0 Ox6a67c6...0009592f c.D          0 ETH       0.00303658


       @     Ox7840bd3406710e47...         E.xec Transact...   14423297   382 days 7 hrs ago     O tankbottoms.eth c.D        OUT    0 Ox6a67c6...0009592f c.D          0 ETH       0.00367347


       @     Oxfe92e2c6f75585c50...        Atomic Match_       14423282   382 days 7 hrs ago     O tankbottoms.eth [.D        Ol/T   0 OpenSea: Wyvem Exch...     c.D   0 ETH       0.03950387


       @     Oxbedd9c3e5084ddafb...        Atomic Match_       14421519   382 days 1 4 hrs ago   O tankbottoms.eth   c.D      Ol/T   0 OpenSea: Wyvem Exch...     c.D   0 ETH       0.00494061


       @     Ox47cbe6a0ea578c13...         Atomic Match_       14421515   382 days 14 hrs ago    O tankbottoms.eth   c.D      OUT    0   OpenSea: Wyvem Exch... [.D     0 ETH       0.00421903


       @     Ox8317790666398735...               Mint          14421406   382 days 14 hrs ago    O tankbottoms.eth [.D        0\/T   0 Ox6D0683...8EAd34AD [.D          0.09 ETH    0.00125627


       @     Ox5d63230b358fbba01 ...             Mint          14421319   382 days 15 hrs ago    Otankbottoms.eth c.D         Ol/T   0 Oxe21756...C8Dc903B c.D          0.05 ETH    0.00322435


       @     Ox649ddfab6d852b88 ...        Unstake Prod...     14421192   382 days 15 hrs ago    Otankbottoms.eth (9          our    0 Oxfa0b8L.338CBDa3 c.D            0 ETH       0.00195648


       @     Ox6340bf5a38d590d3...         Exec Transact...    14419842   382 days 20 hrs ago    O tankbottoms.eth [.D        Ol/T   0 Ox6a67c6...0009592f c.D          0 ETH       0.00572711


       @     Ox9fe39bffa90dbbcd9...        Exec Transact..     14418554   383 days 1 hr ago      O tankbottoms.eth c.D        OUT    0 Ox6a67c6...0009592f c.D          0 ETH       0.0052021


       @     Ox67734bc3fe4f3554d...          Public Mint       14417575   383 days 5 hrs ago     O tankbottoms.eth (9         out    0 OxB21e76.. BC8ADBA8 (9           0.08 ETH    0.00303228


       @     Ox7fe5017a84ea6f018...           T ransfer        14414630   383 days 1 6 hrs ago   O service-provider.eth c.D   IN     Otankbottoms.eth c.D               1.5 ETH     0.00065947


       @     Ox66bl f3a51d06741 f7 ...         Transfer        14413347   383 days 21 hrs ago    O service-provider.eth (9    IN     Otankbottoms.eth c.D               2 .5 ETH    0.00083178


       @     Oxf7bdad8909183c562...        Atomic Match_       14411062   384 days 5 hrs ago     Otankbottoms.eth c.D         OUT    0 OpenSea: Wyvem Exch... (9        0.11 ETH    0.01561175


       @     Ox005547d53f116afOe...        Atomic Match_       14410038   384 days 9 hrs ago     O tankbottoms.eth   c.D      OUT    ® OpenSea: Wyvem Exch...     c.D   0.59 ETH    0.00696954


       @     Oxadd9b0e1 d7b0f702f...        Transfer From      14407477   384 days 1 8 hrs ago   O tankbottoms.eth c.D        OUT    0 Poolsuite Executive Me... (9     0 ETH       0.00531041

                                                                                                                                                                        PLAINTIFF0001116
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       @     Ox777241 b 7234e2cf72...     Atomic Match_       14407466   384 days 18 hrs ago    O tankbottoms.eth [.D   0\/T   0 OpenSea: Wyvem Exch... [.D        1.17 ETH   0.01422893


       @     OX1 a2695a4aca40a8bf...      Adopt Kitty Ca.•    14407442   384 days 1 9 hrs ago   O tankbottoms.eth c.D   0\/T   0 Ox793290...EC38EcE8 c.D           0.1 ETH    0.02225783


       @     Ox42e7cc73b847d9c3 ...           Mint Tile       14407424   384 days 19 hrs ago    O tankbottoms.eth c.D   OUT    El Ox64931 F...6996D764 c.D         0.16 ETH   0.02943742


       @     Ox68bdafb2a5ee3bfc6...       Atomic Match_       14407356   384 days 19 hrs ago    O tankbottoms.eth c.D   OUT    0 OpenSea: Wyvem Exch...       (9   1.16 ETH   0.04166334


       @     Ox74fb 73057e36a357c ...     Atomic Match_       14407346   384 days 1 9 hrs ago   O tankbottoms.eth [.O   0\/T   0 OpenSea: Wyvem Exch...       (9   0.17 ETH   0.05185538


       @     Oxc03654fcca909da25...       Exec Transact...    14407311   384 days 19 hrs ago    0 tankbottoms.eth c.D   OUT    0 Ox6a67c6...0009592f c.D           0 ETH      0.00782468


       @     Ox491839630fd34c006...       Exec Transact...    14407305   384 days 19 hrs ago    O tankbottoms.eth c9    0\/T   0 Ox6a67c6...0009592f c.D           0 ETH      0.00945061


       @     Ox70f6e8d4612f66b6f...       E.xec Transact...   14407235   384 days 19 hrs ago    O tankbottoms.eth c.D   OUT    0 Ox6a67c6...0009592f c.D           0 ETH      0.0396429


       @     Ox89f42680624d2931 f ...      Transfer From      14407131   384 days 20 hrs ago    O tankbottoms.eth [.D   OUT    E] Ox3c1645...COA4DcF4 c.D          0 ETH      0.00544899


       @     Oxd48f687d90f72acde...       Exec Transact..     14407053   384 days 20 hrs ago    O tankbottoms.eth c.D   OUT    0 Ox6a67c6...0009592f c.D           0 ETH      0.083215


       @     Ox44a5869b9ac7e0d4f...        Transfer From      14406476   384 days 22 hrs ago    O tankbottoms.eth c.D   OUT    El Juicebox: Projects c.D           0 ETH      0.00285766


       @     Ox097624d54d64bf9ef...          Configure        14403177   385 days 11 hrs ago    O tankbottoms.eth [.D   0\/T   0 J uicebox: Terminal V L 1 (9      0 ETH      0.01113224


       @     Ox98ba0c2965e8922a...             Issue          14403134   385 days 11 hrs ago    O tankbottoms.eth c.D   OUT    0 J uicebox: Ticket Booth c.D       0 ETH      0.0287912


       @     Ox332ad3b4c5bb1c12 ...            Set Uri        14402602   385 days 13 hrs ago    O tankbottoms.eth (9    OUT    0 J uicebox: Projects (9            0 ETH      0.00088195


       @     Oxefed34a25831 Sb6be...      Set Payout M.•      14392821   387 days 1 hr ago      O tankbottoms.eth [.D   OUT    0 J uicebox: Mod Store [.D          0 ETH      0.00487552


       @     Oxa74a0805cff039c17...            Set Uri        14392569   387 days 2 hrs ago     O tankbottoms.eth c.D   OUT    0 J uicebox: Projects c.D           0 ETH      0.00235837


       @     Ox719a7565fa2a826fb...           Transfer        14392303   387 days 3 hrs ago     O tankbottoms.eth c.D   our    El Maker: Dai Stablecoin c.D        0 ETH      0.00178532


       @     Ox906ee6d38855d2f2f...             Pay           14392190   387 days 4 hrs ago     O tankbottoms.eth c.D   OUT    E] J uicebox:Terminal V1_1 c.D      1 ETH      0.00603054


       @     Oxf657a2cad6f8a8a84...            Set Uri        14389845   387 days 1 2 hrs ago   O tankbottoms.eth c.D   OUT    0 J uicebox: Projects c.D           0 ETH      0.00065092


       @     Oxl a83ad8c5854e35a ...         Configure        14389739   387 days 1 3 hrs ago   O tankbottoms.eth c.D   OUT    0 J uicebox: Terminal V L 1 (9      0 ETH      0.00865028


       @     Ox91074f28380b7c6e5...           Deploy          14389391   387 days 14 hrs ago    O tankbottoms.eth c.D   OUT    E] J uicebox:Terminal V1_1 c.D      0 ETH      0.01779605


       @     Oxd2b2920e244640e7...        Exec Transact...    14387027   387 days 23 hrs ago    O tankbottoms.eth c.D   OUT    0 OxD2427c. .. 13556982 @           0 ETH      0.00403358

                                                                                                                                                                   PLAINTIFF0001117
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=21                                                                                                      4/5
4/6/23, 4 :31 PM                        Case 1:23-cv-20727-RKA Document 106-30      Entered on
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                                                Method CD
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       CD      Txn Hash                                    Block Age                 From                            To                Value                                                                                                           Txn Fee


       @       Oxae8f5a 7aa8f372c53...                    Create Proxy·-         14386964          387 days 23 hrs ago               O tankbottoms.eth [.D               0\/T      0 Safe: Proxy Factory 1.3.0 c.D                 0 ETH               0.01 085775


       @       Ox227eb5d822adbf838...                         Multicall          14382143          388 days 17 hrs ago               O tankbottoms.eth c.D               OUT       0 Uniswap V3: Router 2 c.D                      5 ETH               0.00495825


       @       Oxa2d9f08081e0577df...                        Transfer            14379265          389 days 4 hrs ago                Otankbottoms.eth c.D                OUT       Ox7f41Cc... 5dA7072b (9                         0.5 ETH             0.00056834


       @       Oxf60019c8e50a4f05c...                      Atomic Match_         14379140          389 days 4 hrs ago                Otankbottoms.eth c.D                OUT       0 OpenSea: Wyvem Exch...          c.D           0.2 ETH             0.00645903


       @       Oxb60b0176a096891b ...                         Transfer           14372403          390 days 6 hrs ago                O tankbottoms.eth c.D               OUT       0 Maker; Dai Stablecoin c.O                     0 ETH               0.00129941


       @       Ox62d0d74f737a1494 ...                          aaim              14368701          390 days 20 hrs ago               0   tankbottoms.eth     cP          OUT       0 Ox518e3C...7562632f c.D                       0 ETH               0.00138371


       @       Ox6fbc23193d8b21557 ...                        Transfer           14363040          391 days 17 hrs ago               O sveltedev.eth    cP                IN       O tankbottoms.eth c,D                           SETH                0.00068337


       @       Ox41387164a8b14650...                            Pay              14362970          391 days 17 hrs ago               O tankbottoms.eth c.D               OUT       0 J uicebox: Terminal Vl cP                     4 ETH               0.00314254


       @       Ox88ac6a 5db25b7d87 ...                       ClaimTax            14354178          393 days 2 hrs ago                O tankbottoms.eth [.D               OUT       0 OxD60804...42B7f86B (9                        0 ETH               0.00521932


       @       Ox373047026bc1 f2507..                        Place Bid           14351505          393 days 1 2 hrs ago              O tankbottoms.eth c.D               OUT       0 Foundation: Market cP                         0.2 ETH             0.00421322


       @       Oxf0472bb1b41 d7be06...                       Sacrifice           14350737          393 days 15 hrs ago               O tankbottoms.eth c.D               out       0 M ystery Box c.D                              0 ETH               0.00667907


       @       Oxl 616274c2b5fe1507...                     Transfer From         14341811          395 days 13 mins ago              O tankbottoms.eth [.D               OUT       0 Oxdd407a ...71655042 [.D                      0 ETH               0.0093531


       @       Ox41 d2ac80bc4220be...                     Stake Produc._         14337103          395 days 17 hrs ago               Otankbottoms.eth c.D                OUT       0 OxfaOb8f...338CBDa3 c.D                       0 ETH               0.00767436


       @       Ox47dff4d7ab6522381 ..                     Set Approval ·~        14337099          395 days 17 hrs ago               Otankbottoms.eth cP                 out       § Ox97ed92 ...9e415e79       cP                 0 ETH               0.00223204


       @       Oxc0e80d35424cfc850...                        Transfer            14323314          397 days 21 hrs ago               O service-provider.eth cP            IN       O tankbottoms.eth cP                            1.5 ETH             0.00131498


       @       Oxc2ffa976ecc0713b5...                         Trans(er           14323302          397 days 21 hrs ago               O winnerchicken.eth c.D              IN       O tankbottoms.eth c.D                           2 .7 ETH            0.00140701


       @       Ox206d01 fl 3fe784fab...                      Set Owner           14319992          398 days 9 hrs ago                O tankbottoms.eth cP                out       0 ENS: Registry with FalL.        c.D           0 ETH               0.00065168



      Show:     100        Records                                                                                                                                                                                    First    <     Page21 of 25        >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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htlps ://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=21                                                                                                                                                                                       5/5
4/6/23, 4:31 PM                   Case 1:23-cv-20727-RKA Document 106-30    Entered on
                                                                   Elhereum Transactions     FLSDI Elherscan
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                                                                         of 401
   Transactions
   For Ox5d95baE888412AD827287240A5c281 E3b830d27E O          tinkbottoms.eth




     A total of 2,407 transactions found                                                                                                                            Rrst      <   Page 22 of 25   >   Last   '\{v



      0      Txn Hash                      Method(!)            Block           Age                   From                                To                                      Value                 Txn Fee


      @      Oxdbe 7e8d9b1 a9e45b ...          Set Name         14318362        398 days 15 hrs ago   O tankbottoms.eth    L□       OUT   0 ENS: Reverse Registrar c9             0 ETH                 0.00217532


      @      Ox28e43649602e61 03...               Pay           14318313        398 days 15 hrs ago   O tankbottoms.eth    L□       OUT   0 Ju icebox: Terminal V1 _1 c..D        5 ETH                 0.00529732


      @      Ox4ed1 c0ec619a0074f...           Transfer         14318290        398 days 16 hrs ago   O service-provider.eth L□     IN    O tankbottoms.eth L□                    5.5 ETH               0.00077672


      @      Oxaaf38060037b3f2d8 ...           Multicall        14318185        398 days 16 hrs ago   O tankbottoms.eth    c9       OUT   0 Uniswap V3: Router 2 c9               2 ETH                 0.00976139


      @      Oxfb94365cdb1 4d7d6a ...       Atomic Match_       14315288        399 days 3 hrs ago    O tankbottoms.eth    L□       OUT   0 OpenSea: Wyvern Exch...      L□       0.23456789 ETH        0.01091042


      @      Ox11 b2c26320fc763d8 ...          Transfer         14299244        401 days 14 hrs ago   Otankbottoms.eth L□           OUT   0 Maker: Dai Stablecoin c..□            0 ETH                 0.00205627


      @      Oxae24443ec9b43514 ...          Transfer From      14298397        401 days 18 hrs ago   Otankbottoms.eth c9           OUT   0 ENS: Base Registrar Im...    La       0 ETH                 0.0029445


      @      Oxebe2ce14c8040c99...             SetAddr          14298381        401 days 18 hrs ago   O tankbottoms.eth L□          OUT   0 ENS: Public Resolver 2 L□             0 ETH                 0.00334514


      @      Ox7ecb38b9a506cf41d...         Deposit ERC2...     14282029        404 days 6 hrs ago    O tankbottoms.eth L□          OUT   0 Polygon (Matic): Plasm... L□          0 ETH                 0.00483809


      @      Ox192a6ab91b1253c0 ...            Approve          14282013        404 days 6 hrs ago    O tankbottoms.eth La          OUT   0 Polygon (Matic): Matic ... La         0 ETH                 0.00173226


      @      Ox4e42f6944f8216875...         Atomic Match_       14281909        404 days 7 hrs ago    O tankbottoms.eth t,D         OUT   0 OpenSea: Wyvern Exc h... c9           0.1469 ETH            0.00823972


      @      Oxceaa5dc581335d5f9...            Trans-fer        14281885        404 days 7 hrs ago    Ox6A1F03...BE747813 c..□      IN    O tankbottoms.eth c..D                  0.746316763 ETH       0.00064714


      @      Ox07f5cc92734f1030c...            Traoofer         14281878        404 days 7 hrs ago    O servlce-provlder.eth [..O   IN    O tankbottoms.eth [..O                  0.125 ETH             0.000719 11


      @      Oxd56cb090d560bacc...             Transfer         14280062        404 days 14 hrs ago   O tankbottoms.eth t,D         OUT   0 Maker: Dai Stablecoin c.,D            0 ETH                 0.00226215


      @      Ox828fe5ff4b5762c1 e ...          Transfer         14279729        404 days 15 hrs ago   O tankbottoms.eth c.,D        OUT   Ox0Df721...073506f0 (9                  0.5 ETH               0.00062595


      @      Ox575a7fec0ea8dd206...            TrallSfer        14279721        404 days 15 hrs ago   O service-provider.eth L□     IN    () tankbottoms.eth L□                   4 ETH                 0.00071592


      @      Oxe8469d 1b 70fe19b74 ...         Transfe,         14276981        405 days 1 hr ago     O tankbottoms.eth L□          OUT   Ox02b638...148Fc1a2 c.,D                0.5 ETH               0.001471 3


                                                                                                                                                                                      PLAINTIFF0001119
https://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=22                                                                                                                                  1/5
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                                                                  Elhereum Transactions     FLSDI Elherscan
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      CD    Txn Hash                    Method(v   Block Age             From                            To                Value                                                 Txn Fee


      @     Oxb3dea3bf85bf09405...       Spin Mystery ...   14275038   405 days 8 hrs ago    O tankbottoms.eth   t,D     OUT    0 Mystery Box t,D              0 ETH             0.00833486


      @     Ox5860f41931377680...              Mint         14273686   405 days 14 hrs ago   O tankbottoms.eth t,D       OUT    0 Oxc6fBd1 ...A2eE54fB t,D     0.02 ETH          0.01067 535


      @     Oxdfa776ada69fc8312...          Claim Tax       14255392   408 days 9 hrs ago    ◊ tankbottoms.eth t,D       OUT    0 OxD6D804 ...42B7f86B t,D     0 ETH             0.00635646


      @     Ox5a6fd86dfa28995c6...            Claim         14255386   408 days 9 hrs ago    O tankbottoms.eth t,D       OUT    0 Ox18e6f9...35b6DB7a t,D      0 ETH             0.00558732


      @     Ox888aa21ea3fded201 ...         Place Bid       14253337   408 days 17 hrs ago   O tankbottoms.eth t,D       OUT    0 Foundation; Market t,D       0.3 ETH           0.00633923


      @     Ox3cf326d7be6792c43...          Multicall       14248459   409 days 11 hrs ago   O tankbottoms.eth   t,D     OllT   0 Uniswap V3: Router 2 t,D     1.461 ETH         0.00964873


      @     Ox0883184539c4676d...              Pay          14248432   409 days 11 hrs ago   O tankbottoms.eth   t,D     OUT    0 Juicebox: Terminal V1_1 c9   1 ETH             0.00423555


      @     Ox8617271 b905af3e0e...          Trans-fer      14248409   409 days 11 hrs ago   ◊ winnerchicken.eth   c9     !N    ◊ tankbottorns.eth   c9        1.3 ETH           0.00114785


      @     Ox7a985e6 72ad48c5a ...          Transfer       14248408   409 days 11 hrs ago   Ox6A 1F03...BE747813 t,D     1H    O tankbottorns.eth t,D         1.125 ETH         0.00102964


      @     Oxd8093e88bada3783 ...        Transfer From     14247342   409 days 15 hrs ago   O tankbottoms.eth t,D       OUT    0 Ox49006F. ..DF323648 t,D     0 ETH             0.00391807


      @     Ox71347e53027e580e ...           Transfer       14227510   412 days 17 hrs ago   O tankbottoms.eth t,D       OUT    0 Maker: Dai Stablecoin t,D    0 ETH             0.00277286


      @     Ox76 7e8051 b4d6a899 ...        Multicall       14227467   412 days 17 hrs ago   0   tankbottoms.eth t,D     Ulll   0 Uniswap V3: Router 2 c9      0 ETH             0.01943223


      @     Ox325ea5d87eabb256 ...          Multicall       14210328   415 days 9 hrs ago    O tankbottoms.eth t,D       OUT    0 Uniswap V3: Router 2 c9      2 ETH             0.00547721


      @     Ox148571306559f1 f03 ...         Transfer       14210311   415 days 9 hrs ago    O service·provider.eth (9    IN    () tankbottorns.eth t,D        1 ETH             0.00087838


      @     Ox3455567b065057da ...           Traoofer       14210245   415 days 9 hrs ago    O service-provider.eth c9    IN    O tankbottoms.eth t,D          1.5 ETH           0.00095775


      @     Oxl 93889060ae8bb68...           Transfer       14209756   415 days 11 hrs ago   O service-provider.eth c9    IN    O tankbottorns.eth   t,D       0.5 ETH           0.00087934


      @     Oxd358876d9be02ce8...          OxSeddcldl       14207209   415 days 20 hrs ago   O tankbottoms.eth   t,D     OUT    0 Ox3a2F2E ..f1012462 t,D      0.423 ETH         0.00950114


      @     Ox98f0 fe8fc93c 1ccbab ...        Claim         14205224   416 days 4 hrs ago    O tankbottoms.eth t,D       OUT    0 Ox18e6fL35b6DB7a t,D         0 ETH             0.00784027


      @     Ox0b6a2a53b29b43bd...            Transfer       14195338   417 days 16 hrs ago   O service·provider.eth c9    IN    O tankbottorns.eth t,D         0.5 ETH           0.00122976


      @     Oxca6bd4a81816d1a7 ...           Transfe,       14195314   417 days 17 hrs ago   O tankbottoms.eth t,D       OUT    OxCCe627...8144fa51 (9         6.299486525 ETH   0.00091889


      @     Ox981 Od7aa9b76dca0 ...          Transfer       14195314   417 days 17 hrs ago   O tankbottoms.eth   t,D     OUT    OxCCe627 •..8144fa51 c.□       0.4 ETH           0.00091889


      @     Ox5664b68414a8ad59...            Transfer       14189438   418 days 14 hrs ago   O tankbottoms.eth t,D       OUT    Ox47aea1 ...B1b5aDdD t,D       0.25 ETH          0.00144854

                                                                                                                                                                   PLAINTIFF0001120
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       e     Txn Hash                   Method<:1) Block Age               From                            To                Value                                               Txn Fee


       @     Ox46004b0c807706b2...           Approve        14187891   418 days 20 hrs ago   O tankbottoms.eth     t,D   OUT    0 Maker: Dai Stablecoin t,D          0 ETH       0.00270913


       @     Ox7cdd885931 fb2066d ...        Transfer       14186229   419 days 2 hrs ago    O tankbottoms.eth t,D       OUT    0 Maker: Dai Stablecoin t,D          0 ETH       0.00496768


       @     Oxca 1bl 2d8aaa2fea98...    Safe Transfer,-    14183532   419days 12hrsago      ◊ tankbottoms.eth t,D       OlfT   0 Ox02adEa...4fFOe660 cP             0 ETH       0.00240218


       @     Ox289f6f4a04dfb1017...          Approve        14176869   420 days 13 hrs ago   O tankbottoms.eth t,D       DlfT   0 Wrapped Ether t,D                  0 ETH       0.00272883


       @     Ox5008f776946a14044...          Deposit        14176866   420 days 13 hrs ago   O tankbottoms.eth t,D       OUT    @I Wrapped Ether t,D                 0.205 ETH   0.00207031


       @     Ox962e97326828e35b...           Transfer       14176844   420 days 13 hrs ago   0   partypants.eth t,D       rN    O tankbottoms.eth t,D                0.75 ETH    0.0011831


       @     Ox94ceb84f58ace0d44...          Unstake        14176072   420 days 16 hrs ago   O tankbottoms.eth t,D       OUT    0 Juicebox: Ticket Booth t,D         0 ETH       0.00560676


       @     Oxal 9d665b93cdd884 ...         Trans-fer      14175786   420 days 17 hrs ago   O tankbottoms.eth t,D       OUT    0 Ox46D65c...d68c9918 (9             0.125 ETH   0.00436382


       @     Oxe887d0b20658ff410...           Claim         14174335   420 days 22 hrs ago   O tankbottoms.eth     t,D   OUT    0 Ox18e6f9...35b6DB7a [.D            0 ETH       0.02704727


       @     Oxb858f4344f822f84c...      Spin Mystery ...   14174330   420 days 22 hrs ago   O tankbottoms.eth t,D       OUT    0 Mystery Box t,D                    0 ETH       0.03633578


       @     Ox86fc617603ea4e06d...      Spin Mystery •..   14174320   420 days 23 hrs ago   O tankbottoms.eth t,D       OUT    0 Mystery Box t,D                    0 ETH       0.03365479


       @     Ox7c6c508413241db0f...      Spin Mystery ...   14174311   420 days 23 hrs ago   0   tankbottoms.eth [.D     OUT    0 Mystery Box cP                     0 ETH       0.03767627


       @     Ox72e5c516d3d8f13a0...          Transfer       14161710   422 days 21 hrs ago   O tankbottoms.eth c.D       OUT    Ox651931 ...c4b40bbf t,D             2 ETH       0.002633


       @     Ox151 ca 1c494433e65...         Transfer       14159253   423 days 6 hrs ago    O tankbottoms.eth t,D       OUT    0 Polygon (Matic): Matic ...   t,D   0 ETH       0.00350727


       @     Ox663f244cb73db887f...      Spin Mystery ...   14159038   423 days 7 hrs ago    O tankbottoms.eth     t,D   OUT    0 Mystery Box [.D                    0 ETH       0.05200281


       @     Ox73b948e5555130f6b ...     Spin Mystery ...   14159036   423 days 7 hrs ago    0   tankbottoms.eth   cP    OUT    0 Mystery Box cP                     0 ETH       0.03977079


       @     0Xd87220f906653b29...           Sacrifice      14159030   423 days 7 hrs ago    O tankbottoms.eth     t,D   OUT    0 Mystery Box t,D                    0 ETH       0.03248325


       @     Ox944c89a40aedc887...       Spin Mystery ...   14159019   423 days 7 hrs ago    O tankbottoms.eth t,D       OUT    0 Mystery Box t,D                    0 ETH       0.04454631


       @     Oxc5fafbdd22ded459f...      Spin Mystery ...   14159015   423 days 7 hrs ago    O tankbottoms.eth c.D       OUT    0 Mystery Box c.D                    0 ETH       0.04846334


       @     Ox471 d8ee4e2caffb20...        Multicall       14158583   423 days 9 hrs ago    O tankbottoms.eth c.D       OUT    0 Uniswap V3: Router 2 cP            2 ETH       0.01109592


       @     Ox71c415b0d320fcfe7...          Transfer       14158568   423 days 9 hrs ago    O meowsdao.eth t,D           IN    O tankbottoms.eth t,D                1.5 ETH     0.00147995


                                                                                             O service-provider.eth cP          O tankbottoms.eth cP
       @     Oxb39e043a50397f8ab...          Transfer       14158565   423 days 9 hrs ago
                                                                                                                          "'                                         2.6 ETH     0.00148359

                                                                                                                                                                         PLAINTIFF0001121
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=22                                                                                                         3/5
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       e     Txn Hash                   Method<:1) Block Age               From                            To                Value                                                                Txn Fee


       @     Oxd3f6e4c8e7b0405cd ...           Pay           14151836    424 days 10 hrs ago    O tankbottoms.eth t,D             OUT    0 Juicebox: Terminal VL1 t,D           2.5 ETH           0.02677163


       @     Oxc8f5e09e3a 56d7eb7 ...        Transfer        14151803    424 days 10 hrs ago    O service-provider.eth c9          1M    O tankbottoms.eth t,D                  1.5 ETH           0.00149672


       @     Oxfc9d28b943fdd4db7...          Mint Tile       14142196    425 days 22 hrs ago    ◊ tankbottoms.eth t,D             OlfT   0 Ox64931 F. ..6996D764 t,D            0.16 ETH          0.09128433


       @     Ox3cdedd79al 6f690ea...         Deposit         14141456    426 days 55 mins ago   O tankbottoms.eth t,D             OUT    0 Ox18e6f9...35b6DB7a t,D              0 ITH             0.02093771


       @     Ox65c56e78bc 7b7795...      Set Appro,al ...    14141449    426 days 57 mins ago   O tankbottoms.eth t,D             OUT    @] Creepz: VAULT Token t,D             0 ETH             0.00531471


       @     Oxe49ea6d7e18a709f8...          Transfer        14134033    427 days 4 hrs ago     O serv1ce-provider.eth      t,D    1H    O tankbottoms.eth t,D                  2.5 ETH           0.0023212


       @     Ox8bba37bb238Ba8b8...           Transfer        14113456    430 days 8 hrs ago     O tankbottoms.eth     t,D         OUT    OxD6d306... 11 C57452   c9             0.144091297 ETH   0.00161325


       @     Oxd9193eb02c838943...           Trans-fer       14113456    430 days 8 hrs ago     ◊ tankbottoms.eth     c9          OUT    OxD6d306... 1l C57452 t,D              0.4 ETH           0.00161325


       @     Oxb36e2dl edd597f0ec...           Pay           14112228    430 days 13 hrs ago    O tankbottoms.eth     t,D         OUT    0 Juicebox: Terminal V1 c9             0.05 ITH          0.00653828


       @     Ox4bel 1e619Bd65bdf8...         Mukicall        14112176    430 days 13 hrs ago    O tankbottoms.eth t,D             OUT    0 Uniswap V3: Router 2 t,O             2 ETH             0.01382005


       @     Oxb597b7f412e402397 ...         Transfer        14112130    430 days 13 hrs ago    O service-provider.eth t,D         IN    O tankbottoms.eth t,D                  1 ITH             0.00185034


       @     Ox0b670f69d56e4 74e8...           Pay           14112104    430 days 13 hrs ago    0   tankbottoms.eth t,D           OUT    0 Juicebox: Terminal V1   t,D          1 ITH             0.00769411


       @     Ox6e5d89e26798820d ...          Transfer        14112084    430 days 13 hrs ago    O service-provider.eth c9          IN    O tankbottoms.eth t,D                  2 ITH             0.00182349


       @     Oxb9fab2bd8cc97ebbd...      Deposit Ether ...   14108437    431 days 3 hrs ago     O tankbottoms.eth t,D             OUT    0 Polygon (Matic): Bridge t,O          0.014 ETH         0.01002926


       @     Ox0ec9af10cdef82793...      Deposit Ether ...   1410791 B   431 days 5 hrs ago     O tankbottoms.eth t,D             OUT    0 Polygon (Matic): Bridge c9           0.0749 ETH        0.02157554


       @     Ox06c62f476377a997b...          Mutate          14105301    431 days 14 hrs ago    0   tankbottoms.eth   c9          OUT    0 OxD6D804 ...42B7f86B t,D             0 ITH             0.01203162


       @     Oxe93818719e9989ff5...       Atomic Match..     14105263    431 days 15 hrs ago    O tankbottoms.eth     t,O         OUT    0 OpenSea: Wyvern Exch...       t,O    0.7 ETH           0.01517335


       @     Ox9044c7ed841 f7c29b . .     Atomic Match..     14105249    431 days 15 hrs ago    O tankbottoms.eth t,D             OUT    0 OpenSea: Wyvern Exch...       [..O   0.44 ITH          0.01470195


       @     Ox1 c1d89679529f632b...      Atomic Match_      14105243    431 days 15 hrs ago    O tankbottoms.eth t,D             OUT    0 OpenSea: Wyvern Exch...       t,D    0.449 ETH         0.01606303


       @     Ox7f9cbac614ec29a7 4...        summon           14095484    433 days 3 hrs ago     O tankbottoms.eth t,D             OUT    E] LootExplorers: EXPLRS... t,D        0.2ETH            0.0255767


       @     0 Oxb54738a91d211fee7 ...         M int         14086831    434 days 11 hrs ago    O tankbottoms.eth [..O            OUT    0 Ox652D68...a34cF603 [..O             0.0936 ETH        0.00309395


       @     Ox76f718be2578df0c6...            M int         14086807    434 days 11 hrs ago    ◊ tankbottoms.eth t,D             OUT    0 Ox652D68...a34cF603 t,D              0.0936 ETH        0.0160427

                                                                                                                                                                                    PLAINTIFF0001122
https :/ /etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=22                                                                                                                         4/5
4/6/23, 4 :31 PM                        Case 1:23-cv-20727-RKA Document 106-30       Entered on
                                                                         E l hereum Transactions     FLSDI Elherscan
                                                                                                 Information Docket 06/09/2023 Page 113
                                                                                 of  401
       e       Txn Hash                        Method<:1) Block Age               From                            To                Value                                                                                                              Txn Fee


       @       Oxe342fa56a9d8b5f88...                    Atomic Match_        14086108          434 days 14 hrs ago             O tankbottoms.eth t,O                OUT      0 OpenSea: Wyvern Exc h...        t,O           0.153ETH                 0.02142164


       @       OX16d0156efe2f2dfb6...                    Shape Purcha...      14086031          434 days 14 hrs ago             O tankbottoms.eth t,O                OUT      0 Creepz: SHAPE Token t,O                       0 ETH                    0.01749689


       @       Q) Ox562bb8f99618883ba ...                     Mint            14082567          435 days 3 hrs ago              O tankbottoms.eth t,O                OlfT      0 Brai nDrops: Artist Proxy t,O                0.1 ETH                  0.01317059


       @       Q) Ox8db9b763a0b38740...                       M int           14082567          435 days 3 hrs ago              O tankbottoms.eth t,O                OUT       0 BrainDrops: Artist Proxy (9                  0.1 ETH                  0.01317059


       @       (D OX51 d866bf8123d924...                      Mint            14082564          435 days 3 hrs ago              O tankbottoms.eth t,O                OUT       0 Brai nDrops: Artist Proxy t,D                0.1 ETH                  0.01679963


       @       Ox79fde309b145ca88f...                       Transfer          14082562          435 days 3 hrs ago              O tankbottoms.eth t,O                OUT       OxE8b40F...016bf248 t,O                        0.25 ETH                 0.00802668


       @       Oxcfaf289b28d6bb6c6...                    Atomic Match...      14081291          435 days 7 hrs ago              O tankbottoms.eth t,O                OUT       0 OpenSea: Wyvern Exch...       [9             0.0, ETH                 0.06099892


       @       Ox2ee9da0a23c42ff88 ...                   Transfer From        14081205          435 days 8 hrs ago              O tankbottoms.eth t,O                OUT       0 OxF22DA0 ...7F986f1d (9                      0 ETH                    0.00442969


       @       Oxa53a608912b5bc4c...                      Transfer From       14081197          435 days 8 hrs ago              O tankbottoms.eth t,O                OUT      0 OxF22DA0...7F986f1 d t,O                      0 ETH                    0.00640272


       @       Ox44e897571439ab4b...                        Transfer          14080001          435 days 12 hrs ago             O partypant s.eth t,O                 IN       O tankbottoms.eth t,O                          0.5 ETH                  0.00180273


       @       Ox55b0b74d2bedba1e ...                    Atomic Match....     14079980          435 days 12 hrs ago             O tankbottoms.eth t,O                OUT       0 OpenSea: Wyvern Exch...        t,O           0238 ETH                 0.06167085


       @       Ox1 dc09587f8389922f...                   Transfer From        14079632          435 days 14 hrs ago             0   tankbottoms.eth t,O              UllT     0 Doodories: DD Token t,O                       0 ETH                    0.00552366


       @       Ox86b67e25d958990b ...                    Atomic Match_        14079610          435 days 14 hrs ago             O tankbottoms.eth t,O                OUT       0 OpenSea: Wyvern Exch...        t,O           0.239 ETH                0.01947229


       @       Oxd26709f63b0cc8220...                    Atomic Match_        14079605          435 days 14 hrs ago             O tankbottoms.eth [9                 OUT       0 OpenSea: Wyvern Exch...       [9             0.2379 ETH               0.01974447


       @       Ox674def459d182ea7a ...                   Atomic Match...      14079584          435 days 14 hrs ago             O tankbottoms.eth t,O                OUT      0 OpenSea: Wyvern Exch... c9                    0.08 ETH                 0.02233462


       @       Ox371 cl 6bf036c78c0d ...                 Atomic Match_        14079572          435 days 14 hrs ago             0   tankbottoms.eth t,O              OUT      0 OpenSea: Wyvern Exch...         t,O           0.06 ETH                 0.0174491 S


       @       Oxd0757c7258963479 ...                    Atomic Match_        14079567          435 days 14 hrs ago             O tankbottoms.eth [9                 OUT       0 OpenSea: Wyvern Exch...        (9            0.2169 ETH               0.01749417



      Show:     100        Records                                                                                                                                                                                    First      <      Page22of 25      >     Last


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   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




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4/6/23, 4 :31 PM                   Case 1:23-cv-20727-RKA Document 106-30      Entered on
                                                                    E l hereum Transactions     FLSDI Elherscan
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   Transactions
   For Ox5d95baE888412AD827287240A5c281 E3b830d27E O            tin kbottoms.eth




      A total of 2,407 transactions found                                                                                                                            Rrst         <   Page 23 of 25   >   Last   '\{v



       0      Txn Hash                      Method(!)              Block           Age                   From                                To                                       Value                 Txn Fee


       @      Oxe4802a4a4a777432 ...             Transfer          14077515        435 days 21 hrs ago   O service-provider.eth LO    IN     () tankbottoms.eth LO                    3 ETH                 0.00367007


       @      Oxa1 ac0da6b8c2c23b ...        Atomic Match_         14077467        435 days 22 hrs ago   () tankbottoms.eth LO       CIIT    0 OpenSea: Wyvern Exch...      LO        2 ETH                 0.01809892


       @      Ox9b9fae06800b75886 ...        Shape Purcha...       14077452        435 days 22 hrs ago   O tankbottoms.eth cP        CUT     0 Creepz: SHAPE Token c9                 0 ETH                 0.02507985


       @      Ox7b00583c392747be ...               M int           14075608        436 days 4 hrs ago    O tankbottoms.eth LO        CUT     0 Doodories: DD Token c9                 0.126 ETH             0.02109722


       @      Oxfe3e7307533ff4f45c...        Atomic Match_         14064369        437 days 22 hrs ago   O tankbottoms.eth LO        CUT     0 OpenSea: Wyvern Exch...      L□        0.005 ETH             0.06101233


       @      Ox28a0770a22a2ffc56...         Atomic Match_         14064307        437 days 23 hrs ago   () tankbottoms.eth LO       CVT     ® OpenSea: Wyvern Exch."       L□        0.005 ETH             0.06099892


       @      0Xfda3fbdb68d5252f6...         Transfer From         14062887        438 days 4 hrs ago    () tankbottoms.eth L□       WT      ® WeMint Washington: W... c9             0 ETH                 0.00743009


       @      Ox5caab2739699ca3c...                M int           14062874        438 days 4 hrs ago    O tankbottoms.eth L□        CVT     0 Oxa3737a...7ADc860d L□                 0.07 ETH              0.01064022


       @      Ox3766539f2ca65c6b2...             Transfer          14059783        438 days 15 hrs ago   O service-provider.eth LO    IN     O tankbottoms.eth L□                     2 ETH                 0.00225532


       @      Ox614bf9d84c3cea261 ...        Set Approval ...      14059689        438 days 16 hrs ago   () tankbottoms.eth L□       CVT     @ Ox9940bF...1ffl 0434 c9                0 ETH                 0.00607915


       @      Ox5934260e0968c284 ...         Atomic Match_         14059587        438 days 16 hrs ago   () tankbottoms.eth [.D      CVT     ® OpenSea: Wyvern Exch...      [.D       0.055 ETH             0.05521584


       @      Oxaaaddf22501416ffb...         Atomic Match_         14059579        438 days 16 hrs ago   O tankbottoms.eth [.D       CUT     0 OpenSea: Wyvem Exch...       L□        0.042 ETH             0.0411 5979


       @      Oxl 069103eda5f8ffc4...        Atomtc Match_         14059530        438 days 16 hrs ago   O tankbottoms.eth Lo        CUT     0 Opensea: Wyvem Exch...       L□        0.045 ETH             0.07676537


       @      Ox30ec94e27bc5bc1 f7 ...       Atomic Match_         14059527        438 days 16 hrs ago   O tankbottoms.eth [.D       CI/T    ® OpenSea: Wyvern Exch...      [.O       0.0515 ETH            0.0717698


       @      Ox436d1 b7f27f6999ffa ...      Atomic Match_         14059519        438 days 16 hrs ago   O tankbottoms.eth [.D       WT      0 OpenSea: Wyvem Exch...       L□        0.0511 ETH            0.07520481


       @      Oxa3b93c755127fe6c4...         Atomic Match_         14059499        438 days 16 hrs ago   O tankbottoms.eth L□        CUT     0 OpenSea: Wyvem Exch...       [.O       0.05 ETH              0.08106389


       @      Oxee9ff6acb1741 ccb2 ...           Deposit           14059455        438 days 17 hrs ago   O tankbottoms.eth [.D       t<.IT   @ Head DAO: Staking [.D                  0 ETH                 0.08965814


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       CD    Txn Hash                    Method(v   Block Age                From                            To                  Value                                             Txn Fee


       @     Ox2b49feb0dc133b7e5 ...       Set Approval ...   14059448   438 days 17 hrs ago    O tankbottoms.eth [.O        CVT    0 HeadDAO: HEAD Token (9           0 ETH       0.01302011


       @     Ox36e2bca7d5ec8839 ...        Atomic Match_      14059443   438 days 17 hrs ago    () tankbottoms.eth [.O       CVT    0 OpenSea: Wyvern Exch...    [.O   0.139 ETH   0.06108242


       @     Ox5da7d5843ceb487fe...        Atomic Match_      14059437   438 days 17 hrs ago    O tankbottoms.eth t9         CIJT   0 OpenSea: Wyvem Exch...     [.D   0.139 ETH   0.06317527


       @     Oxaec98231ba311645...               Mint         14053230   439 days 16 hrs ago    ◊ tankbottoms.eth [.O        cur    0 Ox0f1A8C...333a57D3 (9           0.009 ETH   0.0124281 7


       @     Ox l 97bc2e960be690bf...       Claim Jefftes     14053227   439 days 16 hrs ago    O tankbottoms.eth [.O        CVT    0   Ox737b8A... 8D012B74 [.O       0 ETH       0.01220612


       @     Ox99bf2aaf84852fbf9c...       Aims Purchase      14049422   440 days 6 hrs ago     0   tankbottoms.eth [.O      CVT    0 Creepz: ARMS Token [.O           0 ETH       0.06065235


       @     Ox721039239d1 d969c ...       Mint Main Sal,_    14047318   440 days 14 hrs ago    O tankbottoms.eth [.O        cur    0 Ox620EDC...03FC59e0 [.D          0.09 ETH    0.04190636


       @     Ox67e7794cd1 abel c7 ...      Arms Pu,chase      14044369   441 days 59 mins ago   O tankbottoms.eth t9         CVT    0 Creepz: ARMS Token t9            0 ETH       0.1432648


       @     Oxd81024757da 71 a66...             Pay          14042137   441 days 9 hrs ago     O tankbottoms.eth [.O        CUT    0 Juicebox: Terminal V1 _1 [.O     1.125ETH    0.00900568


       @     Oxcaed4cbc32e05909 ...            Transfer       14042113   441 days 9 hrs ago     O service-provider.eth [.D   IN     O tankbottoms.eth [.D              2.5 ETH     0.0018959


       @     Oxf9d36a3a9d3224ba2...              M int        14029826   443 days 6 hrs ago     () tankbottoms.eth [.D       CVT    0 Goofball Gang: GOOF T...   [.D   0.05 ETH    0.01937819


       @     Ox7dfac1532219a0290...              Mint         14029023   443 days 9 hrs ago     O tankbottoms.eth [.O        CVT    0 OxF80026...1A2251 BB [.O         0.2 ETH     0.02725723


       @     Ox3fe1 a 17a2cfc0c72c...          Transfer       14029022   443 days 9 hrs ago     O service-prov1der.eth [.O   IN     () tankbottoms.et h [.□            0.25 ETH    0.00183463


       @     OxBcl a9908bd297c2e...          Mint Pu~ic       14029002   443 days 9 hrs ago     O tankbottoms.eth [.D        ClfT   0 Ox5A817E...87c79d19 t9           0.15 ETH    0.00921193


       @     Ox6da1 cl Oda58bd6b9 ...       Claim Jeffies     14028952   443 days 10 hrs ago    O tankbottoms.eth [.O        ClfT   0 Ox737b8A... 80012B74 (9          0 ETH       0.00755987


       @     Ox2cbd4d00a33932a2 ...              M int        14028935   443 days 10 hrs ago    O tankbottoms.eth [.O        CVT    0 Ox0f1A8C...333a57D3 [.0          0.009 ETH   0.00845453


       @     Oxcb2dd7919eff40bb5..          Claim Jeffies     14028930   443 days 1O hrs ago    O tankbottoms.eth [.D        ClfT   0 Ox737b8A.    80012B74   (9       0 ETH       0.00846257


       @     Ox561497c7f3cb8ddcc..         Atomic Match_      14028849   443 days 10 hrs ago    () tankbottoms.eth [.D       CUT    0 OpenSea: Wyvem Exch... t9        0.008 ETH   0.01450673


       @     Ox5eff8bfe65624648a...              M int        14028844   443 days 10 hrs ago    () tankbottoms.eth [.O       CVT    0 Ox0f1ABC...333a57D3 LD           0.009 ETH   0.00887724


       @     Oxbacc9959c67db8fd5...           CfaimAII        14028543   443 days 11 hrs ago    O tankbottoms.eth [.O        CVT    0 Ox1920B6...D747b1a2 [.O          0 ETH       0.00563021


       @     Ox5a29aabfdd4809723...           CfalmAII        14028540   443 days 11 hrs ago    O tankbottoms.eth [.D        cur    0 Ox1920B6...D747bla2 [.D          0 ETH       0.00501092


       @     OX039cd1 bc4a27aabd...        Atomic Match_      14028534   443 days 11 hrs ago    O tankbottoms.eth t9         cur    0 OpenSea: Wyvern Exch... t9       0.01 ETH    0.01958664

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       @     Oxa712580d77 462ad7 ...           Transfer        14028482   443 days 11 hrs ago   O tankbottoms.eth [.O         CVT    0 Ox3abF2A...00646f66 (9            0 ETH        0.00417296


       @     Ox3234aecaf4744fbf8...         Transfer From      14028474   443 days 11 hrs ago   () tankbottoms.eth [.O        CUT    0 Undead Pastel Club: U...    [.O   0 ETH        0.00876433


       @     Ox8e59a60755a3c62fd ...        Transfer From      14028465   443 days 11 hrs ago   O tankbottoms.eth c9          CUT    0 Bored Breakfast Club: ...   [.D   0 ETH        0.00537413


       @     Ox5b382fc304e8bea20...         Transfer From      14028464   443 days 11 hrs ago   ◊ tankbottoms.eth [.O         CUT    0 Bored Breakfast Club: ... c9      0 ETH        0.00723833


       @     Oxeeeb8e06 l b3038ba ...            Enter         14027845   443 days 14 hrs ago   O tankbottoms.eth [.O         CVT    IE] The OpenDAO: Staking ... [.O    0 ETH        0.00729867


       @     Oxc89967d9640fbb42a...            Approve         14027838   443 days 14 hrs ago   0   tankbottoms.eth [.O       CVT    0 The OpenDAO: SOS To.,.      [.O   0 ETH        0.00424404


       @     Ox4bblae98332c8a50f...        Transfer From       14027680   443 days 14 hrs ago   O tankbottoms.eth [.O         CUT    0 Undead Pastel Club: U... c9       0 ETH        0.01020319


       @     Oxbf0f6d5173f 1cf6cad...      Transfer From       14027412   443 days 15 hrs ago   O tankbottoms.eth [.O         CUT    0 Undead Pastel Club: U...    [.O   0 ETH        0.01001883


       @     Oxf3de9053ee9cae7ad ...        Transfer From      14027412   443 days 15 hrs ago   O tankbottoms.eth [.O         CVT    0 Undead Pastel Club: U... c9       0 ETH        0.01056879


       @     Ox5484ce48406b4974 ...            Transfer        14027356   443 days 16 hrs ago   O tankbottoms.eth [.D         CVT    O xhobo.eth [.D                     0.16 ETH     0.00220213


       @     Oxfd7fb1c9f17a 723b7 ...            M int         14027349   443 days 16 hrs ago   () tankbottoms.eth   c9       CVT    0 The Mind-Blown NFT: ...     [.D   0.1 ETH      0.01402491


       @     Ox29d4e2d8ca6c1929 ...            Deposit         14020972   444 days 15 hrs ago   O tankbottoms.eth [.O         CUT    0 Creepz: Invasion Groun... [.O     0 ETH        0.02381817


       @     Ox42d7eade525d1 9ee...            Transfer        14020566   444 days 17 hrs ago   O service-prov1der.eth [.O    IN     () tankbottoms.et h [.O             1 ETH        0.00556763


       @     Oxefb56c4730 147224 7...      Atomic Match_       14020546   444 days 17 hrs ago   O tankbottoms.eth [.D         ClfT   0 OpenSea: Wyvern Exch...     LD    0.89 ETH     0.04673898


       @     Oxa1 b3fdec26c3446 le...          Deposit         14019530   444 days 21 hrs ago   O tankbottoms.eth [.O         ClfT   0 Creepz: Invasion Groun...   [.O   0 ETH        0.0263191


       @     Ox344c480966e5a497 ...        Set Approva I ...   14019526   444 days 21 hrs ago   O tankbottoms.eth [.O         CVT    0 Creepz: CBC Token [.O             0 ETH        0.00481095


       @     Ox28a15decd49e3152...         Atomic Match_       14017780   445 days 3 hrs ago    O tankbottoms.eth [.O         ClfT   0 OpenSea: Wyvern Exch., c9         0.15 ETH     0.03558302


       @     Oxae7322700efa1 abfa...             M int         14014304   445 days 16 hrs ago   () tankbottoms.eth [.D        ClfT   0 0xFOF095...917ab616 (9            0.1 ETH      0.02964238


       @     Ox74be332703889105...             Transfer        14014298   445 days 16 hrs ago   () service-provider.eth [.O   IN     O tankbottoms.eth [.O               1 ETH        0.0021638


       @     Oxb2cc8d46fb943717 2 ...      Public Sale ML      14014294   445 days 16 hrs ago   O tankbottoms.eth [.O         ClfT   0 PeacefutToadz: PT Tok...    [.O   0.33 ETH     0.01919327


       @     Ox2772c30d34947828...         Atomic Match_       14012942   445 days 21 hrs ago   O tankbottoms.eth [.D         CUT    0 OpenSea: Wyvern Exch...     [.D   0.08 ETH     0.03515297


       @     Ox07554blcb36193d0 ...              M int         14012727   445 days 22 hrs ago   () tankbottoms.eth [.O        CUT    0 High Roller Ape Club: H,.. (9     0.0777 ETH   0.00943008

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       CD    Txn Hash                      Method(v   Block Age              From                           To                 Value                                                         Txn Fee


       @     Ox1c392dedd19e01 ab...          Deposit Ether ...   14009314    446 days 10 hrs ago   O tankbottoms.eth [.O        CUT   0 Polygon (Matic): Bridge [.O         0.008 ETH        0.00752513


       @     Oxdb23b277181947d9f...          Atomic Match_       14007045    446 days 19 hrs ago   () tankbottoms.eth [.O       CVT   0 OpenSea: Wyvern Exch...       [.O   0.11 ETH         0.02727683


       @     Ox07520a 16dd990e8d...          Atomic Match_       14006973    446 days 19 hrs ago   O tankbottoms.eth (9         CUT   0 OpenSea: Wyvern Exch...       [.D   0.127 ETH        0.04307605


       @     Oxe7742a1 a3f4f646f5...         Atomic Match_       1'1006953   446 days 19 hrs ago   ◊ tankbottoms.eth [.O        CUT   0 OpenSea: Wyvern Exch... c9          0.95 ETH         0.02896149


       @     Ox962bdcea77a7eb58 ...              Transfer        14006888    446 days 19 hrs ago   O service·provider.eth [.O   IN    O tankbottoms.et h [.O                1.7 ETH          0.00285032


       @     Ox1a40f8232990df124..           Atomic Match_       14002796    447 days 11 hrs ago   O tankbottoms.eth [.O        CUT   0 OpenSea: Wyvern Exch...       [.O   0.039 ETH        0.03239925


       @     Ox5b15c9f1 d92cdc267...               Pay           14001492    447 days 16 hrs ago   O tankbottoms.eth [.O        CUT   0 Juicebox: Terminal V1   [.D         0.5 ETH          0.0189093


       @     Ox2c99c0f07b70095e2...          Atomic Match_       13994679    448 days 17 hrs ago   O tankbottoms.eth (9         CUT   0 OpenSea: Wyvern Exch...       [.O   0.24 ETH         0.03254485


       @     0     Ox 13285339bl 2669a9...   Atomic Match_       13994655    448 days 17 hrs ago   O tankbottoms.eth [.O        CVT   0 OpenSea: Wyvern Exch...       (9    0.2399 ETH       0.01123548


       @     Oxb3d8545e638c5c50...               Transfer        13994509    448 days 18 hrs ago   O service-provider.eth [.D   IN    O tankbottoms.eth [.D                 1.35450617 ETH   0.00384134


       @     Ox67c62b832b6b66el ..                 M int         13994416    448 days 18 hrs ago   () tankbottoms.eth [.D       CUT   0 Undead Pastel Club: U...      [.D   0.3 ETH          0.19967903


       @     Ox5a5d447b49b6b8ee ...               Adopt          13993860    448 days 20 hrs ago   O tankbottoms.eth [.O        CVT   0 Ox5DD49c...8101889b [.O             0.45 ETH         0.14351014


       @     Oxl 52ab3c7da456a9b ...            Purchase         13993191    448 days 22 hrs ago   O tankbottoms.eth [.O        CUT   0 Ox03C917...36438829 (9              0.1 ETH          0.03608377


       @     Ox49ac6c759260f2fd5...          Transfer From       13993146    448 days 23 hrs ago   O tankbottoms.eth [.D        CVT   0 Bored Breakfast Club: ...     LD    0 ETH            0.01372594


       @     Ox0b274d4ff76acfc20...              Redeem          13992929    448 days 23 hrs ago   O tankbottoms.eth [.O        CUT   0 Bored Breakfast Club: ...     [.O   0.24 ETH         0.034032


       @     Ox5e8b36cf1 cl 686a04...            Transfer        13989814    449 days 11 hrs ago   O service•provider.eth [.O   IN    O t ankbottoms.eth (9                 1.5 ETH          0.00272636


       @     Ox9ee853618e8b1 ld4 ...            Purchase         13989273    449 days 13 hrs ago   O tankbottoms.eth [.O        CUT   0 Ox03C91 7--36438829 (9              0.1 ETH          0.03327446


       @     Oxd1 e7bf237779aea 56 ...          Purchase         13989267    449 days 13 hrs ago   () tankbottoms.eth [.D       CUT   0 ox03C91 7.•.36438B29 Lo             0.2 ETH          0.0451395


       @     Ox93a1e6cd3dedc201 ...             Purchase         13989215    449 days 13 hrs ago   () tankbottoms.eth [.O       CVT   0 Ox03C917...36438829 [.O             0.1 ETH          0.03135635


       @     Oxab05c5f6f00449b9d...              Transfer        13987696    449 days 19 hrs ago   O tankbottoms.eth [.O        CVT   Ox0D60d3...654DF8f0 [.O               0.8 ETH          0.00338458


       @     Ox52bfa588eced2a5b0...              Redeem          13982826    450 days 13 hrs ago   O tankbottoms.eth [.D        CUT   0 Bored Breakfast Club: ...     (9    0.24 ETH         0.02556241


       @     Ox26cel e70a 7cd760a...             Transfer        13982815    450 days 13 hrs ago   Ox4 l e923 ...c8df9D42 [.O   IN    () tankbottoms.eth [.O                1.5 ETH          0.0034139

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       CD      Txn Hash                        Method(v   Block Age               From                           To                 Value                                                                                                               Txn Fee


       @       Oxb2b877f8 5237c 77b5...                        Cash             13979150          451 days 2 hrs ago               O tankbottoms.eth [.D                CUT       0 OxB35E05... 4168186A [.D                     0 ETH                  0.01543451


       @       Ox5ceccc854ad40becd...                      Transfer From        13956536          454 days 14 hrs ago              () tankbottoms.eth [.O               CUT       0 Galaktic Gang: GG Token [.O                  0 ETH                  0.00564094


       @       Oxc20127e2d4595f979...                      Transfer From        13956448          454 days 14 hrs ago              O tankbottoms.eth c9                 CUT       0 Gal aktic Gang: GG Token [.D                 0 ETH                  0.00556129


       @       Ox66442c02a9537828 ...                     Safe T,ansfer ·-      13956413          454 days 15 hrs ago              () tankbottoms.eth [.O               CUT       0 Galaktic Gang: GG Token [.O                  0 ETH                  0.01321767


       @       Oxd549b03aa039cc7cf...                     Safe Transfer ,_      13956409          454 days 15 hrs ago              O tankbottoms.eth [.O                CUT       0   Oeathbats Club: OBC T... [.O               0 ETH                  0.01424026


       @       Oxd95f7730583a7fc7d...                     Safe Transfer ,_      13956406          454 days 15 hrs ago              O tankbottoms.eth [.D                cvr       0 Party Degenerates: PA...       [.O           0 ETH                  0.01525759


       @       Ox3adfac9225e52e108...                           Minl            13955577          454 days 18 hrs ago              O tankbottoms.eth [.O                CUT       0 Ox7AOb85... 0989B260 [.D                     0.4 ETH                0.0848446


       @       Ox04fa965f9deef4be3...                           M int           13954995          454 days 20 hrs ago              O tankbottoms.eth (9                 CUT       0 Ox92Bf07...fEa65fcf c9                       0.084 ETH              0.05608765


       @       Ox691cf702b31033d81 ...                       Purchase           13952905          455 days 4 hrs ago               O tankbottoms.eth [.O                CVT       0 Ox5d7035...89723a6B [.O                      0.5 ETH                0.042444


       @       Oxf6bb8fa2el bf5b7a3.                      Atomic Match...       13951045          455 days 10 hrs ago              O tankbottoms.eth [.D                CVT       0 OpenSea: Wyvern Exch...        [.D           0.055 ETH              0.01906255


       @       Ox3459f42a5163c8502...                     Atomic Match....      13950969          455 days 11 hrs ago              () tankbottoms.eth [.D               CVT       0 OpenSea: Wyvern Exch...        [.D           0.056 ETH              0.02737423


       @       Ox23988efc9779f52b2...                        Transfe1           13931708          458 days 10 hrs ago              O tankbottoms.eth [.O                CVT       O partypa nts.eth [.O                          2 ETH                  0.00161624


       @       Ox.c92f0e461 e666abec...                      Multicall          13900232          463 days 7 hrs ago               O tankbottoms.eth [.O                CVT       0 ENS: Public Resolver 2 [.O                   0 ETH                  0.00840212


       @       Ox8c7e8afa958ee108d...                      Transfer From        13895871          464 days 7 mins ago              () tankbottoms.eth [.D               CUT       0 Galaktic Gang: GG Token [.O                  0 ETH                  0.00685142


       @       Oxc8f0cd27ca0612cce ...                    Safe Transfer ,_      13895867          464 days 8 mins ago              O tankbottoms.eth [.O                CUT       0 OpenSea: OPENSTORE ... [.D                   0 ETH                  0.00528224


       @       Ox91f83a57f49405ae5...                      Transfer From        13895865          464 days 8 m ins ago             O tankbottoms.eth [.O                CUT       E] Oeathbats Club: OBC T... [.O                0 ETH                  0.00833199


       @       Oxc3f58c90caa086e4e...                      Transfer Fron,       13895861          464 days 9 mins ago              O tankbottoms.eth [.O                CUT       0 Ox4C91 E6... 1B818408 [.O                    0 ETH                  0.01245597



      Show:     100        Records                                                                                                                                                                                       First     <     Page23 of 25    >     Last



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   ;Q, A transaction is a cryptographically signed instruct ion that changes the blockchain st ate. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowl edge Base.




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htlps ://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=23                                                                                                                                                                                       5/5
4/6/23, 4:31 PM                   Case 1:23-cv-20727-RKA Document 106-30    Entered on
                                                                   Elhereum Transactions     FLSDI Elherscan
                                                                                         Information Docket 06/09/2023 Page 119
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   Transactions
   For Ox5d95baE888412AD827287240A5c281 E3b830d27E O           tinkbottoms.eth




     A total of 2,407 transactions found                                                                                                                        First     <   Page 24 of 25   >   Last   '\{v



      0      Txn Hash                      Method(!)             Block           Age                    From                           To                                     Value                 Txn Fee


      @      Oxd59c71636604daf04...             Transfer         13884033        465 days 20 hrs ago    O tankbottoms.eth La    OUT    0 0x232AFc ..843D8931 La               0 ETH                 0.00350286


      @      Oxedc0daf0ae971 f09f ...           Transfer         13884024        465 days 20 hrs ago    O tankbottoms.eth La    OUT    0 The Open DAO: SOS To._ (9            0 ETH                 0.00266686


      @      Ox3397e28f6a3d5acc6...              Claim           13873752        467 days 10 hrs ago    O tankbottoms.eth La    OUT    0 The Open DAO: SOS To... La           0 ETH                 0.00290022


      @      Ox997f2d53718f7c451 ...            Transfer         13846646        471 days 15 hrs ago    O tankbottoms.eth (9    OUT    O s ervice-provider.eth (9             1 ETH                 0.00120934


      @      Ox441388d999f9db8d ...             Traoofer         13828169        474 days 11 hrs ago    O tankbottoms.eth La    OUT    Ox824F87...0f26d742 (9                 0.25628212 ETH        0.00109886


      @      Ox70774653e99b05d2...            Public Mint        13821153        475 days 13 hrs ago    Otankbottoms.eth La     OUT    0 Galaktic Gang: GG Token La           0.3885 ETH            0.01081629


      @      OX3603daf4b7e2a9ba0...         Swap Exact T_        13818704        475 days 22 hrs ago    Otankbottoms.eth (9     OUT    0 Uniswap V2: Router 2 (!)             0 ETH                 0.01858964


      @      Oxe9a95207066dd782...             Approve           13818704        475 days 22 hrs ago    O tankbottoms.eth La    OUT    0 Ox4CDOc4...4E47f526 La               0 ETH                 0.00748807


      @      Ox5a032209f7e48ad16...             Transfer         13805713        477 days 23 hrs ago    O tankbottoms.eth La    OUT    O meowsdao.eth La                      0.35 ETH              0.00191 1


      @      Ox84524729f39709b4...             M int Bat         13801232        478 days 15 hrs ago    O tankbottoms.eth La    OUT    0 Deathbats Club: DBC L . L□           0.16 ETH              0.02923341


      @      Ox04cbb92a21 cd526fL            TFansfer From       13792927        479 days 22 hrs ago    O tankbottoms.eth e,a   OUT    0 Deathbats Club: DBC T_.    t,O       0 ETH                 0.00569232


      @      Ox974bcbb0e531 f02bb...        Mint Bat Pres__      13792424        480 days 21 mins ago   Otankbottoms.eth La     OUT    0 Deathbats Club: DBC T... La          0.08 ETH              0.0178605


      @      Ox26bb8759d434e5db...          Safe Transfer ·-     13788495        480 days 14 hrs ago    O tankbottoms.eth Lo    OlfT   0 Oxe01569...CB4C7698 Lo               0 ETH                 0.00233518


      @      Ox19209d88fddf39f10...             Transfer         13782371        481 days 13 hrs ago    O tankbottoms.eth e,a   OUT    O meowsdao.eth t,D                     0.24799373 ETH        0.001 155


      @      Ox6072ad013b5f18c03 ...            Transfer         13768175        483 days 19 hrs ago    O tankbottoms.eth La    OUT    Ox1561c3...0257e5a3 (!)                1 ETH                 0.001953


      @      Oxd7a35b2fd409dee9b...             Transfer         13766726        484 days 41 mins ago   Coinbase 4 La            IN    () tankbottoms.eth L□                  2.5948173 ETH         0.00139007


      @      Oxf43a2add836ad 11 be...           Transfer         13766323        484 days 2 hrs ago     O tankbottoms.eth L□    OUT    Ox1561 c3 ...0257e5a3 L□               0. 11402561 ETH       0.001491


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                                                                  Elhereum Transactions     FLSDI Elherscan
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      CD    Txn Hash                    Method(v   Block Age             From                            To                Value                                                          Txn Fee


      @     Oxd7493015848eb434...        Safo T,ansfer ·-    13765542   484 days 5 hrs ago    O tankbottoms.eth     t,D   OUT    0 OpenSea: OPENSTORE ... [9            0 ETH             0.00602255


      @     OX4d79152fa9d51 Ob2...           Transfer        13765406   484 days 5 hrs ago    O tankbottoms.eth t,D       OUT    0 Friends With Benefits: ... c9        0 ETH             0.0041676


      @     Ox0bd2440ab6cc521 a...       Atomic Match_       13758474   485 days 8 hrs ago    ◊ tankbottoms.eth t,D       OUT    0 OpenSea: Wyvern Exch...        t,D   0.133 ETH         0.0167353


      @     Ox51807e9a 103fb9193...          Transfer        13758457   485 days 8 hrs ago    O partypants.eth c9          IN    () tankbottoms.eth t,D                 0.2 ETH           0.00161 401


      @     Ox32010385d02fcc724 ...        Mint Token        13743588   487 days 17 hrs ago   O tankbottoms.eth t,D       OlfT   @] Ox6F2235...2cd16874 t,D             0 ETH             0.0189201 1


      @     Ox4a552174911 fae977...          Transfer        13736591   488 days 20 hrs ago   O tankbottoms.eth     t,D   OttT   0 FreeRossDAO: Treasury t,D            0.5 ETH           0.00286954


      @     Ox842096b3096a6ee6...            Redeem          13716921   492 days 1 min ago    O tankbottoms.eth t,D       OUT    0 Juicebox: Terminal V1 c9             0 ETH             0.01697366


      @     Oxfed4cd061 ddea67a7...         Claim AJI        13639937   504 days 5 hrs ago    O tankbottoms.eth t,D       OUT    0 Ox192086...D747b1a2 [9               0 ETH             0.00741 643


      @     Ox7beb36f379bc47f71...           Transfer        13639879   504 days 5 hrs ago    O tankbottoms.eth     t,D   Olll   0 Shiba lnu: SHIB Token t,D            0 ETH             0.00654954


      @     Oxfl f08efdca666d6dd...          Transfer        13638540   504 days 10 hrs ago   O tankbottoms.eth t,D       OUT    0 ENS: ENS Token t,D                   0 ETH             0.00807469


      @     Ox885e63199ad3a8b4...          Unstake All       13629936   505 days 19 hrs ago   O tankbottoms.eth t,D       OUT    0 Oxf6cf31 ...7E6809C6 t,D             0 ETH             0.00984381


      @     Ox9a4171f38187ee37c ...         Claim All        13629897   505 days 19 hrs ago   0   tankbottoms.eth t,D     UllT   0 Oxf6cf31 ...7E6809C6 [9              0 ETH             0.00718087


      @     Ox7f17459060141 f5c8...         Claim All        13629891   505 days 19 hrs ago   O tankbottoms.eth t,D       OUT    0 Ox192086...D747bla2 t,D              0 ETH             0.00781447


      @     Oxfa345b4e8ec2172ef . .      Atomic Match_       13629733   505 days 20 hrs ago   O tankbottoms.eth t,D       OUT    0 OpenSea: Wyvern Exch... c9           0.2 ETH           0.03388233


      @     Oxa7442cdb65a51033...            Traoofer        13629685   505 days 20 hrs ago   O partypants.eth t,D         IN    O tankbottoms.eth t,D                  0.525 ETH         0.00330262


      @     Oxel ff6209f3ff61b040 ...    Exact Input Si...   13627458   506 days 4 hrs ago    0   tankbottoms.eth   c9    OUT    0 Uniswap V3: Router c9                0.125 ETH         0.01359548


      @     Oxe53ba22af5e45c8ac...             Pay           13627370   506 days 5 hrs ago    O tankbottoms.eth t,D       OUT    0 Juicebox.: Terminal V1   t,D         0.25 ETH          0.011461 05


      @     Ox6f127aa2841785719...           Traoofer        13627354   506 days 5 hrs ago    O meowsdao.eth t,D           lN    () tankbottoms.eth t,D                 0.5 ETH           0.00209823


      @     Oxfl 655545a2d6c800a ...      Claim Toke11s      13599889   510 days 13 hrs ago   O tankbottoms.eth t,D       OUT    0 ENS: ENS Token t,D                   0 ETH             0.01599249


      @     Oxfe90360080c2986b1 ...          Multicall       13598983   510 days 16 hrs ago   O tankbottoms.eth t,D       OUT    0 ENS: Public Resolver 2 t,D           0 ETH             0.02865254


      @     Oxeec9815cd 1438503...            Renew          13586736   512 days 14 hrs ago   O tankbottoms.eth t,D       OUT    0 ENS: ETH Registrar Co...       (9    O.Q11667808 ETH   0.01546942


      @     Oxb5359db3fc6a fOd 17 ...    Adopt Kitty Ca._    13525271   522 days 6 hrs ago    O tankbottoms.eth     t,D   OUT    0 Ox793290...EC38Ec E8 [9              0.05 ETH          0.02948624

                                                                                                                                                                            PLAINTIFF0001130
https ://etherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps=1 OO&p=24                                                                                                                   2/5
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      e     Txn Hash                    Method<:1) Block Age              From                            To                Value                                                       Txn Fee


      @     Oxb6e917d9cb2e05ba ...           TraMfer        13514085   524 days 27 mins ago   O tankbottoms.eth      t,D   OUT    0 The Doge NFT: DOG To ... (9       0 ETH             0.00837901


      @     Ox29800ca96ed6c17b...             Adopt         13469247   531 days 1 hr ago      O tankbottoms.eth t,D        OUT    0 Ox76E3de...6118e10f t,D           0 ETH             0.02042371


      @     Oxf8a4a7c6de5a28083 ...         Delegate        13468740   531 days 3 hrs ago     ◊ tankbottoms.eth t,D        OUT    0 Uniswap Protocol: UNI .,.   t,D   0 ETH             0.01009699


      @     Ox02c4f7cae35df5e1 a...      Set Approval ...   13379852   545 days 1 hr ago      O tankbottoms.eth t,D        OUT    0 Ox4C91 E6...1 8818408 t,D         0 ETH             0.00551 19


      @     Oxe36269cc6478251 d ...       Register Proxy    13379273   545 days 3 hrs ago     O tankbottoms.eth t,D        OUT    0 OpenSea: Registry [.O             0 ETH             0.07117075


      @     Ox2aefceb148f0a2448 ...      Atomic Match..     13373803   546 days 35 mins ago   O tankbottoms.eth      t,O   OllT   0 OpenSea: Wyvern Exch...     t,O   0.9 ETH           0.0237971


      @     Oxca045070a20fc526d...           Transfer       13371527   546 days 9 hrs ago     O tankbottoms.eth t,D        OUT    0 Ox971845...a814FD96 c.□           0.05590121 ETH    0.002077


      @     Oxe971bbc84cc4b2f7b...        Stake By Ids      13371203   546 days 10 hrs ago    O tankbottoms.eth c.D        OUT    0 Ox192086...0747b1 a2 c9           0 ETH             0.01177441


      @     Ox24715369b9fee7419...       Atomic Match...    13371195   546 days 10 hrs ago    O tankbottoms.eth      t,D   OUT    0 OpenSea: Wyvern Exch...     [.O   0.005 ETH         0.01488939


      @     Oxbe1179ae7a6d0c70 ...       Set Approval ...   13371107   546 days 10 hrs ago    O tankbottoms.eth t,D        OUT    0 WeMint Washington: W... c9        0 ETH             0.00500493


      @     Ox6fac3144f8f979ea3...        Stake By Ids      13371043   546 days 10 hrs ago    O tankbottoms.eth t,D        OUT    0 Oxf6cf31 ...7E6B09C6 [.O          0 ETH             0.01598683


      @     Oxa5a34cd72ba7e222...        Atomic Match...    13371031   546 days 10 hrs ago    0   tankbottorns.eth t,D     OllT   0 OpenSea: Wyvern Exch...     [.O   0.003 ETH         0.01371673


      @     Oxc77dfee45b9bcd677...       Set Approval ...   13371017   546 days 10 hrs ago    O tankbottorns.eth c.D       OUT    0 WeMint Washington: W... [.O       0 ETH             0.00481665


      @     Oxfe82e7d86fd27a81 c ...     Create Proxy ...   13370450   546 days 13 hrs ago    O tankbottoms.eth t,D        OUT    0 Safe: Proxy Factory 1.3.0 t,O     0 ETH             0.03698281


      @     OX2cc5f96 740790861 a ...        Traoofer       13368607   546 days 20 hrs ago    O tankbottoms.eth t,D        OUT    OxCFB682...Ddcb5955 t,D             0.42003864 ETH    0.004935


      @     Ox45a551e4b21661bfd ...         Set Name        13345119   550 days 12 hrs ago    0   tankbottorns.eth   c9    OUT    0 ENS: Reverse Registrar c.O        0 ETH             0.00239647


      @     Ox21 cd7cc4a6674bd0...        Transfer From     13344987   550 days 12 hrs ago    O tankbottorns.eth t,D       OUT    0 ENS: Base Registrar Im...   t,O   0 ETH             0.00410247


      @     Oxfe63f9868be7a3ec0 ...          Traoofer       13344970   550 days 12 hrs ago    O tankbottoms.eth c.□        OUT    OxCF8682...Ddcb5955 c.□             0.15 ETH          0.001 12851


      @     Oxafeccd4e49ca93043 ...          Transfer       13344841   550 days 13 hrs ago    Coinbase 4 c.O                ljj   () tankbottorns.eth c.D             1.83440018 ETH    0.00093885


      @     Oxc9836967b20aa0e1 ...       Register With·-    13344094   550 days 16 hrs ago    O tankbottoms.eth t,O        OUT    0 ENS: ETH Registrar Co...    [.O   0.004863356 ETH   0.00945268


      @     Oxda5e92a6b9cbc561 ...           Commit         13344072   550 days 16 hrs ago    O tankbottoms.eth LO         OUT    0 ENS: ETH Regist rar Co... c9      0 ETH             0.00213317


      @     0Xbelb79314cb7b00d ...       Sell To Un iswap   13342023   551 days ago           O tankbottoms.eth t,O        OIJT   0 Ox: Exchange Proxy c9             0.08 ETH          0.01081797

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       CD    Txn Hash                      Method(v   Block Age               From                            To                Value                                                           Txn Fee


       @     Ox0e8bd9746b1b493b ...               TraMfer        13289233   559 days 5 hrs ago     Coinbase 6 L□               IN    O tankbottoms.eth L□                     0.2437886 ETH     0.00152452


       @     Ox28f0486e1 de836f38...          Atomic Match..     13272166   561 days 20 hrs ago    O tankbottoms.eth tO        OUT   0 OpenSea: Wyvern Exch... r.9            0.03 ETH          0.02192587


       @     Ox3fb12b6915209922c ...          Atomic Match...    13265277   562 days 22 hrs ago    ◊ tankbottoms.eth tO        OUT   0 OpenSea: Wyvern Exch...         L□     0.03 ETH          0.01290464


       @     Ox48e825266b19d9ca ...           Atomic Match...    13258912   563 days 21 hrs ago    O tankbottoms.eth tO        OUT   0 OpenSea: Wyvern Exch...         [..O   0.03 ETH          0.01441829


       @     Ox1 OOb7e41e5746df9b...          Atomic Match..     13252825   564 days 20 hrs ago    O tankbottoms.eth [.,O      OUT   ® OpenSea: Wyvern Exch...         LO     0.03 ETH          0.01014533


       @     Ox787f08c3820abba 78 ...             Transfer       13244289   566 days 4 hrs ago     O tankbottoms.eth [.,O      OUT   Ox33dCb3...4a5CFd20 [.,O                 0.5 ETH           0.00274721


       @     Oxfc3c31 e9e45416963 ...         Atomic Match..     13244137   566 days 4 hrs ago     O tankbottoms.eth [.,O      OUT   0 OpenSea: Wyvern Exch...         [..O   0.03 ETH          0.02107712


       @     Ox0749645716e22cbdf...                 Buy          13222904   569 days 11 hrs ago    O tankbottoms.eth tO        OUT   E] Ox4C91 E6...1 B818408 r.9             0.15 ETH          0.02828251


       @     0     Oxfdbdf1 baa29541 b07...   Sell To Un iswap   13222843   569 days 11 hrs ago    O tankbottoms.eth [.,O      OUT   0 Ox: Exchange Proxy r.9                 0.5 ETH           0.00773261


       @     Ox8acbcfe48f3134638...               Transfer       13222798   569 days 11 hrs ago    Ox6A1F03...BE747813 [.,D    IN    O tankbottoms.eth [.,O                   0.47931737 ETH    0.001092


       @     Ox5452258953aae099 ...                Echo          13218542   570 days 3 hrs ago     O tankbottoms.eth [.,D      OUT   0 Tornado.Cash: Echoer c□                0 ETH             0.00303935


       @     Ox0332b17a23dfd894d...                Echo          13213618   570 days 22 hrs ago    0   tankbottoms.eth tD      OUT   E] Ox9B27DD...6161 Df42 L□               0 ETH             0.00123458


       @     Ox241 Oc8e56eb3ed00...               Unstake        13190228   574 days 12 hrs ago    O tankbottoms.eth     c□    OUT   0 Juicebox: ncket Booth c□               0 ETH             0.00821642


       @     Ox4ac89b21 f57d6c691 ...               Pay          13180028   576 days 2 hrs ago     O tankbottoms.eth [.,D      OUT   0 Juicebox: Terminal V1    [.,O          0.0147462 ETH     0.01367528


       @     Ox9e399c602577f9b0b...           Create Proxy ...   13165185   578 days 9 hrs ago     O tankbottoms.eth tD        OUT   0 Safe: Proxy Factory 1.3.0 L□           0 ETH             0.02885164


       @     Ox8d521 a2e8aef98ef3 ...             Transfer       13161512   578 days 23 hrs ago    0   tankbottoms.eth   r.9   OUT   0 Ren: REN Token c□                      0 ETH             0.00 529468


       @     Ox213715914ec4d9c6...                Traoofer       13161375   579 days 10 mins ago   O tankbottoms.eth [.,D      OUT   E] SushiSwap: SUSHI Tok... [..O          0 ETH             0.0040776


       @     Ox5f58 51888a49dfbad...              Traoofer       13161324   579 days 21 mins ago   O tankbottoms.eth [.,O      OUT   0 Friends With Benefits: ...      c□     0 ETH             0.00454338


       @     Ox7008252.db51 aa9b9 ...             Transfer       13161324   579 days 21 mins ago   O tankbottoms.eth l,D       OUT   0 Uniswap Protocol: UNI ...       l,D    0 ETH             0.0029657


       @     Ox217a16479f17c734c...               Transfe,       13141918   582 days 3 mins ago    O tankbottoms.eth [.,D      OUT   E] OxaC587a... 1D1 d3142 r.9             0.03 ETH          0.00343863


       @     Oxd6b74e1184329e16f...           Swap ETH For._     13131914   583 days 13 hrs ago    O tankbottoms.eth [.,O      OUT   0 Uniswap V2: Router 2 [.,O              0.260703708 ETH   0.01044713


       @     Oxc069ef0af34d70a67...              Set N ame       13131632   583 days 14 hrs ago    O tankbottoms.eth [.,D      OUT   0 ENS: Reverse Registrar c□              0 ETH             0.00803867

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       e       Txn Hash                        Method<:1) Block Age               From                            To                Value                                                                                                             Txn Fee


       @       Oxfbc26b0cf196550c1...                    Register With ·-     13131604          583 days 14 hrs ago             O tankbottoms.eth c.□                OUT      0 ENS: ETH Registrar Co... c9                  0.008497953 ETH          0.02170414


       @       Ox0949f0bd3fd096207 ...                       Commit           13131598          583 days 14 hrs ago             O tankbottoms.eth c.□                OUT      0 ENS: ETH Registrar Co... c9                  0 ETH                    0.00272975


       @       Oxfdb8990c2d7c7f388...                    Sell Et h For To._   13128497          584 days 2 hrs ago              O tankbottoms.eth c.□                OlfT      0 Ox: Exchange Proxy c.□                      0.1 ETH                  0.0190669


       @       Oxf02a634733f091 aed ...                      Transfer         13082891          591 days 3 hrs ago              Coinbase 4 c.□
                                                                                                                                                                      "'       O tankbottoms.eth c.□                         0.60516954 ETH           0.001 19249


       @       Ox00c241 b3d3a0c6ec...                          Mint           13008384          602 days 15 hrs ago             O tankbottoms.eth c.□                OlfT      0 Ox49006F. .. DF323648 t.O                   0 ETH                    0.00534993


       @       Ox90dc980294a36715...                           M int          13008249          602 days 15 hrs ago             O tankbottoms.eth       c.□          O\IT     0 Ox49006F. ..DF323648 c.□                     0 ETH                    0.00586082


       @       Oxea570eb916ec83fae...                          Mint           13008150          602 days 16 hrs ago             O tankbottoms.eth c9                 OUT       0 Ox49006F. ..DF323648 [9                     0 ETH                    0.00769897


       @       Ox01821 fd85faaec789_.                     Oxo0806040          13008145          602 days 16 hrs ago             O tankbottoms.eth c.□                OUT       ~ Create: CGHMCNFT (9                         0 ETH                    0.14503048


       @       Ox4638ddeae3785dbc...                     Swap ETH For.-       12999221          604 days 1 hr ago               O tankbottoms.eth c.□                l)(IT    0 Uniswap V2: Router 2 c9                      1.225520813 ETH          0.00534982


       @       Ox5c21 e308676d1 584 ...                      Transfer         12999162          604 days 1 hr ago               Coinbase 4 c.□                        1H       O tankbottoms.eth c.□                         0.62892629 ETH           0.00112013


       @       Oxabdb4ca4b2f70afe3...                        Transfer         12999104          604 days 1 hr ago               Coinbase 3    c9                      IN       O tankbottoms.eth c.□                         0.62987923 ETH           0.00107402


       @       Oxf46db5cee943d5a66...                    Swap ETH For••       12975256          607 days 17 hrs ago             0   tankbottoms.eth c.□              l>UT     0 Uniswap V2: Router 2 c9                      0.228596853 ETH          0.0052824


       @       Oxl 1ab94a88f407c8cc...                   Swap ETH For.•       12975139          607 days 18 hrs ago             O tankbottoms.eth       c.□          OUT       0 Uniswap V2: Router 2 c9                     0.521782421 ETH          0.00555737


       @       Oxc09f3fa0cdfccc0d89...                       Tra11Sfer        12975084          607 days 18 hrs ago             Coinbase 4    c9                      IN       () tankbottoms.eth c.□                        0 67263497 ETH           0.00080098


       @       0   oxa472b74d2a2f4f247...                Swap ETH For.•       12974972          607 days 18 hrs ago             O tankbottoms.eth       c.□          Ollr     0 Uniswap V2: Router 2 c9                      0.171627242 ETH          0.001 19753


       @       Ox9ceaaf1e34018e142 ...                       Transfer         12961991          609 days 19 hrs ago             0 tankbottoms.eth c9                 DUI       Ox33dCb3... 4a5CFd20       [9                 0.04589463 ETH           0.000987


       @       Ox6dac6ac180148581.._                         Traoofer         12961970          609 days 19 hrs ago             O tankbottoms.eth c9                 OUT       0 Maker: Dai Stablecoin c.0                   0 ETH                    0.00132501



      Show:     100        Records                                                                                                                                                                                   First      <      Page24 of 25     >     Last


                                                                                                                                                                                                                                            ( Download; csv Export c±, J

   ;Q, A transaction is a cryptographically signed instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




                                                                                                                                                                                                                                 PLAINTIFF0001133
htlps://elherscan .io/txs?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p=24                                                                                                                                                                                       5/5
4/6/23, 4:32 PM                        Case 1:23-cv-20727-RKA Document 106-30    Entered on
                                                                        Ethereum Transactions     FLSDI Etherscan
                                                                                              Information Docket 06/09/2023 Page 124
                                                                              of 401
   Transactions
   For 0x5d95ba EBB8412ADB27287240A5c281 E3b830d27E O t¥1kbottoms.eth




      A total of 2,407 transactions found                                                                                                                                                                First   <         Page 25of 25    >     Last     v~

       0       Txn Hash                              Method©                 Block             Age                               From                                       To                                       Value                         Txn Fee


       @       0xe8cb92b4d01 02e9f0. ..               Swap ETH For.•         12961931          609 days 19 hrs ago               O tankbottoms.eth c.D            our      0 Uniswap V2: Router 2 c:9                0.092404223 ETH               0.00415636


       @       0x075dfddd1 b28b69ca ...               Swap Exact T...        12961882          609 days 19 hrs ago               () tankbottoms.eth [.D           our      0 Uniswap V2: Router 2 c:9                0 ETH                         0.00542107


       @       0xe24bef33b9daf8da8 ...                    Approve            12961881          609 days 19 hrs ago               O tankbottoms.eth [.O            OU!      0 Maker: Dai Stablecoin cD                0 ETH                         0.00241581


       @       0x652c80c7908f40caa ...                Swap ETH For...        12961868          609 days 19 h rs ago              O tankbottoms.eth c:9            ou,      0 Uniswap V2: Router 2 c:9                0.166374003 ETH               0.00543851


       @       0xl a35c9625066c473 ...                    Transfer           12961820          609 days 20 hrs ago               Coinbase 6    c:9                IN        O tankbottoms.eth c.D                    0.35870747 ETH                0.001092


       @       0xd7c37add39fb96ad4...                 Swap ETH For_          12960551          610 days 55 mins ago              () tankbottoms.eth c.D           OU!      0 Uniswap V2: Router 2 c:9                0.659094552 ETH               0.00618772


       @       0xcfdb93187a598a50c...                     Transfer           12960502          610 days 1 hr ago                 Coinbase 3    c:9                IN        O tankbottoms.eth c:9                    0.79105504 ETH                0.001281



      Show:     100        Records                                                                                                                                                                                Fir st      <    Page25of 25       >       Last


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   VA transaction is a cryptographically signed Instruction that changes the blockchain state. Block explorers track the details of all transactions in the network. Learn more about transactions in our Knowledge Base.




                                                                                                                                                                                                                               PLAINTIFF0001134
https ://etherscan .io/txs?a=0x5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 100&p=25                                                                                                                                                                                    1/ 1
Case 1:23-cv-20727-RKA Document 106-30 Entered on FLSD Docket 06/09/2023 Page 125
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     Internal Transactions




                                                                                PLAINTIFF0001135
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                                                                    Ethereum Contract Internalon  FLSD Docket
                                                                                               Transactions I Etherscan06/09/2023 Page 126
                                                                            of 401
   Contract Internal Transactions
   ForAddress 0x5d95baEBB8412AD827287240A5c281E3bB30d27E




     A total of 200 internal transact ions found                                                                                                                       First   <   Page 1 of 2   >   Last


      Block             Age                        Parent Txn Hash                  Type   From                                      To                        Value


      16767597          31 days 13 hrs ago         0   Oxb9b737bA3d81df47...        call   ~ Seaport 1.1    r9                ...    O tankbottoms.eth LO      0.1906 ETH


      16753464          33 days 13 hrs ago         0   Ox7d239876f2be533c3 ...      call   ~ Seaport 1.1    r9                ➔      O tankbottoms.eth LO      0.1906 ETH


      16706461          40 days 4 hrs ago          0   Ox7d5b707b8f35c8889...       call   ~ Wrapped Ether        r9          ➔      Otankbottoms.eth r9       13 ETH


      16695697          41 days 16 hrs ago         O Oxl 82c8949ae2f6aedd __        call   Gl Seaport 1.1 r9                  ➔      ◊ tankbottoms.eth LO      0.07399075 ETH


      16694093          41 days 21 hrs ago         0   Ox0ad3b95a577ba6b4__         call   Gl ENS: ETH Registrar Co... r9     ➔      O tankbottoms.eth LO      0.000303718575090864 ETH


      16688901          42 days 15 hrs ago         0   Ox0162ddff14a6ce53d •.       call   Gl Uniswap: Universal Ro... r9     ➔      0    tankbottoms.eth LO   0.458313025149037401 ETH


      16688830          42 days 15 hrs ago         0   Ox63782c6e99e21c13...        call   Gl Uniswap: Universal Ro... r9     ....   0    tankbottoms.eth LO   0.511088568278685628 ETH


      16688659          42 days 16 hrs ago         0   Oxc54983c28ac2c916...        call   ~ OxE090D1 ...B6604c45 LO          ....   Otankbottoms.eth LO       3.52999481 ETH


      16686312          43 days 12 mins ago        0   Oxl f7b83026b30849a8..,      call   ~ Seaport 1.1    r9                ➔      ◊ tankbottoms.eth   LO    0.1906 ETH


      16685246          43 days 3 hrs ago          0   Oxcel 41d3fd4d6203a0.,.      call   ~ Seaport 1.1    r9                ➔      ◊ tankbottoms.eth   LO    0.1425 ETH


      16681472          43 days 16 hrs ago         0   Ox44c72ebb25650d14...        call   ~ Seaport 1.1    r9                ➔      O tankbottoms.eth LO      0.1828125 ETH


      16681334          43 days 17 hrs ago         0   Ox37bacba85d6c7ce0__         call   ~ Seaport 1. 1 c,0                 ...    Otankbottoms.eth LO       0.07452 ETH


      16681252          43 days 17 hrs ago         0   Oxd4eb9849ee4436c9...        call   ~ Seaport 1. 1   c,D               ....   Otankbottoms.eth LO       0.121875 ETH


      16681187          43 days 17 hrs ago         O Oxf6f08d608e90820fa ...        call   Gl Wrapped Ether r9                ....   O tankbottoms.eth c,D     1ETH


      76681132          43 days 17 hrs ago         0   Ox1484C8c30f3b0dce7...       call   Gl Seaport 1.1 r9                  ➔      ◊ tankbottoms.eth c,D     0.0792 ETH


      16671778          45 days 1 hr ago           0   Oxe3ab9210a6c59d26...        call   ~ Seaport 1. 1 r9                  ...    O tankbottoms.eth c,D     0.1235 ETH


      16671445          45 days 2 hrs ago          0   Oxc6ff90624c2680c9L          call   ~ Ox6868D7... 2076494E        r9   _.     O tankbottoms.eth c,D     10.550067468 ETH


      16655107          47 days 9 hrs ago          0   Oxdl bbfofffe 12e6c2flf...   call   Gl Seaport 1.1 c,D                 ➔      O tankbottoms.eth c,O     5.46875 ETH


      16647856          48 days 10 hrs ago         0   Ox87d7e2476b8c43bb•.         call   ~ Blur.io: Marketplace      c,D    ➔      O tankbottoms.eth c,D     0.111 ETH


                                                                                                                                                                               PLAINTIFF0001136
https ://etherscan .io/txsinternal?ps= 1OO&zero=false&a=Ox5d95baEBB84 12AD827287240A5c281 E3bB30d27E&valid=all                                                                                              1/5
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                                                                Ethereum Contract Internalon  FLSD Docket
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      Block         Age                   Parent Txn Hash    Type
                                                                         of
                                                                      From
                                                                            401                             To                 Value

      16647794      48 days 10 hrs ago         0   0xf7677f03dff15bdb37...      call    ~ Blur.io: Marketpl ace c..D          ➔      O tankbottoms.eth ct)      0.111 ETH


      16638195      49 days 18 hrs ago         O 0xb25cfecc66922fd2fb...       call     ~ Blur: Bidding c..D                  ...    O tankbottoms.eth c..D     0.6707 ETH


      16636982      49 days 22 hrs ago        O 0x28a4C06b09a20fa2f...         call     ~ Blur.io: Marketplace c..D           ➔      O tankbottoms.eth c..D     0.096 ETH


      16626812      51 days 8 hrs ago          O 0x9ee830ad7179219b __         call     ~ Uni swap: Universal Ro...    ct)    ...    O tankbottoms.eth c..D     0.685646591836520556 ETH


      16626810      51 days 8 hrs ago          0   0x4968a39131 ff73f21 ...    call     ~ Uniswap: Universal Ro...     ct)    ....   0   tankbottoms.eth c..O   0.201806277942809215 ETH


     16626395       51 days 10 hrs ago         0   0x0d7dde9c706c488d ...       call    ~ Uniswap V3: Positions ...    ct)    ➔      ◊ tankbottoms.eth t.D      0.372005957746321944 ETH


      16626389      51 days 10 hrs ago        O 0x05cd5748cac2f26e6...         call     ~ Uni swap V3: Positions ..    ct)    ➔      0 tankbottoms.eth c..□     1.21116904633967868 ETH


      16625991      51 days 11 hrs ago         O 0x891 bS57a44d0ee49...        call     ~ Blur. Bidding c..□                  ➔      O tankbottoms.eth t.D      0.05 ETH


      16625929      51 days 11 hrs ago         O 0x9cb6fec891 cb6ff1 e1 ...    call     IJ Blur: Bidding c..□                 ➔      O tankbottoms.eth c..□     1.15 ETH


      165781 17     58 days 4 hrs ago          O 0x7294af70950deace3...         call    ~ ENS: ETH Registrar Co...     c..□   ➔      O tankbottoms.eth t.D      0.00061335754656411 ETH


      16541376      63 days 7 hrs ago         0    0x338cf63bba1d76546...       call    1J Uniswap: Universal Ro...    ct)    ➔      O tankbottoms.eth c..□     629.377029448115990959 ETH


      16521468      66 days 1 hr ago           0   0x39a9f759f83cd855b".        call    ~ Uni swap: Universal Ro... t.O       ➔      0   tankbottoms.eth t.O    0.40273143747806767 ETH


      16521436      66 days 2 hrs ago          0   0xd431fd87a81fed42f...      call     ~ Uni swap: Universal Ro...    ct)    ➔      O tankbottoms.eth t.O      3.997734835534319861 ETH


      16521424      66 days 2 hrs ago         0    0xa498bb1 ldle7b1a2...       call    ~ Curve.ti: swap Router t.D           ➔      O tankbottoms.eth t.O      8.5310888692978325 ETH


      16507350      68 days 1 hr ago           0   0x2a84aa9e411364e0...       call     ~ Seaport 1.1 t.O                     ➔      O tankbottoms.eth t.D      0.029 ETH


      16507187      68 days 1 hr ago           0   0x2c17bd2d429285c2...       call     ~ Uni swap: Universal Ro... t.O       ➔      0   tankbottoms.eth t.D    2.370118546355612867 ETH


      16480815      71 days 18 hrs ago         0   0xf6f302cb67c2d1 efa__      call     ~ Uni swap: Universal Ro... ct)       ....   0 tankbottoms.eth t.D      2.224200278626645387 ETH


      16427598      79 days 4 hrs ago          0   0x951415f679d1014d...        call    ~   ENS: ETH Registrar Co... ct)      ➔      O tankbottoms.eth c..□     0.000637073688221173 ETH


      16420390      80 days 4 hrs ago          0   0xb0c00621261c6876f...       call    (;') Disp0rse.app Ln                         O tankbottoms.eth LO       0.01 ETH


      16378126      86 days 2 hrs ago          0   0x8b1845f49d08035cd...      call     ~ Uniswap V3: Router 2 c..□           ➔      O tankbottoms.eth c..□     3.75719278833610367 ETH


      16338187      91 days 16 hrs ago         0   0xl 35c82746aad5c68...      call     ~ 0x2187e6...CA706fb0 [..D            ➔      O tankbottoms.eth t.D      3.08 ETH


      16244132      104 days 19 hrs ago        0   0x7c43cbeb3de66743...       call     ~ ENS: ETH Registrar Co... [..O       ➔      O tankbottoms.eth t.D      0.000411569086825685 ETH


      16184003      113 days 4 hrs ago         O 0x3e08362eb79d6cb4...         call     ~ Uni swap: Universal Ro...    ct)    ...    0   tankbottoms.eth [..D   0.04 ETH


      16169691      115 days 4 hrs ago        0    0xl f57a8b17694ab368...     call     ~ Uni swap V3: Router 2 t.D           -➔     O tankbottoms.eth [..O     0.691117838551569178 ETH

                                                                                                                                                                            PLAINTIFF0001137
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                                                                Ethereum Contract Internalon  FLSD Docket
                                                                                           Transactions I Etherscan06/09/2023 Page 128
      Block         Age                   Parent Txn Hash    Type
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                                                                            401                             To                 Value


      16169686      11 5 days 4 hrs ago        0   Ox0c9906a31 bc23713...       call     ~ Uni swap V3: Router 2   cP        ➔      O tankbottoms.eth LD    1.034686138091102081 ETH


      16168307      115 days 9 hrs ago         O Ox534725a1eaaf9ea95...         call     ~ Uni swap V3: Router 2 LD          ...    O tankbottoms.eth LD    1.058033518281072223 ETH


      16168300      115 days 9 hrs ago         O Ox3355ee3b94d37c4e...          call     ~ Wrapped Ether LD                  ...    0 tankbottoms.eth LD    0.9 ETH


      16091757      126 days 2 hrs ago         O Oxd6d93226ac5af56c5...         call     &') Ox2187e6...CA706tbD (9          ➔      O tankbottoms.eth LD    17.5 ETH


      16088293      126 days 13 hrs ago        0   Ox9f90e511c075bdf90...       call     &') Ox49128C...F9D50443 LD          ➔      0 tankbottoms.eth LD    0.25ETH


     16038734       133 days 11 hrs ago        0   Oxb66648ef51 b0b3857...      call     &') Coinbase 10 LD                  ...    O tankbottoms.eth LD    2.00012583 ETH


      16036114      133 days 20 hrs ago        0   Oxfeb606c0786532778...       call     ~ Uni swap V3: Router 2 LD          ➔      O tankbottoms.eth LI)   1.687065774920416556 ETH


      16023695      135 days 14 hrs ago        O Ox665995199239c63d...          call     ~ OxaC587a ...1D1d3142 LD           ➔      O tankbottoms.eth LD    1.990935638064836432 ETH


      15946879      146 days 7 hrs ago         0   Ox1Oc83a42d628fbad0...       call     ~ Ox2187e6..CA706tb0 LD             ...    O tankbottoms.eth LI)   5 ETH


      15870869      156 days 22 hrs ago        O Ox9855C060f74f99af0..          call     ~ Uni swap V3: Router 2 LD          ➔      O tankbottoms.eth LD    2.067159919295268469 ETH


      15769582      171 days 2 hrs ago         0   Ox1393C4ff827f35819...       call     ~ Ox245f7e...18d607Al LD            ...    O tankbottoms.eth LD    2 ETH


      15746128      174 days 8 hrs ago         0   Ox9b6098c4decd1 e07...       call     ~ Wrapped Ether   cP                ➔      O tankbottoms.eth LI)   2.15775000925 ETH


      15743578      174 days 17 hrs ago        0   Ox72c76f39ctb0la03b...       call     ~ Ox49128C...F9D50443 LD            ➔      O tankbottoms.eth LD    0.25 ETH


      15695674      181 days 9 hrs ago         0   Oxb76fd399d296dbe49...       call     ~ Ox2187e6...CA706tbD     (9        ➔      O tankbottoms.eth LD    30 ETH


      15695604      181 days 10 hrs ago        0   Ox7426c98d056a2c77...        c all    ~ Uni swap V3: Router 2 LD          ➔      O tankbottoms.eth LD    3.004537116079253314 ETH


      15657694      186 days 17 hrs ago        0   Ox649d66567222fl 6c3...      call     ~ Uni swap V3: Router 2 LD          ➔      0 tankbottoms.eth LD    68.879512279336554869 ETH


      15633357      190 days 2 hrs ago         0   Ox9565d5e2b0c9bd73...        call     ~ QQL Mint Pass: QQL-M...      c9   ...    0 tankbottoms.eth LD    2 ETH


      15608998      193 days 12 hrs ago        0   Oxd0e0f4a5c9d8e343b...       call     ~ Juicebox: Terminal V1 LD          ➔      O tankbottoms.eth LI)   12.031599939795304033 ETH


      15584702      196 days 22 hrs ago        0   Ox550o3d7do7a6ff040...       call     GI Uniswap V3: Router 2 c,n                O tankbottoms.oth c,O   '18.1131567855627273067 ETH


      15551505      201 days 14 hrs ago        0   Ox99155843f39dee6b2...       c all    ~ OxC28eOd...Of92a209 LD            ....   O tankbottoms.eth LI)   0.012 ETH


      15548391      202 days 37 mins ago       0   Ox8efdcef816a4cabl 4 ...     call     ~ Wrapped Ether LD                  ➔      O tankbottoms.eth LD    2.297195 ETH


      15526311      205 days 10 hrs ago        0   Oxdda9ff0e5fcf3c76c8 ..      call     ~ Uni swap V3: Router 2 LD          ➔      O tankbottoms.et h LD   10. 15820105328834381 ETH


     15513491       207 days 13 hrs ago        0   Ox71fc26f58f57c3e45...       call     ~ Juicebox: Terminal V1   cP        ➔      0 tankbottoms.eth LD    9.1 09749913104917976 ETH


     15480459       212 days 21 hrs ago        O Ox3592fe58c53ed02d2...         call     ~ Uni swap V3: Router 2 LD          ...    O tankbottoms.eth LD    126.177786409725230284 ETH

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https:I /etherscan .io/txsinternal?ps= 1OO&zero=false&a=Ox5d95baEBB84 12AD827287240A5c281 E3bB30d27E&valid=all                                                                            3/5
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      Block         Age                  Parent Txn Hash    Type
                                                                        of
                                                                     From
                                                                           401                             To                 Value


      15477698      213 days 8 hrs ago         0   Oxf8731c1db4a676d62 ...      call     ~ Uni swap V3: Router 2   cP          ➔      O tankbottoms.eth LD      1.460932248923408336 ETH


      15477674      213 days 8 hrs ago         0   Ox29dc02bd3e18bec2...        call     ~ Rainbow: Router LD                  ...    O tankbottoms.eth LD      0.306060338957263226 ETH


      15477597      213 days 9 hrs ago         O Ox862f7ff28515319a2f...        call     ~ Bend DAO: WETHGatew... (9           ....   O tankbottoms.eth LD      5.000280800838707327 ETH


      15475836      213 days 15 hrs ago        O Oxc54452e176319b43...          call     ~ Wrapped Ether LD                    ...    O tankbottoms.eth LD      0.25ETH


      16470872      214 days 10 hrs ago        0   Oxb011babalf1 1a931b...      call     ~ Ox174150...6F289FA6 [.O             ....   0 tankbottoms.eth LO      0.402975 ETH


      16457591      216 days 14 hrs ago        0   Ox4d3eeeeb41da 7c3b...       call     ~ Uniswap V3: Router 2 c.D            ...    O tankbottoms.eth c.D     9.487742752301696493 ETH


      15438908      219 days 13 hrs ago        0   Ox6430a06345f15b6c0...       call     ~ Foundat ion: Market L□              ➔      0   tankbottoms.eth LD    2.3 ETH


      15432480      220 days 14 hrs ago        0   Ox60db193e6e5d9ad8 ...       call     ~ Juicebox: Terminal Vl L□            ➔      O tankbottoms.eth c.□     11.02454287939459519 ETH


      15421547      222 days 8 hrs ago         0   Oxb29b13038b269478...        call     G) Uniswap V3: Router 2 LD            ...    O tankbottoms.eth LD      5.1382180060038544 ETH


      15418286      222 days 20 hrs ago        O Ox7c5e137a9ee36afb0...         call     ~ Uni swap V3: Router 2 c.D           ➔      O tankbottoms.eth c.□     0.993139629605703978 ETH


      15417280      223 days 40 mins ago       0   Oxc1c670615b1949fba.,.       call     Gl Uniswap V3: Router 2 LD            ...    0   tankbottoms.eth LD    7.039580572186613261 ETH


      16411826      223 days 21 hrs ago        0   Ox3118f6a49a5ca81 f6 ...     call     ~ ENS: ETH Registrar Co... c.O        ➔      0   tankbottoms.eth c.O   0.000882792857677911 ETH


      15391865      227 days 2 hrs ago         0   Ox30bbt74badb56e80...        call     ~ ENS: ETH Registrar Co ...     c9    ➔      O tankbottoms.eth c.□     0.000954598301179159 ETH


      15391744      227 days 2 hrs ago         0   Oxl 4ef5064a080e3523...      call     ~ ENS: ETH Registrar Co ...     c.□   ➔      O tankbottoms.eth c.□     0.000636398867452773 ETH


      15388813      227 days 13 hrs ago        0   Ox5523456eb9a36dda ...       call     ~ Uni swap V3: Router 2 c.□           ➔      O tankbottoms.eth c.□     10.086016028372169391 ETH


      15382965      228 days 11 hrs ago        0   Oxe1485d6a07c733a8...        call     ~ Oxa35375...54fa5DB9 c.□             ➔      0   tankbottoms.eth c.□   0.66 ETH


      15382911      228 days 12 hrs ago        0   Oxb50bS2573bf2836eO...       call     ~ Oxa35375...54fa5DB9 c.□             ....   0 tankbottoms.eth c.D     0.6 ETH


      15382369      228 days 14 hrs ago        0   Ox2114792303b02e47...        call     ~ Ox49128C ...F9050443 LD             ➔      O tankbottoms.eth LD      0.5 ETH


      15381280      228 days 18 hrs ago        0   Ox8a29g3277dffc37a0..,       call     GI Uniswap V3: Router 2 en                   O tankbottoms.eth cD      15.700299754021197025 ETH


      15371409      230 days 7 hrs ago         O Oxa62c49cd82b0ed43...          call     ~ Uniswap V3: Router 2 LD             ➔      O tankbottoms.eth LD      14.697030539687302404 ETH


      15362123      231 days 19 hrs ago        0   Ox9acb9febc267fa8cf0...      call     ~ Uni swap V3: Router 2 c.D           ➔      O tankbottoms.eth c.D     27.018246221442663419 ETH


      15358808      232 days 7 hrs ago         0   Oxcd539df2737406abc..        call     ~ Foundation: Market LD               ➔      O tankbottoms.eth LD      0.5 ETH


      15355994      232 days 18 hrs ago        O Oxc3942b6f0e71262b7...         call     ~ ENS: ETH Registrar Co ...     c9    ...    O tankbottoms.eth LO      0.000794653192302351 ETH


     15337050       235 days 18 hrs ago        O Oxa5d6Sedbf660ca26e...         call     ~ Juicebox: Terminal Vl    cP         ➔      O tankbottoms.eth LO      8.047288935395265069 ETH

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https:/ /etherscan .io/txsinternal?ps= 1OO&zero=false&a=Ox5d95baEBB84 12AD827287240A5c281 E3b830d27E&valid=all                                                                              4/5
4/6/23, 4 :34 PM                   Case 1:23-cv-20727-RKA Document 106-30       Entered
                                                                    Ethereum Contract Internalon  FLSD Docket
                                                                                               Transactions I Etherscan06/09/2023 Page 130
      Block              Age                  Parent Txn Hash    Type
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                                                                                401                             To                 Value


      15329360           236 days 23 hrs ago    0   Ox1eed42c83a1d9e62-.          call    ~   ENS: ETH Registrar Co__   c9   ➔      O tankbottoms_eth L□   0.000516736642415669 ETH


      15326766           237 days 8 hrs ago     0   Ox5a28c6dad424f6994...        call    ~ ENS: ETH Registrar Co ...   L□   ....   O tankbottoms.eth L□   0.000807325962147643 ETH


      15320050           238 days 10 hrs ago    O Oxce731cf704e1bd4e9...          call    ~ Uni swap V3: Router 2 L□         ➔      O tankbottoms.eth L□   26.539631955087638241 ETH


      15317977           238 days 18 hrs ago    O Oxb29f2Jff0c89c37e1 _.          call    ~ Uni swap V3: Router 2 L□         ....   O tankbottoms.eth L□   26.226741706163124994 ETH


      15303341           241 days 1 hr ago      0   Ox9c3132812b3c8b67...         call    ~ Uniswap V3: Router 2 L□          ➔      O tankbottoms.eth L□   126.696687554042485934 ETH


     15276770            245 days 4 hrs ago     0   Oxfa6f3c46584071543...        call    ~ ENS: ETH Registrar Co ...   r9   ....   O tankbottoms.eth L□   0.000933039407287413 ETH


      15264137           247 days 4 hrs ago     O Oxa009595156389d09._            call    ~ Wrapped Ether L□                 --+    O tankbottoms_eth L□   1.746518191804718628 ETH


      15245689           250 days 1 hr ago      0   Ox601573018be0c558 ___        call    ~ Julcebox: Terminal V1 L□         ➔      O tankbottoms_eth L□   9.350274585045769889 ETH


      15245300           250 days 2 hrs ago     O Oxc4c8c06655a40ebc._.           call    ~ ENS: ETH Registrar Co__ L□       ...    O tankbottoms_eth LD   0.000869008991236945 ETH


      Show rows:   100                                                                                                                                         Rrst   <   Page 1 of 2   )   Last




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https ://etherscan .io/txsi nternal?ps= 1OO&zero=false&a=Ox5d95baEBB84 12AD82728 7240A5c281 E3bB30d27E&valid=all                                                                                   5/5
4/6/23, 4 :34 PM                    Case 1:23-cv-20727-RKA Document 106-30     Entered
                                                                    Ethereum Contract Internalon  FLSD Docket
                                                                                               Transactions I Etherscan06/09/2023 Page 131
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   Contract Internal Transactions
   ForAddress 0x5d95baEBB8412AD827287240A5c281E3b830d27E




     A total of 200 internal transact ions found                                                                                                                      Fj rst   <   Page2 of 2   >   Last


      Block             Age                        Parent Txn Hash                 Type   From                                          To                        Value


      15235473          251 days 15 hrs ago        0   Ox993a7c007a661429 ...      call   ~ Wrapped Ether LO                      ...   O tankbottoms.eth LO      2.385ETH


      15219825          254 days 1 hr ago          0   Ox2b1 fal 167118c76a7...    call   ~ ENS: ETH Registrar Co ... LO          ➔     O tankbottoms.eth LO      0.000365152672442986 ETH


      15209009          255 days 18 hrs ago        0   Ox7ed1491ebe830055 ...      call   ~ ENS: ETH Registrar Co ...        c9   ...   O tankbottoms.eth c9      0.001629555465096538 ETH


      15181124          260 days 1 hr ago          0   Ox57eb5326af44a7ca 1...     call   ~ Ox7Ae63F... 483b8397 Lo               ...   O tankbottoms.eth c9      0.388970665052573111 ETH


      15179393          260 days 8 hrs ago         0   Oxe48171 c43972978e ...     call   ~ Wrapped Ether    c9                   -l    O tankbottoms.eth LO      5 ETH


      15155624          264 days 59 mins ago       0   Oxc584c57340acec77 ...      call   ~ J uicebox: Terminal Vl     c9         -l    O tankbottoms.eth LO      11.856410442968135216 ETH


      15143287          265 days 22 hrs ago        0   Oxf3bb7bf1 ca3a9b9f3...     call   ~ OpenSea; Wyvem Exch ...          c9   ...   0    tankbottoms.eth LO   1.2675 ETH


      15084430          275 days 1 hr ago          0   Ox4411eb2d1 a1c1 f42d ...   call   ~   ENS: ETH Registrar Co...       c9   -I    () tankbottoms.eth LO     0.001329287109351996 ETH


      15065168          278 days 23 mins ago       O Oxad409e7d219517e2...         call   ~ Juicebox: Terminal Vl      LO         -I    O tankbottoms.eth LO      15.01443608648828584 ETH


      15051725          280 days 2 hrs ago         O Ox7d2594ea226c782f9...        call   ~   ENS: ETH Registrar Co...       c9   ➔     O tankbottoms.eth LO      0.000456933743134008 ETH


      15050851          280 days 5 hrs ago         0   Oxl 849ce7067dd8cfd4 ...    call   ~ Foundation: Market    LO              ➔     O tankbottoms.eth LO      0.22 ETH


      15032253          283 days 17 hrs ago        0   Ox75d69d9022fcb4adb...      call   ~ Ox55e0F7...0Ad3219E [9                ➔     O tankbottoms.eth c9      0.0, ETH


      15032127          283 days 17 hrs ago        0   Ox1522dd5e5857bb38..        call   ~ Ox55eOF7..,0Ad3219E        c:9        ...   O tankbottoms.eth LO      0.3 ETH


      15032111          283 days 17 hrs ago        0   Ox96aleceaf7ef8d361...      call   ~ Ox55eOF7 ...0Ad3219E [9               ...   () tankbottoms.eth LO     0.0, ETH


      15029776          284 days 4 hrs ago         0   Ox4849b3d549e06a30...       call   ~ Foundation: Market LO                 ...   0 tankbottoms.eth c9      0.11 ETH


      15026491          284 days 19 hrs ago        0   Ox769793234d70622e...       call   ~ Ox55eOF7 ...0Ad3219E [9               ...   O tankbottoms.eth    c9   0.11 ETH


      15023769          285 days 7 hrs ago         0   Ox68ae4a8f45b5fabd4...      call   ~ Ox55eOF7...0Ad3219E LO                _,    O tankbottoms.eth    c9   0.35 ETH


      15023760          285 days 7 hrs ago         0   Ox369f48c77d0b43c14...      call   ~ Ox55eOF7...0Ad3219E        [9         ...   0 tankbottoms.eth    c9   0.11 ETH


      15023752          285 days 7 hrs ago         O Ox6b2f9bd0eaa02c544...        call   ~ Ox55eOF7.. 0Ad3219E        [9         ...   () tankbottoms.eth   c9   0.02 ETH


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https://etherscan .io/txslnternal?a= Ox 5d95baEBB8412AD827287240A5c281 E3b830d27E&ps= 1OO&p=2                                                                                                              1/5
4/6/23, 4 :34 PM             Case 1:23-cv-20727-RKA Document 106-30       Entered
                                                             Ethereum Contract Internalon  FLSD Docket
                                                                                        Transactions I Etherscan06/09/2023 Page 132
      Block        Age                   Parent Txn Hash   Type
                                                                       of
                                                                    From
                                                                          401                             To                 Value


      15002387     289 days 7 hrs ago         0   Ox551 f413455a0b34b ...     call    G') Ox55eOF7 ..0Ad3219E (9     ➔     O tankbottoms.eth La      0.23 ETH


      14996375     290 days 8 hrs ago         0   Ox0d12885dc9956740...       call    Q Foundation: Market La        ➔     0   tankbottoms.eth t,a   0.7986 ETH


      14995747     290 days 11 hrs ago        0   Oxl 83ef3c007b5a09e6...     call    Q Foundation: Market t,a       _,    O tankbottoms.eth t,a     2.2 ETH


      14995724     290 days 11 hrs ago        0   Ox83d24b498401be27...       call    Q Foundation: Market r.9       _,    O tankbottoms.eth t,a     2.75 ETH


      14995654     290 days 11 hrs ago        0   Ox48cfd5a7de89d9cbe...      call    Q Foundation: Market t,a       _,    O tankbottoms.eth t,a     0.5203 ETH


                                              0   Ox0127578b991 Ob86e ...     call    Q Foundation: Market t,a       _,    O tankbottoms.eth La      1.21 ETH


      14995628     290 days 11 hrs ago        O Ox1 al feaff2ae402e77e...     call    Q Foundation: Market La        ➔     O tankbottoms.eth La      0.9075 ETH


      14995625     290 days 11 hrs ago        O Oxce691760d4036ab0...         call    Q Foundation: Market La        -,    O tankbottoms.eth r.9     1.21 ETH


      14995549     290 days 12 hrs ago        0   Oxb9b819b872f5e955b ..      call    Q Foundation: Market La        _,    O tankbottoms.eth La      1 ETH


      14995510     290 days 12 hrs ago        O Ox6416a1c6c98d2b1cf...        call    Q Foundation: Market La        ➔     O tankbottoms.eth r.9     0.8054 ETH


      14995475     290 days 12 hrs ago        0   Oxc61 da 1fbcbf5f7bc6.,.    call    Q Foundation: Market LO        ➔     O tankbottoms.eth LO      0.6655 ETH


      14995399     290 days 12 hrs ago        0   Ox6a559543a9bfl d05f...     call    Q Foundation: Market La        _,    0   tankbottoms.eth t,a   0.75 ETH


      14995298     290 days 13 hrs ago        0   Ox55fl 19a12ac886faa ...    call    Q Foundation: Market r.9       --\   O tankbottoms.eth La      0.5B81 ETH


      14991609     291 days 4 hrs ago         0   Ox98cdee85a289f1 b61 ...    call     ~ OxaC5B7a ...1Dld3142 (9     --\   O tankbottoms.eth La      1.5 ETH


      14991075     291 days 6 hrs ago         0   Ox55d98808dd9bed91 ...      call    Q Foundation: Market La        ➔     O tankbottoms.eth r.9     0.3 ETH


      14987392     291 days 22 hrs ago        0   Ox5Bf2E7d106d1 d5a8e...     call     ~ Juicebox: Terminal Vl t,a   _,    0   tankbottoms.eth t,a   16.844098292526655014 ETH


      149B3082     292 days 16 hrs ago        0   Oxc9a1d0d4d847dbfc6...      call    Q Foundation: Market t,a       ➔     0   tankbottoms.eth t,a   0.605 ETH


      14982398     292 days 1B hrs ago        0   Oxbc43b83ee966bd5f9...      call    Q Foundation: Market LO        ➔     Otankbottoms.eth LO       0.5 ETH


      11\980655    293 days 2 hrs ago         0   Ox60c7dl\e8db8b4712...      call     ~   Foundation: Market @      ➔     O tankbottoms.eth Ln      0.25 ETH


      14968328     295 days 4 hrs ago         0   Ox64a201dBfc315c41 a ...    call    Q OxAF28bc...8fc94B1 e Lo      ➔     O tankbottoms.eth LO      0.5 ETH


      14946603     298 days 22 hrs ago        0   Ox9ac1480c8df9adadc...      call    Q Uniswap V3: Router 2 LO      ➔     O tankbottoms.eth LO      0.9B8366301430585922 ETH


      14946496     298 days 23 hrs ago        0   Ox0c4f4ce6f86be892d...      call    Q Uniswap V3: Router 2 LO      ➔     O tankbottoms.eth r.9     1.14161877251B546041 ETH


      14939991     300 days 1 hr ago          0   Ox50cd506cb89de766 ...      call    Q Ox55eOF7 ...0Ad3219E t,O     ➔     0   tankbottoms.eth t,O   0.6B ETH


      14939218     300 days 5 hrs ago         0   Ox6911 a7a96b2c098b...      call    Q Ox55eOF7 ...0Ad3219E t,O     ➔     O tankbottoms.eth t,O     0.58 ETH

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4/6/23, 4 :34 PM             Case 1:23-cv-20727-RKA Document 106-30       Entered
                                                             Ethereum Contract Internalon  FLSD Docket
                                                                                        Transactions I Etherscan06/09/2023 Page 133
      Block        Age                   Parent Txn Hash   Type
                                                                       of
                                                                    From
                                                                          401                             To                 Value


      14939054     300 days 5 hrs ago         0   Oxcb0b750d00a637faa...      call    G') Disperse.app La                   .....   O tankbottoms.eth La      0.0902338376891334 ETH


      14939002     300 days 5 hrs ago         O Ox06c06c2892974a22...         call    G') Ox55eOF7 ...0Ad3219E La           ....    0   tankbottoms.eth t,a   0.53 ETH


      14923356     302 days 21 hrs ago        0   Ox85b464408866cf2e1_,       call    G') Synapse: Bridge t,a               ....    0   tankbottoms.eth t,a   2.530479039279865277 ETH


      14906837     305 days 17 hrs ago        O Oxcea799f135dd4€ea9...        call    G') J uicebox:Terminal V1 t,a         ....    O tankbottoms.eth t,a     8.831731539881900025 ETH


      14826235     318 days 21 hrs ago        0   Oxcd9b5472412fb0d22...      call    G') J uicebox: Terminal V1_1 LD       ....    0   tankbottoms.eth t,D   2.437841214471482865 ETH


      14821096     319 days 17 hrs ago        0   Oxb76c7ce03f8968456...      call    G') J uicebox: Terminal V1 t,D        ....    0   tankbottoms.eth t,a   8.1 05771325175426132 ETH


      14782499     325 days 22 hrs ago        O Oxa54bca584 Se98f612 ...      call    G') ENS: ETH Registrar Co... La       ....    O tankbottoms.eth La      0.000705130129872869 ETH


      14773319     327 days 9 hrs ago         O Ox0c4f24e5c169c6496...        call    G') Wrapped Ether La                  ....    O tankbottoms.eth c9      3.499676000408608412 ETH


      14768557     328 days 3 hrs ago         0   Ox09163bc247132146 ...      call    G') OpenSea: Wyvern Exch ...     c9   ....    () tankbottoms.eth t,a    1.11 ETH


      14732292     333 days 22 hrs ago        O Oxc1 bl 26a3c35b3f6e6...      call    G') Julcebox: Terminal Vl La          ....    O tankbottoms.eth c9      6.054697035341020377 ETH


      14694169     339 days 23 hrs ago        0   Ox8b39db0733ad29b1 ..       call    G') CoW Protocol: GPv2Se... La        ....    O tankbottoms.eth t,a     7.001002856539849091 ETH


      14694046     340 days 8 mins ago        0   Ox7b1ad73783866f6b...       call    G') Dx2187e6...CA706fbD t,D           ....    0   tankbottoms.eth t,D   4ETH


      14657359     345 days 18 hrs ago        0   Ox9d5e583b247bc8bd...       call    G') Uniswap V2: Router 2 t,D          ....    O tankbottoms.eth t,D     0.2440265975118761OB ETH


      14650144     346 days 22 hrs ago        0   Ox77bbef4655e5c61 a3...     call    G') Foundation: Market t,D            ➔       O tankbottoms.eth t,D     0.5 ETH


      14643638     347 days 22 hrs ago        0   Oxefb74al 61ebe27cea...     call    G') J uicebox: Terminal V1 t,D        ....    O tankbottoms.eth c9      12.684268694702214213 ETH


      14621159     351 days 10 hrs ago        0   Ox3834fd498b74a0787 ...     call    G') Ox174150...6F289FA6 t,D           ....    0   tankbottoms.eth t,D   0.41392 ETH


      14620957     351 days 11 hrs ago        0   Ox32f71f11 eda0a7d72...     call    G') ENS: ETH Registrar Co... t,D      ....    0   tankbottoms.eth t,D   0.000485621130969656 ETH


      14614345     352 days 12 hrs ago        0   Oxd47da61 f0a3564b36...     call    G') Ox174150... 6F289FA6 La           ➔       O tankbottoms.eth La      0.414915 ETH


      11\614277    352 days 12 hrs ago        0   Oxl\a5aa1641823b85e...      call     ~ Uniswap   V3: Router 2 LO          ➔       ◊   tankbottoms.eth Ln    0.016468434024784085 ETH


      14600742     354 days 15 hrs ago        0   Oxcf42431329edd0c35...      call    G') Gnars: GNAR Token LD              ....    O tankbottoms.eth t,a     0.018 ETH


      14596306     355 days 8 hrs ago         0   Oxa1915a8b19580494...       call    G') Gnars: GNAR Token     c9          ....    O tankbottoms.eth t,a     0.013 ETH


      14594964     355 days 13 hrs ago        0   Ox55f671478b8a62e2b...      call    G') Gnars: GNAR Token     c9          ➔       O tankbottoms.eth c9      0.013 ETH


      14594335     355 days 15 hrs ago        0   Ox49569f56a031 a7002 ...    call    G') Gnars: GNAR Token     c9          ....    0   tankbottoms.eth t,a   0.01 1 ETH


     14588061      356 days 15 hrs ago        0   Ox772fcb18Bbefe862b...      call    G') Gnars: GNAR Token     c9          _,      O tankbottoms.eth t,a     O.Q11 ETH

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4/6/23, 4 :34 PM              Case 1:23-cv-20727-RKA Document 106-30       Entered
                                                              Ethereum Contract Internalon  FLSD Docket
                                                                                         Transactions I Etherscan06/09/2023 Page 134
      Block        Age                    Parent Txn Hash   Type
                                                                        of
                                                                     From
                                                                           401                             To                 Value

      14584645     357 days 4 hrs ago         0   Oxb1e39105e08ed7a8 ...       call    Q Gnars: GNAR Token c9           ....   O tankbottoms.eth La      0.011 ETH


      14584360     357 days 5 hrs ago         0   Ox6ad0f267b2946a8aa ...      call    Q Gnars: GNAR Token t,a          ....   0   tankbottoms.eth t,a   0.011 ETH


      14527548     366 days 2 hrs ago         0   Ox6a7d3884c92dc474 ...       call    Q ENS: ETH Registrar Co... c9    ..,    0   tankbottoms.eth t,a   0.000723891613307709 ETH


      14527438     366 days 2 hrs ago         O Oxd0c00f9c8586738b7...         call    Q ENS: ETH Registrar Co... c9    ....   O tankbottoms.eth t,a     0.000434334967984625 ETH


      14517273     367 days 16 hrs ago        0   Ox6dc7335355e06dfac...       call    Q Gnars: GNAR Token (9           ..,    0   tankbottoms.eth t,a   0.022 ETH


      14491134     371 days 18 hrs ago        0   Ox0bb415e6efb5a251 a •.      call    G'l Foundation: Market t,a       ..,    0   tankbottoms.eth t,a   0.165 ETH


      14478394     373 days 18 hrs ago        O Ox6b33d996da6e36ea...          call    Q Ox174150...6F289FA6 La         ....   O tankbottoms.eth La      0.009 ETH


      14473861     374 days 11 hrs ago        O Oxe4edc15010a00e1e..           call    Q Ox174150...6F289FA6 La         ....   O tankbottoms.eth c9      0.41591 ETH


      14473063     374 days 14 hrs ago        0   Ox29d286dd40172022...        call    Q Gnars: GNARToken c9            ....   () tankbottoms.eth La     0.011 ETH


      14470697     374 days 23 hrs ago        O Oxd7f32b3ca5491028e..          call    G') Ox174150... 6F289FA6 La      ....   O tankbottoms.eth   c9    0.009 ETH


      14467677     375 days 10 hrs ago        0   Oxd91 c6da4b0a42dd8 ...      call    Q Gnars: GNAR Token La           ....   O tankbottoms.eth La      0.011 ETH


      14467033     375 days 12 hrs ago        0   Ox287cd2540201844b ...       call    Q Foundation: Market La          ....   0   tankbottoms.eth c.a   0.14 ETH


      14467013     375 days 12 hrs ago        0   Ox161914dbddcfba55b...       call    Q Gnars: GNAR Token (9           --\    O tankbottoms.eth La      0.012 ETH


      14436735     380 days 5 hrs ago         0   Oxd2c633bf3c8a60f42...       call    G') Ox2187e6...CA706fbD LD       ➔      O tankbottoms.eth La      SETH


      14362943     391 days 17 hrs ago        0   Oxb826847c54eb300c ...       call    Q CoW Protocol: GPv2Se... La     ..,    O tankbottoms.eth c9      3.926717418699752589 ETH


      14187946     418 days 20 hrs ago        0   Ox9a62525fab11 a 7644 ...    call    G'l CoW Protocol: GPv2Se... c9   ➔      0   tankbottoms.eth t,a   5.632535563751949818 ETH


      14065626     437 days 18 hrs ago        0   Oxcc9b724d1849c94a ...       call    G'l OpenSea: Wyvem Exch... t,a   ..,    0   tankbottoms.eth t,a   0.69375 ETH


      13979150     451 days 2 hrs ago         0   Oxb2b877f85237c77b5...       call    Q OxB35ED5...4168186A LD         ➔      O tankbottoms.eth La      0.047483252315282021 ETH


      13930207     458 days 16 hrs ago        0   Oxgb9a91\9105ba1 b88 ...     call    ~ Ox2187<l6...CA706fbD   tl)     ➔      O tankbottoms.<lth Ln     3.25 ETH


      13818704     475 days 22 hrs ago        0   Ox3603daf4b7e2a9ba0...       call    QUniswap V2: Router 2 LD         ....   O tankbottoms.eth LD      1.826233180690847877 ETH


      13716921     492 days 4 mins ago        0   Ox842096b3096a6ee6...        call    G'l Juicebox: Terminal V1 LD     ....   O tankbottoms.eth LD      0.250072734872187295 ETH


      13586736      512 days 14 hrs ago       0   Oxeec9815cd1438503 ...       call    Q ENS: ETH Registrar Co... LD    ➔      O tankbottoms.eth c9      0.001044406797329611 ETH


      13344094      550 days 16 hrs ago       O Oxc9836967b20aa0e 1...         call    Q ENS: ETH Registrar Co... c9    ...    0   tankbottoms.eth t,D   0.000442123323184234 ETH


     13227393       568 days 19 hrs ago       0   Oxe792d1dd983072c7...        call    Q OxSeb12d...dA1A068C (9         ....   O tankbottoms.eth t,D     0.4 ETH

                                                                                                                                                                     PLAINTIFF0001144
https:/ /etherscan .io/txslnternal?a= Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps= 1OO&p=2                                                                                       4/5
4/6/23, 4 :34 PM                   Case 1:23-cv-20727-RKA Document 106-30      Entered
                                                                   Ethereum Contract Internalon  FLSD Docket
                                                                                              Transactions I Etherscan06/09/2023 Page 135
      Block              Age                   Parent Txn Hash   Type
                                                                            of
                                                                         From
                                                                               401                              To                 Value


      13131914           583 days 13 hrs ago    0   Oxd6b74e1184329e16f...     call    ~ Uniswap V2:. Router 2   LD    ....   O tankbottoms.eth LD     0.001297033377345582 ETH


      13131604           583 days 14 hrs ago    0   Oxfbc26b0cf196550c1...     call    Q ENS: ETH Registrar Co... (9   ...    0   tankbottoms.eth LD   0.000772541253798405 ETH


      12999221           604 days 1 hr ago      0   Ox4638ddeae3785dbc ...     call    QUniswap V2: Router 2 LD        ...    0   tankbottoms.eth LD   0.006097118475144115 ETH


      12975256           607 days 17 hrs ago    O Oxf46db5cee943d5a66...       call    QUnlswap V2: Router 2 c9        ..,    () tankbottoms.eth L□    0.001137297776200392 ETH


      12975139           607 days 18 hrs ago    0   Ox11 ab94a88f407c8cc...    call    QUniswap V2: Router 2 LD        ....   O tankbottoms.eth   L□   0.002595932447151585 ETH


      12961931           609 days 19 hrs ago    0   Oxe8cb92b4d0102e9f0...     call    QUniswap V2: Router 2 LD        ...    O tankbottoms.eth L□     0.000418406769760491 ETH


      12961882           609 days 19 hrs ago    0   Ox075dfddd1 b28b69ca...    call    QUniswap V2:. Router 2 LD       ....   O tankbottoms.eth LO     0.054833314929405379 ETH


      12961868           609 days 19 hrs ago    O Ox652c80c7908f40caa ..       call    ~ Unlswap V2:. Router 2   LD    ....   O tankbottoms.eth (9     0.000823765182283168 ETH


      12960551           610 days 58 mins ago   0   Oxd7c37add39fb96ad4..      call    ~ Uniswap V2:. Router 2   LD    ....   O tankbottoms.eth L□     0.0032790773731 4777 ETH


      Show rows:   100                                                                                                                                    First     Page 2 of 2   Last




                                                                                                                                                                  PLAINTIFF0001145
https ://etherscan .io/txslnternal?a= Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps= 1OO&p=2                                                                                            5/5
Case 1:23-cv-20727-RKA Document 106-30 Entered on FLSD Docket 06/09/2023 Page 136
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Token Transfers (ERC-20)




                                                                                PLAINTIFF0001146
4/6/23, 4 :36 PM                  Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                          Entered    onI Elherscan
                                                                               Transfer   FLSD Docket 06/09/2023 Page 137
                                                                       of 401
   Token Transfers (ERC-20)
   For Ox5d95baEBB8412A0827287240A5c281E3bB30d27E




       © Transactions involving tokens marked as suspicious, unsafe, spam or brand infringement are currently hidden. To display them, go to Token Ignore List.

      A total of 416 t~ns found                                                                                                                                              First          Page 1 o f 5    >   L3$I



       0      Txn Hash                         Age                           From                                       To                                Value             Token


       @      Ox3c2e143dcf489c5fef...          31 days 21 hrs ago            0   Bl ur: Airdrop c.D              IN     0 tankbottoms.eth c.D             28,300                Get blur.site (Offici...)


       @      OX0162ddff14a6ce53d...           42 days 15 hrs ago            O tankbottoms.eth c9               OITT    0 Uniswap V3· COMP 2 c.D          13.982985621      0   Compound (COMP)


       @      Ox63782c6e99e21 c 13...          42 days 15 hrs ago            ◊ tankbottoms.eth c.O              OUT     0 Uniswap V3: SUSHI 2 c.D         599.275844453     ~ SushiToken (SUSHI)



       @      Oxf703002b85e36b2c3...           42 days 16 hrs ago            O tankbottoms.eth c9               OUT     0 Compound: cSushI Tok...   c.D   29,187.28189796       Compound Sus ... (cSUSHI)


       @      Oxf703002b85e36b2c3 ...          42 days 16 hrs ago            0 Compound: cSushi Tok". c9         IN     O tankbottoms.eth c.D             599.275844453     ~ SushiToken (SUSHI)



       @      Oxc54983c28ac2c916...            42 days 16 hrs ago            0 OxE090D1 ...B6B04c45 c.D          IN     O tankbottoms.eth c.D             20,911.13053087   ~ Compound Uni. .. (cUNI)


       @      Oxcd313bcc85ccb181 ..            43 days 17 hrs ago            O tankbottoms.eth c9               OUT     Ox6C093F...D182056B c.D           0.06              9   Wrapped Ethe .. (WETH)


       @      Oxcd313bcc85ccb181 ...           43 days 17 hrs ago            O tankbottoms.eth [.O              '-'VT   Ox1Af0f3 ...96C4ea77 c.D          11.88             9   Wrapped Et he... (WETH)


       @      0Xcd313bcc85ccb181 ...           43 days 17 hrs ago            O tankbottoms.eth c9               OVT     Ox6C093F...D1820566 [.O           0.06              9   Wrapped Ethe... (WETH)


       @      Oxb25cfecc66922fd2fb...          49 days 18 hrs ago            0 tankbottoms.eth        c.D       OUT     Null: Ox000...000   c9            0.6707                Blur Pool (Blur P...)


       @      Oxl f2e5ec33c0ccaa2d ...         50 days 14 hrs ago            0 meowsdao.eth c9                   IN     0 tankbottoms.eth c.D             3.394929439       (1) Ethereum Nam. .. (ENS)

       @      Oxd305337effe974cbf...           50 days 14 hrs ago            Null: oxooo ... ooo   c9            IN     O tankbottoms.eth c.D             0.6668                Blur Pool (Blur P. ..)


       @      Ox9ee830ad7179219b ..            51 days 8 hrs ago             O tankbottoms.eth c.D              OUT     0 Uniswap V3: DAI 2 c.D           1,034.011670268   .c= Dai Stableco... (DAI)


       @      Ox4968a39131 ff73f21 ...         51 days 8 hrs ago             O tankbottoms.eth c9               OUT     0 Uniswap V3: USDC 3 c9           304.381162        @ USO Coin (USDC)

       @      Ox934e97dc907cd52a...            51 days 8 hrs ago             El Yearn: yvDAI Vault c.D           IN     0    tankbottoms.eth c.D          1,006.124767145   ::: Dai Stableco ... (DAI)


       @      Ox934e97dc907cd52a ...           51 days 8 hrs ago             O tankbottoms.eth c.D              OUT     Null: Ox000...000   cfl           962.4326605       @ DAI yVault (yvDAI)

                                                                                                                                                                                     PLAINTIFF0001147
htlps://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                                                          1/5
4/6/23, 4 :36 PM                  Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                          Entered    onI Elherscan
                                                                               Transfer   FLSD Docket 06/09/2023 Page 138
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       CD    Txn Hash                     Age           From                     To                    Value        Token


       @     0x69eaeaa925eee22d...        51 days 8 hrs ago     0xa7e431 ...8465B095 [.O            IN     0   tankbottoms.eth e,D        962.4326605       @ DAI yVault (yvDAI)

       @     0x3b42191 a7d98fb5eb ...     51 days 10 hrs ago    O service-provider.eth [.O          IN     () tankbottoms.eth e,D         279.77044         (@ USO Coin (USDC)


       @     0xb773df1942be9f913 ...      51 days 10 hrs ago    ◊ tankbottoms.eth     c9            OITT   0 0xE090D1 ...B6B04c45 [.O     20,911.13053087   (e:   Compound Uni. .. (cUNI)


       @     0x0d7ddeCJc706c488d...       51 days 10 hrs ago    0 Uniswap V3: Positions ...    (9   IN     O tankbottoms.eth c.D          27.886903123      -     Dai Stableco... (DAI)


       @     0x05cd574Bcac2f26e6...       51 days 10 hrs ago    1B Uniswap V3: Positions ...   (9   IN     O tankbottoms.eth e,D          396.09199356      G Compound Dai (cDAI)
       @     0x891b857a44d0ee49 ...       51 days 11 hrs ago    0 tankbottoms.eth     c9            OUT    Null: 0x000...000 [.O          0.05                    Blur Pool (Blur P. ..)


       @     0x9cb6fec891 cb6ff1 e 1...   51 days 11 hrs ago    O tankbottoms.eth c9                OITT   Null: 0x000...000   c9         1.15                    Blur Pool (Blur P. ..)


       @     0x42a767b0182bc5b6...        51 days 11 hrs ago    0x5606B4...92515A3E (9              IN     O tankbottoms.eth cP           0.15                    Blur Pool (Blur P. ..)


       @     0x42a767b0182bc5b6...        51 days 11 hrs ago    0x5606B4...92515A3E [.O             IN     O tankbottoms.eth c.D          0.15                    Blur Pool (Blur P. .. )


       @     0x42a 767b0182bc5b6...       51 days 11 hrs ago    0x5606B4...92515A3E [.O             IN     O tankbottoms.eth c.O          0.15                    Blur Pool (Blur P. .. )


       @     0x42a767b0182bc5b6...        51 days 11 hrs ago    0x5606B4...92515A3E [.O             IN     0   tankbottoms.eth e,D        0.15                    Blur Pool (Blur P. .. )


       @     0x42a767b0182bc5b6...        51 days 11 hrs ago    0x5606B4...92515A3E [.O             IN     O tankbottoms.eth c.D          0.15                    Blur Pool (Blur P. .. )


       @     0xfb6Bb13ee0a65def3 ...      55 days 4 hrs ago     O tankbottoms.eth c9                OUT    0 0xfE021 e ...3D38256A c.O    1,550             @ Ma tic Token (MATIC)

       @     0xebcb9c316e774994...        55 days 4 hrs ago     O tankbottoms.eth c.O               OUT    0 0xfE021 e ...3D38256A (9     10,000            Ci> Graph Token (GRT)
       @     0x4500dd75b481684d ...       55 days 4 hrs ago     O tankbottoms.eth c9                OUT    El 0xd0C53B...608cE:ld5 [.O    30,000,000              Juicebox (JBX)


       @     0x905f4c615fBa94e4f...       59 days 8 hrs ago     O tankbottoms.eth c9                OUT    B Compound: cUNI Token c.O     424.9569202           Cl Uniswap (UNI)



       @     0x905f4c615f8a94e4f...       59 days 8 hrs ago     0 Compound: cUNI Token c.0          IN     O tankbottoms.eth cP           20,911.13053087   (e:   Compound Uni .. (cUNI)


       @     0xb768555c8207a 149...       63 days 48 mins ago   0x393056...2520D552 (9              IN     () tankbottoms.eth c.D         2                 •     tomi Token (TOMI)


       @     0x338cf63bbal d76546...      63 days 7 hrs ago     Otankbottoms.eth c9                 OUT    El Uniswap V3: DAI 2 c9        52,900                  Dai Stableco ... (DAI)


       @     0X33Bcf63bba1d76546...       63 days 7 hrs ago     O tankbottoms.eth c9                OUT    El Uniswap V3: DAI-USDC 4 c9   1,005,100               Dai Stableco... (DAI)


       @     0xbd678b5760be5489 ...       63 days 7 hrs ago     0 0x2187e6...CA706fbO c.O           IN     O tankbottoms.eth c.D          1,058,000         t::i Dai Stableco... (DAI)


                                                                0                c9                        O tankbottoms.eth e,D                            @ Matic Token (MATIC)
       @     0xeea0931 de28d7a59...       63 days 22 hrs ago        beef69.eth
                                                                                                    "'                                    1,550

                                                                                                                                                                       PLAINTIFF0001148
https :/ /etherscan .io/lokentxns?a=Ox5d95baEBB8412AD82728724OA5c281 E3bB30d27E                                                                                                             2/5
4/6/23, 4:36 PM                       Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                              Entered    onI Elherscan
                                                                                   Transfer   FLSD Docket 06/09/2023 Page 139
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      CD       Txn Hash                       Age           From                     To                    Value        Token


      @        Oxea0c702b74695640...         64 days 22 hrs ago   OxC582D5... 22F9B383 (.0               IN     O tankbottoms.eth e,D          5,159.41888875            Shark DAO (SHARK)


      @        Ox39a9f759f83cd855b...        66 days 1 hr ago     O tankbottoms.eth c9                   OUT    B Uniswap V3: DAI 2 c9         635.593442022             Dai Stableco... (DAI)


      @        Ox5115442417c6179e ...        66 days 2 hrs ago    0 tankbottoms.eth c9                   OlIT   Null: Ox000...000 c.□          608.647189453     @ DAI yVault (yvDAI)

      @        Ox5115442417c6179e ...        66 days 2 hrs ago    0 Yearn: yvDAI Vault c.□               IN     O tankbottoms.eth cP           635.593442022     a       Dai Stableco... (DAI)


      @        Oxd431 fd87a81 fed42f...      66 days 2 hrs ago    O tankbottoms.eth c.O                  OUT    El Uniswap V3: rETH 3 (.0      3.747844964               Rocket Pool ... (rETH)


      @        Oxa498bb11d1e7b1 a2...        66 days 2 hrs ago    0   tankbottoms.eth c.0                OUT    0 Curve.Ii: Swap Router c.O    8.547357972               stETH (stETH)


      @        Oxc49cb1434cab308a ...        66 days 6 hrs ago    0 Lido: Curve Liquidity Fa ...   c.□   IN     O tankbottoms.eth e,D          9,000
                                                                                                                                                                  '      $ Bonuslido ... ($ Bonu...)


      @        Ox21 d5eddff51 f38998...      68 days 1 hr ago     O tankbottoms.eth c9                   OUT    0 Blur.io: Marketplace 2 c9    0.536115596               Blur Pool (Blur P. ..)


      @        Oxl 41 Oc971 f0c831df0 ...    68 days 1 hr ago     Null: Ox000... 000 c.O                 IN     O tankbottoms.eth c,D                                    Blur Pool (Blur P. .. )


      @        Ox2c17bd2d429285c2 ...        68 days 1 hr ago     O tankbottoms.eth c9                   OUT    0 Uniswap V3: DAHJSOC 4 c.□    3,728.549209441   -i::,   Dai Stableco... (DAI)


      @        Oxb9e1c8b3dff2479a8. ..       68 days 2 hrs ago    0 Ox2187e6...CA7061b0 c.O              IN     O tankbottoms.eth c.D          2,500             ~ Dai Stableco... (DAI)


      ·~·      Q   0~841bd<'94ede8fc...      70 days 13 hrs ago   ( tankbottoms.eth                                   D•   lBD01   JF4241cS    0                 @ USD Coin (USDC)

      ,.:§.1   ©   Ox8.41b<.le9.4ede8fc...   70 days 13 hrs ago   6 Ox 213007 3~424 lc~                  IN     (    tankbottoms.eth           0                 ({" USO Coin (USDC)


      ®        Q   Oxh5dda27c'i2b88...       71 days 7 hrs ago    ( tankbottoms.eth                             ~ Oxe2BBBI: 9D8?~1C5           0                 (f- USD Coin (USOC)


      @        Oxf6f302cb67c2d1 efa...       71 days 18 hrs ago   O tankbottoms.eth c.□                  OOT    B Uniswap V3: ENS 5 cP         251 .15119672     (f) Ethereum Nam... (ENS)

      @        Q   0<ac58"ced»d5fd7...       71 days 19 hrs ago   ( tankbottoms.eth                                 , Oxt'bC-26. 520241c5      0                 ~       USO Coin (USOC)


      ®        Oxc840f8cfbe82580acf...       71 days 19 hrs ago   O tankbottoms.eth c9                   OUT    Oxe2bcc2...d2a241 C5 c.O       7,575.5           (@ USO Coin (USOC)

      @        Ox514c0bc5a8e2da64 ...        71 days 19 hrs ago   O tankbottoms.eth c9                   OUT    0 Uniswap V3: DAI-USOC 4 c,O   7,600             ,,., Dai Stableco ... (DAI)


      @        Ox514c0bc5a8e2da64...         71 days 19 hrs ago   0 Uniswap V3: DAl·USDC 4 c.O           IN     0    tankbottoms.eth e,D       7,599.624493      (@ USD Coin (USDC)


      @        Ox0233b6a206e5259b...         71 days 19 hrs ago   0 Yearn: yvDAI Vault c.O               IN     O tankbottoms.eth cP           7,828.546987971           Dai Stableco... (DAI)


      @        Ox0233b6a206e5259b...         71 days 19 hrs ago   O tankbottoms.eth c9                   OUT    Null: Ox000...000 c.□          7,500             @ DAI yVault (yvDAI)

      @        Oxlb41 ae437042a5c2c...       76 days 17 hrs ago   O tankbottoms.eth c9                   OUT    0 Ox8ee392...7da419D8 c9       6,462.31                  Dai Stableco... (DAI)

                                                                                                                                                                              PLAINTIFF0001149
https://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                                                          3/5
4/6/23, 4 :36 PM                      Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                              Entered    onI Elherscan
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       CD    Txn Hash                         Age           From                     To                    Value        Token


       @     Oxfb41 ae437042a5c2c...         76 days 17 hrs ago    Null: Ox000...000 L□           IN    O tankbottoms.eth e,□         6,194.092807216    @ DAI yVault (yvDAI)

       @     Oxa11a8b99b13ed653...           77 days 17 hrs ago    OXC58205... 22F9B383 L□        IN    O tankbottoms.eth e,□         404.9569202        e-. Uniswap (UNI)


       @     Ox56c6386079ab21 ea...          77 days 17 hrs ago    OxC58205... 22F9B383      Lo   IN    O tankbottoms.eth e,□         339.22950806           Dai Stableco ... (DAI)


       @     Ox46906e7becd62eac...           77 days 17 hrs ago    OxC58205... 22F9B383 c.□       IN    O tankbottoms.eth cP          251.15119672       Ci) Ethereum Nam... (ENS)

       @     Ox95774306e177c3d8...           79 days 8 hrs ago     O tankbottoms.eth LO           OUT   Oxa7e431 ...8465B095    LO    962.4326605        @ DAI yVault (yvDAI)

       @     Q     Oxf087()03.-l2c757e:...   79 days 9 hrs ago     O tankbottoms.eth                    JA. o~e0>38A3 Q60a3f97        0                      Dai Stableco... (DAI)


       @     Q     Ox0323cd~c3f6t89f...      79 days 10 hrs ago    O tankbottoms.eth                    .Q. Oxa7,,233. 0225609'       0                      Dai Stableco... (DAI)


       @     Q     0<42c l haOOblfll8b...    79 days 11 hrs ago      tankbottoms.eth                       Oxf0$8Cd b224Jt97          0                      Dai Stableco... (DAI)


       @     Q     O,f18ffln~ll>b:ib7...     79 days 11 hrs ago      tankbottoms.eth                      o~e088A3 960aJf9/           0                      Dai Stableco... (DAI)


       ®     Q     OX::!b4c355oe2bo92.,      79 days 12 hrs ago    ( tankbottoms.eth                      Oxa7l210 3891 Bu95          0                      Dai Stableco... (DAI)


       @     Q     Ox0ed2be')823a21lb ...    79 days 12 hrs ago    O tankbottoms.eth                       0.va7e233. D'.!256095      0                      Dai Stableco... (DAI)


       ©     Q     Owa3a5dcdfld889...        79 days 13 hrs ago    ( tankbottoms.eth                      Oxe0828a 1b3d3f97           0                      Dai Stableco... (DAI)


       @     Ox3e3f988800204e097...          79 days 13 hrs ago    O tankbottoms.eth   c9         OUT   Oxe0824b...Ofca3F97 L□        1,000              a   Dai Stableco... (DAI)


       @     Q     O of6ec,Q 1 3fe8tf9 ...   79 days 13 hrs 1190     tankbottoms.eth                    ii,. OiAlic4C~ A3fAB095       0                      Da1 Stableco... (DAI)


       @     Ox12eb0ba67cc72f162...          79 days 13 hrs ago    O tankbottoms.eth   L□         OUT   B Ox8ee392...7da419D8 L□      3,000              .,., Dai Stableco... (DAI)


       @     Ox12eb0ba67cc72f162...          79 days 13 hrs ago    Null: Ox000... 000 L□          IN    O tankbottoms.eth c.□         2,876. 987042736   @ DAI yVault (yvDAI)

       @     Ox52bb1a138483169fe...          79 days 13 hrs ago    O tankbottoms.eth (9           OUT   Oxa 7e431 ...8465B095   c.O   100                $   Dai Stableco... (DAI)


       @     Ox93dbaa8aba58ccd3...           79 days 15 hrs ago    B OxfE021e...3D38256A c.□      IN    O tankbottoms.eth [,D         11,223.08271341        Dai Stableco... (DAI)


       @     Ox2b84228024d8ccca...           79 days 15 hrs ago    B OxfE021e...3D38256A L□       IN    O tankbottoms.eth e,□         3.747844964            Rocket Pool ... (rETH)


       @     Ox1 446f2c63d97bf961 ...        79 days 15 hrs ago    B OxfE021e...3D38256A L□       IN    O tankbottoms.eth e,□         8.531038871        :   stETH (stETH)


       @     Ox8b1845f49d08035cd..           86 days 2 hrs ago     O tankbottoms.eth   c.□        OUT   B Uniswap V3: DAI 2 c.□       5,007.436787357    El Dai Stableco... (DAI)

       @     Oxa76787d342f1 bf503...         86 days 10 hrs ago    O tankbottoms.eth   L□         OUT   B Compound: cDAI Token c9     226,204.4664582    ~ Compound Dai (cDAI)

                                                                                                                                                                 PLAINTIFF0001150
https:/ /elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                        4/5
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       CD    Txn Hash                       Age           From                      To                    Value        Token


       @     Oxa76787d342f1 bf503 ...      86 days 10 hrs ago    0 Compound: cDAI Token L□   IN    O tankbottoms.eth tD        5,007.436787357     ~ Dai Stableco... (DAI)


       @     ©     OxOba83::i658a4f27 ,    9 1 days 9 hrs ago    ( tankbottoms et h                   J,i:~86d3 b252~1 ·',     0                  ~        USO Coin (USDC)


       @     Q     Ox4    eb% .N.19...     91 days 9 hrs ago     0 tankbottoms.elh                   O•E2B 107 '.!f4L 1':'l    0                  1·       USO Coin (USDC)


       @     Ox1578cb34e46c2b2f5 ...       91 days 16 hrs ago    Otankbottoms.eth c9         OUT   Oxe2bcc2... d2a241 CS tD    3,857.5            ©) USO Coin (USDC)

       @     Ox70996f2c33c51 f8c9 ...      91 days 16 hrs ago    1B Uniswap V3: USOC 3 LD    IN    O tankbottoms.eth tD        3,857.986229       ©) USO Coin (USDC)

       @     Ox1f57a8b17694ab368 ...       11 S days 4 hrs ago   0 tankbottoms.eth c9        OUT   0 Uniswap V3: CRV c9        1,428.459867463    !" Curve DAO To... (CRV)
       @     Ox0c9906a31 bc23713 ...       115 days 4 hrs ago    Otankbottoms.eth c9         OUT   0 Uniswap V3: DAI 2 tD      1,293.7631081      i::::a   Dai Stableco... (DAI)


       @     Ox534725a 1eaaf9ea95...       115 days 9 hrs ago    Otankbottoms.eth c9         OUT   B Uniswap V3: ENS 5 c9      102.089766238      (I) Ethereum Nam ... (ENS)

       @     Ox2e26eb2cca191 bc9...        115 days 9 hrs ago    O tankbottoms.eth c9        OUT   B OxfE021e...3D38256A LD    3.747844964                 Rocket Pool ... (rETH)


       @     Ox4c7020992c92914 5 ...       115 days 9 hrs ago    O tankbottoms.eth c9        OUT   0 OxfE021e...3D38256A tD    8.490922917        {        stETH (stETH)


       @     Ox79e3dd6117ce64f92...        118 days 23 hrs ago   Oxd1e71f... 483Bd09A tD     IN    O tankbottoms.eth tD        17,000                      ERC-20 TOKEN*    A

       @     Oxeeb0b2eeebe0c27db...        124 days 11 hrs ago   Bithumb 12 LD               IN    O tankbottoms.eth c,D       8                           ERC-20 TOKEN*    A

       @     Ox90b61 ce930c8f50df...       127 days 2 hrs ago    O tankbottoms.eth    c9     OUT   0 Compound: cDAI Token LD   4,000              a        Dai Stableco... (DAI)


       @     Ox90b61 ce930c8f50dL          127 days 2 hrs ago    0 Compound: cDAI Token tD   IN    O tankbottoms.eth c,D       1B0,907.66475987   G Compound Dai (cDAI)
       @     Ox4161889902429110...         129 days 8 hrs ago    0 Disperse.app L□           IN    O tankbottoms.eth cP        6.66666            t,       Nut sDAO (NUTS)


       @     Oxf31525e4fbf76857c...        129 days 18 hrs ago   0 1inch: Treasury L□        IN    O tankbottoms.eth tD        7,218                       ERC-20 TOKEN* A


       @     Oxc20c8eaf58cacf5a3...        130 days 17 hrs ago   0   1inch: Treasury tD      IN    O tankbottoms.eth cP        9                           ERC-20 TOKEN*    A

       @     Ox8f4f139fff1 BOOOOda ...     130 days 17 hrs ago   0 1inch' Treasury tD        IN    () tankbottoms.eth c,D      9                           ERC-20 TOKEN*    A


     Show:    100        Records                                                                                                                      First     <    Page 1 o f 5   >    Last



                                                                                                                                                                         I Download: CSV Export 61




                                                                                                                                                               PLAINTIFF0001151
https ://etherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c28 1 E3bB30d27E                                                                                                                      5/5
4/6/23, 4 :36 PM                  Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                          Entered    onI Elherscan
                                                                               Transfer   FLSD Docket 06/09/2023 Page 142
                                                                       of 401
   Token Transfers (ERC-20)
   For Ox5d95baEBB8412AD827287240A5c281E3bB30d27E




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      A total of 416 t~ns found                                                                                                                                                  Arst            Page 2 o f 5     >   L3$I



       0      Txn Hash                       Age                           From                                       To                                Value                     Token


       @      OX4d2f775d15ceb371 c. ..        132 days 21 hrs ago         0 The OpenDAO: Staking _ LO          IN     O tankbottoms.eth LO              1,754,270,315.47142479          SOS (SOS)


       @      Ox4d2f775d15ceb371 c. ..        132 days 21 hrs ago         O tankbottoms.eth LO                our     Null:   oxooo...ooo c9            862,773,229.618455082           veSOS (veSOS)


       @      Oxef82634242822af4a...          133 days 3 hrs ago          0 Coinbase 10 LD                     IN     O tankbottoms.eth tP              3,793.08800684                  Dai Stableco... (DAI)


       @      Oxfeb606c0786532778...          133 days 20 hrs ago         O tankbottoms.eth LO                OUl     0 Uniswap V3: DAI 2 tll           2,000                           Dai Stableco... (DAI)


       @      Oxacb3697d7f14f0f36...          133 days 23 hrs ago         O tankbottoms.eth c,O               our     0 Uniswap V3: DAI 2 tll           1,000                      - Dai Stableco... (DAI)


       @      Oxacb3697d7f14f0f36...          133 days 23 hrs ago         0 Uniswap V3: CRV LD                 IN     O tankbottoms.eth c,D             1,428.459867463           ~ Curve DAO To... (CRV)


       @      Ox61aab09dfd6b7a02c...          134 days 2 hrs ago          Binance 15 LD                        IN     O tankbottoms.eth c,D             4,000                           ERC-20 TOKEN*       A

       @      Oxd05c6cdf70c73f719...          134 days 15 hrs ago         0 Uniswap Protocol: UNI "· LO        IN     O tankbottoms.eth LD              7,000                           ERC-20 TOKEN* A


       @      Ox6b72c4073e84f4de1 ...         134 days 15 hrs ago         0 Coinbase 1O LO                     IN     O tankbottoms.eth LO              4,500.67510126                  Dai Stableco... (DAI)


       @      Oxc151 dea817a7fa7f6 ...        135 days 14 hrs ago         E) OxaC587a ...101d3142 LD           IN     O tankbottoms.eth LD              679,998,993               r J World Domina... (MEOW)

       @      Ox6c1471 b 1d65cce6c...         145 days 20 hrs ago         E) Uniswap V3: JBX (.0               IN     0 tankbottoms.eth LO              688,527.454293032               Juicebox (JBX)


       @      Ox2fb6d3680e3f53d08...          150 days 7 hrs ago          E) Udo: Staked ETH Token   LO        IN     O tankbottoms.eth LO              400                             ERC-20 TOKEN* A


       @      Ox7 4308981971 d409a...         152 days 4 hrs ago          Oxb91a99...15e80668 c9               IN     O tankbottoms.eth LD              816                             aguni.site (lnvita ...)


       @      Ox98550060f74f99af0...          156 days 22 hrs ago         O tankbottoms.eth La                OUT     0 Uniswap V3: GRT 2 tll           11,705.919399246          Ci) Graph Token (GRT)

       @      Ox98550060f74f99af0 ...         156 days 22 hrs ago         O tankbottoms.eth   c9              OUl     0 Uniswap V2: GRT 18 La           27,313.811931574          Ci) Graph Token (GRT)

       @      Ox2b8ec74dcb2b0686".            163 days 20 hrs ago         0 Disperse.app La                    IN     O tankbottoms.eth c9              66.43                     8     Boop (BOOP)


                                                                                                                                                                                         PLAINTIFF0001152
htlps ://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps=1 OO&p= 2                                                                                                                                  1/5
4/6/23, 4 :36 PM                 Case 1:23-cv-20727-RKA Document 106-30 ToEntered    onI Elherscan
                                                                           ken Transfer   FLSD Docket 06/09/2023 Page 143
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       e     Txn Hash                  Age             From                    To                    Value            Token


       @     Ox68c5e4d32d8357d1 ...     176 days 10 hrs ago    O tankbottoms.eth c9                 0Ul   Null:   oxooo...ooo cD          0                          Redeemable K... (rKP3R)


       @     Ox7426c98d056a2c77...      181days10 hrs ago      O tankbottoms.eth cD                 OU,   El Uniswap V3: DAI 2 cD         4,070.915142549            Dai Stableco... (DAI)


       @     Ox2e997a97b16c83d8 ...     181 days 13 hrs ago    O tankbottoms.eth cP                 OU1   0 Compound: cDAI Token cD       1,000                      Dai Stableco... (DAI)


       @     Ox2e997a97b16c83d8 ...     181 days 13 hrs ago    0 Compound: cDAI Token cD            IN    O tankbottoms.eth cD            45,296.80169833        @ Compound Dai (cDAI)

       @     Ox2fa737e46456364a5...     183 days 4 hrs ago     O tankbottoms.eth co                 OUT   Ox2931 OA...059fC77a (9         9.97614494                 Dai Stableco... (DAI)


       @     Ox75c8402207618f532...     183 days 13 hrs ago    O service•provider.eth cD            IN    O tankbottoms.eth cD            5,080.891287489            Dai Stableco... (DAI)


       @     Oxc582e4d70686a 786 ...    184 days 4 hrs ago     0 Fake_Phishing6296 cD               IN    O tankbottoms.eth cD            100                        ERC·20 TOKEN*     A

       @     Ox1 bdb6e146c7c33ee...     184 days 11 hrs ago    0 Uniswap V3: Positions ...     cD   IN    O tankbottoms.eth (9            1,000                      ERC·20 TOKEN* A


       @     Ox6a4799dbc38e8268...      184 days 20 hrs ago    OxC582D5...22F9B383 cD               IN    O tankbottoms.eth cD            10,739,312.948357885   (;ii SHIBA INU (SHIB)


       @     Ox6479e8d74f31 e77c4...    184 days 20 hrs ago    OxC582D5...22F98383 cD               IN    O tankbottoms.eth cD            270,671.450055264      -~ The Doge NFT (DOG)


       @     Ox649d66567222116c3...     186 days 17 hrs ago    O tankbottoms.eth cD                 OUT   0 Uniswap V3: DAl·USDC 4   (9   90,388                     Dai Stableco... (DAI)


       @     Ox5fba8347614cd7cd2 ...    187 days 10 hrs ago    0 Ox2187e6...CA706fbD LD             IN    O tankbottoms.eth cD            88,888                     Dai Stableco... (DAI)


       @     Ox08ae29f3adc55c5d5...     189 days 9 hrs ago     Vb @                                 IN    O tankbottoms.eth cD            7                          ERC·20 TOKEN* A


       @     Ox2d02bd9b8c55ee45...      189 days 16 hrs ago    OxC582D5. .22F98383 LO               IN    Otankbottoms.eth cD             1,500                      Dai Stableco... (DAI)


       @     Oxdd2c8fb8708b9355e...     191 days 21 hrs ago    0 Udo: Early Stakers Aird ...   LD   IN    O tankbottoms.eth cD            192.67                     ERC·20 TOKEN* A


       @     Ox4ecda23fdd 1727bee...    192 days 7 hrs ago     El Uniswap V3: Positions ...    cD   IN    O tankbottoms.eth cD            1,000                      ERC·20 TOKEN* A


       @     Ox12cf3951 a5ebd6a92 ...   196 days 19 hrs ago    OxeC5EEL604284e2 cD                  IN    O tankbottoms.eth cD            3,461                      ERC·20 TOKEN* A


       @     Oxa22ae4fc9655c6619...     196 days 21 hrs ago    O tankbottoms.eth c9                 OUT   Ox8a9742...1168232B LD          10,000                 f) Graph Token (GRT)

       @     Ox550e3d7de7a6ff040...     196 days 22 hrs ago    Otankbottoms.eth cD                  OU1   0 Uniswap V3: APE 7 c.O         10,471 .6910199        Q ApeCoin (APE)

       @     Oxt2d0a978a21 c27499 ...   201 days 10 hrs ago    Ox3af478... 6851b84E (9              IN    O tankbottoms.eth cD            100                        unifork.org (unifor...)


       @     Oxbd8eaa7964671 78e.       202 days 31 mins ago   Ox8788A0...3d2da37f cD               IN    O tankbottoms.eth cD            0.027750009            8   Wra pped Ethe ... (WETH)


       @     Oxa167d773b0171 d44...     202 days 57 mins ago   O tankbottoms.eth c9                 OU1   0 Ox37ce84...c04eF49A (9        0.08305                e Wrapped Ethe... (WETH)
                                                                                                                                                                      PLAINTIFF0001153
https ://etherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c28 1 E3bB30d27E&ps=1 OO&p= 2                                                                                                    2/5
4/6/23, 4 :36 PM                 Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                         Entered    onI Elherscan
                                                                              Transfer   FLSD Docket 06/09/2023 Page 144
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       e     Txn Hash                  Age             From                   To                    Value            Token


       @     Oxa167d773b01 71d44...     202 days 57 mins ago   O tankbottoms.eth   c9         OUl    0 OpenSea: Fees 3 [.D           0.041525          e   Wra pped Ethe ... (WETH)


       @     oxal 67d773b01 71d44 ...   202 days 57 mins ago   Ox182ABC...F47C122c tD         •N     O tankbottoms.eth tD            1.661             e   Wra pped Ethe ... (WETH)


       @     Ox1 d412047cd5d2ff27 ...   202 days 57 mins ago   0 tankbottoms.eth c9           OU1    0 OpenSea: Fees 3 tD            0.0205            e   Wra pped Ethe... (WETH)


       @     Ox1 d412047cd5d2If27...    202 days 57 mins ago   O tankbottoms.eth c9           OUT    OxEF2D65...8B1058B9 (9          0.0615            9   Wrapped Ethe ... (WETH)


       @     OX1 d412047cd5d2ff27 ...   202 days 57 mins ago   Ox1e0a9A...AC7887a7 tD          jN    0   tankbottoms.eth [.O         0.82              E, Wra pped Ethe ... (WETH)

       @     Ox12db284c79be794b ...     202 days 58 mins ago   0   tankbottoms.eth tD         OUT    0 OpenSea: Fees 3 tD            0.0006325         9   Wra pped Ethe... (WETH)


       @     Ox12db284c79be794b...      202 days 58 mins ago   Ox8F12BA...EfACd21f tD         IN     O tankbottoms.eth tD            0.0253            9   Wra pped Ethe ... (WETH)


       @     Ox12db284c79be 794b ...    202 days 58 mins ago   O tankbottoms.eth c9           OUT    OxEF2D65...8B1 D58B9 (9         0.0018975         E, Wra pped Ethe ... (WITH)

       @     Oxdda9ff0e5fcf3c76c8...    205 days 10 hrs ago    O tankbottoms.eth tD           OUT    0 Uniswap V3: DAI 2 tO          17,499.063899         Dai Stableco... (DAI)


       @     Ox3592fe58c53ed02d2...     212 days 21 hrs ago    O tankbottoms.eth c9           OUT    0 Uniswap V2: DAI (9            10,125                Dai Stableco .. (DAI)


       @     Ox3592fe58c53ed02d2...     212 days 21 hrs ago    O tankbottoms.eth tD           OUT    0 Uniswap V3: DAI tD            20,250                Dai Stableco .. (DAI)


       @     Ox3592fe58c53ed02d2 ...    212 days 21 hrs ago    O tankbottoms.eth [.D          OUl    0 Uniswap V3: DAI-USDC 4   tD   151,875               Dai Stableco... (DAI)


       @     Ox3592fe58c53ed02d2...     212 days 21 hrs ago    O tankbottoms.eth c9           OUT    0 Uniswap V3: DAI 2 tO          20,250                Dai Stableco... (DAI)


       @     Ox01859b249fe6940f8...     212 days 22 hrs ago    0 Coinbase 10 tD               IN     O tankbottoms.eth tD            209,999.063899    ~ Dai Stableco... (DAI)


       @     Oxf8731 cl db4a676d62...   213 days 8 hrs ago     O tankbottoms.eth [.D          OIJT   0 Uniswap V3: MATIC (9          2,640             @ Matic Token (MATIC)


       @     Ox29dc02bd3e18bec2 ...     213 days 8 hrs ago     O tankbottoms.eth c9           OUT    0 Rainbow: Router tD            100,000           0 CitaDAO (KNIGHT)


       @     Ox862f7ff28515319a2f...    213 days 9 hrs ago     O tankbottoms.eth tD           OUT    0 BendDAO: WETHGatew... tD      4.818736708           Bend interes... (bendWE. .)


       @     Oxf7fd192ff523584ed5...    213 days 15 hrs ago    Null: Ox000._000 tD            IN     O tankbottoms.eth tD            4.818736708           Bend interes ... (bendWE...)


       @     Ox8ce42d9b6df75be37 ...    21 4 days 12 hrs ago   Ox231B47...625B1012 tD         IN     O tankbottoms.eth tD            5,000.6910199     e) ApeCoin (APE)

       @     Oxl cf66f2c7c4f05ee7d...   21 4 days 21 hrs ago   0 Moonbirds; MOON BIR... c9    •N     O tankbottoms.eth tD            1,800                 ERC-20 TOKEN* A


       @     Ox24fff4104601557c0...     215 days 14 hrs ago    EthereumPool tD                IN     O tankbottoms.eth tD            263,874               ERC-20 TOKEN*    A

       @     Ox4d3eeeeb41 da7c3b...     216 days 14 hrs ago    O tankbottoms.eth c9           OUl    0 Uniswap V3: DAI-USDC 4   tD   15,051.10797957       Dai Stableco... (DAI)

                                                                                                                                                            PLAINTIFF0001154
htlps:/ /elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 2                                                                                               3/5
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       CD    Txn Hash                   Age             From                    To                    Value            Token


       @     Ox7008503a4244e565...       218 days 19 hrs ago    0 Ox2187e6...CA706fbD c9           IN    0   tankbottoms.eth (.0         15,043                      Dai Stableco... (DAI)


       @     Ox801 c1 f4a5e8de2bb6 ...   219 days 14 hrs ago    0 Uniswap: Token Distrib...   tO   IN    O tankbottoms.eth tO            2,500                       Owlswap.org (OWLT)


       @     Oxb29b13038b269478...       222 days 8 hrs ago     O tankbottoms.eth c9               OU1   0 Uniswap V3: DAI 2 (9          7,750                       Dai Stableco .. (DAI)


       @     Ox7c5e137a9ee36afb0...      222 days 20 hrs ago    O tankbottoms.eth c9               OU1   0 Uniswap V3: DAI 2 (9          1,500                       Dai Stableco... (DAI)


       @     Oxc1c670615b1949fba ...     223 days 42 mins ago   O tankbottoms.eth (.0              OUT   0 Uniswap V3: DAI 2 tD          11,000               ""' Dai Stableco... (DAI)


       @     Oxc720d0c4a8527b39...       224 days 15 hrs ago    0   tankbottoms.eth tD             OUT   Ox9615e8...FaFA068e c9          1,500                       Dai Stableco .. (DAI)


       @     Ox5523456eb9a36dda...       227 days 13 hrs ago    O tankbottoms.eth c9               OU1   0 Uniswap V3: DAl•USDC 4 tD     16,000                      Dai Stableco... (DAI)


       @     Oxe353fbb58eb600201 ...     227 days 21 hrs ago    O tankbottoms.eth c9               Out   () sveltedev.eth tO             4,000                i::a   Dai Stableco... (DAI)


       @     Ox8a29e3277dffc37a0 ...     228 days 18 hrs ago    O tankbottoms.eth tO               OUT   0 Uniswap V3: DAI-USDC 4   tD   25,000                      Dai Stableco... (DAI)


       @     Oxa62c49cd82b0ed43...       230 days 7 hrs ago     O tankbottoms.eth c9               OUT   0 Uniswap V3: DAl·USOC 4 tD     25,000               ,.., Dai Stableco... (DAI)


       @     Ox7151 c0fe0fb57f46fb ...   230 days 7 hrs ago     O tankbottoms.eth c..D             our   0 Compound: cDAI Token tD       4,614,916.89596886   @ Compound Dai (cDAI)

       @     Ox7151c0fe0fb57f46fb...     230 days 7 hrs ago     0 Compound: cDAI Token tD          IN    0   tankbottoms.eth (.0         101,758.10797957            Dai Stableco... (DAI)


       @     Ox39f5140731a159927 ...     230 days 7 hrs ago     0 OxE090D1 ...B6B04c45 tD          IN    O tankbottoms.eth tD            4,614,916.89596886   G Compound Dai (cDAI)
       @     Oxc0720aa26f78ffcc3c...     231 days 18 hrs ago    O natasha·pankina.eth tD           IN    O tankbottoms.eth tD            3.03874018           t      stETH (stETH)


       @     Ox9acb9febc267fa8cf0...     231 days 19 hrs ago    O tankbottoms.eth (.0              OUT   0 Uniswap V3: DAl·USDC 4   tD   49,970.580434557     6 Dai Stableco... (DAI)

       @     Oxd72611 a47faa347e0 ...    232 days 4 hrs ago     0 Uniswap V3: JBX tD               IN    O tankbottoms.eth tD            582,639.87229276            Juicebox (JBX)


       @     Oxce731cf704e1 bd4e9 ...    238 days 1O hrs ago    O tankbottoms.eth c9               OUT   0 Uniswap V3: DAl·USDC 4 (9     50,000                      Dai Stableco .. (DAI)


       @     Oxacae07de191 d3071 ...     238 days 1O hrs ago    0 Compound: cDAI Token tD          IN    O tankbottoms.eth tD            99,970.580434557            Dai Stableco .. (DAI)


       @     Oxacae07de191 d3071 ...     238 days 10 hrs ago    O tankbottoms.eth tD               OUT   0 Compound: cDAI Token tD       4,534,533.18857332   E Compound Dai (cDAI)
       @     Oxb29f20ff0c89c37e1 ...     238 days 18 hrs ago    O tankbottoms.eth tD               OUT   0 Uniswap V3: DAl·USDC 4   tD   50,000                      Dai Stableco... (DAI)


       @     Oxedb3be75cf05e8711 ...     238 days 18 hrs ago    O tankbottoms.eth c9               OU1   0 Compound: cDAI Token tD       2,267,946.85142668   (: Compound Dai (cDAI)


       @     Oxedb3be75cf05e8711 ...     238 days 18 hrs ago    0 Compound: cDAI Token tD          IN    O tankbottoms.eth tD            50,000                      Dai Stableco... (DAI)

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       e     Txn Hash                    Age             From                   To                    Value            Token


       @>    Ox697b4588140f13f38...       239 days 4 hrs ago    0 OxE090D1 ...B6B04c45 [,O    IN    0   tankbottoms.eth [,O        6,802,480.04            E Compound Dai (cDAI)
       @>    Ox9c3132812b3c8b67 ...       241 days 1 hr ago     Otankbottoms.eth [,O          ou,   0 Uniswap V3: DAl·USDC 4 [,O   225,035.365957362             Dai Stableco... (DAI)


       @>    Oxdedcbb46e76f09d7b...       241 days 20 hrs ago   O tankbottoms.eth (9          OU1   Osveltedev.eth [,O             3,975                   "" Dai Stableco... (DAI)


       @>    Ox2cf5745Bc3c271d70...       243 days 19 hrs ago   O tankbottoms.eth [,O         OU1   Null: OxOO...dEaD [,O          0                             SCALE (SCALE)


       @     (0 D:(2cf57458c3c-'271 ...   243 days 19 hrs ago     Null   n,oon C100           IN    ( tankbottoms eth              0                             Scale (SCALE)


       @>    Oxdcf38d171a939b595...       246 days 15 hrs ago   0 Uniswap V3: JBX c9          IN    0   tankbottoms.eth [,O        1,097,182.740588612           Juicebox (J BX)


       @>    Ox06b1db2bfb8f34f86...       247 days 7 hrs ago    0 Ox2187e6...CA706fbD [,O     IN    O tankbottoms.eth [,O          1.746518191             8     Wrapped Ethe ... (WETH)


       ®     Ox3b092bffa014ad46e...       247 days 9 hrs ago    0 Compound (9                 IN    O tankbottoms.eth (9           400                           ERC-20 TOKEN* A


       ®     Ox762c31999d0f6b59b...       249 days 8 hrs ago    Onatasha-pankina.eth (9       IN    O tankbottoms.eth [,O          0.153861267            0      Com pound (COMP)


       ®     Ox0cc21 ef3aa9a2460b...      249 days 8 hrs ago    0 Compound: Comptroller [,O   IN    O tankbottoms.eth [,O          0.149114637            0      Compound (COMP)


       @>    Ox5a3f44f575f5d832f7...      249 days 8 hrs ago    0 OxE090D1 ...B6B04c45 [,O    IN    0 tankbottoms.eth [,O          13.680009716            0     Compound (COMP)


       @>    Ox0458227c98c4aa44...        249 days 9 hrs ago    0 Compound: cDAI Token [,D    IN    0   tankbottoms.eth [,O        227,874.146388713       9 Dai Stableco... (DAI)

       ®     Ox0458227c98c4aa44...        249 days 9 hrs ago    O tankbottoms.eth c9          OUT   0 Compound: cDAI Tol<en (9     10,337,965.39870748     Ci£ Compound Dai (cDAI)

       @>    Oxa537b64226367c26...        249 d ays 9 hrs ago   0 OxE090D1 ...B6B04c45 (9     IN    O tankbottoms.eth [,O          10,000,000              (: Com pound Dai (cDAI)


       @>    Ox1 cc46bbf7637712d4...      251 days 10 hrs ago   0 Uniswap V3: JBX [,O         IN    O tankbottoms.eth [,O          1,060,042.579109566           Juicebox (J BX)


       @>    Ox1 c87e6c60130c96e...       253 days 8 hrs ago    OxA61a5c ...8f50A337 (9       IN    O tankbottoms.et h [,O         100,000                 0 CitaDAO (KNIGHT)


       ®     Ox453cfa 1342e34438a ...     256 d ays 4 hrs ago   0 Uniswap V3: JBX [,O         IN    O tankbottoms.eth [,O          1,095,174.79523284            Juicebox (JBX)


       ®     Oxa7c07a9bbb9ddb45f...       256 days 1O hrs ago   O tankbottoms.eth c9          OUT   O robokkuma.eth [,D            10,000,000              'J, World Domina .. (MEOW)


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   For Ox5d95baEBB8412AD827287240A5c281E3bB30d27E




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      A total of 416 t~ns found                                                                                                                                                 A rst           Page 3 o f 5   >   LaAt


       0      Txn Hash                        Age                           From                                        To                                Value                 Token


       @      Oxdf64849b4e1 c48b01 ...        256 days 10 hrs ago           O tankbottoms.eth cD               ou,     () robok kuma.eth   cD             1,000                        Dai Stableco... (DAI)


       @      Ox525ad:!7532ef429a6...         257 days 14 hrs ago           O tankbottoms.eth cD               OUT     O sveltedev.eth c9                 1,025                        Dai Stableco... (DAI)


       @      Ox03d21 cOaa 75db391..          258 days 10 hrs ago           Quant: Deprecated Dep...    c..D    IN     O tankbottoms.eth c9               333                          ERC-20 TOKEN*     A

       @      Ox0a765aa9b84de90a...           258 days 22 hrs ago           0 Uniswap V3: J BX 2 c..D           IN     O tankbottoms.eth c9               48,962.116918936             J uicebox (JBX)


       @      OxOa765aa9b84de90a ...          258 days 22 hrs ago           0 Uniswap V3: J BX c9               IN     O tankbottoms.eth cO               969,753.725304547            J uicebox (JBX)


       @      Oxeaec69ca99f614f85...          259 days 12 hrs ago           Null: Ox000...000   c9              IN     O tankbottoms.eth c9               88.388347648                 SushiSwap LP... (SLP)


       @      Oxeaec69ca99f614f85...          259 days 12 hrs ago           O tankbottoms.eth cD               OUl     @ SushiSWap: TANK @                0.125                 6      Wrapped Ethe ... (WETH)


       @      Oxeaec69ca99f6 l 4f85...        259 days 12 hrs ago           O tankbottoms.eth cD               Ot/1"   @ SushiSWap: TANK @                62,500                       Tankbottoms (TANK)


       @      OX1 eb22907f3d4a7d4d...         259 days 12 hrs ago           Null:   oxooo...ooo co              IN     O tankbottoms.eth c9               250,000                      Tankbottoms (TANK)


       @      Ox227b94 l 4b0a6e3d3...         259 days 16 hrs ago           0 Uniswap V3: J BX c..D             IN     O t ankbottoms.eth cD              1,085,015.569288205          J uicebox (JBX)


       @      Oxde75e35c51 Od9184...          260 days 6 hrs ago            0 Compound: Comptroller [,O         IN     0 tankbottoms.eth c9               400                          ERC-20 TOKEN* A


       @      Ox8cee6c9d06eeeafb9...          260 days 9 hrs ago            O tankbottoms.eth cD               OUT     @ Oxeb02ad...6f8c44CC       c..D   0                      Ii\   Keep3rV1 (KP3R)


       @      Ox6784365aa39cb21 fL            260 days 1 5 hrs ago          O tankbottoms.eth c..D             llllT   O sveltedev.eth c..D               10,000,000            Q World Domina .. (MEOW)

       @      Oxbe5bb33bfeb115086 ...         260 days 16 hrs ago           Null: Ox000...000   LD              IN     O tankbottoms.eth c9               0.067082039                  SushiSwap LP. . (SLP)


       @      Oxbe5bb33bfebl 15086__          260 days 16 hrs ago           O tankbottoms.eth cD               OUT     0 SushiSwap: MEOW 3 cD             45                           MeowsDAO (MEOW)


       @      Ox53af57f00a4ad7aef...          264 days 8 hrs ago            @ Lido: Treasury    cD              IN     ◊ tankbottoms.eth      c9          6,000                        ERC-20 TOKEN* A


                                                                                                                                                                                          PLAINTIFF0001157
hllps ://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps= 1OO&p= 3                                                                                                                               1/5
4/6/23, 4:36 PM                  Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                         Entered    onI Elherscan
                                                                              Transfer   FLSD Docket 06/09/2023 Page 148
                                                                      of 401
      CD    Txn Hash                    Age            From                    To                    Value          Token

      @     Ox2c983c08e6571153...       264 days 14 hrs ago    0 Fake_Phlshlng591 7 cD          IN    O tankbottoms.eth c9         800                      ERC-20 TOKEN* A


      @     Ox0654191 a072fa934f...     266 days 1 hr ago      0 Uniswap: Token Distrib... cD   IN    O tankbottoms.eth c9         500                      ERC-20 TOKEN* A


      @     Ox1 f5ce42d71483ac31 ..     267 days 7 hrs ago     0 Uniswap V3: Positions ... LD   IN    Otankbottoms.eth c.D         400                      ERC-20 TOKEN*     A

      @     Ox112fcfceced1483a5...      267 days 23 hrs ago    0 Gem: GemSwap 2 c.D             IN    O tankbottoms.eth c.0        350                      ERC-20 TOKEN*     A

      @     Ox7f28d8e664e26c805 ...     269 days 5 hrs ago     0 Uniswap V3: Positions ... LD   IN    O tankbottoms.eth c9         400                      ERC-20 TOKEN* A


      @     Ox9d03184c94434bfdf...      269 days 6 hrs ago     0 tankbottoms.eth c.D            OUT   0 Gem: GemSwap 2 (9          3.49                  E) Wrapped Ethe... (WETH)

      @     Oxbe0d82b611 Obf0b42...     269 days 15 hrs ago    O tankbottoms.eth c9             OUT   0 OxA01060...ACe48C3d (9     19,875.38214894          Juicebox (JBX)


      @     Oxac016ba829263e83 ...      270 days 23 hrs ago    O service-provlder.eth cD        IN    0 tankbottoms.eth c9         4                     E) Wrapped Ethe... (WETH)

      @     Oxece404ff59ff22e34a...     271 days 11 hrs ago    0 Fake_Phishing5927 (9           IN    Otankbottoms.eth c9          10,254                   ERC-20 TOKEN* A


      @     Oxc6987ea1 be7bc601 ...     271 days 21 hrs ago    Null: Ox000...000   c.D          IN    O tankbottoms.eth c9         5,000,000,000            ABECoin (ABECoi...)


      @     Oxaf1 dbf06123abf635...     278 days 46 mins ago   Null: Ox000...000   c.D          IN    O tankbottoms.eth c.D        42,225                   MeowsDAO (MEOW)


      @     Ox4b495b294b558580 ...      278 days 13 hrs ago    0 Fake_Phishing7153 cD           IN    0   tankbottoms.eth   c9     666                      ERC-20 TOKEN* A


      @     Oxa9d79acab3bc1 cfc8 ...    279 days 11 hrs ago    O service-provider.eth cD        IN    O tankbottoms.eth c9         3,161.219568649          Dai Stableco... (DAI)


      @     Oxeb6356c8d96de 76a...      279 days 12 hrs ago    0 Ox2187e6...CA706fbD c.D        IN    () tankbottoms.eth    c9     7                     €> Wrapped Ethe... (WETH)
      @     Oxbba46ea46a878658 ...      286 days 16 hrs ago    Null: oxooo...ooo   cD           IN    O tankbottoms.eth c9         61,725                   MeowsDAO (MEOW)


      @     Oxc407d1acd32119832...      286 days 16 hrs ago    Null: Ox000...000   LD           IN    O tankbottoms.eth c9         32,775                   MeowsDAO (MEOW)


      @     Ox046b 1b 7f9d7bcfbcb...    290 days 7 hrs ago     0 Compound: cDAI Token c.D       IN    O tankbottoms.eth c9         19,345.58265402       ~ Compound Dai (cDAI)


      @     Ox046b1b 7f9d7bcfbcb...     290 days 7 hrs ago     O tankbottoms.eth c.D            OUT   0 Compound: cDAI Token c.D   426.061705233            Dai Stableco... (DAI)


      @     Oxdc18a8b3987ceb39 ...      290 days 9 hrs ago     Coinbase 2   c.D                 IN    () tankbottoms.eth    c9     58,214.51736818       G) Graph Token (GRT)

      @     Oxc758557e827f5dcf0...      290 days 13 hrs ago    O service-provider.eth c9        IN    O tankbottoms.eth cD         226,875.50727681      G Compound Dai (cDAI)

      @     Ox98ef22fdb6f1 e 1b27 ...   290 days 21 hrs ago    0 Uniswap V3: J BX c9            IN    O tankbottoms.eth c9         1,202,231.000613459      Juicebox (JBX)


      @     Ox628a88bfaacc2fb91 ...     293 days 14 hrs ago    0 Uniswap V3: JBX c9             IN    () tankbottoms.eth    c.O    618,575.60824161         J uicebox (JBX)

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hltps ://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps=1 OO&p=3                                                                                           2/5
4/6/23, 4 :36 PM                 Case 1:23-cv-20727-RKA Document 106-30 Token
                                                                         Entered    onI Elherscan
                                                                              Transfer   FLSD Docket 06/09/2023 Page 149
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       CD    Txn Hash                   Age            From                    To                    Value          Token


       @     Ox2d58aa2f48115bca3 ...    294 days 14 hrs ago    0 Uniswap V3: JBX      c9        IN    () tankbottoms.eth   c9        553,859.583588031         Juicebox (J BX)


       @     Oxe87ca0d6b7b3d9d5 ...     294 days 1 5 hrs ago   0 Oxfa0b8f...338CBDa3 LD         IN    O tankbottoms.eth c9           764.974461499             White Rabbit (WRAB)


       @     Ox3e1a1970724 185b1...     295 days 13 hrs ago    0 Uniswap V3: J BX LD            IN    ◊ tankbottoms.eth LD           1,105,775.629527149       J uicebox (J BX)


       @     Ox9188bd462850fff07...     295 days 21 hrs ago    0 Unlswap V3: J BX LO            IN    O tankbottoms.eth LD           1,045,392.286471648       Juicebox (J BX)


       @     Ox9ac1480c8df9adadc ...    298 days 22 hrs ago    O tankbottoms.eth LO             OUT   0 Uniswap V3: rETH c9          1.12671427                StaFi (rETH)


       @     Ox0c4f4ce6f86be892d...     298 days 23 hrs ago    O tankbottoms.eth c9             OUT   0 Uniswap V3: rETH 2      c9   1.12671427                Rocket Pool ... (rETH)


       @     Ox5e3ce4543421 aab4 ...    298 days 23 hrs ago    0 Curve.ti: ETH/rETH Pool LD     IN    O tankbottoms.eth c9           1.12671427                StaFi (rETH)


       @     Ox941044bba1383436 ...     299 days 16 hrs ago    0 Uniswap V3: J BX     c9        IN    0 tankbottoms.eth c9           1,036,938.173541673       Juicebox (J BX)


       @     Oxe5c0f8aa35db7aba2...     302 days 30 mins ago   0 Uniswap V3: J BX     c9        IN    Otankbottoms.eth c9            1,040,273.180036714       Juicebox (J BX)


       @     Ox3af5e02b60ab3359e...     302 days 21 hrs ago    0 Uniswap V3: J BX LO            IN    O tankbottoms.eth c9           972,886.287680612         Juicebox (J BX)


       @     Ox98a536e6c29fa44fc...     302 days 22 hrs ago    0 Uniswap V3: J BX LD            IN    O tankbottoms.eth LD           1,059,147.009454454       Juicebox (J BX)


       @     Ox0aa4c8d726b01426 ...     305 days 1 hr ago      O tankbottoms.eth c9             OUT   Ox811876... 6f53D8d0 LD        100                       Dai Stableco... (DAI)


       @     Ox5acf07cee407 1c9c5 ...   305 days 14 hrs ago    0 Uniswap V3: J BX     c9        IN    O tankbottoms.eth c9           1,123,515.929750843       Juicebox (J BX)


       @     Ox7adcb5371310120d...      307 days 7 hrs ago     O tankbottoms.eth c9             OUT   () jimmyethworld.eth   c9      10,000                :   Dai Stableco... (DAI)


       @     Ox896b56448dfba2dd ...     307 days 7 hrs ago     O tankbottoms.eth LD             OUT   0 Uniswap V2: USDC LD          5                     6   Wrapped Ethe ... (WETH)


       @     Ox896b56448dfba2dd ...     307 days 7 hrs ago     0 Uniswap V2: DAI-USDC (9        IN    O tankbottoms.eth c9           8,719.824707143           Dai Stableco... (DAI)


       @     Ox92c820134efad1 Sec...    307 days 7 hrs ago     0 0x2187e6...CA706fbD LO         IN    O tankbottoms.eth c9           5                     e Wrapped Ethe... (WETH)
       @     Ox9e515a0268a70027...      309 days 14 hrs ago    Coinbase 2 LO                    IN    () tankbottoms.eth   c9        1,806.23699809            Dai Stableco... (DAI)


       @     Oxbb8b2370c8730e5d ...     312 days 9 hrs ago     0 Ox471c3A...52102797 LD         IN    () tankbottoms.eth   c9        250,457                   ERC-20 TOKEN* A


       @     Ox36 7b6e8d575f5c402...    315 days 14 hrs ago    0 Compound: cDAI Token      c9   IN    O tankbottoms.eth c9           91,7 44.30877665      G Compound Dai (cDAI )

       @     Ox36 7b6e8d575f5c402 ...   315 days 14 hrs ago    O tankbottoms.eth LO             OUT   0 Compound: cDAI Token LO      2,019.029414922           Dai Stableco... (DAI)


       @     Ox9e1abaf58e0afSb72...     315 days 21 hrs ago    Null: Ox000...000 (9             IN    () tankbottoms.eth LD          4.874559235               Rocket Pool ... (rETH)

                                                                                                                                                                  PLAINTIFF0001159
hllps://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps=1 OO&p=3                                                                                                3/5
4/6/23, 4:36 PM                 Case 1:23-cv-20727-RKA Document 106-30 Token
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      CD    Txn Hash                   Age            From                    To                    Value          Token


      @     Oxd6b5449470871 d1 b ...   315 days 21 hrs ago    0   sagekellyn.eth L□          IN    () tankbottoms.eth    c9     1,189,260                  Juicebox (JBX)


      @     OX73051656e0226e12...      316 days 5 hrs ago     0 OxAFOb2f... 5C8bBC36 (9      IN    O tankbottoms.eth c9         258,542                    ERC-20 TOKEN* A


      @     Oxf039ed0efe2388d28 ...    316 days 20 hrs ago    0 Uniswap V3: JBX L□           IN    ◊ tankbottoms.eth LD         856,468.548550869          J uicebox (JBX)


      @     Oxd4c7c879efb00b90e...     318 days 4 hrs ago     0 Moonbirds: MOONBIR... c9     IN    O tankbottoms.eth c.0                                   ERC-20 TOKEN*     A

      @     Ox20e04da81111 fe3b5 ...   319 days 6 hrs ago     ® Uniswap V3: JBX LO           IN    O tankbottoms.eth [.O        1,093,748.498227362        Juicebox (JBX)


      @     Ox680f7675ed131 c0e6 ...   319 days 6 hrs ago     0 Uniswap V3: JBX c.□          IN    Otankbottoms.eth c.O         1,445,465.380139502        Juicebox (JBX)


      @     Ox123f017c5ea45acaf...     321 days 18 hrs ago    O tankbottoms.eth c.□         OlJT   0 Uniswap V3: MEOW 3 c.□     1.499999999            (j, World Domina .. (MEOW)

      @     Oxb0a00e5a96223bcl ...     321 days 18 hrs ago    0 OxaC587a... 1Dld3142 (9      IN    ◊ tankbottoms.eth     c9     100,000,000            <.; world Domina ... (MEOW)


      @     Oxa347d3c08baeeec7 ...     321 days 19 hrs ago    0 Uniswap V3: DAI 2 (9         IN    O tankbottoms.eth c9         2,019.029414922            Dai Stableco... (DAI)


      @     Oxf5a3d04b30a1217dd..      325 days 7 hrs ago     O tankbottoms.eth c.□         OlJT   Ox630893...52bele70 c.□      9,445.346053967        +.., Dai Stableco... (DAI)


      @     Oxd160f040d506115be ...    327 days 2 hrs ago     0 Ox24F86a...512Cf23A [.D      IN    0   tankbottoms.eth c.O      2,500,000                  ERC-20 TOKEN*     A

      @     Oxd6833cd4I02f7675d...     329 days 19 hrs ago    0 Ox2187e6...CA706fbD L□       IN    0   tankbottoms.eth   c9     2.5                    €) Wrapped Ethe... (WETH)

      @     Ox0029bb68de5f3cbf1 ...    330 days 18 hrs ago    O tankbottoms.eth c.□         OUT    0 Compound: cDAI Token c_D   429,470.60324793       G Compound Dai (cDAI)

      @     Ox0029bb68de5f3cbf1 ...    330 days 18 hrs ago    0 Compound: cDAI Token (9      IN    () tankbottoms.eth    c9     9,445.346053967            Dai Stableco... (DAI)


      @     Oxedl bec4745206492...     331 days 6 hrs ago     0 Disperse.app c_D             IN    O tankbottoms.eth c9         1,000,000                  Juicebox (JBX)


      @     Ox6a25a54d4cab55f0b...     333 days 17 hrs ago    0 Uniswap V3: JBX c9           IN    O tankbottoms.eth c9         1,736,501 .415182315       Juicebox (JBX)


      @     Ox5936860b1314a0a8 ...     334 days 1 hr ago      0 Ox7Ae6c1 ...f89FF1D2 c.D     IN    O tankbottoms.eth c9                                    ERC-20 TOKEN*     A

      @     Ox63446adf2e674d3ae...     336 days 13 hrs ago    0 Uniswap V3: JBX c.□          IN    () tankbottoms.eth    c9     1,029,229.464562873        Juicebox (JBX)


      @     Ox3335822448016d22...      337 days 7 hrs ago     0 Ox92A3e0...27873946 c_D      IN    () tankbottoms.eth    c9     10                         ERC-20 TOKEN* A


      @     Ox2bc3f87f6c08289f8...     339 days 12 mins ago   0 Ox7A4A4E...C58f9f25 (9       IN    O tankbottoms.eth c.O        10                         ERC-20 TOKEN* A


      @     Ox361a955f096aca685...     339 days 11 hrs ago    0 OxcbObB7...Ee841092 (9       IN    O tankbottoms.eth c9         5,555                      ERC-20 TOKEN* A


      @     Ox8cff30f2c3e8d4777...     339 days 14 hrs ago    Null: Ox000...000 (9           IN    () tankbottoms.eth c.O       1.999999999            t   stETH (stETH)

                                                                                                                                                              PLAINTIFF0001160
hllps://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E&ps=1 OO&p=3                                                                                            4/5
4/6/23, 4:36 PM                   Case 1:23-cv-20727-RKA Document 106-30 Token
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      e      Txn Hash                    Age            From                    To                    Value          Token


      @      Ox8b39db0733ad29b1 ...      339 days 23 hrs ago    O tankbottoms.eth c9            OUT   0 CoW Protocol: GPv2Se ...      c□   19,440.811                Dai Stableco... (DAI)


      @      Oxde42bd8e0326a512 ...      339 days 23 hrs ago    0 Ox2187e6...CA706fbD c□        IN    O tankbottoms.eth c9                 19,440.811                Dai Stableco... (DAI)


      @      Oxd75d29c91 f31 d9e21 ...   340 days 20 hrs ago    Ox231847 ...6258101 2 c□        IN    O tankbottoms.eth cO                 5,471                Q ApeCoin (APE)

      @      Ox0b929f37e7f3c1 a9L        341 days 1 hr ago      O tankbottoms.eth c□            OUT   Ox231 B47...62561012       c9        377.6910199          0       ApeCoin (APE)


      @      Oxf73cb0f5a881 ac87d ...    344 days 9 hrs ago     Coinbase 13 c□                  IN    O tankbottoms.eth c9                 267.6910199          ~ ApeCoin (APE)


      @      Ox9d5e583b247bc8bd...       345 days 18 hrs ago    O tankbottoms.eth c.,D          OUT   0 Uniswap V2: LOOKS 3 cD             458.582404971        O LooksRare To .. (LOOKS)
      @      Ox321 bb7925114d3ba ...     345 days 18 hrs ago    Oxc66376... 534c4d03     cD     IN    O tankbottoms.eth c9                 458.582404971        O LooksRare To .. (LOOKS)
      @      Ox88dc6ddbc1cd8f8b9 ...     347 days 1 5 hrs ago   0 CoW Protocol: GPv2Se ... cD   IN    0 tankbottoms.eth c9                 1.000458043           ~ stETH (stETH)


      @      Ox88dc6ddbc1cd8f8b9 ...     347 days 15 hrs ago    O tankbottoms.eth c9            QVT   0 CoW Protocol: GPv2Se ... c9        1.000323999          9    Wrapped Ethe... (WETH)


      @      Ox98eebff7c86c30Bed...      347 days 20 hrs ago    0 Uniswap V3: J BX c9           IN    O tankbottoms.eth c9                 2,507,776.85943063        Juicebox (JBX)


      @      Ox48d7cc0b7 4f2d073c ...    349 days 3 hrs ago     Null: Ox000...000   [9          IN    O tankbottoms.eth cO                 1.249999999           " stETH (stETH)


      @      Oxfd8fa1 efa26bbf6021 ...   349 days 20 hrs ago    Oxf25572. .. 9CF4BcFf    LD     IN    0   tankbottoms.eth   c9             727.46271874         @ Matic Token (MATIC)

      @      Oxa972ab076d3f79599 ...     349 days 20 hrs ago    0 Compound: cSushi Tok... c9    IN    O tankbottoms.eth c9                 29,187.28189796           Compound Sus... (cSUSHI)


      @      Oxa972ab076d3f79599...      349 days 20 hrs ago    O tankbottoms.eth c9            OUT   0 Compound: cSushl Tok...       c□   595.83470171 5       ~ SushiToken (SUSHI)


      @      Oxda6ca79cbd3c09c8...       350 days 12 hrs ago    O tankbottoms.eth cD            OUT   0 Uniswap V3: cDAI t,D               71,492.26040665      (! Compound Dai (cDAI)

      @      Ox0fc4bab9a2ecd3754...      351 days 4 hrs ago     Ox945BCF...5cfaB927      [9     IN    O tankbottoms.eth c9                 445.83470171 5       ~ SushiToken (SUSHI)


      @      Ox0fc4bab9a2ecd3754...      351 days 4 hrs ago     O tankbottoms.eth c9            OUT   Ox945BCF...5cfaB927 c9               0.5                  e Wrapped Ethe .. (WETH)
      @      OX153a77eac2ffe0280...      351 days 15 hrs ago    Null: oxooo ... ooo c□          IN    () tankbottoms.eth    cO             0.999999999           '   stETH (stETH)


     Show:   100        Records                                                                                                                                 Flrs1      <   Page 3 of 5    >    Last



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4/6/23, 4 :36 PM                  Case 1:23-cv-20727-RKA Document 106-30 Token
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                                                                       of 401
   Token Transfers (ERC-20)
   For Ox5d95baEBB8412A0827287240A5c281E3bB30d27E




       © Transactions involving tokens marked as suspicious, unsafe, spam or brand infringement are currently hidden. To display them, go to Token Ignore List.

      A total of 416 t~ns found                                                                                                                                               A rst          Page 4 o f 5     >   L3$I



       0      Txn Hash                        Age                           From                                      To                                Value                  Token


       @      Ox36b8efb60900e5eec...          352 days 12 hrs ago           O tankbottoms.eth c.□             OUT     B Compound; cOAI Token [.O        10,000                 i::;   Dai Stableco... (DAI)


       @      Ox36b8efb60900e5eec...          352 days 12 hrs ago          B Compound; cDAI Token c9          IN      O tankbottoms.eth c9              455,307.05644335       (!     Compound Dai (cDAI)


       @      Ox4a5aal 641823b85e ...         352 days 12 hrs ago          E] Uniswap VJ: DAI 2 [.O           IN      O tankbottoms.eth LO              10,000                        Dai Stableco... (DAI)


       @      Ox75ef2187421155fed ...         352 days 17 hrs ago           0 Uniswap V3: JBX c.□             IN      O tankbottoms.eth c9              847,368.374592295             Juicebox (JBX)


       @      Ox6362a9c89038b890 ...          353 days 11 hrs ago           § Ox3fbCOd...A4B8d9CO c.□         IN      O tankbottoms.eth c.O                                           ERC-20 TOKEN*     A

       @      Ox7ad9041 bd5998859 ...         354 days 11 hrs ago          E] OxOE41Ca...2C422026 LO          IN      ◊ tankbottoms.eth   t9                                          ERC-20 TOKEN*     A

       @      Oxb66d8cfa85564063f...          356 days 1 hr ago            E] Ox9Da458...3Dde7118 LO          IN      O tankbottoms.eth LO              10,000                        ERC-20 TOKEN* A


       @      Ox85e63fd75ed081524...          357 days 51 mins ago          OxfEB93c...bAE8b153 (9            IN      O tankbottoms.eth LO              200                    @      Matic Token (MATIC)


       @      OX5f1c5a6032e534c48...          357 days 22 hrs ago           O tankbottoms.eth [.O             OUT     Oxf25572...9CF48cFf c.O           527.46271874           @      Matic Token (MATIC)


       @      Ox58bf2596e29b0f703...          358 days 11 hrs ago           0 Uniswap VJ: JBX c.O             IN      O tankbottoms.eth LO              515,219.883514249             Juicebox (JBX)


       @      Ox543a2e629e3eff56d...          361 days 13 hrs ago           O tankbottoms.eth c.O             OUT     0 f 11ipv.eth c.O                 500,000                       J uicebox (JBX)


       @      Ox011 aff802c234bea8 ...        362 days 18 hrs ago           Coinbase 13 c.□                   IN      O tankbottoms.eth [9              110                    E) ApeCoin (APE)

       @      Oxbb1 lfe5f74bd14305...         365 days 1 hr ago             OxfEB93c...bAE8b153 [9            IN      O tankbottoms.eth L□              700                    @      Mat ic Token (MATIC)


       @      Ox08840ca40cf0a7a29...          366 days 13 hrs ago           O tankbottoms.eth LO              OUT     E] OxE09001 ... B6B04c45 Lo       19,369,745.44552052    G Compound Dai (cDAI)

       @      Ox1 dad6878c6a3c879...          366 days 13 hrs ago           O tankbottoms.eth c.□             OUT     B Compound: cOAI Token c.□        425,000                       Dai Stableco... (DAI)


       @      Ox1 dad6878c6a3c879•.           366 days 13 hrs ago           0 Compound: cDAI Token c9         IN      O tankbottoms.eth c9              19,370,174.65527652    @      Compound Dai (cDAI)


                                                                                                                                                                                       PLAINTIFF0001162
htlps://elherscan .io/lokentxns?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E&ps= 1OO&p= 4                                                                                                                               1/5
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       @     Ox3c282f541 adc0e034...   366 days 13 hrs ago    0 OxE09001 ...B6B04c45 (9      IN    O tankbottoms.eth c9          425,000                 Dai Stableco... (DAI)


       @     Oxf417566dc0e0e7c00...    367 days 2 hrs ago     0   partypants.eth LO          IN    O tankbottoms.eth c9          67,034.669335857        Tile (TILE)


       @     Ox6e216c94cf4a5c504 ...   368 days 5 hrs ago     0 Compound: cDAI Token LO      IN    O tankbottoms.eth c9          45,226.59745523      (: Compound Dai (cDAI)


       @     Ox6e216c94cf4a5c504 ...   368 days 5 hrs ago     Otankbottoms.eth c9            OUT   0 Compound: cDAI Token c..O   992.189                 Dai Stableco... (DAI)


       @     Oxe52afeebfe8be8b6e...    369 days 6 hrs ago     Null: Ox000...000 LO           IN    O tankbottoms.eth LO          1,113,750               POAPDAO (POAP)


       @     Ox11o2f139a76ace32a...    372 days 5 hrs ago     O tankbottoms.eth LO           OUT   0 Uniswap V3: DAI LO          499.999999999           Dai Stableco... (DAI)


       @     Oxe1 c951 b6a2e799f45..   375 days 18 hrs ago    0 Uniswap V3: JBX 2 c9         IN    O tankbottoms.eth c9          53,405.097438059        J uicebox (J BX)


       @     Oxe1c951 b6a2e799f45...   375 days 18 hrs ago    0 Uniswap V3: JBX c9           IN    0 tankbottoms.eth c9          299,526.710083916       J uicebox (J BX)


       @     Oxcl f6f8202b9a77207...   378 days 16 hrs ago    Null: Ox000...000 LO           IN    O tankbottoms.eth LO          50,000                  Peace DAO Mo... (PEACE)


       @     Ox8f460e6a8d59e6214...    378 days 22 hrs ago    O service-provider.eth LO      IN    O tankbottoms.eth c9          108,440.698425056       J uicebox (J BX)


       @     Oxf8209a67bcb9b8b93...    380 days 5 hrs ago     0 Uniswap V3: JBX 2 L□         IN    O tankbottoms.eth c9          151 ,206.028258322      J uicebox (J BX)


       @     Oxf8209a67bcb9b8b93...    380 days 5 hrs ago     0 Uniswap V3: JBX L□           IN    O tankbottoms.eth LO          602,625.794927238       J uicebox (J BX)


       @     Ox649ddfab6d852b88 ...    382 days 15 hrs ago    0 OxfaOb8f...338CBDa3 LO       IN    O tankbottoms.eth c9          159.697308488           White Rabbit (WRAB)


       @     Oxc804bf609e8404639...    383 days 16 hrs ago    O service-provider.eth L□      IN    O tankbottoms.eth LO          102.089766238        (!) Ethereum Nam... (ENS)

       @     Oxbfl 5d603294c5578f...   383 days 16 hrs ago    O service-provider.eth L□      IN    O tankbottoms.eth c9          1,492.189            '"' Dai Stableco... (DAI)


       @     Ox23ab3b7affae316d8 ...   383 days 16 hrs ago    Ox4Ab54c...7305dBOc LO         IN    O tankbottoms.eth c9          805.21396264         0) Graph Token (GRT)

       @     Oxebl 7943e90c5c7cb...    383 days 16 hrs ago    Ox4Ab54c...7305dBOc L□         IN    O tankbottoms.eth L□          350                  @ Matic Token (MATIC)

       @     Ox719a7565fa2a826fb...    387 days 3 hrs ago     O tankbottoms.eth C..0         OUT   Oxb2b0a8...CB37C021 [.,O      12,510               ,.., Dai Stableco... (DAI)


       @     Ox227eb5d822adbf838...    388 days 17 hrs ago    0 Uniswap V3: JBX LO           IN    Otankbottoms.eth LO           1,915,126.00302446      Juicebox (J BX)


       @     0Xb60b0176a096891 b ...   390 days 6 hrs ago     O tankbottoms.eth LO           OUT   Ox80B731 ...Ca8A1F57 @        10,000                  Dai Stableco... (DAI)


       @     Oxf4966df8fef458732e...   390 days 18 hrs ago    O servlce-provider.eth LO      IN    O tankbottoms.eth LO          15,000                  Dai Stableco... (DAI)


       @     Ox62d0d74f737a1494...     390 days 20 hrs ago    0 Ox518e3C...7562632f c9       tN    O tankbottoms.eth LO          194,931                 J uicebox (J BX)

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       @     Oxb826847c54eb300c...      391 days 17 hrs ago    O t ankbottoms.eth c..D        OUT   0 CoW Protocol: GPv2Se...       [..O   10,000                    Dai Stableco... (DAI)


       @     Ox1303198ca4c0d2af2...     391 days 18 hrs ago    0 Ox2187e6...CA706fbD c..D     IN    O tankbottoms.eth c..D                 15,500                    Dai Stableco... (DAI)


       @     Ox7fd7ea55f433efb95...     393 days 1 hr ago      OxfEB93c...bAE8b153 LO         IN    O tankbottoms.eth LO                   350                   @   Matic Token (MATIC)


       @     Ox4ce4cb92d4bd1 1be...     393 days 7 hrs ago     Ojimmyethwortd.eth c9          IN    Otankbottoms.eth c9                    50                    i:a Dai Stableco... (DAI)

       @     Ox41 d2ac80bc4220be...     39 5 days 17 hrs ago   El OxfaOb8f...33BCBDa3 c9      IN    O tankbottoms.et h LO                  764.933690777             White Rabbit (WRAB)


       @     Oxaaf38060037b3f2d8...     398 days 16 hrs ago    0 Uniswap V3: JBX [..O         IN    O tankbottoms.eth LO                   743,127.009843739         J uicebox (JBX)


       @     Ox11 b2c26320fc763d8. .    401 days 14 hrs ago    O tankbottoms.eth c9           OUT   Ox93B9eO... C32dC483       c9          20                        Dai Stableco... (DAI)


       @     Ox7ecb38b9a506cf41 d ...   404 days 6 hrs ago     Otankbottoms.eth cP            OUT   0 Polygon (Matic): Plasm ...    c9     150                   @   Mat ic Token (MATIC)


       @     Oxd56cb090d560bacc...      404 days 14 hrs ago    Otankbottoms.eth cP            OUT   Oxd67d7E...57AF6617 LD                 20                    '-' Dai Stableco... (DAI)


       @     Oxb85def3f2ee1 ddb6d...    404 days 15 hrs ago    Ox6A1F03...BE747813 (9         IN    O tankbottoms.et h c9                  2.5                   e Wrapped Ethe... (WETH)
       @     Oxdfb04235c0feffd77d...    409 days 11 hrs ago    OxB325ae...dd6343CA [..O       IN    O tankbottoms.eth LO                   200                   @   Matic Token (MATIC)


       @     Ox3328ac8a5b8f0bbbe...     409 days 11 hrs ago    0   pillowfightclub.eth [.O    IN    0   tankbottoms.eth [.O                330                   @   Matic Token (MATIC)


       @     Ox3cf326d7be6792c43...     409 days 11 hrs ago    0 Uniswap V3: JBX c.D          IN    O tankbottoms.eth [.O                  481,991.314552543         Juicebox (JBX)


       @     Ox71347e53027e580e ..      412days 17 hrs ago     O tankbottoms.eth c..0         OUT   O meowsdao.eth LO                      10,000                    Dai Stableco... (DAI)


       @     Ox76 7e8051 b4d6a899...    412 days 17 hrs ago    0 Uniswap V3: JBX [..O         IN    O tankbottoms.eth c9                   1,297,316.119155783       Juicebox (JBX)


       @     Ox767e8051 b4d6a899 ...    412 days 17 hrs ago    O tankbottoms.eth c.D          OVT   0 Uniswap V3: DAI 2 (9                 10,000                    Dai Stableco... (DAI)


       @     Ox6426643694c40d0e...      412 days 17 hrs ago    0 0x2187e6 ..CA706fbD LO       IN    O tankbottoms.eth LO                   11,000                    Dai Stableco... (DAI)


       @     Oxd86f6715505c7c380...     412 days 17 hrs ago    0 0x2187e6 ..CA706fbD LO       IN    O tankbottoms.eth LO                   11,000                    Dai Stableco... (DAI)


       @     Ox325ea5d87eabb256 ...     415 days 9 hrs ago     0 Uniswap V3: JBX c..D         IN    O tankbottoms.eth LD                   583,495.791767129         Juicebox (JBX)


       @     Ox9a62525fab11 a7644 ...   418 days 20 hrs ago    Otankbottoms.eth c..D          OUT   0 CoW Protocol: GPv2Se...       c9     16,504.1056888            Dai Stableco... (DAI)


       @     Ox7cdd885931 fb2066d ..    419 days 2 hrs ago     O t ankbottoms.eth c..O        OUT   Ox9eBaA1...d D3Aa45B @                 3,495.8943112             Dai Stableco... (DAI)


       @     Ox391 ff9b 129407ad66...   420 days 8 hrs ago     O t ankbottoms.eth cP          OUT   0 Rarible: Treasury   c9               0.005                 E, Wrapped Ethe... (WETH)
                                                                                                                                                                      PLAINTIFF0001164
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       @      Ox391 ff9b 129407ad66...    420 days 8 hrs ago     O tankbottoms.eth c□          OUT   0 Rarible: Treasury c9          0.005                   e Wrapped Ethe... (WETH)
       @      Ox391ff9b129407ad66...      420 days 8 hrs ago     O tankbottoms.eth c□          OVT   O mieos.eth cD                  0.195                   e Wrapped Ethe... (WETH)
       @      Oxf92eff9220e251633...      420 days 11 hrs ago    0 OxE09001 ...B6B04c45 cD     IN    O tankbottoms.eth c9            75                          , Friends With ... (FWB)


       @      Ox896518ed0e9f4ce6a...      420 days 13 hrs ago    0   partypants.eth   c9       IN    Otankbottoms.eth c9             20,000                  -    Dai Stableco... (DAI)


       @      Ox94ceb84f58ace0d44...      420 days 16 hrs ago    Null: Ox000...000    cO       IN    O tankbottoms.eth co            2,500,000               (@ AssangeOAO (J USTIC...)

       @      Ox4e1b28b62e19d9fb3...      423 days 4 hrs ago     0   servioe-provider.eth c□   IN    O tankbottoms.eth c9            330                     @    Matic Token (MATIC)


       @      Ox14698b32809Ba668...       423 days 4 hrs ago     O servioe-provider.eth c9     IN    O tankbottoms.eth c9            65,086.642152                J uicebox (J BX)


       @      Oxl 51ca1c494433e65...      423 days 6 hrs ago     Otankbottoms.eth (9           OUT   OxB325ae...dd6343CA (9          200                     (;! Mat ic Token (MATIC)

       @      Ox471 d8ee4e2caffb20...     423 days 9 hrs ago     0 Uniswap V3: JBX (9          IN    O tankbottoms.eth c□            864,052. 943413443           J uicebox (J BX)


       @      Ox4be11e619Bd65bdf8...      430 days 13 hrs ago    0 Uniswap V3: JBX c□          IN    O tankbottoms.eth c9            1,085,014.273709322          Juicebox (JBX)


       @      Ox2d42c595c35631 c9f...     433 days 6 hrs ago     OxfEB93c...bAE8b153 c□        IN    O tankbottoms.eth c□            330                     @ Matic Token (MATIC)

       @      Oxbacc9959c67dbBfd5...      443 days 11 hrs ago    Null: Ox000...000 c□          IN    O tankbottoms.eth c□            0.000856481                  We Mi nt Cash (WMC)


       @      Ox5a29aabfdd4809723...      443 days 11 hrs ago    Null: Ox000...000 c□          IN    O tankbottoms.eth c□            60.759353612                 We Mi nt Cash (WMC)


       @      Oxa712580d77462ad7 ...      443 days 11 hrs ago    O tankbottoms.eth c□          out   O service-provider.eth LO       65,086.642152                Juicebox (J BX)


       @      Oxeeeb8e061 b3038ba ...     443 days 14 hrs ago    Null: Ox000...000 c□          IN    O tankbottoms.eth c9            862,773,229.618455082        veSOS (veSOS)


       @      Oxeeeb8e061 b3038ba...      443 days 14 hrs ago    O tankbottoms.eth c□          OUT   0 The OpenDAO: Staking ... c□   920,666,082.270418184        SOS (SOS)


       @      Ox79bd6ec11ca 183c5 ...     443 days 14 hrs ago    0 OxE09001..B6B04c45 (9       IN    O tankbottoms.eth c□            920,666,082.270418184        SOS (SOS)


       @      Ox5b15c9f1 d92cdc267 ...    447 days 16 hrs ago    Null: oxooo...ooo c□          IN    Otankbottoms.eth c□             65,086.642152                Juicebox (JBX)


       @      0Xb2b877f85237c77b5...      451 days 2 hrs ago     Ot ankbottoms.eth c□          OUT   Null: Ox000...000 c□            5,372.500832902              PUNK Floor (FLOOR)


       @      Oxd59c71636604daf04...      465 days 20 hrs ago    Otankbottoms.eth c□           OUT   O partypants.eth c□             5,159.41888875               Shark DAO (SHARK)


       @      Oxedc0daf0ae971 f09f ...    46 5 days 20 hrs ago   O tankbottoms.eth c□          OUT   O partypants.eth c□             16,415,184.565               SOS (SOS)


       @      Ox3397e28f6a3d5acc6...      467 days 10 hrs ago    Null: Dx000...000 c□          ,,.   O tankbottoms.eth c□            16,415,184.565               SOS (SOS)

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       CD    Txn Hash                    Age            From                   To                    Value            Token


       @     Ox3603daf4b7e2a9ba0...      475 days 22 hrs ago    O tankbottoms.eth t.O          OUT   0 Unlswap V2: FREE 13 t.O   1,635,992                      Ross Ulbrich ... (FREE)


       @     Oxa815533cd8badda6...       476 days 19 hrs ago    0 Disperse.app t.O             IN    Otankbottoms.eth t.O        1,635,992                      Ross Ulbrich... (FREE)


       @     Ox4d79152fa9d51 Ob2...      484 days 5 hrs ago     Otankbottoms.eth t.O           OUT   O gordo.eth t.O             75                           , Friends With ... (FWB)


       @     Oxfed4cd061 ddea67a 7...    504 days 5 hrs ago     Null: Ox000... 000 t.O         IN    Otankbottoms.eth [9         1.573170742                    We Mi nt Cash (WMC)


       @     Ox7beb36f379bc47f71...      504 days 6 hrs ago     O tankbottoms.eth t.O          OUT   0   partypants.eth t.O      10,739,312.948357885     (;} SHIBA INU (SHIB)


       @     Oxfl f08efdca666d6dd...     504 days 11 hrs ago    O tankbottoms.eth t.O          OUT   0   partypants.eth t.O      251.15119672            C!) Ethereum Nam... (ENS)

       @     Ox885e63199ad3aBb4...       505 days 19 hrs ago    Null: Ox000...000 [9           fN    O tankbottoms.eth [9        0.004791664                    Unstables (uSTD)


       @     Ox9a4171f38187ee37c...      50 5 days 19 hrs ago   Null: Ox000...000 [9           IN    0 tankbottoms.eth [9        40.637508843                   Unstables (uSTD)


       @     Ox7f17459060f41f5c8...      505 days 19 hrs ago    Null: Ox000...000 t.O          IN    O tankbottoms.eth t.O       40.612728759                   We Mi nt Cash (WMC)


       @     Oxel ff6209f3ff61 b040...   506 days 4 hrs ago     0 Uniswap V3: SHIB t.O         IN    O tankbottoms.eth [9        10,739,312.948357885     ~     SHIBA INU (SHIB)


       @     Oxfl 655545a2d6c800a ...    510 days 13 hrs ago    0 ENS: ENS Token t.D           IN    O tankbottoms.eth t.O       251.15119672            C!) Ethereum Nam... (ENS)

       @     Oxb6e917d9cb2e05ba ...      524 days 33 mins ago   O tankbottoms.eth t.O          OUT   0   partypants.eth t.O      26,895.820024332          .• The Doge NFT (DOG)


       @     Oxbel bl 9314cb7b00d...     551 days 5 mins ago    0 SushiSwap: DOG 3 t.O         IN    O tankbottoms.eth t.O       26,895.820024332         <     The Doge NFT (DOG)


       @     Ox1 146e1 15bf5f6cef3...    566 days 4 hrs ago     0 Fake_Phishing4953 t.O        IN    O tankbottoms.et h [9       300,000                        ERC-20 TOKEN* A


       @     Oxd9d9656a23a88717...       568 days 18 hrs ago    0   partypants.eth t.O         IN    Otankbottoms.eth [9         1,250                    ~     Republic (REN)


       @     Ox88978ef bc8d546fa0 ...    568 days 18 hrs ago    O partypants.eth [9            IN    O tankbottoms.et h [9       150                      ~     SushiToken (SUSHI)


       @     Oxc5c12675eeca95a6a...      568 days 18 hrs ago    0 partypants.eth t.O           IN    O tankbottoms.eth t.O       20                       .:., Uniswap (UNI)


       @     Oxbade944f950f575a2...      570 days 22 hrs ago    0 Fake_Phishing4951      t.D   IN    Otankbottoms.et h t.D       250,000                        ERC-20 TOKEN* A


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   For Ox5d95baEBB8412AD827287240A5c281E3bB30d27E




       © Transactions involving tokens marked as suspicious, unsafe, spam or brand infringement are currently hidden. To display them, go to Token Ignore List.

      A total of 416 t~ns found                                                                                                                                              Rrst            Page 5 o f 5    >   Last



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       @      Ox241 Oc8e56eb3ed00...                574 days 13 hrs ago                Null:   oxooo...ooo LO         IN      O tankbottoms.eth LO         5,159.41888875           Shark DAO (SHARK)


       @      Ox7281 ef2ab3e38feeff...              578 days 6 hrs ago                 O partypants.eth c9            IN      O tankbottoms.et h LO        75                       Friends Wit h... (FWB)


       @      Ox8d521 a2e8aef98ef3...               578 days 23 hrs ago                O tankbottoms.eth c9          O\IT     0    partypants.eth c..D     1,250              • Republic (REN)


       @      Ox213715914ec4d9c6...                 579 days 16 mins ago               () tankbottoms.eth c..O       O\IT     0    partypants.eth LO       150                ~     SushiToken (SUSHI}


       @      Ox5f58 51888a49dfbad...               579 days 27 mins ago               O tankbottoms.eth c..O         our     () partypants.elh c..O       150                      Friends Wit h... (FWB)


       @      Ox7008252db51 aa9b9...                579 days 27 mins ago               O tankbottoms.eth c..D        OUT      O partypants.e1h c..D        25                 -" Uniswap (UNI)


       @      Oxd6b74e1184329e16f...                583 days 13 hrs ago                0 Uniswap V2: REN c..D         IN      O tankbottoms.e1h LD         1,250              • Republic (REN)


       @      Oxfdb8990c2d7c7f388...                584 days 2 hrs ago                 0 Uniswap V3: FLOOR c..O       IN      O tankbottoms.eth c..O       5,372.500832902          PUNK Floor (FLOOR)


       @      Ox4638ddeae3785dbc...                 604 days 1 hr ago                  0 Unlswap V2: FWB 2 LO         IN      O tankbottoms.eth LO         75                       Friends With ... (FWB}


       @      Oxf46db5cee943d5a66...                607 days 18 hrs ago                0 Unlswap V2: UNI 6 c..D       IN      ◊ tankbottoms.et h     LD    25                 " Uniswap (UNI)


       @      Oxl 1ab94a88f407c8cc...               607 days 18 hrs ago                0 Uniswap V2: SUSHI (..0       IN      0    tankbottoms.eth LO      150                ~     SushiToken (SUSHI}


       @      Ox6dac6ac180148581 ...                609 days 19 hrs ago                O tankbottoms.eth LO          OUT      Ox33dCb3... 4a5CFd20 [9      550                      Dai Stableco... (DAI}


       @      Oxe8cb92b4d0102e9f0...                609 days 19 hrs ago                0 Uniswap V2: DAI [9           IN      O tankbottoms.eth LD         250               ~      Dai Stableco .. (DAI)


       @      Ox075dfddd1b28b69ca...                609 days 19 hrs ago                O tankbottoms.eth [.D         OVT      0 Uniswap V2: DAI c..D       150                      Dai Stableco .. (DAI)


       @      Ox652c80c7908f40caa...                609 days 19 hrs ago                0 Uniswap V2: DAI [9           IN      O tankbottoms.eth LO         450                      Dai Stableco ... (DAI}


       @      Oxd7c37add39fb96ad4_.                 610 days 1 hr ago                  0 Uniswap V2: FWB 2 LO         IN      O tankbottoms.eth c..O       75                       Friends With ... (FWB)


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                NFT Transfers




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   NFT Transfers
   For 0x5d95baEBB8412AD827287240A5c281 E3b830d27E




     A total of 3,318 records found                                                                                                             First          Page 1 of 34   >    Last



       (i)     Tr.in:;::.ction Info          Age                  From                                To                       Type         Item




                                                                                                                                            ~
                                                                                                                                                        Ralph Lauren x Poolsuite 1--·
       @       Ox01 e886d5b72df2442 ...      1 day 7 hrs ago      Null: Ox000 ...000 La         IN     tankbottoms.eth   c9     ERC-1155
                                                                                                                                                        NFT


                                                                                                                                            •           Ternporale #89
       @       0x5f0ed666c04c54c11 ..        2 days 4 hrs ago     thesarahshow.eth La           IN     tankbottoms.e1h   c9     ERC-721
                                                                                                                                                        NFT: Temporale


                                                                                                                                            ~           STATISTICS JUNKIES 4/5
       @       0xl f30625c066537015...       30 days 5 hrs ago    Ox621 Se7...9b807725 La      IN      tankbottoms.eth   c9     ERC-721
                                                                                                                                                        NFT: BEARMARKETRODEO


                                                                                                                                                        Skate or DAO#355
       @       Oxb9b737b43d81 df47...        31 days 13 hrs ago    tankbottoms.eth    La       OlfT   0xa348fc...d353COA6 La    ERC-721         l@)     Skate or DAO 0


                                                                                                                                            ■ Meow ie Drop 1 Collector
       @       Oxe3d31 f25bef684a95...       32 days 17 hrs ago   Null: Ox000 ...000 La        IN      tankbottoms.eth   c9     ERC-1 155
                                                                                                                                                        NFT: Meowieverse


                                                                                                                                                        Gnar 345
       @       0x7d239876f2be533c3 ...       33 days 13 hrs ago    tankbottoms.eth    @        OUT    Ox81750e...B77E3aC3 La    ERC-721
                                                                                                                                                I       Skate or DAO 0


                                                                                                                                                        NFT: Terraflows#9322
       @       Oxbcaaf690e00b92580...        37 days 18 hrs ago   Null: Ox000 ...000 LO        IN      tankbottoms.eth   c9     ERC-721         r@)     NFT: Terraflows


                                                                                                                                                        NFT: Terraflows#4643
       @       Oxbcaaf690e00b92580...        37 days 18 hrs ago   Null: Ox000 ... 000 LO       IN      tankbottoms.eth   c9     ERC-721         @)      NFT: Terraflows


                                                                                                                                                        NFT: Te rraflows#9397
       @       Oxbcaaf690e00b92580...        37 days 18 hrs ago   Null: Ox000 ... 000 LO        IN     tankbottoms.eth   c9     ERC-721         r@)     NFT: Terraflows


                                                                                                                                                        NFT: Terraflows#4980
       @       Oxbcaaf690e00b92580...        37 days 18 hrs ago   Null: Ox000 ... 000 @        IN      tankbottoms.eth   c9     ERC-721         r@)     NFT: Terraflows


                                                                                                                                                        NFT: Terraflows#6489
       @       0xbcaaf690e00b92580...        37 days 18 hrs ago   Nult Ox000 ...000 La         IN      tankbottoms.eth   19     ERC-721         r@)     NFT: Terraflows


                                                                                                                                                        Level 14 at{ll, 18)
       @       0x32007b64b3f2006a4...        38 days 2 hrs ago    0   Oxb05E9E...d40F4345 La   IN      tankbottoms.eth   19     ERC-721
                                                                                                                                                        Terraforms 0


       @       Ox32007b64b3f2006a4...        38 days 2 hrs ago    0   Oxb0SE9E...d40F4345 LO   IN      tankbottoms.eth   19     ERC-721                 Level 11 at {7, 7)
                                                                                                                                                         PLAINTIFF0001170
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                                                               ® Oxb05E9E...d40F4345 @
      ®      Ox32007b64b3f2006a4...     38 days 2 hrs ago                                               IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                         Vt       Terraforms 0



      ®      Ox32007b64b3f2006a4...     38 days 2 hrs ago      ® 0Xb05E9E...d40F4345         t.D        IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                         I        Level 11 at {11, 23)
                                                                                                                                                                  Terraforms 0



      ®      Oxl 377eb8a6c81 Obf40-.    38 days 20 hrs ago     ® Ox6D7c44...8E9a7a42 [9                 IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                     m            Are You Lost Or Caffeine
                                                                                                                                                                  NFT: ONBO


                                                                                                                                                     •            Fonrad
      ®      Oxc7aaatadc25ff72b66...    39 days 21 hrs ago      Null: Ox000 ... 000 t.D                 IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                                  NFT: Marvelous Meowies


                                                                                                                                                                  NFT: Terraflows#2533
      ®      Ox58d9a04B95d928aa ..,     40 days 12 hrs ago      poopshakes.eth        [9                IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                         ®        NFT: Terrafiows


                                                                                                                                                                  LWanLTo_Be_My_Sister....
      ®      Oxa931aadc8cb15ae9 ...     40 days 14 hrs ago      Nult OX000... 000 t.D                   IN     tankbottoms.eth   !9       ERC-1155
                                                                                                                                                                  NFT: Painting in Excel



      ®      Oxl 82c8949ae2f6aedd ...   41 days 16 hrs ago         tankbonoms.eth      t.D              OUT   OxFf84dD ...F8BdOE76 t.D    ERC-721    ~ Munko #1322
                                                                                                                                                                  NFT: Munko


                                                                                                                                                                  I_ThinlUII_Be_Sad.xlsx
      ®      Ox56809c73e8f29e780...     41 days 18 hrs ago      Null: oxooo ... ooo   @                 IN     tankbottoms.eth   !9       ERC-1155
                                                                                                                                                                  NFT: Painting in Excel


                                                                                                                                                     ■ Distortion Ordinal Claim P...
      ®      Ox36f3c0301 d4a 58c15...   41 days 21 hrs ago      Distortion Genesis: De ...   £9         IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                                  NFT: Distortion Ordinal Cla ...



      ®      Oxc 1 af2150fc39533ae...   41 days 21 hrs ago      Distortion Genesis: De ...   [9         IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                         I        Distortion Ordinal Claim P...
                                                                                                                                                                  NFT: Distonion Ordinal Cla ...


                                                                                                                                                     ■ Distortion Ordinal Claim P...
      ®      Oxc1af2150fc39533ae...     41 days 21 hrs ago      Distortion Genesis: De ...   t.D        IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                                  NFT: Distonion Ordinal Cla ...


                                                                                                                                                                  m intbitch.eth
      ®      Ox0ad3b95a 577ba6b4 ...    41 days 22 hrs ago     0    ENS: ETH Registrar Co...       L□   IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                                  Ethereum Name Service 0


                                                                                                                                                                  Base, lntroduced#45393
      @      Oxb4d0a 1e289aaa2c4 ...    41 days 22 hrs ago      Null: Ox000 ...000 t.D                  IN     tankbonoms.eth    !9       ERC-721
                                                                                                                                                         ®        Base, Introduced   0

                                                                                                                                                                  NFT: Marvelous Meowies...
      @      Oxd3996 738c3ef70064 ..    42 days 9 hrs ago       Null: Ox000...000 t.D                   IN     tankbottoms.eth   £9       ERC-721        @)       NFT: Marvelous Meowies




                                                                                                                                                     ■
                                                                                                                                                                  Radial Social Club #15
      ®      Oxede753d121272728 ...     42 days 9 hrs ago       Null: OX000...000     [9                IN     tankbottoms.eth   !9       ERC-721
                                                                                                                                                                  NFT: Radial Social Club


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      @       Ox97d6334fec22e493e ...     42 days 15 hrs ago    Oxbab16d...c961 B499 L□        IN     tankbottoms.eth   1:9         ERC-721            @     NFTYearbook


                                                                                                                                                             White Rabbit Producer Pa ...
      @       Ox31 a5b7 0cfea32879a ...   42 days 15 hrs ago    ® Oxb05E9E...d40F4345     L□   IN     tankbottoms.eth   IP          ERC-I155
                                                                                                                                                             NFT: White Rabbit Produce...



                                                                ® Oxb05E9E...d40F4345 LC!                                                             ■ Distortion #1019
      @       Ox09el 571f63c3f55ad ...    42 days 15 hrs ago                                   IN     tankbottoms.eth   1:9         ERC-72I
                                                                                                                                                             Distortion


                                                                                                                                                             NFT: B&amp;amp;O DNA ..
      @       Ox09el 571 f63c3f55ad ...   42 days 15 hrs ago    0   Oxb05E9E...d40F4345 (9     IN     tankbottoms.eth   IP          ERC-721            @)    NFT: B&amp;amp;O DNA C...



      @       Ox09e1 571 f63c3f55ad ...   42 days 15 hrs ago    ® Oxb05E9E...d40F4345 LO       IN     tankbottoms.eth   1:9         ERC-721
                                                                                                                                                      fl     Cel Mates #74
                                                                                                                                                             Cel Mates



      @       Ox09e1571 f63c3f55ad ...    42 days 15 hrs ago    0   Oxb05E9E...d40F4345   Lo   IN     tankbottoms.eth   1:9         ERC-721           ■      Distortion #103
                                                                                                                                                             Distortion


                                                                                                                                                             Cel Mates#1270
      @       Ox09e1 571 f63c3f55ad ...   42 days 15 hrs ago    0   Oxb05E9E...d40F4345   LO   IN     tankbottoms.eth   IP          ERC-721            @     Cel Mates



      @       Ox09e1571 f63c3f55ad ...    42 days 15 hrs ago    ® Oxb05E9E...d40F4345 c9       IN     tankbottoms.eth   IP          ERC-721           ■      Distortion #485
                                                                                                                                                             Distortion


                                                                                                                                                             Level 14 at {24, 38)
      @       Ox09e1571 f63c3f55ad ...    42 days 15 hrs ago    0   Oxb05E9E...d40F4345 L□     IN     tankbottoms.eth   1:9         ERC-721
                                                                                                                                                             Terraforms 0


                                                                                                                                                             L Know_Too_Many_Peopl ...
      @       Ox8b084ebb65b49b88L         42 days 18 hrs ago    Nult Ox000...000 L□            IN     tankbottoms.eth   1:9         ERC-1 155
                                                                                                                                                             NFT: Painting in Excel


                                                                                                                                                             Gnar249
                                                                                   c9
                                                                                                                                                      ~
      @       Oxl f7b8a026b30849a8...     43 days 17 mins ago    tankbottoms.eth               OUT   Ox09E938 ... eA1188ea    LO    ERC-721
                                                                                                                                                             Skate or DAO 0



      @       Oxce141d3fd4d6203a0...      43 days 3 hrs ago      tankbottoms.eth   L□          OUT   Oxc70B35...17 fDeAd6 L□        ERC-721           ■      Roo#2936
                                                                                                                                                             NFT: RooTroop


      @       Ox44c72ebb25650d14 ...      43 days 16 hrs ago     tankbottoms.eth   c9          OUT   Oxb38526...90eF8a97 L□         ERc-1 155   x15   ■      Checks
                                                                                                                                                             NFT: Project X


                                                                                                                                                             Fell_ln_Love_With_Th e_Gi...
      @       Ox6144f6c2175c803ef...      43 days 16 hrs ago    Null: Ox000 ...000 L□          IN     tankbottoms.eth   1:9         ERC-1 155
                                                                                                                                                             NFT: Painting in Excel


                                                                                                                                                             Pepe Ape Yacht Club• #6...
      @       Ox37bacba85d6c7ce0 ...      43 days 17 hrs ago     tankbottoms.eth   c9          OUT   Ox8E07c8 ...DCBcbF7d     LO    ERC-721
                                                                                                                                                             NFT: Pepe Ape Yacht Club



      @       Oxd4eb9849ee4436c9 ...      43 days 17 hrs ago     tankbottoms.eth   LO          OUT   OxOFF165...887FB74b      Lo    ERC-17 55   xlO   ■      Checks
                                                                                                                                                             NFT: Project X

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      @      Oxl 48408c30f3b0dce7...         43 days 17 hrs ago     tankbottoms.eth      LO   OUT    cacahou.eth LO                  ERC-721     Cl.       Q+K#6588
                                                                                                                                                           Queens+KingsAvatars


                                                                                                                                                           Chromie Squiggle #8219
      @      Oxcd313bcc85ccb181 ..           43 days 18 hrs ago    Ox1Af0f3...96C4ea77 LO      IN        tankbonoms.eth    c9        ERC-721         I     An Blocks


      @      Ox7f2f987c60e5c9604 ...         44 days 15 hrs ago    Null: Ox000 ... 000 Lo      IN        tankbottoms.eth   c9        ERC-1 155
                                                                                                                                                 II        Here_for_the__Reunion.xlsx
                                                                                                                                                           NFT: Painting In Excel


                                                                                                                                                           NFT: Digital Paint#538
      @      Ox52914908fh333de70...          44 days 18 hrs ago    Null: Ox000 ... 000   @     IN        tankbottoms.eth   c9        ERC-721         @)    NFT: Digital Paint


                                                                                                                                                           NFT: Digital Paint#539
      @      Ox52914908fb333de70 ...         44 days 18 hrs ago    Null: Ox000 ... 000 [.O     IN        tankbottoms.eth   c9        ERC-721         r@)   NFT: Digital Paint


                                                                                                                                                 •         Roo#2935
      @      Oxe3ab921 Oa6c59d26...          45 days 1 hr ago       tankbottoms.eth      c9   IIUT   Ox5E15C1 ...E8978a =4      @    ERC-721
                                                                                                                                                           NFT: RooTroop


                                                                                                                                                           We_Used_To_Wait.xlsx
      @      Ox7bb850e26861 efb95 ...        45 days 18 hrs ago    Null: Ox000 ... 000 [.O     IN        tankbottoms.eth   c9        ERC-1 155
                                                                                                                                                           NFT: Painting in Excel



      @




      @
             Ox2el Oe2685c7a7e6c...




             Oxfb4d4aa58ba4712e6...
                                             46 days 1 hr ago




                                             46 days 1 5 hrs ago
                                                                   Null: Ox000 ... 000




                                                                   Null: Ox000 ...000 LO
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                                                                                                         tankbottoms.eth




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                                                                                                                           c9


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                                                                                                                                     ERC-1 755




                                                                                                                                     ERC-1155
                                                                                                                                                     •     Ornate Helm
                                                                                                                                                           NFT: Helms for Loot


                                                                                                                                                           Make_Me_Your_Queen.xlsx
                                                                                                                                                           NFT: Painting In Excel


                                                                                                                                                 •         Foaming 4-Qube
      @      Oxd l bbfafffel 2e6c2f1 f ...   47 days g hrs ago      tankbottoms.eth      LO   OUT    Oxc71974...D26F5Fed [.O         ERC-721
                                                                                                                                                           NFT: Oecoherence


      @      Ox9eb0c608d14b8d2e...           47 days 16 hrs ago    Ox1 E283B...de3D5A35 LD     IN        tankbottoms.eth   c9        ERC-1 155   ~         Overboiled
                                                                                                                                                           NFT: MonkiPlay


                                                                                                                                                           Keep3r Options #2237
      @      Oxb4af0d6e603cdc11 a ...        4 7 days 20 hrs ago    tankbottoms.eth      LO   OUT    Null: OxOOD.__000     [9        ERC-721         @)    NFT: Keep3r Options


      @      Ox00864a8a0ec 78a7 e...         47 days 22 hrs ago    Null: Ox000 ... 000 [.D     IN        tankbottoms.eth   c9        ERc-1 155
                                                                                                                                                 c         Ey8_oUh8_T ig8r.xlsx
                                                                                                                                                           NFT: Painting in Excel


                                                                                                                                                           NFT: City Lives: Alone. To...
      @      Oxfdl 04224a5043b3e6 ...        48 days 1 hr ago       tankbottoms.eth      c9   OUT    §    0Xb05E9E...d40F4345 [.O    ERC-721         r@)   NFT: City Lives: Alone, Tog...


                                                                                                                                                           T he Treachery of Images ..
      @      Oxd1db81 f127452cdc1 ...        48 days 1 hr ago       tankbottoms.eth      c9   OUT    §    Oxb05E9E...d40F4345 [.O    ERC-721     V         NFT: The Treachery of Ima...


                                                                                                                                                           NFT: Yu Cai Editions#4
      @      Oxf75833c843f463018...          48 days 1 hr ago       tankbottoms.eth      LO   OUT    §    Oxb05E9E...d40F4345 [.O    ERC-1 155       r@)   NFT: Yu Cai Editions

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      @      Ox87d7e2476b8c43bb...       48 days 10 hrs ago        tankbottoms.eth   La        OUl   Ox65861O ... AeEbf125 La         ERC-721           □         LAYERS #404
                                                                                                                                                                  NFT: Layers



      @      Oxt7677f03dff15bdb37...     48 days 10 hrs ago        tankbottoms.eth   La        OUT   Ox658610 ...AeEbf125 [!)         ERC-72I           D         LAYERS #403
                                                                                                                                                                  NFT: Layers


                                                                                                                                                                  Game Of L 1fe #41
      @      Oxc3108493a7e768f15...      48 days 13 hrs ago     Ox79624A...2f2CD367 La         lN        tankbottoms.eth   19         ERC-721            @)       NFT: Game Of ll fe


                                                                                                                                                                  NFT: The Shape Shift Seri...
      @      Ox97e49f834fdb80465 ...     48 days 13 hrs ago    service-provider.eth       c9   lN        tankbottoms.eth   19         ERC-1155    x5     r@)      NFT: The Shape Shift Series


                                                                                                                                                                  NFT: The Shape Shift Seri. ..
      @      Ox921606011190d362 ...      48 days 14 hrs ago     Null: Ox000 ... 000 c.a        IN        tankbottoms.eth   19         ERC-1 155   x10    @)       NFT: The Shape Shift Series


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      @      Ox8f71 b04ef834dc4aa ...    48 days 14 hrs ago     Null: Ox000 ... 000 [.O         IN       tankbottoms.eth   19         ERC-1 155   x3     r@)      NFT: Painting in Excel


                                                                                                                                                                  NFT: Yu Cai Editions#4
      @      Oxbe81 e8292aabccdb...      48 days 23 hrs ago     Null: Ox000 ... 000 [!)        IN        tankbottoms.eth   19         ERC-1 755          r@)      NFT: Yu Cai Editions



                                                               0                                                                                        ■         Foaming 4-Qube
      @      Ox69d5ce49363f6ef0b ...     49 days 18 hrs ago         Oxb05E9E...d40F4345 La     IN        tankbottoms.eth   19         ERC-721
                                                                                                                                                                  NFT: Decoherence


                                                                                                                                                                  Whiskers' Progeny No. 00 ...
      @      Ox70504e1281 bcOa 7f3...    49 days 19 hrs ago     Null: Ox000... 000 La          IN        tankbottoms.eth   c9         ERC-721
                                                                                                                                                        iP.\      NFT: Meows(DAO) Genes!...


      @      Ox541904abe6ca88ac ...      49 days 19 hrs ago     Null: Ox000 ...000 c.a
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                                                                                                                                                                  Whiskers' Progeny No. 00 ...
                                                                                                                                                                  NFT: Meows(DAO) Genesi...


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      @      Oxe111 f48baa7505591 ..     49 days 21 hrs ago        tankbottoms.eth   La        OUT   0    Oxb05E9E.. ..d40F4345 La    ERC-I 155
                                                                                                                                                                  OpenSea Shared Storefront 0


                                                                                                                                                        ■ Saint in the Blue Desert
      @      Oxel 11 f48baa7505591 ...   49 days 21 hrs ago        tankbottoms.eth   (9        OUT   0    Oxb05E9E...d40F4345 [.D     ERc-1 155
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                                                                                                                                                                  NFT: Neko Darumas#422
      @      Oxe111 f48baa7505591 ...    49 days 21 hrs ago        tankbonoms.eth    c9        OUT   0    0Xb05E9E...d40F4345 [.O     ERC-721            @)       NFT: Neko Darumas


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      @      Oxel 11 f48baa7505591 ...   49 days 21 hrs ago        tankbottoms.eth   LO        OUT   0    Oxb05E9E...d40F4345 [.O     ERC-721              .::    Superlative Mutant Ape#...
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                                                                                                                                             Bobu, the Bean Farmer 0


                                                                                                                                                      Poorly Drawn Checks
      @      Oxe111 f48baa7505591 ..     49 days 21 hrs ago     tankbonoms.eth   L□   OUl    0    Oxb05E9E... d40F4345 L□    ERC-1155
                                                                                                                                                      NFT: Poorly Drawn Checks


                                                                                                                                                      BLU3PRINTS #32
      @      Oxel 11 f48baa7505591 ..    49 days 21 hrs ago     tankbonoms.eth   LO   QUT    0    Oxb05E9E...d40F4345 Lo     ERC-721
                                                                                                                                                      NFT: BLU3PRINTS



      @      Oxel 11 f48baa7505591 ...   49 days 21 hrs ago     tankbonoms.eth   @    1IUT   ® Oxb05E9E...d40F4345    L□     ERC-721
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                                                                                                                                                      JPG People0


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      ©      Oxe111 f48baa7505591 ...    49 days 21 hrs ago     tankbonoms.eth   @    OUT    @ Oxb05E9E...d40F4345    (.0    ERC-721         r@)      NFT: Tiles



      ©      Oxe111 f48baa7505591 ...    49 days 21 hrs ago     tankbonoms.eth   @    OUT    @ Oxb05E9E...d40F4345 [.O       ERC-1 155
                                                                                                                                         I?           Super Nyan Balloon
                                                                                                                                                      Nyan Balloon 0


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      @      Oxe111 f48baa7505591 ...    49 days 21 hrs ago     tankbonoms.eth   @    9UT    ® Oxb05E9E...d40F4345    [.O    ERC-1 155
                                                                                                                                              ' ..: OpenSea Shared Storefront 0


                                                                                                                                                      Avastar #13882
      @      Oxe111 f48baa7505591 ..     49 days 21 hrs ago     tankbonoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 La     ERC-721
                                                                                                                                             0        AVASTAR Token 0

                                                                                                                                             ...,     27 TABASCHOE
      @      Oxe111 f48baa7505591 ..     49 days 21 hrs ago     tankbonoms.eth   L□          0    Oxb05E9E.. d40F4345 L□     ERC-1 155
                                                                                      OUT
                                                                                                                                              4       OpenSea Shared Storefront 0


                                                                                                                                                      Obits#5885
      @      Ox28a4006b09a20fa2L         49 days 22 hrs ago     tankbonoms.eth   LO   OUT    hotpig.eth La                   ERC-721         @)       Obits


                                                                                                                                                      §lky §ql!.l.nre
      @      Ox1de38618f62234805...      50 days 14 hrs ago     tankbonoms.eth   @    OUT    0    Oxb05E9E...d40F4345 L□     ERC-721
                                                                                                                                                      NFT: City Lives: Alone, Tog ...


                                                                                                                                                      OKPC#5612
      @      Ox163a2c34b366d9efc_..      50 days 14 hrs ago     tankbonoms.eth   L□   OU1    ® Oxb05E9E...d40F4345    Lo     ERC-721         r@)      OKPC


                                                                                                                                                      Turf Plot [-33, -14]
      ©      Oxl 63a2c34b366d9efc...     50 days 14 hrs ago     tankbonoms.eth   @    OUT    ~ Oxb05E9E...d40F4345 [.D       ERc-727
                                                                                                                                             ......
                                                                                                                                             La
                                                                                                                                                      Turf


                                                                                                                                                      Nyan Balloon #4
      ©      Ox163a2c34b366d9efc...      50 days 14 hrs ago     tankbonoms.eth   c9   OUT    ® 0Xb05E9E...d40F4345    (.0    ERC-1 155       r@)      Nyan Balloon 0


                                                                                                                                         •            Squares and Triangles #76
      ©      Oxl 63a2c34b366d9efc ...    50 days 14 hrs ago     tankbonoms.eth   c9   OUT    0    Oxb05E9E...d40F4345 (.0    ERC-721
                                                                                                                                                      Art Blocks 0


      @      Ox163a2c34b366d9efc...      50 days 14 hrs ago     tankbonoms.eth   L□   OUT    0    Oxb05E9E...d40F4345 [.O    ERC-721     m            Click#484
                                                                                                                                                      Art Blocks 0

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                                                                                                                                                  Purple Nyan Balloon
       @       Oxl 63a2c34b366d9efc...   50 days 14 hrs ago       tankbonoms.eth    LO   OUT   0    Oxb05E9E...d40F4345 Lo    ERC-1 155
                                                                                                                                            t,    Nyan Balloon 0


                                                                                                                                                  NFT: CONSPIRACY Believ...
       @       Oxl 63a2c34b366d9efc...   50 days 14 hrs ago       tankbonoms.eth    LO   OUl   0    Oxb05E9E...d40F4345 LO    ERC-721      @)     NFT: CONSPIRACY Believi...



       @       Oxl 63a2c34b366d9efc..    50 days 14 hrs ago       tankbonoms.eth    LO   QUT   @ Oxb05E9L.d40F4345 Lo         ERC-1 155
                                                                                                                                          R       Super Nyan Balloon
                                                                                                                                                  Nyan Balloon 0


                                                                                                                                                  mannys.game#905
       @       Oxl 63a2c34b366d9efc...   50 days 14 hrs ago       tankbonoms.eth    @    OUT   ® Oxb05E9E...d40F4345   LO     ERC-721      @)     mannys.game


                                                                                                                                                  Bored Ape by Wassily Ka ...
       @       Oxl 63a2c34b366d9efc...   50 days 14 hrs ago       tankbottoms.eth   @    OUT   ® Oxb05E9E...d40F4345   (.0    ERC-1155
                                                                                                                                          :t      OpenSea Shared storefront 0



       @       Oxl 63a2c34b366d9efc...   50 days 14 hrs ago       tankbottoms.eth   @    WT    ® Oxb05E9E...d40F4345   [.O    ERC-721
                                                                                                                                          ■       Beauty in the Hurting #352
                                                                                                                                                  An Blocks 0


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       @
               Oxl 63a2c34b366d9efc...



               Ox7d2c629da01 a788c ...
                                         50 days 14 hrs ago



                                         50 days 14 hrs ago
                                                                  tankbottoms.eth



                                                                  tankbottoms.eth
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                                                                                               ® Oxb05E9E...d40F4345


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                                                                                                    Oxb05E9E...d40F4345 Lo
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                                                                                                                                                  Nyan Balloon
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                                                                                                                                             ■ Organized Entertainment
      @        Ox7d2c629da01 a78Bc...        50 days 14 hrs ago    tankbottoms.eth   c9    OUT    0    Oxb05E9E...d40F4345 [9     ERC-1155
                                                                                                                                                                Air Mail by Vinnie Hager


                                                                                                                                                                NFT#3
      @        Ox7d2c629da01 a78Bc...        50 days 14 hrs ago    tankbottoms.eth   LD    Ol/T   0    Oxb05E9E...d40F4345 [9     ERC-1155       (@)            NFT


      @        Ox7d2c629da01 a78Bc...        50 days 14 hrs ago    tankbottoms.eth   c9    ou-r   0    Oxb05E9E...d40F4345 L□     ERC-1155   R                  Super Nyan Balloon
                                                                                                                                                                Nyan Balloon 0


      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   L□    OUl    0    Oxb05E9E...d40F4345 L□     ERC-1155
                                                                                                                                             II                 Maneki Neko's World
                                                                                                                                                                NFT


                                                                                                                                                                Leisurist #225
      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbonoms.eth    L□    OUT    E) Oxb05E9E...d40F4345   L□     ERC-721
                                                                                                                                                                NFT: Grand Leisure


                                                                                                                                             •                  Sector Alpha · Industrial ...
      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   c9    OUl    ® Oxb05E9E...d40F4345    L□     ERC-1155
                                                                                                                                                                NFT: lsayevArt


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      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   LD    OUl    ® Oxb05E9E...d40F4345 LO        ERC-721        @              Bleeps




                                                                                                                                                 ..
                                                                                                                                                                NFT#2
      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   t,O   OUl    ® Oxb05E9E...d40F4345 c9        ERC-1155       @              NFT


                                                                                                                                                                lsodream #161
      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   [.O   OUl    E) Oxb05E9E...d40F4345 [9       ERC-721
                                                                                                                                                                Art Blocks 0

                                                                                                                                             ~•11;>,'.' ,   ~
                                                                                                                                                                Mind The Gap #97
      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   t.D   OUl    0    Oxb05E9E...d40F4345 [9     ERC-721    rl:~·,:;
                                                                                                                                             i~.~·~ NFT: Mind the Gap by Mou...

      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   LD    OUl    0    Oxb05E9E...d40F4345 L□     ERC-1155   B                  Socket #186
                                                                                                                                                                OpenSea Shared Storefront 0


      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbottoms.eth   c9    OUT    0    Oxb05E9E...d40F4345 [.D    ERC-721    g~                 Talking Heads #154
                                                                                                                                                                NFT: Talking Heads


      @        Oxe0cf4227ad6327824...        50 days 15 hrs ago    tankbonoms.eth    L□    OUl    E) Oxb05E9E...d40F4345 [9       ERC-1155                      Tangled Up In Blue
                                                                                                                                                                    PLAINTIFF0001177
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      ®      OxeOcf4227ad6327824...       SO days 1S hrs ago      tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 @     ERC-721
                                                                                                                                              ~~~    An Blocks 0


                                                                                                                                                     ORGAN 0#4
      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 LO    ERC-721        @      Bleeps


                                                                                                                                                     #1
      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 LO    ERC-1155       @      interface panicles


                                                                                                                                                     NFT: QUOTE CITY FND#13
      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbonoms.eth    LO   Olll   0    OxbOSE9E...d40F4345 @     ERC-721        @      NFT: QUOTE CITY FND


                                                                                                                                                     Grand Leisure #160
      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 @     ERC-721        @      NFT: Grand Leisure


                                                                                                                                                     White Rabbit Producer Pa ...
      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbonoms.eth    LO   0.UT   0    Oxb05E9E...d40F4345 La    ERC-1155
                                                                                                                                                     NFT: White Rabbit Produce...


      ®      Oxe0cf4227ad6327824...       50 days 15 hrs ago      tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 La    ERC-721    ■ NFT: ABSOLUTELY DO N...
                                                                                                                                                     NFT: ABSOLUTELY DO NO...


                                                                                                                                                     Sunrise Rose
      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 @     ERC-1155
                                                                                                                                                     NFT


                                                                                                                                                     Two Mathematicians #81
      ®      Oxe0cf4227ad6327824...       SO days 15 hrs ago      tankbottoms.eth   @    OUT    0    OxbOSE9E...d40F4345 LO    ERC-721
                                                                                                                                                     An Blocks0


      ®      Oxe0cf4227ad6327824...       SO days 1S hrs ago      tankbottoms.eth   @    OUT    0    Oxb05E9E...d40F4345 @     ERC-721              1 Organized Disrupt ion #156
                                                                                                                                                      An Blocks0


      ®      Oxf9e4cc9635461 ad94...      SO days 1S hrs ago    Ox9d1083...6913Db62 LD    IN        tankbonoms.eth   LD        ERC-721
                                                                                                                                          ··,~·>i•,1,
                                                                                                                                             •t~.- J.; Mind The Gap #97
                                                                                                                                          tc,,-.;:-·~ NFT: Mind the Gap by Mou...


      ®      Ox42a767b0182bc5b6...        51 days 11 hrs ago      tankbottoms.eth   LO   OUT    Ox5606B4...92515A3E cD         ERC-721
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      @      Ox42a767b01B2bc5b6...        51 days 11 hrs ago      tankbottoms.eth   LD   Olll   Ox5606B4...92515A3E cD         ERC-721        @      UINoun


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      @      Ox42a767b0182bc5b6 ...       51 days 11 hrs ago      tankbottoms.eth   @    Olll   Ox560684...92515A3E La         ERC-721
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             Ox42a767b01B2bc5b6...        51 days 11 hrs ago      tankbottoms.eth   LO          Ox560684 92515A3E (P
      ®                                                                                  OUT                                   ERC-721
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      @      Ox42a767b0182bc5b6 ...     51 days 11 hrs ago     tankbonoms.eth    La    OUT    Ox5606B4 ... 92515A3E La           ERC-721
                                                                                                                                                     UINoun


                                                                                                                                                     Blue Nyan Balloon
      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbottoms.eth   r9    OUT    0    Oxb05E9E...d40F4345 Lo        ERC-1155
                                                                                                                                              ~      Nyan Balloon 0



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             Oxbbd89a0eff83ddb58 ...




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                                                               tankbonoms.eth



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                                                                                                                                             •       Pur ple Nyan Balloon
                                                                                                                                                     Nyan Balloon 0


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                                                                                                                                                   ,/ NFT: &#120123;&#120163...


                                                                                                                                                     NFT: Nyan Pepe#4
      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   c9    OUT    0    Oxb05E9E...d40F4345    (9     ERC-1155    @       NFT: Nyan Pepe



      @      Oxbbd89a0e ff83ddb58 ...   51 days 12 hrs ago     tankbottoms.eth   [.O   OUl    ® Oxb05E9E...d40F43 45      (9     ERC-721
                                                                                                                                            li3      Apt #18 · Floor #51 · Tow ...
                                                                                                                                                     EthereumTowers 0


                                                                                                                                                     NFT: MOTLEY LAND#1
      @      Oxbbd89aOeff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   LO    OUT    ® Oxb05E9E...d40F4345       (9     ERC-721     @       NFT: MOTLEY LAND


                                                                                                                                                     Orange Nyan Balloon
      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbonoms.eth    c.O   OUT    0    Oxb05E9E...d40F4345    r9     ERC-1155
                                                                                                                                              ~      Nyan Balloon 0


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      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   La    Olil   0    Oxb05E9E...d40F4345 LD        ERC-1155    @       NFT


      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbonoms.eth    r9    OUT    0    Oxb05E9E...d40F4345 LD        ERC-1155
                                                                                                                                            m        Vaporwave Nyan Pepe
                                                                                                                                                     NFT: Nyan Pepe


      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   r9    OUT    0    Oxb05E9E...d40F4345 LO        ERC-721    ■        Redemption Token #759
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      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbonoms.eth    r9    OUT    E) Oxb05E9E...d40F4345 Lo          ERC-1155
                                                                                                                                             @       NFT: Nyan Pepe


                                                                                                                                                     NFT: MOTLEY LAND#2
      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   r9    OUT    0    Oxb05E9E... d40F4345   r9     ERC-721     @       NFT: MOTLEY LAND


                                                                                                                                                     Nyan Balloon#4
      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   c9    OUT    ® Oxb05E9E...d40F4345       (9     ERC-1155    @       Nyan Balloon 0


      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbottoms.eth   [.O   OUT    ® Oxb05E9E...d40F43 45      [.O    ERC-1155
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                                                                                                                                                     Nyan Balloon 0



      @      Oxbbd89a0eff83ddb58 ...    51 days 12 hrs ago     tankbonoms.eth    LO    OUT    ® Oxb05E9E...d40F4345       LO     ERC-721
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      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbottoms.eth   La   OUT    0    Oxb05E9E...d40F4345 L□      ERC-1155       @   Nyan Balloon 0


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      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbottoms.eth   r9   Ol/T   0    Oxb05E9E...d40F4345 L□      ERC-721
                                                                                                                                                 NFT: &#120123;&#120163...


                                                                                                                                                 NFT: Nyan Pepe#3
      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbottoms.eth   La   OUT    0    Oxb05E9E...d40F4345 L□      ERC-1155       @   NFT: Nyan Pepe


                                                                                                                                                 NFT: Caf&#233; 11 #460
      @      Oxbbd89a0eff83ddb58...     51 days 12 hrs ago     tankbottoms.eth   r9   OUT    0    Oxb05E9E...d40F4345 L□      ERC-721        @   NFT: Caf&#233; 11


                                                                                                                                                 Cel Mates#l 270
      @      Ox401 cc4242fa 1d29bf...   51 days 12 hrs ago     tankbottoms.eth   (9   OUT    0    Oxb05E9E...d40F4345 (9      ERC-721        @   Cel Mates


                                                                                                                                                 Peace No. 6
      @      Ox401 cc4242fa1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   L□   OUl    0    Oxb05E9E...d40F4345 (9      ERC-721
                                                                                                                                                 NFT: Peace DAO Movement


      @      Ox401 cc4242fa 1d29bf...   51 days 12 hrs ago     tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 (9      ERC-1155   ■ Killer Acid Infected My Le...
                                                                                                                                                 NFT


                                                                                                                                         •       Friendship Bracelets #10 ...
      @      Ox401 cc4242fa 1d29bf...   51 days 12 hrs ago     tankbottoms.eth   L□   0Ul    0    Oxb05E9E...d40F4345   r9    ERC-721
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      @      Ox401 cc4242fa 1d29bf. .   51 days 12 hrs ago     tankbottoms.eth   La   Ol/T   0    Oxb05E9E...d40F4345 L□      ERC-721    ■       Distortion #1019
                                                                                                                                                 Dlstonion


                                                                                                                                                 Cel Mates#1291
      @      Ox401 cc4242fa 1d29bf...   51 days 12 hrs ago     tankbottoms.eth   r9   OUT    0    Oxb05E9E...d40F4345 L□      ERC-721        @   Cel Mates


      @      Ox401 cc4242fa1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   r9   Ol/T   0    Oxb05E9E...d40F4345 L□      ERC-721    ■       Foaming 4-Qube
                                                                                                                                                 NFT: Decoherence


                                                                                                                                                 Catharsis by Dario Lanza...
      @      Ox401 cc4242fa1d29bf...    51 days 12 hrs ago     tankbottoms.eth   r9   OUl    0    Oxb05E9E...d40F4345 L□      ERC-721        @   Catharsis by Dario Lanza


                                                                                                                                                 Galaktic Guy #2958
      @      Ox401 cc4242fa 1d29bf...   51 days 12 hrs ago     tankbottoms.eth   r9   OUT    e) Oxb05E9E...d40F4345     r9    ERC-721
                                                                                                                                                 Galaktic Gang 0


      @      Ox401 cc4242fa1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   (9   OUT    0    OxbOSE9E...d40F4345 (9      ERC-721    ■ Distortion #103
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                                                                                                                                                 Two Mathematicians #80
      @      Ox401 cc4242fa1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   LO   OUT    0    OxbOSE9E...d40F4345 LO      ERC-721
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                                                                                                                                                 NFT: Yu Cai Editions#3
      @      Ox401 cc4242fa1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 Lo      ERC-1155       @   NFT: Yu Cai Editions

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      @      Ox401 cc4242fa1 d29bf...    51 days 12 hrs ago     tankbottoms.eth   La    OUT   0    Oxb05E9E ...d40F4345   LD     ERC-721
                                                                                                                                                            NFT: Balagan by Sapir Coh...


                                                                                                                                                            Carpet Matches the Drapes
      @      Ox401 cc4242fa 1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   r9    OUT   0    Oxb05E9E...d40F4345    Lo     ERC-721
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      @      Ox401 cc4242fa 1 d29bf..    51 days 12 hrs ago     tankbonoms.eth    LO    OUT   0    Oxb05E9E ...d40F4345   LD     ERC-721
                                                                                                                                                @)          NFT: Apollo by Asaf Slook


                                                                                                                                            •               CAR//0749
      @      Ox401 cc4242fa 1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   r9    OUT   0    Oxb05E9E...d40F4345    LO     ERC-721
                                                                                                                                                            NFT


                                                                                                                                                            NFT: Peace DAO Moveme...
      @      Ox401 cc4242fa 1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   (9    OUT   0    Oxb05E9E... d40F4345   c_O    ERC-721        @           NFT: Peace DAO Movement


                                                                                                                                                            Dead Ringers: Edition
      @      Ox401 cc4242fa1 d29bf...    51 days 12 hrs ago     tankbottoms.eth   c.O   OUl   0    Oxb05E9E...d40F4345    (9     ERC-1155       @           NFT


                                                                                                                                                            Friendship Bracelets #10 ...
      @      Ox401 cc4242fa1 d29bf...    51 days 12 hrs ago     tankbottoms.eth   LO    OUT   0    Oxb05E9E...d40F4345    (9     ERC-721
                                                                                                                                                            Art Blocks Explorations 0


                                                                                                                                            •               Distortion #485
      @      Ox401 cc4242fa 1 d29bf...   51 days 12 hrs ago     tankbottoms.eth   c_O   0Ul   0    Oxb05E9E...d40F4345    r9     ERC-721
                                                                                                                                                            Distortion



                                                                                                                                                ~
                                                                                                                                                            Cel Mates #3127
      @      Oxc0e19238dd19cab1 ...      51 days 13 hrs ago     tankbottoms.eth   La    OUT   0    Oxb05E9E...d40F4345    LD     ERC-721
                                                                                                                                                            Cel Mates


                                                                                                                                                            Sweet sixteen
      @      Oxc0e19238dd19cab1..        51 days 13 hrs ago     tankbottoms.eth   r9    OUT   0    Oxb05E9E...d40F4345    LD     ERC-721
                                                                                                                                                            NFT: ACID DROPS &111281...


                                                                                                                                                            Framergence#3892184022
      @      Oxc0e1923Bdd19cab1 ...      51 days 13 hrs ago     tankbottoms.eth   r9    OUT   0    Oxb05E9E...d40F4345    LO     ERC-721        @)          Framergence


                                                                                                                                                            Balagan # 113
      @      Oxc0e19238dd19cab1 ...      51 days 13 hrs ago     tankbottoms.eth   r9    OUl   0    Oxb05E9E ...d40F4345   Lo     ERC-721        '   "       NFT: Balagan by Sapir Coh...


                                                                                                                                            ~ Translucent Girl
      @      Oxc0e1923Bdd19cab1 ...      51 days 13 hrs ago     tankbottoms.eth   (9    OUT   e) Oxb05E9E... d40F4345 (9         ERC-721
                                                                                                                                                            BrainDrops 0


                                                                                                                                                            Koripo #200
      @      Oxc0e19238dd19cab1 ...      51 days 13 hrs ago     tankbottoms.eth   (9    OUT   0    Oxb05E9E...d40F4345    (9     ERC-721
                                                                                                                                                            Koripo by Rich Poole


      @      Oxc0e1923Bdd19cab1 ...      51 days 13 hrs ago     tankbottoms.eth   c.O   OUT   0    Oxb05E9E...d40F4345    c_O    ERC-721              ..,
                                                                                                                                                    : • Balagan #521
                                                                                                                                                • '• NFT: Balagan by Sapir Coh...


                                                                                                                                                            Plasticity #129
      @      Oxc0e1923Bdd19cabl ...      51 days 13 hrs ago     tankbottoms.eth   LO    OUT   0    Oxb05E9E...d40F4345    (9     ERC-721
                                                                                                                                                            Plasticity by p4stoboy

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                                                                                                                                                         Balagan #450
      @      Oxc0e19238dd19cab1 ..        51 days 13 hrs ago      tankbottoms.eth   La   OUT    0    Oxb05E9E...d40F4345 LD      ERC-721    I
                                                                                                                                                ._    ~
                                                                                                                                            '   ....- - NFT: Balagan by Sapir Coh...

      @      Oxc0e1923Bdd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   r9   Ol/T   0    Oxb05E9E...d40F4345 Lo      ERC-721
                                                                                                                                                I        Level 11 at {7, 7)
                                                                                                                                                         Terraforms 0


      @      Oxc0e1923Bdd19cab1 ..        51 days 13 hrs ago      tankbottoms.eth   La   OUT    0    Oxb05E9E...d40F4345 LD      ERC-721    ■ NFT: ABSOLUTELY DO N...
                                                                                                                                                         NFT: ABSOLUTELY DO NO...



                                                                                                                                                ~~
                                                                                                                                                         Level 14 at {31, 39)
      @      Oxc0e1923Bdd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   r9   OUT    0    Oxb05E9E...d40F4345 LO      ERC-721
                                                                                                                                                         Terraforms 0


      @      Oxc0e1923Bdd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   (9   OUT    0    Oxb05E9E...d40F4345 (9      ERC-721    II           PartyDegenerates#7468
                                                                                                                                                         PartyDegenerates


                                                                                                                                                         Level 14 at {11, 18)
      @      Oxc0e19238dd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   LO   OUl    0    Oxb05E9E...d40F4345 (9      ERC-721
                                                                                                                                                         Terraforms 0


                                                                                                                                                         Level 14 at {24, 38)
      @      Oxc0e1923Bdd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 LO      ERC-721
                                                                                                                                                         Terraforms 0


      @      Oxc0e1923Bdd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345   r9    ERC-721    ~r;.         Mind The Gap #787
                                                                                                                                            :.::_w       NFT: Mind the Gap by Mou...


                                                                                                                                                         Balagan #396
      @      OxcOe19238dd 19cab1...       51 days 13 hrs ago      tankbottoms.eth   La   Ol/T   0    Oxb05E9E...d40F4345 LD      ERC-721
                                                                                                                                                         NFT: Balagan by Sapir Coh...


      @      Oxc0e1923Bdd19cabl ..        51 days 13 hrs ago      tankbottoms.eth   r9   OUT    0    Oxb05E9E...d40F4345 LD      ERC-721
                                                                                                                                            I            Level 11 at {11, 23)
                                                                                                                                                         Terraforms 0


      @      Oxc0e1923Bdd19cab1 ...       51 days 13 hrs ago      tankbottoms.eth   r9   Ol/T   0    Oxb05E9E...d40F4345 LO      ERC-721    B            Cel Mates #74
                                                                                                                                                         Cel Mates


             Ox2125688758cbaf3ac...       51 days 13 hrs ago      tankbottoms.eth   r9          0    Oxb05E9E...d40F4345 Lo      ERC-1155   ~~.r.~ Community Puzzle
      @                                                                                  Ol/T
                                                                                                                                            t"'""'
                                                                                                                                              •.:;;_?~Air Mail by Vinnie Hager

      @      Ox2125688758cbaf3ac...       51 days 13 hrs ago      tankbottoms.eth   (9   OUT    e) Oxb05E9E...d40F4345 (9        ERC-1155   ~ GASWARS
                                                                                                                                            ~ - • NFT: JORDIGANDUL.1155


                                                                                                                                                         NFT#3
      @      Ox212568B758cbaf3ac...       51 days 13 hrs ago      tankbottoms.eth   (9   OUT    0    OxbOSE9E...d40F4345 (9      ERC-1155       @        NFT


                                                                                                                                                         Where Are You?
      @      Ox2125688758cbaf3ac...       51 days 13 hrs ago      tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 LO      ERC-1155
                                                                                                                                                         Streets by esraeslen


                                                                                                                                                         NFT#1
      @      Ox2125688758cbaf3ac...       51 days 13 hrs ago      tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 LO      ERC-1155       @        NFT

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      @      0x2125688758cbaf3ac...      51 days 13 hrs ago      tankbottoms.eth   L□   Ol/T   0    0xb05E9E...d40F4345 L□     ERC-1155
                                                                                                                                               II          Glitch Nyan Cat
                                                                                                                                                           Nyan Cat 0


                                                                                                                                                           NFT: Yu Cai Editions#3
      @      0x2125688758c baf3ac...     51 days 13 hrs ago      tankbottoms.eth   LO   OUT    0    0xb05E9E ...d40F4345 (9    ERC-1155
                                                                                                                                                   @       NFT: Yu Cai Editions


                                                                                                                                               •           Organized Entertainment
      @      0x2125688758cbaf3ac...      51 days 13 hrs ago      tankbottoms.eth   (9   OUT    E) 0xb05E9E...d40F4345 Lo       ERC-1155
                                                                                                                                                           Air Mail by Vinnie Hager


                                                                                                                                                           Get Rich or Die Tying
      @      0x2125688758cbaf3ac...      51 days 13 hrs ago      tankbottoms.eth   (9   OUT    0    0xb05E9E... d40F4345 LO    ERC-1155            @       NFT



      @      0x56598caab5f5790ca...      51 days 13 hrs ago     Null: 0x000... 000 (9   IN         tankbottoms.eth   LO        ERC-1155   x3   ~           Nipples
                                                                                                                                                           NFT


                                                                                                                                                   ~       Meow
                                                                                                                                               ~ NFT: Kindle
      @      0x88c54710343be543 ...      51 days 13 hrs ago     Null: 0x000... 000 LD   IN         tankbottoms.eth   [.O       ERC-721




      @      0x88c54710343be543 ...      51 days 13 hrs ago     Null: 0x000... 000 (9   IN         tankbottoms.eth   (9        ERC-721         ~           Meow
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       @       Ox88c54710343be543 ..,       51 days 13 hrs ago   Null: OxOOO. .000 LO    IN         tankbottoms.eth   (9        ERC-721   ~ Meow
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       @       Ox88c54710343be543 ...       51 days 13 hrs ago   Null: Ox000...000 Lo    IN         tankbottoms.eth   [.,D      ERC-721
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       @       Ox683bc055c3a92e9d ...       51 days 14 hrs ago   Null: Ox000...000 (9    IN         tankbottoms.eth             ERC-721
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                                                                                                                                                     Reptile Armoury #632
       @       Oxd7b94e5dfl 1f55399 ...     51 days 19 hrs ago    tankbottoms.eth   L□   OUl    0    Oxb05E9E...d40F4345 (9     ERC-721
                                                                                                                                                     Reptile Armoury


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       @       Oxd7b94e5df11 f55399 ...     51 days 19 hrs ago    tankbottoms.eth   LO   our    [B Oxb05E9E...d40F4345 Lo       ERC-721
                                                                                                                                                     Reptile Armoury


                                                                                                                                                     Reptile Armoury #631
       @       Oxd7b94e5dfl 1f55399 ...     51 days 19 hrs ago    tankbottoms.eth   LO   OUT    [B Oxb05E9E...d40F4345 (9       ERC-721
                                                                                                                                                     Reptile Armoury


                                                                                                                                          ~ Creepz Shapeshifters #85...
       @       Oxd7b94e5dfl 1f55399 ...     51 days 19 hrs ago    tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 LO     ERC-721
                                                                                                                                                     Creepz Shapeshifters


                                                                                                                                                     Cold Blooded Creepz #33...
       @       Oxd7b94e5dfl 1f55399 ...     51 days 19 hrs ago    tankbottoms.eth   LO   OUT    [B Oxb05E9E...d40F4345 LO       ERC-721
                                                                                                                                            ;
                                                                                                                                                . t Cold Blooded Creepz 0


                                                                                                                                                ~    Mega Shapeshifterz #2893
       @       Oxd7b94e5df11 f55399 ...     51 days 19 hrs ago    tankbottoms.eth   LO   OUT    [B Oxb05E9E...d40F4345 (9       ERC-721
                                                                                                                                                     NFT: MegaShapeShifterz


                                                                                                                                                     Reptile Armoury #633
       @       Oxd7b94e5dfl 1f55399 ...     51 days 19 hrs ago    tankbottoms.eth   LO   OUT    0    Oxb05E9E...d40F4345 (9     ERC-721
                                                                                                                                                     Reptile Armoury


       @       OxdOd 1c4550d1 d79b2f...     51 days 20 hrs ago    tankbottoms.eth   cP   Ol/T   0    Oxb05E9E...d40F4345 LO     ERC-721
                                                                                                                                          o.:: o.    Mint Pass #175
                                                                                                                                          L.      o' QQL Mint Pass 0
                                                                                                                                                     lconicNFT #439
       @       OxdOd 1c4550d1d79b2f...      51 days 20 hrs ago    tankbottoms.eth   L□   OUT    0    Oxb05E9E...d40F4345 Lo     ERC-721    r@)       JconicNFT


       @       OxdOd 1c4550d1 d79b2f...     51 days 20 hrs ago    tankbottoms.eth   LO   OUT    0    Oxb05E9E ...d40F4345 LO    ERC-721              Mint Pass #988
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      ®      OxdOd lc4550dl d79b2f...    51 days 20 hrs ago     tankbottoms.eth   [.D    C>UT   0    Oxb05E9E...d40F4345 [.D      ERC-721          @)      NFT: B&amp;amp;O DNA C...



      ®      Oxel f20ca2c4dblc0fd...     51 days 23 hrs ago     tankbottoms.eth   [.D    OUT    0    Oxb05E9E...d40F4345 [.O      ERC-721      ■           Page#3C.54
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      ®      Oxel f20ca2c4db1c0fd ...    51 days 23 hrs ago     tankbottoms.eth   [.O    OUT    0    Oxb05E9E...d40F4345    @     ERC- 11 55
                                                                                                                                                   @)      Nyan Balloon 0



      ®      Oxe1 f20ca2c4dblc0fd ...    51 days 23 hrs ago     tankbottoms.eth   [.O    OUT    0    Oxb05E9E...d40F4345 [.O      ERC-721      ■           Man Machine
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      ®                                                                                  OUT
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                                                                                                                                                           Nyan Balloon#4
      ®      Oxel f20ca2c4dblc0fd ...    51 days 23 hrs ago     tankbottoms.eth   [.O    OUT    0    Oxb05E9E ...d40F4345 [.O     ERC-11 55        @)      Nyan Balloon 0


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      ®      Oxel f20ca2c4db1c0fd ...    51 days 23 hrs ago     tankbottoms.eth   c._D   OUT    [El Oxb05E9E...d40F4345     cP    ERC-721
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      @      Oxel f20ca2c4db1c0fd ...    51 days 23 hrs ago     tankbottoms.eth   c._O   OIJl   0    Oxb05E9E...d40F4345 [.O      ERC-11 55
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                                                                                                                                                           Nyan Balloon 0


                                                                                                                                               ~ GASWARS
      ®      Oxe1 f20ca2c4db1c0fd ...    51 days 23 hrs ago     tankbottoms.eth   [.O    OUT    0    Oxb05E9E...d40F4345 [.O      ERC-11 55
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                                                                                                                                                   @)
                                                                                                                                                         Orange Nyan Balloon
                                                                                                                                                         Nyan Balloon 0


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       @      Oxe1 f20ca2c4dblc0fd..•    51 days 23 hrs ago      tankbonoms.eth    (!)    QUT    0    Oxb05E9E...d40F4345 Lo      ERC-11 55
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                                                                                                                                                         Lovely Nyan Cat
       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbonoms.eth    LO     OUT    0    Oxb05E9E...d40F4345 (!)     ERC-11 55
                                                                                                                                                         Nyan cat 0




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                                                                                                                                                         Blue Nyan Balloon
       @      Ox408d9a46024dcd5a...      51 days 23 hrs ago      tankbonoms.eth    i:,D   OUT    0    Oxb05E9E...d40F4345 (!)     ERC-11 55
                                                                                                                                                         Nyan Balloon 0


                                                                                                                                                         #LetsWalk - HehePepe #0 ...
       @      Ox408d9a46024dcd5a..,      51 days 23 hrs ago      tankbottoms.eth   i:,D   OUT    0    Oxb05E9E...d40F4345 (!)     ERC-11 55
                                                                                                                                                         11LetsWalk 0


       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbottoms.eth   i:,O   OUT    0    Oxb05E9E...d40F4345 i:,O    ERC-1155
                                                                                                                                               Cl        Golden Nyan Cat
                                                                                                                                                         Nyan Cat 0


                                                                                                                                                         Angelic Nyan Cat
       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbonoms.eth    i:,D   OUT    0    Oxb05E9E...d40F4345 Lo      ERC-11 55        '!'
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              Ox408d9a46024dcd5a ...
                                         51 days 23 hrs ago



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                                                                                                                                               II        Glitch Nyan Cat
                                                                                                                                                         Nyan Cat 0



       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbonoms.eth    (!)    0'11   0    Oxb05E9E...d40F4345 Lo      ERC-1155
                                                                                                                                               :I        Shiny Nyan Cat
                                                                                                                                                         Nyan Cat 0


                                                                                                                                                         Nyan Balloon#3
       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbonoms.eth    [,D    CUT    0    Oxb05E9E... d40F4345 (9     ERc-11 55        @)    Nyan Balloon 0



       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbottoms.eth   i:,O   OUT    0    Oxb05E9E...d40F4345   (9    ERC-11 55
                                                                                                                                               II        Celebraci6n Nyan Cat
                                                                                                                                                         Nyan Cat 0


                                                                                                                                               •         Terra Nyan Cat
       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbottoms.eth   i:,O   OUT    0    Oxb05E9E...d40F4345 i:,O    ERC-11 55
                                                                                                                                                         Nyan Cat 0


       @      Ox408d9a46024dcd5a ...     51 days 23 hrs ago      tankbonoms.eth    i:,O   ()UT   0    Oxb05E9E ...d40F4345 (9     ERC-11 55
                                                                                                                                               ~         Pirate Nyan Cat
                                                                                                                                                         Nyan cat 0

                                                                                                                                                          PLAINTIFF0001186
https ://etherscan .io/nft- transfers?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                    3/7
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                                                                                                                                                  a•
                                                                                                                                                            Orange Nyan Balloon
       @      Ox408d9a46024dcd5a ...      51 days 23 hrs ago     tankbonoms.eth     LD    l)UT   0    Oxb05E9E...d40F4345      Lo     ERC-11 55
                                                                                                                                                            Nyan Balloon 0


                                                                                                                                                            Fiesta Dog
       @      Ox408d9a46024dcd5a ...      51 days 23 hrs ago     tankbottoms.eth    LO    OUl    0    Oxb05E9E...d40F4345      Lo     ERC-1155
                                                                                                                                                            Nyan Cat 0




                                                                                                                                                  ..
                                                                                                                                                  ~ Panorama Landscapes 178
       @      Oxl 41 ece840de82eeca ...   52 days 17 hrs ago    Null: Ox000...000 (9       IN        tankbottoms.elh   c9             ERC-1155
                                                                                                                                                            NFT: Panorama Landscap...


                                                                                                                                                            Silver Card
       @      Ox0070131cee21099e...       54 days 2 hrs ago      tankbon oms.eth    LO    OUT    0    Ox46D65c... d68c9918 (9         ERC-1155
                                                                                                                                                            NFT: Gallery Membership ...


                                                                                                                                                            Pool suite - Executive Me...
       @      Ox0070131cee21099e...       54 days 2 hrs ago      tankbonoms.eth     c.O   OUT    0    Ox46D65c... d68c9918     c.O    ERC-721
                                                                                                                                                            Poolsuite - Executive Mem...



       @      Ox0070131cee21099e...       54 days 2 h rs ago     tankbottoms.eth    [.O   OUT    0    Ox46D65c.. .. d68c9918   (9     ERc-721
                                                                                                                                                  ■         Redemption Token #8234
                                                                                                                                                            [Ledger] Market- Black-0... 0


       @      Ox0070131cee21099e...       54 days 2 hrs ago      tankbottoms.eth    c.O   OUT    0    Ox46D65c... d68c9918 [.O        ERC-721
                                                                                                                                                  ■ Redemption Token #7215
                                                                                                                                                            [Ledger] Market - Black-0...   0

                                                                                                                                                  •         Otherdeed#l 420
       @      Ox0070131cee21099e...       54 days 2 hrs ago      tankbottoms.eth    [.O   OUT    0    Ox46D65c... d68c9918     Lo     ERC-721
                                                                                                                                                            Otherdeed 0


                                                                                                                                                            NFT: Premint Creator Key...
       @      Ox0070131cee21099e...       54 days 2 hrs ago      tankbonoms.eth     cP    OUT    0    Ox46D65c__d68c9918       LO     ERC-721         @)    NFT: Premint Creator Key


       @      Ox0e502a301698c9aa ...      54 days 2 hrs ago      tankbonoms.eth     LO    OUT    0    Ox46D65c... d68c9918     Lo     ERC-721     ■         PROOF Collective
                                                                                                                                                            PROOF Collective 0


                                                                                                                                                            PROOF Grails 11#51
       @      Ox0e502a301698c9aa ...      54 days 2 hrs ago      tankbottoms.eth    c.D   Ol/T   0    Ox46D65c...d68c9918      cP     ERC-721         @     PROOF Grails II



       @      Ox0e502a301698c9aa ...      54 days 2 hrs ago      tankbonoms.eth     cP    WT     0    Ox46D65c...d68c9918      c.O    ERC-721     n         Shermie
                                                                                                                                                            Grails Ill


                                                                                                                                                            NFT: FWB M gmb<>rship N ...
       @      Oxl 1921e17969152a9...      55 days 39 mins ago   Null: Ox000...000 [.O      IN        tankbottoms.eth   cP             ERc-721         @)    NFT: FWB Membership NFT


                                                                                                                                                            Noun Checks #2989
       @      Ox24e1668595958c63 ...      58 days 2 h rs ago    winnerchicken.eth   c9     IN        tankbottoms.eth   c9             ERC-721         ~
                                                                                                                                                            Noun Checks


                                                                                                                                                            winnerchicken.eth
       @      Ox24e1668595958c63 ...      58 days 2 hrs ago     winnerchicken.eth [.O      IN        tankbottoms.eth   c.D            ERC-721
                                                                                                                                                            Ethereum Name Service 0



       @      Ox24e1668595958c63 ...      58 days 2 hrs ago     winnerchicken.eth [.O      IN        tankbottoms.eth   c.D            ERC-721         ~!J   Noun Checks #2990
                                                                                                                                                            Noun Checks

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htlps://elherscan .io/nfl- translers?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                             4/7
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        @       Oxd8f29ab07fc6430c4 ...     58 days 2 hrs ago     Null: oxooo...ooo La              IN    tankbottoms.eth   [.D    ERC-721              ~~-!:
                                                                                                                                                                Noun Checks


                                                                                                                                                       a        Noun Checks #2993




                                                                                                                                                       .
                Oxd8f29a b071c6430c4 ...    58 days 2 hrs ago     Null: Ox000...000 (!)                   tankbottoms.eth   [.D    ERC-721
       @                                                                                            IN
                                                                                                                                                       a        Noun Checks


                                                                                                                                                                Noun Checks #2994
        @       Oxd8f29ab07fc6430c4 ...     58 days 2 hrs ago     Null: Ox000 ...000 (!)            IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                                Noun Checks
                                                                                                                                                       ll

        @       Ox5fc6cc2a980255e63 ...     58 days 2 hrs ago     winnerchlcken.eth La              IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                       ;        Noun Checks #2991
                                                                                                                                                                Noun Checks


                                                                                                                                                                daolabscat s.eth
        @       Ox7294af70950deace3 ...     58 days 4 hrs ago     ® ENS: ITH Registrar Co".   t.D   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                                Ethereum Name Service 0


                                                                                                                                                                NFT: CONSPIRACY Believ ...
       @        Ox857b 83e0a1 b724f3a ...   58 days 4 hrs ago     OxfCB144... 173F18a1 (!)          IN    tankbottoms.eth   [.O    ERc-721             @)       NFT: CONSPl RACY Believi...


                                                                                                                                                                Poorly Drawn Checks
       @        Oxa7828f709ee1 e208f ...    58 days 6 hrs ago     Null: Ox000...000 t.D             IN    tankbottoms.eth   c9     ERC-11 55
                                                                                                                                                                NFT: Poorly Drawn Checks


                                                                                                                                                                Poorly Drawn Checks
       @        Oxc6 540020f39c9acca ...    58 days 8 hrs ago     Null: Ox000...000 t.O             IN    tankbottoms.eth   [.D    ERC-11 55
                                                                                                                                                                NFT: Poorly Drawn Checks


                                                                                                                                                                NFT: Ch ecks Culture#44
       @        Oxffecd1 c40bfbdd86c2...    58 days 8 hrs ago     Null: Ox000...000 La              IN    tankbottoms.eth   [.D    ERC-721             @)       NFT: Checks Culture


        @       Ox4c5610267bedl 3a0 ...     58 days 8 hrs ago     Null: Ox000...000 La              IN    tankbottoms.eth   [.D    ERC-11 55          ■         Humanity Check
                                                                                                                                                                NFT: Humanity Check


                                                                                                                                                                Prometheans#55809
       @        Oxabcb ee46774970f96...     58 days 12 hrs ago    Null: Ox000...000 La              IN    tankbottoms.eth   [.D    ERC-721             @)       Prometheans


                                                                                                                                                                Prometheans#55806
       @        Ox31 ddb3f66af02dbd7 ...    58 days 13 hrs ago    Null: Ox000...000 La              IN    tankbottoms.eth   c9     ERC-721             @        Prometheans


                                                                                                                                                                NFT#3
        @       Oxcc020bb238f1 b2ad2...     58 days 13 hrs ago    Null: Ox000...000 (9              IN    tankbottoms.eth   cP     ERc-11 55           @)       NFT


                                                                                                                                                                NFT: For The Culture Editi ...
        @       Oxdd06c23a9d733d48f...      58 days 13 hrs ago    Null: Ox000...000 [.O             IN    tankbottoms.eth   c9     ERC-11 55           @)       NFT: For The Culture Editio...


                                                                                                                                                                NFT: Fatherhood#2
       @        Ox485d8e1cc263e60c...       58 days 13 hrs ago    Null: Ox000 ...000 (!)            IN    tankbottoms.eth   c9     ERC-11 55           @)       NFT: Fatherhood



        @       Oxl ec743dlf070381 fS...    58 days 13 h rs ago   Null: Ox000...000 (!)             IN    tankbottoms.eth   [.O    ERC-11 55   xl O   ■         STOP TA NK!
                                                                                                                                                                NFT: BitPulsar

                                                                                                                                                                 PLAINTIFF0001188
htlps:/ /elherscan .io/nfl- translers?a=Ox5d95baEB B841 2AD827287240A5c281 E3bB30d27E                                                                                                            517
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                                                                                                                                                 ~~~~; Community Puzzle
      @      Oxad6e8a05bl 331af00...    58 days 14 hrs ago     kipz.eth   (9                    IN    tankbottoms.eth   L□     ERC-11 55
                                                                                                                                                 t:~.,   Air Mall by Vinnie Hager


      @      Oxd000bf84e3e3305e1 ...    58 days 14 hrs ago     Ox770A6b ... 6f7A6DfF      [.O   IN    tankbottoms.eth   [.D    ERC-11 55
                                                                                                                                                 ■       Organized Entertainment
                                                                                                                                                         Air Mail by Vinnie Hager


                                                                                                                                                 ■ Organized Entertainment
      @      Ox6 783ef6c288045ed1 ..    58 days 14 hrs ago     Ox467AdE.. J245CC75        c,D   IN    tankbottoms.eth   c9     ERC-11 55
                                                                                                                                                         Air Mail by Vinnie Hager


                                                                                                                                                 ■ Redemption Token #8234
      @      Ox84397b47e3c313cc...      59 days 9 hrs ago      Ox5002fF...Ad6063FO        c,D   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                         [ Ledger I Market - Black--0...   0

                                                                                                                                                 ■ Redemption Token #3718
      @      Ox84397b47e3c313cc...      59 days 9 hrs ago      Ox8B7370 ...34A06F80       c,D   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                         [ Ledger I Market - Black--0...   0

                                                                                                                                                 ■       Redemption Token #7215
      @      Ox84397b47e3c313cc ...     59 days 9 hrs ago      Ox5002fF...Ad6063FD        c,D   IN    tankbottoms.eth   c9     ERc-721
                                                                                                                                                         [ Ledger I Market - Black--0... 0


                                                                                                                                                         NFT: Opepenoun#473
      @      Oxf39b2843f28d53f0e...     59 days 10 hrs ago     partypants.eth   c,O             IN    tankbottoms.eth   c9     ERC-721            @)     NFT: Opepenoun


                                                                                                                                                         NFT: Opepenoun#474
      @      Oxf39b2843f28d53f0e.,.     59 days 10 hrs ago     partypants.eth   (9              IN    tankbottoms.eth   c9     ERC-721            @)     NFT: Opepenoun


                                                                                                                                                         NFT: Opepenoun#472
      @      Oxf39b2843f28d53f0e...     59 days 10 hrs ago     partypants.eth   c,O             IN    tankbottoms.eth   [.D    ERC-721            @)     NFT: Opepenoun


                                                                                                                                                         NFT: Opepenoun#476
      @      Oxf39b2843f28d53f0e...     59 days 10 hrs ago     partypants.eth   c,O             IN    tankbottoms.eth   [.D    ERC-721            @)     NFT: Opepenoun


                                                                                                                                                         NFT: Opepenoun#475
      @      Oxf39b2843f28d53f0e...     59 days 10 hrs ago     partypants.eth   c,O             IN    tankbottoms.eth   L□     ERC-721            @)     NFT: Opepenoun


                                                                                                                                                         NFT: Check8utts#5955
      @      Ox1676e8f61ceaa1615...     59 days 12 hrs ago     Ox93487e... l 050235c      (9    IN    tankbottoms.eth   c9     ERC-721            @)     NFT: CheckButts


                                                                                                                                                         NFT: Chock8utts#801
      @      Ox1676e8f61 ceaal 615...   59 days 12 hrs ago     Ox2A38c5...3FFB48E2 [,D          IN    tankbottoms.eth   cP     ERc-721            @)     NFT: CheckButts



      @      Ox998386058abd67a6..,      60 days 2 hrs ago      Null: Ox000...000    c,O         IN    tankbottoms.eth   c9     ERC-1155    x35   ■       Checks
                                                                                                                                                         NFT: Project X


      @      Ox0227d38efb400bl eB ...   60 days 2 hrs ago      Null: Ox000 ...000   (9          IN    tankbottoms.eth   c9     ERC-1155    xl5   ■       Checks
                                                                                                                                                         NFT: Project X



      @      Ox35eea6e4073e4f638...     60 days 16 hrs ago     Null: Ox000...000    (9          IN    tankbottoms.eth   [.D    ERC-1155          ■       WAKEUPIT'SALLFAKE
                                                                                                                                                         NFT: FAKEFAKEFAKEMEM...

                                                                                                                                                          PLAINTIFF0001189
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      @      Oxd362c8a9897c4ede ...      61 days 1 hr ago      Null: oxooo...ooo   La    IN    tankbottoms.eth   L□     ERC-11 55
                                                                                                                                                NFT: Garden of Editions


                                                                                                                                                Prometheans#55165
      @      Ox795c02b55ad9b63c...       61 days 11 hrs ago    Null: Ox000...000   La    IN    tankbottoms.eth   [.D    ERC-721         @       Prometheans


      @      Ox1bd23d7a213a33f 5a ...    61 days 21 hrs ago    Null: Ox000...000 (9      IN    tankbottoms.eth   [9     ERC-721     ■ 100 Meals 18394
                                                                                                                                                NFT: 100 Meals


                                                                                                                                    •           100 Meals 18387
      @      Oxl bd23d7a213a33f 5a ...   61 days 21 hrs ago    Null: Ox000...000 (9      IN    tankbottoms.eth   [9     ERC-721
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      @      Ox1bd23d7a213a33f5a ...     61 days 21 hrs ago    Null: Ox000 ...000 (9     IN    tankbottoms.eth   [.D    ERC-721     ■           100 Meals 18398
                                                                                                                                                NFT: 100 Meals


                                                                                                                                    •           100 Meals 18391
      @      Oxl bd23d7a213a33f5a ...    61 days 21 hrs ago    Null:   oxooo...ooo c,a   IN    tankbottoms.eth   @      ERc-721
                                                                                                                                                NFT: 100 Meals



      @      Oxl bd23d7a213a33f 5a ...   61 days 21 hrs ago    Null: Ox000...000   LO    IN    tankbottoms.eth   LD     ERC-721     ■           100 Meals 18395
                                                                                                                                                NFT: 100 Meals


                                                                                                                                    •           100 Meals 18388
      @      Ox1bd23d7a213a33f5a ...     61 days 21 hrs ago    Null: Ox000...000 (9      IN    tankbottoms.eth   @      ERC-721
                                                                                                                                                NFT: 100 Meals



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      @        Ox1bd23d7a213a33f5a...       61 days 21 hrs ago   Null: Ox-000 ...000   c,O   IN    tankbottoms.eth   c.,O    ERC-721   ■           100 Meals 18393
                                                                                                                                                   NFT: 100 Meals



                                                                                                                     c.,O              •           100 Meals 18386
      @        Ox1 bd23d7a213a33f5a ...     61 days 21 hrs ago   Null: Ox000...000     c,O   IN    tankbottoms.eth           ERC-721
                                                                                                                                                   NFT: 100 Meals



      @        Ox1 bd23d7a213a33f5a...      61 days 21 hrs ago   Null: Ox000...000     c,O   IN    tankbonoms.eth    @       ERC-721   ■           100 Meals 18400
                                                                                                                                                   NFT; 100 Meals



                                                                 Null: Ox-000 ...000   c,O                           c.,O              •           100 Meals 18397
      @        Ox1 bd23d7a213a33f5a...      61 days 21 hrs ago                               IN    tankbottoms.eth           ERC-721
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      @        Ox1bd23d7a213a33f5a..        61 days21 hrs ago    Null: Ox000...000     c,O   IN    tankbottoms.eth   @       ERC-721   ■ 100 Meals 18390
                                                                                                                                                   NFT: 100 Meals


                                                                                                                                       •           100 Meals 18394
      @        Ox1 bd23d7a213a33f5a ...     61 days 21 hrs ago   Null: Ox000...000 @         IN    tankbottoms.eth   @       ERC-721
                                                                                                                                                   NFT: 100 Meals



      @        Ox1bd23d7a213a33f5a...       61 days 21 hrs ago   Nult Ox000...000      c,D   IN    tankbottoms.eth   c.,D    ERC-721   ■           100 Meals 18387
                                                                                                                                                   NFT: 100 Meals


                                                                                                                                       •           100 Meals 18398
      @        Oxl bd23d7a213a33f5a ...     61 days 21 hrs ago   Null: Ox000... 000    c,D   IN    tankbottoms.eth   cP      ERC-721
                                                                                                                                                   NFT; 100 Meals



      @        Oxl bd23d7a213a33f5a...      61 days 21 hrs ago   Null: Ox000... 000    c,D   IN    tankbottoms.eth   @       ERC-721
                                                                                                                                       ■           100 Meals 18391
                                                                                                                                                   NFT: 100 Meals


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      @        Ox17a2ad0368930eld ...       62 days 15 hrs ago   Null: Ox-000 ...000 @       IN    tankbottoms.eth   c.,O    ERC-721       (§)     Prometheans


                                                                                                                                                   NFT: Memes &amp;amp; ...
      @        Oxc67849a4b84c62a3 ...       62 days 23 hrs ago   Null: oxooo ...ooo    c,O   IN    tankbottoms.eth   c.,O    ERC-721
                                                                                                                                           ©       NFT: Memes &amp;amp; ...


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      @        Oxc67849a4b84c62a3...        62 days 23 hrs ago   Null: Ox000...000     c,O   IN    tankbottoms.eth   c.,O    ERC-721
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      @        Oxc67849a4b84c62a3 ...       62 days 23 hrs ago   Null: Ox000...000     c,D   IN    tankbottoms.eth   c.,O    ERc-721               NFT: Memes &amp;amp; ...
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      @      Oxab89c7a98b943cda ...     62 days 23 hrs ago     Null: Ox000 ...000 [.D      IN     tankbottoms.eth      c..O    ERC-721       @     NFT: Nouns x Rusut su


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      @      Oxab89c7a98b943cda...      62 days 23 hrs ago     Null: Dx000 ...000 [.D      IN     tankbottoms.eth      c..O    ERC-721       (@)   NFT: Nouns x Rusutsu


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      @      Oxab89c7a98b943cda ...     62 days 23 hrs ago     Null: Ox000 ...000 c.D      IN     tankbottoms.eth      c..D    ERC-721       @)    NFf~Nouns x Rusul::;:u



                                                                                                                                                   Prometheans#54886
      @      Oxc43f153fdb90b75e8...     62 days 23 hrs ago     Null: DxDD0...000 @         IN     tankbonoms.eth       c..D    ERC·721       r§)   Prometheans


                                                                                                                                         •         Redemption Token 111885
      @      Ox082441 a895cf7c5ae ...   63 days 7 mins ago      tankbottoms.eth      [.D   OUT   Null: o xooo ...ooo   19      ERC-721
                                                                                                                                                   [Ledger] Market · Black--o...     0

      @      Ox3e4el ebl Od47c36e...    63 days 11 m ins ago   blockchainbull.eth [.D      IN     tankbonoms.eth       rD      ERC-721
                                                                                                                                         ■ Redemption Token #2083
                                                                                                                                                   [ Ledger ] Market · Black--o...   0

      @      Ox3e4e1 ebl Od47c36e...    63 days 11 mins ago    grillzilla.eth   [9         IN     tankbonoms.eth       c..D    ERC-721
                                                                                                                                         ■ Redemption Token #1885
                                                                                                                                                   l Ledger ] Market · Black--o...   0

      @                                 63 days 11 mins ago                                       tankbottoms.eth      c..D    ERC-721   ■ Redemption Token #8875
             Ox3e4el ebl Od47c36e ...                          trade.pixolantis.eth c.D    IN
                                                                                                                                                   [Ledger] Market · Black--o...     0

                                                                                                                                                   NFT: PoCT icket#l 180
      @      Ox8726b79df4a11815 ...     63 days 23 hrs ago     Null: Ox000 ... 000 [.D     IN     tankbottoms.eth      c..D    ERC-721       @     NFT: PoCTicket


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      @      Ox8726b79df4a1 1815 ...    63 days 23 hrs ago     Null: OxOD0 ...000 c.D      IN     tankbottoms.eth      cP      ERC-721       @     NFT: PoCTicket


                                                                                                                                                   NFT: PoCT icket#l 176
      @      Ox168e3be759b4218b...      63 days 23 hrs ago     Null: Ox000 ...000 [.O      IN     tankbottoms.eth      c..D    ERC-721       @J    NFT: PoCTicket


                                                                                                                                                   NFT: PoCTicket#1177
      @      Ox168e3be759b4218b...      63 days 23 hrs ago     Null: Ox000 ...000 [.O      IN     tankbonoms.eth       c..D    ERC-721       [@J   NFT: PoCTicket


                                                                                                                                                   NFT: PoCT icket#l 170
      @      Ox15b830b40be5257f8 ...    63 days 23 hrs ago     Null: Ox000 ...000    c9    IN     tankbonoms.eth       c..O    ERC-721
                                                                                                                                             r§)   NFT: PoCTicket


                                                                                                                                                   NFT: PoCT icket#1174
      @      Oxl 5b830b4Dbe5257f8...    63 days 23 hrs ago     Null: oxooo ...ooo c.D      IN     tankbonoms.eth       c..D    ERC-721       @     NFT: PoCTicket


                                                                                                                                                   NFT: PoCT icket#l 171
      @      Ox1 5b830b40be5257f8...    63 days 23 hrs ago     Nult Ox000 ...000 c.D       IN     tankbonoms.eth       c..D    ERC-721
                                                                                                                                             ®l    NFT: PoCTicket


      @      Ox15b830b40be5257f8..      63 days 23 hrs ago     Null: Ox000 ...000 c.D      IN     tankbonoms.eth       c..D    ERC-721             NFT: PoCT icket#l 175
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      @      Oxl 5b830b40be5257f8 ...    63 days 23 hrs ago     Null: Ox000...000 [.D         IN    tankbonoms.eth   [.D    ERC-721         @             NFT: PoCTicket


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      @      Oxl 5b830b40be5257f8...     63 days 23 hrs ago     Null: Ox000...000 [.D         IN    tankbonoms.eth   c9     ERC-721         @J            NFT: PoCTicket


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      @      Ox2120659afe0b7735b...      64 days 22 hrs ago     Null: Ox000...000 c.D         IN    tankbonoms.eth   c.D    ERC-721     V                 NFT: The T1ectd1ery uf lrHa ...



                                                                                                                                                          kittycats.eth
      @      Ox6622fc7361 bcea98L        65 days 4 hrs ago      meowsdao.eth c.D              IN    tankbonoms.eth   c.D    ERC-721
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      @      Ox0cbdc99bac5da183...       65 days 20 hrs ago     Nult Ox000...000 c..D         IN    tankbonoms.eth   c.D    ERC-1155
                                                                                                                                                          NFT: FAKEFAKEFAKEMEM...


                                                                                                                                                          Apollo #544
      @      Ox78fdd9458ecee7342...      67 days 1 hr ago       OxCd0151..a45Be85a [.D        IN    tankbonoms.elh   c9     ERC-721         @J            NFT: Apollo by Asaf Slook


                                                                                                                                                          Koripo #200
      @      Ox66eb70c1407528f0c...      67 days 1 hr ago       Ox0d0434...Cd8f810F c..D      IN    tankbonoms.eth   c.D    ERC-721
                                                                                                                                                          Koripo by Rich Poole


      @      Ox5675892036945e1 d ...     67 days 1 hr ago       OxcD32f1 ...8ba314fC     c9   IN    tankbonoms.eth   c.D    ERC-721
                                                                                                                                        tr                Balagan #113
                                                                                                                                                          NFT: Balagan by Sapir Coh ...


                                                                                                                                                          NFT: Hot Wings Collectiv...
      @      Oxfl 59eb1c3475e9c45...     67 days 23 hrs ago     Null: Ox000...000 [.D         IN    tankbonoms.eth   [.D    ERC-721         @             NFT: Hot Wings Collective


                                                                                                                                                          Balagan #542
      @      Ox21 d5eddff51 f38998...    68 days 1 hr ago       Ox4a0054...A5357d5F (9        IN    tankbonoms.eth   c9     ERC-721
                                                                                                                                                          NFT: Balagan by Sapir Coh...

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      @      Ox34f47bcb10173bf50...      68 days 1 hr ago       Oxe3e3b3...15f011aB           IN    tankbonoms.eth   [.D    ERC-721
                                                                                                                                               ~          NFT: Balagan by Sapir Coh...


      @      Oxced9f230325e7b33d...      68 days 1 hr ago       infamoushacker.eth c..D       IN    tankbonoms.eth   [.D    ERC-1155    R                 Super Nyan Balloon
                                                                                                                                                          Nyan Balloon 0


      @      Oxa4edfce3bdc659019...      68 days 1 hr ago       Oxe17506 ...07C269ee     c9   IN    tankbonoms.e1h   cP     ERC-1 155

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      @
             Ox7 520deefe74fd461 f ...



             Ox49163bac32498d84...
                                         68 days 1 hr ago



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                                                                Ox9E81eA ..120DOa5f c..D



                                                                cryptoape101 .eth c..D
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                                                                                                                                                          Nyan Balloon 0


      @      Ox48ca0f29fc9ce7531 ..      68 days 1 hr ago       cryptoape101 .eth c..D        IN    tankbonoms.eth   c.D    ERC-1155                      Super Nyan Balloon
                                                                                                                                                            PLAINTIFF0001193
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                                                                                                                                                   Nyan Balloon#3
       ®      Ox2a84aa9e411364e0...     68 days 1 hr ago        Ox48B7c9...1c4BdCeB       @     IN    tankbottoms.eth   @       ERC-1155     [@)   Nyan Balloon 0


                                                                                                                                                   Nyan Balloon#4
       ®      Ox2a84aa9e411364e0...     68 days 1 hr ago        OxEfd1e6 ...C9c79E7B      c,0   IN    tankbottoms.eth   c,0     ERC-1155     [@)   Nyan Balloon 0


                                                                                                                                                   Orange Nyan Balloon
       ®      Ox2a84aa9e411364e0...     68 days 1 hr ago        Oxl 1F6fF... 7EdAA477     c,0   IN    tankbottoms.eth   @       ERC-1 155
                                                                                                                                              ~    Nyan Balloon 0


                                                                                                                                                   Purple Nyan Balloon
       ®      Ox2a84aa9e411364e0 ...    68 days 1 hr ago        bearworth.eth      c,D          IN    tankbottoms.eth   c..D    ERC-1155
                                                                                                                                              ~    Nyan Balloon 0


                                                                                                                                                   Blue Nyan Balloon
       ®      Ox2a84aa9e411364e0 ...    68 days 1 hr ago        klpkzdelh    @                  IN    tankbottoms.eth   @       ERC-1 155
                                                                                                                                              ~    Nyan Balloon 0


                                                                                                                                                   Blue Nyan Balloon
       ®      Oxabb241 b4e507b404 ...   68 days 1 hr ago        chagozzino.eth c..□             IN    tankbonoms.eth    c..□    ERC-1155     !,    Nyan Balloon 0


                                                                                                                                                   Nyan Balloon#4
       ®      Oxabb241 b4e507b404...    68 days 1 hr ago        spaceace.eth       c,D          IN    tankbottoms.eth   @       ERC·l 155
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       ®      Oxabb241 b4e507b404 ...   68 days 1 hr ago        Oxab300c...da034078       @     IN    tankbonoms.eth    @       ERC-1155
                                                                                                                                             [@)   Nyan Balloon 0


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       ®      Oxabb241 b4e507b404...    68 days 1 hr ago        Ox49B6C8...8F8b125F       c,O   IN    tankbottoms.eth   c,D     ERC-1 155
                                                                                                                                              ~    Nyan Balloon 0


                                                                                                                                                   Purple Nyan Balloon
       ®      Oxabb241 b4e507b404...    68 days 1 hr ago        offtcialreis.eth   c..D         IN    tankbottoms.eth   c,D     ERC-1155
                                                                                                                                              \    Nyan Balloon 0


                                                                                                                                                   Nyan Balloon#4
       ®      Oxcfa5126cf0f8f41247...   68 days 1 hr ago        ylgu.eth   c,D                  IN    tankbottoms.eth   @       ERC-1155     (§)   Nyan Balloon 0


                                                                                                                                                   Orange Nyan Balloon
       ®      Oxcfa5126cf0f8f41247...   68 days 1 hr ago        Ox91 c59A... 4b624443 c□        IN    tankbottoms.eth   c..O    ERC-1155
                                                                                                                                              ~    Nyan Balloon 0


                                                                                                                                                   Purple Nyan Balloon
       @      Oxcfa5126cf0f8f41247...   68 days 1 hr ago        spaceace.eth cD                 IN    tankbonoms.eth    [..D    ERC·l 155
                                                                                                                                              ~    Nyan Balloon 0


                                                                                                                                                   Blue Nyan Balloon
       @      Oxcfa5126cf0f8f41247...   68 days 1 hr ago        Ox03167L6D7B2FC6           @    IN    tankbottoms.eth   c..□    ERC-1155
                                                                                                                                              ~    Nyan Balloon 0


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       ®      Oxcfa5126cf0f8f41247...   68 days 1 hr ago        Oxdardan.eth cD                 IN    tankbottoms.eth   c..□    ERC·l 155
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       @      Oxcfa5126cf0f8f41247...     68 days 1 hr ago      OxdC5d06...EdOe322A           La   IN    tankbonoms.eth     La      ERC-1 155    (@)    Nyan Balloon 0


       @      Oxcfa5126cf0f8f41247...     68 days 1 hr ago      * ~ magic.eth      La              IN    tankbonoms.eth     cP      ERC-1155
                                                                                                                                                R       Super Nyan Balloon
                                                                                                                                                        Nyan Balloon 0


       @      Ox110711clfd4e63d4d ...     68 days 1 hr ago      synapse47 .eth     La              IN    tankbonoms.eth     c..a    ERC-1155
                                                                                                                                                R       Super Nyan Balloon
                                                                                                                                                        Nyan Balloon 0


                                                                                                                                                        NFT: Check Birds#6744
       @      Ox110711c1fd4e63d4d ...     68 days 1 hr ago      Ox43DD59... 0A4E21 Sb         @    IN    tankbonoms.eth     cP      ERC-721      @l     NFT: Check Birds


                                                                                                                                                        NFT: Check Birds#4199
       @      Ox110711 c1 fd4e63d4d ...   68 days 1 hr ago      OxD7Da14... 6548071c          La   IN    tankbottoms.eth    ca      ERC-721      @l     NFT: Check Birds


                                                                                                                                                        Balagan #396
       @      Ox110711clfd4e63d4d ...     68 days 1 hr ago      westwood.eth       @               IN    tankbottoms.eth    La      ERC-721
                                                                                                                                                        NFT: Balagan by Sapir Coh...



       @      Oxd8ef247ddbf0eafe1 ...     68 days 2 hrs ago     safesex.eth   LO                   IN    tankbottoms.eth    cP      ERC-721
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                                                                                                                                                !- •.
                                                                                                                                                        Balagan #521
                                                                                                                                                        NFT: Balagan by Sapir Coh...


                                                                                                                                                        NFT: Nyan Pepe#3
       @      Ox82f3b4a38f65714f5...      68 days 19 hrs ago    OxED443f...323932C6           La   IN    tankbottoms.eth    La      ERC-1 155    (@l    NFT: Nyan Pepe


       @      Ox82f3b4a38f65714f5...      68 days 19 hrs ago    starl3xx.eth L□                    IN    tankbonoms.eth     c.O     ERC-1155
                                                                                                                                                a       Vaporwave Nyan Pepe
                                                                                                                                                        NFT: Nyan Pepe


                                                                                                                                                        NFT: Nyan Pepe#4
       @      Ox82f3b4a38f65714f5...      68 days 19 hrs ago    OxED443f... 323932C6          La   IN    tankbonoms.eth     La      ERC-1 155    (@)    NFT: Nyan Pepe


                                                                                                                                                        #3611
                                                                Ox8COOf4 ...6dc23cc3 L□                                     c.a
       @      Oxl 013fefb167493faa ..,    68 days 19 hrs ago                                       IN    tankbonoms.eth             ERC-721
                                                                                                                                                 I§     Moonbirds 0


                                                                                                                                                        NFT: Nyan Pepe#1
       @      Ox32257a4a26f0a0191 ..      70 days 18 hrs ago    Null: Ox000 ...000      La         IN    tankbonoms.eth     La      ERC-1155
                                                                                                                                                 ~      NFT: Nyan Pepe


                                                                                                                                                        NFT: ToiletWine#l 917
       @      Ox03e5ddeef402141 Jd...     77 days 25 mins ago   Null: Ox000 ...000 (.D             IN    tankbottoms.eth    c.□     ERC-721      (@1    NFT: ToiletWine


                                                                                                                                                        NFT: ToiletWine#781
       @      Oxb8cc3257d0f369f65...      77 days 37 mins ago   Null: Ox000 ... 000     @          IN    tankbottoms.eth    cP      ERC-721      (@)    NFT: ToiletWine


                                                                                                                                                        NFT: ToiletWine#796
       @      Oxb8cc3257d0f369f65...      77 days 37 mins ago   Null: Ox000 ...000      c.a        IN    tankbottoms. eth   c.a     ERC-721      @l     NFT: ToiletWine


                                                                                                                                                        NFT: ToiletWine#46
       @      Ox9741 f37eebcb5a0a0 ...    77 days 46 mins ago   Null: Ox000 ...000      @          IN    tankbottoms.eth    cP      ERC-721      @      NFT: ToiletWine

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      @      Ox077d47c36365ef380 ...    77 days 6 hrs ago      Null: Ox000 ...000    LD              IN      tankbon oms.eth     rD    ERC-1155    x3       @)    NFT; Yu Cai Editions


                                                                                                                                                                  Grails 111 Mint Pass#648
      @      Ox709d4f4773b37166c...     79 days 3 hrs ago       tankbottoms.eth      LD             OUT     Null: Ox000 ...000 @       ERC-721
                                                                                                                                                            ©     Grails 111 Mint Pass



      @      Ox709d4f4773b37166c...     79 days 3 hrs ago      Null: Ox000 ...000    LD              IN      tankbon oms.eth     LD    ERC-721          ■         Man Machine
                                                                                                                                                                  Grails Ill


                                                                                                                                                                  Grails Ill Mint Pass#264
      @      Oxd273f3ac93649c5ce...     79 days 3 hrs ago       tankbottoms.eth      LD             OUT     Null: Ox000 ... 000 (()    ERC-721              @)    Grails Ill Mint Pass


      @      Oxd273f3ac93649c5ce...     79 days 3 hrs ago      Null: Ox000 ... 000   LO              IN      tankbottoms.eth     LO    ERC-721          fl        Shermie
                                                                                                                                                                  Grails Ill


                                                                                                                                                                  mcdisco.eth
      @      Ox951415f679dl 014d ...    79 days 4 hrs ago      0   ENS: ETH Registrar Co...    LO    IN      tankbottoms.eth     LO    ERC-721
                                                                                                                                                                  Ethereum Name Service 0


      @      Ox9511 be0ba4ae212c...     83 days 1 hr ago       GANdinsky: Deployer        c9         IN      tankbottoms.eth     @     ERC-721          ill       Talking Heads #154
                                                                                                                                                                  NFT: Talking Heads


                                                                                                                                                                  NFT: The Chip by Godwits...
      @      Oxdffe29c19ce678cad ...    85 days 15 hrs ago     Null: Ox000 ...000 (9                 IN      tankbottoms.eth     cP    ERG-1 155            (§J   NFT: The Chip by Godwits


                                                                                                                                                                  NFT: Deflfa: American Fo ...
      @      Oxae2508f72ec632304 ...    86 days 2 hrs ago      Null: Ox000 ...000    LD              IN      tankbon oms.eth     LD    ERC-721
                                                                                                                                                            8     NFT: Def1fa: Amencan Foo ...


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      @      Oxae2508f72ec632304...     86 days 2 hrs ago      Null: Ox000 ...000    LD              IN      tankbon oms.eth     L□    ERC-721
                                                                                                                                                            ©     NFT: Def1fa: American Foo ...


      @      Ox9ca8ec8618bfc86b8 ...    86 days 10 hrs ago      tankbottoms.eth      LD             OUT     Null: Ox000 ...000 @       ERC-721          ■         Redemption Token #565
                                                                                                                                                                  [Ledger] Market - Black-o...    0

                                                                                                                                       ERC-721          ■ Redemption Token #560
      @      Ox847a3be559444f8bd ...    86 days 10 hrs ago      tankbottoms.eth      LD             C•LJT   Null: Ox000 ...000 @
                                                                                                                                                                  [ Ledger] Market - Black-o...   0

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      @      Oxcdfa89194a8b38348...     86 days 10 hrs ago      tankbottoms.eth      LD             OUT     Null: Ox000 ... 000 @      ERC-721
                                                                                                                                                                  [Ledger] Market - Black-o...    0


                                                                                                                                 @                      ■ Redemption Token #560
      @      Oxc5c029d4aa74?el c ...    86 days 10 hrs ago     OxadD2eb... 358E14cf       LD         IN      tankbottoms.eth           ERC-721
                                                                                                                                                                  [Ledger] Market - Black-o...    0

                                                                                                                                                        •         Redemption Token #564
      @      Oxc5c029d4aa747el c ...    86 days 10 hrs ago     OxadD2eb... 358El 4cf      LD         IN      tankbottoms. eth    L□    ERC-721
                                                                                                                                                                  [Ledger] Market - Black-o...    0

      @      Oxc5c029d4aa747e1 c ...    86 days 10 hrs ago     OxadD2eb...358E14cf        LD         IN      tankbottoms.eth     @     ERC-721          ■         Redemption Token #565
                                                                                                                                                                  [Ledger] Market - Black-o...    0
                                                                                                                                                                    PLAINTIFF0001196
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       @      0xcef37fb113f679691 ..    87 days 1 hr ago        Null: oxooo...ooo c.□         IN        tankbon oms.eth   c.□         ERC-721              @1      Grails Ill Mint Pass


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       @      0xe17a05a9d06ad1 B6f...   B7 days 1 hr ago        Null: 0x000...000 c.□         IN        tankbon oms.eth   @           ERC-721              @)      Grails 111 Mint Pass


                                                                                                                                                                   NFT: Yu Cai Editions#2
       @      0xB17903d06cBcbceb...     92 days 5 hrs ago       Null: 0x000...000 c.□         IN        tankbonoms.eth    c.□         ERC-1155    x2
                                                                                                                                                           @)      NFT: Yu Cai Editions


                                                                                                                                                                   NFT: Cexaline Collector E...
       @      0x17a0f41475b109baa ...   96 days 8 hrs ago       cexaline.eth c.O              IN        t ankbonoms.eth   @           ERC-721              @       NFT: Cexaline Collector Ed ...


                                                                                                                                                                   NFT: Time Bender#1
       @      0x9234fd579793032ab...    96 days 15 hrs ago      Nifty Gateway: Omnibus c.O    IN        tankbottoms.eth   c,O         ERC-721              @       NFT: Time Bender



       @      0x7eb279c124a81446f...    96 days 15 hrs ago      Null: oxooo... ooo c.O        IN        tankbottoms.eth   c,O         ERC-721          •           Page#3654
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       @      0x7eb279c124a81446L       96 days 15 hrs ago      Null: 0x000...000 c.O         IN        tankbottoms.eth   @           ERC-721          ■           Page#1441
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                                                                                                    0                           c9                     •           royalties
       @      0xb72f6cf24f9443630...    96 days 17 hrs ago       t ankbottoms.eth   c.□      OlJT        0xa4fMb...53e120cB           ERC-1 155   x2
                                                                                                                                                                   archive edition



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      @        Oxb72f6cf24f9443630...       96 days 17 hrs ago   Null: Ox000...000   c9    IN    tankbottoms.eth   c9    ERC-1155            (@)     archive edition


                                                                                                                                                     NFT: Christmas Spirits#2...
      @        Ox097769898b89bd8e...        96 days 17 hrs ago   Null: Ox000...000 LD      IN    tankbottoms.eth   c9    ERC-721             @)      NFT: Christmas Spirits


                                                                                                                                                     NFT: 2023#7
      @        Oxb6bb751 ba3ee21 b4 ...     96 days 18 hrs ago   Null: Ox000.•.000 LD            tankbottoms.eth   c9    ERC-721             (@)     NFT: 2023


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      @        Oxba45d362fd0d5d33e...       98 days 5 hrs ago    Null: Ox000... 000 LO     PN    tankbottoms.eth   c9    ERC-1155            (@)     NFT: Boxhead Airdrops


      @        Oxc8e8f69e5365b6ecf. .       98 days 14 hrs ago   Null: Ox000...000 Lo            tankbottoms.eth   c9    ERC-1155        ■           Keepers
                                                                                                                                                     NFT


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      @        Ox57a80e374c87b66b...        98 days 17 hrs ago   Null: Ox000...000   c9          tankbottoms.eth   c9    ERC-1155   x2
                                                                                                                                         '7 ij GAS WARS
                                                                                                                                         <;r.b f     NFT: JORDIGANDUL.1155


      @        Oxc8cd521 ca932a8c4...       104 days 7 hrs ago   Null: Ox000...000 (9      IN    tankbottoms.eth   c9    ERC-1155
                                                                                                                                         l~D
                                                                                                                                         . [l ... NFT
                                                                                                                                                     THE LONG FLIGHT· PEPE...



                                                                                                                                         w• -."' We Are All Boxhead #48
      @        Ox Sa1d6420e6b5a7fd4...      104 days 8 hrs ago   Null: Ox000...000 LO            tankbottoms.eth   (9    ERC-721
                                                                                                                                         ""·    .    NFT: we Are All Boxhead


                                                                                                                                                     NFT#28
      @        Oxc119850d3173b673 ...       104 days 8 hrs ago   Null: Ox000.•.000 LO            tankbottoms.eth   c9    ERC-1155            @)      NFT


      @        Ox2788e07e72abbe5d...        104 days 8 hrs ago   Null: OxOOQ,_QQO Lo       PN    tankbottoms.eth   c9    ERC-1155        Ii          King's Relief
                                                                                                                                                     NFT: HasanGoktepe Editio ...


      @        Oxaa5b31 feeeaa02890...      104 days 8 hrs ago   Oxe8e886...d580605D (.0   IN    tankbottoms.eth   c9    ERC-721                     Cel Mates #74
                                                                                                                                                       PLAINTIFF0001198
https://elherscan.io/nfl-translers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                                           1/7
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                                                                                                                                                            Cel Mates



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        ®       Oxcee7 109edd7de215 ...    104 days 8 hrs ago     Null: Ox000 ... 000 [.O                IN    tankbottoms.eth   c9    ERC-11 55
                                                                                                                                                             NFT



       ®        Oxd1c8121 ca7f09476a ...   104 days 8 hrs ago     Null: OX000...000 [.O                        tankbottoms.eth   c9    ERC-11 55
                                                                                                                                                   II       Th e Revolution is Us
                                                                                                                                                            NFT


                                                                                                                                                   ~ Neverland Executor
       ®        Ox2aee33f3e1 abdfce5...    104 days 9 hrs ago     Null: Ox000 ... 000   (P               IN    tankbottoms.eth   c9    ERC-72 1
                                                                                                                                                          .,. NFT: Rock Paper Scissors!


                                                                                                                                                             NFT: Wizz WTF#O
       ®        Ox1 d9b48a1 eb 51333e...   104 days 9 hrs ago     Null: Ox000 ... 000   (P               IN    tankbottoms.eth   c9    ERC-11 55    @)      NFT: Wizz WTF


                                                                                                                                                             Redem ption Token #242
       ®        Oxa7f4237ac33a0776a ...    104 days 9 hrs ago     Null: Ox000 ...000 [.O                 IN    tankbottoms.eth   c9    ERC-721      @)       NFT: [Ledger ] Market - F...


                                                                                                                                                             Newbie #3068
       ®        Ox1273650248477c90 ...     104 days 17 hrs ago    Null: Ox000 .._000 [.O                       tankbottoms.eth   19    ERC-721      @)      NFT: NewHere


                                                                                                                                                             Newbie #3066
       ®        Ox l 273650248477c90...    104 days 17 hrs ago    Null: Ox000 ... 000 [.O                IN    tankbottoms.eth   19    ERC-721
                                                                                                                                                    @)      NFT: NewHere


                                                                                                                                                             Newbie #3067
       ®        Oxl 273650248477c90...     104 days 17 h rs ago   Null: Ox000 ...000    (P               IN    tankbottoms.eth   19    ERC-721      @)       NFT: NewHere


                                                                                                                                                            WE'RE NEW HERE #1076
       ®        Ox2bbcc06f1 3dcc223d...    104 days 17 hrs ago    Ox08d024... 16eAC017 [.O               IN    tankbottoms.eth   c9    ERC-721      Cl
                                                                                                                                                            NFT: NewHere


                                                                                                                                                            discopants.eth
        ®       Ox7c43cbeb3de66743 ...     104 days 19 hrs ago    0   ENS: ETH Registrar Co ...   c..O   IN    tankbottoms.eth   19    ERC-721
                                                                                                                                                            Ethereum Name Service 0



       ®        Oxa9c2def6ad33e0a75...     104 days 22 hrs ago    Null: Ox000 ...000    (P               tN    tankbottoms.eth   c9    ERC-721     ■ aamm
                                                                                                                                                            NFT: p1xelfool Open Editio ...



        ®       Oxa9c2def6ad33e0a75...     104 days 22 hrs ago    Null: Ox000 ... 000 [.O                IN    tankbottoms.eth   c9    ERC-721     ■ iiamm
                                                                                                                                                            NFT: pl xelfool Open Editio...


                                                                                                                                                             Pixels On Acid X #3 4
        @       Ox9c0e57bc3c208431 ...     104 days 23 hrs ago    0   Foun dation: Market [.O            IN    tankbottoms.eth   19    ERC-721      @)      NFT: Pixels On Acid X


                                                                                                                                                             NFT#23
        @       Ox424441 b1df98f1710 ...   105 days 16 hrs ago    godwits.eth [.O                              tankbottoms.eth   19    ERC-11 55    @)       NFT


                                                                                ooo                                                                          NFT: Ledger x OSF • Ledg ...
        ®       Ox40d39c1 05486b135...     107 days 8 hrs ago     Null: OxOOO.__        [.O              IN    tankbottoms.eth   c9    ERC-11 55    @)      NFT: Ledger X OSF • Ledge ...


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      @      OxBc 700ca7d90aaa39...     107 days 11 hrs ago     Null: oxooo __ooo Lo                          tankbottoms.eth   [9       ERC-721              @     NFT: THE-BOX


                                                                                                                                                                    NFT#2
      @      Ox5f310745dc6c89806...     109 days 6 hrs ago     wolfmercury.eth LD                     tN      tankbottoms.eth   [9       ERC-1155             l@J   NFT


      @      Ox5f310745dc6c89806...     109 days 6 hrs ago     wolfmercury.eth LO                     IN      tankbottoms.eth   IP       ERC-1155         II        Tangled Up In Blue
                                                                                                                                                                    NFT


                                                                                                                                                                    Sunrise Rose
      @      Ox5f310745dc6c89806...     109 days 6 hrs ago     wolfmercury.eth       c9               tN      tankbottoms.eth   [9       ERC-1155
                                                                                                                                                                    NFT


      @      Ox9b9fc9019882f5c14...     109 days 6 hrs ago     OxfA426d...B2dBc0B5 LO                 tN      tankbottoms.eth   [9       ERC-721          -         Beomaster 1900 #25/200
                                                                                                                                                                    NFT: B&amp;amp;O Archiv...


                                                                                                                                                          •         MAX PAIN #4139/7394
      @      Ox82ec49698d946f0fa...     109 days 6 hrs ago     airdenLeth    c9                       IN      tankbottoms.eth   IP       ERC-721
                                                                                                                                                                    NFT: MAX PAIN ANO FREN...


      @      Ox38a17497a555e33a...      11 Odays 22 hrs ago    OxaA6f81...e08b117b LD                 tN      tankbottoms.eth   [9       ERC-721
                                                                                                                                                          ...       [)l!"atgG:I1rn § treett lift.II
                                                                                                                                                                    NFT: &#120123;&#120163 ...
                                                                                                                                                                                                      Ji,.Ct, 1 .




                                                                                                                                                                    Get Rich or Die Tying
      @      Ox7811 Oa394a220922...     112 days 7 hrs ago      Null: Ox000... 000 LO                 IN      tankbottoms.eth   [9       ERC-1155             l@J   NFT


                                                                                                                                                                    dotdotdot 87 4
      @      Ox3e08362eb79d6cb4...      113 days 4 hrs ago     0    Uniswap: Universal Ro...   [..D   tN      tankbottoms.eth   [9       ERC-721
                                                                                                                                                          -~        NFT: dotdotdot 0


                                                                                                                                                                    dotdot dot 3675
             Ox3e08362eb79d6cb4...      113 days 4 hrs ago     0    Uniswap: Universal Ro.•    [..D   IN      tankbottoms.eth   [9       ERC-721
      @
                                                                                                                                                          it        NFT: dotdotdot 0


      @      Ox4c06e6c359a39567 ...     113 days 17 hrs ago    0    Uniswap: Token Oistrib.., [..D    IN      tankbottoms.eth   [9       ERC-1155
                                                                                                                                                          m         Unisocks.Fi - Genesis Air...
                                                                                                                                                                    NFT*


                                                                                                                                         ERC-721              -     Yellows #1127
                                                                Null: Ox000.•.000 [..O                                          [9
             Oxda 776bc5355cf80fe...    114 days 10 hrs ago                                                   tankbottoms.eth
                                                                                                                                                          ~
      @                                                                                               tN
                                                                                                                                                                    NFT: CrazyRichYellows


                                                                                                              tankbottoms.eth            ERC-1155         ■ Saint in t he Blu<> D<>s<>rt
      @      Ox4bf4f79385f39615fc...    114 days 20 hrs ago     Null: Ox000...000 (9                  tN                        !9                  x:2
                                                                                                                                                                    NFT


                                                                   tankbottoms.eth    @                                                  ERC-721          ■ Redemption Token #5521
      @      Ox4185173d8f41 c6007...    11 5 days 7 hrs ago                                           I/UT   natasha-pankina.eth LD
                                                                                                                                                                    [ Ledger ] Market - Black-o...              0

                                                                                                                                         ERC-721          •         Redemption Token #3596
      @      Oxfb697e32cc22fec45...     115 days 7 hrs ago         tankbottoms.eth    c..D            0\/T   natasha-pankina.eth c..D
                                                                                                                                                                    [ Ledger ] Market - Black-o... 0


      @      Ox71c0abe409134b5c...      115 days 7 hrs ago         tankbottoms.eth    @               UU1    natasha-pankina.eth c..D    ERC-721          ■ Redem ption Token #9536
                                                                                                                                                                    [ Ledger] Market- Black-o...                0
                                                                                                                                                                      PLAINTIFF0001200
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      @      Ox341823d6d5df4a2dc...      11 5 days 1 5 hrs ago   Null: oxooo __ooo Lo                       tankbottoms.eth   [9     ERC-11 55            @        NFT



      @      Oxd0c2a 171 f76500b32 ...   115 days 17 hrs ago     0   Uniswap: Token Distrib...   LD   IN    tankbottoms.eth   [9     ERC-11 55
                                                                                                                                                      m            Unisocks.org - Genesis Ai ...
                                                                                                                                                                   NFT: Unisocks Genesis Air...


                                                                                                                                                                   NFT#7
      @      Ox586276edac3afd009...      117 days 4 hrs ago      Null: Ox000...000 (i)                IN    tankbottoms.eth   i:P    ERC-1155    x3       l@J      NFT



      @      Oxe28b376a5fc6af6a0...      119 days 7 hrs ago      Null: Ox000... 000   LO              IN    tankbottoms.eth   [9     ERC-721
                                                                                                                                                      11           lnverBirb #9554
                                                                                                                                                                   NFT: lnverBlrb



      @      Ox69f24d2cebc7e76a0...      119 days 10 hrs ago     Null: Ox000... 000 (.0               IN    tankbottoms.eth   [9     ERc-721
                                                                                                                                                      g            Brainbogglez 59/100
                                                                                                                                                                   NFT: Brainbogglez


                                                                                                                                                                   FAEBLFIGHTER #904
      @      Ox96cf66f82dce3e548...      119 days 11 hrs ago     Ox9 5f1 Fe...cefF6dC5 (i)            IN    tankbottoms.eth   i:P    ERC-721              l@J      NFT: FAEBLFIGHTER



      @      Oxb4395fl dee7924f46...     119 days 11 hrs ago     Null: Ox000... 000 (.0               IN    tankbottoms.eth   [9     ERc-1155
                                                                                                                                                      ■ Sector Alpha - Industrial ..
                                                                                                                                                                   NFT: lsayevArt


                                                                                                                                                                  j Organized Disruption #156
      @      Ox1 c8601 a037582a76...     119 days 15hrs ago      Oxe26B3D...a379a063       LD         IN    tankbottoms.eth   [9     ERC-721
                                                                                                                                                                   AnBlocks0


                                                                                                                                                      •            Bear Market Blues (Deser. ..
      @      Ox4817f25ef4c6b889d...      119 days 21 hrs ago     badboykrys.eth LO                    IN    tankbottoms.eth   [9     ERC-11 55
                                                                                                                                                                   NFT


                                                                                                                                                      •            Bea r Market Blues (Deser ...
      @      Ox772632f5f969d1 e36 ...    119 days 22 hrs ago     badboykrys.eth LO                    IN    tankbottoms.eth   [9     ERC-1155
                                                                                                                                                                   NFT



      @      Ox81d9748c515be7b7 ...      119 days 22 hrs ago     badboykrys.eth L□                    IN    tankbottoms.eth   [9     ERC-1155
                                                                                                                                                      ■            Bear Market Blues (Deser...
                                                                                                                                                                   NFT



      @      Ox44 7822ed4c396c94...      119 days 22 hrs ago     badboykrys.eth L□                    IN    tankbottoms.eth   [9     ERc-1155
                                                                                                                                                      II           Bear Market Blues (Deser...
                                                                                                                                                                   NFT


                                                                                                                                                                   lnflnito Scribblo #233~
      @      Oxde269d2dl 249b662...      119 days 22 hrs ago     Null: Ox000... 000 (.0               IN    tankbottoms.eth   ~      ERc-72 1
                                                                                                                                                                   NFT: Infinite Scribble


                                                                                                                                                                   Bored YOOts Doge Club # ...
      @      Ox7021354aece5cc03 ...      119 days 22 hrs ago     Null: Ox000...000    @                     tankbottoms.eth   [9     ERC-721
                                                                                                                                                      .I.          NFT: Bored YOOts Doge Club


                                                                                                                                                                   Bored YOOts Doge Club # ...
      @      Ox7021354aece5cc03 ...      119 days 22 hrs ago     Null: OX000...000    @                     tankbottoms.eth   [9     ERC-721              l@J      NFT: Bored YOOts Doge Club



                                                                                                                              [9                          '   -    Bored YOOts Doge Club # ...
                                                                                                                                                          ~
      @      Ox7021354aece5cc03...       119 days 22 hrs ago     Null: Ox000... 000   @               IN    tankbottoms.eth          ERC-721
                                                                                                                                                                   NFT: Bored YOOts Doge Club

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        @       Ox7021354aece5cc03 ...      119 days 22 hrs ago    Null: oxooo __ooo     c.0             tankbottoms.eth   c9     ERC-721
                                                                                                                                              A         NFT: Bored YOOts Doge Club


                                                                                                                                                        Bored YOOt s Doge Club # ...
       @        Ox7021354aece5cc03 ...      119 days 22 hrs ago    Null: Ox000...000     (.0       tN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                  !     NFT: Bored YOOts Doge Club


                                                                                                                                                        HANGRY
        @       Ox6493f057080d04fce..       119 days 22 hrs ago    Null: Ox000...000 (.0           IN    tankbottoms.eth   i:P    ERC-1)55
                                                                                                                                                        NFT


                                                                                                                                                        NFT#4
        @       Oxl dda47556619167a...      119 days 22 hrs ago    threepanelcrfmes.eth        @   tN    tankbottoms.eth   c9     ERC-11 55       r@J   NFT


                                                                                                                                                        Christmas Punk #4706
        @       Oxed7f3a43586399e72...      120 days 1 hr ago      Null: Ox000 ... 000 (.0         tN    tankbottoms.eth   c9     ERc-11 55
                                                                                                                                                        NFT: Derivative#4706


                                                                                                                                                        NFT: THE RED PHONE - P ...
       @        Ox9ec277fbe23f31 b92 ...    120 days 1 hr ago      Null: Ox000 ... 000   @         IN    tankbottoms.eth   i:P    ERC-11 55       l@J   NFT: THE RED PHONE - PR...


                                                                                                                                                        NFT: The Future is Histor...
       @        Ox5eb730b0100c065d ...      120 days 14 hrs ago    Null: Ox000 ... 000 (.0         tN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                  l@)   NFT: The Future is History


                                                                                                                                                        NFT: Kat iana Maruve#16
       @        Oxaab570boeb63c0ca ...      120 days 1 5 hrs ago   Null: Ox000 ... 000   c.0       IN    tankbottoms.eth   c9     ERC-721         l@J   NFT: Katiana Maruve


                                                                                                                                              •         Vesperu s II #4042 4
       @        OX4baddb9fe619dca20...      120 days 1 5 hrs ago   Null: Ox000 .•.000    @         tN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                        Prometheans


                                                                                                                                                        NFT: Fluids b y BIM#196
        @       Ox9addb51 a90419c2d ...     120 days 15 hrs ago    Null: OxOOO __ooo (.0           IN    tankbottoms.eth   c9     ERC-721         l@J   NFT: Fluids by BIM


                                                                                                                                                        NFT: Infinite Scribble#2102
       @        Ox361b83641d8d61 4b ...     120 days 15 hrs ago    Null: Ox000...000     c.0       IN    tankbottoms.eth   c9     ERC-721         l@J   NFT: Infinite Scribble


                                                                                                                                                        Redemption Token #242
       @        Ox1 74771 bcbffb1fe7b ...   121 days 4 hrs ago     Null: Ox000 .•.000 (.0          tN    tankbottoms.eth   c9     ERc-72 1
                                                                                                                                                        NFT: Ledger stax


        @       Oxl 74771 bcbffb1fe7b ...   121 days 4 hrs ago     Null: Ox000 ... 000 (9          tN    tankbottoms.eth   ~      ERc-721     11:1      #242
                                                                                                                                                        NFT: Art On Ledger Stax M...


                                                                                                                                                        NFT:TERRA#12
        @       Oxd8ec3c358fec1 f44a ...    121 days 9 hrs ago     Null: Ox000 ...000    @               tankbottoms.eth   c9     ERC-721         l@J   NFT: TERRA


                                                                                                                                                        NFT#3
       @        Ox95acbd6fcf857421 e ...    121 days 9 hrs ago     Null: OX000 ...000    @               tankbottoms.eth   c9     ERc-11 55       l@J   NFT


                                                                                                                                                        NFT#3
       @        Oxa7b08ad0bc4e4efa9...      ·121 days 9 hrs ago    Null: Ox000 ... 000   (.0       tN    tankbottoms.eth   c9     ERC-11 55
                                                                                                                                                  ®l    NFT

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      @      Ox244f5292e1 dl 49b54...   121 days 9 hrs ago    nathang.eth L□                            tankbottoms.eth   19         ERC-11 55       @)    NFT


                                                                                                                                                           NFT: MOTLEY LAND#1
      @      Ox5cel 01659c6aead7 ...    122 days 18 hrs ago   0    Foundation: Marl<et LO     tN        tankbottoms.eth   19         ERC-721         l@J   NFT: MOTLEY LAND


                                                                                                                                                           NFT: MOTLEY LAND#2
      @      Ox51460a3c94a28e25...      122 days 18 hrs ago   0    Foundation: Market LO      IN        tankbottoms.eth   c9         ERC-721
                                                                                                                                                     @)    NFT: MOTLEY LAND


                                                                                                                                                 ~ Pirate Nyan Cat
      @      Oxdae7c7d764d0d92bL        123 days 19 hrs ago   Oxl 6fE55...3880a69B LO         IN        tankbottoms.eth   c9         ERC-11 55
                                                                                                                                                           Nyan Cat   0


                                                                                                                                                     ~
                                                                                                                                                           Cel Mates #3127
      @      Oxc68abee13bbb3354...      124 days 19 hrs ago   hossdaboss.eth tD               IN        tankbottoms.eth   c9         ERc-721
                                                                                                                                                           Cel Mates


                                                                                                                                                           Cel Mates#l 291
      @      Ox38281 ee940c49fb3f...    124 days 19 hrs ago   Null: Ox000 ...000    c9        IN        tankbottoms.eth   c9         ERC-721         l@J   eel Mates



      @      Ox38281 ee940c49fb3f...    124 days 19 hrs ago       tankbottoms.eth   c9        WT    0    Ox23f0DC ... 900ab5e1 tO    ERC-721         &
                                                                                                                                                       .   Cel Mates Crime Report
                                                                                                                                                           Cel Mates Crime Reports


                                                                                                                                                           Cel Mates#l 270
      @      Ox6c1937d89bc9829a ...     124 days 19 hrs ago   Null: Ox000 ...000 L□           IN        tankbottoms.eth   19         ERC-721         l@J   eel Mates


      @      Ox6c1937d89bc9829a ...     124 days 19 hrs ago       tankbottoms.eth   LO        our   0    Ox23fODC... 900ab5e1 L□     ERC-721
                                                                                                                                                     ,.    Cel Mates Crime Report
                                                                                                                                                           Cel Mates Crime Reports


                                                                                                                                                 •         Foaming 4-Qube
      @      Oxd2bl 211f8a04b3876...    125 days 5 hrs ago    vanarman.eth L□                 IN        tankbottoms.eth   19         ERC-721
                                                                                                                                                           NFT: Decoherence


                                                                                                                                                           NFT: B&amp;amp;O DNA ...
      @      Ox2cd12ded5fa0c0b1 c ...   127 days 4 hrs ago    Null: Ox000... 000 LD           IN        tankbottoms.eth   c9         ERC-721         l@J   NFT: B&amp;amp;O DNA C...



      @      Oxc 10170fa476ab3f03 ...   134 days 12 hrs ago   Null: Ox000 .•.000 Lo           IN        tankbottoms.eth   19         ERc-72 1
                                                                                                                                                 Ii        {Comp-nd} #6114
                                                                                                                                                           Agoria {Com?-nd} x I L] M ...


                                                                                                                                                           CryptoKitties#864380
      @      Ox682f4cfeefbfc924ac...    135 days 14 hrs ago   0    OxaC587a ... 101d3142 LO   IN        tankbottoms.eth   ~          ERC-721         @     CryptoKitties 0


                                                                                                                                                           CryptoKitties#691636
      @      Oxfe21 f9e02f0eb09bc...    135 days 14 hrs ago   0    OxaC587a ... 1D1d3142 tO             tankbottoms.eth   c9         ERC-721         @     CryptoKitties 0


      @      Ox3aa16f8f361947d48 ...    135 days 17 hrs ago   Null: OX000 ...000 tD                     tankbottoms.eth   19         ERC-721
                                                                                                                                                 D         Crypto Trump #1019
                                                                                                                                                           NFT: Crypto Trumps


                                                                                                                                                           NFT: NotCelMates#3079
      @      Oxe0b5c2d7f5982e5a8 ...    135 days 17 hrs ago   Null: Ox000 ...000 tO           IN        tankbottoms.eth   c9         ERC-721         @)    NFT: NotCelMates

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             Ox6d313d195ac918ea...       135 days 17 hrs ago    Null: oxooo __ooo Lo           tankbottoms.eth   19
      @                                                                                  IN                            ERC-721
                                                                                                                                   "'"'    NFT; NFooTball Group


                                                                                                                                           Cel Mates Crime Report
      @      Ox023c6bfcfe07658fef...     135 days 21 hrs ago    ylgu.eth Lo              PN    tankbottoms.eth   19    ERC-721
                                                                                                                                       .
                                                                                                                                    1111
                                                                                                                                           Cel Mates Crime Reports


                                                                                                                                  ~ Cel Mates Crime Report
      @      Ox0235a3a92ef249ddL        135 days 21 hrs ago     Ox9Af5CO...f8b6a287 Lo   IN    tankbottoms.eth   IP    ERC-72 1
                                                                                                                                           Cel Mates Crime Reports


                                                                                                                                           Humankind Lunchbox #4 ...
      @      Ox0ec45984ac3264ac...       138 days 21 hrs ago    Null: Ox000... 000 LO    IN    tankbottoms.eth   19    ERC-721     ~       Humankind Lunchbox 0


      @      Ox0ec45984ac3264ac ...      138 days 21 hrs ago    Null: Ox000... 000 LO    IN    tankbottoms.eth   19    ERC-721
                                                                                                                                  Jm,      Humankind Lunchbox #4 ...
                                                                                                                                           Humankind Lunchbox 0


                                                                                                                                           SideQuest #1984
      @      Ox3dc89cda972cca26...       138 days 21 hrs ago    Null:   oxooo...ooo c9         tankbottoms.eth   19    ERC-721     l@J     NFT: SideQuest


                                                                                                                                           TheNerdCollectiveGenesi ...
      @      Ox7f57f0a04e616bc04,_      138 days 21 hrs ago     Null: Ox000...000 LO     IN    tankbottoms.eth   19    ERC-721
                                                                                                                                   0l      NFT: TheNerdCollectiveGe...


                                                                                                                                           CrushedPunk#l 50
      @      Ox4d4a0dbada225aa6...      138 days 21 hrs ago     Null: Ox000 ...000 LO    IN    tankbottoms.eth   19    ERC-721
                                                                                                                                    'i:    NFT: CrushedPunks



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     A total of 3,318 records found                                                                                                                   First          Page 6 of 34       >   Last


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      @        Oxc0bbf90a34 7d2371 c ...      138 days 21 hrs ago   Null: Ox000...000 c..D        IN    tankbottoms.eth   c..D    ERC-727
                                                                                                                                            ,g Humankind Lunchbox #4...
                                                                                                                                                          Humankind Lunchbox 0


                                                                                                                                                          !illragm11 §ltlrl!!iet #135
      @        Ox91 fd87d83b8556be2. ..       138 days 21 hrs ago   0   Foundation: Market (..0   IN    tankbottoms.eth   c..D    ERC-721       ...       NFT: &#1 20123;&#120163...


                                                                                                                                                          Fantastic Voyages VI ~--·
      @        Ox73cc32895338d31 b ...        138 days 21 hrs ago   0   Foundation: Market (9     IN    tankbonoms.eth    cP      ERC-721       (@)       NFT: Fantastic Voyages&...


      @        Oxa60348b644bfbb573...         138 days 21 hrs ago   Null: Ox000...000 (9          IN    tankbottoms.eth   c..D    ERC-721   D             Magnus II #25262
                                                                                                                                                          Prometheans


      @        Oxa60f2c406 7ab327 4b...       138 days 21 hrs ago   Null: Ox000...000 c..D        IN    tankbottoms.eth   c..D    ERC-721
                                                                                                                                            I!            Defifa Team Portugal 2022
                                                                                                                                                          NFT: Def1fa: FIFA World cu...



                                                                                                                                            l'J
                                                                                                                                                          Def1fa Team Portugal 2022
      @        Ox74ec502b841 ff929b...        138 days 21 hrs ago   Null: Ox000...000 (9          IN    tankbottoms.eth   cP      ERC·721
                                                                                                                                                          NFT: Def1fa: FIFA World cu...


      @        Oxc5359e97 45092b61 ...        139 days 10 hrs ago   Null: oxooo...ooo c..O        IN    tankbottoms.eth   c..O    ERC-727   II            Greenest Greenlight
                                                                                                                                                          NFT: StudioDAO Season 1


                                                                                                                          (..0    ERC-721   •             RarePass: Genesis #224
      @        Ox5405651148238aab...          139 days 11 hrs ago   OxDb51A7...07ffA7El (..0      IN    tankbottoms.eth
                                                                                                                                                          RarePass


      @        Ox6 767bc7bacf59953f...        140 days 4 hrs ago    Null: Ox000...000 (9          IN    tankbottoms.eth   c..O    ERC-721   ■ Rekt King #1393
                                                                                                                                                          NFT: RektWTF


                                                                                                                                            •             Starbom #3198
      @        Ox4d7018fc3c7bab70a...         141 days 18 hrs ago   Null: Ox000...000   c9        IN    tankbottoms.eth   cP      ERC-721
                                                                                                                                                          NFT: Space+ Starborn


                                                                                                                                  ERC,721   ~ Starborn #3199
      @        Ox4d7018fc3c 7bab 70a...       141 days 18 hrs ago   Null: Ox000...000 c.0         IN    tankbottoms.eth   cP                              NFT: Space+ Starborn


      @        Ox4d7018fc3c 7bab70a ...       141 days 18 hrs ago   Null: Ox000...000 c..D        IN    tankbottoms.eth   c..D    ERC-721   •             Starborn #3196
                                                                                                                                                          NFT: Space+ Starborn


      @        Ox4d7018fc3c 7bab 70a...       141 days 18 hrs ago   Null: Ox000...000 (..0        IN    tankbottoms.eth   c..D    ERC-721                 Starborn #3197
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                                                                                                                                                      llllragon Sltirll!IE!i #256
      ®      Ox75cc46625a07c198 •..        142 days 2 hrs ago       § Foundation: Market LD       IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                    J NFT: &#120123;&#120163...


      ®      Ox99dbc41a5a2b7e6d...         142 days 8 hrs ago        Null: oxooo...ooo LD         IN    tankbottoms.eth   t.D     ERC-721
                                                                                                                                            ■ Redempt ion Token #759
                                                                                                                                                      [ Ledger] Market - Oeadfe...


                                                                                                                                            ■ Redemption Token #758
      ®      Oxc64 7633ac7 4d59ca...       142 days 8 hrs ago        Null: Ox000...000 @          IN    tankbottoms.eth   t.D     ERC-721
                                                                                                                                              [ Ledger] Market - Deadfe...


                                                                                                                                                      CAN YOU HODL
      ®      Ox458dbb735b7cdb1 c...        143 days 11 hrs ago       Null: Ox000...000 LD         IN    tankbottoms.eth   c9      ERC-721    -.sa
                                                                                                                                                      NFT: CRYPTO NOISE CON...


                                                                                                                                                      Sweet sixteen
      ®      Oxdfb057532251Oa75c...        145 days 6 hrs ago       0   Ox6D7c44...8E9a7a42 (!)   IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                      NFT: ACID DROPS &111281 ...


      ®      Ox1e06399bc522c3ef3 ...       146 days 8 hrs ago       0   Foundation: Market @      IN    tankbottoms.eth   t.D     ERC-721   ~         Array
                                                                                                                                                      NFT: PARAMETRIC


      ®      Oxd66d012ee56aea78...         146 days 9 hrs ago        Null: Ox000...000 @          IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                            rn        Fire 14047
                                                                                                                                                      NFT: Fire


                                                                                                                                                      Satori #1240




                                                                                                                                            '
      ®      Ox68a989b7af521cO 56 ...      146 days 9 hrs ago        Null: oxooo...ooo @          IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                      NFT: GirlGuard


                                                                                                                                                      NFT: GirlGuard#l 237
      ®      Ox68a989b7af521cO 56...       146 days 9 hrs ago        Null: oxooo...ooo LD         IN    tankbottoms.eth   c9      ERC-721    @)       NFT: GirlGuard


                                                                                                                                                      Satori #1238
      ®      Ox68a989b7af521cO 56...       146 days 9 hrs ago        Null: Ox000...000 @          IN    tankbottoms.eth   c9      ERC-721   &\~
                                                                                                                                                      NFT: GirlGuard



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                                                                                                                                                      Satori #1239
      ®      Ox68a989b7af521cO 56 ...      146 days 9 hrs ago        Null: Ox000...000 LD         IN    tankbottoms.eth   t.D     ERC-721
                                                                                                                                                      NFT: GirlGuard


                                                                                                                                                      Satori #1236
      ®      Ox68a989b7af521c056 ...       146 days 9 hrs aQo        Null: oxooo...ooo LD         IN    tankbottoms.eth   t.D     ERC-721
                                                                                                                                            f;        NFT: GlrlGuard


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      @      Oxc7b012c0a883a9 ff9 ...      146 days 9 hrs ago        Null: Ox000...000 LD         IN    tankbottoms.eth   t.D     ERC-721
                                                                                                                                             @)       NFT: TENGOKU SPACE


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      @      Oxc7b012c0a883a9ff9...        146 days 9 hrs ago        Null: Ox000...000 LD         IN    tankbottoms.eth   t.CI    ERC,721    @)       NFT: TENGOKU SPACE


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      ®      Oxc7b012c0a883a9ff9...        146 days 9 hrs ago        Null: Ox000...000 LD         IN    tankbottoms.eth   t.CI    ERC-721    @)       NFT: TENGOKU SPACE


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      @      Oxc7b012c0a883a9ff9...      146 days 9 hrs ago      Null: Ox000...000 (9         IN      tankbottoms.eth   LO    ERC-721        (@)       NFT: TENGOKU SPACE


      @      Ox9423d0d1 f0f0819b0 ...    146 days 9 hrs ago      Null: Ox000...000 c...O      IN      tankbottoms.eth   LO    ERC-721
                                                                                                                                               ..      The Imbecile One #2076
                                                                                                                                                       NFT: The lmbecille One


                                                                                                                                                       The Imbecile One #2077
      @      Ox9423d0dl f0f0819b0 ...    146 days 9 hrs ago      Null: Ox000...000 (9         IN      tankbottoms.eth   (9    ERC-721
                                                                                                                                         ~ NFT: The lmbecille one
                                                                                                                                         ■ The Imbecile One #2078
      @      Ox9423d0dl f0f0819b0 ...    146 days 9 hrs ago      Null: Ox000...000 (.0        IN      tankbottoms.eth   L□    ERC-721
                                                                                                                                                       NFT: The lmbecille One


                                                                                                                                         •             The Imbecile One #2075
      @      Ox9423d0dl f0f0819b0 ...    146 days 9 hrs ago      Null: oxooo...ooo c...□      IN      tankbottoms.eth   LO    ERC-721
                                                                                                                                                       NFT: The lmbecille One

                                                                                                                                             1;;._ ~
                                                                                                                                                       The Imbecile One #2079
      @      Ox9423d0dl f0f0819b0 ...    146 days 9 hrs ago      Null: oxooo...ooo   c9       IN      tankbottoms.eth   LD    ERC-721
                                                                                                                                         >..,
                                                                                                                                          &li< NFT: The lmbecille One

                                                                                                      tankbottoms.eth   (9               ~ Defifa Team Spain 2022
      @      Ox722bcf9aa01 e3b4f1 ...    146 days 9 hrs ago      Null: Ox000...000 (9         IN                              ERC-721
                                                                                                                                           NFT: Def1fa: FIFA World Cu ...


      @      Ox722bcf9aa01 e3b4f1 ..     146 days 9 hrs ago      Null: Ox000...000 [...O      IN      tankbottoms.eth   LO    ERC-721
                                                                                                                                         A             Def1fa Team Japan 2022
                                                                                                                                                       NFT: Deflfa: FIFA World Cu...


      @      Ox722bcf9aa01 e3b4f1 ..     146 days 9 hrs ago      Null: Ox000...000 c...O      IN      tankbottoms.eth   LO    ERC-721
                                                                                                                                         ffl           Defifa Team France 2022
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      @      Ox722bcf9aa01e3b4f1 ...     146 days 9 hrs ago      Null: Ox000...000 (9         IN      tankbottoms.eth   LO    ERC-721
                                                                                                                                         a             Defifa Team Germany 2022
                                                                                                                                                       NFT: Def1fa: FIFA World Cu ...


                                                                                                                              ERC-721
                                                                                                                                         ■ Redemption Token #9875
      @      Ox26c6bccd18d240b6..        146 days 10 hrs ago       tankbottoms.eth    c...O   01/l   Null: Ox000...000 Lo
                                                                                                                                                       [Ledger] Market - Black-o... 0


      @      OxOcSa 1bbbOOe65047...      146 days 16 hrs ago     Null: Ox000...000 c...□      IN      tankbottoms.eth   c□    ERC-721
                                                                                                                                         m             Def1fa Team Brazil 2022
                                                                                                                                                       NFT: Oef1fa: FIFA World Cu...


                                                                                                                                                       NFT: goblingem.wtf Free ..
      @      Ox25a3867eb l ebedOO...     152 days 4 hrs ago      Null: Ox000...000 (9         IN      tankbottoms.eth   (9    ERC-721        (@)       NFT: goblingem.wtf Free C...


      @      Ox0320d3491 bc2f41 ac...    152 days 14 hrs ago     Null: Ox000...000 (.0        IN      tankbottoms.eth   c□    ERC-1155
                                                                                                                                         6iil          GARDNER1990 - CANVAS
                                                                                                                                                       NFT


                                                                                                                                                       NFT: Caf&#233; 11 #460
      @      Ox6afbbldel 46674b23...     152 days 21 hrs ago     Null: Ox000...000 (9         IN      tankbottoms.eth   (9    ERC-721        (@)       NFT: Caf&/1233; 11

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      @      Oxc33c4e47 6c6e3e Bd...     153 days 1 hr ago       0   Ox6D7c44...BE9a7a42 LO   IN     tankbottoms.eth   LO    ERC-721
                                                                                                                                         Iii       GARDNER 1990 • THE PL..
                                                                                                                                                   NFT: ARTHEIST


                                                                                                                                                   GARDNER 1990 · HOTEL ...
      @      Ox382541eea4c103e0f...      153 days 1 hr ago       Null: Ox000...000 (9         IN     tankbottoms.eth   LO    ERC-1155
                                                                                                                                                   NFT


                                                                                                                                         ,. . _    Sand Plates #777
      @      Ox4a536bBdb4c71 cefO...     153 days 10 hrs ago     OxFe374f...F07677ee LO       IN     tankbottoms.eth   LO    ERC-1155
                                                                                                                                              1
                                                                                                                                         />" 111
                                                                                                                                                   NFT: SPDL Ticket


                                                                                                                                                   NFT: EBCX Gobblers Goo ...
      @      Ox11884faeal 93fl dBf...    153 days 12 hrs ago     Ox42Db33...C5ccF303 LD       IN     tankbottoms.eth   (9    ERC-1155        @     NFT: EBCX Gobblers Goo ..


                                                                                                                                                   Friendship Bracelets #10 ...
      @      Oxaa0e4379105f86c4a...      153 days 15 hrs ago     Null: Ox000...000 LO         IN     tankbottoms.eth   LO    ERC-721
                                                                                                                                                   Art Blocks Explorations 0


                                                                                                                                                   Friendship Bracelets #10 ...
      @      Oxf1 53b66d2b4 l 7d63...    153 days 16 hrs ago     Null: Ox000...000 Lo         IN     tankbottoms.eth   LO    ERC-721
                                                                                                                                                   Art Blocks Explorations 0


      @      Ox28fdZ7bBa49b6b1 c9 ...    153 days 1B hrs ago       tankbottoms.eth   LD       OUT   Null: Ox000...000 LD     ERC-721
                                                                                                                                         ■ Redemption Token #1353
                                                                                                                                                   [ Ledger] Market· Black--o...    0


                                                                   tankbottoms.eth                                                       •         Redemption Token #2497
      @      Oxe1bc6ce7e1004cbc9...      153 days 18 hrs ago                         LO       OUT   Null: Ox000...000 LQ     ERC-721
                                                                                                                                                   [ Ledger] Market - Black--o... 0


                                                                                                                                         •         Redemption Token #4905
      @      Ox7a348f2B478fl e4ba...     153 days 1B hrs ago       tankbottoms.eth   LO       our   Null: Oxooo__ooo LD      ERC-721
                                                                                                                                                   [ Ledger] Market • Black--o... 0


                                                                                                                                         •         Redemption Token #7542
      @      Ox33e6043adb2bc56e...       153 days 1B hrs ago       tankbottoms.eth   LO       OUT   Null: Ox000...000 Lo     ERC-721
                                                                                                                                                   [ Ledger] Market - Black--o... 0


      @      Ox1 da0b4b0cbd1 2c73 ...    153 days 1B hrs ago       tankbottoms.eth   LD       OUT   Null: Ox000...000 LD     ERC-721
                                                                                                                                         ■ Redemption Token #3532
                                                                                                                                                   [ Ledger] Market - Black--o...   0

      @      Ox6eef9c0543c6ed7e3...      154 days 21 hrs ago     Null: Ox000...000 Lo         IN     tankbottoms.eth   LO    ERC-721     ■ Chillennial #617
                                                                                                                                                   NFT: Chillennials


                                                                                                                                                   Nativ<1Punk Mint Pass
      @      Oxac9cf5e105136b4a2...      155 days 7 hrs ago      OxA936eC...c49404EC (.0      IN     tankbottoms.eth   LO    ERC-1155        r@)   NFT: NativePunk.xyz Ticket


                                                                                                                                                   NFT: Sandplates.com Offl...
      @      Oxaa6896689c4f822e2...      156 days 3 hrs ago      Ox08f9EO... A01 BD54e (9     IN     tankbottoms.eth   @     ERC-1155        @     NFT: Sandplates.com Offlc...


                                                                                                                                         •         Killer Acid Infected My Le...
      @      Ox6704bb69911e30cdf...      157 days 8 hrs ago      Null: OX000...000 (.0        IN     tankbottoms.eth   LD    ERC-1 155
                                                                                                                                                   NFT


      @      Ox66f4ea6813642a2dl ...     157 days 15 hrs ago     Null: Ox000...000 (9         IN     tankbottoms.eth   (9    ERC-721
                                                                                                                                         ■ The Street Collective Pass
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        @       OX47018d0905b84882 ...      157 days 20 hrs ago    Oxa61 FFD ...Oe52cC75 L□    IN     tankbottoms.eth     L□             ERC·l 155       (@)   NFT: Daisen.f1Official


                                                                                                                                                               NFT: goblingem.wtf Mint ...
       @        Ox326a677f7485214da ...     158 days 11 hrs ago    Null: Ox000 ...000 (9       IN     tankbottoms.eth     L□             ERC-721         (@)   NFT: goblingem.wtfMint P...


                                                                                                                                                               NFT: Witcher Art Mint Pa...
        @       Ox66d330ae38e4f9363...      1 59 days 12 hrs ago   OxA994C8 ...7A27BE3A L□     IN     tankbottoms.eth     L□             ERC-1155
                                                                                                                                                         (@)   NFT: Witcher An Mint Pas.,.


                                                                                                                                                               NFT: The Exora Lab #330
        @       Ox3a260d 529b9defa41 ...    162 days 12 hr s ago   Ox6b5203...7001 B8A4 (9     IN     tankbottoms.eth     L□             ERC-1155        (@)   NFT: The Exora Lab


                                                                                                                                                               NFT: T he QPT Metacard ...
        @       Oxee5801459b53d475...       163 days 12 hrs ago    Ox8511 Fd ...9e7Ee815 c.□   IN     tankbottoms.eth     c.□            ERC-1155        (@)   NFT: The QPT Metacard C...


                                                                                                                                                               NFT: Crypto Diverse Club...
       @        Oxa2f89d6d022fa62fc...      164 days 18 hr s ago    tankbottoms.eth    c.□     oor   Sybil Delegate: atlla..o_... c.□    ERC-1155        (@)   NFT: Crypto Diverse Club



       @        Ox8e9980152467cd1 f4 ...    165 days 6 hrs ago     OxA23FcB...C2C32Ff9 c.O     IN     tankbottoms.eth     c.O            ERC-721
                                                                                                                                                     ■ Redemption Token #3596
                                                                                                                                                               [ Ledger] Market - Black--o...    0

                                                                                                                                                     •         Redempt ion Token #9875
       @        Ox8e9980152467cd1 f4 ...    165 days 6 hrs ago     beastars.eth c.□            IN     tankbottoms.eth     cP             ERC-721
                                                                                                                                                               [ Ledger] Market - Black--o... 0


                                                                                                                                                     •         Redemption Token #4905
       @        Ox8e9980152467cd1 f4 ...    165 days 6 hrs ago     OxA012B3 ...f034af9A c.□    IN     tankbottoms.eth     c.□            ERC-721
                                                                                                                                                               [ Ledger] Market - Black--o...    0

                                                                                                                                                     •         Redemption Token #9536
       @        Ox8e9980152467cd l f4 ...   165 days 6 hrs ago     Ox279A94...39391468 L□      IN     tankbottoms.eth     c.□            ERC-721
                                                                                                                                                               [ Ledger ] Market - Black--o...   0

       @        Ox8e9980152467cd1 f4 ...    165 days 6 hrs ago     vip0571 .eth c,□            IN     tankbottoms.eth     t,D            ERC-721
                                                                                                                                                     ■         Redemption Token #3532
                                                                                                                                                               [ Ledger] Market - Black--o... 0



                                                                   Ox783E69...184c678C L□
                                                                                                                                                     ■ Redemption Token #981
        @       Oxb 7da042c051e20e5...      165 days 6 h rs ago                                IN     tankbdttoms.eth     c.□            ERC-721
                                                                                                                                                               [Ledger] Market - Black--o...     0

                                                                                                                                                     ■ Rgdgmpt ion Tokgn #5521
        @       Oxb 7da042c051e20e5...      165 days 6 hrs ago     OxaD93c5... 64b6Cdf8 c.□    IN     tankbottoms.eth     t.D            ERC-721
                                                                                                                                                               [ Ledger] Market - Black--o...    0

                                                                                                                                                     ■ Redemption Token #1353
        @       Oxb7da042c051e20e5 ...      165 days 6 hrs ago     bentoebox.eth c.O           IN     tankbottoms.eth     cP             ERC-721
                                                                                                                                                               [Ledger] Market - Black--o...     0

                                                                                                                                                     •         Redemption Token #2497
       @        Oxb7da042c051 e20e5 ...     165 days 6 h rs ago    Ox8dFE21 ...Dfcf462C (.0    IN     tankbottoms.eth     c.O            ERC-721
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                                                                                                                                                         -     Yellows #5595
       @        Ox923377f3471 a4edd7 ...    165 days 15 hrs ago    Null: Ox000 ...000 (9       IN     tankbottoms.eth     cP             ERC-721
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       @        Oxea2e916928f9e2cd3...      165 days 19 hrs ago     nodoor.eth l,O                  IN     tankbottoms.eth    LO        ERC-721
                                                                                                                                                    ■         Redempt ion Token #7304
                                                                                                                                                              [ Ledger] Market • Black-a... 0


                                                                                                                                                    •         Redemption Token #6043
       @        Oxea2e916928f9e2cd3...      165 days 19 hrs ago     Ox393FCe...eF63b43F LO          IN     tankbottoms.eth    LO        ERC-721
                                                                                                                                                              [ Ledger] Market · Black-a... 0



        @       Ox85 l ab07cff94aed2a ...   165 days 23 hrs ago     E) Ox94d1 Be...9F268E08 l.O     IN     tankbottoms.eth    LO        ERC-1155
                                                                                                                                                    :L
                                                                                                                                                    =   ---   Introdu cing: QQL Rare Su...
                                                                                                                                                              NFT




                                                                                                                                                    -
                                                                                                                                                    '\ .      Borne #25
        @       Ox18afc0ee9f4d0bf33...      166 days 11 hr s ago     tankbottoms.eth    [..O        OUT   Ox9C3028 ...f1 A70733 [..O    ERC-1155
                                                                                                                                                              NFT: Secret Borne Cards


        @       Oxc7a9fa29a796588fa ...     167 days 20 hr s ago    Null: o xooo ...ooo LO          IN     tankbottoms.eth    LO        ERC-721
                                                                                                                                                    IJ        LITTLE MONSTERS · 3 #2...
                                                                                                                                                              NFT: THREE PANEL CRIMES


                                                                                                                                                    •         Redemption Token #7542
       @        Ox04e844ead664cl 78 .•.     169 days 1 0 hr s ago   Null: oxooo ...ooo Lo           IN     tankbottoms.eth    LO        ERC-721
                                                                                                                                                              [ Ledger] Market · Black-a...   0

                                                                                                                                                              CryptoRacing # 1 02
       @        Ox4e8fe1ef6c0cf3b67c ...    169 days 10 hrs ago     Oxb5dC7E... fcf19f16 (!)        IN     tankbottoms.eth    LD        ERC-1155
                                                                                                                                                              NFT: Secret Racing Lab


                                                                                                                                                              PUBG Mint Pass #9
       @        Oxbd2962fa34b04496 ...      169 days 18 hrs ago     Ox400163 ...12f368a6 (!)        IN     tankbottoms.eth    cP        ERC-7155
                                                                                                                                                              NFT*


                                                                                                                                                    ~ ThelandSafe Genesis NFT
       @        Ox8dbd655f68aa 11137...     169 days 19 hrs ago     Ox8D4cbD...558dd682 [.,O        IN     tankbottoms.eth    LO        ERC-1155
                                                                                                                                                              NFT: ThelandSafe Original


       @        Ox7a0546386ae1 e7c2...      170 days 12 hrs ago     OxE7F621 ...50543843 LO         IN     tankbottoms.eth    LO        ERC-I 155
                                                                                                                                                    RI        Tomb Raider Mint Pass #9
                                                                                                                                                              NFT* A


                                                                                                                                                              Crypto Meta Land Collecti. ..
       @        Ox8c472eccd20dd023 ...      170 days 18 hrs ago     Ox86c075 ...d6dbOC6C [..O       IN     tankbottoms.eth    LO        ERC-1 155       @     NFT: Crypto Meta Land Co ...



                                                                                                                                        ERC-1155
                                                                                                                                                    ■ Moonbird Sword #4882
        @       Oxfc49d 6a8053357eed ...    170 days 18 hrs ago     Ox7653F6...89813dAD LO          IN     tankbdttoms.eth    LO
                                                                                                                                                              NFT: Moonbird Combat Ge...


                                                                                                                                                              #1444
        @       Ox8c6b09e1e3d9c267 ...      170 days 23 hr s ago    Null: Ox000 ...000 [.,O         IN     tankbottoms.eth    LO        ERC-721         @     NFT: Voyager Pass



        @       Oxl 39304ff827f35819 ...    171 days 2 hrs ago       tankbottoms.eth    [..O        GUT   Null: Ox000.,.000   (9        ERC-721
                                                                                                                                                    ■         Genesis Pass #11
                                                                                                                                                              NFT: Genesis


       @        Ox5938e712ceblf9fe6...      171 days 10 hrs ago     Oxb813f3 ...E9 f2C6CS      (9   IN     tankbottoms.eth    LO        ERC-721
                                                                                                                                                    g         Apt #18 - Floor #51 - Tow...
                                                                                                                                                              EthereumTowers 0



       @        Ox775620f160ef425c5...      171 days 17 hrs ago     Oxc2b65f...A6859753 [.D         IN     tankbottoms.eth    LO        ERC-7155
                                                                                                                                                        l'    MetaFortnite #33
                                                                                                                                                              NFT: Fortnite Meta

                                                                                                                                                                    PLAINTIFF0001210
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      @      Ox41 df0dcb544f5a 1e6...     172 days 16 hrs ago     Ox5DF3e3...F2fD2839 LD    IN    tankbottoms.eth   LD    ERC-1 155   II           NFT Mint Club
                                                                                                                                                   NFT: Nft Mint Club Items


                                                                                                                                                   Royal Crown
      @      Oxb79e0bc25fdd316ac...       172 days 17 hrs ago     Oxcd68dC... 1e455F7B LD   IN    tankbottoms.eth   LD    ERC-1155
                                                                                                                                       ©           NFT: Modem Crown Ticket


                                                                                                                                                   Royal Crown
      @      Ox6fb7405c617a2ed5d...       172 days 17 hrs ago     Ox82f475...C365bb5d LD    IN    tankbottoms.eth   LD    ERC-1155
                                                                                                                                       ©           NFT: The crown Collection


                                                                                                                                                   NFT: The Crown ltems#1
      @      Ox12a2f08dd256312e0...       172 days 18 hrs ago     OxDabF89...75D26bb2 (9    IN    tankbottoms.eth   LD    ERC-1155
                                                                                                                                       ©           NFT: The crown Items


                                                                                                                                                   lconicN FT #439
      @      Oxab998bc88f4c129f1 ...      173 days 3 hrs ago      Null: oxooo...ooo LD      IN    tankbottoms.eth   LD    ERC-721
                                                                                                                                       ©           lconicNFT


                                                                                                                                                   Moonbirdpunk #9
      @      Oxdfe00d9a05b1401 ca ...     173 days 12 hrs ago     Ox7A9FA0...284c2883 LD    IN    tankbottoms.eth   LD    ERC-1155
                                                                                                                                       ti          NFT: The Moonbirdponk 0 ...


                                                                                                                                           -       Lost Noun 404 883
      @      Ox976826259fc996363 ...      173 days 17 hrs ago     Null: oxooo...ooo   c9    IN    tankbottoms.eth   LD    ERC-721     00
                                                                                                                                       ■ -     -   NFT: Lost Noun 404


      @      Ox68c866f9494f2237b...       176 days 1 hr ago       Null: Ox000...000   c9    IN    tankbottoms.eth   cP    ERC-721
                                                                                                                                      m            Windchime #332
                                                                                                                                                   Wlndchime - secret Garde...



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       @       Ox68c866f9494f2237b...         176 days 1 hr ago      Null: Ox000 ...000   c,O         IN    tankbottoms.eth   c,O     ERC-721
                                                                                                                                                  m          Windchime #332
                                                                                                                                                             Wlndchime • Secret Garde...


                                                                                                                                                             NFT: d-day#17
       @       Ox0e27e1 Oee84e9b08...         176 days 2 hrs ago     Null: Ox000 ...000   c,O         IN    tankbottoms.eth   c,O     ERC-721         @)     NFT: d-day


                                                                                                                              c,()                •          Nightmare Frendz #334
       @       Oxf2da19d448e1 a608a...        176 days 1 O hrs ago   Null: Ox000 ...000   c,O         IN    tankbottoms.eth           ERC-721
                                                                                                                                                             Async Blueprinls 0


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       @       Ox68c5e4d32d8357d1 ...         176 days 10 hrs ago    Null: Ox000 ...000   c,0         IN    tankbottoms.eth   c,O     ERC-721         @)     NFT: Keep3r Options


                                                                                                                                                             NFT: PumpkinSpiceMoon...
       @       Ox0f0e76cc36e0596b9...         177 days 20 hrs ago    Null: Ox000 ...000   c,O         IN    tankbottoms.eth   c,O     ERC-721
                                                                                                                                                      @)     NFT: PumpklnSpiceMoonb...



       @       Ox0f0e76cc36e0596b9 ...        177 days 20 hrs ago    Null: Ox000 ...000 @             IN    tankbottoms.eth   c,O     ERC-721
                                                                                                                                                      a      #7762
                                                                                                                                                             NFT: PumpklnSpiceMoonb...


       @       Ox64a3567464a31338...          179 days 1 hr ago      Oxed7e2E...SlaE7f06        c,O   IN    tankbottoms.eth   c,O     ERC-721     ■          Matter #1078
                                                                                                                                                             NFT: Matter


                                                                                                                                                             NFT#1
       @       Oxcc3a5d089a329953...          180 days 13 hrs ago    Null: Ox000 ...000   c,O         IN    tankbottoms.eth   c,0     ERC-1 155       @)     NFT


       @       Ox829cfaeaa 1 a784ecc ...      181 days 5 hrs ago     Ox0Ab3Cd...7eca2c32        c,O   IN    tankbottoms.eth   [.O     ERC-721
                                                                                                                                                  ■          PROOF Collective
                                                                                                                                                             PROOF Collective 0


                                                                                                                                                             NFT: Floor App Pass#l 15...
       @       Ox1 a8f2004180422d9...         181 days 14 hrs ago    Null: Ox000 ...000 @             IN    tankbottoms.eth   @       ERC-721         @)     NFT: Floor App Pass


                                                                                                                                                             NFT: Secret Hormald Clu ...
       @       Ox8784e50582d7a5fd1 ...        181 days 20 hrs ago    Ox992852 ...0f9D8b2d [9          IN    tankbottoms.eth   c,O     ERC-721         @)     NFT: Secret Hormald Club


                                                                                                                                                             NFT: THE-PASS#l
       @       Ox83c5d12fd623fe3e3...         182 days 9 hrs ago     Null: Ox000 ...000   c,O         IN    tankbottoms.eth   c,O     ERC-1155        @)     NFT: THE-PASS


       @       Oxf3a647a68282cd8b6 ...        182 days 10 hrs ago    Null: Ox000...000 [.O            IN    tankbottoms.eth   c,O     ERC-721                NFT: Goblinchests.wtf Mi...
                                                                                                                                                                   PLAINTIFF0001212
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                                                                                                                                                       Island #82
      @      Ox3b41 al 737f5c8eb7c ...   182 days 17 hrs ago      Ox56D62d...C4d2cDAF      C..0   IN    tankbottoms.eth   [.O    ERC-721         @)    NFT: Daniel Helmet


                                                                                                                                             •         Terra Nyan Cat
      @      Ox632755e953236d54f...      183 days 13 hrs ago      Oxfc903E...3Aba7d34 c_D         IN    tankbottoms.eth   cP     ERC-1155
                                                                                                                                                       Nyan Cat 0


                                                                                                                                                       Mut ant Kennel #302
      @      Oxd606509af73545c6a...      183 days 19 hrs ago      OxDd67de...6c25dfe3 c_D         IN    tankbottoms.eth   [.O    ERc-1155
                                                                                                                                                       NFT. MutarltKe1111el P1t:!~en...




                                                                                                                                             ■
                                                                                                                                                       LITTLE M ONSTERS - 2 #1 ...
      @      Oxfa 10609c65254fa56...     183 days 22 hrs ago      Null: Ox000...000 c_D           IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                       NFT: THREE PANEL CRIMES


                                                                                                                                                       NFT: House of Queens Or...
      @      Ox3d3414a60c17bc35...       184 days 13 hrs ago      Oxd7AAF8...6dDc0569 L□          IN    tankbottoms.eth   L□     ERC-1 155       @)    NFT: House of Queens Ori...


                                                                                                                                                       Top Husl Founder Genesi ...
      @      Oxe0bddbe80b5282cc...       184 days 13 hrs ago      OxD023d8...56ad096a c_D         IN    tankbottoms.eth   L□     ERC-1 155       @)    NFT: Top Husl Founder Ge...


                                                                                                                                                       Where Are You?
      @      Oxccl 9500226829d03. .      185 days 11 hrs ago      xie 1Ojiujitsu.eth L□           IN    tankbottoms.eth   L□     ERC-1 155
                                                                                                                                                       Streets by esraeslen


                                                                                                                                                       NFT: The Wonderful Husl ...
      @      Ox9857d63e9291 c43d ...     185 days 14 hrs ago      OxObdDOA...00376F53 [.O         IN    tankbottoms.eth   [.O    ERC-1155
                                                                                                                                                 @)    NFT: The Wonderful Hus! F...


                                                                                                                                             •         Locked Kongs #209
      @      Oxac9702eb5f4054792...      187 days 16 hrs ago      OxE7a715...b34aEf30 [.O         IN    tankbottoms.eth   [.O    ERc-1155
                                                                                                                                                       NFT: LockedKongs Super ...


      @      Ox4861 b5c31398dcl a ...    187 days 17 hrs ago      Ox28a78B...9C60DB58 [.O         IN    tankbottoms.eth   [.O    ERC-1155
                                                                                                                                             g         Ri selikePhoenix
                                                                                                                                                       NFT: Red RiseUkePhoenix


                                                                                                                                                       NFT: Final Mempus Items...
      @      Ox38e7a50c3102a803...       187 days 18 hrs ago      OxB190e9...EBD68231 [.O         IN    tankbottoms.eth   [.O    ERC-721         @)    NFT: Final Mempus Items


                                                                                                                                                       Tower Of Fantasy #482
      @      Oxl aSbOa 7aa660af1 db...   188 days 13 hrs ago      Ox0c850a~ F57bb4e2       cP     IN    tankbottoms.eth   [.D    ERC-721
                                                                                                                                                       NFT: First TowerOfFantasy...


      @      Oxb796309e8e4c44d9...       188 days 16 hrs ago      Null: Ox000...000   cP          IN    tankbottoms.eth   L□     ERC-721         ...
                                                                                                                                                  ·=   Pixel Builder #994
                                                                                                                                                       NFT: The Development ere...


                                                                                                                                                       CCOOKIES · LITTLE MON...
      @      Oxe0973d0c4ce1c870 ...      189 days 1 hr ago        Oxf6A2Be...C5931F44 L□          IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                       NFT: THREE PANEL CCOO...


                                                                                                                                             •         Uniswap · 1% • APE/WET ...
      @      Ox9fe5baecee098e908...      189 days 18 hrs ago      OxF2BEf4...c1 Cfa651 LD         IN    tankbottoms.eth   L□     ERC-1 155
                                                                                                                                                       NFT: Liquidity Uniswap V3 ...


      @      Ox667fda6af1 d5670a4...     189 days 19 hrs ago      Ox104110... 4dEB5453     cP     IN    tankbottoms.eth   L□     ERC-1 155             Metroverse Land
                                                                                                                                                            PLAINTIFF0001213
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       ®      Ox33ece9cbe1 1 ac4b6c ...        189 days 19 hrs ago           Ox2830DB ...fe80b4d9       [9   IN     tankbottoms.eth   [9     ERC-1 155     ..
                                                                                                                                                           !..1
                                                                                                                                                                  Tyan #81
                                                                                                                                                                  NFT: The MetaTyans



       ®      Oxef8c955fe6b5df20d ...          189 days 22 hrs ago           Null: Ox000 ...000 t.D          IN     tankbottoms.eth   t.D    ERC-721
                                                                                                                                                         ■        Gen esis Pass #11
                                                                                                                                                                  NFT:Genesis



              Ox7a5562801 c4cafbc8...          190 days 3 hrs ago            Null: Ox000 ...000   [9                tankbottoms.eth   t.D    ERC-721
                                                                                                                                                         o.:-•o   Mint Pass #988
       ®                                                                                                     IN
                                                                                                                                                         L• • • QQL Mint Pass 0


                                                                                                                                             ERC-721
                                                                                                                                                         Q.:.•o   M int Pass #175
       ®      Oxce5d8e924487ce9d ...           190 days 3 hrs ago            Null: Ox000 ...000 t.D          IN     tankbottoms.eth   t.D
                                                                                                                                                         L •'     QQL Mint Pass 0



       ®      Oxe21520f7b2ec55bd4 ...          190 days 12 hrs ago           Null: Ox000 ...000 t.O          IN     tankbottoms.eth   [9     ERC-721
                                                                                                                                                         ~        FWB Fest 1984 1300
                                                                                                                                                                  NFT: FWB Fest 1984


                                                                                                                                                                  Cryptolegend #29
       ®




       ®
              Oxb370af8ed5f1 ed2bb...



              Oxe5575de3d360ed04...
                                               192 days 14 hrs ago




                                               192 days 22 hrs ago          0
                                                                             Ox35951 c ...cFdaOCl 3 t.D



                                                                                 Ox6D7c44... 8E9a7a42 t.D
                                                                                                             IN




                                                                                                             IN
                                                                                                                    tankbottoms.eth




                                                                                                                    tankbottoms.eth
                                                                                                                                      t.D



                                                                                                                                      [9
                                                                                                                                             ERC-1155




                                                                                                                                             ERC-721
                                                                                                                                                         •        NFT: The Crypto Legends ...


                                                                                                                                                                  IS IT EXTINCT?
                                                                                                                                                                  NFT: AWAKENING



       ®      Oxc96b8f4879473bfd9 ...          193 days 2 hrs ago             tankbottoms.eth     t.D        OUT    tankbottoms.eth   [9     ERC-721      ..
                                                                                                                                                           ~
                                                                                                                                                                  Meow Diamonds
                                                                                                                                                                  NFT: tankbottoms


                                                                                                                                                                  Meow Diamonds
       ®      Oxd864f5a53h55a2f1 a ...         193 days 2 hrs ago           El   Foundation: Market     [9   IN     tankbottoms.eth   t.O    ERC-721      t~      NFT: tankbottoms



       ®      Ox6f832b84eb2d955c6 ...          193 days 3 hrs ago           El   Foun dation: Market    [9   IN     tankbottoms.eth   t.D    ERC-721      ~
                                                                                                                                                          ij
                                                                                                                                                                  Upside-down Moonbird N ...
                                                                                                                                                                  NFT: BOTTOMS



       ®      Oxc60cefe4fbd258315...           193 days 4 hrs ago            Null: Ox000 ...000   [9         IN     tankbottoms.eth   t.O    ERC-721
                                                                                                                                                         e        NewTokyoKids #511
                                                                                                                                                                  NFT: Newl okyoKid


                                                                                                                                                                  NewTokyoKids #512
       ®      Oxc60cefe4fbd258315 ...          193 days 4 hrs ago            Null: Ox000 ...000 t.O          IN     tankbottoms.eth   t.O    ERC-721
                                                                                                                                                         ii       NFT: NewTokyoKid


                                                                                                                                                                  NewTokyoKids #513

                                                                                                                                                         ~
       @      Oxc60cefe4fbd258315 ...          193 days 4 hrs ago            Null: Ox000 ...000 t.D          IN     tankbottoms.eth   t.D    ERC-721
                                                                                                                                                                  NFT: NewTokyoKid


                                                                                                                                                         ~ 26 Chamath Palihapitiya ...
       @      Oxal7ef77e84abeb0a2...           193 days 4 hrs ago            Nult Ox000 ...000 t.D           IN     tankbottoms.eth   t.D    ERC-721
                                                                                                                                                                  NFT: Titans or Crypto




                                                                                                                                                         ~i:
                                                                                                                                                                  4 Charles Hoskinson_ Sk ...
       ®      Oxal 7ef77e84abeb0a2...          193 days 4 hrs ago            Null: Ox000 ...000 t.D          IN     tankbottoms.eth   t.D    ERC-721
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      @      Ox5bc662557281062b...        193 days 9 hrs ago       Null: Ox000...000 [,O         IN    tankbottoms.eth   [,O    ERC-1155   ■           Grappling Gun
                                                                                                                                                       NFT


      @      Ox5bc662557281062b...        193 days 9 hrs ago       Null: Ox000...000 [,O         IN    tankbottoms.eth   cP     ERC-1155   II          Slotty Token
                                                                                                                                                       NFT


      @      Ox5bc662557281062b..,        193 days 9 hrs ago       Nult Ox000...000 [,O          IN    tankbottoms.eth   [,O    ERC-721    ~ AGENT2669
                                                                                                                                                       SSA INTERNATIONAL


                                                                                                                                           ■ SSA-X Star Blaster
      @      Ox5bc662557281062b...        193 days 9 hrs ago       Null: Ox000...000 (P          IN    tankbottoms.eth   cP     ERC-1155
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      @      Ox2128639f0aa36df52...       194 days 3 hrs ago       Null: Ox000...000 c,O         IN    tankbottoms.eth   c,O    ERC-1155   II          Maneki Neko's World
                                                                                                                                                       NFT


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      @      Ox6f45a01106fdf7dde...      194 days 10 hrs ago       0   Foundation: Market   cP   IN    tankbottoms.eth   c,O    ERC-721
                                                                                                                                                       NFT: City Lives: Alone, Tog...


                                                                                                                                                -'<a
                                                                                                                                                       Robber#32
      @      Oxeaa50e5423238c6e ...       195 days 17 hrs ago      Ox4676A4...1A7C6Df8 c,0       IN    tankbottoms.eth   c,O    ERc-72t
                                                                                                                                            =          NFT: Simple Robbers Tick...


                                                                                                                                                       Troublemakers
      @      Ox607f79a760a6b7245...       195 days 19 hrs ago      Ox39021   c...86ce1 dOD cP    IN    tankbottoms.eth   cP     ERC-1155
                                                                                                                                                       NFT: Exciting Troublemake...


                                                                                                                                                       Dragonball Legend #1
      @      Oxc2c394967d6c05ccc...       196 days 16 hrs ago      Ox8CScA6...41cF67bO c_O       IN    tankbottoms.eth   [,O    ERC-1155
                                                                                                                                                       NFT: Dragonball XYl Official


                                                                                                                                                       Gyaku #159
                                                                                                                                           ~ NFT: Gyaku Rebels Genesis
      @      Oxa8fb564580ded1580...       196 days 16 hrs ago      OxB3Aee5... 576FD7c9 [,O      IN    tankbottoms.eth   [,O    ERc-1155



      @      Ox7dff171692131 cee3 ...     196 days 22 hrs ago      livingwater.eth [,O           IN    tankbottoms.eth   [,O    ERC-721    ■           PROOF Collective
                                                                                                                                                       PROOF Collective 0


                                                                                                                                            _ _ QWC Mint Pass
                                                                                                                         [,O    ERC-1155
                                                                                                                                           ~
      @      Oxbf143b70caa34156a...       198 days 13 hrs ago      Oxe5db61..2A719dce [,O        IN    tankbottoms.eth
                                                                                                                                                NFT: The Wonderful QWC ..


      @      Ox3541634484932164...        198 days 21 hrs ago      Null: Ox000...000 c,D         IN    tankbottoms.eth   c,D    ERC-721    lifDil Capsule58
                                                                                                                                                •      NFT: Capsules


      @      Ox29033df7 473e2bb88...      198 days 21 hrs ago      Null: Ox000...000 (P          IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                           B           Capsule57
                                                                                                                                            ·          NFT: Capsules


      @      Oxce3b260a85e05ff83...       200 days 15 hrs ago      Null: Ox000...000 c,0         IN    tankbottoms.eth   c,0    ERc-721
                                                                                                                                           m           Oxa99999999999999999...
                                                                                                                                                       NFT: Infinite Tiles 2.0



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                                                                                                                                                       Ox5d95baebb8412ad827...
      @      Ox4942d126a5b3fd25a...       200 days 23 hrs ago      Null: Ox000...000 (P          IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                       NFT: Infinite Tiles 2.0

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      @      Oxa3ee15b413018174...        201 days 1 hr ago         Ox8Da9B4...403608C7 (9    IN      tankbottoms.eth   L□       ERC-1155        @J     NFT


      @      Oxc508tfa6b562967a4...       201 days 17 hrs ago       Ox626691 ...40af478B [9   IN      tankbottoms.eth   L□       ERC·721
                                                                                                                                             rJ         BOXIVERSE #312
                                                                                                                                                        NFT: Top Boxiverse Tickets


      @      OxbdBeaa 79646717Be...       202 days 37 mins ago       tankbottoms.eth   L□     CV!    Ox8788A0...3d2da37f L□      ERC-1 155
                                                                                                                                             II         Creepz Invasion Pass
                                                                                                                                                        Creepz Invasion Pass


                                                                                                                                             •          Otherdeed#77068
      @      Oxal 67d773b0171d44...       202 days 1 hr ago          tankbottoms.eth   L□     CIJT   Ox182ABC... F47C122c L□     ERC-721
                                                                                                                                                        Otherdeed 0


      @      Oxl d412047cd5d2ff27...      202 days 1 hr ago          tankbottoms.eth   LD     OUT    Ox1e0a9A... AC7687a7 c.D    ERC-721         A      Cold Blooded Creepz #62...
                                                                                                                                                 J»     Cold Blooded Creepz 0


                                                                                                                                                        Reptile Armoury #17375
      @      Oxl 2db284c79be794b...       202 days 1 hr ago          tankbottoms.eth   LD     oor    Ox8F12BA...EfACd21f LD      ERc-721
                                                                                                                                                        Reptile Armoury


                                                                                                                                                 ~
                                                                                                                                                        HeyBear #3
      @      Oxb3ba3e8b2b9320b1 ...       202 days 17 hrs ago       OxdE5b35... 1807B8FC LD   IN      tankbottoms.eth   LD       ERc-1155
                                                                                                                                                        NFT: HeyBears Origin


      @      Oxac0d0111df034d180...       202 days 18 hrs ago       Ox72A455. .223bbBF4 L□    IN      tankbottoms.eth   [9       ERC-1 155
                                                                                                                                             Iii        Moon Birds Victorian · Me...
                                                                                                                                                        NFT: Gold Moon Birds Viet...


                                                                                                                                                        Tap Fantasy #1
      @      Ox4ee 79d505ddb9dd4...       203 days 10 hrs ago       Oxaf221a...C259a516 L□    IN      tankbottoms.eth   L□       ERC·1 155
                                                                                                                                                        NFT: The Tap Fantasy Uml...


                                                                                                                                             •          pre-merge
      @      Ox30fd8c4cbb187ebdd ...      203 days 14 hrs ago       Null: Ox000...000 LD      IN      tankbottoms.eth   L□       ERc-1155
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                                                                                                                                                        Merged ETH #132
      @      Oxf429859475bd6871 ...       203 days 15 hrs ago       Null: Ox000...000 [9      IN      tankbottoms.eth   L□       ERC-721
                                                                                                                                                        NFT: Merged ETH


                                                                                                                                                        Merged ETH #136
      @      Oxf429859475bd6871 ...       203 days 15 hrs ago       Null: Ox000...000 LD      IN      tankbottoms.eth   L□       ERC-721
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                                                                                                                                                        Merged ETH #129
      @      Oxf429859475bd6871 ...       203 days 15 hrs ago       Null: Ox000...000 [.D     IN      tankbottoms.eth   [.D      ERC-721
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      @      Oxf429859475bd6871 ...       203 days 15 hrs ago       Null: Ox000...000 [9      IN      tankbottoms.eth   [9       ERC-721          ,.,   NFT: Merged ETH


      @      Oxf429859475bd6871 ...       203 days 15 hrs ago       Null: Ox000...000 LD      lN      tankbottoms.eth   LD       ERC-721         ~      Merged ETH #137
                                                                                                                                                        NFT: Merged ETH



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      @      Oxf429859475bd6871 ...       203 days 15 hrs ago       Null: Ox000...000 (9      IN      tankbottoms.eth   [9       ERC-721
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      @      Oxf429859475bd6871 ...       203 days 15 hrs ago      Null: Ox000 ...000 [,O      IN    tankbottoms.eth   [,O    ERC-721
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      @      Oxf429859475bd6871 ..        203 days 15 hrs ago      Null: Ox000 ...000 [,D      IN    tankbottoms.eth   [,D    ERC-721
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      @      Oxf429859475bd6871 ...       203 days 15 hrs ago      Null: Ox000 ...000 [,O      IN    tankbottoms.eth   [,D    ERC-721       ,J        Merged ETH #131

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      @      Oxf429859475bd6871 ...       203 days 15 hrs ago      Null: Ox000...000     @     IN    tankbottoms.eth   @      ERC-721
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      @      Ox5371 f743c252a 7a3c ...    203 days 15 hrs ago      Null: Ox000 ...000    c_D   IN    tankbottoms.eth   C,D    ERC-721
                                                                                                                                            ~         NFT: Merged ETH


                                                                                                                                                      Merged ETH #125
      @      Ox5371 f743c252a 7a3c ...    203 days 15 hrs ago      Null: Ox000 ...000 [,D      IN    tankbottoms.eth   [,D    ERC-721
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      @      Ox5371 f743c252a7a3c ...     203 days 15 hrs ago      Null:   oxooo...ooo   C,0   IN    tankbottoms.eth   C,D    ERC-721
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      @      Ox5371 f743c252a 7a3c ...    203 days 15 hrs ago      Null: Ox000 ...000    @     IN    tankbottoms.eth   @      ERC-721
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                                                                                                                                                      Merged ETH #124
      @      Ox5371 f743c252a7a3c...      203 days 15 hrs ago      Nult Ox000 ...000 [,D       IN    tankbottoms.eth   [,D    ERC-721
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      @      Ox4c51 c5839b377da8 ...      204 days 16 hrs ago      Null: Ox000 ...000 [,D      IN    tankbottoms.eth          ERC-721
                                                                                                                                                      NFT: Hawk Attack


                                                                                                                                        •             Wonder Woman Hero#29...
      @      Ox172a896657fc52526 ...      204 days 16 hrs ago      Null: Ox000 ...000    @     IN    tankbottoms.eth   [,O    ERC-721
                                                                                                                                        lit       .,:. NFT: WonderWoman(ETH ...

                                                                                                                                                      NFT: The Fucking Banana ...
      @      Oxeeb2b4436e0a 7 43dL        204 days 16 hrs ago      Null: Ox000 ...000 [,O      IN    tankbottoms.eth   [,D    ERC-721
                                                                                                                                            ©         NFT: The Fucking Banana


                                                                                                                                                      The Fucking Banana# 125
      @      Oxeeb2b4436e0a7 43df...      204 days 16 hrs ago      Null: Ox000 ...000 [,D      IN    tankbottoms.eth   [,D    ERC-721
                                                                                                                                                      NFT: The Fucking Banana


                                                                                                                                                      The Fucking Banana # 118
      @      Oxeeb2b4436e0a7 43dL         204 days 16 hrs ago      Null: Ox000 ...000    @     IN    tankbottoms.eth   @      ERC-721
                                                                                                                                                l"t   NFT: The Fucking Banana


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                                                                                                                                                      The Fucking Banana   # 129
      @      Oxeeb2b4436e0a7 43df...      204 days 16 hrs ago      Null: Ox000 ...000 [,D      IN    tankbottoms.eth          ERc-721
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      @      Oxeeb2b4436e0a 7 43df...     204 days 16 hrs ago      Null: Ox000 ...000    @     IN    tankbottoms.eth   @      ERC-721
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       @      Oxeeb2b4436e0a743df..       204 days 16 hrs ago       Null: Ox000 ...000 [,O      IN    tankbottoms.eth   (,□    ERC-721
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       @      Oxeeb2b4436e0a743df...      204 days 16 hrs ago       Null: Ox000 ...000 [,D      IN    tankbottoms.eth   [,D    ERC-721
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       @      Oxeeb2b4436e0a743df..       204 days 16 hrs ago       Null: Ox000 ...000 [,D      IN    tankbottoms.eth   [,D    ERC-721
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       @      Oxeeb2b4436e0a743df...      204 days 16 hrs ago       Null: Ox000 ...000 C,0      IN    tankbottoms.eth   C,D    ERC-721    t,             NFT: The Fucking Banana


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       @      Oxeeb2b4436e0a7 43df...     204 days 16 hrs ago       Null: Ox000 ...000 [,D      IN    tankbottoms.eth   [,D    ERC-721    (@)            NFT: The Fucking Banana


       @      Oxeeb2b4436e0a743df...      204 days 16 hrs ago       Null:   oxooo...ooo   C,0   IN    tankbottoms.eth   C,D    ERc-721    ..,.           The Fucking Banana # 137
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       @      Oxeeb2b4436e0a743df...      204 days 16 hrs ago       Null: Ox000 ...000 @        IN    tankbottoms.eth   @      ERC-721    (@)            NFT: The Fucking Banana



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       @        Oxeeb2b4436e0a743dL              204 days 16 hrs ago   Nul l: Ox000 ... 000   LD          tankbottoms.eth   LD     ERC-721
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       @        Oxd1c02731 ffl cafc5cl...        204 days 16 hrs ago   Nul l:                       IN    tankbottoms.eth   LD     ERC-721
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       @        Ox63a6a765f81707506...           204 days 16 hrs ago   Nul l: Ox000 ... 000   c:9   IN    tankbottoms.eth   LD     ERC-721
                                                                                                                                             D         CaniSpacien #759
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       @        Ox63a6a765f81707506...           204 days 16 hrs ago   Null: Ox000 ...000 (9        IN    tankbottoms.eth   c:9    ERC-721
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       @        Ox73376e7141858c4e...            204 days 16 hrs ago   Nul l: Ox000 ...000    LD    IN    tankbottoms.eth   LD     ERC-721       @     NFT: GEITA


                                                                                                                                             •         Geita #8547
       @        Ox73376e7141858c4e...            204 days 16 hrs ago   Nul l: Ox000 ... 000   LD    IN    tankbottoms.eth   LD     ERC-7Z1
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       @        Ox 73376e7141858c4e...           204 days 16 hrs ago   Null: Ox000 ...000     LD          tankbottoms.eth   LD     ERC-721             Geita #8551
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       ®       Ox73376e7141858c4e...        204 days 16 hrs ago        Null:    oxooo...ooo   L□         tankbottoms.eth   c9     ERC-721
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       ®       Ox0198c4b1 ec3bddc4 ...      208 days 11 hrs ago        Nul l: Ox000 ...000    (9   IN    tankbottoms.eth   L□     ERC-nl        @J        catharsis by Dario Lanza


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       ®       Ox98770de7bcd1 al 28 ...     208 days 12 hrs ago        Nul l: Ox000 ...000    c9   IN    tankbonoms.eth    L□     ERC-n l
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       ®       Oxdb588c0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000    (9   IN    tankbonoms.eth    c9     ERC-721
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       ®       Oxdb588c0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000 L□            tankbonoms.eth    L□     ERG-721
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       ®       Oxdb588c0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000 L□            tankbonoms.eth    L□     ERC-721
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       @       Oxdb588c0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000    (9   IN    tankbonoms.eth    L□     ERC-721
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       ®       Oxdb58Bc0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000 L□            tankbottoms.eth   r:9    ERG-721
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       ®       Oxdb58Bc0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000    (9   IN    tankbottoms.eth   r:9    ERC-721
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       ®       Oxdb588c0db76c5195...        208 days 12 hrs ago        Nul l: Ox000 ...000    c9   IN    tankbottoms.eth   L□     ERC-721
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       ®       Ox0b71 de65827d89a4...       208 days 12 hrs ago        Nul l: Ox000 ... 000 LD           tankbottoms.eth   LD     ERC-721
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      @      Ox0b71 de65827d89a4...         208 days 12 hrs ago       Nul l: Ox000 ...000 (9      PN    tankbottoms.eth   LD    ERC-n1
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      @      Ox365175507eebe28b...          209 days 4 hrs ago        Nul l: Ox000 ...000 (9      IN    tankbottoms.eth   LD    ERC-nl
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      @      Oxac8c307b57a245d4...          209 days 4 hrs ago        Nul l: Ox000 ...000 (9            tankbottoms.eth   c9    ERC-n1
                                                                                                                                          Iii        Neon Ticket #298
                                                                                                                                                     NFT: Entertainmint Neon T...


      @      Oxac8c307b57a245d4...          209 days 4 hrs ago        Nul l: Ox000 ...000 (9      IN    tankbottoms.eth   c9    ERC-nl    ii         Neon Ticket #296
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      @      Ox940e709d75eb6b19 ...         209 days 4 hrs ago        Nul l: Ox000 ...000    LD         tankbottoms.eth   LD    ERC-nl    ■ WGMI All Access Beta To ...
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      @      Oxbb62d4efc2febaf9e5...        211 days 21 hrs ago       Nul l: Ox000 ...000 (9      IN    tankbottoms.eth   LD    ERC-721
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      @      Ox1222a1a39bfe0af48...       214 days 13 hrs ago      Null: Ox000...000 Lo       IN    tankbonoms.eth    r.9    ERC-721
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      @      Ox3d2be619d4574a25...        21 4 days 17 hrs ago     Null: Ox000...000 LD             tankbottoms.eth   L□     ERC-721
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      @      Ox 1fbb 11f52e2cc0fd2...     214 days 17 hrs ago      Null: Ox000...000 LD       IN    tankbottoms.eth   c9     ERC-721
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      @        Oxa8e5d7dafee0c3cab...               214 days 18 hrs ago   Null: Ox000...000 L□    IN    tankbottoms.eth   c□     ERC-721       •     MoonPenguin #1560
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      @        Oxa8e5d7dafee0c3cab...               214 days 18 hrs ago   Null: Ox000... 000 L□   IN    1ankbottoms.eth   L□     ERC-721
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                                                                                                                                                     MoonPenguin #1553
      @        Oxa8e5d7dafee0c3cab...               214 days 18 hrs ago   Null: Ox000...000 LD    IN    tankbottoms.eth   L□     ERC-721
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                                                                                                                                                     NFT: BoxcatPlanet#1331
      @        Oxb646072b642a2af12...               214 days 18 hrs ago   Null: Ox000.,.000 LO    IN    tankbottoms.eth   L□     ERC-721       @)    NFT: BoxcatPlanet


                                                                                                                                                     NFT: BoxcatPlanet#1332
      @        Oxb646072b642a2afl 2 ...             214 days 18 hrs ago   Null: Ox000... 000 LD   IN    tankbottoms.eth   [:P    ERC-721       @)    NFT: BoxcatPlanet


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      @        Oxb646072b642a2af12...               214 days 18 hrs ago   Null: Ox000...000 L□    IN    tankbottoms.eth   i:P    ERC-721       @:    NFT: BoxcatPlanet



      @        Ox441d2d1 d 55a9ab66..,              214 days 19 hrs ago   Null: Ox000._000 [:P    IN    tankbottoms.eth   L□     ERC-721
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                                                                                                                                                     NFT: Dopey Dragons



      @        Ox441d2d1d 55a9ab66..,               214 days 19 hrs ago   Null: Ox000._000 L□     IN    tankbottoms.eth   [:P    ERC-721
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      @        Ox441d2d1 d55a9ab66...               214 days 19 hrs ago   Null: Ox000...000 LD    IN    tankbottoms.eth   L□     ERC-721             Dopey Dragons #87
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        ®       Ox441 d2d1 d55a9ab66...       214 days 19 hrs ago         Null: Ox000 ... 000 [.D   IN    tankbottoms.eth   [.D    ERC-721
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       ®        Ox441 d2d1d55a9ab66...        214 days 19 hrs ago         Null: Ox000 ... 000 [.D   IN    tankbottoms.eth   [.D    ERC-721
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       ®        Ox35bee1 Sa09d72031 ...       214 days 19 hrs ago         Null· Ox000 ... 000 [.D   IN    tankbottoms.eth   c9     ERC-721
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       ®        Ox35bee1 Sa09d72031 ...       214 days 19 hrs ago         Null: Ox000 ...000 [.D    IN    tankbottoms.eth   [.D    ERC-721
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       @        Ox35bee15a09d72031 . ,        214 days 19 hrs ago         Null: Ox000 ... 000 [.D   IN    tankbottoms.eth   [.O    ERC-721
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       @        Oxb6113020db58bb29 ...        214 days 19 hrs ago         Null: oxooo._ooo r...D    IN    tankbottoms.eth   [.O    ERC-721
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       ®        Oxb6113020db58bb29 ..,        214 days 19 hrs ago         Null: Ox000 ... 000 [.D   IN    tankbottoms.eth   [.O    ERC-721
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       ®        Oxb6113020db58bb29 ...        214 days 19 hrs ago         Null: Ox000... 000 [.D    IN    tankbottoms.eth   [.O    ERC-721
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       @        Oxb6113020db58bb29 ...        214 days 19 hrs ago         Null: Ox000 ... 000 [.D   IN    tankbottoms.eth   [.O    ERC-721
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       ®        Oxb6113020db58bb29 ...        214 days 19 hrs ago         Null: Ox000 ... 000 [.D   IN    tankbottoms.eth   c9     ERC-721
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       ®        Oxl 4b1 dl c974ee5d8e,..      214 days 19 hrs ago         Null: Ox000,.. 000 [.D    IN    tankbottoms.eth   c9     ERC-721   ■             3301 #708
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        ®       Oxl 4b1 dl c974ee5d8e...      214 days 19 hrs ago         Null· Ox000 ... 000 c_D   IN    tankbottoms.eth   [.O    ERC-721   ■             3301 #709
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        @       Ox 14b1 dl 0974ee5d8e..,      214 days 19 hrs ago         Null: Ox000 ...000 [.O    IN                             ERC-721
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        @       Ox0529549aa 1d853d8...        214 days 19 hrs ago         Null: Ox000...000 [.O     IN    tankbottoms.eth   [.O    ERC-721
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      @      Ox0529549aa 1dB53d8...          214 days 19 hrs ago         Null: OxOOQ,__QQO LO    IN    tankbottoms.eth   (9     ERC-721
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      @      Ox0529549aa1 d853dB...          214 days 19 hrs ago         Null: Ox000...000 LD    IN    tankbottoms.eth   (9     ERC-721     -,~              MeowsOAO Progeny Nou...
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      @      Ox0529549aa 1dB53d8...          214 days 19 hrs ago         Null: OxOOQ,__QQO LO    IN    tankbottoms.eth   (9     ERC-721
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      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 LO    IN                      LO     ERC-721
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      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 Lo    IN    tankbottoms.eth   LO     ERC-721    ■ Turbulence #41
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      @      Oxb57e810141 a85f664...         214 days 19 hrs ago         Null: Ox000... 000 LO   IN    tankbottoms.eth   LO     ERC-721
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      @      Oxb57e810141 a85f664...         214 days 19 hrs ago         Null: Ox000...000 LO    IN    tankbottoms.eth   c.D    ERC--721   ■ Turbulence #75
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      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 [.O   IN    tankbottoms.eth   [.O    ERC--721
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      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 LD    IN                      LO     ERC-721
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      @      Oxb57e81 Of41 a85f664 ...       214 days 19 hrs ago         Null: Ox000...000 LO    IN    tankbottoms.eth   LO     ERC-721    ■         Turbulence #56
                                                                                                                                                     NFT: Turbulence


      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 LO    IN    tankbonoms.eth    LO     ERC-721    ■ Turbulence #72
                                                                                                                                                     NFT: Turbulence


      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 [.D   IN    tankbottoms.eth   [.D    ERC--721   ■ TurbulGncG #~9
                                                                                                                                                     NFT: Turbulence


      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago         Null: Ox000...000 [.D   IN    tankbottoms.eth   (9     ERC--721   ■ Turbulence #65
                                                                                                                                                     NFT: Turbulence


                                                                                                                         [.O               •         Turbulence #42
      @      Oxb57e81 Of41a85f664...         214 days 19 hrs ago         Null: Ox000...000 [.O   IN    tankbottoms.eth          ERC--721
                                                                                                                                                     NFT: Turbulence


      @      Oxb57e810141 a851664...         214 days 19 hrs ago         Null: Ox000...000 LD    IN    tankbottoms.eth   [.O    ERC-721    ■         Turbulence #84
                                                                                                                                                     NFT: Turbulence

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https ://etherscan .io/nft- translers?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                           6/7
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      @      Oxb57e81 Of41 a85f664 ...       214 days 19 hrs ago        Null: Ox000._000      Lo    IN    tankbottoms.eth   cP     ERC-721   ■      Tur bulence #58
                                                                                                                                                    NFT: Turbulence


                                                                                                                            c,O              •      Turbulence #77
      @      Oxb57e810141 a85f664 ...        214 days 19 hrs ago        Null: Ox000 ... 000   Lo    IN    tankbonoms.eth           ERC-721
                                                                                                                                                    NFT: Turbulence


      @      Oxb57e810141 a85f664 ...        214 days 19 hrs ago        Null: Ox000...000     Lo    IN    tankbottoms.eth   LO     ERC-721   ■ Turbulence #76
                                                                                                                                                    NFT: Turbulence


                                                                                                                                             •      Turbulence #53
      @      Oxb57e810141 a85f664 ...        214 days 19 hrs ago        Null: Ox000 ... 000   LO    IN    tankbottoms.eth   L□     ERC-721
                                                                                                                                                    NFT: Turbulence


                                                                                                                                             ■      Turbulence #69
      @      Oxb57e81 Of41 a85f664 ...       214 days 19 hrs ago        Null: Ox000 ... 000   LD    IN    tankbottoms.eth   L□     ERC-721
                                                                                                                                                    NFT: Turbulence


                                                                                                                                             •      Turbulence #46
      @      Oxb57e81 Of41 a85f664...        214 days 19 hrs ago        Null: Ox000... 000    c,D   IN    tankbottoms.eth   L□     ERC-721
                                                                                                                                                    NFT: Turbulence


      @      Oxb57e81 Of41 a8 Sf664...       214 days 19 hrs ago        Null: Ox000 ... 000   LD    IN    tankbottoms.eth   c,O    ERC-721   ■      T urbulence #62
                                                                                                                                                    NFT: Turbulence


                                                                                                                                             •      Turbulence #81
      @      Oxb57e81 Of41 a85f664 ...       214 days 19 hrs ago        Null: Ox000 ...000    LO    IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                    NFT: Turbulence



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     A total of 3,318 records found                                                                                                         First     <    Page 14 of 34   >   Last



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      @        0xb57e81 0f41 a85f664...      214 days 19 hrs ago   Null: 0x000...000 (.,0     IN    tankbottoms.eth   (.,
                                                                                                                       0      ERC-721   ■ Turbulence #52
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        •           Turbulence #45
      @        0xb57e810141 a85f664...       214 days 19 hrs ago   Null: 0x000...000 La       IN    tankbottoms.eth   L□      ERC-721
                                                                                                                                                    NFT: Turbulence


      @        0xb57e81 0f41 a85f664...      214days 19hrsago      Null: 0x000.•.000 La       IN    tankbottoms.eth   (.,0    ERC-721   ■           Turbulence #73
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        •           Turbulence #79
      @        0xb57e81 0f41 a85f664...      214 days 19 hrs ago   Null: 0x000...000 (.,0     IN    tankbottoms.eth   L□      ERC-721
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        ■ Turbulence #66
      @        0xb57e810141 a85f664...       214 days 19 hrs ago   Null: 0x000...000 (.,0     IN    tankbottoms.eth   L□      ERC-721
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        •           Turbulence #56
      @        0xb57e81 0f41a85f664...       214days19hrsago       Null: 0x000...000 (9       IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                    NFT: Turbulence


      @        0xb57e81 0f41 a85f664...      214 days 19 hrs ago   Null:   oxooo...ooo   LO   IN    tankbottoms.eth   (.,0    ERC-721
                                                                                                                                        ■ Turbulence #59
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        •           Turbulence #49
      @        0xb57e81 0f41 a85f664...      214 days 19 hrs ago   Null: 0x000.,.000 (.,0     IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                    NFT: Turbulence


      @        0xb57e81 0f41 as Sf664 ...    214days19hrsago       Null: 0x000...000 (9       IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                        ■ Turbulence #42
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        •           Turbulence #83
      @        0xb57e81 0f41 a85f664...      214 days 19 hrs ago   Null: 0x000...000 (9       IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        ■ Turbulence #70
      @        0xb57e810141 a85f664...       214 days 19 hrs ago   Null: 0x000,_000 (9        IN    tankbottoms.eth   c9      ERC-721
                                                                                                                                                    NFT: Turbulence


                                                                                                                                        •           Turbulence #63
      @        0xb57e810141 a85f664...       214 days 19 hrs ago   Null: 0x000._000 (.,0      IN    tankbottoms.eth   L□      ERC-721
                                                                                                                                                    NFT: Turbulence


      @        0xb57e81 0f41 a85f664...      214days19hrsago       Null: 0x000...000 (9       IN    tankbottoms.eth   [9      ERC-721               Turbulence #53
                                                                                                                                                       PLAINTIFF0001261
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      ®      Oxb57e810141 a851664...     214days19hrsago           Null: Ox000..,000 (9    IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                          NFT: Turbulence


      ®      Oxb57e81 Of41 a85f664 ...   214 d ays 19 hrs ago      Null: oxooo...ooo Lo    IN    tankbonoms.eth    LO    ERC-721   ■ Turbulence #74
                                                                                                                                          NFT: Turbulence


                                                                                                                                   ■ Turbulence #80
      ®      Oxb57e810141a851664...      214days19hrsago           Null: Ox000...000 (9    IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                          NFT: Turbulence


                                                                                                                                   •      Turbulence #67
      ®      Oxb57e81 Of41 a85f664..,    214 days 19 hrs ago       Null: Ox000...000 LO    IN    tank.bonoms.eth   LO    ERC-721
                                                                                                                                          NFT: Turbulence


      ®      Oxb57e81 Of41 a85f664...    214 days 19 hrs ago       Null: Ox000...000 (9    IN    tankbottoms.eth   L□    ERC-721   ■      Turbulence #57
                                                                                                                                          NFT: Turbulence


             Oxb57e81Of41 a85f664...     214 days 19 hrs ago       Null: Ox000.•.000 LO                                            •      Turbulence #60
      ®                                                                                    IN    tankbottoms.eth   LO    ERC-721
                                                                                                                                          NFT: Turbulence


      ®      Oxb57e81 Of41 a85f664 ...   214 days 19 hrs ago       Null: Ox000...000 (9    IN    tankbonoms.eth    L□    ERC-721   ■ Turbulence #50
                                                                                                                                          NFT: Turbulence


                                                                                                                                   •      Turbulence #43
      ®      Oxb57e81 Of41 a85f664...    214 days 19 hrs ago       Null: Ox000.,.000 (9    IN    tankbottoms.eth   c9    ERC-721
                                                                                                                                          NFT: Turbulence


                                                                                                                                   ■ Turbulence #84
      ®      Oxb57e810141 a851664...     214days19hrsago           Null: Ox000...000 (9    IN    tankbottoms.eth   L□    ERC-721
                                                                                                                                          NFT: Turbulence


                                                                                                                                   •      Turbulenc e #71
      ®      Oxb57e810141 a851664...     214days19hrsago           Null: Ox000..,000 (9    IN    tankbottoms.eth   L□    ERC-721
                                                                                                                                          NFT: Turbulence


      ®      Ox6ef48cebde1 274f89 ...    214 days 19 hrs ago       Null: Ox000...000 (9    IN    tankbottoms.eth   c9    ERC-721   ■ Turbulence #38
                                                                                                                                          NFT: Turbulence


                                                                                                                                   ■ Turbulence #39
      ®      Ox6ef48cebde1274f89...      214days 19hrsago          Null: Ox000,.. 000 (9   IN    tankbottoms.eth   L□    ERC-721
                                                                                                                                          NFT: Turbulence


                                                                                                                                          Mr.Finger #397
      @      Oxfa1931a78470c3c23 ...     214 days 20 hrs ago       Null: Ox000...000 LO    IN    tankbonoms.eth    c9    ERC-721
                                                                                                                                          NFT: Mr Finger NFT


                                                                                                                                          memelT# 2341
      @      Oxe35c037d 8d14363f5 ..     214 days 20 hrs ago       Null: Ox000...000 Lo    IN    tankbottoms.eth   LO    ERC-721
                                                                                                                                   £.     NFT: Memes will save NFTs


                                                                                                                                          Ai Digi Daigaku #1064
      ®      Ox6308be391a1089c6...       214 days 20 hrs ago       Null: oxooo._ooo   cP   IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                          NFT: DigiDaigaku


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      @       Ox7c3422c1 c38cdf58e...       214 days 20 hrs ago        Null: Ox000.•.000 Lo        IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                                 NFT: Pixalated TV


                                                                                                                                                                 PixalatedTV
      @       Ox7c3422c1c38cdf58e...        214 days 20 hrs ago        Null: Ox000 ... 000 Lo      IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                                 NFT: Pixalated TV



      @       Ox66fc6048ebe7d1 ffe7...      21 4 days 20 hrs ago       Null: Ox000...000 L□        IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                        i:       Stoned Wolf #1431
                                                                                                                                                                 NFT: WolfStonedClub


                                                                                                                                                    ~ Abstraction #638
      @       Oxed05738249b64783 ...        214 days 20 hrs ago        Null: Ox000 ... 000   (9    IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                           :..-, NFT: Abstraction

                                                                                                                                                        ,____,
                                                                                                                                                    ~ Dopey Dragons #80
      @       Ox14b2aecb7c873444 ...        214 days 20 hrs ago        Null: Ox000 ... 000   (9    IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                                 NFT: Dopey Dragons



      @       Ox14b2aecb7c873444 ...        214 days 20 hrs ago        Null: Ox000... 000    (9    IN     tankbottoms.eth   c9           ERC-721
                                                                                                                                                    A            Dopey Dragons #81
                                                                                                                                                                 NFT: Dopey Dragons


                                                                                                                                                                 Garbage#36
      @       Oxbc97ed4e33a71214 ...        214 days 20 hrs ago        Null: Ox000 ... 000   [.O   IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                                 NFT: Garbage Friends


                                                                                                                                                    •            Turbulence #37
      @       Ox028947c99070f7080...        214 days 20 hrs ago        Null: Ox000 ...000 [.D      IN     tankbottoms.eth   c9           ERC-721
                                                                                                                                                                 NFT: Turbulence


                                                                                                                                                                 Ox969889898989898989 ...
      @       Ox5beb98d844b0ec69...         216 days 15 hrs ago        Null: Ox000.•.000 L□        IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                                 NFT: Infinite Tiles 2.0


      @       Ox94f51 fa2e0e31 b607 ...     216 days 15 hrs ago        Null: oxooo__ ooo L□        IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                    Ill          Ox000001010101010101_
                                                                                                                                                                 NFT: Infinite TIies 2.0


                                                                                                                                                                 Ox696969696969696969 ...
      @       Ox3c7227a13f9573189 ...       216 days 15 hrs ago        Null: Ox000 ... 000 L□      IN     tankbottoms.eth    L□          ERC-721
                                                                                                                                                                 NFT: Infinite Tiles 2.0


                                                                                                                                                                 NFT: Infinite T iles 2.0#163
      @       Oxfa79b030d34cf8ffb3...       216 days 15 hrs ago        Null: Ox000...000 L□        IN     tankbottoms.eth    L□          ERC-721        @        NFT: Infinite Tiles 2.0


      @       Ox44aa84c9a70e4687...         216 days 15 hrs ago        Null: Ox000 ...000 (9       IN     tankbottoms.eth   [.D          ERC-721
                                                                                                                                                             .   0x555558585858885858 ...
                                                                                                                                                                 NFT: Infinite Tiles 2.0


                                                                                                                                                                 NFT: Infinite T iles 2.0#161
      @       Oxfb81 Obb8b8ae26ee6...       216 days 15 hrs ago        Null: Ox000...000     (9    IN     tankbottoms.eth   c9           ERC-721        @        NFT: Infinite Tiles 2.0


                                                                                                                                                                 NFT: Infinite T iles 2.0#160
      @       Ox938452a86b8e55bef...        216 days 15 hrs ago        Null: oxooo...ooo Lo        IN     tankbottoms.eth    L□          ERC-721        @        NFT: Infinite Tiles 2.0


                                                                                                                                                                 Alpha Tear
      @       Ox956del f 19f43fbbl 0 ...    216 days 15 hrs ago         tankbottoms.eth      @     OUT   0    Oxa9248a ...06ffd2e2 L□    ERC-1155
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      @      0xe691 d605415f4d6bd...     216 days 15 hrs ago       tankbottoms.eth      c.□              OUT   0    0xa924Ba ...06ffd2e2 c.□    ERC-1155




                                                                                                                                                            a
                                                                                                                                                                     NFT


                                                                                                                                                                     Webaverse Genesis Pass
      @      0xf174c1 ff0ec9e2dBc2...    216 days 16 hrs ago      0x5bb4C7... 405725A3 c,O               IN     tankbottoms.eth    c,O          ERC-1155
                                                                                                                                                                     NFT: Wonderful Webavers...


                                                                                                                                                                     #1
      @      0x365605efffc 72e56b...     217 days 9 hrs ago       Null: 0x000.._ooo c.□                  IN     tank.bottoms.eth   c.□          ERC-1 155
                                                                                                                                                                @    interface partlcles


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      @      0x4557dc910Bcd985c...       217 days 15 hrs ago       tankbottoms.eth      @                OUT   fredym ontero.e1h   @            ERC-721
                                                                                                                                                                     NFT: Grand Leisure


                                                                                                                                                                     Leisurist #1458
      @      0xl l a3c0a4756d01 BfB...   217 days 15 hrs ago      Null: 0x000 ... 000   (9               IN     tankbottoms.eth    c,D          ERC-721
                                                                                                                                                                     NFT: Grand Leisure


                                                                                                                                                            •        Fiesta Dog
      @      0xb4f671062547ef9ec ...     217 days 22 hrs ago      Ox 15007f... 450BC437 c.□              IN     tankbottoms.eth    (9           ERC-1 155
                                                                                                                                                                     Nyan Cat 0


      @      0x5d91 af 560dacd5415 ...   217 days 22 hrs ago      Null: 0x000 ... 000 c.D                IN     tankbottoms.eth    c.D          ERC-721
                                                                                                                                                            ~ Crisvond DeFi Elitism
                                                                                                                                                                     NFT: DeFiElitism



      @      0x5d91 af 560dacd5415...    217 days 22 hrs ago      Null: 0x000 ...000 c.□                 IN     tankbottoms.eth    (9           ERC-721
                                                                                                                                                            ~ Crisvond DeFi Elitism
                                                                                                                                                                     NFT: DeFiElitism


                                                                                                                                                                     Leisurist #225
      @      0xde 7b7068c79d0298. ..     219 days 30 mins ago     Null: 0x00Q___ooo c.O                  IN     tankbottoms.eth    c.□          ERC-721
                                                                                                                                                                     NFT: Grand Leisure


                                                                                                                                                                     Grand Leisure #160
      @      0x33a57158bf4d5f993 ...     219 days 36 mins ago     Null: oxooo__ooo c.□                   IN     tankbottoms.eth    c.□          ERC-721         @)   NFT: Grand Leisure


                                                                                                                                                                     NFT: Gallery Merch#173
      @      0xbdb2d300e0391477 ...      219 days 51 mins ago     Null: 0x000 ... 000 c.□                IN     tankbottoms.eth    c.□          ERC-721         @    NFT: Gallery Merch


                                                                                                                                                                     NFT: Pink Sky Moonbirds ...
      @      0xa09219d5a58ac336...       220 days 11 hrs ago      0x6FcA0B... DEa3F686 c.□               IN     tankbottoms.eth    c.□          ERC-1155
                                                                                                                                                                @)   NFT: Pink Sky Moon birds I...


                                                                                                                                                                     thedaolabs.eth
      @      0x3118f6a49a5ca81 f6 ...    223 days 21 hrs ago      ~ ENS: ETH Registrar Co ...      [.D   IN     tankbottoms.eth    c.□          ERc-721
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      @      0xc2096a7c012cf80a 7 ...    224 days 21 hrs ago      Null: 0x000.,.000     (9               IN     tankbottoms.eth    (9           ERC-721         @)   NFT: Infinite Tiles 2.0


      @      0x9ee5a852ac0b152a ...      225 days 10 hrs ago      0x0457BB...F75214ea [.D                IN     tankbottoms.eth    c.□          ERC-1 155   fil      Super Mario #1
                                                                                                                                                                     NFT: Great Super Mario Co...



      @      0x3c5b928fa8fe48bcaf...     225 days 12 hrs ago      0x7219A0... 1 El 7d851      (9         IN     tankbottoms.eth    (9           ERC-1155    II       RTFKT - MN LTH        G
                                                                                                                                                                     NFT: RTFKT-MNLTH Original

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                                                                                                                                                               Ancient Helm
      @      Ox35a0adefl c378034L       226 days 5 hrs ago       Null: Ox000.•.000     Lo                IN     tankbottoms.eth   L□     ERC-1155
                                                                                                                                                               NFT: Helms for Loot


      @      Oxc8287c53e0f5bdc37...     226 days 7 hrs ago       OxB11C7 F. ..c182eF48 L□                IN     tankbottoms.eth   L□     ERC-1155
                                                                                                                                                      a        Benzi Bananas: Member...
                                                                                                                                                               NFT: The Bright Benzi Ban.,.


                                                                                                                                                               FUD #1
      @      Oxe70451d51 abfebe63...    226 days 10 hrs ago      Ox938971 ...F2A80064        c_O         IN     tankbottoms.eth   i:P    ERC--1 155
                                                                                                                                                               NFT: Mutant Fud NFT Tick..,



      @      Ox9efa1834b6c7e2894...     226 days 20 hrs ago          tankbottoms.eth   @                 OUT   jango.eth   c_O           ERC-721
                                                                                                                                                      II       OxOOOOOOOOOOOOOOOOOO...
                                                                                                                                                               NFT: Infinite Tiles 2.0


                                                                                                                                                               NFT: Infinite T iles 2.0#107
      @      Oxc 59d3f252c72b81 ac...   226 days 22 hrs ago      Null: Ox000 ...000    [9                IN     tankbottoms.eth   L□     ERC--721         @)   NFT: Infinite Tiles 2.0


                                                                                                                                                               daolabs-v3.eth
      @      Ox30bbb7 4bad b56e80..,    227 days 2 hrs ago       0    ENS: ETH Registrar Co ...    c.O   IN     tankbottoms.eth   i:P    ERC--721
                                                                                                                                                               Ethereum Name Service 0


      @      Oxl 4ef5064a080e3523...    227 days 2 hrs ago       0    ENS: ETH Registrar Co ...    c.D   IN     tankbottoms.eth   LD     ERC-721      ■        adaolab.eth
                                                                                                                                                               Ethereum Name Service 0


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      @      Ox462e209418bacf25d...     227 days 23 hrs ago      Null: Ox000 ...000    c.O               IN     tankbottoms.eth   i:P    ERC--721         @)   NFT: Infinite Tiles 2.0


                                                                                                                                                               NFT: TheAfricansNFT#205
      @      Oxffddb68113b279971 ...    228 days 11 hrs ago      Null: Ox000.•.000 L□                    IN     tankbottoms.eth   L□     ERC-721          @)   NFT: TheAfricansNFT


                                                                         oxooo__ooo    L□                                                             •        The Africans #9724
      @      Oxffddb68113b279971 ..     228 days 11 hrs ago      Null:                                   IN     tankbottoms.eth   L□     ERC-721
                                                                                                                                                               NFT: TheAfricansNFT


                                                                                                                                                               The Africans #7334
      @      Oxffddb68113b279971 ...    228 days 11 hrs ago      Null: Ox000 ...000    c.O               IN     tankbottoms.eth   LO     ERC-721
                                                                                                                                                               NFT: TheAfricansNFT



      @      Oxffddb68113b279971 ..     228 days 11 hrs ago      Null: Ox000...000     Lo                IN     tankbottoms.eth   i:P    ERC-721
                                                                                                                                                      n        The Africans #6453
                                                                                                                                                               NFT: TheAfncansNFT


      @      Oxffddb68113b279971 ...    228 days 11 hrs ago      Null: Ox000 ... 000 (9                  IN     tankbottoms.eth   L□     ERc--721
                                                                                                                                                      II.      The Africans #3905
                                                                                                                                                               NFT: TheAfricansNFT


                                                                                                                                                               #1114
                                                                                                                                                          ~
      @      Oxed5e2578f1628b8a9...     228 days 11 hrs ago      Null· Ox000... 000    @                 IN     tankbottoms.eth   @      ERC--721
                                                                                                                                                               NFT: ProperPigs


                                                                                                                                                               #1111
                                                                                                                                                          ~
      @      Oxed5e2578f1628b8a9...     228 days 11 hrs ago      Null: Ox000...000 [.O                   IN     tankbottoms.eth   [.O    ERC-721
                                                                                                                                                               NFT: ProperPigs



      @      Oxed5e2578f1628b8a9...     228 days 11 hrs ago      Null· Ox000 ... 000   @                 IN     tankbottoms.eth   @      ERC--721         £    #1112
                                                                                                                                                               NFT: ProperPigs

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htlps://elherscan .io/nfl-translers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                                             5/7
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                                                                                                                                                       #1113
      @      Oxed 5e2578f1628b8a9.._    228 days 11 hrs ago      Null: Ox000.•.000 Lo      IN     tankbottoms.eth   L□           ERC-721     ~
                                                                                                                                                       NH: ProperPigs


                                                                                                                                           ~           notBasquiart
      @      Ox4cf27580d69c8fe06...     228 days 11 hrs ago      Null:Ox000... 000 Lo      IN     tankbottoms.eth   L□           ERC-721
                                                                                                                                                       NH: notBasquiart




                                                                                                                                           ~
                                                                                                                                                       Ox5d95baebb8412ad827...
      @      Oxf49c1994f9639560b...     228 days 11 hrs ago      fredymontero.eth L□       IN     tankbottoms.eth   L□           ERC-721
                                                                                                                                                       NFT: Infinite Tiles 2.0


                                                                                                                                                       NFT: Infinite Tiles 2.0#77
      @      Oxe91 bf574c4f4a45ee...    228 days 13 hrs ago      Null: Ox000...000   (9    IN     tankbottoms.eth   LO           ERC-721    r@)        NFT: Infinite Tiles 2.0


                                                                                                                                                       Meow Diamonds
      @      Oxe722ca6806d51 b1 b ...   228 days 13 hrs ago       tankbottoms.eth    c.O   OUT   ® Foundation: Market     c.□    ERC-721
                                                                                                                                             "
                                                                                                                                           s, •        NFT: tankbottoms




                                                                                                                                           ~
                                                                                                                                                       Ox4ddef8fc8eee89848b4...
      @      Ox563dbec6f78557005...     228 days 14 hrs ago      Ox8a9742...11682328 c.O   IN     tankbottoms.eth   c9           ERC-721
                                                                                                                                                       NH: Infinite Tiles 2.0


                                                                                                                                                       MeowsDAO Progeny Nou...
      @      Ox563dbec6f78657005 ...    228 days 14 hrs ago      Ox8a9742...1168232B c_O   IN     tankbottoms.eth   c.D          ERC-721
                                                                                                                                                       NFT: MeowsDAO Progeny ..


                                                                                                                                                       NFT: Juicebox Projects#1 ...
      @      Ox563dbec6f78557005 ...    228 days 14 hrs ago      Ox8a9742...1168232B Lo    IN     tankbottoms.eth   c9           ERC-721    r@)        NFT: Juicebox Projects


                                                                                                                                                       NFT: Juicebox Projects#2
      @      Ox563dbec6f78557005 ...    228 days 14 hrs ago      Ox8a9742...11682328 L□    IN     tankbottoms.eth   c.□          ERC-721    r@)        NFT: Juicebox Projects


                                                                                                                                                  '•   Ox8a97426c1 a720a45b8...
      @      Ox563dbec6f78557005...     228 days 14 hrs ago      Ox8a9742...1168232B Lo    IN     tankbottoms.eth   L□           ERC-721
                                                                                                                                                       NH: Infinite TIies 2.0


                                                                                                                                                       Juicebox Projects #41
      @      Ox563dbec6f78557005...     228 days 14 hrs ago      Ox8a9742...11682328 L□    IN     tankbottoms.eth   L□           ERC-721    r@)        NH : Juicebox Projects


                                                                                                                                           ~           MeowsDAO Progeny Nou...
      @      Ox563dbec6f78557005...     228 days 14 hrs ago      OxBa9742...11682328 c.□   IN     tankbottoms.eth   L□           ERC-721
                                                                                                                                                  l'I NFT: MeowsDAO Progeny ...
                                                                                                                                                       0xffff5555555555555555...
      @      Oxcec44eb84c183180...      228 days 16 hrs ago      Null: Ox000...000 (9      IN     tankbottoms.eth   c.□          ERc-721
                                                                                                                                                       NFT: Infinite Tiles 2.0



      @      Ox1e1 e993a47f49a305...    228 days 16 hrs ago      Null· OX000.,.000   (9    IN     tankbottoms.eth   c9           ERC-721
                                                                                                                                           ..~1·....   OxOOOOcOffeecOffeecOffe...
                                                                                                                                                       NH: Infinite TIies 2.0



      @      Oxeb93cd04cc58bd36...      228 days 16 hrs ago      Null: Ox000...000 c_O            tankbottoms.eth   c.D          ERC-721   ._..;
                                                                                                                                           i -.;.
                                                                                                                                                       Oxl 23456789abcdef1234...
                                                                                                                                                       NFT: Infinite Tiles 2.0


                                                                                                                                                       SaudiApe #1348
      @      Oxd288bba88e9btfl 19...    228 days 18 hrs ago      Null: Ox000...000   (9    IN     tankbottoms.eth   c9           ERC-721    r@)        NFT: SaudiApe

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htlps://elherscan .io/nfl-transfers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                                     6/7
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      @      Oxd288bba88e9bff119 ...     228 days 18 hrs ago       Null: Ox000.•.000 Lo    IN    t ankbottoms.eth   L□    ERC-721    @J      NFT: SaudiApe


                                                                                                                                             SaudiApe #1349
      @      Oxd288bba88e9bff119 ...     228 days 18 hrs ago       Null: Ox000...000 Lo    IN    tankbottoms.eth    L□    ERC-721    @)      NFT: SaudiApe


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      @      Oxd288bba88e9bff119 ..      228 days 18 hrs ago       Null: Ox000...000 L□    IN    tankbottoms.eth    [9    ERC-721    @)      NFT: SaudlApe


                                                                                                                                             SaudiApe #1347
      @      Oxd288bba88e9bff119 ...     228 days 18 hrs ago       Null: Ox000..,000 (P    IN    tankbottoms.eth    L□    ERC-721    @J      NFT: SaudiApe


                                                                                                                                             NFT: Infinite Tiles 2.0#28
      @      Ox5a8c07adaaedfd33d...      228 days 18 hrs ago       Null: Ox000...000 (P    IN    tankbottoms.eth    L□    ERC-721    @J      NFT: Infinite Tiles 2.0


                                                                                                                                             NFT: Infinite Tiles 2.0#27
      @      Oxd4a09509050cb923...       228 days 18 hrs ago       Null: oxooo... ooo L□   IN    tankbottoms.eth    cP    ERC-721    @J      NFT: Infinite Tiles 2.0


                                                                                                                                             NFT: Infinite Tiles 2.0#26
      @      Ox339eccfa728b162a2.•       228 days 19 hrs ago       Null: Ox000..,000 L□    IN    tankbottoms.eth    L□    ERC-721    @)      NFT: Infinite Tiles 2.0




                                                                                                                                    ~
                                                                                                                                             Ox696969696966969696...
      @      Ox410624735d3600fe0...      228 days 19 hrs ago       Null: Ox000... 000 L□   IN    tankbottoms.eth    cP    ERC-721
                                                                                                                                             NFT: Infinite Tiles 2.0



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     A total of 3,318 records found                                                                                                                 First      <     Page 15 of 34    >      Last


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      @        Oxf2954115382b917b...         228 days 19 hrs ago   Null: Ox000...000   c9              IN     tankbottoms.eth   LD     ERC-721
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                                                                                                                                                     .-
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      @        Oxc1 b8518c3f6932af4 ...      228 days 19 hrs ago   Null: Ox000...000 LD                IN     tankbonoms.eth    LD     ERC-721
                                                                                                                                                  II          NFT: Infinite Tiles 2.0


      @        Ox9840e17c44855a4e...         228 days 19 hrs ago   OxE504a5._03f4867F (9               IN     tankbottoms.eth   c9     ERC-1155   a           Benzi Bananas: Member...
                                                                                                                                                              NFT: The Big BenziBanana...


      @        0 xcc4a 3f06b4c 660ed e...    228 days 19 hrs ago   Null: Ox000...000 LD                IN     tankbonoms.eth    LD     ERC-721
                                                                                                                                                  II          OxOOOOOOOOOOOOOOOOOO...
                                                                                                                                                              NFT: Infinite Tiles 2.0


                                                                                                                                                              NFT: Infinite Tiles 2.0#3
      @        Oxl c774270b543bb6fa ...      228 days 22 hrs ago   Null: Ox000...000 LD                IN     tankbottoms.eth   LD     ERC-721
                                                                                                                                                   ©          NFT: Infinite Tiles 2.0


                                                                                                                                                              NFT: Trust PD4 ltems#1
      @        Ox640cba2fed66491a4...        229 days 14 hrs ago   Oxe5F3ec...242F045D L□              IN     tankbottoms.eth   r.9    ERC-1155
                                                                                                                                                   ©          NFT: Trust P04 Items


                                                                                                                                                              DropKit Pass#217
      @        Oxd006f1455e72d31 fb ...      229 days 19 hrs ago   Null: Ox000...000 (9                IN     tankbottoms.eth   t,O    ERC-721     (§1        OropKit Pass


                                                                                                                                                              DropKit Pass#166
      @        Oxa4f00b9fdb7f5b527 ...       230 days 9 hrs ago    Null: Ox000...000 LO                IN     tankbottoms.eth   t,O    ERC-721     (@)        OropKit Pass


                                                                                                                                                              NFT: Last Angry Birds U...
      @        Ox5fa4ad8b98e51 ff62...       230 days 15 hrs ago   Ox47854c...9Bc39dd2 LO              IN     tankbottoms.eth   LO     ERC-1155    (§1        NFT: Last Angry Birds Umi...


                                                                                                                                                              cookieslayer.eth
      @        Oxec7a 7e2a95d4e131 ...       232 days 4 hrs ago     tankbottoms.eth    (9              OUT   cookieslayer.eth (9       ERC-721
                                                                                                                                                              Ethereum Name service 0


                                                                                                                                                              NFT: The Big Webaverse ...
      @        Ox92707a38962eb8a 7...        232 days 10 hrs ago   OxF236C6...D45Fe2e6 LD              IN     tankbonoms.eth    LD     ERC-1155    (§1        NFT: The Big Webaverse G...


                                                                                                                                                              NFT: CryptoSweepers (Or...
      @        Ox8aa 73991 fed71 de32...    232 days 12 hrs ago    Ox69Db5D...0527f903 LD                     tankbottoms.eth   (9     ERC-1155    (§1        NFT: CryptoSweepers (Ort...


      @        Oxc3942b6f0e71262b7 ...      232 days 18 hrs ago    E] ENS: ETH Registrar Co...   r.9          tankbottoms.eth   LD     ERC-721                cookieslayer.eth
                                                                                                                                                                PLAINTIFF0001268
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                                                                                                                                                    APES8 #1815
        ®       Oxf861530ffef bba46ea ...   233 days 2 hrs ago     Null: Ox000... 000 L□           tankbottoms.eth   [!)    ERC-721
                                                                                                                                                    NFT: apes8



                                                                   Null: Ox000... 000 L□                                                    -       Forgotten Hero # 1392
       ®        Ox986ad7a928099285...       233 days 2 hrs ago                                     tankbottoms.eth   L□     ERC-721
                                                                                                                                                    NFT: ForgottenHeroes


                                                                                                                                                    APES8 #1813
       ®        Ox4c627dal f7be7dbe6...     233 days 2 hrs ago     Null: Ox000... 000 L□     IN    tankbottoms.eth   L□     ERC-721
                                                                                                                                                    NH: apesS



       ®        Ox4c627da1 f7be7dbe6 ...    233 days 2 hrs ago     Null: Ox000...000 [!)     IN    tankbonoms.eth    c,□    ERC-721
                                                                                                                                            m       APES8 #1814
                                                                                                                                                    NH: apess


                                                                                                                                                    eNouns #191
       ®        Oxe885582080f043536...      233 days 2 hrs ago     Null: Ox000...000 c,□     IN    tankbottoms.eth   c,□    ERC-721
                                                                                                                                                    NFT: Ethereum Nouns Syst...



       ®        Oxl 5ff78eb80591 1275 ...   233 days 2 h rs ago    Null: Ox000... 000 [!)    IN    tankbottoms.eth   c,0    ERC-721
                                                                                                                                            D       Raver#1656
                                                                                                                                                    NFT: MOMA



       ®        Ox5733d7c2e7065f8ae...      233 days 2 hrs ago     Null: Ox000...000 [!)           tankbottoms.eth   c,□    ERC-1155   x2   ■       Master Distiller
                                                                                                                                                    NFT: RickhouseDAO


                                                                                                                                            •       Master Dist iller
       ®        Ox45063e4eaae45145...       233 days 2 h rs ago    Null: Ox000... 000 c.□    IN    tankbonoms.eth    [!)    ERC-1155
                                                                                                                                                    NFT: RickhouseDAO



       ®        Oxd873532949391448 ...      233 days 3 hrs ago     Null: Ox000... 000 [!)    IN    tankbottoms.eth   [!)    ERC-721
                                                                                                                                            (£J     BBJ #5441
                                                                                                                                                    NFT: BoredBlackJack



        ®       Oxd873532949391448 ...      233 days 3 hrs ago     Null: Ox000... 000 L□     IN    tankbottoms.eth   [!)    ERC-721
                                                                                                                                            II      BBJ #5442
                                                                                                                                                    NFT: BoredBlackJack



       ®        Oxd873532949391448 ...      233 days 3 hrs ago     Null: Ox000... 000 [!)    IN    tankbottoms.eth   [!)    ERC-721
                                                                                                                                            ~ BBJ        #5440
                                                                                                                                                    NFT: BoredBlackJack



       ®        Ox7b7e3a6e86f02c530 ...     233 days 3 hrs ago     Null: Ox000... 000 [!)    IN    tankbottoms.eth   c,□    ERC-721
                                                                                                                                            ~ Crypto Manga #2989
                                                                                                                                                    NFT: Crypto Manga



                                            233 days 3 hrs age,    Null: Ox000...000   c,0         tankbonoms.eth    c,0    ERC-721
                                                                                                                                            ~ Crypto M anga #2987
        @       Ox7b7e3a6e86f02c530...                                                       IN
                                                                                                                                                    NFT: Crypto Manga



       ®        Ox7b7e3a6e86f02c530 ...     233 days 3 hrs ago     Null: Ox000...000 [!)     IN    tankbottoms.eth   c,0    ERC-721
                                                                                                                                            ~       Crypto M anga #2988
                                                                                                                                                    NFT: Crypto Manga


                                                                                                                                                    PROOF Grails 11#51
       ®        Ox60f7cc12ba75750ec...      233 days 5 hrs ago     Null: Ox000...000   c,O   IN    tankbottoms.eth   c,O    ERC-721             @   PROOF Grails II


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      @       Ox60f7cc12ba75750ec...      233 days 5 hrs ago      tankbottoms.eth    L□      OUT   Null: oxooo ...ooo L□      ERC-721    ■                 Grails II Mint Pass
                                                                                                                                                           Grails II Mint Pass


                                                                                                                                                           NFT: Shinny Ring Lab#1
      @       Ox3d0232f40b49ecc42...      233 days 7 hrs ago     OxFb414E. ..31dce74C L□     IN     tankbonoms.eth    £9      ERC-1155       @)            NFT: Shinny Ring Lab


                                                                                                                                                           NFT: Bright Ring Tickets#l
      @       Oxee5ae2ef9752d8ba0...      233 days 7 hrs ago     Ox1 BD06f... 635a3628 L□    IN     tankbonoms.eth    L□      ERC-1155
                                                                                                                                             @)            NFT: Brtght Ring Tickets



      @       Oxccd0f2e9769cb5bl 1...     233 days 10 hrs ago    logoblueprints.eth (9       IN     tankbottoms.eth   £9      ERC-721    ■                 ENS#5/ 30
                                                                                                                                                           NFT: C,ypto Blueprints


                                                                                                                                                           Fake Flowers
      @       Oxaa56be9406e6c4dd ...      233 days 15 hrs ago    § Foundation: Market c..D   IN     tankbottoms.e1h   c..D    ERC-721
                                                                                                                                                           NFT: Observations of Abse...



                                                                                                                      [.D                •                 Moonbird
      @       Oxe29f9b13751 d204c1 ...    234 days 13 hrs ago    cexaline.eth [.D            IN     tankbottoms.eth           ERC-721
                                                                                                                                                           NFT: Cexaline Genesis


                                                                                                                                                           NFT: Blesssed Zombies#...
      @       Oxfa2ca2a7658fe5f2e8 ...    235 days 7 hrs ago     Null: Ox000...000 [.O       IN     tankbottoms.eth   [.O     ERC-721        @)            NFT: Blesssed Zombies


                                                                                                                                                           NFT: Blesssed Zombies#...
      @       Oxfa2ca2a 7658fe5f2e8...    235 days 7 hrs ago     Null: Ox000...000 L□        IN     tankbottoms.eth   L□      ERC-721        @)            NFT: Blesssed zombies



      @       Oxfa2ca2a 7658fe5f2e8..     235 days 7 hrs ago     Null: Ox000...000 (9               tankbonoms.eth    L□      ERC-721
                                                                                                                                              •
                                                                                                                                             :;..-.:,,._
                                                                                                                                                           Blesssed Zombie #6562
                                                                                                                                                           NFT: Blesssed Zombies


                                                                                                                                                           NFT: Blesssed Zombies# ...
      @       Oxfa 2ca2a 7658fe5f2e8...   235 days 7 hrs ago     Null: Ox000...000 L□               tankbonoms.eth    c..D    ERC-721        @J            NFT: Blesssed Zombies


                                                                                                                                                           NFT: Blesssed Zombies# ...
      @       Oxfa2ca2a7658fe5f2e8...     235 days 7 hrs ago     Null: Ox000...000 (9        IN     tankbonoms.eth    c..D    ERC-721        @)            NFT: Blesssed Zombies


                                                                                                                                                           Blesssed Zombie #6563
      @       Oxfa2ca2a7658fe5f2e8...     235 days 7 hrs ago     Null: Ox000...000 [..D      IN     tankbonoms.eth    [..D    ERC-721
                                                                                                                                             .t            NFT: Blesssed Zombies


                                                                                                                                                           NFT: BIGSSSGd ZombiGs#.,.
      @       Oxfa2ca2a7658fe5f2e8...     235 days 7 hrs ago     Null: Ox000...000 [.D       IN     tankbottoms.eth   (9      ERC-721        (@)           NFT: Blesssed Zombies


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      @       Oxfa2ca2a7658fe5f2e8...     235 days 7 hrs ago     Null: Ox000...000 [.O       IN     tankbottoms.eth   c..D    ERC-721        @)            NFT: Blesssed Zombies


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      @       Oxfa2ca2a7658fe5f2e8...     235 days 7 hrs ago     Null: Ox000...000 c__D      IN     tankbottoms.eth   [.O     ERC-721        @)            NFT: Blesssed Zombies


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      @       Oxfa2ca2a7658fe5f2e8...     235 days 7 hrs ago     Null: Ox000...000 [.O       IN     tankbottoms.eth   [.O     ERC-721        (@)           NFT: Blesssed Zombies

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      @      Oxfe89af73b8ae4742d...      235 days 7 hrs ago       Null:   oxooo...ooo   (9           tankbonoms.eth    LO      ERC-721     @     NFT: Flipbirds


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      @      Oxfe89af73b8ae4742d...      235 days 7 hrs ago       Null: Ox000...000 LO               tankbonoms.eth    LO      ERC-721     @)    NFT: Flipbirds


                                                                                                                                                 NFT: Flipbirds#1471
      @      Oxfe89af73b8ae4742d ...     235 days 7 hrs ago       Null: Ox000... 000 Lo       IN     tankbonoms.eth    LO      ERC-721
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                                                                                                                                                 NFT: Flipbirds#1475
      @      Oxfe89af73b8ae4 742d ...    235 days 7 hrs ago       Null: Ox000...000 (.0       IN     tankbonoms.eth    (9      ERC-721     @)    NFT: Flipbirds


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      @      Oxfe89af73b8ae4742d ...     235 days 7 hrs ago       Null: Ox000...000 (.0       IN     tankbottoms.eth   (9      ERC-721     (@1   NFT: Flipbirds


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      @      Oxfe89af73b8ae4742d...      235 days 7 hrs ago       Null: Ox000...000     (9    IN     tankbonoms.eth    [.O     ERC-721     @     NFT: Flipbirds


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      @      Oxfe89af73b8ae4 742d ...    235 days 7 hrs ago       Null: Ox000...000     (9    IN     tankbonoms.eth    (.0     ERC-721     @     NFT: Flipbirds


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      @      Oxfe89af73b8ae4742d ...     235 days 7 hrs ago       Null: Ox000...000 LO        IN     tankbonoms.eth    [.O     ERC-721     @)    NFT: Flipbirds



      @      Oxfe89af73b8ae4742d ...     235 days 7 hrs ago       Null: Ox000...000 (9        IN     tankbonoms.eth    LO      ERC-721
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                                                                                                                                                 NFT: Flipblrds


                                                                                                                                                 NFT: Flipbirds#1477
      @      Oxfe89af73b8ae4742d ...     235 days 7 hrs ago       Null: Ox000...000 LO        IN     tankbonoms.eth    (9      ERC-721     @     NFT: Flipblrds


                                                                                                                                                 NFT: MeowsDAO Progeny ...
      @      Oxeb6c9b5141519a41 ...      235 days 8 hrs ago        tankbottoms.eth      LO    OUT   developer.beef69.eth LO    ERC,721     @)    NFT: MeowsDAO Progeny .•



      @      Ox0106aea9e90c0d13 ...      235 days 9 hrs ago       Ox4CBc2b.•.30148241 LO      IN     tankbonoms.eth    [.O     ERC-721    ■ Grails II Mint Pass
                                                                                                                                                 Grails II Mint Pass


                                                                                                                                                 Borod Apo by Wassily Ka ...
      @      Ox1250da35c69647f97 ...     235 days 9 hrs ago       Ox59B618 ... 5F5D2926 (.D   IN     tankbottoms.eth   (9      ERC-1155
                                                                                                                                          %      OpenSea Shared Storefront 0


                                                                                                                                                 Doodle Ape Town #3491
      @      Ox598fdda54fa071 bbl ...    235 days 10 hrs ago      Null: Ox000... 000 [.O      IN     tankbonoms.eth    (9      ERC-721
                                                                                                                                           :1€   NFT: Doodle Ape Town


                                                                                                                                                 Doodle Ape Town #3495
      @      Ox598fdda54fa071 bbl ...    235 days 10 hrs ago      Null: Ox000... 000    (9    IN     tankbottoms.eth   (.0     ERC-721
                                                                                                                                                 NFT: Doodle Ape Town


                                                                                                                                                 Doodle Ape Town #3488
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      @      Ox598fdda54fa071bbl ...     235 days 10 hrs ago      Null: Ox000... 000 (.0      IN     tankbonoms.eth    (.0     ERC-721
                                                                                                                                                 NFT: Doodle Ape Town

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       @      Ox598fdda54fa071 bbl ...       235 days 1 O hrs ago   Null: Ox000...000 (9             tankbonoms.eth    L□     ERC-721
                                                                                                                                                NFT: Doodle Ape Town


                                                                                                                                                NFT: Doodle Ape Town#3 ...
       @      Ox598fdda54fa071 bb1 ...       235 days 10 hrs ago    Null: Ox000...000    c9          tankbonoms.eth    L□     ERC-721    @J     NFT: Doodle Ape Town




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                                                                                                                                                Doodle Ape Town #3489
              Ox598fdda54fa071 bbl ..        235 days 10 hrs ago    Null: Ox000... 000 L□            tankbonoms.eth    L□     ERC-721
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       @      Ox598fdda54fa071 bbl ...       235 days 10 hrs ago    Null: Ox000... 000 (.0    IN     tankbottoms.eth   c9     ERC-721
                                                                                                                                         ti     NFT: Doodle Ape Town


                                                                                                                                                Doodle Ape Town #3490
       @      Ox598fdda54fa071 bbl ...       235 days 10 hrs ago    Null: Ox000... 000 (.0    IN     tankbottoms.eth   (9     ERC-721
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       @      Ox598fdda54fa071 bbl ...       235 days 10 hrs ago    Null: Ox000... 000   (9   IN     tankbonoms.eth    [.O    ERC-721    @J     NFT: Doodle Ape Town


                                                                                                                                                Doodle Ape Town #3487
       @      Ox598fdda54fa071 bb1 ...       235 days 10 hrs ago    Null: Ox000..,000    (9   IN     tankbonoms.eth    [.O    ERC-721
                                                                                                                                                NFT: Doodle Ape Town


                                                                                                                                                Fuckin' Elephants #953
       @      Oxb29454f8f58e181 a3 ...       235 days 10 hrs ago    Null: Ox000...000 L□      IN     tankbonoms.eth    [.O    ERC-721
                                                                                                                                                NFT: Fuckin&#39; Elephants


                                                                                                                                                RUFF LUCK #5418
       @      Ox58a00edb5cdef6bcf...         235 days 10 hrs ago    Null: Ox000...000    c9          tankbonoms.eth    L□     ERC-721
                                                                                                                                                NFT: RuffLuckNFT


       @      Ox481 d 11c15f1 a 1 bb06 ...   235 days 10 hrs ago    Null: Ox000...000 L□             tankbonoms.eth    c9     ERC-721
                                                                                                                                        n       Hisoka # 1184
                                                                                                                                                NFT: Hisoka Offrclal


       @      0x481 d11 c15f1 a 1 bb06...    235 days 10 hrs ago    Null: Ox000...000    c9   IN     tankbonoms.eth    (9     ERC-721   n       Hisoka # 1185
                                                                                                                                                NFT: Hisoka Offrcial



       @      Ox481d11c1 Sf1a1 bb06 ...      235 days 10 hrs ago    Null: Ox000...000 L□      l'N    tankbonoms.eth    L□     ERC-721
                                                                                                                                        ·,t~    Hisoka # 1186
                                                                                                                                                NFT: Hisoka Offrcial


                                                                                                                                                Moon Doodl0 Apo Baby B...
       @      Oxc62fa479b853ccfba...         235 days 10 hrs ago    Null: Ox000... 000 (.D    lN     tankbottoms.eth   (9     ERC-721
                                                                                                                                         u      NFT: Moon Doodle Ape Ba...


                                                                                                                                        ~ Communication Ape #322
       @      Ox7136cfd64aedf931 B...        235 days 10 hrs ago    Null: Ox000...000 [.O     IN     tankbonoms.eth    (9     ERC-721
                                                                                                                                        iGjj    NFT: International Commu ...


       @      Ox7136cfd64aedf931 B...        235 days 10 hrs ago    Null: Ox000... 000   (9   IN     tankbottoms.eth   [.O    ERC-721
                                                                                                                                        ~I      Communication Ape #323
                                                                                                                                                NFT: International Commu ...


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       @      Ox9eb7c5e2a141 Od24...         235 days 10 hrs ago    Null: Ox000... 000 (.0    IN     tankbonoms.eth    LO     ERC-721
                                                                                                                                         2      NFT: Not Okay Rakkudo

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      @      Ox9eb7c5e2a141 Od24 ...    235 days 1 O hrs ago     Null: Ox000...000 (9             tankbonoms.eth    L□     ERC-721
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      @      Ox9eb7c5e2a141 Od24...     235 days 10 hrs ago      Null: Ox000...000    c9          tankbonoms.eth    L□     ERC-721
                                                                                                                                     !      Not Okay Rakkudo #7460
                                                                                                                                            NFT: Not Okay Rakkudo


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      @      Ox6e47 4eccb9cc2eafa ...   235 days 11 hrs ago      Null: Ox000... 000 L□     IN     tankbonoms.eth    L□     ERC-721
                                                                                                                                            Al Nightbirds Project X


                                                                                                                                            Bored Giraffe #800
      @      Ox6e2ae3a6340eb44d ...     236 days 17 hrs ago      Null: Ox000... 000 (.0    IN     tankbottoms.eth   c9     ERC-721
                                                                                                                                            NFT: Bored Giraffes Yacht ...


                                                                                                                                            MoonStalkers #1118
      @      Oxl c519b3506336824...     236 days 17 hrs ago      Null: Ox000... 000 (.0    IN     tankbottoms.eth   (9     ERC-721
                                                                                                                                            NFT: Moonstalkers Official



      @      Oxl c519b3506336824..,     236 days 17 hrs ago      Null: Ox000... 000   (9   IN     tankbonoms.eth    [.O    ERC-721
                                                                                                                                     t      MoonStalkers #1115
                                                                                                                                            NFT: Moonstalkers Official


      @




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                                                                                                                                            MoonStalkers #1116
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                                                                                                                                            MoonStalkers #1117
      @      Ox1 c519b3506336824...     236 days 17 hrs ago      Null: Ox000...000    c9          tankbonoms.eth    L□     ERC-721
                                                                                                                                            NFT: Moonstalkers Official


                                                                                                                                            #955
      @      Ox168b1964bfa544b36...     236 days 17 hrs ago      Null: Ox000...000 LO             tankbonoms.eth    c9     ERC-721
                                                                                                                                            NFT: CryptoCocksV2


      @      Ox168b1964bfa544b36...     236 days 17 hrs ago      Null: Ox000...000    c9   IN     tankbonoms.eth    (9     ERC-721
                                                                                                                                     J      #953
                                                                                                                                            NFT: CryptoCocksV2


                                                                                                                                            #954
      @      Ox168b1964bfa544b36...     236 days 17 hrs ago      Null: Ox000... 000 L□     l'N    tankbonoms.eth    L□     ERC-721
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      @      Ox89271 f4fb43443c99 ..•   236 days 17 hrs ago      Null: Ox000... 000 (.D    lN     tankbottoms.eth   (9     ERC-721
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      @      Ox89271 f4fb43443c99...    236 days 17 hrs ago      Null: Ox000... 000 [.O    IN     tankbonoms.eth    (9     ERC-721
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      @      Ox89271 f4fb43443c99...    236 days 17 hrs ago      Null: Ox000... 000   (9   IN     tankbottoms.eth   [.O    ERC-721
                                                                                                                                            NFT: argh.wtf



      @      Ox4a9b911 a67601 b5fe...   236 days 17 hrs ago      Null: Ox000... 000 (.0    IN     tankbonoms.eth    LO     ERC-721
                                                                                                                                     II     Bored Ape Shit Head #445
                                                                                                                                            NFT: Bored Ape Shit Head...

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      @      Ox4a9b911a67601b5fe...      236 days 17 hrs ago      Null: oxooo... ooo (9           IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                            II      Bored Ape Shit Head #446
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                                                                                                                                                    Angelic Nyan Cat
      @      Oxec2b7ab0d7fee58e7 ...     236 days 17 hrs ago      memepirate.eth L□               IN    tankbonoms.eth    L□    ERC-1155
                                                                                                                                                    Nyan Cat 0


                                                                                                                                            ■ i/ pay cash/for old/car co...
      @      Oxd3a240c646438b62...       236 days 18 hrs ago      aholsn1ffsglue.eth (9           IN    tankbonoms.eth    L□    ERC-1 155
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                                                                                                                                                    beef69.eth
      @      Ox1 eed42c83a 1 d9e62...    236 days 23 hrs ago      § ENS: ETH Registrar Co... (9         tankbottoms.eth   (9    ERC-721
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      @      Ox67d6a78b881b41 ac...      237 days 11 mins ago     Null: Ox000...000 [.O           IN    tankbottoms.eth   (9    ERC-721
                                                                                                                                                    NFT



      @      Ox48a5d8dbdba03631 ...      237 days 18 mins ago     oxa66bf5...6d44480e L□                tankbonoms.eth    L□    ERC-721
                                                                                                                                            i       WALTER WHITE IS ALIVE. (HE !...

                                                                                                                                                    NFT: Statumania


      @      Ox7024aae4dc4fd881 f...     237 days 23 mins ago     OxAA625f...fE560E44 L□          IN    tankbonoms.eth    L□    ERC-1155    II      Prism
                                                                                                                                                    Refractions



      @      Oxf5480df0670bce7f6 ...     237 days 31 mins ago     Ox1 E0538...D408f75a L□         IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                             s      Avastar #13882
                                                                                                                                                    AVASTAR Token 0



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      @        Ox9c5074b42a6779e8...          237 days 33 mins ago   Null: Ox000...000 LO      IN    tankbottoms.eth    LO     ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 Lo      IN    tankbottoms.eth    LO     ERC-721
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      @        Ox9cS074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 (9      IN    tankbottoms.eth    c9     ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 LO      IN    tankbottoms.eth    LO     ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 Lo      IN    tankbottoms.eth    c9     ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000         IN    tankbottoms.eth           ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 LD      IN    tankbottoms.eth    r.9    ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 [.O     IN    tankbottoms.eth    c9     ERC-721       -~~-
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000    [9   IN    tankbottoms.eth    LO     ERC-721
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      @        Ox9c5074b42a6779e8. ..         237 days 33 mins ago   Null: Ox000...000 Lo      IN    tankbottoms.eth    c9     ERC-721
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      @        Ox9c5074b42a6779e8 ...         237 days 33 mins ago   Null: Ox000...000 [.O     IN    tankbottoms.eth    c9     ERC-721                  MeowsDAO Progeny Nou...
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      ®      Ox3be6f9f9632c179dc...      237 days 37 mins ago      chook.eth cD              IN     tankbottoms.eth   cD    ERC-721       (§l      Obits

                                                                                                                                            •..    JPG HUMAN #7380
      ®      Ox7fa09f2540a8d8c52...      237 days 41 mins ago      7170.eth cD               IN     tankbottoms.eth   cD    ERC-721
                                                                                                                                                   JPG People0


      @      Ox6c8446ee3c07029a...       237 days 42 mins ago      Ox56865d...3Bf74521 LO    IN     tankbottoms.eth   LD    ERC-721   m            The Sad Cat #6315
                                                                                                                                                   NFT: T11eSadCats


                                                                                                                                                   Turf Plot [-33, -14)
      ®      Ox9166516fc347d5da9...      237 days 42 mins ago      Oxd0a19d._64FD23C8 [.D    IN     tankbottoms.eth   (9    ERC-721       CA
                                                                                                                                          I'&&     Turf


                                                                                                                            ERC-721                MDA #467
      ®      Ox1885cd2ac6fc55784...      237 days 45 mins ago      Ox75F288...3161 DA36 LO   IN     tankbottoms.eth   (9
                                                                                                                                            -      NFT: Mutant Doge Academy


                                                                                                                                                   NFT: JPERGS#239
      ®      Ox52ef693f608b5b1fcf...     237 days 53 mins ago      themullet.eth cD          IN     tankbottoms.eth   (9    ERC-721       (§l      NFT: JPERGS


      @      Ox4af1 aa4faad2d3ef8...     237 days 54 mins ago      Null: oxooo...ooo cD      IN     tankbottoms.eth   (9    ERC-721         D NFT:
                                                                                                                                              Chaos #10287 • Part Tim ...
                                                                                                                                                   Chaos


                                                                                                                            ERC-721   •            Chaos Packs #2394
      ®      Ox4afl aa4faad2d3ef8...     237 days 54 mins ago        tankbottoms.eth   LD    OUT   Null: Ox000...000 cD
                                                                                                                                                   NFT: Chaos Packs


      @      Ox4afl aa4faad2d3ef8 ...    237 days 54 mins ago      Null: Ox000...000 (9      IN     tankbottoms.eth   cD    ERC-721   l::f  J Chaos #10284 - .ETHY
                                                                                                                                       t.;:i ., NFT: Chaos


      @      Ox4afl aa4faad2d3ef8...     237 days 54 mins ago      Null: Ox000...000 LD      IN     tankbottoms.eth   LD    ERC-721   J"~ Chaos #10285 - Lagrimas...
                                                                                                                                      ...         I NFT: Chaos


      @      Ox4afl aa4faad2d3ef8...     237 days 54 mins ago      Null: Ox000...000 [.D     IN     tankbottoms.eth   LD    ERC-721
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      @      Oxl 347e7963b8ac1 c8 ...    237 days 57 mins ago      Null: Ox000...000 cD      IN     tankbottoms.eth   (9
                                                                                                                                                   NFT: Chaos Packs


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      ®      Oxeb0fda0bf23abal Ob ...    237 days 1 hr ago         Null: Ox000...000 LD      IN     tankbottoms.eth   LD    ERC-721       ·• t
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       @      Oxeb0fda0bf23aba1 Ob ...    237 days 1 hr ago         Null: Ox000 ...000   cD
                                                                                                          "'    tankbottoms.eth   LD     ERC-721        .~      NFT: argh.wtf


                                                                                                                                                                Pepe Pee #334
       @      Ox457cd9121357d019 ...      237 days 1 hr ago         Null: Ox000 ...000   cD               IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                                NFT: Pepe Pee
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                                                                                                                                                    ■ ZombieCat #1571
       @      Oxacdacl 8a44a07cdd ...     237 days 1 hr ago         Null: Ox000 ...000   (9               IN    tankbottoms.eth   c□     ERC-721
                                                                                                                                                                NFT: Cats Zombie


                                                                                                                                                                ZombieCat #1568
       @      Oxacdacl 8a44a07cdd ...     237 days 1 hr ago         Null: Ox000 ...000   c_D              IN    tankbottoms.eth   c□     ERC-721
                                                                                                                                                                NFT: Cats Zombie


                                                                                                                                                                ZombieCat #1569
       @      Oxacdac18a44a07cdd ...      237 days 1 hr ago         Null: Ox000 ...000   cD               IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                                NFT: Cats Zombie


                                                                                                                                                    •           ZombieCat #1570
       @      Oxacdacl 8a44a07cdd ...     237 days 1 hr ago         Null: Ox000 ...000   (9               IN    tankbottoms.eth   c□     ERC-721
                                                                                                                                                                NFT: Cats Zombie


                                                                                                                                                    •           ZombieCat #1567
       @      Oxacdacl 8a44a07cdd ...     237 days 1 hr ago         Null: Ox000 ...000   (9               IN    tankbottoms.eth   cD     ERC-721
                                                                                                                                                                NFT: Cats Zombie


                                                                                                                                                                benreed.eth
       @      Ox5a28c6dad424f6994 ...     237 days 9 hrs ago        0   ENS: ETH Registrar Co...     c9   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                                Ethereum Name Service 0


                                                                                                                                                    •           We Are Forming
       @      Ox60ed04aefd49d2c8d . .     237 days 1 2 hrs ago      Null: Ox000 ...000   cD               IN    tankbottoms.eth   cD     ERC-1155
                                                                                                                                                                NFT: we are Forming


       @      Ox115b4f127a36459f5...      237 days 16 hrs ago       Nyan Cat: Deployer     c9             IN    tankbottoms.eth   c9     ERC-721    ~           Shorty #13
                                                                                                                                                                NFT: Shorty the Cat



                                                                                                c9                                                  ■ Dissolution #11
       @      Ox412409d93c3dc242...       237 days 16 hrs ago       Ox8d0492..F90AfE4C                    IN    tankbottoms.eth   c9     ERC-1155
                                                                                                                                                                NFT: All Dissolution Lab


                                                                                                                                                                Good Minds #3655
       @      Ox536f3d5b9b1 ba5e8f...     237 days 1 9 hrs ago      fresht808.eth   c9                    IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                                Good Minds


       @      Oxe2e1e71 a166bf3349 ...    237 days 1 9 hrs ago      Ox28e9Ab... c6F10065 @                IN    tankbottoms.eth   c□     ERC-721
                                                                                                                                                    l           Floor App Pass
                                                                                                                                                             ::, NFT: Floor App Pass


       @      Ox76016ce1d6a87117 ...      239 days 1 2 hrs ago      Null: Ox000 ...000   LD               IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                        -
                                                                                                                                                        t£
                                                                                                                                                                The Pepes #2794
                                                                                                                                                                NFT: ThePepesNFT


                                                                                                                                                                NFT: Trippy Rabbits#229
       @      Oxldf26d13dcccb0087...      239 days 1 2 hrs ago      Null: Ox000 ...000   (9               IN    tankbottoms.eth   c.D    ERC-721        @J      NFT: Trippy Rabbits

                                                                                                                                                                     PLAINTIFF0001277
htlps://elherscan .io/nfl- translers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                                         3/7
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                                                                                                                                                          NFT: Deeproot Warriors# ...
        @       Ox1 c6ffe64f3386732b ...    239 days 1 2 hrs ago      Null: Ox000 ...000   (9        IN    tankbottoms.eth   cP    ERC-721
                                                                                                                                                  ©       NFT: Deeproot Warriors


                                                                                                                                              •           FVCK_CRYSTAU/ #593
       @        Oxbe9dc87f5b8b8a51 c ...    240 days 13 hrs ago       Ox69820A ...BE54FC16      (9   IN    tankbottoms.eth   L□    ERC-1155
                                                                                                                                                          NFT: Open Crystals Ticket



        @       Ox23eebe0b8bc50933 ...      241 days 1 0 hrs ago      Oxb00095...8FFdF310 L□         IN    tankbottoms.eth   cP    ERC-1155   •... o     I OpenSea Shared Storefro...
                                                                                                                                                          Opensea Shared Storefront 0



        @       Oxffea 7b2c730686200 ...    241 days 12 hrs ago       Oxb00095...8FFdF310       (9   IN    tankbottoms.eth   L□    ERC-1155   •.....,.   t OpenSea Shared Storefro...
                                                                                                                                                          OpenSea Shared Storefront 0


                                                                                                                                                          NFT: mfer2#7472
        @       Ox15ad50dadec11366...       243 days 19 hrs ago       Null: Ox000 ...000 L□          IN    tankbottoms.eth   L□    ERC-721        @       NFT: mfer2


                                                                                                                                                          NFT: mfer2#7476
       @        Ox15ad50dadec11366.,.       243 days 19 hrs ago       Null: Ox000 ...000 L□          IN    tankbottoms.eth   cP    ERC-721        @}      NFT: mfer2


                                                                                                                                                          NFT: mfer2#7469
       @        Ox 1 5ad50dadec11366...     243 days 19 hrs ago       Null: Ox000 ...000   (9        IN    tankbottoms.eth   L□    ERC-721        @       NFT: mfer2


                                                                                                                                                          NFT: mfer2#7473
       @        Ox15ad50dadec11366...       243 days 19 hrs ago       Null: Ox000 ...000   (9        IN    tankbottoms.eth   L□    ERC-721        @       NFT: mfer2


                                                                                                                                                          NFT: mfer2#7477
       @        Ox15ad50dadec11366 ...      243 days 19 hrs ago       Null: Ox000 ...000 L□          IN    tankbottoms.eth   c9    ERC-721        @)      NFT: mfer2


                                                                                                                                                          NFT: mfer2#7470
        @       Ox15ad50dadec11366...       243 days 19 hrs ago       Null: Ox000 ...000 L□          IN    tankbottoms.eth   L□    ERC-721        @)      NFT: mfer2


                                                                                                                                                          NFT: m fer2#7474
       @        Oxl 5ad50dadec11366 ...     243 days 19 hrs ago       Null: Ox000 ...000   (9        IN    tankbottoms.eth   cP    ERC-721        @)      NFT: mfer2


                                                                                                                                                          NFT: mfer2#7478
       @        Oxl 5ad50dadec11366...      243 days 19 hrs ago       Null: Ox000 ...000 L□          IN    tankbottoms.eth   c9    ERC-721
                                                                                                                                                  @)      NFT: mfer2


                                                                                                                                                          NFT: mfor2#7'171
        @       Oxl 5ad50dadec11366...      243 days 19 hrs ago       Null: Ox000 ... 000 L□         IN    tankbottoms.eth   L□    ERC-721        @)      NFT: mfer2


                                                                                                                                                          NFT: m fer2#7475
        @       Ox 1 Sad 50d adee11366...   243 days 19 hrs ago       Null: Ox000 ...000   (9        IN    tankbottoms.eth   cP    ERC-721        @       NFT: mfer2


                                                                                                                                                          NFT:BAYC2#4402
       @        Oxa5306b5a776ef7aa7...      243 days 19 hrs ago       Null: Ox000 ...000 L□          IN    tankbottoms.eth   L□    ERC-721        @)      NFT: BAYC2


                                                                                                                                                          NFT: BAYC2#4403
        @       Oxa5306b5a776ef7aa7_,       243 days 19 hrs ago       Null: Ox000 ...000   (9        IN    tankbottoms.eth   L□    ERC-721        @       NFT: BAYC2

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                                                                                                                                                           Poolsuite - Executive Me...
       @        Oxd1f1725551be7df59 ...    245 days 3 h rs ago      rovan.eth   (9                        IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                           Poolsuite • Executive Mem...


                                                                                                                                                           cptspacecadet.eth
       @        Ox5d96d5e882e9c79f2...     245 days 4 hrs ago       Ox8a9742... 1168232B        LD        IN    tankbottoms.eth   LD     ERC-721
                                                                                                                                                           Ethereum Name Service 0


                                                                                                                                                           fuzzyh andcufts.eth
       @        Oxfa6f3c46584071543 ...    245 days 4 hrs ago       ® ENS: ETH Registra r Co_.       LD   IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                           Ethereum Name Service 0


                                                                                                                                                           LarvaDuck #220
        @       Ox819407e94bb40871 ...     246 days 2 hrs ago       Null: Ox000 ...000    (9              IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                           NFT: LarvaDucks


                                                                                                                                                           Blesssed Zombie #3010

                                                                                                                                                    ~
        @       Ox131b9c109b260113 ...     249 days 7 hrs ago       Null: Ox000 ...000 c.□                IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                           NFT: Blesssed Zombies


                                                                                                                                                    ~ '    Blesssed Zombie #3003
       @        Oxl 31b9c109b260113 ..,    249 days 7 hrs ago                     ooo
                                                                    Null: oxooo ...       c.□             IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                    ~
                                                                                                                                                    ~      NFT: Blesssed Zombies


                                                                                                                                                     ~     Blesssed Zombie #3007
                Ox131b9c109b260113-        249 days 7 hrs ago       Null: Ox000 ...000 (9                       tankbottoms.eth   c.□    ERC-721
       @                                                                                                  IN
                                                                                                                                                    I.     NFT: Blesssed Zombies



       @        Ox131b9c109b260113 ..,     249 days 7 hrs ago       Null: Ox000 ...000    cP              IN    tankbottoms.eth   L□     ERC-721
                                                                                                                                                    ,:     Blesssed Zombie #3004
                                                                                                                                                           NFT: Blesssed zombies


                                                                                                                                                           Blesssed Zom bies #3008
       @        Ox131b9c109b260113 ..•     249 days 7 hrs ago       Null: Ox000 ...000 c.□                IN    tankbottoms.eth   (9     ERC-721    @)     NFT: Blesssed Zombies


       @        Ox131b9c109b260113 ...     249 days 7 hrs ago       Null: Ox000 ...000 c.□                IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                   1       Blesssed Zom bie #3001
                                                                                                                                                           NFT: Blesssed Zombies


                                                                                                                                                           Blesssed Zombie #3005
       @        Ox131b9c109b260113...      249 days 7 hrs ago       Null: Ox000 ...000 (9                 IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                    ,l     NFT: Blesssed Zombies


                                                                                                                                                           Blesssed Zombies #3009
       @        Ox131b9c109b260113 ...     249 days 7 hrs ago       Null: Ox000 ...000 c.□                IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                    @)     NFT: Blesssed Zombies


        @       Ox131b9c109b260113_        249 days 7 hrs ago       Null: Ox000 ... 000   [.D             IN    tankbottoms.eth   [.O    ERC-721
                                                                                                                                                    ..,.   Blesssed Zombie #3002

                                                                                                                                                    ~      NFT: Blesssed Zombies


                                                                                                                                                           Blesssed Zombie #3006
        @       Ox 131b9c109b260113...     249 days 7 hrs ago       Null: Ox000 ...000 (9                 IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                   I       NFT: Blesssed Zombies


                                                                                                                                                           Me owsDAO Progeny Nou...
       @        Oxf4768c9b71 b97ef99 ...   249 days 11 hrs ago      Null: Ox000 ...000 [.O                IN    tankbottoms.eth   [.D    ERC-721
                                                                                                                                                           NFT: MeowsDAO Progeny ...


                                                                                                                                                           Unique Explorers#3773
       @        Ox57f580b90229e2ed0 ...    249 days 13 hrs ago      Null: Ox000 ...000 (9                 IN    tankbottoms.eth   c.D    ERC-721
                                                                                                                                                           Unique Explorers

                                                                                                                                                                PLAINTIFF0001279
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                                                                                                                                             NFT: EtherBears#B967
      @      Ox11 232527b4ae32c8 ...      249 days 13 hrs ago       Null: oxooo...ooo   c9   IN    tankbottoms.eth   c9     ERC-721    (@J   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#B960
      @      Ox11232527b4ae32c8 ...       249 days 13 hrs ago       Null: Ox000...000 c□     IN    tankbottoms.eth   c□     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#B971
      @      Ox 11 232527b4ae32c8...      249 days 13 hrs ago       Null: oxooo...ooo c□     IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                       (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8964
      @      Ox11 232527b4ae32c8 ...      249 days 13 hrs ago       Null: Ox000...000 (9     IN    tankbottoms.eth   c□     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8956
      @      Ox11232527b4ae32c8...        249 days 1 3 h rs ago     Null: Ox000...000 c.□    IN    tankbottoms.eth   c9     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#B957
      @      Ox11232527b4ae32c8...        249 days 13 hrs ago       Null: oxooo...ooo c□     IN    tankbottoms.eth   c9     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8968
      @      Ox 11 232527b4ae32c8 ...     249 days 13 hrs ago       Null: Ox000...000 (9     IN    tankbottoms.eth   c□     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8961
      @      Ox11232527b4ae32c8...        249 days 13 hrs ago       Null: Ox000...000 (9     IN    tankbottoms.eth   c□     ERC-721    @)    NFT: EtherBears


                                                                                                                                             NFT: EtherBears#B972
      @      Ox11 232527b4ae32c8 . .      249 days 13 hrs ago       Null: oxooo...ooo c□     IN    tankbottoms.eth   c9     ERC-721    @)    NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8965
      @      Ox11232527b4ae32c8 ...       249 days 13 hrs ago       Null: oxooo...ooo c□     IN    tankbottoms.eth   c□     ERC-721    @)    NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8958
      @      Ox11 232527b4ae32c8. ..      249 days 13 hrs ago       Null: Ox000...000 (9     IN    tankbottoms.eth   c9     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8969
      @      Ox11 232527b4ae32c8. ..      249 days 13 hrs ago       Null: Ox000...000 c.□    IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                       @)    NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8962
      @      Ox11 232527b4ae32c8 ...      249 days 13 hrs ago       Null: Ox000...000 [.D    IN    tankbottoms.eth   c.□    ERC-721    @)    NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8973
      @      Ox11232527b4ae32c8...        249 days 1 3 hrs ago      Null: Ox000...000 (9     IN    tankbottoms.eth   c9     ERC-721    (@)   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#8966
      @      Ox l 1232527b4ae32c8...      249 days 13 hrs ago       Null: Ox000...000 L□     IN    tankbottoms.eth   c.□    ERC-721    r@J   NFT: EtherBears


                                                                                                                                             NFT: EtherBears#B959
      @      Ox11 232527b4ae32c8 ...      249 days 1 3 hrs ago      Null: Ox000...000 (9     IN    tankbottoms.eth   c.D    ERC-721    (@)   NFT: EtherBears

                                                                                                                                                  PLAINTIFF0001280
htlps://elherscan .io/nfl- transfers?a=0x5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                  6/7
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                                                                                                                                                     NFT: EtherBears#B970
      @      Ox11232527b4ae32c8...         249 days 13 hrs ago       Null: Ox000 ...000 (9     IN    tankbottoms.eth   c9     ERC-721    (@J         NFT: EtherBears


                                                                                                                                                     NFT: EtherBears#8963
      @      Ox 11232527b4ae32c8...        249 days 13 hrs ago       Null: Ox000 ...000 cO     IN    tankbottoms.eth   LO     ERC-721    (@)         NFT: EtherBears


                                                                                                                                                     NFT: EtherBears#B955
      @      Ox11232527b4ae32c8 ...        249 days 13 hrs ago       Null: Ox000 ...000 cO     IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                         (@J         NFT: EtherBears


                                                                                                                                                     NFT: EtherBears#8974
      @      Ox11232527b4ae32c8 ...        249 days 13 hrs ago       Null: Ox000 ...000 (9     IN    tankbottoms.eth   c□     ERC-721
                                                                                                                                         @)          NFT: EtherBears


                                                                                                                                                     NFT: Exclusive Shark Clu ...
      @      Ox2d1523113d2e476d ...        249 days 13 hrs ago       Null: Ox000 ...000 c.□    IN    tankbottoms.eth   c□     ERC-721    (@J         NFT: Exclusive Shark Club


                                                                                                                                         ~ Exclusive Shark #1193
      @      Ox2d1523113d2e476d ...        249 days 13 hrs ago       Null: Ox000 ...000 [.O    IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                         ~           NFT: Exclusive Shark Club


                                                                                                                                                     Moondogz #1054
                                                                                          c9                           c□
      @      Oxc676600282978ccd ...        249 days 13 hrs ago       Null: oxooo ...ooo        IN    tankbottoms.eth          ERC-721
                                                                                                                                        \Ii          NFT: Moondogz


                                                                                                                                                     Moondogz #1047
      @      Oxc676600282978ccd ...        249 days 13 hrs ago       Null: Ox000 ...000 (9     IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                        II           NFT: Moondogz



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                                                                                                                                                  Moondogz #1047
       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null: Ox000 ...000    (9   IN    tankbottoms.e1h   (9    ERC-721
                                                                                                                                       Q          NFT: Moondogz




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                                                                                                                                                  Moondogz #1051
       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null : Ox000 ...000   LD   IN    tankbottoms.e1h   LD    ERC-721
                                                                                                                                                  NFT: Moondogz


                                                                                                                                                  Moondogz #1048
                                                                                                                                       ~
       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null: oxooo._ooo      Lo   IN    1ankbottoms.e1h   LD    ERC-721
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                                                                                                                                                  Moondogz #1052
       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null: Ox000 ...000    (9   IN    1ankbottoms.e1h   (9    ERC-721
                                                                                                                                                  NFT: Moondogz


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       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null: Ox000.•.000     LD   IN    tankbottoms.e1h   LD    ERC-721
                                                                                                                                                  NFT: Moondogz




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                                                                                                                                                  Moondogz #1049
       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null: Ox000 ... 000   (9   IN    tankbottoms.e1h   (9    ERC-721
                                                                                                                                                  NFT: Moondogz




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                                                                                                                                                  Moondogz #1053
       @       Oxc676600282978ccd ...         249 days 13 hrs sgo   Null: Ox000 ... 000   LD   IN    tankbottoms.elh   LD    ERC-721
                                                                                                                                                  NFT: Moondogz



       @       Oxc676600282978ccd ...         249 days 13 hrs ego   Null: Ox000... 000    LD   IN    tankbottoms.e1h   (9    ERC-721
                                                                                                                                       a          Moondogz #1046
                                                                                                                                                  NFT: Moondogz


                                                                                                                                                  NFT: The Derpy#829
       @       Oxb2e9e733ab77400fc...         249 days 13 hrs ego   Null: Ox000 ... 000   (9   IN    tankbottoms.e1h   LD    ERC-721    @)        NFT: The Derpy


                                                                                                                                                  NFT: The Derpy#830
       @       Oxb2e9e733ab77400fc ...        249 days 13 hrs ago   Null: Ox000 ...000    (9   IN    tankbottoms.elh   (9    ERC-721    @)        NFT: The Derpy


                                                                                                                                                  NFT: The Derpy#827
       @       Oxb2e9e733ab77400fc ...        249 days 13 hrs ego   Null: o xooo__ooo L□       IN    tankbottoms.e1h   LD    ERC-721    @         NFT: The Derpy


                                                                                                                                                  NFT: The Derpy#831
       @       Oxb2e9e733ab77400fc...         249 days 13 hrs ego   Null: oxooo._ooo      Lo   IN    tankbottoms.e1h   LO    ERC-721    @         NFT: The Derpy


       @       Oxb2e9e733ab77400fc...         249 days 13 hrs ego   Null: Ox000 ... 000   (9   IN    tankbottoms.elh   LD    ERC-721              NFT: The Derpy#828
                                                                                                                                                      PLAINTIFF0001282
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                                                                                                                                                BozzCatz #5631
      @      Oxd25b656784db7b35...       249 days 13 hrs .;go     Null: Ox000 ... 000 cO     IN    tankbottoms.e1h   co     ERC-721
                                                                                                                                                NFT: BozzCatz



      @      Oxba83ee93465659d1 ...      249 days 13 hrs ago      Null: Ox000 ... 000   [9   IN    tankbottoms.e1h   [9     ERC-721
                                                                                                                                            J   Nicky Shoes Collection#...
                                                                                                                                                NFT: Nicky Shoes Collection



      @      Oxba83ee93465659d1 ...      249 days 13 hrs .;go     Null: Ox000 ...000    [9   IN    tankbottoms.e1h   cO     ERC-721
                                                                                                                                            J   Nicky Shoes Collection#...
                                                                                                                                                NFT. N il,;ky Shue~ Cullec;tiun



                                                                                                                                                NFT: MeowsDA0&#39;s ...
      @      Oxc764226b6614fb801 ...     249 days 14 hrs zgo      Null: Ox000 ...000 cO      IN    tankbottoms.e1h   cO     ERC·721        @)   NFT: MeowsDAO&l/39;s N...


      @      Ox52425aecefb4fc892...      249 days 16 hrs .;go     Null: oxooo__ooo co        IN    tankbottoms.elh   [.O    ERC-721
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                                                                                                                                                Degenarios #2661
                                                                                                                                                NFT: Oegenarios


                                                                                                                                          ,~,   Degenarios #2659
      @      Ox52425aecefb4fc892...      249 days 16 hrs zgo      Null: Ox000...000 [.O      IN    tankbottoms.e1h   cO     ERC-721
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      @      Ox52425aecefb4fc892...      249 days 16 hrs ago      Null: Ox000 ...000 cO      IN    tankbottoms.eth   [9     ERC-721
                                                                                                                                      a         Degenarios #2660
                                                                                                                                                NFT: Oegenarios


                                                                                                                                                NFT: The Derpy#355
      @      Ox8bf26c069f76cd580 ...     249 days 16 hrs sgo      Null: Ox000 ...000 cO      IN    tankbottoms.e1h   cO     ERC-721
                                                                                                                                           @)   NFT: The Derpy


                                                                                                                                                NFT: The Derpy#352
      @      Ox8bf26c069f76cd580 ...     249 days 16 hrs .;go     Null· Ox000 ...000 cO      IN    tankbottoms.e1h   cO     ERC-721        @)   NFT: The Oerpy


                                                                                                                                                NFT: The Derpy#356
      @      Ox8bf26c069f76cd580 ...     249 days 16 hrs .;go     Null: Ox000 ... 000 cO     IN    tankbottoms.e1h   cO     ERC-721        @)   NFT: The Derpy


                                                                                                                                                NFT: The Derpy#353
      @      Ox8bf26c069f76cd580 ...     249 days 16 hrs .;go     Null: Ox000 ... 000   [9   IN    tankbottoms.e1h   co     ERC-721        @)   NFT: The Derpy


                                                                                                                                                NFT: The Derpy#354
      @      Ox8bf26c069f76cd580...      249 days 16 hrs .;go     Null: oxooo._ooo c.o       IN    tankbottoms.elh   [.O    ERC-721        @)   NFT: The Derpy


                                                                                                                                                Puffer Gang #5384
      @      Ox727e7d0f8929379eb ...     249 days 16 hrs sgo      Null: Ox000 ...000 c.O     IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                Puffer Gang


                                                                                                                                                Puffer Gang #5385
      @      Ox727e7d0f8929379eb ...     249 days 16 hrs sgo      Null: Ox000 ..•000    [9   IN    tankbottoms.elh   c.D    ERC-721
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      @      Ox727e7d0f8929379eb ...     249 days 16 hrs sgo      Null: Ox000...000 [.O      IN    tankbottoms.elh   c.O    ERC-721
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      @      Ox727e7d0f8929379eb ...     249 days 16 hrs .;go     Null: Ox000... 000 [.O     IN    tankbottoms.eth   c.D    ERC-721             Puffer Gang #5383
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       ®      Ox727e7d0f8929379eb...         249 days 16 hrs ego          Null: Ox000...000 [9              IN     tankbottoms.e1h   LO      ERC-721
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       ®      Ox53460a8055b7Bf317...         249 days 16 hrs ego          Null: Ox000...000 LO              IN     tankbottoms.e1h   LO      ERC-721
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                                                                                                                                                                  NFT: Project Dudes


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      ®       Ox53460a8055b7Bf317...         249 days 16 hrs ego          Null· Ox000... 000 [9             IN     tankbottoms.elh   LO      ERC-721
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      ®       Ox85a3dddc9558e5ff5...         250 days 23 mins ago          tankbottoms.eth   LO             OUT   Ox8a9742... 1168232B Lo    ERC-721    l@)       NFT: Juice box Projects


      ®       Oxc4c8c06655a40ebc...          250 days 2 hrs ago          E] ENS: ETH Registrar Co...   c9   IN     tankbottoms.elh   c9      ERC-721   II         doppelgangerdao.eth
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      ®       Ox705c490be2ee2b76...          252 days 21 hrs ego          Null: oxooo__ooo Lo               IN     tankbottoms.elh   LO      ERC-721    @)        NFT: Bobo Loves BearMrkt


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      ®       Ox705c490be2ee2b76...          252 days 21 hrs ago          Null: Ox000...000 LO              IN     tankbottoms.elh   LO
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      ®       Ox705c490be2ee2b76...          252 days 21 hrs ago          Null : Ox000...000 [9             IN     tankbottoms.elh   c9      ERC-721    @)        NFT: Bobo Loves BearMrkt


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       ®      Ox705c490be2ee2b76...          252 days 21 hrs ego          Null: Ox000...000 LO              IN     tankbottoms.elh   LO      ERC-721
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      ®       Ox5a68ba 78bab3c02e...         252 days 21 hrs ago          Null: Ox000...000 LO              IN     tankbottoms.elh   c9      ERC-721
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       ®      Ox5a68ba 78bab3c02e...         252 days 21 hrs sgo          Null: Ox000...000 LO                     tankbottoms.elh   c9      ERC-721
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      @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000._000 Lo        IN    tankbottoms.e1h   LO    ERC-721
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      @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000 ... 000   [9   IN    tankbottoms.elh   LO    ERC-721
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      @      Ox4368ed5588220b29...       252 days 21 hrs ago       Null· Ox000 ... 000 LO     IN    tankbottoms.elh   LO    ERC·721
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      @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000 ...000 Lo      IN    tankbottoms.elh   c9    ERC-721
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      @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000...000 Lo       IN    tankbottoms.e1h   LO    ERC-721
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      @      Ox4368 ed5588220b29 ...     252 days 21 hrs ago       Null: Ox000 ... 000 La     IN    tankbottoms.elh   La    ERC-721
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      @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000 ...000    [9   IN    tankbottoms.elh   c9    ERC-721
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      @      Ox4368ed5588220b29...       252 days 21 hrs ago       Null: Ox000 ... 000   [9   IN    tankbottoms.elh   La    ERC-721
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       @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000 ... 000    [9   IN    tankbottoms.elh   LO    ERC-721
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       @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000...000 Lo        IN    tankbottoms.e1h   LO    ERC-721
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       @      Ox4368ed5588220b29...       252 days 21 hrs ago       Null : Ox000 ... 000   [9   IN    tankbottoms.e1h   c9     ERC-721
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       @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000 ...000     Lo   IN    tankbottoms.elh   c9     ERC-721
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       @      Ox4368ed5588220b29 ..•      252 days 21 hrs ago       Null: oxooo,_ooo            IN    tankbottoms.elh   LO     ERC-721
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       @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null: Ox000 ...000 (9       IN    tankbottoms.elh   (9     ERC-721
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       @      Ox4368ed5588220b29 ...      252 days 21 hrs ago       Null : Ox000 ... 000 L□     IN    tankbottoms.e1h   L□     ERC-721
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       @      Ox4368ed5588220b29...       252 days 21 hrs ago       Null: Ox000 ... 000    [9   IN    tankbottoms.elh   c9     ERC-721
                                                                                                                                                   NFT: Goblin Cyborg

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      @      Ox4368ed5588220b29...        252 days 21 hrs ago       Null: Ox000 ... 000   [9   IN    tankbottoms.elh   LO    ERC-721   \-:')    NFT: Goblin Cyborg


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      @      Ox4368ed5588220b29...        252 days 21 hrs ago       Null: Ox000 ...000    [9   IN    tankbottoms.elh   c9    ERC-721
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      @        Ox4368ed 5588220b29 ...        252 days 21 hrs ago   Null: Ox000 ...000 La     tN    tankbottoms.eth   c9    ERC-721
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      @        Ox4368ed 5588220b29 ...        252 days 21 hrs ago   Null: Ox000 ...000 La           tankbottoms.eth   La    ERC-721
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      @        Ox4368ed5588220b29 ...         252 days 21 hrs ago   Null: Ox000... 000 La     IN    tankbottoms.eth   c9    ERC-721
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      @        Ox4368ed5588220b29 ...         252 days 21 hrs ago   Null: Ox000 ...000   (9   IN    tankbot1oms.eth   La    ERC-721
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      @        Ox4368ed5588220b29 ...         252 days 21 hrs ago   Null: Ox000 ...000 LO     IN    tankbot1oms.eth   c9    ERC-721
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      @        Ox4368ed5588220b29 ...         252 days 21 hrs ago   Null: Ox000 ...000 LO     IN    tankbot1oms.eth   c9    ERC-721
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      @        Ox4368ed5588220b29...          252 days 21 hrs ago   Null: Ox000...000 (9      IN    tankbot1oms.eth         ERC-721
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      @        Ox4368ed5588220b29...          252 days 21 hrs ago   Null: Ox000...000    c9   IN    tankbot1oms.eth   c9    ERC-721
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      @        Ox4368ed5588220b29 ...         252 days 21 hrs ago   Null: Ox000 ...000   c9   IN    tankbottoms.eth   La    ERC-721
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      @        Ox4368ed5588220b29 ..,         252 days 21 hrs ago   Null: Ox000 ...000 La     IN    tankbottoms.eth   La    ERC-721
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      @        Ox4368ed5588220b29...          252 days 21 hrs ago   Null: Ox000 ...000 La     tN    tankbottoms.eth   c9    ERC-721               Goblin Cyborg #1601
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      ®                                                                                    IN
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      ®      Ox4368ed5588220b29 ...       252 days 21 hrs ago      Null: Ox000...000 [,O   IN    tankbottoms.eth   @      ERC-721
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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 @     IN    tankbottoms.eth   [,O    ERC-721
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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 [,O   IN    tankbottoms.eth   [,O    ERC-721     ;J'.   NFT: Goblin Cyborg


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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 @     IN    tankbottoms.eth   @      ERC-721
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      ®      Ox4368ed5588220b29 .•        252 days 21 hrs ago      Null: Ox000...000 [,O   IN    tankbottoms.eth   [,D    ERC-721
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      ®      Ox4368ed5588220b29 ..,       252 days 21 hrs ago      Null: Ox000...000 @           tankbottoms.eth   L□     ERC-721   G        Goblin Cyborg #1555
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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 @     IN    tankbottoms.eth   @      ERC-721
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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 [,O   IN    tankbottoms.eth   L□     ERC-721
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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 [,O   IN    tankbottoms.eth   [,D    ERC-721
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             Ox4368ed5588220b29...        252 days 21 hrs ago      Null: OX000...000 @     IN    tankbottoms.eth   @      ERC-721
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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 L□    IN    tankbottoms.eth   L□     ERC-721    ...-~   Goblin Cyborg #1628
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      @      Ox4368ed5588220b29...        252 days 21 hrs ago      NulL Ox000...000 [,O    IN    tankbottoms.eth   [,O    ERC-721    @)      NFT: Goblin Cyborg


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      ®      Ox4368ed5588220b29...        252 days 21 hrs ago      Null: Ox000...000 @     IN    tankbottoms.eth   [,D    ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 Lo             tankbottoms.eth   LO     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       NulL Ox000...000 Lo        IN    tankbottoms.eth   L□     ERC-721       ...  ""
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 (9       IN    tankbottoms.eth   L□     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 LO       IN    tankbottoms.eth   LD     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: oxooo ... ooo   c9   IN    tankbottoms.eth   c9     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 [.O      IN    tankbottoms.eth   LD     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 [.O      IN    tankbottoms.eth   c9     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000     c9   IN    tankbottoms.eth   LO     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 Lo       IN    tankbottoms.eth   L□     ERC-721
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      @      Ox4368ed5588220b29 ...        252 days 21 hrs ago       Null: Ox000...000 [.O      IN    tankbottoms.eth   L□     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 LO             tankbottoms.eth   [9     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 L□       IN    tankbottoms.eth   [.D    ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000     c9   IN    tankbottoms.eth   c9     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 LD             tankbottoms.eth   LD     ERC-721
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      @      Ox4368ed5588220b29...         252 days 21 hrs ago       Null: Ox000...000 [.O      IN    tankbottoms.eth   LD     ERC-721
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                                                                                                                                                                NFT: Big Mouth NFTS


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      @      Oxe5542726419613d4...         252 days 21 hrs ago        Null: Ox000 ... 000 LO          IN      tankbottoms.eth     L□    ERC-721       <.Y
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      @      Oxacd1 d4edl ef563b87...      253 days 19 hrs ago        NulL Ox000 ...000 Lo            IN      tankbottoms.eth     L□    ERC-721   II            The China #3584
                                                                                                                                                                NFT: The China NFT


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      @      Ox2blfa1167118c76a7...        254 days 1 hr ago         @ ENS: ETH Registrar Co... LO    IN      tankbottoms.eth     L□    ERC-721
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      @      Oxdd8c07644b3685ac...         254 days 2 hrs ago         Null: Ox000 ... 000 (,0         IN      tankbottoms.eth     L□    ERC-721    @)           NFT: Juicebox ProJects


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      @      Oxl 2762dc4fecd331de...       254 days 2 hrs ago         Null:   oxooo...ooo   @         IN      tankbottoms.eth     @     ERC-721    @)           NFT: Juicebox Projects


                                                                                                                                                                WaveRider #2757
      @      Ox1b1ccb420d06adf53-.         254 days 7 hrs ago         Null: Ox000 ...000 cO           IN      tankbottoms.eth     LD    ERC-721
                                                                                                                                                                NFT: waveriders
                                                                                                                                                  ~         -

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      @      Oxa87e98cc7cf241696...        254 days 7 hrs ago         Null: Ox000 ...000 cO           IN      tankbottoms.eth     @     ERC-721    @)           NFT: Futuristic Robots




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                                                                                                                                                                Futuristic Robot #3370
      @      Oxa87e98cc7cf241696...        254 days 7 hrs ago         Null: Ox000 ...000 LO           IN      tankbottoms.eth     LO    ERC-721
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      @      Oxa87e98cc7cf241696...        254 days 7 hrs ago         Null: Ox000 ... 000 Lo          IN      tankbottoms.eth     L□    ERC-721    @)           NFT: Futuristic Robots


      @      Ox0c52e56e02d798ee...         255 days 5 mins ago        Null: Ox000 ... 000   @         IN      tankbottoms.eth     LD    ERC-721   ■             #5169
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                                                                                                                                                                Peri's Pringle® Cream
      @      Ox95015d52e07fddbf7 ...       255 days 2 hrs ago          tankbottoms.eth      LO       M       Null: OxOO...d EaD LO      ERC-721
                                                                                                                                                  11            NFT: Juicebox&#39;s Ban...


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      @      Oxfd3f8d09ab4587b84...        255 days 2 hrs ago          tankbottoms.eth      c□       00T     Null: OxOO...d EaO L□      ERC-721    @)           NFT: Juicebox&#39;s Ban...




                                                                                                                                                   ~
                                                                                                                                                                Banny Dirt Bike
      @      Ox497d9fbf44629a283 ...       255 days 2 hrs ago          tankbottoms.eth      LO       01.IT   Null: OxOO... dEaO   @     ERC-721
                                                                                                                                                                NFT: Juicebox&#39;s Ban...


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      @      Ox0fd37319204036d8 ...        255 days 2 hrs ago          tankbottoms.eth      (,0      00T     Null: OxOO...dEaO    @     ERC-721    @)           NFT: Juicebox&#39;s Ban...


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      @      Ox8742f15d7d5423a9...         255 days 2 hrs ago          tankbottoms.eth      c□       OUT     Null: OxOO...dEaD    @     ERC-721    @)           NFT: Juicebox&#39;s Ban...

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      @      Ox98108afb46a78a405 ...      255 days 2 hrs ago         tankbon oms.eth      L□    OUT   Null: OxOO._dEaD L□        ERC-721
                                                                                                                                                  NFT: Juicebox&#39;s Ban ...


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      @      Ox7f712caccbb7I4de0...       255 days 2 hrs ago         tankbonoms.eth       c,□   OUT   Null: OxOO ...d EaD L□     ERC-721    @)    NFT: Juicebox&#39;s Ban ...




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      @      Ox3a42da9335698efe7 ...      255 days 2 hrs ago         tankbonoms.eth       L□    OV[   Null: OxOO... d EaD L□     ERC-721
                                                                                                                                                  NFT: Juicebox&l139;s Ban ...



      @      Oxab40a05a3396fbe35...       255 days 3 hrs ago         tankbonoms. eth      [.D   0UT   Null: OxOO...d EaD L□      ERC-721       ~ I signed a transaction
                                                                                                                                                  NFT: Juicebox&lt39;s Ban ...


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      @      Oxaa59db2f32bf460fd...       255 days 17 hrs ago       Null: Ox000 ... 000 [.O     IN     tankbottoms.eth    [.O    ERC-721    @)    NFT: Juicebox&l139;s Ban ...



      @      Oxa1e1 e8f84b0ee5b35...      255 days 18 hrs ago       Null: oxooo ... ooo   c9    IN     tankbottoms.eth    c9     ERC-721       ~ I signed a transaction
                                                                                                                                                  NFT: Juicebox&#39;s Ban ...



      @      Oxeae19504c0073e82...        255 days 18 hrs ago       Null: Ox000 ...000 [.O      IN     tankbottoms.eth    LD     ERC·721
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                                                                                                                                                  Stressed Banny
      @      Oxe91836fa2874ed639...       255 days 22 hrs ago        tankbonoms.eth       LO    OUT   mieos.eth ~                ERC-721
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      @      Oxe91836fa2874ed639...       255 days 22 hrs ago        tankbonoms.eth       L□    WT    mieos.eth ~                ERC-721    @)    NFT: Juicebox&#39;s Ban ...


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      @      Ox33a38c88d2b26c33 . .          256 days 7 hrs ago        Null: Ox000 ...000 @        IN    tankbottoms.eth   19    ERC-721
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      @      Ox4cda1 e314c9bd34e...          256 days 7 hrs ago        Null: Ox000 ... 000   LO    IN    tankbottoms.eth   19    ERC-721
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      @      Oxe76879e6af3dac9f1 ...         256 days 7 hrs ago        Null: Ox000 ... 000   LO    IN    tankbottoms.eth   LO    ERC-721    (@)       NFT: Mooncatz


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      @      Oxe76879e6af3dac9f1 ...         256 days 7 hrs ago        Null: Ox000 ... 000 L□      IN    tankbottoms.eth   LO    ERC-721    @)        NFT: Mooncatz


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      @      Oxe76879e6af3dac9f1 ...         256 days 7 hrs ago        Null: Ox000 ... 000   LO    IN    tankbottoms.eth   LO    ERC-721    @)        NFT: Mooncatz


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      @      Ox08cb9b3b0a24dd33 ..•          256 days 7 hrs ago        Null: Ox000 ... 000   LO    IN    tankbottoms.eth   LO    ERC-721
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      @      Ox08cb9b3b0a24dd33...           256 days 7 hrs ago        Null: Ox000 ...000    LO    IN    tankbottoms.eth   LO    ERC-721
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      @      Ox8308514e1 ce47aa4f...         256 days 7 hrs ago        Null: Ox000 ...000    Lo          tankbottoms.eth   LO    ERC-721    @)        NFT: Juicebox&#39;s Ban...


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      @      Oxl 87260951 fcb3696a ...       256 days 11 hrs ago        Null: oxooo ... ooo La           tankbottoms.eth   c9     ERC-721
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      @      Ox187260951 fcb3696a ...        256 days 11 hrs ago        Null: oxooo ... ooo La     IN    tankbonoms.eth    c9     ERC-721
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      @      Ox24c2293cc7bc97e6 ...          256 days 11 hrs ago        Null: Ox000 ...000 LO      IN    tankbonoms.eth    [.O    ERC-721
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      @      Oxeb7 4 702dc0c8f3206 ...       256 days 11 hrs ago        Null: oxooo ... ooo c.□    IN    tankbonoms.eth    c9     ERC-721
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       @       Oxe82d 5cc3fe52f39fe3 ...     257 days 16 hrs ago        Null: Ox000 ...000 LO      IN    tankbon oms.eth   L□     ERC-721       @)          NFT: MeowsDAO Progeny ...


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       @       Oxe82d5cc3fe52f39fe3...       257 days 16 hrs ago        Null: Ox000 ... 000   [9   IN    tankbonoms.eth    c9     ERC-721
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       @       Oxe82d5cc3fe52f39fe3...       257 days 16 hrs ago        Null: Ox000 ... 000 Lo     IN    tankbottoms.eth   [,D    ERC-721       @)          NFT: MeowsDAO Progeny ..

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       @       Ox36bbb3f396a7268b4...        257 days 16 hrs ago        Null: oxooo ... ooo La           tankbonoms.eth    c9     ERC-721   ■          Frunk #1308
                                                                                                                                                       NFT: Frunkers



       @       Ox36bbb3f396a7268b4...        257 days 16 hrs ago        Null: OX000 ... 000 La     IN    tankbonoms.eth    c9     ERC-721
                                                                                                                                            Iii        Frunk #1305
                                                                                                                                                       NFT: Frunkers


       @       Ox36bbb3f396a7268b4...        257 days 16 hrs ago        Null: Ox000 ...000 LO      IN    tankbonoms.eth    LO     ERC-721   ■          Frunk #1306
                                                                                                                                                       NFT: Frunkers


                                                                                                                                            •          Frunk #1307
       @       Ox36bbb3f396a7268b4...        257 days 16 hrs ago        Null: oxooo ... ooo La     IN    tankbonoms.eth    La     ERC-721
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       @       Ox36bbb3f396a7268b4...        257 days 16 hrs ago        Null: Ox000 ...000    [9   IN    tankbonoms.eth    La     ERC-721
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       @       Ox195a9180f3423d34..          257 days 16 hrs ago        Null: Ox000 ...000 La            tankbonoms.eth    La     ERC-721
                                                                                                                                            R          Abducted Toon #2478
                                                                                                                                                       NFT: lllumlnatoons Abduct ...


       @       Ox195a9180f3423d34...         257 days 16 hrs ago        Null: Ox000 ...000 La      IN    tankbon oms.eth   La     ERC-721
                                                                                                                                            R          Abducted Toon #2475
                                                                                                                                                       NFT: llluminatoons Abduct...



       @       Ox195a9180f3423d34...         257 days 16 hrs ago        Null: Ox000 ... 000   [9   IN    tankbonoms.eth    c9     ERC-721
                                                                                                                                            R          Abducted Toon #2479
                                                                                                                                                       NFT: llluminatoons Abduct...


       @       Oxl 95a9180f3423d34...        257 days 16 hrs ago        Null: Ox000 ... 000 L□     IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                            R          Abducted Toon #2472
                                                                                                                                                       NFT: llluminatoons Abduct...


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       @       Ox195a9180f3423d34 ...        257 days 16 hrs ago        Null: OX000 ... 000   [9   IN    tankbottoms.eth   [,O    ERC-721       @)     NFT: llluminatoons Abduct...


       @       Ox195a9180f3423d34...         257 days 16 hrs ago        Null: OX000 ... 000 LO     IN    tankbottoms.eth   c9     ERC-721
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       @       Oxl 95a9180f3423d34 ...       257 days 16 hrs ago        Null: Ox000 ... 000 Lo     IN    tankbottoms.eth   [,O    ERC-721
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       @      Ox195a9180f3423d34...           257 days 16 hrs ago        Null: Ox000 ...000 [9      IN    tankbonoms.eth    c9     ERC-721
                                                                                                                                             R      Abducted Toon #2474
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       @      Ox94f3f 4bb08a89765f...         257 days 16 hrs ago        Null: Ox000 ...000 [..O    IN    tankbonoms.eth    [.O    ERC-721    @)    NFT: llluminatoons


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       @      Ox94f3f 4bb08a89765f...         257 days 16 hrs ago        Null: oxooo ... ooo L□     IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                              g     Toon #4227
                                                                                                                                                    NFT: llluminatoons


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       @      Ox94f3f 4bb08a89765f...         257 days 16 hrs ago        Null: Ox000 ... 000 [..O         tankbottoms.eth   LO     ERC-721    @)    NFT: llluminatoons




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       @      Ox94f3f 4bb08a89765f...         257 days 16 hrs ago        Null: Ox000 ... 000 [9     IN    tankbottoms.eth   [.O    ERC-721
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      @        Ox94f3f4bb08a89765f...            257 days 16 hrs ago    Null: Ox000...000 LO     IN    tankbottoms.eth   LO    ERC,721    @     NFT: lllumlnatoons




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                                                                                                                                                Cereal Killers #251
      @        Ox9b7eb8cc180bdab4 ...            257 days 16 hrs ago    Null· Ox000...000 (9     IN    tankbottoms.eth   LO    ERC-721
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                                                                                                                                                NFT: luck of the irish#522
      @        Ox33a7ab07ba1 abf21 b ...         258 days 7 hrs ago     Null: Ox000...000   c9   IN    tankbottoms.eth   LO    ERC-721    @     NFT: luck of the irish


                                                                                                                                                NFT: luck of the irish#519
      @        Ox33a7ab07ba1 abf21 b ...         258 days 7 hrs ago     Null: Ox000...000   c9   IN    tankbottoms.eth   LO    ERC-721    @     NFT: luck of the Irish


                                                                                                                                                NFT: luck of the irish#523
      @        Ox33a7ab07ba1 abf21 b ...         258 days 7 hrs ago     Null: Ox000...000   c9   IN    tankbottoms.eth   LO    ERC-721    @     NFT: luck of the Irish


                                                                                                                                                NFT: luck of the irish#520
      @        Ox33a7ab07ba1abf21 b ...          258 days 7 hrs ago     Null: Ox000...000 LO     IN    tankbottoms.eth   LO    ERC-721    @)    NFT: luck of the irish


                                                                                                                                                NFT: luck of the irish#521
      @        Ox33a7ab07ba1abf21 b ...          258 days 7 hrs ago     Null: Ox000...000   c9   IN    tankbottoms.eth   LO    ERC-721    @     NFT: luck of the Irish


                                                                                                                                                NFT: MoonEggs#82
      @        Oxcf4edcc131188ae83 ...           258 days 7 hrs ago     Null: Ox000...000   (9   IN    tankbottoms.eth   LO    ERC-721    @     NFT: MoonEggs


      @        Ox8921777a02e3dfc62...            258 days 7 hrs ago     Null· Ox000...000   c9   IN    tankbottoms.eth   LO    ERC-721          Vintage Mystery #1478
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      ®      Ox8921777a02e3dfc62_.           258 days 7 hrs ago         Null: Ox000 ... 000   (9   IN    tankbottoms.eth   LD    ERC-721
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      ®      Ox59f45be6751308696...          258 days 21 hrs ago        Null· Ox000...000     (9   IN    tankbottoms.eth   LD    ERC-721    @)    NFT: Ooppels Gang


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      ®      Ox59f45be6751308696...          258 days 21 ~,rs ago       Null. Ox000 ...000    LD   IN    tankbonoms.eth    LO    ERC-721    (@J   NFT: Ooppels Gang


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      ®      Ox0f37456e02fo515c1 ...         258 days 21 ~,rs ago       Null: Ox000 ...000    LD         tankbottoms.eth   LD    ERC-721    @)    NFT: Doppels Gang


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      ®      Ox0f37456e02fc515c1 ..          258 days 21 hrs ago        Null: Ox000 ...000    (9   IN    tankbonoms.eth    LO    ERC-721    @     NFT: Doppels Gang


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      ®      Ox1 ee51 Oe8f74be866e...        258 days 21 ~,rs ago       Null: Ox000 ...000    LO   IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: ltsABee


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      ®      Ox1 ee51 Oe8f74be866e...        258 days 21 hrs ago        Null: Ox000... 000    (9   IN    tankbottoms.eth   LD    ERC-721
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      ®      Oxl ee51 Oe8f74be866e...        258 days 21 hrs ago        Null: Ox000 ...000    (9   IN    tankbottoms.eth   LD    ERC-721    @     NFT:ltsABee


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      ®      Oxl eeS1Oe8f74be866e...         258 days 21 hrs ago        Null· Ox000 ...000    (9   IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: ltsABee


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      ®      Ox1 ee51 Oe8f74be866e...        258 days 21 hrs ago        Null: Ox000 ... 000   (9   IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: llsABee


                                                                                                                                                  NFT: luck of the irish#291
      ®      Ox09d32643b8fd860cb...          258 days 21 hrs ago        Null: Ox000...000     (9   IN    tankbottoms.eth   LO    ERC-721    @)    NFT: luck of the Irish


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      @      Ox09d32643b8fd860cb ...         258 days 21 hrs ago        Null. Ox000 ...000    LO   IN    tankbonoms.eth    l9    ERC-721    @)    NFT: luck of the Irish


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      @      Ox09d32643b8fd860cb...          258 days 21 hrs ago        Null: Ox000 ...000    (9   IN    tankbottoms.eth   LO    ERC-721    (@J   NFT: luck of the Irish


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      ®      Ox09d32643b8td860cb...          258 days 21 hrs ago        Null: Ox000 ...000    [9   IN    tankbonoms.eth    LO    ERC-721    @)    NFT: luck of the Irish


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       @      Ox67838c0a505c3b46...          258 days 21 hrs ago        Null: Ox000 ...000    LO   IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: Bear Apes


                                                                                                                                                  NFT: T he Bananoz#265
       @      Oxecfa5f714400569dc ...        258 days 21 hrs ago        Null: Ox000 ...000    [9   IN    tankbottoms.eth   LO    ERC-721
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       @      Oxecfa5f714400569dc...         258 days 21 hrs ago        Null· Ox000 ...000    [9   IN    tankbottoms.eth   LO    ERC-721    @     NFT: The Bananoz


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       @      Oxecfa5f714400569dc...         258 days 21 hrs ago        Null· Ox000 ...000    (9   IN    tankbottoms.eth   LD    ERC-721    @     NFT: The Bananoz


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       @      Oxecfa5f714400569dc ...        258 days 21 hrs ago        Null: Ox000 ...000    (9   IN    tankbottoms.eth   LO    ERC-721    I@)   NFT: The Bananoz


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       @      Oxe8cd97a01 l ba 19c1 ...      258 days 21 hrs ago        Null: Ox000...000     LO   IN    tankbottoms.eth   LO    ERC-721    I@)   NFT: Ooppels Gang


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       @      Oxe8cd97a011 b a19c1 ...       258 days 21 ~,rs ago       Null: Ox000 ... 000   LO   IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: Doppels Gang


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       @      Ox9c79bl bb5eab57ed...         258 days 23 hrs ago        Null: Ox000 ...000    (9   IN    tankbottoms.eth   LO    ERC-721
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       @      Ox84c59075e8f57b6e5...         259 days 4 hrs ago         Null: Ox000 ...000    LO   IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: TronMachine


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       @      Ox84c59075e8f57b6e5...         259 days 4 hrs ago         Null: Ox000 ...000    [9   IN    tankbottoms.eth   LO    ERC-721
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       @      Oxff0a3c3d01 d f9cc0a...       259 days 4 hrs ago         Null: Ox000 ...000    (9   IN    tankbottoms.eth   L□    ERC-721    (@)   NFT: Crocsgang


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       @      Ox55b7afe47 f83f055e...        259 days 5 hrs ago         Null: Ox000 ... 000   (9   IN    tankbottoms.eth   LO    ERC-721    I@)   NFT: Anatomy Ape Club


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       @       Ox9dff8fb9a9cc1 dd7a ...      259 days 6 hrs ago         Null: Ox000 ...000    (9    IN    tankbottoms.eth   L□    ERC-721       (@)   NFT: Genesis Katsuki


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      @      Ox489837d6795c8940 ...         259 days 13 hrs ago        Null: Ox000 ...000    [!'I   IN    tankbottoms.eth   LO    ERC-721
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      @      Ox489837d6795c8940...          259 days 13 hrs ago        Null· Ox000 ...000    [!'I   IN    tankbottoms.eth   LD    ERC-721    @     NFT: Moonrunners2


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      @      Ox3cfe889c64e712720...         259 days 13 hrs ago        Null· Ox000 ...000    [!'I   IN    tankbottoms.eth   LD    ERC-721    @     NFT: Genesis Katsuki


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      @      Oxb1 ec6f 48c7fba3e87 ...      259 days 13 hrs ago        Null: Ox000 ... 000   [!'I   IN    tankbottoms.eth   LD    ERC-721    I@)   NFT: Goblin Birds


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      @      Ox2fd9d2878c369f2cl ...        259 days 13 hrs ago        Null: Ox000...000     LD     IN    tankbottoms.eth   LD    ERC-721    I@)   NFT: Handstown.xyz


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      @      Ox2fd9d2878c369f2c1 ...        259 days 13 hrs ago        Null: Ox000 ... 000   LD     IN    tankbottoms.eth   LO    ERC-721
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      @      Oxd68a0757e9a 12369...         259 days 13 hrs ago        Null: Ox000 ...000    d'J    IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: theFrenchles


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      @      Ox8886422cb1ff298bb ...        259 days 13 t,rs ago       Null: Ox000 ...000    LD     IN    tankbottoms.eth   LO    ERC-721    (@)   NFT: Women of Fashion


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      @      Oxl 55704ba7659f43d...         259 days 13 t,rs ago       Null: Ox000 ...000    [!'I   IN    tankbottoms.eth   LO    ERC-721
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      @      0x2b972abfaa3e71b65...          260 days 9 hrs ago         Null: 0x000...000 LO          IN    tankbottoms.eth   LO    ERC-721
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      @        Ox8ea5b57e0d97a989f...          260 days 14 hrs ago   Null: Ox000 ...000 [!)     IN    tankbonoms.eth    [!)    ERC-721
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      @      Oxl Ofc39e2a93dd8117 .        260 days 16 hrs ago        Null: Ox000... 000 L□      IN    tankbonoms.eth    L□    ERC-721    @)    NFT: Abducting Apes


                                                                                                                                                NFT: Abducting Apes#647
      @      Ox10fc39e2a93dd8117...        260 days 16 hrs ago        Null: Ox000 ...000 L□      IN    tankbottoms.eth   L□    ERC-721
                                                                                                                                          ©     NFT: Abducting Apes


                                                                                                                                                NFT: Abducting Apes#648
      @      Ox10fc39e2a93dd8117 ...       260 days 16 hrs ago        Null: Ox000...000 L□       IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                          ©     NFT: Abducting Apes


                                                                                                                                                NFT: D<1rpy Punkz#1086
      @      Oxf3a170667dd5c4d06 ...       260 days 16 hrs ago        Null: Ox000 ... 000 @      IN    tankbonoms.eth    L□    ERc-721    r@)   NFT: Derpy Pun kz


                                                                                                                                                NFT: Derpy Punkz#1087
      @      Oxf3al 70667dd5c4d06...       260 days 16 hrs ago        Null: Ox000... 000    @    IN    tankbottoms.eth   (9    ERC-721    @     NFT: Derpy Punkz


                                                                                                                                                NFT: Derpy Punkz#1084
      @      Oxf3al 70667dd5c4d06...       260 days 16 hrs ago        Null: Ox000 ... 000 LO     IN    tankbottoms.eth   LO    ERC-721    !@)   NFT: Derpy Punkz


                                                                                                                                                NFT: Derpy Punk-z#1085
      @      Oxf3a 170667dd5c4d06...       260 days 16 hrs ago        Null: Ox000 ... 000   @    IN    tankbottoms.eth   LO    ERC-721    @)    NFT: Oerpy Punkz

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                                                                                                                                               NFT: ANOTHERWRLD#305
      @      Ox47022696a5f9a0d80...      260 days 16 hrs ago       Null: Ox000 ...000 L□      IN    tankbonoms.eth    (9    ERC-721    (@)     NFT: ANOTHERWRLD


                                                                                                                                               NFT: ANOTHERWRLD#306
      @      Ox47022696a5f9a0d80...      260 days 16 hrs ago       Null: Ox000 ...000 L□      IN    tankbottoms.eth   L□    ERC-721    @       NFT: ANOTHERWRLD


                                                                                                                                               NFT: The Jap#2700
      @      Oxl 6237ba2853b77ba...      263 days 23 hrs ago       Null: Ox000 ...000 L□      IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                       (@)     NFT: TheJap


                                                                                                                                               NFT: The Jap#2701
      @      Ox1 6237b a2853b77ba...     263 days 23 hrs ago       Null: Ox000 ...000    (9   IN    tankbottoms.eth   @     ERC-721    (@]     NFT: TheJap


                                                                                                                                               #3596
      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000 ... 000   @    IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                               NFT: Arcanum Academy



      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000...000     @    IN    tankbonoms.eth    L□    ERC-721
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000 ... 000   LO   IN    tankbonoms.eth    @     ERC-721
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000 ... 000   @    IN    tankbonoms.eth    L□    ERC-721
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      @      Ox65c6f59f7a7d4373L         264 days 1 min ago        Null: Ox000.•.000 L□       IN    tankbottoms.eth   (9    ERC-721
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000... 000 L□      IN    tankbonoms.eth    L□    ERC-721
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000 ...000 L□      IN    tankbottoms.eth   L□    ERC-721
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000._000      La   IN    tankbonoms.eth    L□    ERC-721
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000 ...000 (9      IN    tankbonoms.eth    L□    ERc-721   ■        #3502
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      @      Ox65c6f59f7a7d4373f...      264 days 1 min ago        Null: Ox000... 000    @    IN    tankbottoms.eth   (9    ERC-721
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      @      Oxadc3876e4e14fd38f...      264 days 1 min ago        Null: Ox000 ... 000   LO   IN    tankbottoms.eth   LO    ERC-721
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      @      Oxadc3876e4e14fd38f...      264 days 1 min ago        Null: Ox000 ...000    @    IN    tankbottoms.eth   LO    ERC-721
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      @      Oxc91o5fad93cbe1017...        264 days 1 m in ago        Null: Ox000 ...000    (9   IN    tankbottoms.eth   La    ERC-721       (g)   NFT: Basquiat Doodles



      @      Oxc91c5fad93cbe1017...        264 days 1 min ago         Null: Ox000 ...000 La      IN    tankbonoms.eth    La    ERC-721   ■ Basquiat #573
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      @      Oxc91 c5fad93cbe 1 017...     264 days 1 m in ago        Null: Ox000 ... 000   (9   IN    tankbottoms.eth   @     ERC-721
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      @      Oxc91c5fad93cbe1017...        264 days 1 min ago         Null: Ox000 ... 000 [!)    IN    tankbottoms.eth   La    ERC-721
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      @      Oxc91c5fad93cbe1017...        264 days 1 min ago         Null: Ox000... 000    @    IN    tankbottoms.eth   La    ERC-721       ""
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      @      Oxc91c5fad93cbe101 7 ...      264 days 1 min ago         Null: Ox000 ... 000 LO     IN    tankbonoms.eth    @     ERC-721
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      @      Oxc91c5fad93cbe1017...        264 days 1 min ago         Null: Ox000 ...000    @    IN    tankbottoms.eth   La    ERC-721
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      @      Oxc91c5fad93cbe1017...        264 days 1 min ago         Null: Ox000.•.000 La       IN    tankbottoms.eth   (9    ERC-721
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      @      Oxc91c5fad93cbe1017...        264 days 1 min ago         Null: Ox000... 000 La      IN    tankbonoms.eth    La    ERC-721       @     NFT: Basqulat Doodles



      @      Oxc91o5fad93cbel 017...       264 days 1 min ago         Null: Ox000 ...000 La      IN    tankbottoms.eth   La    ERC-721   ■         Basquiat #571
                                                                                                                                                   NFT: Basquiat Doodles


                                                                                                                                                   NFT: Birthday Banny#22
      @      Oxb7edcd7d1 bc0a63a ...       264 days 13 hrs ago        Null: Ox000 ...000 La      IN    tankbonoms.eth    La    ERC-721
                                                                                                                                             ©     NFT: Birthday Banny


                                                                                                                                                   NFT: Botos#675
      @      Ox241a6a291 ab5ac78...        264 days 17 hrs ago        Null: Ox000 ... 000 @      IN    tankbonoms.eth    L□    ERc-721       r@J   NFT: Botos


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      @      Ox241 a6a291 ab Sac78 ...     264 days 17 hrs ago        Null: Ox000... 000    @    IN    tankbottoms.eth   (9    ERC-721       r§J   NFT: Botos


                                                                                                                                                   NFT: Botos#676
      @      Ox241 a6a291 ab Sac78 ...     264 days 17 hrs ago        Null: Ox000... 000 LO      IN    tankbottoms.eth   LO    ERC-721       @J    NFT: Botos


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      @      Ox24 la6a291 ab5ac78 ...      264 days 17 hrs ago        Null: Ox000 ... 000   @    IN    tankbottoms.eth   LO    ERC-721       @)    NFT: Botos

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      @      Ox241a6a291 ab5ac78...        264 days 17 hrs ago        Null: Ox000 ... 000 L□     IN    tankbonoms.eth    (9    ERC-721    (@)   NFT: Botos


                                                                                                                                                NFT: ComfortBears#327
      @      Ox3bb75e14bcf86131 a...       264 days 17 hrs ago        Null: Ox000 ...000 L□      IN    tankbottoms.eth   L□    ERC-721    @     NFT: ComfortBears


                                                                                                                                                NFT: Nut Bodies#521 1
      @      Ox5298125fd314ef266...        264 days 17 hrs ago        Null: Ox000 ...000 L□      IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                          (@)   NFT: Nut Bodies


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      @      Ox5298125fd314ef266 ...       264 days 17 hrs ago        Null: Ox000 ... 000   (9   IN    tankbottoms.eth   @     ERC-721    (@)   NFT: Nut Bodies


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      @      Ox5298125fd314ef266 ...       264 days 17 hrs ago        Null: Ox000 ... 000 [!)    IN    tankbonoms.eth    L□    ERC-721    @     NFT: Nut Bodies


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      @      Ox5298125fd314ef266 ...       264 days 17 hrs ago        Null: Ox000... 000    @    IN    tankbonoms.eth    L□    ERC-721    @J    NFT: Nut Bodies


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      @      Ox5298125fd314ef266 ...       264 days 17 hrs ago        Null: Ox000 ... 000   LO   IN    tankbonoms.eth    @     ERC-721    @)    NFT: Nut Bodies


                                                                                                                                                NFT: Hashimotocat#3360
      @      Oxdd 19098fb5c4759d1 ...      264 days 17 hrs ago        Null: Ox000 ... 000   @    IN    tankbonoms.eth    L□    ERC-721    @J    NFT: Hashimotocat


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                                                                      Null: Ox000.•.000 L□
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      @      Ox9235d4a801 e60f3ef...       264 days 17 hrs ago                                   IN    tankbottoms.eth   (9    ERC-721
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      @      Ox9235d4a801 e60f3ef...       264 days 17 hrs ago        Null: Ox000... 000 L□      IN    tankbonoms.eth    L□    ERC-721
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      @      Ox9235d4aB01 e60f3ef ...      264 days 17 hrs ago        Null: Ox000 ...000 L□      IN    tankbottoms.eth   L□    ERC-721
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      @      Ox9235d4a801 e60f3ef...       264 days 17 hrs ago        Null: Ox000.•.000 L□       IN    tankbonoms.eth    L□    ERC-721
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      @      Ox9235d4aBO 1 e60f3ef ...     264 days 17 hrs ago        Null: Ox000 ... 000 @      IN    tankbonoms.eth    L□    ERc-721
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      @      Ox9235d4a801 e60f3ef...       264 days 17 hrs ago        Null: Ox000... 000    @    IN    tankbottoms.eth   (9    ERC-721
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      @      Oxa51Oec9ea13578c9 ...        264 days 17 hrs ago        Null: Ox000 ... 000   LO   IN    tankbottoms.eth   LO    ERC-721    @J    NFT: Dungeons And Degens


                                                                                                                                                moonbapeswtf #226
      @      Ox80f7907afd5cf4ccb...        264 days 17 hrs ago        Null: Ox000 ... 000   @    IN    tankbottoms.eth   LO    ERC-721
                                                                                                                                         !_     NFT: moonbapes

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       @      Ox1 bc5b4a66566fea89 ...     264 days 20 hrs ago         tankbottoms.eth      c..□   OUT   jimmyethworld.eth       (9     ERC-1 155   x50
                                                                                                                                                           @     NFT: PeaceDAO IBIZA


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       @      Oxa3907df49c881ea3d...       264 days 20 hrs ago        Null: Ox000 ... 000 c..□     IN     tankbottoms.eth       c..□    ERC-1 155   x50
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       @      Ox94837738e185f49a9 ..       264 days 22 hrs ago                                     IN     tankbottoms.eth               ERC-1155    x50
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       @      Oxf3bb7bf1ca3a9b9f3...       265 days 23 hrs ago         tankbottoms.eth      (9     UU1   frldaysmile.eth c..□           ERC-721
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       @      Ox22d18d1 dc3442213...       266 days 18 m ins ago      Null: Ox000 ..,000   (9             tankbot1oms.eth       c..□    ERC-721
                                                                                                                                                          0      RocketMan #54
                                                                                                                                                                 NFT: RocketMan



       @      Ox8e80ba2fc5c1 e399d...      266 days 36 m ins ago      Null: Ox000 ... 000 c..□     IN     tankbot1oms.eth       (9      ERC-721
                                                                                                                                                          n      T he Chinese #820
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       @      Ox8e80ba2fc5cl e399d.•       266 days 36 m ins ago      Null: Ox000 ..,000 c..O      IN     tankbot1oms.eth       c..O    ERC-721
                                                                                                                                                          B      T he Chinese #818
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       @      Ox8e80ba2fc5cl e399d...      266 days 36 mins ago       Null: Ox000 ...000   (9      IN     tankbottoms.eth       (9      ERC-721
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       @       Ox43e8791 ed4a62417 . .          266 days 7 hrs ago    Null: Ox000...000   c9   IN    tankbottoms.eth   La     ERC-721     ri
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       @       Ox43e8791 ed4a62417...           266 days 7 hrs ago    Null: Ox000...000 Lo     IN    tankbottoms.eth   La     ERC-721
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       @       Ox4 3e8791 ed4a62417 ...         266 days 7 hrs ago    Null: Ox000...000   c9   IN    tankbonoms.eth    La     ERC-721
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       @       Ox43e8791ed4a62417 ...           266 days 7 hrs ago    Null: Ox000...000 LO     IN    tankbottoms.eth   La     ERC-721
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       @       Ox43e8791ed4a62417 ...           266 days 7 hrs ago    Null: Ox000...000   c9   IN    tankbottoms.eth   La     ERC-721   ■ SatanLovesNFTs #3139
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       @       Ox43e8791ed4a62417...            266 days 7 hrs ago    Null: Ox000...000 LD           tankbottoms.eth   c9     ERC-721
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       @       Oxdd0f0dc5df30cb4c6...           266 days 7 hrs ago    Null: Ox000...000   c9         tankbottoms.eth   (9     ERC-721
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       @       Oxdd0f0dc5df30cb4c6...           266 days 7 hrs ago    Null: Ox000...000   (9   IN    tankbottoms.eth   (9     ERC-721
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       @       Oxdd0f0dc5df30cb4c6...           266 days 7 hrs ago    Null: Ox000...000   (9   IN    tankbottoms.eth   (9     ERC-721    @J    NFT: Rich Punks


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       @       Ox7b4de2e5c8279e66...            266 days 14 hrs ago   Null: Ox000...000 c.D          tankbottoms.eth   c9     ERC-727    @)    NFT: Bricked Up Seals


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                                                                                                                                               NFT: Buzzzzzzz


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      @      Oxd0537998b6630326...          266 days 14 hrs ago       Null: Ox000...000 (.0          tankbottoms.eth   r9     ERG-721
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      @      Ox81 fd6c585542ae6ee...        266 days 15 hrs ago       Null: Ox000...000        IN    tankbottoms.eth   LO     ERC-721
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      @      Ox81 fd6c585542ae6ee...        266 days 15 hrs ago       Null: Ox000...000 (.0    IN    tankbonoms.eth    (.0    ERC-721    $
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      @      Ox81 fd6c585542ae6ee...        266 days 1 5 hrs ago      Null: Ox000...000 (9     IN    tankbonoms.eth    (.0    ERC-721
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      @      Ox81 fd6c585542ae6ee...        266 days 15 hrs ago       Null: Ox000...000   r9   IN    tankbonoms.eth    (.0    ERG-721
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      @      Ox81 fd6c585542ae6ee...        266 days 15 hrs ago       Null: Ox000...000   r9         tankbottoms.eth   (.0    ERC-721
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      @      Ox45b2353d6a9a3606 ...         266 days 19 hrs ago       Null: Ox000...000 (.0    IN    tankbonoms.eth    (.0    ERC-721
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      @      Ox45b2353d6a9a3606...          266 days 19 hrs ago       Null: Ox000...000   r9   IN    tankbottoms.eth   (.0    ERC-721
                                                                                                                                               NFT: Whales of Ether


                                                                                                                                               Whales of Ether #403
      @      Ox45b2353d6a9a3606...          266 days 19 hrs ago       Null: Ox000...000   r9         tankbonoms.eth    r9     ERC-721
                                                                                                                                          ~
                                                                                                                                               NFT: Whales of Ether


                                                                                                                                               Whales of Ether #404
      @      Ox45b2353d6a9a3606..•          266 days 19 hrs ago       Null: Ox000...000   r9         tankbonoms.eth    (.0    ERC-721
                                                                                                                                               NFT: Whales of Ether


                                                                                                                                               Whales of Ether #401
      @      Ox45b2353d6a9a3606...          266 days 19 hrs ago       Null: Ox000...000 LO     IN    tankbonoms.eth    (.0    ERC-721
                                                                                                                                               NFT: Whales of Ether


                                                                                                                                               Italian #342
      @      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000   r9   IN    tankbonoms.eth    (.0    ERC-721
                                                                                                                                         f     NFT: The Italians


      @      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000   r9   IN    tankbonoms.eth    (.0    ERC-721
                                                                                                                                        5·-    Italian #335
                                                                                                                                               NFT: The Italians


      @      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000   r9         tankbonoms.eth    (.0    ERC-721          Italian #339
                                                                                                                                                        PLAINTIFF0001318
https://etherscan .io/nft- translers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                          217
4/6/23, 4:49 PM                 Case 1:23-cv-20727-RKA Document 106-30 NFT
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                                                                                                                                         t          NFT: The Italians




      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000 LD           tankbottoms.eth   c9     ERC-721
                                                                                                                                        raJ
                                                                                                                                         ,
                                                                                                                                                    Italian #332
                                                                                                                                                    NFT: The Italians



      ®      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000 (9           tankbottoms.eth   LO     ERC-721
                                                                                                                                        ii          Italian #343
                                                                                                                                                    NFT: The Italians


                                                                                                                                                    Italian #336
      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000 (9           tankbottoms.eth   c9     ERC-721
                                                                                                                                         r-~
                                                                                                                                         . ;I       NFT: The Italians


                                                                                                                                                    Italian #329




                                                                                                                                        '
      ®      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000 c,D    IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                    NFT: The Italians


                                                                                                                                                    Italian #340
      ®      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000 c,D    IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                        tt          NFT: The Italians



      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000 (9     IN    tankbottoms.eth   LO     ERC-721    ......     Italian #333
                                                                                                                                        IP'         NFT: The Italians



      ®      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000 LO     IN    tankbonoms.eth    c9     ERC-721
                                                                                                                                        ij          Italian #337
                                                                                                                                                    NFT: The Italians


                                                                                                                                                    Italian #330
      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000   c9   IN    tankbonoms.eth    c9     ERC-721
                                                                                                                                                    NFT: The Italians


                                                                                                                                                    Italian #341
      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000   (9   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                        I.J.        NFT: The Italians


                                                                                                                                                    Italian #334
      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000   LD         tankbottoms.eth   c9     ERC-721
                                                                                                                                         tl         NFT: The Italians


                                                                                                                                                    Italian #338
      ®      Ox49a9636a95f9a2d6b...         266 days 19 hrs ago       Null: Ox000...000   c9   tN    tankbottoms.eth   c,O    ERC-721
                                                                                                                                         j          NFT: The Italians


                                                                                                                                                    Italian #331
      ®      Ox49a9636a95f9a2d6b ...        266 days 19 hrs ago       Null: Ox000...000   c9   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                         ~          NFT: The Italians


                                                                                                                                             ...,   The Chainese #88
      @      Ox4e07a40e17106c54...          266 days 19 hrs ago       Null: Ox000...000 c,D    IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                    NFT: TheChainese


      @      Ox4e07a40el 7106c54...         266 days 19 hrs ago       Null: Ox000...000 (9     IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                        n           The Chainese #89
                                                                                                                                                    NFT: TheChainese



      ®      Oxa6c 7348be35eb428...         266 days 19 hrs ago       Null: Ox000...000   c9   IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                        ■           Webb's First Deep Field (...
                                                                                                                                                    NFT: Webb&#39_:s First De...


                                                                                                                                                             PLAINTIFF0001319
htlps://elherscan .io/nfl- translers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                                 3/7
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       @      Ox7d0b7394d1 a8b6da ...      266 days 19 hrs ago       Null: Ox000...000 (9    IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                       t     WTM #4400
                                                                                                                                             NFT: Who is the murderer ...


                                                                                                                                             WTM #4388
       @      Ox7d0b7394d1 a8b6da ...      266 days 19 hrs ago       Null: Ox000...000 L□    IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                       ii    NFT: Who is the murderer ...


                                                                                                                                             WTM #4393
       @      Ox7d0b7394d1 a8b6da ...      266 days 19 hrs ago       Null: Ox000...000 (9    IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                       A     NFT: Wl10 is the murderer ...


                                                                                                                                        /    WTM#4404
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 (9          tankbonoms.eth    (9     ERC-721
                                                                                                                                             NFT: Who is the murderer ..


                                                                                                                                             WTM #4397
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 [.O         tankbottoms.eth   (9     ERC-721
                                                                                                                                       ll    NFT: Who is the murderer ..


                                                                                                                                             WTM #4390
       @      Ox7d0b7394d1 a8b6da..,       266 days 19 hrs ago       Null: Ox000...000 (9          tankbottoms.eth   c9     ERC-721
                                                                                                                                       li    NFT: Who is the murderer ...


                                                                                                                                             WTM #4401
                                                                     Null: Ox000...000 [9
                                                                                                                                       ~
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago                                     tankbottoms.eth   LD     ERC-721
                                                                                                                                             NFT: Who is the murderer ..


                                                                                                                                             WTM #4389
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 LD          tankbottoms.eth   (9     ERC-721
                                                                                                                                       i;    NFT: Who is the murderer ...


                                                                                                                                             WTM #4394
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 (9    IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                       !     NFT: Who is the murderer ...


                                                                                                                                             WTM #4405
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 L□    IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                       Zl    NFT: Who is the murderer ...


                                                                                                                                             WTM #4398
                                                                     Null: Ox000...000 (9                            L□
       @      Ox7d0b7394d1 a8b6da ..,      266 days 19 hrs ago                               IN    tankbottoms.eth          ERC-721
                                                                                                                                       1i    NFT: Who is the murderer ...


                                                                                                                                             WTM #4386
       @      Ox7d0b7394d1 a8b6da ...      266 days 19 hrs ago       Null: Ox000...000 c.□   IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                       tr    NFT: Who is the murderer ..


                                                                                                                                             WTM #~391
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 (9          tankbottoms.eth   c9     ERC-721
                                                                                                                                       !     NFT: Who is the murderer ..


                                                                                                                                             WTM #4402
       @      Ox7dOb7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 [9          tankbottoms.eth   c9     ERC-721
                                                                                                                                       !     NFT: Who Is the murderer ..


       @      Ox7d0b7394d1 a8b6da ...      266 days 19 hrs ago       Null: Ox000...000 [9          tankbottoms.eth   [.D    ERG-721
                                                                                                                                       r     WTM #4395
                                                                                                                                             NFT: Who is the murderer ...


                                                                                                                                             WTM #4399
       @      Ox7d0b7394d1 a8b6da...       266 days 19 hrs ago       Null: Ox000...000 c.D   IN    tankbottoms.eth   r9     ERC-721    '
                                                                                                                                       4--   NFT: Who is the murderer ..

                                                                                                                                                      PLAINTIFF0001320
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                                                                                                                                                   WTM #4387
                                                                                          (9                            L□
       @      0x7d0b7394d1 a8b 6da ...      266 days 19 hrs ago      Null: 0x000...000          IN    tankbonoms.eth           ERC-721
                                                                                                                                             A     NFT: Who is the murderer ...


                                                                                                                                                   WTM #4392
                                                                     Null: 0x000...000 L□                               L□
       @      0x7d0b7394d1a8b 6da ...       266 days 19 hrs ago                                 IN    tankbonoms.eth           ERC-721
                                                                                                                                             A.    NFT: Who is the murderer ...


                                                                                                                                                   WTM #4403
       @      0x7d0b7394d1 a8b 6da ...      266 days 19 hrs ago      Null: 0x000...000    (9    IN    tankbonoms.eth    L□     ERC-721
                                                                                                                                             !     NFT: Wl10 is the murderer ...


                                                                                                                                                   WTM #4396
       @      0x7d0b7394d1 a8b6da...        266 days 19 hrs ago      Null: 0x000...000    (9          tankbonoms.eth    (9     ERC-721
                                                                                                                                             K     NFT: Who is the murderer ..


                                                                                                                                                   Degen Rhyno #2883
       @      0x79f2f6dcdf4bb4ef98...       266 days 19 hrs ago      Null: 0x000...000 [.O            tankbottoms.eth   (9     ERC-721
                                                                                                                                                   NFT: DegenRhynos


                                                                                                                                                   Ahoy Pirates' #5000
       @      0xb25e50aaa1 d6d3cd...        266 days 19 hrs ago      Null: 0x000 ...000   (9          tankbonoms.eth    (9     ERC-721
                                                                                                                                                   NFT: Ahoy Pirates!



       @      0xcd2el 285e9d5035c__         266 days 23 hrs ago      Null: 0x000...000    [9          tankbottoms.eth   LD     ERC-721   ■ Webb's First Deep Field(...
                                                                                                                                                   NFT: Webb&#39;s First De...


                                                                                                                                         •         Webb's First Deep Field (...
       @      0x82511 ef58f06516c2 ...      266 days 23 hrs ago      Null: 0x000...000    LO          tankbottoms.eth   L□     ERC-721
                                                                                                                                                   NFT: Webb&#39:s First De...


                                                                                                                                                   NFT: LOSTINWONDERLA ..
       @      0xl c414dfae9a3f03aa ...      267 days 6 hrs ago       Null: 0x000 ...000   (9    IN    tankbonoms.eth    L□     ERC-721       @J    NFT: LOSTINWONDERLAND


                                                                                                                                                   NFT: Prime Ape Moon Clu ...
       @      0xe48fade76e0a9 5 8fa ...     267 days 12 hrs ago      Null: 0x000...000 L□       IN    tankbonoms.eth    L□     ERC-721       @J    NFT: Prime Ape Moon Club


                                                                                                                                                   NFT: Prime Ape Moon Clu ...
       @      0xe48fade76e0a958fa ...       267 days 12 hrs ago      Null: 0x000...000    (9    IN    tankbonoms.eth    L□     ERC-721       t@J   NFT: Prime Ape Moon Club


                                                                                                                                                   NFT: Inv isible Freakz#850
       @      0xba9e2c9174f63af6f..         267 days 12 hrs ago      Null: 0x000...000 c.□      IN    tankbonoms.eth    L□     ERC-721       @J    NFT: Invisible Freakz


                                                                                                                                                   NFT: MoonPandas#211
       @      0xfcf29a 7117b6ffbcfa...      267 days 12 hrs ago      Null: 0x000...000 (9             tankbonoms.eth    c9     ERC-721       @     NFT: MoonPandas


                                                                                                                                                   NFT: MoonPandas#212
       @      0xfcf29a 7117b6ffbcfa...      267 days 12 hrs ago      Null: 0x000...000    [9          tankbottoms.eth   r9     ERC-721       t@J   NFT: MoonPandas


                                                                                                                                                   NFT: TheMuslims#154
       @      0x0916ba7dea9788cef...        267 days 12 hrs ago      Null: 0x000...000    [9          tankbottoms.eth   [.O    ERG-721       @J    NFT: TheMuslims


                                                                                                                                                   NFT: Born To Run#2320
       @      0x73fa9712bcde54a27_.         267 days 12 hrs ago      Null: 0x000 ...000   c.D   IN    tankbottoms.eth   r9     ERC-721       (@)   NFT: Born To Run

                                                                                                                                                            PLAINTIFF0001321
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                                                                                                                                                  NFT: Doge&amp;am p;Cat...
       @       Ox5d0826d0ab1a0369 ...       267 days 12 hrs ago        Null: Ox000...000     [9   IN    tankbon oms.eth   i:9    ERC-721
                                                                                                                                            ©     NFT: Doge&amp;amp;Cat


                                                                                                                                                  NFT: Doge&am p;am p;Cat...
       @       Ox5d0826d0ab1 a0369 ...      267 days 12 hrs ago        Null: Ox000...000     LO   IN    tankbonoms.eth    LO     ERC-721
                                                                                                                                            ©     NFT: Doge&amp;amp;Cat



       @       Oxd28d892ff90cc224e..        267 days 17 hrs ago        Null: Ox000...000     [9   IN    tankbonoms.eth    LO     ERC-721
                                                                                                                                           t      DEAD CAT BOUNCE #8674
                                                                                                                                                  Dead c at Bounce


                                                                                                                                                  DEAD CAT BOUNCE #8675
                                                                                             [9         tankbonoms.eth    i:9
                                                                                                                                           ~
       @       Oxd28d892ff90cc224e...       267 days 17 hrs ago        Null: Ox000...000                                         ERC-721
                                                                                                                                                  Dead cat Bounce


       @       Oxd28d892ff90cc224e ...      267 days 17 hrs ago        Null: Ox000...000     LO         tankbottoms.eth   i:9    ERC-721
                                                                                                                                           II     DEAD CAT BOUNCE #8676
                                                                                                                                                  Dead Cat Bounce



       @       Oxe858c90aa 746d5a4 ...      267 days 17 hrs ago        Null: Ox000 ... 000   [9         tankbottoms.eth   i:9    ERC-721
                                                                                                                                           11■
                                                                                                                                                  #1322
                                                                                                                                                  NFT: TheSaudisNouns


       @       Oxe858c90aa746d5a4 ...       267 days 17 hrs ago        Null: Ox000 ...000    [9         tankbottoms.eth   LO     ERC-721   fl     #1323
                                                                                                                                                  NFT: TheSaudisNouns



       @       Oxe8 58c90aa 746d5a4...      267 days 17 hrs ago        Null: Ox000...000     LO         tankbottoms.eth   i:9    ERC-721   e      #1324
                                                                                                                                                  NFT: TheSaudisNouns


       @       Oxa l bf0lc30701 Ofb25 ...   267 days 18 hrs ago        Null: Ox000 ...000    [9   IN    tankbottoms.eth   LO     ERC-721   D      NOT GOLD #6813
                                                                                                                                                  Not Gold


                                                                                                                                                  N FT: Fortune Cookies#828
       @       Ox60ae620b3d34a739 ...       267 days 18 hrs ago        Null: Ox000...000     Lo   IN    tankbonoms.eth    LO     ERC-721
                                                                                                                                            ©     NFT: Fortune Cookies


                                                                                                                                                  NFT: Fortune Cookies#827
       @       Ox60ae620b3d34a739 ...       267 days 18 hrs ago        Null: Ox000...000     [9   IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                            ©     NFT: Fortune Cookies


                                                                                                                                                  NFT: GIFPUNKS#3180
       @       Ox43adcc2167ec17ff5 ...      267 days 18 hrs ago        Null: Ox000...000     LO         tankbonoms.eth    L□     ERC-721
                                                                                                                                            ©     NFT: GIFPUNKS


                                                                                                                                                  NFT: GIFPUNKS#3178
       @       Ox43adcc2167ec17ff5...       267 days 18 hrs ago        Null: Ox000...000 (9             tankbottoms.eth   c9     ERC-721    @     NFT: GIFPUNKS


                                                                                                                                                  NFT: GIFPUNKS#3179
       @       Ox43adcc2167ecl 7ff5...      267 days 18 hrs ago        Null: Ox000...000     LO         tankbottoms.eth   r9     ERC-721
                                                                                                                                            ©     NFT: GIFPUNKS


       @       Ox8ccd842d1 Obce21 a ...     267 days 20 hrs ago        Null: Ox000...000     [9         tankbonoms.eth    L□     ERc-721
                                                                                                                                           II     Spaced Out Mobile Suits ...
                                                                                                                                                  NFT: Spaced Suits



       @       Ox63940bc929c67b0f0 ...      267 days 20 hrs ago        Null: Ox000 ...000



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                                                                                                                                           •      M oon Bulls#1057
                                                                                                                                                  NFT: Moon Bulls NFT

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       @      Ox63940bc929c67b0f0 ...       267 days 20 hrs ago        Null: Ox000...000   (9       IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                     NFT: Moon Bulls NFT


                                                                                                                                                     Moon Bulls#1056
              Ox63940bo929c67b0f0 ...       267 days 20 hrs ago        Null: Ox000...000 LO               tankbottoms.eth   LO     ERC-721
                                                                                                                                             ~
       @                                                                                            IN
                                                                                                                                                     NFT: Moon Bulls NFT


                                                                                                                                                     NFT: lnvisibleDrunkFriend ...
       @      Ox11 e61468841 dd4ad..•       268 days 1 hr ago          Null: Ox000...000   (9       IN    tankbottoms.eth   LO     ERC-721    @      NFT: lnvlslbleDrunkFrtends


                                                                                                                                                     NFT: lnvisibleDrunkFriend ...
       @      Ox11e61468841 dd4ad...        268 days 1 hr ago          Null: Ox000...000   (9             tankbottoms.eth   (9     ERC-721    @      NFT: lnvisibleDrunkFriends


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       @      Ox11e61468841dd4ad ...        268 days 1 hr ago          Null: Ox000...000 [.O              tankbottoms.eth   (9     ERC-721    @J     NFT: lnvisibleDrunkFriends


                                                                                                                                                     NFT: Neko Darumas#422
       @      Oxa428cbf3f58ec88f5...        268 days 10 hrs ago        ilyakazakov.eth c.O          IN    tankbottoms.eth   (9     ERC-721    @J     NFT: Neko Darumas


                                                                                                                                                     NFT: Vitaminisation#23
       @      Ox7fdce235edf88876b...        268 days 10 hrs ago        B   Foundation: Market c.O   IN    tankbottoms.eth   c.O    ERC-721    @)     NFT: Vitaminisation


                                                                                                                                                     Bloo Loop #2447
       @      Ox348892209c58caad...         268 days 14 hrs ago        Null: Ox000...000 LO               tankbottoms.eth   LO     ERC-721     f     NFT: Bloo Loops



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   For Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E




     A total of 3,318 records found                                                                                                               First   <    Page23 of 34     >   Last



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       @       Ox348892209c58caad ...           268 days 14 hrs ago    Null: Ox000 ...000 (9     IN    tankbottoms.eth   c.D    ERC-721
                                                                                                                                                  NFT: Bloo Loops


                                                                                                                                                  NFT: Gliese Zombies NFT...
       @       Ox91 d73d8da659dbf3...           268 days 15 hrs ago    Null: Ox000 ...000 [.O    IN    tankbottoms.eth   c.D    ERC-721     (@I   NFT: Gliese Zombies NFT


                                                                                                                                                  NFT: Mutated Doodles#5...
       @       Oxc5fl 4040a9cSOeca8 ...         268 days 1 5 hrs ago   Null: Ox000 ... 000 [.0   IN    tankbottoms.eth   (9     ERC-721     @!    NFT: Mutated Doodles


                                                                                                                                                  NFT: Degen Space Social ...
       @       Ox2d59384abd535feab ...          268 days 15 hrs ago    Null: Ox000 ...000 (9           tankbottoms.eth   [.D    ERC-721     (@I   NFT: Degen Space Social ...


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       @       Ox2d59384abd535feab ...          268 days 1 5 hrs ago   Null: Ox000 ...000 c.D    IN    tankbottoms.eth   c.D    ERC-721     (@I   NFT: Degen Space Social ...


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       @       Ox2d59384abd535feab ...          268 days 15 hrs ago    Null: Ox000 ... 000 (9    IN    tankbottoms.eth   [.O    ERC-721     (@I   NFT: Degen Space social ...


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      @      0x69ab900cde50caa2...          268 days 15 hrs ago       Null: 0x000...000 c..O           tankbottoms.eth   c..D    ERC-721    @)    NFT: llttlemanNFT


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      @      0x68d18f247672ec35e...         268 days 15 hrs ago       Null: 0x000...000 c..O     IN    tankbottoms.eth   cP      ERC-721    @)    NFT: Okay Fox Yacht Club


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      @      0x6cfd91783ad29433f...         268 days 22 hrs ago      @ Foundation: Market c.,O   IN    tankbottoms.eth   c..O    ERC-721    r@l   NFT: the loop


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      @      0x810da637ceccceb86...         269 days 1 hr ago         Null: 0x000...000 c..D     IN    tankbottoms.eth   c..D    ERC-721    @)    NFT: Stretcheees


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      @      0xe5b3bce89303c4f2b...         269 days 1 hr ago         Null: 0x000...000 c..D     IN    tankbonoms.eth    c..D    ERC-721    r@l   NFT: NinjaNoun


      @      0xe5b3bce89303c4f2b...         269 days 1 hr ago         Null: 0x000...000 c..D           tankbonoms.eth    c..D    ERC-721          NFT: NinjaNoun#206B
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       @      Oxe41c072a94681b55 ...         269 days 23 hrs ago       Null: OX000... 000   [9    IN    tankbonoms.eth   t.D    ERC-721       (@)    NFT: MutantRatsNFT


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       @      Oxeb30e93bc1 d6da6cL           270 days 6 hrs ago        Ox4D4f84... E5Cf8b fd LD   IN    tankbonoms.eth   (!)    ERC-721
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       @      Oxf2e11a36f316f96d2...         270 days 8 hrs ago        Null: Ox000 ...000   [9    IN    tankbonoms.eth   t.D    ERC-721   ~ A!li1 c•_i #7266
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      @        Oxaab76395e8305efc6...            270 days 9 hrs ago    Null: Ox000...000 L□    IN    tankbottoms.eth   L□     ERC-721     (@)        NFT: JPEG Punks


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      @        Ox1a103f592487ec3b5".             270 days 9 hrs ago    Null: Ox000...000 L□    IN    tankbottoms.eth   [.O    ERC-721     (@)        NFT: molecules.wt!


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      @        Oxl a103f592487ec3b5...           270 days 9 hrs ago    Null: Ox000...000 [.D   IN    tankbottoms.eth   [.D    ERC-721     (@)        NFT: molecules.wt!


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      @        Oxl al 03f592487ec3b5_.           270 days 9 hrs ago    Null: Ox000...000 [.D   IN    tankbottoms.eth   @      ERC-721     (@)        NFT: molecules.wt!


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      @        Ox1a103f592487ec3b5...            270 days 9 hrs ago    Null: Ox000...000 L□    IN    tankbottoms.eth   L□     ERC-721     (@)        NFT: molecules.wtf


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      @        Ox1 a1 03f592487ec3b5...          270 days 9 hrs ago    Null: Ox000...000 @     IN    tankbottoms.eth   L□     ERC-721     (@)        NFT: molecules.wtf


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      @        Ox1 al 03f592487ec3b5_.           270 days 9 hrs ago    Null: Ox000...000 [.D   IN    tankbottoms.eth   L□     ERC-721                NFT: molecules.wtf#3680
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       @       Oxl al 03f592487ec3b5...       270 days 9 hrs ago         Null: Ox000...000 [.O      IN    tankbottoms.eth   [.O     ERC-721       @)   NFT: molecules.wt!


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       @       Oxa59f9a099bc6c24f3 ...        270 days 9 hrs ago         Null: oxooo ___ooo [..D    IN    tankbottoms.eth   [..D    ERC-721       @)   NFT: molecules.wtf


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       @       Oxa59f9a099bc6c24f3 ...        270 days 9 hrs ago         Null: Ox000 ...000 [.O     IN    tankbottoms.eth   [.O     ERC-721
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       @       Oxa59f9a099bc6c24f3 ...        270 days 9 hrs ago         Null: Ox000 ...000 [.O     IN    tankbottoms.eth   [.O     ERC-721       @)   NFT: molecules.wt!


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       @       Oxa59f9a099bc6c24f3 ...        270 days 9 hrs ago         Null: Ox000 ...000 [.O     IN    tankbottoms.eth   [.O     ERC-721       @)   NFT: molecules.wt!


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       @       Oxa59f9a099bc6c24f3 ...        270 days 9 hrs ago         Null: Ox000 ...000 [.O     IN    tankbottoms.eth   [.O     ERC-721       @)   NFT: molecules.wt!


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       @       Oxa59f9a099bc6c24f3...         270 days 9 hrs ago         Null: Ox000...000 [.D      IN    tankbottoms.eth   c9      ERC-721       @)   NFT: molecules.wtf


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       @       Oxa59f9a099bc6c24f3...         270 days 9 hrs ago         Null: Ox000 ...000 [..D    IN    tankbottoms.eth   [..D    ERC-721
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       @       Oxf3c433fabc9e1 68efd...       270 days 9 hrs ago                                    IN    tankbottoms.eth
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       @       Oxf3c433fabc9e168efd...        270 days 9 hrs ago         Null: oxooo ___ooo [..D    IN    tankbottoms.eth   [..D    ERC-721            Moonpepez #212
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       ®      Ox08f705dce222ae254...         270 days 9 hrs ago         Null: Ox000 ... 000   LD   IN    tankbottoms.eth   LD     ERC-721
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       ®      Ox08f705dce222ae254 ...        270 days 9 hrs ago         Null: Ox000 ... 000   LD   IN    tankbottoms.eth   LO     ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   [P    ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   L□    ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   L□    ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   L□    ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   L□    ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   L□    ERC-721
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      @      Ox56633c27d2f389d83...          270 days 9 hrs ago         Null: Ox000...000 L□   IN    tankbonoms.eth   L□    ERC-721
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       @       Ox56633c27d2f389d83 ...       270 days 9 hrs ago         Null: Ox000 ...000 L□    IN    tankbonoms.eth    L□    ERC-721
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       @       Ox56633c27d2f389d83...        270 days 9 hrs ago         Null: Ox000 ...000 L□    IN    tankbon oms.eth   L□    ERC-721
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       @       Oxcb4c4840f62e1ccfd ...       270 days 9 hrs ago         Null: Ox000 ... 000 LD   IN    tankbon oms.eth   LD    ERC-721
                                                                                                                                            ©     RoboCosmic


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       @       Oxc657f974e6ed373d 1 "'       270 days 9 hrs ago         Null: Ox000 ... 000 LD   IN    tankbon oms.eth   cD    ERC-721
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                                                                                                                                                  NFT: MoonDreamers #4417
       @       Oxc657f974e6ed373d1 ...       270 days 9 hrs ago         Null: Ox000...000 cD     IN    tankbon oms.eth   cD    ERC-721
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       @       Oxc657f974e6ed373d 1 "'       270 days 9 hrs ago         Null: Ox000 ... 000 LD   IN    tankbon oms.eth   cD    ERC-721
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       @       Oxc657f974e6ed373d 1 ...      270 days 9 hrs ago         Null: Ox000 ... 000 c□   IN    tankbon oms.eth   c□    ERC-721
                                                                                                                                            ©     NFT: MoonDreamers


                                                                                                                                                  NFT: J PEG Punks#1571
       @       Oxe387 69c7 524ceb3a ...      270 days 9 hrs ago         Null: Ox000...000 L□     IN    tankbonoms.eth    L□    ERC-721      @)    NFT: JPEG Punks


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       @       Oxe387 69c7 524ceb3a...       270 days 9 hrs ago         Null: Ox000 ...000 L□    IN    tankbon oms.eth   LO    ERC-721      ,c.
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       @       Oxb91 bdd80762359e4...        270 days 13 hrs ago        darkmaul.eth LD          IN    tankbonoms.eth    LD    ERC-1 155
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       @       Oxdaedc10354e490dc ...        27 1 days 2 hrs ago        Null: Ox000...000 (9     IN    tankbon oms.eth   L□    ERC-721
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       @       Oxdaedc10354e490dc ...        271 days 2 hrs ago         Null: Ox000 ... 000 L□   IN    tankbon oms.eth   c□    ERC-721
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       @       Oxdaedcl 0354e490dc...        271 days 2 hrs ago         Null: Ox000...000 cD     IN    tankbon oms.eth   cD    ERC-721
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       @       Oxdaedcl 0354e490dc ...       271 days 2 hrs ago         Null: Ox000 ... 000 LD   IN    tankbon oms.eth   LD    ERC-721
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       @       Oxdaedc10354e490dc...         271 days 2 h rs ago        Null: Ox000 ... 000 cD   IN    tankbon oms.eth   cD    ERC-721
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      @      Ox2713962994bc7ced...           271 days 2 hrs ago         Null: Ox000...000 L□    IN    tankbonoms.eth    L□    ERC-721    (§)   NFT: IAMROBOT


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      @      Ox2713962994bc7ced...           27 1 days 2 hrs ago        Null: Ox000 ...000 L□   IN    tankbonoms.eth    L□    ERC-721
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      @      Oxbffb6679a685a8541 ..          271 days 3 hrs ago         Null: Ox000 ...000 L□   IN    tankbonoms.eth    L□    ERC-721    (§)   NFT: HellOfAPany


                                                                                                                                               NFT: HellOfAParty#l 604
      @      Oxbffb6679a685a8541 ...         271 days 3 hrs ago         Null: Ox000 ...000 LD   IN    tankbonoms.eth    LD    ERC-721    (§)   NFT: HellOfAParty


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      @      Oxbffb66 79a685a854 l ...       271 days 3 hrs ago         Null: Ox000 ...000 LD   IN    tankbottoms.eth   cD    ERC-721    (§)   NFT: HellOfAPany


                                                                                                                                               NFT: HellOfAParty#l 601
      @      Oxbffb6679a685a8541...          271 days 3 hrs ago         Null: Ox000...000 @     IN    tankbonoms.eth    cD    ERc-721    (§)   NFT: HellOfAParty


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      @      Oxbffb6679a685a854l ...         271 days 3 hrs ago         Null: Ox000 ...000 LD   IN    tankbottoms.eth   cD    ERC-721    (§)   NFT: HellOfAParty


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      @      Oxbffb6679a685a8541...          27 1 days 3 hrs ago        Null: Ox000 ...000 cD   IN    tankbottoms.eth   cD    ERC-721    (§)   NFT: HellOfAPany



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     A total of 3,318 records found                                                                                                            First   <     Page2Sof 34     >   Last



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      @        Oxbffb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000 ...000    LO   IN    tankbottoms.eth   LO    ERC-721    (@)     NFT: HellOfAParty


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      @        Oxbffb6679a685a8541 ...         271 days 3 hr s ago   Null: Ox000 ...000 (P      IN    tankbottoms.eth   LO    ERC-721    (@)      NFT: HellOfAParty


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      @        Oxbftb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000 ...000 (P            tankbottoms.eth   LO    ERC-721    @)      NFT: HellOfAParty


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      @        Oxbffb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000 ...000    LO   IN    tankbottoms.eth   LO    ERC-721    (@)     NFT: HellOfAParty


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      @        Oxbffb6679a685a8541 ..          271 days 3 hrs ago    Null: Ox000 ...000    La   IN    tankbottoms.eth   La    ERC-721
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      @        Oxbffb66 79a685a8541 ...        271 days 3 hrs ago    Null: Ox000 ... 000 @      IN    tankbottoms.eth   La    ERC-721    @J      NFT: HellOIAParty


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      @        Oxbffb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000 ... 000 @            tankbottoms.eth   LO    ERC-721    @       NFT: HellOIAParty


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      @        Oxbffb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000...000     LO         tankbottoms.eth   LO    ERC-721    (@)     NFT: HellOIAParty


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      @        Oxbffb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000 ... 000   Lo   IN    tankbottoms.eth   LO    ERC-721    (@)      NFT: HellOfAParty


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      @        Oxbffb6679a685a8541 ...         271 days 3 hrs ago    Null: Ox000 ...000    La   IN    tankbottoms.eth   cP    ERC-721
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      @        Oxbffb66 79a685a8541 ...        271 days 3 hrs ago    Null: Ox000 ... 000 @      IN    tankbottoms.eth   LO    ERC-721             NFT: HellOfAParty#l 597
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             Oxe664899c08eec23c...         271 days 3 hrs ago       meowsdao.eth      c9             tankbottoms.eth   c.□
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      @      Oxe664899c08eec23c...         271 days 3 hrs ago       meowsdao.e1h c.□                 tankbottoms.eth   c.□    ERC-721       ..    Whiskers' Progeny No. 00...
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      @      Oxe664899c08eec23c ...        271 days 3 hrs ago       meowsdao.eth c_O           IN    tankbottoms.eth   c.□    ERC-721
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      @      Ox65447911 a42f97f4b...       271 days 4 hrs ago       Null: Ox000_..000     c9   IN    tankbottoms.eth   c.□    ERC-1 155    @      NFT


      @      Ox9c23569fde97964d6 ...       271 days 4 hrs ago       Null: OxOOO ___ooo c.□     IN    tankbottoms.eth   cP     ERC-1 155
                                                                                                                                           '1     ENS Airdrop Recipient
                                                                                                                                                  NFT



      @      Oxcd12e229aeb067ee...         271 days 4 hrs ago       Null: Ox000 ... 000 c_O    IN    tankbottoms.eth   c_O    ERC-1155
                                                                                                                                           g      FreeRossDAO Donator
                                                                                                                                                  NFT



      @      Oxd00fba176fdf688e3 ...       271 days 4 hrs ago       Null: Ox000 ... 000   (9         tankbottoms.eth   c.□    ERC- 1155
                                                                                                                                           g      ENS Serial Registerer
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      @      Ox053157efc05acd971 ...       271 days 21 hrs ago      Null: Ox000 ... 000 c_O    IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                            i     Aborted Baby #73
                                                                                                                                                  NFT: Aborted8abies


                                                                                                                                                  Paladin#2422
      @      Oxdb0fdd3a50c4ec2ba...        271 days 21 hrs ago      Null: Ox000 ...000 c_O     IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                  NFT: CryptoKungfu



      @      Oxa7351 e51 fe85547d5...      271 days 21 hrs ago      Null: Ox000 ... 000 c_O    IN    tankbottoms.eth   c.□    ERC-721
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      @      Oxa7351 e51 fe85547d5...      271 days 21 hrs ago      Null: Ox000 ...000 c_O     IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                          D       Eloms #4232
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      @      Ox0a8738d18ba0f8106...        271 days 21 hrs ago      Null: Ox000 ...000 c_O     IN    tankbottoms.eth   c.□    ERC-721
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      @      Ox0a8738d18ba0f8106...        271 days 21 hrs ago      Null: oxooo ___ooo    cP   IN    tankbottoms.eth   c.□    ERC-721
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                                                                                                                                                  Abe's 3777 ways to die
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      ®      Oxc6987ea1 be7bc601 ...       271 days 21 hrs ago      Null: Ox000 ...000 [.D      IN    tankbottoms.eth   [.D    ERC-721
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      ®      Oxc6987ea1be7bc601 ..         27 1 days 21 hrs ago     Null: Ox000 ...000 l.D      IN    tankbottoms.eth   [.D    ERC-721
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      ®      Oxaa78b4d7cf4f562b0...        273 days 14 hrs ago      Null: Ox000 ... 000 l.D           tankbottoms.eth   [.D    ERC-721    @)      NFT: PussiPals


                                                                                                                                                  NFT: DGUISE OMG#367
      ®      Ox82b672761 f2b7eb2f...       273 days 14 hrs ago      Null; Ox000 ... 000 [.D     IN    tankbottoms.eth   [.D    ERC-721
                                                                                                                                          @)      NFT: DGUISE OMG


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      ®      Oxl 2b387eb0a977239...        273 days 14 hrs ago      Null: Ox000 ... 000   cf)   IN    tankbottoms.eth   LD     ERC-721    @)      NFT: TheSkullWarriors


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      ®      Oxl 2b387eb0a977239...        273 days 14 hrs ago      Null: Ox000 ...000 [.D      IN    tankbottoms.eth   [.D    ERC-721    @)      NFT: TheSkullWarriors


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      @      Oxl 2b387eb0a977239...        273 days 14 hrs ago      Null; Ox000 ... 000   cf)   IN    tankbottoms.eth   [.D    ERC-721    @)      NFT: TheSkullWarriors


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      ®      Oxl 2b387eb0a977239...        273 days 14 hrs ago      Null: Ox000 ...000 LD       IN    tankbottoms.eth   cP     ERC-721    @)      NFT: TheSkullWarnors


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       @      Oxf992372778b677B9...          273 days 16 hrs ago    Null: Ox000 ... 000 l,D               IN    tankbottoms.eth   l,D    ERc-721
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       @      Oxc678021912f3fcf56...         273 days 16 hrs ago    Null: Ox000 ... 000 (9                IN    tankbottoms.eth   l.O    ERC-721
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                                                                                                                                                           meowsdao.eth
       @      Ox45de7d620d9952d6 ...         274 days 12 hrs ago    kittycats.eth l,O                           tankbottoms.eth   l,O    ERC-721
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                                                                                                                                                           cptbanana.eth
       @      Ox441 1 eb2d1 a 1 c1 f42d...   275 days 1 hr ago      0   ENS: ETH Registrar Co ...   [.O   IN    tankbottoms.eth   l.O    ERC-721
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                                                                                                                                            shitpunk #349B
      @      Ox7cf1 e7290eff0b6e6...       275 days 14 hrs ago      Null: oxooo...ooo l.o   IN    tankbottoms.eth   l.D    ERC-721
                                                                                                                                            NFT: Shitpunkz.wtr


      @      Ox7cf1 e7290eff0b6e6...       275 days 14 hrs ago      Null: Ox000...000 l,D         tankbottoms.eth   l,D    ERC-721   II     shitpunk #3497
                                                                                                                                            NFT: shitpunkz.wtf


      @      Ox3716fcc15fBOcc4eO...        275 days 14 hrs ago      Null: Ox000...000 [9    IN    tankbottoms.eth   l.D    ERC-721   Iii    Fire Key #3370
                                                                                                                                            NFT: Fire Keys by Hedge H.•


                                                                                                  tankbottoms.eth   l,D              ■ Fire Key #3371
      @      Ox3716fcc1 5fBOcc4e0...       275 days 14 hrs ago      Null: Ox000...000 @                                    ERC-721
                                                                                                                                            NFT: Fire Keys by Hedge H...


      @      Ox3716fcc1 5fBOcc4eO...       275 days 14 hrs ago      Null: Ox000...000 l,O   IN    tankbottoms.eth   l,D    ERC-721   Iii    Fire Key #3372
                                                                                                                                            NFT: Fire Keys by Hedge H.•


                                                                                                                                            GodloveBananaas #600
      @      Ox41712ac04ae2d701 ...        275 days 14 hrs ago      Null; Ox000...000 l,O   IN    tankbottoms.eth   l,D    ERC-721   ( -'   NFT: GodLoveBananaas


                                                                                                                                            NFT: American Punks#42...
      @      Oxd009bc2926a2a943...         275 days 14 hrs ago      Null: Ox000...000 l,O   IN    tankbottoms.eth   l.0    ERC-721    @)    NFT: American Punks


                                                                                                                                            NFT: American Punks#42...
      @      Oxd009bc2926a2a943...         275 days 14 hrs ago      Null: Ox000...000 l.O   IN    tankbottoms.eth   l.D    ERC-721    (@)   NFT: American Punks


                                                                                                                                            NFT: American Punks#42...
      @      Oxd009bc2926a2a943...         275 days 14 hrs ago      Null: Ox000...000 l,D   IN    tankbottoms.eth   @      ERC-721    @)    NFT: American Punks


                                                                                                                                            NFT: American Punks#42...
      @      Oxd009bc2926a2a943...         275 days 14 hrs ago      Null: Ox000...000 [9    IN    tankbottoms.eth   l.D    ERC-721    @)    NFT: American Punks


                                                                                                                                            NFT: American Punks#42...
      @      Oxd009bc2926a2a943...         275 days 14 hrs ago      Null: Ox000...000 [9    IN    tankbottoms.eth   l.O    ERC-721    @J    NFT: American Punks


                                                                                                                                            NFT: Pinocchio Woodies...
      @      Ox2c3b3b93e63b9c47...         27 5 days 14 hrs ago     Null: Ox000...000 [9    IN    tankbottoms.eth   l.D    ERC-721    (@)   NFT: Pinocchio Woodies


                                                                                                                                            NFT: WZRDS ALTAR#4430
      @      Oxcd74c27 4ec99bb3af...       276 days 14 hrs ago      Null: Ox000...000 [.D         tankbottoms.eth   t.D    ERc-721    @)    NFT: WZRDS ALTAR


                                                                                                                                            NFT: WZRDSALTAR#4431
      @      Oxcd74c274ec99bb3af...        276 days 14 hrs ago      Null; Ox000...000 [9    IN    tankbottoms.eth   l.O    ERC-721    @)    NFT: WZRDS ALTAR


                                                                                                                                            NFT: WZRDSALTAR#4432
      @      Oxcd74c27 4ec99bb3af...       276 days 14 hrs ago      Null; Ox000...000 t.O         tankbottoms.eth   t.O    ERC-721    @)    NFT: WZRDS ALTAR


                                                                                                                                            NFT: AngryPufferFfish#2...
      @      Oxf4e8624c077d030B4...        276 days 14 hrs ago      Null: Ox000...000 l,O   IN    tankbottoms.eth   l.O    ERC-721
                                                                                                                                      ~     NFT: AngryPufferFfosh

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       @      Oxf4e8624c077d03084 ...      276 days 14 hrs ago       Null: oxooo ...ooo l.o     IN    tankbottoms.eth   l.D    ERC-721   ■       Angry Puffer Fish #2305
                                                                                                                                                 NFT: AngryPufferFf1sh


                                                                                                                                                  Crypto Human #117
       @      Ox 54b4fdc8c2f9dcbc3...      276 days 14 hrs ago       Null: Ox000 ...000 l,D           tankbottoms.eth   l,D    ERC-721
                                                                                                                                                 NFT: Crypto Human



       @      Ox7971 Oaeae2e32e00 ...      276 days 14 hrs ago       Null: oxooo ___ooo    [9   IN    tankbottoms.eth   l.O    ERC-721       -:~ . #72
                                                                                                                                                 NFT: God Hates Pixel NFTs



       @      Ox7971 Oaeae2e32e00...       276 days 14 hrs ago       Null: Ox000 ... 000   @          tankbottoms.eth   l,D    ERC-721   n       #71
                                                                                                                                                 NFT: God Hates Pixel NFTs


                                                                                                                                                  #4159
       @      Ox4387fe0cb55ed371 f...      276 days 14 hrs ago       Null: Ox000 ... 000 l,D    IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                             V   NFT: MoonRabbits


                                                                                                                                                  #4160
              Ox4387fe0cb55ed371 f...      276 days 14 hrs ago       Null; Ox000 ... 000 t.D          tankbottoms.eth   t.D
                                                                                                                                             ~
       @                                                                                        IN                             ERC-721
                                                                                                                                                 NFT: MoonRabbits



       @      Ox202601397a64c4af3 ...      276 days 14 hrs ago       Null: Ox000 ... 000 t.D    IN    tankbottoms.eth   t.D    ERC-721   ■ NFT:
                                                                                                                                           6417Darkbirds

       @      Ox9f7cfa4db84ae04c0 ...      276 days 14 hrs ago       Null: Ox000 ... 000 t.D    IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                         l        Teddy Bear #3566
                                                                                                                                                 NFT: Teddy Bearz


       @      Ox9f7cfa4db84ae04c0...       276 days 14 hrs ago       Null: Ox000 ...000 l,D     IN    tankbottoms.eth   @      ERC-721
                                                                                                                                         I        Teddy Bear #3570
                                                                                                                                                 NFT: Teddy Bearz


       @      Ox9f7cfa4db84ae04c0...       276 days 14 hrs ago       Null: Ox000 ...000    [9   IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                         a        Teddy Bear #3563
                                                                                                                                                 NFT: Teddy Bearz


       @      Ox9f7cfa4db84ae04c0 ...      276 days 14 hrs ago       Null: Ox000 ...000    [9   IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                             i    Teddy Bear #3567
                                                                                                                                                  NFT: Teddy Bearz



       @      Ox9f7cfa4db84ae04c0 ...      276 days 14 hrs ago       Null: Ox000_..000     [9   IN    tankbottoms.eth   l.O    ERC-721
                                                                                                                                         a        Teddy Bear #3571
                                                                                                                                                 NFT: Teddy Bearz


       @      Ox9f7cfa4db84ae04c0...       276 days 14 hrs ago       Null: Ox000 ... 000 t.D          tankbottoms.eth   t.D    ERc-721
                                                                                                                                         ta      Tgddy Bear #35M
                                                                                                                                                 NFT: Teddy Bearz



       @      Ox9f7cfa4db84ae04c0 ...      276 days 14 hrs ago       Null; Ox000 ... 000   [9   IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                         i        Teddy Bear #3568
                                                                                                                                                 NFT: Teddy Bearz


       @      Ox9f7cfa4db84ae04c0...       276 days 14 hrs ago       Null: oxooo ... ooo t.D          tankbottoms.eth   t.D    ERC-721
                                                                                                                                         !        Teddy Bear #3572
                                                                                                                                                 NFT: Teddy Bearz


                                                                                                                                                  Teddy Bear #3565
       @      Ox9f7cfa4db84ae04c0".        276 days 14 hrs ago       Null: Ox000 ... 000 t.D    IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                             A   NFT: Teddy Bearz

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                                                                                                                                                      Teddy Bear #3569
                                                                                                                                                      NFT: Teddy Bearz


                                                                                                                                                      NFT: Meows(DAO) Genes...
                                                                                                                                                      NFT: Meows(DAO) Genesi...


                                                                                                                                                      NFT: Meows(DAO) Genes...
      @      Oxcda1 Beel 43d3510a...       277 days B hrs ago        meowsdao.eth    c:9          IN    tankbottoms.eth   l.O    ERC-721
                                                                                                                                            (@)       NFT: Meows(DAO) Genes!...


                                                                                                                                                      NFT: PEPE CARD: BACK ...
      @      Oxffc 17b20072dcfcb2e...      278 days 3 hrs ago        Null: Ox000...000 [!)              tankbottoms.eth   l,O    ERC-721    @J        NFT: PEPE CARD : BACK T...


                                                                                                                                                      NFT: QUOTE CITY FND#13
      @      Ox77b8fdb869ba 721>48...      279 days 9 hrs ago       B   Foundation: Market c..D         tankbottoms.eth   l,O    ERC-721    @)        NFT: QUOTE CITY FND


                                                                                                                                                      NFT: Degen Couples#122
      @      Oxbed742ec923317b5..,         279 days 11 hrs ago       Null; Ox000...000 t.O        IN    tankbottoms.eth   t.O    ERC-721    (@)       NFT: Degen couples


                                                                                                                                                      NFT: Degen Couples#123
      @      Oxbed742ec923317b5...         279 days 11 hrs ago       Null; Ox000...000 t.O        IN    tankbottoms.eth   t.O    ERC-721    @)        NFT: Degen Couples


                                                                                                                                                      BUZOKIAN #405
      @      0xfdbBe59660ef34042...        279 days 11 hrs ago       Null: Ox000...000 t.O        IN    tankbottoms.eth   t.O    ERC-721
                                                                                                                                             ...      NFT: BUZOKU



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                                                                                                                                               NFT: BUZOKU#406
       @       Oxfdb8e59660ef34042...         279 days 11 hrs ego   Null: Ox000...000 L□   IN    tankbottoms.eth    LD    ERC-721    (@)       NFT: BUZOKU


                                                                                                                                               NFT: BUZOKU#404
       @       Oxfdb8e59660ef34042...         279 days 11 hrs ego   Null: Ox000...000 LD   IN    tankbottoms.eth    LD    ERC-721    @         NFT: BUZOKU


                                                                                                                                               NFT: DToolsCommonPas...
       @       Ox5ab965a 7f96a7a005...        279 days 11 hrs ego   Null: Ox000.•_000 LD   IN    tankbonoms.eth     (9    ERC-721    @         NFT: DToolsCommonPass


                                                                                                                                               Mojis #2411
       @       Oxc7cce5efd3b6c1367...         279 days 11 hrs ego   Null: Ox000...000 LD   IN    tankbottoms.eth    LD    ERC-721
                                                                                                                                               Moj is


                                                                                                                                               Mojis#2415
       @       Oxc7cce5efd3b6c1367 ...        279 days 11 hrs ego   Null: OxOOD.__000 LD   IN    tankbottoms.et h   LD    ERC-721
                                                                                                                                     @         Moj is


                                                                                                                                               Mojis #2408
       @       Oxc7cce5efd3b6c1367 ...        279 days 11 hrs ego   Null: Ox000...000 LD   IN    tankbottoms.eth    LD    ERC-721
                                                                                                                                    6C1        Moj is


                                                                                                                                               Mojis #2412
       @       Oxc7cce5efd3b6cl 367...        279 days 11 hrs ego   Null: OX000...000 LD   IN    tankbottoms.eth    LD    ERC-721
                                                                                                                                               Moj is


                                                                                                                                               Mojis #2416
       @       Oxc7cce5efd3b6c1367...         279 days 11 hrs ego   Null: Ox000...000 LD   IN    tankbottoms.eth    LD    ERC-721
                                                                                                                                    h{~t       Moj is


                                                                                                                                               Mojis #2409
       @       Oxc7cce5efd3b6cl 367 ...       279 days 11 hrs ego   Null: Ox000...000 LD   IN    t ankbottoms.eth   LD    ERC-721
                                                                                                                                               Moj is



       @       Oxc7cce5efd3b6c1367...         279 days 11 hrs ago   Null: Ox000...000 LD   IN    tankbottoms.eth    LD    ERC-721   ~r         Mojis #2413
                                                                                                                                               MOJIS


                                                                                                                                               Mojis #2410
       @       Oxc7cce5efd3b6c1367 ...        279 days 11 hrs ego   Null: oxooo.__ooo (9   IN    tankbottoms.eth    (9    ERC-721
                                                                                                                                               Mojis




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                                                                                                                                               Mojis #2414
       @       Oxc7cce5efd3b6cl 367...        279 days 11 hrs ego   Null: oxooo_ ooo LD    IN    tankbottoms.eth    LO    ERC-721
                                                                                                                                               Moj is



       @       Oxc7cce5efd3b6c1367 ...        279 days 11 hrs ego   Null: Ox000...000 LO   IN    tankbottoms.eth    LO    ERC-721              Mojis #2407
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                                                                                                                                                NFT: Paris Caked Ape Clu...
      ®      Ox853dbbb712fde230c_.        279 days 11 hrs ego      Null: Ox000...000 [.D     IN    tankbottoms.eth   [.D    ERC-Til    (@)      NFT: Paris Caked Ape Club


                                                                                                                                                NFT: Paris Caked Ape Clu...
      ®      Ox853dbbb712fde230c_.        279 days 11 hrs ego      Null: Ox000...000 [.D     IN    tankbottoms.eth   [.D    ERC-nt     (@)      NFT: Paris Caked Ape Club


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                                                                                                                                       -
                                                                                                                                                Bad Bitches On A Scooter
      ®      Oxf9293fl Ofacce335ec...     279 days 11 hrs ego      Null· Ox000...000 [.D     IN    tankbottoms.eth   [.D    ERC-nl
                                                                                                                                                NFT: Bad Bitches On A Sc,_


                                                                                                                                                NFT: Bad Bitches On A Sc...
      ®      Oxf9293fl Ofacce335ec...     279 days 11 hrs ego      Null: Ox000...000 [.D     IN    tankbottoms.eth   [.D    ERC-nl     (@)      NFT: Bad Bitches On A Sc...


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      ®      Oxf9293f1 Ofacce335ec...     279 days 11 hrs ago      Null: Ox000.. ,000 L□     IN    tankbottoms.eth   LD     ERC-n1     (@)      NFT: Bad Bitches On A Sc...


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      ®      Oxf9293f1 Ofacce335ec...     279 days 11 hrs ego      Null: Ox000.._000 [.D     IN    tankbottoms.eth   [.D    ERc-n1     @)       NFT: Bad Bitches On A Sc...


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      ®      Oxf9293f1 Ofacce335ec...     279 days 11 hrs ago      Null: Ox000...000 [.D     IN    tankbottoms.eth   [.D    ERC-TI1    @)       NFT: Bad Bitches on A Sc...


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      ®      Oxf9293f1 Ofacce335ec...     279 days 11 hrs ago      Null; Ox000.,.000 [.D     IN    tankbottoms.eth   [.D    ERC-721    @)       NFT: Bad Bitches On A Sc...


                                                                                                                                                NFT: Bad Bitches On A Sc...
      ®      Oxf9293f1 Ofacce335ec...     279 days 11 hrs ago      Null: Ox000...000 [.O     IN    tankbottoms.eth   L□     ERC-Til    @)       NFT: Bad Bitches On A Sc._


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      ®      Oxf9293f1Ofacce335ec...      279 days 11 hrs ago      Null: Ox000...000 [.D     IN    tankbottoms.eth   [.D    ERC-721    (@)      NFT: Bad Bitches On A Sc...


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      ®      Oxf9293f1 Ofacce335ec...     279 days 11 hrs ago      Null: Ox000.,.000 [.O     IN    tankbottoms.eth   LD     ERC-721    (@)      NFT: Bad Bitches On A Sc...


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      ®      Oxf9293fl Ofacce335ec...     279 days 11 hrs sgo      Null: oxooo ...ooo   cP   IN    tankbottoms.eth   cD     ERC-721    @)       NFT: Bad Bitches On A Sc...


                                                                                                                                                NFT: Gnome Garden#l 944
      @      Ox93671 ab398135f82f...      279 days 11 hrs ago      Null. Ox000...000 (P      IN    tankbonoms.eth    cP     ERC.TI1    @)       NFT: Gnome Garden


                                                                                                                                                NFT: Gnome Garden#1943
      @      Ox93671 ab398135f82f...      279 days 11 hrs ago      Null: Ox000.._000 [.D     IN    tankbonoms.eth    [.D    ERC-721    (@)      NFT: Gnome Garden


                                                                                                                                                NFT: The Beginning Of Th ...
      ®      Ox432e2ec1a594 7fb37•.       279 days 11 hrs ago      Null: oxooo._ooo     cP   IN    tankbonoms.eth    cP     ERC·TI1    @)       NFT: The Beginning OfThe...


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      @      Ox80672942bf6a826d ...      279 days 11 hrs ago      bonkers.eth LO                 IN     tankbottoms.eth   LO          ERC·TI1     @)    NFT: Chum Chums


                                                                                                                                                        #106
      @      Ox1 ddc91 ad8c712d3c...     279 days 11 hrs ago      chipolata .zil LO              IN     tankbottoms.eth   LO          ERC-1155
                                                                                                                                                        OpenSea Shared Storefront 0


                                                                                                                                                        ~ Portrait Of Dr Pepe Ga...
      @      Ox67el 324a2035dcf97...     279 days 15 hrs ago      ® Foundation: Market      LO   IN     tankbottoms.eth   LO          ERC-721
                                                                                                                                                        NFT: Pixel An


                                                                                                                                                        NFT:   FWB Fest#255
      @      Ox8ca0c1205c9fe7af5...      279 days 16 hrs ego       tankbottoms.eth     @         OUT   natasha-pankina.eth       @    ERc-n,      @)    NFT: FWBFest


                                                                                                                                                        NFT:   FWB Fest#255
      @      Ox408b0526f3791 cda4 ...    279 days 16 hrs ego      Null: Ox000... 000 [.O         IN     tankbottoms.eth   c.O         ERC-Til     (@)   NFT: FWB Fest


                                                                                                                                                        NFT:   FWB Fest#254
      @      Oxf97d0a582b4a81502...      279 days 16 hrs ego      Null: Ox000...000 c.O          IN     tankbottoms.eth   c.O         ERC-721     @)    NFT: FWB Fest


      @      Oxf6f0a13e0adeb31 a9 ...    279 days 20 hrs ego      Null: Ox000 ...000 c.O         IN     tankbottoms.eth   @           ERC-721
                                                                                                                                                 ii     Monster Suit #3455
                                                                                                                                                        Monster Suit 0



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             Oxf6f0a13e0adeb31 a9 ...



             Oxf6f0a13e0adeb31 a9 ...
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      @      Oxf6f0al 3e0adeb31 a9 ...   279 days 20 hrs ago      Null: oxooo_ ooo c.O           IN     tankbottoms.eth   c.O         ERC-TI1
                                                                                                                                                 ft     Monster Suit #3454
                                                                                                                                                        Monster Suit 0


                                                                                                                                                        Meow Diamonds
      @      Oxafcfee594e840360b...      279 days 22 hrs ego      Null: Ox000 ...000 c.0         IN     tankbottoms.eth   c.,O        ERC-721
                                                                                                                                                        NFT: tankbottoms


                                                                                                                                                        NFT: AnimaFrens#350
      @      Ox6ce5032952608441...       279 days 23 hrs ego      Null: Ox000...000 c_,O         IN     tankbottoms.eth   (9          ERC-721     (@)   NFT: AnimaFrens


                                                                                                                                                        NFT: AnimaFr<>ns#349
      @      Ox6ce5032952608441 ...      279 days 23 hrs ego      Null· Ox000... 000 [.D         IN     tankbottoms.eth   c.,D        ERC-Til     @J    NFT: AnimaFrens


                                                                                                                                                        NFT: Moon0wl#5463
      @      Oxe04e02e4b79cfd173...      279 days 23 hrs ego      Null: Ox000...000 c.O          IN     tankbottoms.eth   c_,O        ERC-721     (@)   NFT: MoonOwl


                                                                                                                                                        NFT: Moon0wl#5461
      @      Oxe04e02e4b79cfdl 73...     279 days 23 hrs ego      Null: oxooo...ooo c.D          IN     tankbottoms.eth   c_,O        ERC-721     t@)   NFT: MoonOwl


                                                                                                                                                        NFT: Moon0wl#5462
      @      Oxe04e02e4b79cfdl 73...     279 days 23 hrs ego      Null: Ox000 ...000 c_,O        IN     tankbottoms.eth   c.O         ERC-721     (@)   NFT: Moonowl

                                                                                                                                                            PLAINTIFF0001347
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      @      Ox9a015ef1 e4fb9943a ...    280 days 3 mins ago     service-provider.eth        cP         IN     tankbottoms.eth   c9      rnc-n1
                                                                                                                                                   II         compuglobalhypermegac ...
                                                                                                                                                              Ethereum Name Service 0


      @      Ox07ac04a762765dbe...       280 days 1 hr ago        tankbottoms.eth       LD              OUT   Ox06BC1 B...8297c465 LD    ERC-721
                                                                                                                                                   II         fuegomoves.eth
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      @      Ox7d2594ea226c782f9...      280 days 2 hrs ago      ® ENS: ET H Registrar Co._        LD   IN     tankbottoms.eth   LD      ERC-721
                                                                                                                                                              Ethereum Name Service 0


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      @      Ox107f0dd4064fc8022 ...     280 days 11 hrs ego     Null: Ox000...000 LD                   IN     tankbottoms.eth   [.D     ERc-n,
                                                                                                                                                    (@)       NFT: Prem int Creator Key


                                                                                                                                                              NFT: nerdsJPG#3339
      @      Oxfd7c866ff9f1237f65...     280 days 12 hrs ego     Ox573789 ...90a358f6         LD        IN     tankbottoms.eth   c.D     ERC-721    r@)       NFT: nerdsJPG


                                                                                                                                                              NFT: Serious lnvestor#22...
      @      Oxfd7c866ff9f1237f65...     280 days 12 hrs ego     Oxb59099 ... 2beE55dO c.D              IN     tankbottoms.eth   c.D     ERC-721    (@)       NFT: Serious Investor


                                                                                                                                                              NFT: nerdsJPG#3206
      @      Oxfd7c866ff9f1237f65...     280 days 12 hrs ego     Ox2B0D68 ... e15f2d12        (9        IN     tankbottoms.eth   (!)     ERC-721    (@)       NFT: nerdsJPG



      @      Oxfd7c866ff9f1237f65...     280 days 12 hrs ego     ® Gem: GemSwap 2 c9                    IN     tankbottoms.eth   LD      ERC-721
                                                                                                                                                   g          Serious Investor #8733
                                                                                                                                                              NFT: Serious Investor


      @      Oxfd7c866ff9f1237f65...     280 days 12 hrs ego     OxcOF30a___9C6565ce LD                 IN     tankbottoms.eth   c9      ERC-721
                                                                                                                                                   !          nerd.jpg #2508




                                                                                                                                                   o
                                                                                                                                                              NFT: nerdsJPG


                                                                                                                                                              Serious Investor #4407
      @      Oxfd7c866ff9f1237f65...     280 days 12 hrs ego     Ox52D043 ...48657045 LD                IN     tankbottoms.eth   LD      ERC-721
                                                                                                                                                              NFT: Serious Investor


                                                                                                                                                              #831
                                                                                                                                                   ~ NFT: FerretFlightClub
      @      Ox6cef482c9056b7d89...      280 days 12 hrs ego     Null: Ox000 ...000 LD                  IN     tankbottoms.eth   LD      ERC-721




                                                                                                                                                              #830
      @      Ox6cef482c9056b7d89...      280 days 12 hrs ego     Null: Ox000...000 LD                   IN     tankbottoms.eth   c9      ERC-721
                                                                                                                                                      ~
                                                                                                                                                              NFT: FerretFlightClub


      @      Oxb294a4d8ac003028 ...      280 days 12 hrs ego     Null· Ox000...000 [.D                  IN     tankbottoms.eth   [.D     ERC-721
                                                                                                                                                   ti         NFT: Degentown Official#...
                                                                                                                                                              NFT: Degentown Official


                                                                                                                                                   ~ NFT: Degentown Official#...
      @      Oxb294a4d8ac003028 ...      280 days 12 hrs ego     Null: Ox000.,.000 c.D                  IN     tankbottoms.eth   c.D     ERC-721
                                                                                                                                                              NFT: Degentovm Official


                                                                                                                                                              NFT: Degentown Official#...
      @      Oxb294a4d8ac003028 ...      280 days 12 hrs ego     Null:   oxooo...ooo   c.D              IN     tankbottoms.eth   [.D     ERC-721
                                                                                                                                                              NFT: Degentown Official



      @      Ox44010887ed9bf1031 ...     280 days 12 hrs ego     Null: Ox000 ... 000 c.D                IN     tankbottoms.eth   c.D     ERC-721
                                                                                                                                                   ~          Degen Boy #117
                                                                                                                                                          ~   NFT: Degen Couples

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                                                                                                                                                  ~ Degen Girl #116
       @       OX44010887ed9bf1031 ..           280 days 12 hrs ago          Null: oxooo...ooo     LD    IN    tankbottoms.eth   LD     ERC-721
                                                                                                                                                    NFT: Degen Couples


                                                                                                                                                          Meta Meerkat Club Male ...
       @       Ox7 d162eff7e610457a...          280 days 12 hrs ago          Null: Ox000...000     LD    IN    tankbottoms.eth   LD     ERC-721
                                                                                                                                                    ...
                                                                                                                                                    ~"    NFT: Meta Meerkat Club


                                                                                                                                                          Meta Meerkat Club Male ...
       @       Ox7d162eff7e610457a ...          280 days 12 hrs ago          Null: Ox000...000     Lo    IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                          NFT: Meta Meerkat Club



       @       Ox7ea33b2c11378a8ff...           280 days 12 hrs ago          Null: Ox000...000     LD    IN    tankbottoms.eth   LD     ERC-721
                                                                                                                                                  El
                                                                                                                                                   c.<»
                                                                                                                                                          Degen Boy #115
                                                                                                                                                          NFT: Degen couples


                                                                                                                                                  ~ Degen Girl #114
       @       Ox7ea33b2cl 1378a8ff...          280 days 12 hrs ago          Null: Ox000...000     (_D   IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                    NFT: Degen Couples


                                                                                                                                                          Notorious Kings N FT #29 ...
       @       Oxac71 f90789c6eM 14 ...         280 days 12 hrs ago          Null: Ox000.,.000     c.O   IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                          NFT: Notorious Kings


       @       Oxac71 f90789c6e6414...          280 days 12 hrs ago          Null: Ox000 ... 000   c.O   IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                  [&      Notorious Kings NFT #29 ...
                                                                                                                                                          NFT: Notorious Kings


                                                                                                                                                          Notorious Kings N FT #29 ...
       @       Oxac71 f90789c6e641 4 ...        280 days 12 hrs ago          Null: Ox000 ...000    c.O   IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                          NFT: Notorious Kings


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       @       Oxac71 f90789c6e6414 ...         280 days 12 hrs ago          Null: OxOOLOOO @            IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                          NFT: Notorious Kings


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       @       Oxac71 f90789c6e6414 ...         280 days 12 hrs ago          Null: oxooo_ ooo      Lo    IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                          NFT: Notorious Kings


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       @       Oxac71 f90789c6e641 4 ..,        280 days 12 hrs ago          Null: Ox000 ...000    LO    IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                          NFT: Notorious Kings



       @       Ox95e53c429e4a617d...            280 days 12 hrs ago          Null: Ox000...000     Lo    IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                  n       Omamori#4205
                                                                                                                                                          NFT: Omamori


                                                                                                                                                          NFT: BoredApepurged#6...
       @       Ox43e02700584abdac...            280 days 12 hrs ago          Null· Ox000...000 (.0       IN    tankbottoms.eth   (.0    ERC-721    @)     NFT: BoredApepurged


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       @       Ox43e02700584abdac ...           280 days 12 hrs ago          Null: Ox000...000     c.O   IN    tankbottoms.eth   c.O    ERC-721    (@)    NFT: BoredApepurged


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       @       Ox43e02700584abdac ...           280 days 12 hrs ago          Null: Ox000...000     c.O   IN    tankbottoms.eth   c.O    ERC-721    t@)    NFT: BoredApepurged


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       @       Ox43e02700584abdac ...           280 days 12 hrs ago          Null: Ox000 ... 000   c.O   IN    tankbottoms.eth   c.O    ERC-721    (@)    NFT: BoredApepurged

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      @      Ox43e02700584abdac...       280 days 12 hrs ago     Null. oxooo...ooo LD      IN     tankbottoms.eth   LD     ERC-721    @     NFT: BoredApepurged


                                                                                                                                            Something #4381
      @      Ox90031c0133c91964...       280 days 12 hrs ago     Null: Ox000...000 LO      IN     tankbottoms.eth   LO     ERC-721
                                                                                                                                            NFT: Its Something


                                                                                                                                            Something #4374
      @      Ox90031 c0133c91964...      280 days 12 hrs ago     Null: Ox000...000 Lo      IN     tankbottoms.eth   LO     ERC-721
                                                                                                                                            NFT: Its something


                                                                                                                                            Something #4378
      @      Ox90031 c0133c91964 ...     280 days 12 hrs Ego     Null: Ox000...000 LD      IN     tankbottoms.eth   LD     ERC-721
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                                                                                                                                            Something #4375
      @      Ox90031 c0133c91964 ...     280 days 12 hrs Ego     Null: Ox000...000 t.D     IN     tankbottoms.eth   t.D    ERC-721
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                                                                                                                                            Something #4379
      @      Ox90031 c0133c91964...      280 days 12 hrs Ego     Null: Ox000...000 LD      IN     tankbottoms.eth   t.D    ERC-721
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                                                                                                                                            Something #4372
      @      Ox90031 c0133c91964 ...     280 days 12 hrs Ego     Null· Ox000...000 t.O     IN     tankbottoms.eth   t.O    ERC-721
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      @      Ox90031 c0133c91964...      280 days 12 hrs Ego     Null: Ox000...000 t.O     IN     tankbottoms.eth   t.O    ERC-721
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      @      Ox90031 c0133c91964...      280 days 12 hrs ago     Null: Ox000-000 @         IN     tankbottoms.eth   cP     ERC·72t
                                                                                                                                            NFT: Its Something


                                                                                                                                            Something #4373
      @      Ox90031 c0133c91964 ...     280 days 12 hrs ago     Null: oxooo_ ooo Lo       IN     tankbottoms.eth   LO     ERC-721
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                                                                                                                                            Something #4377
      @      Ox90031 c0133c91964 ...     280 days 12 hrs Ego     Null: Ox000...000 t.O     IN     tankbottoms.eth   LO     ERC-721
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      @      Oxfd4a8bccd054ce 19a..      280 days 13 hrs Ego      tankbottoms.eth    LD   °'11   Null: Ox000...000 LO      ERC-721    @     NFT: Commanders by Pro)...


                                                                                                                                            NFT: God Hates NFT<l<>s#...
      @      Ox4fda5057e73084278...      280 days 13 hrs Ego     Null· Ox000...000 [.O     IN     tankbottoms.eth   t.D    ERC-721    (@J   NFT: God Hates NFTees


                                                                                                                                            NFT: God Hates NFTees#...
      @      Ox4fda5057e7308427B...      280 days 13 hrs Ego     Null: Ox000...000 t.O     IN     tankbottoms.eth   t.O    ERC-721    @)    NFT: God Hates NFTees


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      @      Ox4fda5057e7308427B...      280 days 13 hrs Ego     Null: Ox000...000 t.D     IN     tankbottoms.eth   t.O    ERC-721    t@)   NFT: God Hates NFTees


                                                                                                                                            NFT: Meta Meerkat Club#...
      @      Oxccl Off401151268ea...     280 days 13 hrs Ego     Null: Ox000... 000 t.D    IN     tankbottoms.eth   t.D    ERC-721    @     NFT: Meta Meerkat Club

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      @      Oxcc1Off40115126Bea ...      280 days 13 hrs ago      Null. oxooo__ooo LD     IN    tankbottoms.eth   c9     ERC-721
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                                                                                                                                              #506
      @      Ox107a15e0567a3b58...        280 days 14 hrs ago      Null: Ox000...000 LO    IN    tankbottoms.eth   LO     ERC-721
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                                                                                                                                              #507
      @      Ox107a15e056 7a3b58 ...      280 days 14 hrs ago      Null. Ox000...000 Lo    IN    tankbottoms.eth   LO     ERC-721
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      @      Ox107a15e0567a3b58...        280 days 14 hrs ego      Null: Ox000...000 LD    IN    tankbottoms.eth   LD     ERC·721
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                                                                                                                                     ~        #509
      @      Oxl 07a15e0567a3b58...       280 days 14 hrs ego      Null: Ox000...000 t.D   IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                              NFT: LOSTINWONDERLAND


      @      Ox107a15e0567a3b58...        280 days 14 hrs ego      Null· Ox000...000 LD    IN    tankbottoms.eth   t.D    ERC-721    f        #505
                                                                                                                                              NFT: LOSTINWONDERLAND


                                                                                                                                              NFT: CryptoldiotsClub#4...
      @      Ox8ccc4387d27986a2...        280 days 14 hrs ego      Null· Ox000...000 t.O   IN    tankbottoms.eth   t.O    ERC-721
                                                                                                                                     ©        NFT: CryptoldiotsClub


                                                                                                                                              NFT: CryptoldiotsClub#4...
      @      Ox8ccc4387d27986a2...        280 days 14 hrs ago      Null: Ox000...000 t.D   IN    tankbottoms.eth   t.D    ERC-721
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     A total of 3,318 records found                                                                                                  First    <    Page27 of 34       >    Last



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       @       Ox8ccc4387d27986a2 ...       280 days 14 hrs ago   Null: Ox000 ... 000 LD    IN    tankbottoms.eth   cO    ERC-721     (@)    NFT: Cryptoldiol sClub


                                                                                                                                             NFT: Pixel WZRDS#1341
       @       Oxcb98e4811 f25ad619...      280 days 16 hrs ago   Null: Ox000 ...000 [.D    IN    tankbottoms.eth   cO    ERC-721     @)     NFT: Pixel WZRDS


                                                                                                                                             NFT: Pixel WZRDS#1342
       @       Oxcb98e4811f25ad619...       280 days 16 hrs ago   Null: Ox000 ...000    @   IN    tankbonoms.eth    cO    ERC-721     @)     NFT: Pixel WZRDS



       @       Oxcb98e4811f25ad619___       280 days 16 hrs ago   Null: Ox000 ...000 LD     IN    tankbottoms.eth   cO    ERC-721
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       @       Oxcb98e4811f25ad619...       280 days 16 hrs ago   Null: Ox000 ...000 cD     IN    tankbottoms.eth   cO    ERC-721    II      Pixel WZRDS
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                                                                                        @         tankbottoms.eth   cO
       @       Oxcb98e481 lf25ad619_.       280 days 16 hrs ago   Null: Ox000 ... 000       IN                            ERC-721
                                                                                                                                      11-, NFT: Pixel WZRDS
                                                                                                                                             ursaparty #5419
       @       Ox2f6acabde92a96336...       280 days 16 hrs ago   Null: Ox000 ...000 LD     IN    tankbottoms.eth   cO    ERC-721
                                                                                                                                             NFT: ursaparty


                                                                                                                                             ursaparty #5420
       @       Ox2f6acabde92a96336...       280 days 16 hrs ago   Null; Ox000 ...000 LD     IN    tankbottoms.eth   cO    ERC-721
                                                                                                                                             NFT: ursaparty



       ©       Oxf564bc3506be72f94...       280 days 16 hrs ago   Null: Ox000 ...000    @   IN    tankbottoms.eth   cO    ERC-1155     ·~    SharkDAO x Prysm
                                                                                                                                             NFT: Squads Access Pass


                                                                                                                                             NFT: BoredApepurged#6...
       @       Oxf0aa694b9b74d2ff3...       280 days 22 hrs ago   Null: Ox000 ...000 (9     IN    tankbottoms.eth   cO    ERC-721     (@)    NFT: BoredApepurged


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       @       Oxf0aa694b9b74d2ff3...       280 days 22 hrs ago   Null: Ox000 ...000 [.O    IN    tankbottoms.eth   cO    ERC-721     @)     NFT: BoredApepurged


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       @       Oxf0aa694b9b74d2ff3...       280 days 22 hrs ago   Null: Ox000 ...000 cD     IN    tankbottoms.eth   cO    ERC-721     @)     NFT: BoredApepurged


       @       Oxf0aa694b9b74d2ff3...       280 days 22 hrs ago   Null: Ox000 ...000 LD     IN    tankbottoms.eth   cO    ERC-721            NFT: BoredApepurged#6...
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      @      Oxf0aa694b9b74d2ff3...     280 days 22 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   c.O     ERC-721    @     NFT: BoredApepurged


                                                                                                                                          NFT: GalacticGuardians#...
      @      Ox6fb5540e19708d216...     280 days 23 hrs ago    Null: Ox000...000 @      IN     tankbottoms.eth   [.O     ERC-721    @)    NFT: GalacticGuardians


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      @      Ox6fb5540e19708d216 ...    280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   c.O     ERC-721    @     NFT . Galat:tiCGuarUia11~



                                                                                                                                          NFT: MimicShhansAi#124
      @      Ox2a0d9fe0c3dc5732a..,     280 days 23 hrs ago    Null: Ox000...000 @      IN     tankbottoms.eth   c.0     ERC·721    (§l   NFT: MimicShhansAi


                                                                                                                                          NFT: MimicShhansAi#121
      @      Ox2a0d9fe0c3dc5732a...     280 days 23 hrs ago    Null: Ox000...000 c..D
                                                                                        '"'
                                                                                               tankbottoms.eth   cP      ERC-721    (§l   NFT: MimicShhansAI


                                                                                                                                          NFT: MimicShhansAi#125
      @      Ox2a0d9fe0c3dc5732a...     280 days 23 hrs ago    Null: Ox000...000 @      IN     tankbottoms.eth   [.O     ERC-721    @)    NFT: MimicShhansAi


                                                                                                                                          NFT: MimicShhansAi#122
      @      Ox2a0d9fe0c3dc5732a...     280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   [.O     ERC-721    @)    NFT: MimicShhansAi


                                                                                                                                          NFT: MimicShhansAi#123
      @      Ox2a0d9fe0c3dc5732a...     280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   [.O     ERC-721    @)    NFT: MimicShhansAi


                                                                                                                                          WormVigils#3392
      @      Ox3b054b1b9429cd23...      280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   c..O    ERC-721    @     WormVigils


                                                                                                                                          NFT: WZRDS#9938
      @      Ox86203b2fa1bc83689 ...    280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   c.O     ERC-721    @)    NFT: WZRDS


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      @      Ox86203b2fa1bc83689 ...    280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   [.O     ERC-721    @)    NFT:WZRDS


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      @      Ox86203b2fa1bc83689 ...    280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   [.O     ERC-721    r@J   NFT:WZRDS


                                                                                                                                          NFT: WZRDS#9939
      @      Ox86203b2fa 1bc83689 ...   280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   c.0     ERC-721    (§l   NFT:WZRDS


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      @      Ox86203b2fal bc83689 ...   280 days 23 hrs ago    Null: Ox000...000 @      IN     tankbottoms.eth   cP      ERC-721    @     NFT:WZRDS


                                                                                                                                          NFT: WZRDS#9936
      @      Ox86203b2fa1bc83689 ...    280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   [.O     ERC-721    @)    NFT:WZRDS


      @      Ox86203b2fal bc83689 ...   280 days 23 hrs ago    Null: Ox000...000 c..D   IN     tankbottoms.eth   [.O     ERC-721          NFT: WZRDS#9940
                                                                                                                                            PLAINTIFF0001353
https://elherscan.io/nft-translers?a=Ox5d95baEBB8412AD827287240A5c281 E3b830d27E                                                                                       217
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      @      Ox86203b2fa1 bc83689 ...   280 days 23 hrs ago    Null: Ox000 ... 000   c..D   IN    tankbottoms.eth   c.O     ERC-721    @     NFT:WZRDS


                                                                                                                                             NFT: WZRDS#9941
      @      Ox86203b2fa 1bc83689 ...   280 days 23 hrs ago    Null: Ox000 ...000 @         IN    tankbottoms.eth   [.O     ERC-721    @)    NFT: WZRDS


                                                                                                                                             NFT: WZRDS#9934
      @      Ox86203b2fa1 bc83689 ...   280 days 23 hrs ago    Null: Ox000 ... 000   c..D   IN    tankbottoms.eth   c.O     ERC-721    l@)   NFT: WZROS



      @      Ox0e3ac4383293769df...     280 days 23 hrs ago    Null: Ox000 ... 000 @        1N    tankbottoms.eth   c.0     ERC-721
                                                                                                                                      Ii     WEN MOON #2345
                                                                                                                                             NFT: WEN MOON?


      @      Ox0e3ac4383293769df...     280 days 23 hrs ago    Null: Ox000...000     c..D   IN    tankbonoms.eth    [.O     ERC-721
                                                                                                                                      Ii     WEN MOON #2344
                                                                                                                                             NFT: WEN MOON?


      @      Oxe2ff3ffaba6b9fddc2...    280 days 23 hrs ago    Null: Ox000 ... 000 @        IN    tankbonoms.eth    [.O     ERC-721
                                                                                                                                      a      Coffee Cup #331
                                                                                                                                             NFT: The Coffee Club NFT



      @      Oxe2ff3ffaba6b9fddc2...    280 days 23 hrs ago    Null: Ox000 ... 000   c..D   IN    tankbonoms.eth    [.O     ERC-721
                                                                                                                                      a      Coffee Cup #329
                                                                                                                                             NFT: The Coffee Club NFT



      @      Oxe2ff3ffaba6b9fddc2...    280 days 23 hrs ago    Null: Ox000 ... 000   c..D   IN    tankbottoms.eth   [.O     ERC-721
                                                                                                                                      a      Coffee Cup #330
                                                                                                                                             NFT: The Coffee Club NFT


                                                                                                                                             NFT: God Hates NFTees#...
      @      Ox428884d68b414d0d ...     280 days 23 hrs ago    Null: Ox000 ... 000   c..D   IN    tankbottoms.eth   c..O    ERC-721    @     NFT: God Hates NFTees


                                                                                                                                             NFT: God Hates NFTees#...
      @      Ox428884d68b414d0d ...     280 days 23 hrs ago    Null: Ox000 ... 000   c..D   IN    tankbottoms.eth   c.O     ERC-721    @     NFT: God Hates NFTees


                                                                                                                                             NFT: God Hates NFTees#...
      @      Ox428884d68b414d0d ...     280 days 23 hrs ago    Null: Ox000 ...000    c..D   IN    tankbottoms.eth   [.O     ERC-721    @)    NFT: God Hates NFTees


                                                                                                                                             NFT: Do The Universe#181
      @      Ox82f47ea 752b44909c...    281 days ago           Null: Ox000 ...000    c..D   IN    tankbonoms.eth    [.O     ERC-721
                                                                                                                                             NFT: Do The Universe



      @      Ox82f47ea 752b44909c...    281 days ago           Null: Ox000 ... 000   c..D   IN    tankbonoms.eth    c.0     ERC-721
                                                                                                                                      .,n    NFT: Do The Universe#l 82
                                                                                                                                             NFT: Do The Universe


                                                                                                                                             NFT: WZRDS#9612
      @      Ox475ebf69dcfc3992a ...    281 days 33 mins ago   Null: Ox000 ... 000 @        IN    tankbottoms.eth   cP      ERC-721    @     NFT: WZRDS


                                                                                                                                             NFT: WZRDS#9613
      @      Ox475ebf69dcfc3992a ...    281 days 33 mins ago   Null: Ox000...000     c..D   IN    tankbottoms.eth   cO      ERC-721    @)    NFT:WZRDS


      @      Ox475ebf69dcfc3992a ...    281 days 33 mins ago   Null: Ox000...000     c..D   IN    tankbonoms.eth    cO      ERC-721          NFT: WZRDS#9614
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      @      Ox475ebf69dcfc3992a ...     281 days 33 mins ago    Null: Ox000 ...000      c..D            IN     tankbottoms.eth     c.O        ERC-721      @       NFT:WZRDS


                                                                                                                                                                    NFT: WZRDS#9615
      @      Ox475ebf69dcfc3992a...      281 days 33 mins ago    Null: Ox000 ...000      c..D           IN      tankbottoms.eth     (.0        ERC-721      @)      NFT: WZRDS


                                                                                                                                                                    Framergence#3892184022
      @      Ox35373ff45d614f23a...      281 days 4 hrs ago      eskalexia.eth    c9                     IN     tankbottoms.eth     (.0        ERC-721      (@j     Frc:1II1eryence



      @      Ox84a917c5b1dd132f0 ...     281 days 4 hrs ago      heyitsclay.eth   c..D                  1N      tankbottoms.eth     (.0        ERC-721
                                                                                                                                                           II       PartyDegenerates#7468
                                                                                                                                                                    PartyDegenerates


      @      Oxc2ed0ce4837514cee...      281 days 4 hrs ago       tankbonoms.eth          c..□          UlIT   0    OxE090D1..B6B04c45 c..□    ERC-1 155
                                                                                                                                                           II       Glitch Nyan Cat
                                                                                                                                                                    NyanCat 0


      @      Ox94035ef99e417f796...      281 days 23 hrs ago     Null: Ox000 ...000 (9                  IN      tankbottoms.eth     (.0        ERC-721
                                                                                                                                                           '51      Munko #1324
                                                                                                                                                                    NFT: Munko


      @      Ox94035ef99e417f796...      281 days 23 hrs ago     Null: Ox000 ...000 c..□                IN      tankbottoms.eth     (.0        ERC-721
                                                                                                                                                           El       Munko #1322
                                                                                                                                                                    NFT: Munko



      @      Ox94035ef99e417f796...      281 days 23 hrs ago     Null: Ox000 ...000      c..D            IN     tankbottoms.eth     (.0        ERC-721
                                                                                                                                                           (il      Munko #1323
                                                                                                                                                                    NFT:Munko


                                                                                                                                                                    NFT: Commanders by Pro ...
      @      Oxfea3e8ee86a47ee82...      282 days 3 hrs ago      Null: Ox000 ...000      c..D            IN     tankbottoms.eth     c..O       ERC-721      @       NFT: Commanders by Proj ...



      @      Ox2a4ceffff8b7661 Oda ...   283 days 17 hrs ago     0   Ox55eOF7...0Ad3219E c..□           IN      tankbottoms.eth     (.0        ERC-721      ,.      Noun 2517
                                                                                                                                                                    LilNoun


                                                                                                                                                                    Noun 2516
      @      Oxfa212be170945e98f...      283 days 17 hrs ago     ® Ox55eOF7...0Ad3219E c..D              IN     tankbottoms.eth     (.0        ERC-721          I
                                                                                                                                                                    LilNoun
                                                                                                                                                             r.o


      @      Oxece2be36ac7727ab...       284 days 2 hrs ago      Ox552c26...082c57c8 (9                  IN     tankbottoms.eth     cO         ERC-1 155
                                                                                                                                                           :a       Golden Nyan Cat
                                                                                                                                                                    NyanCat 0


      @      Ox3cf3362ac8c8c4941 ...     284 days 12 hrs ago     ® Foundation: Market r9                IN      tankbottoms.eth     cO         ERC-721     ~        PIXELGAL #8
                                                                                                                                                                    NFT: PfxelGal


                                                                                                                                                                    #LetsWalk· HehePepe #0 ...
      @      Ox9d43c41 e4c42c723 ...     284 days 15 hrs ago     jonathanlittle.eth (9                  IN      tankbottoms.eth     cP         ERC-1 155
                                                                                                                                                            1       #LetsWalk 0


                                                                                                                                                                    Li1Noun#2448
      @      Ox5b7d2c291 fec3e1c9 ...    285 days 6 hrs ago      0   Ox55eOF7-.0Ad3219E          c..D    IN     tankbottoms.eth     cO         ERC-721      @)      LilNoun


      @      Oxfdc065e4404a6276b...      285 days 7 hrs ago       tankbonoms.eth          c..□          WT     twodam.eth    c..D              ERC-721              Li1Noun#2446
                                                                                                                                                                      PLAINTIFF0001355
https ://etherscan .io/nft- transfers?a=0x5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                               4/7
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      @      Oxfa8d73a6c85e5a3be...    285 days 7 hrs ago      ® Ox55eOF7.. ,0Ad3219E           (.0    IN      tankbottoms.eth   c.D           ERC-721
                                                                                                                                                                    ©     LilNoun


                                                                                                                                                                •         Glitch Nyan Cat
      @      Ox81 cdbcfea854f405e...   286 days 15 hrs ago     tweetyalt.eth c.D                       IN      tankbottoms.eth   c.D           ERc-1155    x3
                                                                                                                                                                          Nyancat 0


                                                                                                                                                                          NFT: LexiconDevils#1
      @      Ox7a954b222302ee31 ...    287 days 4 hrs ago      ® Ox982464...D6FAe4A9            c.D    IN      tankbottoms.eth   c.D           ERc-1155             (@)   NFT. Lexicu11DtNi1S



                                                                                                                                                                          NFT: Long Live Kevin#128
      @      Oxe39eb18f4c8345555...    288 days 5 hrs ago       Null: Ox000 ...000 (9                  1N      tankbottoms.eth   c.D           ERC-721
                                                                                                                                                                    [§l   NFT: Long Live KeVin


                                                                                                                                                                          Nyan Cat#10066
      @      Oxdb236243d1 f4ce46a...   288 days 18 hrs ago     soy.eth c.D                             IN      tankbottoms.eth   c.D           ERC-1 155            [§l   Nyan Cat 0


                                                                                                                                                                          NFT: City Lives: Alone, To ...
      @      Oxef0b163605e50f4a2...    290 days 6 hrs ago      ® Foundation: Market       c.D          IN      tankbottoms.eth   c.D           ERC-721              @J    NFT: City Lives: Alone, Tog ...


      @      Ox7370f5888c43f5d48...    291 days 15 hrs ago      Null: Ox000 ...000 c.D                 IN      tankbottoms.eth   c.O           ERC-1 155
                                                                                                                                                                    ID    Cascade Genesis Honora...

                                                                                                                                                                    ■I    NFT



      @




      @
             Oxf7fad1c8146c503df...



             Ox36e39c526965c47a ...
                                       292 days 1 hr ago



                                       292 days 1 hr ago
                                                                Null: Ox000 ...000 c.D



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                                                                                                               tankbottoms.eth



                                                                                                               tankbottoms.eth
                                                                                                                                 c.D


                                                                                                                                 c.D
                                                                                                                                               ERC-1 155




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                                                                                                                                                                          Gallery x Prysm
                                                                                                                                                                          NFT: Squads Access Pass


                                                                                                                                                                          FWB x Prysm
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      @      Oxe87ca0d6b7b3d9d5...     294 days 15 hrs ago       tankbottoms.eth    c.D               Ot.rr   ® OxfaOb8L338CBDa3        c.D    ERC-1155
                                                                                                                                                                II        White Rabbit Producer Pa ...
                                                                                                                                                                          NFT: White Rabbit Produce...


                                                                                                                                                                          NFT: MUSICATED#127
      @      Ox878901 c92259c270 ...   294 days 17 hrs ago      Null: Ox000 ...000 (.0                 IN      tankbottoms.eth   c.D           ERc-721              @)    NFT: MUSICATED


                                                                                                                                                                          NFT: MUSICATED#126
      @      Ox878901 c92259c270 ...   2 94 days 17 hrs ago     Null: Ox000 ...000 c.D                 IN      tankbottoms.eth   c.,D          ERC-721              (@)   NFT: MUSICATED


                                                                                                                                                                •         CatBoners #6679
      @      Ox67cb5637f21889b14 ...   294 days 17 hrs ago      Null: Ox000 ...000 c.D                 IN      tankbottoms.eth   c.,D          ERC-721
                                                                                                                                                                          NFT: c atBoners


                                                                                                                                                                          CatBoners #6677
      @      Ox67cb5637f21889b14...    294 days 17 hrs ago      Null: Ox000 ...000 (9                  IN      tankbottoms.eth   c9            ERC-721
                                                                                                                                                                :l        NFT: CatBoners


      @      Ox6 7cb5637f21889b14...   294 days 17 hrs ago      Null: Ox000... 000 c.D                 IN      tankbottoms.eth   c.,D          ERC-721
                                                                                                                                                                l!I       CatBoners #6678
                                                                                                                                                                          NFT: CatBoners


      @      Ox410457c8cb62a42e...     294 days 17 hrs ago      Null: Ox000... 000 c.D                 IN      tankbottoms.eth   c.,D          ERG-I 155                  2022 Community Poster
                                                                                                                                                                            PLAINTIFF0001356
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                                                                                                                                                  . :a!:;l'.


        ®       Oxff4821dacda969dc4...     294 days 18 hrs ago    B   Ox493Ec7...207E71B8 LCl          IN    tankbottoms.eth   LO     ERC-1155
                                                                                                                                                  II           White R11bbit Producer Pa...
                                                                                                                                                               NFT: White Rabbit Produce...


                                                                                                                                                               #4540
       ®        Ox2b3dcalc67eb8ea1 ...     295 days 1 hr ago      Null: Ox000 ... 000 LCl              IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                               mutantgoblinape


                                                                                                                                                               #4537
       ®        Ox2b3dca1 c67eb8ea1 ...    295 days 1 hr ago      Null: Ox000 ... 000   @              IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                               mutantgoblinape


                                                                                                                                                               #4541
       ®        Ox2b3dcalc67eb8ea1 ...     295 days 1 hr ago      Null: Ox000 ... 000 LCl              IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                               mutantgoblinape



       @        Ox2b3dca1c67eb8ea1 ...     295 days 1 hr ago      Null: Ox000 ...000 LCl               IN    tankbottoms.eth   c.0    ERC-721     II           #4534
                                                                                                                                                               mutantgoblinape



       ®        Ox2b3dcalc67eb8ea1 ..      295 days 1 hr ago      Null: Ox000 ... 000 LCl              IN    tankbottoms.eth   c.O    ERC-721     ■            #4538
                                                                                                                                                               mutantgoblinape



       ®        Ox2b3dca1 c67eb8ea1 ...    295 days 1 hr ago      Null: Ox000 ... 000 LCl              IN    tankbottoms.eth   c.0    ERC-721     ■            #4535
                                                                                                                                                               mutantgoblinape


                                                                                                                                                               #4539
       ®        Ox2b3dca1 c67eb8ea1 ...    295 days 1 hr ago      Null: Ox000 ... 000 [.Cl             IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                               mutantgoblinape


       @        Ox2b3dcalc67ebBea1 ...     295 days 1 hr ago      Null:   oxooo...ooo   [.Cl           IN    tankbottoms.eth   c.O    ERC-721     •            #4536
                                                                                                                                                               mutantgoblinape


                                                                                                                                                               NFT: T he Crazy Lizard Ar...
        ®       Ox4085ce71029a69db...      299 days 17 hrs ago    Ox2A8C18 ...BnaA1E9 LCl              IN    tankbottoms.eth   [.O    ERC-1155        l§J      NFT: The Crazy Lizard Army


                                                                                                                                                               NFT: White Rider s#3
       @        Oxe20e11 aecf4b2db11 ...   299 days 17 hrs ago    OxCAb2Bd ...407f9b2e [.Cl            IN    tankbottoms.eth   c.O    ERC-1155        (§)      NFT: White Riders



       ®        Oxe064aB6fe1 f0b3ae6...    300 days 2 hrs ago     0   Ox55eOF7 ... 0Ad3219E [..Cl      IN    tankbottoms.eth   c_O    ERC-721
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                                                                                                                                                               LilNoun



        @




        ®
                Ox26bd980775aab7 a9...



                Ox9e699fd14812738f9...
                                           300 days 4 hrs ago



                                           304 days 18 hrs ago
                                                                  B   Ox55eOF7..0Ad3219E



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                                                                                                                                                               Noun 1789
                                                                                                                                                               LilNoun


                                                                                                                                                               Fire Angel
                                                                                                                                                               NFT: Red Spells


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        ®       Ox0aa4c8d726b01426...      305 days 1 hr ago      OX811876 ... 6f5308d0        @       IN    tankbottoms.eth   c.O    ERC-1 155
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        @       Oxdfee5b67855aee103...     305 days 14 hrs ago      Bored Ape Yacht Club: ... (9     IN     tankbonoms.eth     cP         ERC-721     @      NFT*


                                                                                                                                                             NFT: The Dour Darcel Lim ...
       @        Oxb7a8076a9d3da 19a...     305 days 18 hrs ago      Oxb83780 ...14CCe041        cO   IN     tankbon oms.el h   lo         ERC-1155    r@J    NFT: The Dour Darcel Limit...


                                                                                                                                                             Ox000025555555255555 ...
        @       Ox8f5824b8a4e9857e2...     306 days 12 hrs ago       tankbottoms.eth      cO         OVI   Ox8a9742-..1168232B      co    ERC-721
                                                                                                                                                             NFT:Tiles


                                                                                                                                                             Ecotars #118653
        @       Oxb4fb1e61 cOafl e97a.,.   309 days 7 hrs ago       RTF KT: Deployer 2 (9            IN     tankbonoms.eth     lo         ERC-721     @      NFT:Ecotars


                                                                                                                                                             Ecotars #112159
        @       Oxcd976d1ecc2ac41 b...     309 days 7 hrs ago       RTF KT: Deployer 2     cO        IN     tankbottoms.eth    lo         ERC-721     @      NFT: Ecotars


                                                                                                                                                             superBLOX VX #1545
       @        Ox5251 a7ae1b899776 ...    310 days 19 hrs ago      Null; Ox000 ...000    cD         IN     tankbottoms.eth    lo         ERC-721
                                                                                                                                                             NFT: superBLOXvx


                                                                                                                                                             superBLOX VX #1546
       @        Ox5251 a7ae1 b899776...    310 days 19 hrs ago      Null: Ox000 ... 000   cD         IN     tankbottoms.eth    lo         ERC-721
                                                                                                                                                             NFT: superBLOXvx


                                                                                                                                                             OnChainKevin #1322
       @        Ox0be22d7883541 eOe...     311 days 1 hr ago        OxE1C1E1 ...bdEF1038 (9          IN     tankbottoms.eth    lo         ERC-721
                                                                                                                                                             NFT: OnChainKevin



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     A total of 3,318 records found                                                                                                               Fi rst   <      Page28 of 34       >         Last



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                                                                                                                                                           NFT: Galaxy Eggs Official...
       @       0 xcd633a b64bcd9a a7 ...    311 days 17 hrs ago    Ox8f5303...7749cD2A (9              IN    tankbottoms.eth   cP     ERC-1155     @)      NFT: Galaxy Eggs Official


                                                                                                                                                           NFT*#135697
       @       Ox91 b758c7084a1872...       312 days 13 hrs ago    0   Ox37ceB4...c04eF49A LD          IN    tankbottoms.eth   [,D    ERC-721      @)      NFT*


                                                                                                                                                           DusktopiaNFT #129198
       @       Ox4f30d4c8ab94b83a5...       312 days 13 hrs ago    0   Ox37ce8 4...c04eF49A       c9   IN    tankbottoms.eth   cP     ERC·721      @)      NFT*


                                                                                                                                                           NFT: Project Highrise#81 ...
       @       Ox73d60b4a54f88a0fd...       314 days 11 hrs ago    Ox6c8984...Ea269ecA LD              IN    tankbottoms.eth   [,D    ERC-721      @)      NFT: Project Highrise


                                                                                                                                                           8-ball Pandas #2194

                                                                                                                                                  ~
       @       Ox05b48d4a1 3a83076 ...      315 days 9 hrs ago     Oxb354f1...C5Def291 LD              IN    tankbottoms.eth   [,D    ERC-1155
                                                                                                                                                           NFT: Lucky BballPandas


                                                                                                                                                           NFT: Bully Apes Flyer · M ...
       @       Ox4f273fa284f7244d2...       318 days 10 hrs ago    Ox701978... fCb43A61 LD             IN    tankbottoms.eth   cD     ERC-721      @)      NFT: Bully Apes Flyer - Mo...


                                                                                                                                                           NFT: Bully Apes Flyer - M ...
       @       Oxcbda90ad 8c2bb07b...       318 days 11 hrs ago    OX701978...fCb43A61 LD              IN    tankbottoms.eth   c.D    ERC-721      @)      NFT: Bully Apes Flyer- Mo...


                                                                                                                                                           NFT: Shinsekai Warriors#...
                                                                                             (9                                [.D                 @)

                                                                                                                                                  .,
       @       Ox7b680db4f01 Ob20f0 ...     3 18 days 13 hrs ago   Oxbfl B7B...8391 EFBe               IN    tankbottoms.eth          ERC-1155
                                                                                                                                                           NFT: Shinsekai Warriors


                                                                                                                                                           #8129
       @       Oxf5d1 d40c35e8f1 Oa9...     319 days 7 hrs ago     Null: Ox000 ...000   (9             IN    tankbottoms.eth   LD     ERC-721
                                                                                                                                                           Moonbirds Oddities 0


                                                                                                                                                           NFT*#71775
       @       Ox2a40547d8b5ed4bcf...       320 days 9 hrs ago     0   Mutant Ape Yacht Club ... LD    IN    tankbottoms.eth   cD     ERC-721      @)      NFT*


                                                                                                                                                           Uniswap- 0.3%- MEOW/...
       @       Oxl 23f017c5ea45acaf...      321 days 18 hrs ago    Null: Ox000...000 (9                IN    tankbottoms.eth   [,D    ERC-721
                                                                                                                                                           Uniswap V3: Positions NFT       0

                                                                                                                                                           NFT: Unicorns#102
       @       Oxb8a789426826a137...        323 days 16 hrs ago    Ox959a7L Daf87f79 LD                IN    tankbottoms.eth   [,D    ERC-1 155    @)      NFT: Unicorns


       @       Oxc03a60da3c1 fc8502...      323 days 17 hrs ago    OxAE72eb...Cf4783F2 [.D             IN    tankbottoms.eth   [,D    ERC-1155             Alpha Betty Doodle #31
                                                                                                                                                            PLAINTIFF0001359
htlps://elherscan .io/nfl- translers?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                                    1/7
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      ®      Oxa54bca5846e98f61 L       325 days 22 hrs ago    § ENS: ETH Registrar Co...         19   IN     tankbottoms.eth   tD       ERC-721
                                                                                                                                                          Ill    bannyverse.eth
                                                                                                                                                                 Ethereum Name Service 0


                                                                                                                                                                 NFT: The Mclaren NFT#S ...
      ®      Ox44bee7d09bd140e8 ...     326 days 17 hrs ago    OxD15520 ... aC5ae834 c,0               IN     tankbottoms.eth   tD       ERC-1 155         @     NFT: The McLaren NFT


                                                                                                                                                                 NFT: Legend#705
      ®      Ox3c509681046c9bb5...      327 days 13 hrs ago    OxBc01 B7... d43179dl        c,0        IN     tankbottoms.eth   tD       ERC-1 155         @)    NFT: Legend


                                                                                                                                                                 Alpha Tear
      ®      Oxf2ae52bca91 b34e3c ...   327 days 21 hrs ago    B   Oxa9248a ... 06ffd2e2 LO            IN     tankbonoms.eth    tD       ERC-1155    x2
                                                                                                                                                                 NFT



      @      Oxf2ae52bca91 b34e3c ...   327 days 21 hrs ago     Null: Ox000 ...000 c,0                 IN     tankbottoms.eth   tD       ERC-721          D      LAYERS #403
                                                                                                                                                                 NFT: Layers


      @      Oxf2ae52bca91 b34e3c...    327 days 21 hrs ago     Null: Ox000 ...000 [,O                 IN     tankbonoms.eth    tD       ERC-721
                                                                                                                                                          D      LAYERS #404
                                                                                                                                                                 NFT: Layers



      ®      Ox09163bc247132146 ...     328 days 3 hrs ago       tankbottoms.eth      LO               OUT   battlemagebullock.eth LO    ERC-721
                                                                                                                                                          II     Nia Chainsaw of Light
                                                                                                                                                                 ForgottenRuneswarriorsG...


                                                                                                                                                                 NFT#1
      @      Oxd43d7d9ae2f26a257 ...    328 days 14 hrs ago     Null: Ox000 ... 000 LO                 IN     tankbottoms.eth   tD       ERC-1155    x2    @)    NFT



      ®      Ox407e92e6187b4406...      328 days 14 hrs ago     Null: Ox000 ...000 c,O                 IN     tankbottoms.eth   tD       ERC-721
                                                                                                                                                          II     Nia Chainsaw of Light
                                                                                                                                                                 ForgottenRunesWarriorsG ...


                                                                                                                                                                 NFT: Meows(DAO) Genes...
      ®      Oxf4b77be19a5dd7731 ...    328 days 15 hrs ag,J   meowsdao.eth [.O                        IN     tankbottoms.eth   tD       ERC-721           @)    NFT: Meows(DAO) Genesi ...


                                                                                                                                                                 NFT: Juicebox Projects#2
      @      Oxce2d87d4b04eb6f6b...     329 days 21 hrs ago     Null: Ox000 ... 000   19               IN     tankbottoms.eth   tD       ERC-721           @     NFT: Juicebox ProJects


                                                                                                                                                                 NFT*#4989
      @      Ox7d6f81392831 e3c03 ...   330 days 21 hrs ago     Null: Ox000 ... 000 c:..O              IN     tankbottoms.eth   c:..D    ERC-721           @)    NFT*


                                                                                                                                                                 Toy Boogers #340
      @      Oxe870e32f3652f940a...     332 days 17 hrs ago    OxE16810... e2c2C4b1 c,0                IN     tankbottoms.eth   r.P      ERC-1 155
                                                                                                                                                           if    NFT: The Toy Boogers


                                                                                                                                                                 NFT*#36323
      ®      Oxdf528aea8d5cfbd04 ...    333 days 2 hrs ago      Null: Ox000 ...000 c,0                 IN     tankbottoms.eth   tD       ERC-721           @)    NFT* A


                                                                                                                                                                 Sunbirds Free
      ®      Oxeaaef675cfdc6de70...     334 days 3 hrs ago      Null: Ox000 ...000 LO                  IN     tankbottoms.eth   r.P      ERC-721
                                                                                                                                                                 NFT* A


                                                                                                                                                                  PLAINTIFF0001360
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                                                                                                                                                    World #165
      @      Ox4c512d6331 abcb59 ...    334 days 1O hrs ago    OxD1278b...82EA19d1 L□          IN    tankbottoms.eth   c..D    ERC-1 155
                                                                                                                                                    NFT: TheManWhoSoldThe...


                                                                                                                                                    NFT: Kuroki Nft#21941
      @      Oxb119de583006c591 ...     335 days 1 hr ago      Null: Ox000 ...000 L□           IN    tankbottoms.eth   [..D    ERC-721         @)   NFT: Kuroki Nft



      @      Ox3aa5ab4117edb187 ...     335 days 11 hrs ago    Ox783DBL614A280e Lo             IN    tankbottoms.eth   [..D    ERC-1 155
                                                                                                                                               a    Fly Frog #16
                                                                                                                                                    NFT: FlyFrogs


                                                                                                                                                    Kuroki Nft#24959
      @      Oxcafbdf61 b7193927b...    336 days 8 hrs ago     Null: Ox000 ...000 L□           IN    tankbottoms.eth   [..D    ERC-721         @)   Kuroki Nit


                                                                                                                                                    NFT: ZED RUN#289
      @      Ox812758aed84fd7109 ...    336 days 18 hrs ago    Ox345296. .. 1 OBDC571 c,O      IN    tankbottoms.eth   [..D    ERC-1 155       @)   NFT:ZED RUN


                                                                                                                                           •        PREMINT Collector Pass
      @      Oxbb4829bb07345a67...      337 days 12 hrs ago    OxOEC666... 21 4939ed      (9   IN    tankbottoms.eth   [..D    ERC-721
                                                                                                                                                    PREM INT Collector 0


                                                                                                                                                    Monster Suit#2125
      @      Ox30a96774e3d489ee...      339 days 17 hrs ago    Null: Ox000 ... 000 c,O         IN    tankbottoms.eth   c..D    ERC-721         @)   Monster SUit 0


                                                                                                                                                    Monster Suit#2126
      @      Ox30a96774e3d489ee...      339 days 17 hrs ago    Null: Ox000 ...000 L□           IN    tankbottoms.eth   [..D    ERC-721         @)   Monster SUit 0


                                                                                                                                                    Monster Suit#2127
      @      Ox30a96774e3d489ee...      339 days 17 hrs ago                  ooo
                                                               Null: OxOOO ___       L□        IN    tankbottoms.eth   cP      ERC-721         @)   Monster SUit 0


                                                                                                                                                    Monster Suit#2124
      @      Ox30a96774e3d489ee...      339 days 17 hrs ago    Null: OxOOO ___OOO    (9        IN    tankbottoms.eth   [..D    ERC-721         @)   Monster SUit 0


                                                                                                                                                    NFT*#77068
      @      Ox0bef46fc9cc30684c...     339 days 19 hrs ago    0   OxE786b5...C7b7b148 L□      IN    tankbottoms.eth   cP      ERC-721         @)   NFT* A



      @      Oxe95a70af3f3a9c5a2...     339 days 23 hrs ag-o   0   Gem: GemSwap 2 L□           IN    tankbottoms.eth   [..D    ERC-721     ■ Otherdeed#77068
                                                                                                                                                    Otherdeed0


                                                                                                                                                    Goat Soup #3672
      @      Ox 7e825051 c8e78237...    340 days 19 hrs ag,o   Oxl 43408... FA040530 c,O       IN    tankbottoms.eth   [..D    ERc-721
                                                                                                                                                    GoatSoup 0


                                                                                                                                                    NFT: Four Letter Words#...
      @      Ox453cb124e4d7c196 ...     341 days 20 hrs ago    Null: Ox000...000 [.O           IN    tankbottoms.eth   [..D    ERC-721         @    NFT: Four Letter Words


                                                                                                                                                    NFT: Four Letter Words# ...
      @      Ox453cb124e4d7c196...      341 days 20 hrs ago    Null: Ox000 ... 000   (9        IN    tankbottoms.eth   cP      ERC-721         @    NFT: Four Letter Words



      @      Oxel 36693b57a77a97 ...    343 days 14 hrs ago    Ox386286...823203d5        (9   IN    tankbottoms.eth   [..D    ERC-1155    ■        PolarBear
                                                                                                                                                    NFT: CryptoPolarBear

                                                                                                                                                     PLAINTIFF0001361
htlps://elherscan .io/nfl- transfers?a=Ox5d95baEBB8412AD827287240A5c281 E3bB30d27E                                                                                                3/7
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              Oxa03463af877e61 b75 ...   344 days 1 hr ago      0    OxE090D1...B6B04c45 [.O          tankbottoms.eth    [.D
       @                                                                                       IN                                      ERC-721
                                                                                                                                                  Fi       Moonbirds 0


                                                                                                                                                           Rounded Cubie Pink Bunny
       @      Ox3a4828c1 b4d5818b...     344 days 10 hr s ago   Ox73856d... 30d79 E48 [.D      IN     tankbottoms.eth    [.D           ERC-1155
                                                                                                                                                           OpenSea Shared Storefront 0




                                                                                                                                                  A
                                                                                                                                                           #8129
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       @      Oxb04d4684b9c0f0428...     344 days 22 hrs ag-J       tankbottoms.eth   [.O      OUT        OxE090D1 ... B6B04c45 [.D    ERC-721
                                                                                                                                                           Moonbirds 0


                                                                                                                                                           Ups ide-<lown M oonbird N...
                                                                                                     0                         c9

                                                                                                                                                  ~,
       @      Oxa68b65abd5530a6a ...     346 days 16 hrs ago        tankbottoms.eth   (9       OUT        Foundation: Market           ERC-721
                                                                                                                                                    ~      NFT: BOTTOMS


                                                                                                                                                           Upside-<lown M oonbird N...
       @      Ox5fd2f9ed0e3a464e1 ...    346 days 16 hrs ago    Null: Ox000 ...000    (9       IN     tankbottoms.eth    [.D           ERC-721
                                                                                                                                                    ff     NFT: BOTTOMS



       @      Ox24d3cd917afd0cf50 ...    346 days 22 hrs ago    Null: Ox000 ... 000   (9       IN     tankbottoms.eth    [.D           ERC-721
                                                                                                                                                   .   .   Ascended Ape No. 1804
                                                                                                                                                           NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0&#3...
       @      Ox24d3cd917efd0cf50 ...    346 days 22 hrs ago    Null: Ox000 ...000 [.O         IN     tankbottoms.eth    [.D           ERC-721     @)      NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0&#3...
       @      Ox24d3cd917afd0cf50...     346 days 22 hrs ago    Null: Ox000 ...000 [.O         IN     tankbottoms.eth    [.D           ERC-721     @)      NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0&#3...
       @      Ox24d3cd917afd0cf50 ...    346 days 22 hr s ago   Null: Ox000 ...000 [.O         IN     tankbottoms.eth    cP            ERC-721     @)      NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0&#3 ...
       @      Ox24d3cd917afd0cf50.       346 days 22 hr s ago   Null: Ox000...000     (9       IN     tankbonoms.eth     [.D           ERC-721     r@)     NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0&#3...
       @      Ox24d3cd917afd0cf50...     346 days 22 hr s ago   Null: Ox000 ...000 [.O         IN     tankbottoms.eth    cP            ERC-721     @)      NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0 &#3 ...
       @      Ox24d3cd917afd0cf50...     346 days 22 hrs ag,J   Null: Ox000...000 [.D          IN     tankbonoms.eth     [.D           ERC-721
                                                                                                                                                   @)      NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movgm,mt DA 0&#3...
       @      Ox24d3cd917afd0cf50...     346 days 22 hrs ag,J   Null: Ox000 ...000 (9          IN     tankbottoms.eth    [.D           ERc-721     @)      NFT: Movement DA0&/139;...


                                                                                                                                                           NFT: Movement DA0&#3 ...
       @      Ox24d3cd917afd0cf50 ...    346 days 22 hrs ago    Null: Ox000...000 [.O          IN     tankbottoms.eth    [.D           ERC-721     (@)     NFT: Movement DA0&/139;...



       @      Ox24d3cd917afd0cf50 ...    346 days 22 hrs ago    Null: Ox000 ...000    (9       IN     tankbottoms.eth    [.D           ERC-721      •\.') Ascended Ape No. 1800
                                                                                                                                                           NFT: Movement DA0&#39;...


                                                                                                                                                           dsintermediatd.eth
       @      Oxeefa9568ebcl 56344...    346 days 22 hrs ago        tankbottoms.eth   (9       WT    dsinterm ediatd.eth (9            ERC-721
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      @      Ox812b3d80045ce16c.__     346 days 22 hrs ago    Ox3c3338___18996068         (9          IN     tankbottoms_eth      [..!)    ERC-721
                                                                                                                                                     w.,-
                                                                                                                                                      ~-1,
                                                                                                                                                                 Mind The Gap #787
                                                                                                                                                     ..-1,1·     NFT: Mind the Gap by Mou...


                                                                                                                                                                 NFT: Slice Genesis#4
      @      Ox14c2e30f3a347eddc_.,    346 days 23 hrs ago    Null: OxOOO. __ ooo   c.O               IN     tankbottoms.eth      c.D      ERC-721       @)      NFT: Slice Genesis



      @      Oxda6ca79cbd3c09c8 ...    350 days 12 hrs ag-J   Null: OxOOO ___ ooo   c.□               IN     tankbottoms_eth      c.D      ERC-721
                                                                                                                                                         I       Uniswap - 0.3% - cDAI/WE...
                                                                                                                                                                 Uniswap V3: Positions NFT   0

                                                                                                                                                                 NFT: Slice Genesis#24
      @      Ox5465e7199fb064f53 ...   351 days 5 hrs ago     Null: Ox000 ... 000 c.□                 IN     tankbottoms.eth      c.D      ERC-721       @J      NFT: Slice Genesis


                                                                                                                                                                 Neolastics#7575539719...
      @      Ox3834fd498h74a0787...    351 days 11 hrs ago        tankbottoms.eth   (9                OUT   Null: Ox000 ...000    (9       ERC-721       @)      Neolasties



      @      Ox32f71 f11eda0a7d72...   351 days 11 hrs ago    0    ENS: ETH Registrar Co...      (9   IN     tankbottoms.eth      c,D      ERC-721
                                                                                                                                                     ■           dsintermediatd.eth
                                                                                                                                                                 Ethereum Name Seivice 0


                                                                                                                                                                 Happy Happy Happy NOT...
      @      Oxcb6 792b2184f4eced...   351 days 14 hrs ago    0    OxaC587a ... 1D1d3142 L□           IN     tankbottoms.eth      c.D      ERC-721
                                                                                                                                                                 CryptoKitties 0


                                                                                                                                                                 Freckle Fart
      @      Oxa0d594aa2dadf7918 ...   351 days 14 hrs ago    0    OxaC587a ... 1D1d3142 c.D          IN     tankbottoms.eth      c,D      ERC-721       :'},
                                                                                                                                                         .t~     CryptoKitties 0


      @      Ox0650b5c045c5c6c9. _     351 days 14 hrs ago    0    OxaC587a___l D1d3142 (9            IN     tankbottoms_eth      c9       ERC-721
                                                                                                                                                         .,.,,   Natashinka's Pussy
                                                                                                                                                                 CryptoKitties 0


                                                                                                                                                                 Pankina's Pussy
      @      Ox5e36cc1086bc3f209_.     351 days 14 hrs ago    0    OxaC587a___1D1d3142 (9             IN     tankbottoms.eth      c.D      ERC-721
                                                                                                                                                         Ci      CryptoKltties 0


                                                                                                                                                         ,.,     Mr. Noodles
      @      Oxd3a21 al 45c13309e_.,   351 days 14 hrs ago    0    OxaC587a ... 1 D1 d3142 c.D        IN     tankbottoms_eth      c9       ERC-721
                                                                                                                                                         L..     CryptoKitties 0


                                                                                                                                                                 mannys.game#905
      @      Oxb4bf96e185c2c12de ...   351 days 18 hrs ag-J   nftdumbshit.eth c.D                     IN     tankbottoms.eth      c,D      ERC-721
                                                                                                                                                         @)      mannys.game


                                                                                                                                                                 Crypt0Kitti0s#1662655
      ©      Oxb92853853e359cfb7 ...   351 days 18 hrs ag,J       tankbottoms.eth   [,D               OUT   nnnnicholas.eth [,D            ERC-721       @)      CryptoKitties 0


                                                                                                                                                     ~ Neolastic Ox21605a8613 ___
      ©      Oxd47da61 f0a3564b36...   352 days 12 hrs ago        tankbottoms.eth   c9                001   Null: Ox000 ... 000   (9       ERC-721
                                                                                                                                                                 Neolasties


      @      Ox63fe3df64ed6a8997 ...   352 days 13 hrs ago    kiruazoldik.eth [,D                     IN     tankbottoms.eth      c,D      ERC-721   •           gm.31
                                                                                                                                                                 gmDAO Token V2 0


                                                                                                                                                                 Plasticity #129
      ©      Ox3c6f1cd118e02d4e6...    352 days 17 hrs ago    plumgod.eth [,D                         IN     tankbottoms.eth      c,D      ERC-721
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       @       Oxa43f1 fa008b2ac8ee...    353 days 22 hrs ago     Null: Ox000 ...000    Lo        IN    tankbottoms.eth   [..[)    ERC-721
                                                                                                                                                    NFT: Peace DAO Movement


                                                                                                                                                    Peace No. 1
       @       Oxa43f1 fa008b2ac8ee ...   353 days 22 hr s ago    Null: Ox000 ...000    (9        IN    tankbottoms.eth   [.D      ERC-721
                                                                                                                                                    NFT: Peace DAO Movement


                                                                                                                                                    Peace No. 6
       @       Oxa43f1 fa008b2ac8ee...    353 days 22 hr s ag-J   Null: Ox000 ...000    (9        IN    tankbottoms.eth   c.D      ERC-721
                                                                                                                                                    NFT: Peace DAO Movement


                                                                                                                                                    Peace No. 109
       @       Ox70eaaa6409364e03 ...     353 days 23 hrs ago     Null: Ox000 ... 000 [.O         IN    tankbottoms.eth   c.D      ERC-721
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       @       Oxf6c035afeea1 Sedec...    353 days 23 hrs ago     Null: Ox000 ... 000   (9        IN    tankbottoms.eth   c.D      ERC-721    @)    NFT: Peace DAO Movement


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       @       Oxf6c035afeea1 Sedec...    353 days 23 hrs ag•J    Null: Ox000 ... 000   (9        IN    tankbottoms.eth   c.D      ERC-721    @     NFT: Peace DAO Movement


                                                                                                                                                    NFT: Peace DAO Movem e ...
       @       Oxf6c035afeea1 Sedec...    353 days 23 hrs ago     Null: Ox000 ... 000 [.O         IN    tankbottoms.eth   c.D      ERC-721    @)    NFT: Peace DAO Movement


                                                                                                                                                    Skate or DA0#358
       @       Oxf7ac1 d899280eaaf5...    354 days 1 hr ago       0   Ox465a67 ...0790071 b [.O   IN    tankbottoms.eth   c.D      ERC-721    @     Skate or DAO 0


       @       Ox3454c311 bd0665ec ...    354 days 5 hrs ago      Null: Ox000 ...000    (9        IN    tankbottoms.eth   [..[)    ERC-721
                                                                                                                                             Iii    Blockhead #3978
                                                                                                                                                    Blockheads 0




                                                                                                                                             ~
                                                                                                                                                    Blockhead #3975
       @       Ox3454c31 l bd0665ec...    354 days 5 hrs ago      Null: Ox000 ...000    (9        IN    tankbottoms.eth   c.D      ERC-721
                                                                                                                                                    Blockheads 0


                                                                                                                                                    Blockhead #3976
       @       Ox3454c31 l bd0665ec...    354 days 5 hrs ago      Null: Ox000 ...000 c.O          IN    tankbottoms.eth   [..[)    ERC-721
                                                                                                                                                    Blockheads 0



       @       Ox34 54c311 bd0665ec...    354 days 5 hrs ago      Null: Ox000 ...000 [.O          IN    tankbonoms.eth    [.D      ERC-721
                                                                                                                                             II     Blockh ead #3977
                                                                                                                                                    Blockheads 0


       @       Ox3454c311 bd0665ec...     354 days 5 hrs ago      Null: Ox000 ... 000   (9        IN    tankbottoms.eth   [.D      ERc-721
                                                                                                                                             Ill    Blockhead #3974
                                                                                                                                                    Blockheads 0


                                                                                                                                                    Skate or DA0#355
       @       Ox39cb4bc22e52204a...      354 days 13 hrs ago     B   Ox465a67 ...07 90071b [.O   IN    tankbottoms.eth   c.D      ERC-721    @)    Skate or DAO 0


                                                                                                                                                    NFT: Peace DAO Moveme ...
       @       Oxc0b8d89e517d2d60 ...     354 days 14 hrs ago     Null: Ox000 ... 000   (9        IN    tankbottoms.eth   [..[)    ERC-721    @     NFT: Peace DAO Movement


                                                                                                                                                    Distortion #19
       @       Oxc0b8d89e517d2d60 ...     354 days 14 hrs ago     Null: Ox000 ... 000   (9        IN    tankbottoms.eth   c.D      ERC-721
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      @      Oxc0b8d89e517d2d60 ...         354 days 14 hrs ago        Null: Ox000...000 [.O     IN    tankbottoms.eth    [.O     ERC-721    @l    NFT: Peace DAO Movement


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      @      Oxc0b8d89e517d2d60...          354 days 14 hrs ago        Null: Ox000 ...000   (9   IN    tankbottoms.eth    [.O     ERC-721    r@)   NFT: Peace DAO Movement


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      @      Oxc0b8d89e517d2d60 ...         354 days 14 hrs ago        Null: Ox000...000    (9   IN    tankbottoms.eth    c.□     ERc-721    [@J   NFT: Peace DAO MuV~lll~l~L



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      @      Oxc0b8d89e517d2d60 ...         354 days 14 hrs ago        Null: Ox000...000 c.O     IN    tankbottoms.eth    c9      ERC-721    r@J   NFT: Peace DAO Movement


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      @      Oxc0b8d89e517d2d60 ...         354 days 14 hrs ago        Null: Ox000...000 LO      IN    tankbottoms.eth    [.O     ERC-721    @)    NFT: Peace DAO Movement


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      @      Oxc0b8d89e517d2d60...          354 days 14 hrs ago        Null: Ox000...000 Lo      IN    t ankbottoms.eth   LO      ERC-721    @l    NFT: Peace DAO Movement


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      @      Oxc0b8d89e517d2d60...          354 days 14 hrs ago        Null: Ox000...000 LO      IN    tankbottoms.eth    c9      ERC-721    @)    NFT: Peace DAO Movement


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      @      Oxc0b8d89e51 7d2d60...         354 days 14 hrs ago        Null: Ox000...000    (9   IN    tankbottoms.eth    c9      ERC-721
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      @      OxcOb8d89e517d2d60 ...          354 days 14 hrs ago       Null: Ox000 ...000    c9    IN    tankbottoms.eth   c.□    ERc-721    [@J    NFT: Pect(."e DAO Muv~111~r'1L


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      @      Oxc0b8d89e517d2d60 ...          354 days 14 hrs ago       Null: Ox000 ...000 c.□      IN    tankbottoms.eth   c9     ERC-721
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      @      Oxc0b8d89e517d2d60 ...          354 days 14 hrs ago       Null: Ox000 ...000 [.O      IN    tankbottoms.eth   [.O    ERC-721    r@)    NFT: Peace DAO Movement


      @      Oxl 5cad9d61t76b25c3...         354 days 17 hrs ago       Oxc66376...534c4d03 c.□     IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                            A       #8129
                                                                                                                                                   Moonbirds0


                                                                                                                                                    Quilt #39
      @      Ox86300c8c086755a4...           355 days 6 hrs ago        Ox92E7FA... 6fa1571 3 [.D   IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                             II     Quilts0



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      @        Ox3be7ad684757bf3f3...         355 days 7 hrs ago    Null: Ox000...000 c□          IN    tankbottoms.eth   c□     ERC-721        @)    NFT: Pixelations




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      @        Oxffa3f355b5d3382f26...        355 days 10 hrs ago   thenftdegen.eth c.□                 tankbottoms.eth   c□     ERC-721
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      @        Ox3c2b65b6f48812cf5...         355 days 16 hrs ago   0   Ox465a67 ...0790071b c□         tankbonoms.eth    c□     ERC-721
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      @        Ox64dda0cae57a56f79...         355 days 18 hrs ago   0   Ox465a67...0790071b c□    IN    tankbottoms.eth   c.□    ERC-721
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                                                                                                                                                      Skate or DA0#342
      @        Ox224a84c8a 135e0ac...         356 days 1 hr ago     0   Ox465a67..0790071b c□     IN    tankbottoms.eth   c□     ERC-721        @)    Skate or DAO 0


                                                                                                                                            •         Watchface0-7-10-0
      @        Oxc470bb7a652c0d56...          356 days 13 hrs ago   Null: Ox000...000 @           IN    tankbottoms.eth   c.□    ERC-721
                                                                                                                                                      NFT: Watchfaces


                                                                                                                                                      Tiny Kingdoms#902
      @        Ox73ee58352626e435 ...         357 days 5 hrs ago    thehotbox.eth c□              IN    tankbottoms.eth   @      ERC-721        @)    Tiny Kingdoms


                                                                                                                                                      NFT: Claves Angelicae#1...
      @        Ox06474ce2ab7b3cea ...         357 days 22 hrs ago   Null: Ox000 ...000 c□         IN    tankbottoms.eth   @      ERC-721        @)    NFT: Claves Angelicae


                                                                                                                                                      NODES #1 194
      ©        Oxc8195eff39471980e...         358 days 6 hrs ago    randomi.eth @                 IN    tankbottoms.eth   @      ERC-721
                                                                                                                                                      NFT: NODES


      @        Ox2a 7e66debbad13b2...         358 days 6 hrs ago    Null: Ox000...000 c□          IN    tankbottoms.eth   @      ERC-721        7 · Clock
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                                                                                                                                                      Arpeggi Studio Pass #307
      @        Ox3e5d63b83b3b1987 ...         358 days 7 hrs ago    Ox9A837B...OeC12978 c.□       IN    tankbottoms.eth   [.D    ERC-721
                                                                                                                                                      Arpeggl Genesis Studio Pa ...


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      @        Ox842fcb53e1bba35f3 ...        358 days 7 hrs ago    Null: oxooo...ooo c□          IN    tankbottoms.eth   [.D    ERC-1155       @)    NFT: Quasars


      @        Ox842fcb53e1 bba35f3 ...       358 days 7 hrs ago    Null: Ox000...000 c□          IN    tankbottoms.eth   [.D    ERC-1155             NFT: Quasars#358
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      @      Ox842fcb53e1bba35f3 ...      358 days 7 hrs ago        Null: Ox000 ...000    (9       IN     tankbottoms.eth   (9     ERC-1155       @)     NFT: Quasars


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      @      Ox842fcb53e1bba35f3 ...      358 days 7 hrs ago        Null: Ox000 ...000 (.0         IN     tankbottoms.eth   (.0    ERC-1155       (@)    NFT: Quctsar~



      @      Ox4022757eb14ea8f 9b...      358 days 10 hrs ago           tankbottoms.eth   c:9      OUT   nnnnicholas.eth (.0       ERC-721
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      @      Ox58fcf267c4c395576 ..       358 days 11 hrs ago       Null: Ox000...000 (.0          IN     tankbottoms.eth   (.0    ERC-721
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                                                                                                                                                         Stranger # 1 53
      @      Ox58fcf267c4c395576 ...      358 days 11 hrs ago       Null: Ox000 ...000 La          IN     tankbottoms.eth   (9     ERC-721
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      @      Ox692804cd26eb33d0 ...       358 days 11 hrs ago       0    Ox6a67c6...0009592f (.0   IN     tankbottoms.eth   (.0    ERC-721
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                                                                                                                                                         NFT: Hypnotica #197
      @      Ox7c2536d2f76828985...       358 days 16 hrs ago       Null: Ox000 ...000 (.0         IN     tankbottoms.eth   (9     ERC-721
                                                                                                                                                  @)     NFT: Hypnotica


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      @      Ox7c2536d2f76828985...       358 days 16 hrs ago       Null: Ox000...000 (.0          IN     tankbottoms.eth   (.0    ERC-721        (@)    NFT: Hypnotica


                                                                                                                                                         NFT: Hypnotica #198
      @      Ox7c2536d2f76828985...       358 days 16 hrs ago       Null: Ox000...000 (.0          IN     tankbottoms.eth   (.0    ERC-721        @      NFT: Hypnotica


                                                                                                                                                         NFT: Hypnotica #199
      @      Ox7c2536d2f76828985...       358 days 16 hrs ago       Null: Ox000 ...000 (.0         IN     tankbottoms.eth   (.0    ERC-721        @)     NFT: Hypnotica


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      @      Ox7c2536d2f76828985...       358 days 16 hrs ago       Null: Ox000 ...000 L□          IN     tankbottoms.eth   L□     ERC-721        (@)    NFT: Hypnotica


                                                                                                                                                         Bridge #610
      @      Ox4e3ab083dce 1958c...       359 days 2 hrs ago        Null: Ox000 ...000 LO          IN     tankbottoms.eth   L□     ERC-721
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      @      Oxd 5fd2e36e3e5f4566 ...     359 days 2 hrs ago        Null: Ox000... 000    (9       IN     tankbonoms.eth    L□     ERC-721        (@)    NFT: Bridges


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      @      Ox33068d8375fe65521 ...      359 days 2 hrs ago        Null: Ox000...000 L□           IN     tankbottoms.eth   L□     ERC-721        @)     NFT: Bridges


      @      Ox63011 f2d9065b694...       359 days 2 hrs ago        Null: Ox000...000 L□           IN     tankbonoms.eth    L□     ERC-721               NFT: Bridges#590
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      @      Ox0674beaff75a163fd...      359 days 19 hrs ago       bizzler.eth t.D                        IN    tankbottoms.eth   t.D    ERC-721
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      @      Ox7bef39bdfe7784241 ...     359 days 21 hrs ago       Null:   oxooo...ooo c9                 IN    tankbottoms.eth   c9     ERC-721       r@J       NFT: Bridges



      @      Ox7112d9cae5555bOd ...      360 days 11 hrs ago       0   Ox6a67c6 ...0009592f t.D           IN    tankbottoms.eth   t.D    ERC-721
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      @      Ox7112d9cae5555b0d ...      360 days 11 hrs ago       0   Ox6a67c6 ...0009592f t.D           IN    tankbottoms.eth   t.D    ERC-721
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      @      Ox6a8851e0c47ac620 ...      360 days 11 hrs ago       0   Ox6a67c6...0009592f t.D            IN    tankbottoms.eth   t.D    ERC-721
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      @      Ox6a8851 e0c47ac620 . .     360 days 11 hrs ago       0   Ox6a67c6..0009592f t.D             IN    tankbottoms.eth   c9     ERC-721
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      @      Ox8e044588a13c6976...       361 days 46 mi ns ago     0   Creepz: Invasion Groun...    c9    IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                                                 Repti le Armoury


                                                                                                                                                                 Reptile Armoury #17375
      @      Ox8e044588a13c6976...       361 days 46 m ins ago     0   Creepz: Invasion Groun...    c9    IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                                 Reptile Armoury


                                                                                                                                                                 Reptile Armoury #631
      @      Ox8e044588a 13c6976...      361 days 46 m i ns ago    0   Creepz: Invasion Groun ...   c9    IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                                                 Reptile Armou,y


                                                                                                                                                                 Reptile Armoury #632
      @      Ox8e044588a 13c6976...      361 days 46 mins ago      0   Creepz: Invasion Groun ... t.D     IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                                                 Reptile Armoury


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      @      Ox8e044588a 13c6976...      361 days 46 m ins ago     0   Creepz: Invasion Groun... t.D      IN    tankbottoms.eth   t.D    ERC-721
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      @      Oxlb803194824c5729 ...      361 days 1 hr ago         0   Creepz: Invasion Groun... t.D      IN    tankbottoms.eth   t.D    ERC-721
                                                                                                                                                       1         Cold Blooded Creepz #62...
                                                                                                                                                                 Cold Blooded Creepz 0


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                                                                   0   Creepz: Invasion Groun... t.D                              t.D
      @      Ox 1b803194824c5729...      361 days 1 hr ago                                                      tankbottoms.eth          ERC-721
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      @      Oxa4bead3cc2f5bf93e ...     364 days 4 hrs ago        sirsmokealot.eth    c9                 IN    tankbonoms.eth    t.D    ERC-721
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      @      Ox6a7d3884c92dc474 ...      366 days 2 hrs ago        0   ENS: ETH Registrar Co...     t.D   IN    tankbottoms.eth   t.D    ERC-721
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      @      Oxd0c00f9c8586738b7 ...     366 days 2 hrs ago        0   ENS: ETH Registrar Co..      t.D         tankbottoms.eth   t.D    ERC-721                 oneoffoundation.eth
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      ®      Oxl ee7d5a927c25be5...       366 days 9 hrs ago        0   Foundation: Ma rket       @   IN    tankbottoms.eth   @     ERC-721
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      ®      Ox0e2f363195efcdb63 ...      366 days 21 hrs ago       Null: Ox000 ...000 LO                   tankbottoms.eth   @     ERC-721         @)     NFT: Watchfaces



      ®      Oxf0c6dd970240d0623...       367 days 1 5 hrs ago      OxC82eFb...7c8a4124           @   IN    tankbottoms.eth   LO    ERC-721     ■          Bag#2978
                                                                                                                                                           Loot


                                                                                                                                                           NFT: Tiles#275
      ®      Ox254ad519d0126157 ...       367 days 15 hrs ago       antonuoci.eth LO                  IN    tankbottoms.eth   LO    ERC-721
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      <li>   Ox0e8dce818f7338ce1 ..,      367 days 16 hrs ago       epiking .eth LO                   IN    tankbottoms.eth   LO    ERC-721
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      <li>   Ox5513933e5f2c1ba51 ...      367 days 16 hrs ago       •ne<1y2222reeii.eth       @       IN    tankbottoms.eth   LO    ERC-721         @)     OKPC


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      ®      Oxel 1881 fdad5989064...     367 days 16 hrs ago       Ox27be56...1AFf4A77       c9            tankbottoms.eth   LO    ERC-721         @)     ShadowQuest



      ®      Oxl 1c2f139a76ace32a...      372 days 5 hrs ago        Null:   oxooo...ooo   @           IN    tankbottoms.eth   @     ERC-721
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      ®      Oxef0e012b8e16855d9-.        372 days 18 hrs ago       venoras.eth LO                    IN    tankbottoms.eth   LO    ERC-721
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                                                                                                                                                           NFT: Hypercastle Explorers



      ®      Oxa1 f58bd0cl 25a1d86...     373 days 47 mins ago      Null: Ox000 ...000    @           IN    tankbottoms.eth   LO    ERC-1 155
                                                                                                                                                a          Quasar#208
                                                                                                                                                           NFT: Quasars



      @      Ox689895bfte50d8deb...       373 days 59 mins ago      sekeret e.eth LO                  IN    tankbottoms.eth   @     ERC-721
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                                                                                                                                                           Distortion



      @      Ox2039el dDc3f602546...      373 days 1 hr ago         Ox820DAa... 14a3DOA1 LO           IN    tankbottoms.eth   LO    ERc-721     ■          Distortion #1019
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      @      Ox3cd2fcba3546f14b2...       373 days 6 hrs ago        NulL Ox000 ...000 LO              IN    tankbottoms.eth   LO    ERC-721         ," I
                                                                                                                                                    '"'    NFT: CryptOrchids


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      @      Ox9e2076efbe4fe2728 ...      373 days 7 hrs ago        mont ereyjack3d.eth LO            IN    tankbottoms.eth   LO    ERC-721
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      @      Ox6b33d996da6e36ea...        373 days 18 hrs ago                                         IN    tankbottoms.eth   LO    ERC-721
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        @       Oxl 04e8df2a90ca989c ...      37 4 days 11 hrs ago   liked.eth   [9                        IN     tankbon oms.eth   L□    ERC-721      @)        Neolastics


                                                                                                                                                      ~ Neolastic Ox9c1d038e15...
       @        Oxe4edc1501 Oa00e1 e...       37 4 days 11 hrs ago       tankbonoms.eth    c,□             OUT   Null: Ox000...000 L□     ERC-721
                                                                                                                                                                 Neolastics


                                                                                                                                                      ~ Neolastic Ox9c1d038e15...
       @        Oxl e03fc21 cd6ccd935...      37 4 days 11 hrs ago   boredrobot.eth L□                            tankbonoms.eth    L□    ERC-721
                                                                                                                                                                 Neolastics




                                                                                                                                                      ,~
                                                                                                                                                                 TILT ED SAW A#6
        @       Ox15ab7d5b683fe3e54...        374 days 12 hrs ago        tankbottoms.eth   L□              our   jimmyethworkl.eth L□     ERC-721      @1        Bleeps


                                                                                                                                                                 Ocarina #1038
        @       Ox27d7e8370abc0cdc...         374 days 1 5 hrs ago       tankbottoms.eth   c,□             our   jimmyethworkl.eth L□     ERC-721
                                                                                                                                                                 NFT: Ocarinas


                                                                                                                                                      ~          Ten Neighbors #14
       @        Oxe09a7d9a416308df7 ...       37 4 days 16 hrs ago   Null: Ox000 ... 000   [9              IN     tankbottoms.eth   c9    ERC-721
                                                                                                                                                             I   NFT: Ten Neighbors


                                                                                                                                                                 Gnar 249
                                                                     0                                c9
       @        Ox4e051 d03b0953ea5...        374 days 23 hrs ago         Ox465a67...0790071b              IN     tankbottoms.eth   L□    ERC-721
                                                                                                                                                      !i         Skate or DAO 0


                                                                                                                                                      ~          Neolastic Ox21605a8613 ...
       @        Oxd7f32b3ca5491028e...        37 4 days 23 hrs ago   Null: Ox000 ...000 La                 IN     tankbottoms.eth   c9    ERC-721
                                                                                                                                                                 Neolastics


       @        Oxed 3c58 5dff1 cc 1a65 ...   37 5 days 1 hr ago     Ox05EEe9...439f5652 La                IN     tankbonoms.eth    L□    ERC-721

                                                                                                                                                        =        Ocar ina #956
                                                                                                                                                                 NFT: Ocarinas




                                                                                                                                                      ,~
                                                                                                                                                      1=
                                                                                                                                                                 Ocarina #635
       @        Ox89130619d872017c...         37 5 days 1 hr ago     OxOSEEe9... 439f5652 La               IN     tankbonoms.eth    L□    ERC-721
                                                                                                                                                                 NFT: Ocarinas


                                                                                                                                                                 Ocarina # 1038
       @        Oxce2f745b1 c0070969 ...      375 days 2 hrs ago     Ox945738 ... CdC8a03f c,O             IN     tankbonoms.eth    L□    EilC-721
                                                                                                                                                                 NFT: Ocarinas


                                                                                                                                                                 ORGAN 0#4
        @       Ox924e8b0ba7df892bc...        375 days 2 hrs ago     tosshed.eth La                        IN     tankbonoms.eth    c9    ERC-721      @)        Bleeps


                                                                                                                                                                 PHASER F#3
        @       Ox8cb8d370cd47ee75f...        375 days 2 hrs ago     tosshed.eth LD                        tN     tankbottoms.eth   LD    ERC-721      (@)       Bleeps


                                                                                                                                                                 OpenSea Sh ared Storefro ...
        @       Ox627d2031 c7991206f...       375 days 2 hrs ago     OxcF7eOe...FOF46849         c9        IN     tankbottoms.eth   c9    ERC-1 155    @)        OpenSea Shared Storefront 0


                                                                                                                                                                 Crypto Runes#2640
       @        Ox63cb6bfd92730de5c ...       375 days 3 hrs ago     OxAF8126...CcE121A7 c,□               IN     tankbottoms.eth   LD    ERC-1155
                                                                                                                                                                 OpenSea Shared Storefront 0


                                                                                                                                                             • Stylist Sunday
       @        Oxf4a16a5af9716c9feL          375 days 8 hrs ago     Null: Ox000 ...000 L□                 IN     tankbottoms.eth   L□    ERC-721
                                                                                                                                                                 BlockArt 0

                                                                                                                                                                     PLAINTIFF0001377
htlps://elherscan .io/nfl- translers?a=Ox5d95baEBB841 2AD827287240A5c281 E3bB30d27E                                                                                                             5/7
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                                                                                                                                           NFT: GenomeBlocks#3206
      @      Oxl a 76a80175f552b7e...    37 5 days 8 hrs ago       Null: oxooo...ooo Lo     IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                     ©     NFT: GenomeBlocks


      @      Oxl a76a80175f552b7e...     375 days 8 hrs ago        Null: Ox000...000 LO     IN    tankbonoms.eth    LO    ERC-721
                                                                                                                                    g      Genome Blocks #8367
                                                                                                                                           NFT: GenomeBlocks


                                                                                                                                    ~ Palette #3206
      @      Oxfa28972e9bc9e6bb1 ..      37 5 days 8 hrs ago       OxE99BaB...OaAf3eae L□   IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                           Open Palen e


                                                                                                                                    ~ Palette #8367
      @      Oxddff613a98aee3d02...      375 days 8 hrs ago        Ox597e32... Ea6224F3 @   IN    tankbonoms.eth    L□    ERC·721
                                                                                                                                      Open Palene


                                                                                                                                           NFT: GenomeBlocks#4326
      @      Oxf146d3980b15c9993...      375 days 8 hrs ago        Null: Ox000...000 L□     IN    tankbottoms.eth   LD    ERC-721    @     NFT: GenomeBlocks


                                                                                                                                           NFT: GenomeBlocks#7946
      @      Oxf146d3980b15c9993...      375 days 8 hrs ago        Null: Ox000...000 @      IN    tankbonoms.eth    @     ERC-721    @     NFT: GenomeBlocks


                                                                                                                                           NFT: Hypercastle Explore...
      @      Oxa 13c9bea0a67 42fdf...    375 days 8 hrs ago        Null: Ox000...000 L□     IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                     •     NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Oxa13o9bea0a6742fdf...      375 days 8 hrs ago        Null: Ox000...000 Lo     IN    tankbonoms.eth    @     ERC-721
                                                                                                                                     •     NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Oxa13c9bea0a6742fdf...      37 5 days 8 hrs ago       Null: Ox000...000 LO     IN    tankbonoms.eth    LO    ERC-721
                                                                                                                                           NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Oxa13c9beaOa6742fdL         37 5 days 8 hrs ago       Null: Ox000...000 Lo     IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                     i:    NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Oxa13c9bea0a6742fdf...      375 days 8 hrs ago        Null: Ox000...000 L□     IN    tankbonoms.eth    L□    ERC·721
                                                                                                                                           NFT: Hypercastle Explorers


                                                                                                                    @     ERC-721   ■ NFT: Hypercastle Explore...
      @      Ox98728aa0e1 ba3625...      375 days 8 hrs ago        Null: OxOD0...000 LO           tankbonoms.eth
                                                                                                                                           NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Ox98728aa0e 1ba3625...      375 days 8 hrs ago        Null: Ox000...000 L□     IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                     •     NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Ox9872Baa0e1 ba3625...      375 days B hrs ago        Null: oxooo...ooo   cP   IN    tankbonoms.eth    @     ERC-721
                                                                                                                                     •     NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Ox9872Baa0e1 ba3625...      375 days B hrs ago        Null: oxooo...ooo Lo     IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                     :.    NFT: Hypercastle Explorers


                                                                                                                                           NFT: Hypercastle Explore...
      @      Ox9872Baa0e1 ba3625...      375 days B hrs ago        Null: Ox000...000 L□     IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                           NFT: Hypercastle Explorers

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                                                                                                                                                     Crane #2022/176
       @       Ox4ba8e0eb87e39a0e...       37 5 days 11 hrs ago       Null: Ox000 ...000 Lo      IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                                     Cranes


                                                                                                                                         •           Headscape #248
       @       Ox877674a6c9e08829 ...      375 days 11 hrs ago        Null: Ox000... 000 Lo            tankbonoms.eth    LO    ERC-721
                                                                                                                                                     Headscapes


                                                                                                                                         ■ Headscape #249
       @       Ox877674a6c9e08829 ...      37 5 days 11 hrs ago       Null: Ox000...000 Lo       IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                                     Headscapes


                                                                                                                                         •           Headscape #246
       @       Ox877674a6c9e08829 ...      375 days 11 hrs ago        Null: Ox000 ...000 (9      IN    tankbonoms.eth    L□    ERC-721
                                                                                                                                                     Headscapes


                                                                                                                                         •           Headscape #250
       @       Ox877674a6c9e08829...       375 days 11 hrs ago        Null: Ox000 ...000 LO      IN    tankbottoms.eth   L□    ERC-721
                                                                                                                                                     Headscapes


                                                                                                                                         •           Headscape #247
       @       Ox877674a6c9e08829 ...      375 days 11 hrs ago        Null: Ox000 ... 000   c9   IN    tankbottoms.eth   c9    ERC-721
                                                                                                                                                     Headscapes


                                                                                                                                         •           Kinochrome #121
       @       Ox7ca35259de3a8cc0 ...      375 days 12 hrs ago        OxD769fA...8f714794 tD     IN    tankbottoms.eth   LD    ERC-721
                                                                                                                                                     Kinochromes 0


                                                                                                                                                     TILTED SAW A#6
       @       Ox937c9cf71 df958025...     375 days 12 hrs ago        sadgal.eth   c9            IN    tankbottoms.eth   c9    ERC-721       @       Bleeps



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htlps ://elherscan .io/nfl- translers?a=Ox5d95baEBB841 2AD827287240A5c281 E3bB30d27E                                                                                                             717
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     A total of 3,318 records found                                                                                                                First     <     Page31 of 34    >   Last



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                                                                                                                                                           NFT: BlockParty#4326
       @       Ox87c5476e8cc97979 ...        375 days 12 hrs ago     Null: Ox000 ... 000 LO          IN    tankbottoms.eth   LO     ERC-721       @J       NFT: BlockParty


                                                                                                                                                           NFT: BlockParty#7946
       @       Ox87c5476e8cc97979 ...        37 5 days 12 hrs ago    Null: Ox000...000 cO            IN    tankbottoms.eth   c.O    ERC-721
                                                                                                                                                  r@)      NFT: BlockParty


                                                                                                                                                           Palette #7946
       @       Ox a2e2f4 5ce379 9c4 Sb...    37 5 days 12 hrs ago    galverses1mp.eth cO             IN    tankbonoms.eth    cO     ERC·721
                                                                                                                                                           Open Palette


                                                                                                                                                           Palette #4326
       @       Ox6c472a51 c9bc9055...        37 5 days 12 hrs ago    Ox597e32...Ea6224F3 cO          IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                           Open Palette



       @       Ox897c2a97ba3b442e ...        37 5 days 12 hrs ago    dunkindonut.eth cO              IN    tankbottoms.eth   LO     ERC-721   ■            Grid#443
                                                                                                                                                           NFT: CAIC


                                                                                                                                              •            Door#6863
       @       Ox18bc42e0dfc263123 ...       375 days 12 hrs ago     Oxe0006e ...c5A2dcAD [.O        IN    tankbottoms.eth   cO     ERC-721
                                                                                                                                                           NFT: Stringify(door)


                                                                                                                                              ■            BlockClock 214
       @       Ox64ee4d0tf4f55e336 ...       375 days 12 hrs ago     Null; Ox000 ...000 cO           IN    tankbottoms.eth   c9     ERC-721
                                                                                                                                                           NFT: BlockClock


                                                                                                                                              •            Garden #129
       @       Oxdf15d257847d7276e...        375 days 12 hrs ago     esr3n.eth cO                    IN    tankbottoms.eth   co     ERC-721
                                                                                                                                                           NFT: Emoji Garden


                                                                                                                                                           NODES #1182
       @       Ox7ae2a3cda412eb35...         37 5 days 12 hrs ago    OxC0022c... 880AF3Ac cD         IN    tankbottoms.eth   c9     ERC-721         •      NFT: NODES



       @       Oxfc59cd22834f9c730...        375 days 12 hrs ago     OxC96e2e...D17 42956       c9   IN    tankbottoms.eth   c9     ERC-721

                                                                                                                                                  •        Pizza #43
                                                                                                                                                           NFT: PizzaOnChain


                                                                                                                                                  ■•■ Ten Neighbors #13
       @       Oxe2e895c6dd450302...         37 5 days 12 hrs ago    Null: Ox000 ...000 c.0          IN    tankbottoms.eth   cO     ERC•721
                                                                                                                                              :,.,■        NFT: TenNelghbors


                                                                                                                                                           T-Shirt #83
       @       Ox269b5dbf4565494fd ...       37 5 days 12 hrs ago    Null: Ox000 ... 000   c9        IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                                           NFT: T-Shirt Exchange


       @       Ox5ad5b14428f9eb1d4 ...       37 5 days 13 h rs ago   thatbag.eth [.O                 IN    tankbottoms.eth   LO     ERC-721                BLU3PRINTS #32
                                                                                                                                                              PLAINTIFF0001380
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                                                                                                                                                     NFT; BLU3PRINTS



                                                                                                                                                     NODES #118 1
       ®       Oxel a92fea9008c297a...     375 days 13 hrs ago    OxC0022c ... 880AF3Ac @           IN    tankbonoms.eth    cP     ERC-721
                                                                                                                                                     NFT; NODES


                                                                                                                                                     Noun GIF 8
       ®       Ox4b3841bb8ab159bd...       375 days 14 hrs ago    OxAd86Ff...5834955c          cP   IN    tankbonoms.eth    c,0    ERC-1155   ~
                                                                                                                                                     OpenSea Shared Storefront 0


                                                                                                                                                     Superlative Mutant Ape # ...
       ®       Oxb6e1dcb2418891bl...       375 days 14 hrs ago    OxD01c98 ,,.294e2E2a         cP   IN    tankbonoms.eth    c,O    ERC-721
                                                                                                                                                     NFT; Superlative Mutated ..


                                                                                                                                                     Whiskers' Progeny No. 00 ...
       ®       Ox8775cb9a43c9a16f3...      37 5 days 22 hrs ago   meowsdao.eth       c,D            IN    tankbonoms.eth    c,D    ERC-721
                                                                                                                                                     NFT; Meows(DAO) Genesi...


                                                                                                                                                     superBLOX #1545
       ®       Ox8c79e92898169fc3d...      375 days 23 hrs ago    s ervice-provider.eth      c,O    IN    tankbonoms.eth    cP     ERC-721
                                                                                                                                                     superBLOX3D


                                                                                                                                                     superBLOX #1546
       ®       Oxe6bcf7838d60ecec0 ...     37 5 days 23 hrs ago   Null: Ox000 ...000   Lo           IN    tankbonoms.eth    LO     ERC-721
                                                                                                                                                     superBLOX3D



       ®       Ox7680a3c7df89d8c4a ...     376 days 11 hrs ago    Ox7f5d94... 15cE76A1         cP   IN    tankbonoms.eth    cP     ERC-721
                                                                                                                                              m      Level 6 at (15, 4}
                                                                                                                                                     Terrafom,s 0


                                                                                                                                                     Level 14 at {11, 18}
       ®       Ox2367db957d9ea63f9 ...     376 days 11 hrs ago    niltish,eth   cP                  IN    tankbonoms.eth    c,O    ERC-721
                                                                                                                                                     Terrafom,s 0


                                                                                                                                              ~ 35 minutes & 50 seconds
       ®       Oxcaa1669cl 748e9a9...      376 days 11 hrs ago    ® Foundation; Market cP           IN    tankbonoms.eth    c,O    ERC-721
                                                                                                                                                     NFT; Value My Time



       ®       Ox0b72d4798e67eb36...       376 days 12 hr s ago   · @@@©©@@ ... c,O                 IN    tankbonoms.eth    cP     ERC-721
                                                                                                                                              I      Level 11 at {11, 23}
                                                                                                                                                     Terrafom,s 0


                                                                                                                                                     Two Mathematicians #81
       ®       Oxl e9f01 afd251360c9 ...   376 days 23 hrs ago    Null:   oxooo...ooo cP            IN    tankbonoms.eth    c,O    ERC-721
                                                                                                                                                     Art Blocks 0


                                                                                                                                                     lsodream #164
       ®       Ox64988c5e33588ec0 ...      376 days 23 hrs ago    Null: Ox000 ...000   c.D          IN    tankbottoms.eth   c.O    ERC-721     ~~~   Art Blocks 0



       @       Oxe54cabcca3b2412a ...      377 days 4 hrs ago     buymyjpegs.eth       cP           IN    tankbonoms.eth    cP     ERC-721
                                                                                                                                               i~    Level 14 at {31, 39}
                                                                                                                                                     Terrafom, s 0


       @       Oxe2e8fd2dc4dedf493 ...     37 7 days 4 hrs ago    notnick.eth c.□                   IN    tankbonoms.eth    c.□    ERC-721
                                                                                                                                              I      Level 1 1 at {7, 7}
                                                                                                                                                     Terrafonns 0


                                                                                                                                                     Level 14 at (24, 38}
       ®       Oxl 8916aa 7de070631 ...    377 days 4 hrs ago     OxfC9d50...f6ff6126        c,0    IN    tankbonoms.eth    c.O    ERC-721
                                                                                                                                                     Terrafom, s 0


                                                                                                                                                        PLAINTIFF0001381
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                                                                                                                                                           Two Mathematicians #80
      @      0x67Be4843b284fd42a ...     377 days 14 hrs ago      Null: 0x000 ...000 (9         IN    tankbottoms.eth   c,D    ERC-721
                                                                                                                                                           Art Blocks 0


                                                                                                                                           •               Squares and Triangles #76
      @      0xf8e3b067dd0dc9531 ...     377 days 15 hrs ago      Null: 0x000 ...000 c,O        IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                           Art Blocks 0


      @      0x14de0aa63fe5755e2 ...     377 days 15 hrs ago      Null: 0x000... 000 (9         IN    tankbottoms.eth   c,D    ERC-721     ~ Click#484
                                                                                                                                                           Art Blocks 0


                                                                                                                                           ~ Mikcey Mouse #1
      @      0xf51 f7d76c62392a80 ...    377 days 15 hrs ago      0x33C64b...0Bd96BdC c,O       IN    tankbottoms.eth   (9     ERC-11 55
                                                                                                                                                           Opensea Shared storefront 0


                                                                                                                                               •           lsodream #161
      @      0x4b4634f3db8e8a3b3 ...     377 days 15 hrs ago      Null: 0x000 ...000 (9         IN    tankbottoms.eth   c,O    ERC-721
                                                                                                                                                           Art Blocks 0


                                                                                                                                           •               Bobu Token (Azuki #40)
      @      0x1 e90d087b350708f1 ...    379 days 7 hrs ago       0x899c4a... E59F4 E1c c,O     IN    tankbottoms.eth   c,O    ERC-1 155
                                                                                                                                                           Bobu, the Bean Farmer 0


      @      0xbb66ab3b725aba8b ...      379 days 15 hrs ago      Null: 0x000 ... 000   cP      IN    tankbottoms.eth   cP     ERC-721     ■               LAMEX Bronze
                                                                                                                                                           NFT: LAMEX


                                                                                                                                                           Ascended Ape No. 1312
      @      0x98eda651 b8437abe...      380 days 2 hrs ago       0   0x2187e6 ...CA706fbD (9   IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                           NFT: Movement DA0&#39;...


      @      0x188d604b5313f2b4...       382 days 6 hrs ago       0   0x6a67c6-0009592f c,D     IN    tankbottoms.eth   c,D    ERC-721
                                                                                                                                           ·:it
                                                                                                                                           .         ,
                                                                                                                                                           Juicebox DAO's Comme...
                                                                                                                                                           NFT: JuIcebox DA0&#39;s ...


                                                                                                                                                           Great Banana Weapon 348
      @      0xfe92e2c6f75585c50...      382 days 8 hrs ago        jaytrey.eth c,D              IN    tankbottoms.eth   c,D    ERC-721
                                                                                                                                                           NFT: Great Ape Bananas


      @      0xfe92e2c6f75585c50 ...     382 days 8 hrs ago       1aytrey.eth (9                IN    tankbottoms.eth   c,O    ERC-721
                                                                                                                                           II              Great Banana Weapon 46 ...
                                                                                                                                                           NFT: Great Ape Bananas


                                                                                                                                                           Great Banana Weapon 352
      @      0xfe92e2c6f75585c50 ...     382 days 8 hrs ago       jaytrey.eth c,D               IN    tankbottoms.eth   c,D    ERC-721
                                                                                                                                                           NFT: Great Ape Bananas


                                                                                                                                                           Gr<>at Banana W<>apon 18...
      @      0xfe92e2c6f75585c50...      382 days 8 hrs ago       jaytrey.eth (9                IN    tankbottoms.eth   c,D    ERC-721
                                                                                                                                                           NFT: Great Ape Bananas


                                                                                                                                           ~               Great Banana Weapon 37...
      @      0xfe92e2c6f75585c50...      382 days 8 hrs ago       1aytrey.eth    cP             IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                                   -.?;'   NFT: Great Ape Bananas


      @      0xfe92e2c6f75585c50...      382 days 8 hrs ago        jaytrey.eth   cP             IN    tankbottoms.eth   c,O    ERC-721
                                                                                                                                           RI              Great Banana Weapon 349
                                                                                                                                                           NFT: Great Ape Bananas


                                                                                                                                                           Great Banana Weapon 13...
      @      0xfe92e2c6f75685c50 __      382 days 8 hrs ago        jaytrey.eth c,D              IN    tankbottoms.eth   c,O    ERC-721
                                                                                                                                                           NFT: Great Ape Bananas

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                                                                                                                                               Great Banana Weapon 46...
      @      Oxfe92e2c6f75585c50...      382 days 8 hrs ago       jaytrey.eth La               IN    tankbottoms.eth   La     ERC-721
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Bana na Weapon 353
      @      Oxfe92e2c6f75585c50 ..•     382 days 8 hrs ago       1aytrey. eth La              IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                               NFT: Great Ape Bananas



      @      Oxfe92e2c6f75585c50 ...     382 days 8 hrs ago       jaytrey.eth La               IN    tankbottoms.eth   La     ERC-721
                                                                                                                                        II     Great Banana Weapon 27...
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Banana Weapon 350
      @      Oxfe92e2c6f75585c50.,.      382 days 8 hrs ago       jaytrey.eth   cP             IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Banana Weapon 16...
      @      Oxfe92e2c6f75585c50.,.      382 days 8 hrs ago       jaytrey.eth   cP             IN    tankbottoms.eth   c.D    ERC-721
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Banana Weapon 46 ...
      @      Oxfe92e2c6f7 5585c50 ...    382 days 8 hrs ago       jaytrey.eth   cP             IN    tankbottoms.eth   c.a    ERC-721
                                                                                                                                               NFT: Great Ape Bananas



      @      Oxfe92e2c6f75585c50.,.      382 days 8 hrs ago       jaytrey.eth LO               IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                        II     Great Banana Weapon 35 ...
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Banana Weapon 27...
      @      Oxfe92e2c6f75585c50 ...     382 days 8 hrs ago       1aytrey.eth La               IN    tankbottoms.eth   cP     ERc-721
                                                                                                                                               NFT: Great Ape Bananas


      @      Oxfe92e2c6f75585c50 ...     382 days 8 hrs ago       jaytrey.eth La               IN    tankbottoms.eth   c.a    ERC-721    ..    Great Banana Weapon 397
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Bana na Weapon 351
      @      Oxfe92e2c6f75585c50 ...     382 days 8 hrs ago       jaytrey.eth La               IN    tankbottoms.eth   La     ERC-721
                                                                                                                                               NFT: Great Ape Bananas


      @      Oxfe92e2c6f75585c50 ..•     382 days 8 hrs ago       1aytrey.eth   cP             IN    tankbottoms.eth   LD     ERC-721    ..    Great Banana Weapon 182
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Banana Weapon 46...
      @      Oxfe92e2c6f75585c50 ...     382 days 8 hrs ago       jaytrey.eth La               IN    tankbottoms.eth   La     ERC-721
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Great Banana Weapon 35~
      @      Oxfe92e2c6f7558Sc50...      382 days 8 hrs ago       jaytrey.eth   cP             IN    tankbottoms.eth   (.D    ERC-721
                                                                                                                                               NFT: Great Ape Bananas


                                                                                                                                               Piece of 11 #3042
      @      Oxbedd9c3e5084ddafb...      382 days 14 hrs ago      zoomienft,eth      cP        IN    tankbottoms.eth   cP     ERC-721
                                                                                                                                               Piece of pi


                                                                                                                                               Piece of n #2693
      @      Ox47cbe6a0ea57Bc13...       382 days 14 hrs ago      zoomienft.eth LO             IN    tankbottoms.eth   c.D    ERC-721
                                                                                                                                               Piece of pi




                                                                                                                                        ■
                                                                                                                                               NFT: ABSOLUTELY DON...
      @      Oxce4c44c0dfcf62db2...      382 days 14 hrs ago      service-provider.eth    cP   IN    tankbottoms.eth   LO     ERC-721
                                                                                                                                               NFT: ABSOLUTELY DO NO...

                                                                                                                                                   PLAINTIFF0001383
htlps://elherscan .io/nfl- translers?a=Ox5d95baEBB8412AD82728724OA5c281 E3bB3Od27E                                                                                          4/7
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                                                                                                                                                       PHANTOMS NFT #2621
      @      Ox8317790666398735...      382 days 15 hrs ago      Null: Ox000...000 (9          IN     tankbonoms.eth       c.D    ERC-721
                                                                                                                                                       NFT: Phantom


      @      Ox5d63230b358fbba01 ..     382 days 15 hrs ago       Null: Ox000...000 c.O        IN     tankbonoms.eth       c.O    ERC-721        ...   Al KARENS #32
                                                                                                                                                       NFT: Ai Karens


                                                                                                                                                       Al KARENS #29
      @      Ox5d63230b358fbba01 ...    382 days 15 hrs ago      Null: Ox000...000 (9          IN     tankbonoms.eth       c.O    ERC-721
                                                                                                                                                       NFT: Ai Karens


      @      Ox5d63230b358fbba01 ...    382 days 15 hrs ago       Null: Ox000...000 (9         IN     tankbonoms.eth       (9     ERC-721
                                                                                                                                             [J        Al KARENS #33
                                                                                                                                                       NFT: Ai Karens


                                                                                                                                                       Al KARENS #30
      @      Ox5d63230b358fbba01 ...    382 days 15 hrs ago       Null: Ox000...000 [.O        IN     tankbottoms.eth      c.D    ERC-721
                                                                                                                                                 +     NFT: Ai Karens


                                                                                                                                                       Al KARENS #31
      @      Ox5d63230b358fbba01 ...    382 days 15 hrs ago       Null; Ox000...000 c.D        IN     tankbonoms.eth       c.D    ERC-721
                                                                                                                                                       NFT: Ai Karens


                                                                                                                                                       Dead Ringers: Edition
      @      Ox3d6ab5de8fd6ca27e...     382 days 15 hrs ago       service-provider.eth c.O     IN     tankbottoms.eth      c.O    ERC-1155       r@l   NFT


                                                                                                                                                       White Rabbit Producer Pa...
      @      Ox649ddfab6d852b88...      382 days 15 hrs ago      0   Oxfa0b8f...338CBDa3 c.D   IN     tankbonoms.eth       (9     ERc-1155
                                                                                                                                                       NFT: White Rabbit Produce...


                                                                                                                                             •         NFT: ABSOLUTELY DON...
      @      Ox8cc5bf29edba5c26d...     382 days 18 hrs ago       service-provider.eth [.D     IN     tankbonoms.eth       c.D    ERC-721
                                                                                                                                                       NFT: ABSOLUTELY DO NO...


      @      Ox6 7734bc3fe4f3554d...    383 days 5 hrs ago        Null: Ox000...000 c.O        IN     tankbonoms.eth       c.D    ERC-721
                                                                                                                                                 n     exquisite soul
                                                                                                                                                       NFT: Astro Girls Society


      @      Oxf7bdad8909183c562 ...    384 days 6 hrs ago        Ox9a33E8 ...45a38744 c.0     IN     tankbonoms.eth       c.D    ERC-721
                                                                                                                                             ■ Beauty in t he Hurting #352
                                                                                                                                               Art Blocks 0


      @      Ox005547d53f116af0e...     384 days 9 hrs ago        selkie.eth (9                IN     tankbonoms.eth       c.D    ERC-721    ■ CAR//0749
                                                                                                                                                       NFT


                                                                                                                                                       Pool suit<> - Ex<>cutiv<> M<>...
      @      Oxadd9b0e 1d7b0f702f...    384 days 19 hrs ago        tankbonoms.eth    c.□       OUT   danielrion.eth   19          ERC-721
                                                                                                                                                       Poolsuite - l:xecutive Mem...


                                                                                                                                                       Poolsuite - Executive Me...
      @      Ox777241 b7234e2cf72...    384 days 19 hrs ago       Ox2fl 6c5... 47045677 (9     IN     tankbonoms.eth       (9     ERC-721
                                                                                                                                                       Poolsuite - Executive Mem...


                                                                                                                                                       Whiskers' Progeny No. 00...
      @      Oxla2695a4aca40a8bf...     384 days 19 hrs ago       Null: Ox000...000 c.O        IN     tankbonoms.eth       c.O    ERC-721
                                                                                                                                                       NFT: Meows(DAO) Genesi...


                                                                                                                                                       Whiskers' Progeny No. 00...
      @      Oxla2695a4aca40a8bf...     384 days 19 hrs ago       Null: Ox000...000 (9         IN     tankbonoms.eth       (9     ERC-727
                                                                                                                                                       NFT: Meows(DAO) Genesi...

                                                                                                                                                           PLAINTIFF0001384
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                                                                                                                                                                    Ox000025555555255555...
        @       Ox42e7cc73b847d9c3 ...     384 days 19 hrs ago       Null: oxooo ... 000   EP         IN     tankbottoms.eth      c,□        ERC-721
                                                                                                                                                             ..     NFT: Tiles


                                                                                                                                                                    Poolsuit e - Executive Me...
       @        Ox68bdafb2a5ee3bfc6 ...    384 days 19 hrs ago       traf.eth   (9                    IN     tankbottoms.eth      EP         ERC-721
                                                                                                                                                                    Poolsuite - Executive Mem...


                                                                                                                                                                    Ocarina #1156
        @       Ox74fb73057e36a357c...     384 days 19 hrs ago       origin42.eth    (9               IN     tankbottoms.eth      c,□        ERC-721
                                                                                                                                                         It:'!      NFT: Ocarinas


                                                                                                                                                         •          Juic ebox Governance veB ...
        @       Ox70f6e8d4612f66b6f...     384 days 20 hrs ago       B   Ox6a67c6...0009592f     (9   IN     tankbottoms.eth      EP         ERC-721
                                                                                                                                                                    NFT: Juicebox Staked Gov...


                                                                                                                                                         -          Juicebox Governan ce veB ...
        @       Ox89f42680624d2931 L       384 days 20 hrs ago        tankbottoms.eth      (9         OUT   sagekellyn.eth   EP              ERC-721
                                                                                                                                                                    NFT: Juicebox Staked Gov...


                                                                                                                                                         •          Juicebox Governance veB ...
       @        Oxd48f687d90f72acde...     384 days 20 hrs ago       B   Ox6a67c6 ...0009592f c,□     IN     tankbottoms.eth      c,□        ERC-721
                                                                                                                                                                    NFT: Juicebox Staked Gov...


                                                                                                                                                                    NFT: Juicebox project#528
       @        Ox44a5869b9ac7e0d4f...     384 days 23 hrs ago        tankbottoms.eth      c,0        OUT   B    Ox02427c... 135569B2 c,O    ERC-721         @      NFT: Juicebox project


                                                                                                                                                                    NFT: Juicebox project#528
       @        Ox91074f28380b7c6e5 ...    387 days 14 hrs ago       Null: Ox000 ... 000   (9         IN     tankbottoms.eth      @          ERc-721         @      NFT: Juicebox project


       @




       @
                Oxf60019c8e50a4f05c ...



                Ox153a91 ea 78633dac...
                                           389 days 5 hrs ago



                                           389 days 6 hrs ago
                                                                     Oxdf09dE ...6144AEd4 c,□



                                                                     § Ox2187e6...CA706fbD c,□
                                                                                                      IN




                                                                                                      IN
                                                                                                             tankbottoms.eth



                                                                                                             tankbottoms.eth
                                                                                                                                  c,□



                                                                                                                                  c,□
                                                                                                                                             ERC-1155




                                                                                                                                             ERC-11 55
                                                                                                                                                         --         Silver Ca rd
                                                                                                                                                                    NFT: Gallery Membersl1ip ...


                                                                                                                                                                    Silver Card
                                                                                                                                                                    NFT: Gallery Membership ...


                                                                                                                                                                    Welcome to NFT
       @        Ox76ad21748b9ba3e2...      392 days 12 hrs ago       0   Foundation: Market c,O       IN     tankbottoms.eth      c,□        ERC-721
                                                                                                                                                                    NFT: DAYsBOOK


                                                                                                                                                                    Whiskers· Progeny No. 00...
        @       Oxa 16dfb05cec02a8bd ...   393 days 12 hrs ago       meowsdao.eth L□                  IN     tankbottoms.eth      c,□        ERC-721         ''     NFT: Meows(DAO) Genesi...


        @       Ox45de87e1 c99 1Oafbc...   393 days 12 hrs ago       meowsdao.eth c,□                 IN     tankbottoms.eth      c,□        ERC-721
                                                                                                                                                         :~ .
                                                                                                                                                         )..
                                                                                                                                                                    Whiskers' Progeny No. 00 ...
                                                                                                                                                                    NFT: Meows(DAO) Genesi. ..



        @       Ox67d2bd9def9170a33...     393 days 12 hrs ago       meowsdao.eth c,O                 IN     tankbottoms.eth      @          ERC-721         ~
                                                                                                                                                               -.   Whiskers' Progeny No. 00...
                                                                                                                                                                    NFT: Meows(DAO) Genesi. ..
                                                                                                                                                         "'
                                                                                                                                                                    Third Eye Ape v2 #577
       @        Oxe47adfda1 ld2db6fc...    394 days 16 hrs ago       Null: Ox000 ... 000 c,0          IN     tankbottoms.eth      c,0        ERC-721
                                                                                                                                                                    NFT: ThirdEyeSocielyV2


                                                                                                                                                                    Third Eye Ape v2 #578
       @        Oxe47adfda 11d2db6fc...    394 days 16 hrs ago       Null: Ox000 ... 000   (9         IN     tankbottoms.eth      c,O        ERC-721
                                                                                                                                                                    NFT: ThirdEyeSocietyV2

                                                                                                                                                                       PLAINTIFF0001385
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      @      Oxe47adfda 11 d2db6fc...    394 days 16 hrs ago       Null: Ox000...000   (9         IN     tankbottoms.eth   c,□            ERC-721
                                                                                                                                                      I.i_l: Third Eye Society v2 #575
                                                                                                                                                      i{ii:       NFT: ThirdEyeSocietyV2


                                                                                                                                                                  Third Eye Ape v2 #579
      @      Oxe47adfda11 d2db6fc...     394 days 16 hrs ago       Null: Ox000...000   c,□        IN     tankbottoms.eth   c9             ERC-721
                                                                                                                                                                  NFT: ThirdEyeSocietyV2


                                                                                                                                                                  Third Eye Ape v2 #576
      @      Oxe47adfda 11 d2db6fc...    394 days 16 hrs ago       Null: Ox000...000 c,□          IN     tankbottoms.eth   c,□            ERC-721
                                                                                                                                                                  NFT: ThirdEyeSocletyV2


                                                                                                                                                                  Ascended Ape No. 0184
      @      Oxl 616274c2b5fe1 507-.     395 days 33 rnins ago       tankbottoms.eth   c,□        OUT   OxC059B3...AB9074ed       (9      ERC-721
                                                                                                                                                      if.         NFT: Movement DAO&l/39; ...


                                                                                                                                                                  White Rabbit Producer Pa ...
      @      Ox41 d2ac80bc4220be...      395 days 18 hrs ago         tankbottoms.eth   c,□        OUT   0    OxfaOb8f... 338CBOa3   LO    ERC-1155
                                                                                                                                                                  NFT: White Rabbit Produce...


                                                                                                                                                                  tankbottorns.eth
      @      Oxd766404b05aad35d...       398 days 16 hrs ago       OX192c67...9208f728       (9   IN     tankbottoms.eth    c,O           ERC-721
                                                                                                                                                                  Ethereum Name Service 0


                                                                                                                                                                  White Rabbit Producer Pa ___
      @      Oxfb94365cdb14d7d6a...      399 days 3 hrs ago        itatsai.eth   c,O              IN     tankbottoms.eth   c9             ERC-1 155
                                                                                                                                                                  NFT: White Rabbit Produce...


                                                                                                                                                      -           atsignhandle.eth
             Oxae24443ec9b43514...       401 days 18 hrs ago         tankbonoms.eth    c:9        our   servrce-provider.eth L□           ERc-721
      @
                                                                                                                                                      11!!!!9 Ethereum Name Service 0

     Show rows:   100                                                                                                                                     First     <    Page 31 of 34      >    last


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     A total of 3,318 records found                                                                                                                                  First      <     Page32 of 34     >   Last



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                                                                                                                                                              £              Dev #2516
      @        Ox4e42f6944f8216875...         404 days 7 hrs ago      Ox8716f7 ...aEAA1416       cO        IN        tankbottoms.eth   [9          ERC-721    :
                                                                                                                                                                             Devs for Revolution 0


                                                                                                                                                                             Ox5d9Sbaebb8412ad827 ...
      @        Ox5860f41931377680 ...         405 days 14 hrs ago     Null: Ox000... 000    cO             IN        tankbonoms.eth    LO          ERC-721
                                                                                                                                                                             NFT:Dreams


                                                                                                                                                                             Free Britney
               Oxa7c8abfec0Bfb16fd8...        407 days 17 hrs ago     0    Foundation: Market    cP                  tankbonoms.eth    LO          ERC-72'I
                                                                                                                                                              ~
      @                                                                                                    IN
                                                                                                                                                                             Foundation 0


                                                                                                                                                                             NFT: Mr Whiskers&#39;s ...
      @        Oxd8093e88bada3783...          409 days 16 hrs ago         tankbottoms.eth   [9             OUT   0    OxE090D1 ...B6B04c45   Lo    ERC-721
                                                                                                                                                                  ©          NFT: Mr Whiskers&#39;s o...


                                                                                                                                                                             Ascended Ape No. 0202
      @        Oxf9f3525bec1461129 ...        415 days 20 hrs ago     0    Ox2187e6...CA706fb0        cO   IN        tankbonoms.eth    LO          ERC-721
                                                                                                                                                                  1          NFT: Movement DA0&#39;...


                                                                                                                                                                             Ascended Ape No. 0223
      @        Oxf9f3525bec1461129 ...        41 5 days 20 hrs ago    0    Ox2187e6...CA706fbD        LO   IN        tankbottoms.eth   Lo          ERC-721          -.·      NFT: Movement DA0&#39;...


                                                                                                                                                                             Ascended Ape No. 0289
      @        Oxf9f3525bec1461129 ...        41 5 days 20 hrs ago    0    Ox2187e6...CA706fbD        cO   IN        tankbottoms.eth   LO          ERC-721




                                                                                                                                                                  '"
                                                                                                                                                                             NFT: Movement DA0&#39; ...


                                                                                                                                                                             Ascended Ape No. 0184
      @        Oxf9f352Sbec1461129...         415 days 20 hrs ago     0    Ox2187e6...CA706fbD        LO   IN        tankbonoms.eth    LO          ERC-721
                                                                                                                                                              ~              NFT: Movement DA0&#39;...


                                                                                                                                                                             Ascended Ape No. 0316
      @        Oxf9f352Sbec1461 129...        41 5 days 20 hrs ago    0    Ox2187e6...CA706fbD        LO   IN        tankbottoms.eth   LO          ERc-721
                                                                                                                                                                             NFT: Movement DA0&#39;...


                                                                                                                                                                  ' !:-i     Ascended Ape No. 1302
      @        Oxa66cae1 bn330c09 ...         41 5 days 20 hrs ago    0    Ox2187e6...CA706fbD        cO   IN        tankbonoms.eth    LO          ERC-721
                                                                                                                                                                  ·"         NFT: Movement DA0&#39;...


                                                                                                                                                                             Ascended Ape No. 0140
      @        Ox96940efd5e3ffb296...         415 days 20 hrs ago     0    Ox2187e6. .CA706fbD (9          IN        tankbonoms.eth    LO          ERC-721
                                                                                                                                                                  tt         NFT: Movement DA0&#39;...


                                                                                                                                                                             Ascended Ape No. 0811
      @        Ox96940efd5e3ffb296...         41 5 days 20 hrs ago    0    Ox2187e6...CA706fbD        cO   IN        tankbon oms.eth   LO          ERC-721        '.
                                                                                                                                                                             NFT: Movement DA0&#39;...


      @        Ox2403974719d9845f...          41 5 days 20 hr s ago   0    Ox2187e6...CA706fbD        LO   IN        tankbonoms.eth    LO          ERC-721                   Ascended Ape No. 111 6
                                                                                                                                                                                 PLAINTIFF0001387
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      ®      Oxd358876d9be02ce8...       415 days 21 hrs ago     Null: Ox000 ...000    @          1111    tankbottoms.eth    L□            ERC-721
                                                                                                                                                       C.        Q+K#6588
                                                                                                                                                                 Queens+KingsAvatars


                                                                                                                                                                 Primate Fight Club Probo ..
      ®      Ox48636b927616b67c...       417 days 14 hrs ago     xhobo.eth c.,□                   IN      tankbottoms.eth    L□            ERC-1 155
                                                                                                                                                                 Open Sea Shared Storefront 0


                                                                                                                                                                 Primate Fight Club Probo ..
      ®      Oxa0ccbb3cdf562e6d5...      417 days 14 hrs ago     xhobo.eth     @                  1111    tankbottoms.eth    L□            ERC-1 155
                                                                                                                                                                 OpenSea Shared Storefront 0


                                                                                                                                                               • Primate Fight Club Probo ...
      ®      Ox66192111cfbc899b3 ...     417 days 14 hrs ago     xhobo.eth c.,□                   1111    tankbottoms.eth    L□            ERC-1 155
                                                                                                                                                                 Open Sea Sha red Storefront 0


                                                                                                                                                                 Primate Fight Club Probo ...
      ®      Oxl 96042a5a2db5fc8e...     417 days 14 hrs ago     xhobo.eth     @                  IN      tankbottoms.eth    L□            ERC-1 155
                                                                                                                                                                 Opensea Shared Storefront 0


                                                                                                                                                                 Ascended Ape No. 0001
      ®      Ox22e4f788b5b2f6d9b ...     418 days 10 hrs ago     Null: Ox000 ... 000 L□           IN      tankbottoms.eth    LD            ERC-721
                                                                                                                                                                 NFT: Movement DAO&Jr39;...


                                                                                                                                                                 ConstitutionDAO Passes t...
                                                                                       L□                                    L□
      ®      Oxca 1bl 2d8aaa2fea98...    419 days 12 hrs ago         tankbottoms.eth                      tankbonoms.eth                   ERC-721
                                                                                                                                                       ~1        NFT: OG Banny


                                                                                                                                                                 ConstitutionDAO Passes t...
      ®      Ox391ff9b129407ad66 ...     420 days 8 hrs ago      mieos.eth     @                  IN      tankbonoms.eth     L□            ERC-721
                                                                                                                                                       ~1        NFT: OG Banny




                                                                                                                                                       ~
                                                                                                                                                                 Ox5d95baebb8412ad827 ...
      ®      Oxfc9d28b943fdd4db7 ...     425 days 22 hrs ago     Null: oxooo ... ooo c.,□         IN      tankbonoms.eth     r..□          ERC-721
                                                                                                                                                                 NFT: Tiles


                                                                                                                                                                 LoomiVault
      ®      Ox3cdedd79a16f690ea ...     426 days 1 hr ago           tankbottoms.eth   c9         OUT    E]   Ox18e6f9 ...35b6DB7a c.,D    ERC-721
                                                                                                                                                                 Loomi vault


                                                                                                                                                                 Bored Breakfast Club#43 ...
      ®      Ox7d88bf0711e6f72d5 ...     426 days 2 hrs ago      E]   OxE090D1 ...B6804c45    @   IN      tankbottoms.eth    L□            ERC-721
                                                                                                                                                       B         Bored Breakfast Club 0



      ®      Oxd3b225b7c87ac881 ...      426 days 2 hrs ago      0    OxE090D1...B6B04c45 c.□     IN      tankbottoms.eth    LD            ERC-721
                                                                                                                                                       ~ Bored Breakfast Clu~#43...
                                                                                                                                                                 Bored Breakfast Club 0



      @      Ox06c62f476377a997b ...     431 days 15 hrs ago         tankbottoms.eth   c.,□       OUT    Null: Ox000 ...000 Lo             ERC-721
                                                                                                                                                       c         Creepz Shapeshifters #85...
                                                                                                                                                                 Creepz Shapesl1ifters



      @      Ox06c62f476377a997b ...     431 days 15 hrs ago     Null: Ox000... 000 LD            IN      tankbonoms.eth     LD            ERC-721         ~     Mega Shapeshifterz #2893
                                                                                                                                                                 NFT: MegaShapeShifterz



      ®      Ox06c62f476377a997b ...     431 days 15 hrs ago         tankbottoms.eth   LD         OUT    Null: Ox000 ...000 LO             ERC-721
                                                                                                                                                       l:I       Creepz Shapeshifters #17...
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        @       Ox06c62f476377a997b ...    431 days 15 hrs ago      tankbottoms.eth      r..0        OUT   Null: Ox000 ...000   n]       ERC-721
                                                                                                                                                    lc:J       Creepz Shapeshifters #16...




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       @        Ox06c62f476377a997b ...    431 days 15 hrs ago      tankbottoms.eth      [.O         OUT   Null: Ox000 ...000   LCI      ERC-721
                                                                                                                                                               Creepz Shapeshifters


                                                                                                                                                    ~ Creepz Sh apeshifters #13 ...
       @        Ox06c62f476377a997b ...    431 days 15 hrs ago      tankbottoms.eth      r..□        OUT   Null: Ox000 ...000   r..CI    ERC-721
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        @       Oxe938f8719e9989ff5...     431 days 15 hrs ago     Ox67d06f...fF629203          (9   IN     tankbottoms.eth      r..□    ERC-721
                                                                                                                                                    D          Creepz Shapeshifters #20 ...
                                                                                                                                                               Creepz Shapeshifters


        @       Ox9044c7ed841 f7c29b...    431 days 15 hrs ago     Ox953F8C ... 26f7695A [.O         IN     tankbottoms.eth      [.O     ERC-721
                                                                                                                                                    ~ Creepz Shapeshifters #13 ...
                                                                                                                                                               Creepz Shapeshifters



       @        Ox1 c1d89679529f632b...    431 days 15 hrs ago     Ox608755... 593502Cd         (9   IN     tankbottoms.eth      r..□    ERC--721
                                                                                                                                                    m          Creepz Shapeshifters #17 ...
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                                                                                                                                                    ~          Elmi Erias
       @        Ox7f9cbac614ec29a74 ...    433 days 3 hrs ago      Null: Ox000 ... 000   [.O         IN     tankbottoms.eth      r..O    ERC--721
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       @        Ox7f9cbac614ec29a7 4...    433 days 3 hrs ago      Null: Ox000... 000    (9          IN     tankbottoms.eth      r..□    ERC-721
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       @        Ox7f9cbac614ec29a7 4 ...   433 days 3 hrs ago      Null: Ox000... 000 [.O            IN     tankbon oms.eth      [.O     ERC-721    ~
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       @        Ox7f9cbac614ec29a74 ...    433 days 3 hrs ago      Null: Ox000... 000 r.,O           IN     tankbottoms.eth      r..□    ERC-721
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       @        Ox7f9cbac614ec29a74 ...    433 days 3 hrs ago      Null: Ox000 ...000 [.O            IN     tankbonoms.eth       r..0    ERC-721
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                                                                                                                                                               # 1349
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        @       Ox76f718be2578df0c6...     434 days 11 hrs ago     Null: Ox000... 000 r.,O           JN     tankbon oms.eth      l.O     ERC-721
                                                                                                                                                               NFT: Old Ape Country Club


                                                                                                                                                               #13,16
        @       Ox76f71 Bbe2578df0c6...    43 4 days 11 hr s ago   N ul I: Ox000... 000 [.D          IN     tankbottoms.eth      c..□    ERC--721
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        @       Ox76f71 Bbe2578df0c6...



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       @        Ox8756bf96f30d9694a ...    434 days 1 3 hr s ago   meowsdao.eth [.O                  JN     tankbottoms.eth      r..O    ERC-721
                                                                                                                                                    :~         NFT: Meows(DAO) Genesi...

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      @      Ox267e7e8b0dde976b...        434 days 13 hrs ago     rneowsdao.eth L□                IN     tankbonoms.eth    L□       ERC-721      ;:._'\
                                                                                                                                                          NFT: Meows(DAO) Genesi...



      @      Oxe342fa56a9d8b5f88...       434 days 14 hrs ago     Ox98Ec77... 4B6D3c42 L□         IN     tankbonoms.eth    L□       ERC-721
                                                                                                                                                [11       Translucent Girl
                                                                                                                                                          BrainDrops 0


      @      Ox16d0156efe2f2dfb6...       434 days 14 hrs ago     Null: Ox000... 000 L□           IN     tankbonoms.eth    L□       ERC-721
                                                                                                                                                CJ        Creepz Shapeshifters #16...
                                                                                                                                                          Creepz Shapeshifters


                                                                                                                                                          Longneck #006
      @      Oxcfaf289b28d6bb6c6...       435 days 8 hrs ago      Ox21C7bB ...910527e7    @       IN     tankbonoms.eth    i..□     ERC-1 155
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                                                                                                                                                          OpenSea Shared Storefront 0


                                                                                                                                                          NFT: My Hornies In Drea ...
      @      Ox2ee9da0a23c42ff88...       435 days 8 hrs ago       tankbottoms.eth    @           OUT   service-provider.eth c.D    ERC-721
                                                                                                                                                          NFT: My Homies In Dreaml...


                                                                                                                                                          NFT: My Hornies In Drea ...
      @      Oxa53a608912b5bc4c ...       435 days 8 hrs ago       tankbottoms.eth    @           OUT   service-provider.eth [.D    ERC-721
                                                                                                                                                          NFT: My Homies In Dreaml...


                                                                                                                                                          CryptoKitties#872770
      @      Ox9d037893b2ee5d8c...        435 days 8 hrs ago      ~ OxaC587a ... 1 D1 d3142 (.D   IN     tankbonoms.eth    LD       ERC-721      @)       CryptoKitties   0

                                                                                                                                                  ~.J     Carpet Matches the Drapes
      @      Oxbf0e29deeacbe4a65...       435 days 8 hrs ago      ~ OxaC587a ... 1D1d3142 @       IN     tankbonoms.eth    L□       ERC-721
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                                                                                                                                                          NFT: My Hornies In Drea ...
      @      Ox55b0b74d2bedba 1 e...      43 5 days 1 3 hrs ago   jepjepjep.eth [.D               IN     tankbonoms.eth    L□       ERC-721
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      @      Ox1 dc09587f8389922L         435 days 14 hrs ago      tankbonoms.eth     @           OUT   service-provider.eth L□     ERC-721
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      @      Ox674def459d182ea7a ...      435 days 14 hrs ago     Oxd806dB...c1 EBF20F [.O        IN     tankbonoms.eth    L□       ERC-1 155
                                                                                                                                                          OpenSea Shared Storefront 0


                                                                                                                                                          Elon #6444
      @      Ox371 c 16bf036c78c0d ...    435 days 14 hrs ago     Ox51e997...593a4427     @       IN     tankbonoms.eth    LD       ERC-1 155
                                                                                                                                                    •     Open Sea Shared Storefront 0


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      @      Oxd0757c7258963479 ...       435 days 14 hrs ago     Ox02f967...8c92f3eB [.D         IN     tankbonoms.eth    LD       ERC-721
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      @      Oxa1 ac0da6b8c2c23b ...      435 days 22 hrs ago     guappy.eth [.D                  IN     tankbonoms.eth    LD       ERC-721
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      @      Ox9b9fae06800b75886 ...     435 days 22 hrs ago     Null: Ox000...000 LO            IN     tankbonoms.eth    LO     ERC-721
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      @      Ox9b9fae06800b75886 ...     435 days 22 hrs ago     Null: Ox000 ...000 LO          IN      tankbonoms.eth    LO     ERC-721
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      @      Ox7b00583c392747be...       436 days 5 hrs ago      Null: Ox000... 000 Lo           IN     tankbonoms.eth    LO     ERC-721
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      @      Ox7b00583c392747be...       436 days 5 hrs ago      Null: Ox000 ...000   [9         IN     tankbonoms.eth    Lo     ERC-721
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      @      Ox7b00583c392747be...       436 days 5 hrs ago      Nul l: Ox000...000 L□           IN     tankbottoms.eth   L□     ERC-721
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      @      Oxcc9b724d1849c94a...       437 days 18 hrs ago       tankbottoms.eth    [9        OIJT   Ox71147F...d33b8554 L□    ERC--1155
                                                                                                                                                           NFT: Floor X creepz


                                                                                                                                                           Longneck #003
      @      Oxfe3e7307533ff4f45c...     437 days 23 hrs ago     Ox21C7bB... 910527e7 L□        IN      tankbottoms.eth   L□     ERC--1 155
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      @      Ox28a0770a22a2ffc56...      437 days 23 hrs ago     Ox21C7b8... 910527e7      [9    IN     tankbottoms.eth   L□     ERC-1155            •
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                                                                                                                                                           Washington #7354
      @      Ox3f1 431ac4662f6766 ...    438 days 4 hrs ago      pillowf1ghtclub.eth LO          IN     tankbonoms.eth    L□     ERC-721
                                                                                                                                                           WeMint Washington 0


      @      Oxfda3fbdb68d5252f6...      438 days 4 hrs ago        tankbonoms.eth     c9        00T    pillowfightclub.eth L□    ERC-721
                                                                                                                                              A            Washington #7354
                                                                                                                                                           WeMint Washington 0


                                                                                                                                                     ~ Her Majesty Queen Elizab...
      @      Ox5caab2739699ca3c...       438 days 4 hrs ago      Null: Ox000 ...000 L□          IN      tankbonoms.eth    L□     ERC-721
                                                                                                                                                           NFT: WeMint Queen
                                                                                                                                              ••
      @      Ox5caab2739699ca3c ...      438 days 4 hrs ago      Null: Ox000...000    [9        IN      tankbonoms.eth    L□     ERC-721      I      fJ.   Her Majesty Queen Elizab...
                                                                                                                                              f1           NFT: WeMint Queen


      @      Ox5934260e0968c284...       438 days 16 hrs ago     Ox719aEC... 5e36CBbB L□         IN     tankbonoms.eth    LO     ERC--721
                                                                                                                                                   ,,      Nouns #1349
                                                                                                                                              -            Nouns3D


                                                                                                                                                           Nouns3D#7171
      @      Oxaaaddf22501416ffb...      438 days 16 hrs ago     Ox341 SeB...cbd5C7E2      [9    IN     tankbottoms.eth   L□     ERC-721          @        Nouns3D


      @      Ox1069103eda5f8ffc4...      438 days 17 hrs ago     cheddy,eth   [9                 IN     tankbottoms.eth   L□     ERC--721
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                                                                                                                                                  •        Nouns #3892
                                                                                                                                                           Nouns3D


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      @      Ox30ec94e27bc5bc1 f7 .•     43 8 days 17 hrs ago    Ox9901 OA ...01 CdEE23 L□      IN      tankbottoms.eth   L□     ERC-721
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                                                                 Ox9901 OA ...01 CdEE23 L□                                                  •            Nouns #809
      @      Ox436d1 b7f27f6999ffa...     438 days 17 hrs ago                                 IN     tankbonoms.eth    L□        ERC-721
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      @      Oxa3b93c755127fe6c4 ...      438 days 17 hrs ago    hiimalex.eth L□              IN     tankbonoms.eth    L□        ERC-721
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                                                                                                                                                         Head #1427
      @      Oxee9 ff6acb 1741 cc b2...   438 days 17 hrs ago        tankbottoms.eth   (9     OVT   @]   Head DAO: Staking (9    ERC-721
                                                                                                                                                         HeadDA00


                                                                                                                                                         Head #8037
      @      Oxee9ff6acb1741ccb2...       438 days 17 hrs ago        tankbotloms.eth   (9     OUT   @]   Head DAO: Staking (9    ERC-721
                                                                                                                                                         HeadDA00


      @      Ox36e2bca7d5ec8839 ...       438 days 17 hrs ago    Ox3b28CD...C5393cAb [.D      IN     tankbottoms.eth   L□        ERC-721        &        Head #8037
                                                                                                                                                         HeadDA00


                                                                                                                                                         Head #1427
      @      Ox5da7d5843ceb487fe...       438 days 17 hrs ago    Ox3b28CD...C5393cAb [.D      IN     tankbottoms.eth   L□        ERC--721
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                                                                                                                                            ~ WeMint Full Washington
      @      Oxaec98231ba311645...        439 days 16 hrs ago    Null: Ox000 ... 000 L□       IN     tankbottoms.eth   LD        ERC--721
                                                                                                                                              WeMint Full Washington


                                                                                                                                            e            Jefferson #3501
      @      Oxl 97bc2e960be690bf...      439 days 16 hrs ago    Null: Ox000...000 (9         IN     tankbottoms.eth   L□        ERC-721
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      @      Oxbf5dc53d6649521 d6...      440 days 11 hrs ago    0    Ox971B45 .a814FD96 L□   IN     tankbonoms.eth    L□        ERC-721
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      @      Ox721039239dld969c...        440 days 14 hrs ago    Null: Ox000... 000 L□        IN     tankbonoms.eth    L□        ERc--721       ..
                                                                                                                                                ·1"'     Homo Spacien #151
                                                                                                                                                         NFT: Homospacien NFT


                                                                                                                                                         Homo Spacien #152
      @      Ox721039239d1 d969c..,       440 days 14 hrs ago    Nul l: Ox000...000 L□        IN     tankbonoms.eth    L□        ERC-721
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      @      Ox6cc07a8acfaa8f910...       443 days 6 hrs ago     Ox4b62Ab...934F60eE (9       IN     tankbonoms.eth    L□        ERC-721
                                                                                                                                                         NFT: BADASS Ape Club


                                                                                                                                                         BADASS Ap<l Club #1469
      @      Oxf1041 d04 a4420ddee ...    443 days 6 hrs ago     Ox4b62Ab...934F60eE [.D      IN     tankbonoms.eth    L□        ERC--721
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      @      Oxf9d36a3a9d3224ba2 ...      443 days 7 hrs ago     Null: Ox000 ... 000   (9     IN     tankbottoms.eth   LD        ERC-721
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      @      Ox7dfac1532219a0290 ...      443 days 10 hrs ago    Null: Ox000... 000 (9        IN     tankbottoms.eth   LD        ERC--721
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      @      Ox7dfac1532219a0290 ...      443 days 1 0 hrs ago   Null: Ox000 ... 000 (9       IN     tankbottoms.eth   LD        ERC-721
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      @      Ox8c1 a9908bd297c2e...        443 days 10 hrs ago    Null: Ox000 ...000   LO        IN     tankbonoms.eth    LO      ERC-721
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      @      Ox6da l c 1 Oda 58bd6b9 ...   443 days 1 0 hrs ago   Null: Ox000... 000   Lo        IN     tankbonoms.eth    LO      ERC-721   •              Jefferson #7698
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      @      Ox2cbd4d00a33932a2 ...        443 days 1 0 hrs ago   Null: Ox000 ...000   LO        IN     tankbonoms.eth    (_.0    ERC-721
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      @      Ox039cd1bc4a27aabd ...        443 days 11 hrs ago    OxE20cF1 ... 6069d9a6 (9       IN     tankbottoms.eth   LO      ERC-721
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       @       Ox8e59a60755a3c62fd ...       443 days 12 hrs ago    tankbottoms.eth     (.,0        oor   0    OxE09001 ...B6B04c45 @              ERC-nl
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                                                                                                                                                                           Undead Pastel Club


                                                                                                                                                                           Undead Pastel Club #7601
                                                                                        (.,0              service-provider.eth L□                                   /!'?
       @       Oxbf0f6d5173f1 cf6cad...      443 days 16 hrs ago    tankbottoms.eth                 OUT                                            ERC-721
                                                                                                                                                               L ..        Undead Pastel Club


                                                                                                                                                                           Undead Pastel Club #5706
       @       Oxf3de9053ee9cae7ad ...       443 days 16 hrs ago    tankbottoms.eth     c9          OU1   service-provider.eth   c9                ERC-721
                                                                                                                                                               ,1:         Undead Pastel Club


                                                                                                                                                                           The M ind-Blown NFT #685
       @       Oxfd7fb1 c9f1 7a723b7 ...     443 days 16 hrs ago   Null: Ox000 ...000   (9          IN     tankbottoms.eth     t9                  ERC-nl
                                                                                                                                                                           Mind-Blown


                                                                                                                                                                           Cold Blooded Creepz #33 ...
       @       Ox29d4e2d8ca6c1 929 ...       444 days 15 hrs ago    tankbottoms.eth     L□          OUT   0    Creepz: Invasion Groun...     c9    ERC-721
                                                                                                                                                                .. I       Cold Blooded Creepz 0


                                                                                                                                                                           Cold Blooded Creep z #33 ...
       ©       Oxefb56c47301472247...        444 days 17 hrs ago   Ox7a27EA... SE558606        (9   IN     tankbottoms.eth     t9                  ERC-nl
                                                                                                                                                                           Cold Blooded Creepz 0
                                                                                                                                                                f      '




       @       Oxa1b3fdec26c34461 e...       444 days 21 hrs ago    tankbottoms.eth     @           OU1   0    Creepz: Invasion Groun...     c9    ERC-n1       -A         Cold Blooded Creepz #62...
                                                                                                                                                                           Cold Blooded Creepz 0
                                                                                                                                                                l!M
                                                                                                                                                                           Mini Tramway #4
       @       Ox28a 15decd49e3152...        445 days 3 hrs ago    gulllaumecorneleth (.,0          IN     tankbottoms.eth     c9                  ERC-11 55    y          OpenSea Shared Storefront 0


       @       Oxae7322700efa 1 abfa ...     445 days 16 hrs ago   Null: Ox000...000 (.,0           IN     tankbottoms.eth     c9                  ERC-721      t___,.     FartJar #687
                                                                                                                                                                           NFT: Fart Jar


       @       Oxae7322700efa 1abfa ...      445 days 16 hrs ago   Null: Ox000...000 (9                    tankbottoms.eth     c9                  ERC-nl                  FartJar #688
                                                                                                                                                                             PLAINTIFF0001394
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                                                                                                                                                  "'
                                                                                                                                                            Peaceful Toadz #5390
       ®      Oxb2cc8d46fb9437112 ...    445 days 16 hrs ago     Null: Ox000...000    (!)              tankbottoms.eth   (!)    ERC-nl
                                                                                                                                                            PeacefulToadz



       ®      Oxb2cc8d46fb9437112 ...    445 days 16 hrs ago     Null: Ox000 ...000 t.D                tankbottoms.eth   (!)    ERC-721
                                                                                                                                           a                Peaceful Toadz #5391
                                                                                                                                                            PeacefulToadz


                                                                                                                                                            Peaceful Toadz #5388
       ®      Oxb2cc8d46fb9437112 ...    44 5 days 16 hrs ago    Null: Ox000 ...000   (!)        IN    tankbottoms.eth   (!)    ERC-nl
                                                                                                                                                            PeacefulToadz


                                                                                                                                           •                Peaceful Toadz #5392
       ®      Oxb2cc8d46fb9437112 ...    445 days 16 hrs ago     Null: Ox000...000 t.D           IN    tankbonoms.eth    (!)    ERC-nl
                                                                                                                                                            PeacefulToadz


                                                                                                                                                            Peaceful Toadz #5389
       ®      Oxb2cc8d46fb9437112 ...    445 days 16 hrs ago     Null: Ox000...000 (!)           IN    tankbottoms.eth   (!)    ERC-721
                                                                                                                                                            PeacefulToadz


                                                                                                                                                            #4467
       ®      Ox2772c30d34947828 ...     445 days 21 hrs ago     degenstan.eth t.D                     tankbonoms.eth    (!)    ERC-721
                                                                                                 IN
                                                                                                                                                        -   TheLastSupper


                                                                                                                                                            High Roller Ape Club #648
       ®      Ox07554b1 cb36193d0...     445 days 22 hrs ago     Null: Ox000...000 t.D                 tankbonoms.eth    (9     ERC-721
                                                                                                                                                            High Roller Ape Club


                                                                                                                                                  <>        Floor X Creepz
       ®      Oxdb23b277181947d9f...     446 days 19 hrs ago     aniq.eth   (!)                        tankbonoms.eth    (!)    ERC-1155
                                                                                                                                                            NFT: Floor X Creepz


                                                                                                                                                            Creepz Invasion Pass
       ®      Ox07520al 6dd990e8d ...    446 days 19 hrs ago     supertruck.eth t.D              IN    tankbottoms.eth   (!)    ERC-1155
                                                                                                                                                            Creepz Invasion Pass



       ®      Oxe7742a1a3f4f646f5...     446 days 19 hrs ago     Ox944bbB...C4337Ba0 t.D               tankbottoms.eth   (!)    ERC-721
                                                                                                                                               4            Cold Blooded Creepz #62...
                                                                                                                                                l»          Cold Blooded Creepz 0


                                                                                                                                                            NounPunks #8390




                                                                                                                                           ",."
       ®      Oxl a40f8232990df124 ...   447 days 11 hrs ago     Ox2431AC...8802EFCB        c9         tankbottoms.eth   (!)    ERC-nl
                                                                                                                                                            NounPunks


                                                                                                                                                            ButterFly #14
       ®      Ox8a314897fae44a 731 ...   448 days 10 hrs ago     OxFdCEce...OA33eDd7 LD          IN    tankbottoms.eth   (9     ERC-721
                                                                                                                                                            NFT: Psyche.Art



       @      Ox6a479e1 e2f85fdd36...    448 days 10 hrs ago     OxFdCEce ...OA33eDd7 t.D        IN    tankbottoms.eth   (9.    ERC-721
                                                                                                                                           ",.              ButterFly #13
                                                                                                                                                            NFT: Psyche.Art


                                                                                                                                                            Undead Pastel Club #5706
       ®      Ox2c99c0f07b70095e2...     448 days 17 hrs ago     luneael.eth t.D                 IN    tankbonoms.eth    (!)    ERC-721
                                                                                                                                               .'ti         Undead Pastel Club


                                                                                                                                                            Undead Pastel Club #7600
       ®      Ox67c62b832b6b66e1 ...     448 days 18 hrs ago     Null: Ox000...000 t.D           IN    tankbottoms.eth   (!)    ERC-721          ·.:.
                                                                                                                                               /.ii-~       Undead Pastel Club


                                                                                                                                                              PLAINTIFF0001395
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                                                                                                                                              Undead Pastel Club #7601
      @      0x6 7c62b832b6b66e1 ...    448 days 18 hrs ago      Null: oxooo...ooo    La    IN     tankbottoms.eth   c9    ERC-721     f
                                                                                                                                      .J- ~   Undead Pastel Club


                                                                                                                                              Undead Pastel Club #7602
             0x67c62b832b6b66e1 ...     448 days 18 hrs ago      Null: 0x000...000    [9           tankbottoms.eth   c9    ERC-72I
                                                                                                                                      J''
                                                                                                                                     ,,.
      @                                                                                     IN
                                                                                                                                              Undead Pastel Club


                                                                                                                                              ButterFly #36
      @      0x5a5d447b49b6b8ee...      448 days 20 hrs ago      Null: 0x000...000    La    IN     tankbottoms.eth   c9    ERC-72I
                                                                                                                                              NFT: Psyche.Art



                                                                                      [9           tankbottoms.eth   c9    ERC-721   l,-      8utterFly #37




                                                                                                                                     ,,.
      @      0x5a5d447b49b6b8ee...      448 days 20 hrs ago      Null: 0x000...000          IN
                                                                                                                                              NFT: Psyche.Art


                                                                                                                                              Butterfly #38
      @      0x5a5d447b49b6b8ee...      448 days 20 hrs ago      Null: 0x000...000    (9    IN     tankbottoms.eth   c9    ERC-721




                                                                                                                                     ~,.
                                                                                                                                              NFT: Psyche.Art


                                                                                                                                              ButterFly #35
      @      0x5a5d447b49b6b8ee...      448 days 20 hrs ago      Null: 0x000...000    [9           tankbottoms.eth   c9    ERC-721
                                                                                                                                              NFT: Psyche.Art



      @      0x5a5d447b49b6b8ee...      448 days 20 hrs ago      Null: 0x000...000    La    IN     tankbottoms.eth   c9    ERC-72I
                                                                                                                                     ._,. Butterf ly #34
                                                                                                                                              NFT: Psyche.Art


                                                                                                                                              Third Eye Ape #806
                                                                                      La                             c9
      @      0x152ab3c7da456a9b...      448 days 23 hrs ago      Null: 0x000...000          IN     tankbottoms.eth         ERC-721
                                                                                                                                      E;      NFT: Third Eye Ape Society


                                                                                                                                              Bored Breakfast Club#40 ...
      @      0x49ac6c759260f2fd5 ...    448 days 23 hrs ago       tankbottoms.eth     La    OUT   gordo.eth (9             ERC-721
                                                                                                                                     0        Bored Breakfast Club 0


                                                                                                                                              Bored Breakfast Club#43 ...
                                                                                      La
      @      0x0b274d4ff76acfc20...     449 days 13 mins ago     Null: 0x000...000          IN     tankbottoms.eth   c9    ERC-721
                                                                                                                                     e:.      Bored Breal<fast Club 0



                                                                                      r9                                             ~ Bored Breakfast Club#43...
      @      0x0b274d4ff76acfc20...     449 days 13 mins ago     Null: 0x000...000          IN     tankbottoms.eth   c9    ERC-721
                                                                                                                                     ~ Bored Breakfast Club 0


                                                                                                                                      ~       Bored Breakfast Club#43 ...
      @      0x0b274d4ff76acfc20...     449 days 13 mins a go    Null: 0x000...000    La    IN     tankbottoms.eth   c9    ERC-721
                                                                                                                                     ~ Bored Breakfast Club 0


      @      0x9ee853618e8b11 d4...     449 days 13 hrs ago      Null: 0x000...000    r9    IN     tankbottoms.eth   (9    ERC-721
                                                                                                                                     ID       Third Eya Apa #586
                                                                                                                                              NFT: Third Eye Ape Society


                                                                                                                                              Third Eye Ape #584
      @      0xd 1e 7bf237779aea56...   449 days 13 hrs ago      Null: 0x000...000    [9    IN     tankbottoms.eth   cP    ERC-721
                                                                                                                                      .t-.    NFT: Third Eye Ape Society


                                                                                                                                              Third Eye Ape #585
                                                                                                                     cP
                                                                                                                                     ~
      @      0xd1e7bf23777 9aea56...    449 days 13 hrs ago      Null: 0x000 ...000   [9           tankbottoms.eth         ERC-721
                                                                                                                                              NFT: Third Eye Ape Society


                                                                                                                                              Third Eye Ape #580
      @      0x93a1 e6cd3dedc201 ...    449 days 13 hrs ago      Null: 0x000...000    c.a   IN     tankbottoms.eth   c9    ERC-721    ~ -
                                                                                                                                              NFT: Third Eye Ape Society

                                                                                                                                                PLAINTIFF0001396
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                                                                                                                                                        Bored Breakfast Club#40 ...
       @      Ox52bfa588eced2a5b0...      450 days 13 hrs ago    Null: oxooo...ooo La       IN      tankbottoms.eth   r9            ERC-721
                                                                                                                                                        Bored Breakfast Club 0


                                                                                                                                                        Bored Breakfast Club#40 ...
       @      Ox52bfa58Beced2a5b0 ...     450 days 13 hrs ago    Null: Ox000...000    [9    IN      tankbottoms.eth   r9            ERC-72'I
                                                                                                                                                        Bored Breakfast Club 0


                                                                                                                                               ~ Bored Breakfast Club#40 ...
       @      Ox52bfa58Beced2a5b0...      450 days 13 hrs ago    Null: Ox000...000 La       IN      tankbottoms.eth   r9            ERC-72'I
                                                                                                                                                        Bored Breakfast Club 0


                                                                                                                                               •        Galaktic Guy #2959
       @      Ox5ceccc854ad40becd...      454 days 14 h rs ago     tankbottoms.elh    r9    OUT    B    OxE09001...B6B04c45 La      ERC-721
                                                                                                                                                        Galaktic Gang 0



                                                                                                   B                                           ~ Galaktic Guy #2957
       @      Oxc20127e2d4595f979 ...     454 days 15 hrs ago      tankbottoms.elh    r9    OUT         OxE09001...B6B04c45 La      ERC-721
                                                                                                                                                        Galaktic Gang 0


                                                                                                                                               •        Galaktic Guy #2956
       @      Ox66442c02a9537828...       454 days 15 hrs ago      tankbottoms.eth    cP    our    El   OxE09001 ...B6B04c45 La     ERC-721
                                                                                                                                                        Galaktic Gang 0


       @      Oxd549b03aa039cc7cf...      454 days 15 h rs ago     tankbottoms.eth    [,O   OVT    B    OxE09001...B6B04c45 [,O     ERC-721    II       Deathbat #4792
                                                                                                                                                        Deathbats Club 0



       @      Oxd95f7730583a 7fc7d ...    454 days 15 hrs ago      tankbottoms.eth    LO    OIJT   0    OxE09001 ...86804c4 5 La    ERC-721    II       Party0egenerates#8202
                                                                                                                                                        PartyDegenerates




                                                                                                                                               ~
                                                                                                                                                        Smoking Ape Gun Club# ...
       @      Ox3adfac9225e52e1 OB ...    454 days 18 hrs ago    Null: Ox000...000 La       IN      tankbottoms.eth   r9            ERC-721
                                                                                                                                                        NFT: Smoking Ape Gun Club


                                                                                                                                                        Smoking Ape Gun Club# ...
       @      Ox3ad fac9225e52e1 OB ...   454 days 18 hrs ago    Null: Ox000...000 La       IN      tankbottoms.eth   r9            ERC-721
                                                                                                                                                        NFT: Smoking Ape Gun Club


                                                                                                                                                        Smoking Ape Gun Club#...
       @      Ox3adfac9225e52e1 OB ...    454 days 18 hrs ago    Null: Ox000... 000   [9    IN      tankbottoms.eth   r9            ERC-721
                                                                                                                                                        NFT: Smoking Ape Gun Club


                                                                                                                                                   A.   Smoking Ape Gun Club # ...
       @      Ox3adfac9225e52e108...      454 days 18 hrs ago    Null: Ox000...000 La       IN      tankbottoms.eth   r9            ERC-721
                                                                                                                                               Ci       NFT: Smoking Ape Gun Club


       @      Ox3adfac9225e52e108 ...     454 days 18 hrs ago    Null: Ox000...000    r9    IN      tankbottoms.eth   (9            ERC-721
                                                                                                                                               II       Smoking Ape Gun Club # ...
                                                                                                                                                        NFT: Smoking Ape Gun Club



       @      Ox04 fa965f9deef4be3 ...    454 days 20 hrs ago    Null: Ox000...000    [9    IN      tankbottoms.eth   cP            ERC-721    ■        Roo#2936
                                                                                                                                                        NFT: RooTroop



                                                                                      cP                                                       •        Roo#2935
       @      Ox04fa965f9deef4be3 ...     454 days 20 hrs ago    Null: Ox000 ...000                 tankbottoms.eth   r9            ERC-721
                                                                                                                                                        NFT: RooTroop



       @      Ox691cf702b31033d81 ...     455 days 4 hrs ago     Null: Ox000...000 c.a      IN      tankbottoms.eth   r9            ERC-721    a        CSM#1476
                                                                                                                                                        NFT: ETHERMINATORS

                                                                                                                                                          PLAINTIFF0001397
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        @       Ox691cf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000 La            IN     tankbonoms.eth    r9         oRC-721     ril        CSM #1473
                                                                                                                                                               NFT: ETHERMINATORS


       @        Ox691cf702b31033d81 ..      455 days 4 hrs ago      Null: Ox000...000     [9        IN     tankbonoms.eth    r9         ERC-72I
                                                                                                                                                    0          CSM#1477
                                                                                                                                                               NFT: ETHERMINATORS


        @       Ox691cf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000 La            IN     tankbonoms.eth    r9         ERC-721     ■          CSM#1470
                                                                                                                                                               NFT: ETHERMINATORS



        @       Ox691cf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000     [9        IN     tankbonoms.eth    r9         ERC-721     ■          CSM#1474
                                                                                                                                                               NFT: ETHERMINATORS


        @       Ox69lcf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000     (9        IN     tankbottoms.eth   c9         ERC-721
                                                                                                                                                    a          CSM#1478
                                                                                                                                                               NFT: ETHERMINATORS



       @        Ox691cf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000     [9               tankbonoms.eth    c9         ERC-721
                                                                                                                                                    II         CSM#1471
                                                                                                                                                               NFT: ETHERMINATORS


       @        Ox691cf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000 La            IN     tankbonoms.eth    r9         ERC-721     ■          CSM#1475
                                                                                                                                                               NFT: ETHERMINATORS



       @        Ox691cf702b31033d81 ...     455 days 4 hrs ago      Null: Ox000...000     [9        IN     tankbon oms.eth   c9         ERC-721     a          CSM#1479
                                                                                                                                                               NFT: ETHERMINATORS


       @        Ox691cf702b31033d81 ..      455 days 4 hrs ago      Null: Ox000...000     [9        IN     tankbonoms.eth    r9         ERC-72I     ■          CSM#1472
                                                                                                                                                               NFT: ETHERMINATORS


                                                                                                                                                    •          #3184
        @       Oxf6bb8fa2el bf 5b7a3 ...   455 days 11 hrs ago     OxE7163C...bD11 56Fe       [9   IN     tankbonoms.eth    c9         ERC-721
                                                                                                                                                               Basic Bored Ape Club


       @        Ox3459f42a 5163c8502 ...    455 days 11 hrs ago     jiaxi.eth La                           tankbonoms.eth    r9         ERC-721     II         #4204
                                                                                                                                                               Basic Bored Ape Club



                                                                                                                                        ERC-721
                                                                                                                                                    •          Galaktic Guy #2955
       @        Ox8c 7e8afa958ee108d...     464 days 27 mins a go       tankbottoms.eth   La        OUT   Ox1561 c3 ...D257e5a3 La
                                                                                                                                                               Galaktic Gang 0


        @       Oxc8f0cd27ca0612cce ...     464 days 28 mins ago        tankbottoms.eth   r9        OUT   Oxl 561c3 ...D257e5a3 L□      ERC-11 55
                                                                                                                                                        --..   25 BURRITHOE
                                                                                                                                                               OpenSea Shared Storefront 0


        @       Ox91 f83a57f49405ae5...     464 days 28 mins ago        tankbottoms.eth   r9        OUT   Oxl 561c3 ...D257e5a3   r9    ERC-721
                                                                                                                                                    u          Deathbat #4793
                                                                                                                                                               Oeathbats Club 0




                                                                                                                                                    ~
                                                                                                                                                               United Punks Union #3529
       @        Oxc3f58c90caa086e4e...      464 days 29 mins ago        tankbottoms.eth   L□        our   Ox1561c3...D257e5a3 L□        ERC-721
                                                                                                                                                               NFT: UnitedPunksUnion


                                                                                                                                                               CryptoKittie s#l 662655
        @       Oxba0ef93dbf3ff1 f545...    466 days 9 hrs ago      0    OxaCS87a ... 1D1d3142 La   IN     tankbottoms.eth   r9         ERC-721         (@     CryptoKitties 0

                                                                                                                                                                 PLAINTIFF0001398
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      @      Ox09b8d376554f508b...      466 days 9 hrs ago       0    OxaC587a...1D1d3142 LD           tankbonoms.eth         r9    ERC-721
                                                                                                                                                   :_..
                                                                                                                                                          ~
                                                                                                                                                              CryptoKitties 0


                                                                                                                                               •              Galaktic Guy #2955
      @      Ox70774653e99b05d2...      475 days 14 hrs ago      Null: Ox000...000     r9       IN     tankbonoms.eth         r9    ERC-72"I
                                                                                                                                                              Galaktic Gang 0


                                                                                                                                               -              Galaktic Guy #2957
      @      Ox70774653e99b05d2...      475 days 14 hrs ago      Null: Ox000...000 LD           IN     tankbonoms.eth         r9    ERC-72"I
                                                                                                                                                              Galaktlc Gang 0


                                                                                                                                               •              Galaktic Guy #2956
      @      Ox70774653e99b05d2...      475 days 14 hrs ago      Null: Ox000...000     @        IN     tankbottoms.eth        r9    ERC-721
                                                                                                                                                              Galaktic Gang 0


                                                                                                                                                              Galaktic Guy #2958
      @      Ox70774653e99b05d2...      475 days 14 hrs ago      Null: Ox000...000     @        IN     tankbottoms.eth        c9    ERC-721
                                                                                                                                                              Galaktic Gang 0


                                                                                                                                               •              Galaktic Guy #2959
      @      Ox70774653e99b05d2...      475 days 14 hrs ago      Null: Ox000...000     @               tankbottoms.eth        c9    ERC-721
                                                                                                                                                              Galaktic Gang 0


      @      Ox84524729f39709b4...      478 days 16 hrs ago      Null: Ox000...000 LO           IN     tankbottoms.eth        r9    ERC-721    II             Deathbat #4792
                                                                                                                                                              Deathbats Club 0



      @      Ox84524729f39709b4...      478 days 16 hrs ago      Null: Ox000...000 LD           IN     tankbottoms.eth        c9    ERC-721    a              Deathbat #4793
                                                                                                                                                              Deathbats Club 0


      @      Ox04cbb92a21 cd526f1 ...   479 days 22 hrs ago          tankbottoms.eth   L□       OUT   gordo.eth   r9                ERC-721
                                                                                                                                               II             Deathbat #2562
                                                                                                                                                              Deathbats Club 0


                                                                                                                                               •              Deathbat #2562
      @      Ox974bcbb0e531 f02bb ...   480 days 40 mins ago     Null: Ox000...000 LD           IN     tankbonoms.eth         c9    ERC-721
                                                                                                                                                              Deathbats Club 0


      @      Ox26bb8759d434e5db...      480 days 15 hrs ago          tankbottoms.eth   LD       OUT   meowsdao.eth       c9         ERC-1155

                                                                                                                                               -              Silver Card
                                                                                                                                                              NFT: Gallery Membership ...




                                                                                                                                               ..
                                                                                                                                                              25 HOE BIDEN
      @      Oxd7493015848eb434...      484 days 5 hrs ago           tankbottoms.eth   LD       OUT   gordo.eth LD                  ERC-1155
                                                                                                                                               ft             Opensea Shared Storefront 0


                                                                                                                                                              Silver Card
      @      Ox0bd2440ab6cc521 a ...    485 days 8 hrs ago       kimbab999.wallet LD            IN     tankbottoms.eth        (9    ERC-1155
                                                                                                                                                              NFT: Gallery Membership ..


                                                                                                                                               -              Trusted Seed Commons ..
      @      Ox32010385d02fcc724...     487 days 17 hrs ago      Null: Ox000...000     @        IN     tankbottoms.eth        c9    ERC-721
                                                                                                                                                              POAP 0


                                                                                                                                                              Washington #7354
      @      Ox885e63199ad3a8b4...      505 days 19 hrs ago      0    Oxf6cf31 ...7E6809C6 LO          tankbottoms.eth        c9    ERC-721
                                                                                                                                                              WeMint Washington 0



      @      Oxfa345b4e8ec2172ef...     505 days 20 hrs ago      Ox74 5721...2453Fb15 Lo        IN     tankbottoms.eth        r9    ERC-721
                                                                                                                                               II             PartyDegenerates#8202
                                                                                                                                                              PartyDegenerates

                                                                                                                                                                PLAINTIFF0001399
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       0      Transaction Info           Age                      From                                    To                          Type        Item


                                                                                                                                                          NFT: Meows(DAO) Genes...
       @      Oxb5359db3fc6af0d1 7...    522 days 6 hrs ago       Null: oxooo...ooo   Lo            IN     tankbottoms.eth   c9        ERC-721
                                                                                                                                                          NFT: Meows(DAO) Genesi...


                                                                                                                                                          NFT: Doggos (for DOG 0 ...
       @      Ox29800ca96ed6c17b...      531 days 1 hr ago        Null: Ox000...000   [9                   tankbottoms.eth   c9        ERC-721
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       @      OxeOdfl 4b3cl 4775770 ..   539 days 10 mins ago     Ox84Aec8 ...6F7523a5         r9   IN     tankbottoms.eth   c9        ERC-1155   ■       51GLHOE
                                                                                                                                                          OpenSea Shared St orefront   0

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       @      Ox2aefceb148f0a2448 ...    546 days 55 mins ago     OxBCC45D... 599780c5         [9   IN     tankbottoms.eth   c9        ERC-1155
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                                                                                                                                                          Washington #8766
       @      Oxe971 bbc84cc4b2f7b...    546 days 10 hrs ago        tankbottoms.eth      r9         0VT   @ Ox1920B6...D747b1a2 c_O    ERC-721
                                                                                                                                                          WeMint Washington 0


                                                                                                                                                          Washingt on #8766
       @      Ox24715369b9fee7419 ...    546 days 10 hrs ago      Ox768c54... 91078cFe         r9   IN     tankbottoms.eth   c9        ERC-721
                                                                                                                                                          WeMint Washington 0


                                                                                                                                                          Washington #7354
       @      Ox6fac3144f8f979ea3 ...    546 days 11 hrs ago        tankbottoms.eth      c_O        0VT   ® Oxf6cf31...7E6B09C6 LO     ERC-721
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                                                                                                                                                          Washington #7354
       @      Oxa5a34cd72ba7e222...      546 days 11 hrs ago      al bino-peacock.et h    r9        IN     tankbottoms.eth   (9        ERC-721
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     A total of 3,318 records found                                                                                                                      First      <    Page 34 of 34       >   Last



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                                                                                                                                                      ■          whiskersdao.eth
      @        Ox21cd7cc4a6674bd0 ...         550 days 12 hrs ago    tankbottoms.eth     c□              OUT    OxCF8682...0dcb5955 c□    ERC-727
                                                                                                                                                                 Ethereum Name Service 0


                                                                                                                                                                 whiskersdao.eth
      @        Oxc9836967b20aa0e1..           550 days 16 hrs ago   0   ENS: ETH Registrar Co..     LD   11\1    tankbonoms.eth    c□     ERC-721
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                                                                                                                                                                 2BAMIGHOES
      @        Ox28f0486e1de836f3B...         561 days 21 hrs ago   Ox84Aec8._6F7523a5 c□                11\1    tankbonoms.eth    c□     ERC-1155
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      @        Ox3fb12b6915209922c...         562 days 22 hrs ago   OxB4AecB...6F7523a5 c□               11\1    tankbonoms.eth    c□     ERC-1155
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      @        Ox48e825266b19d9ca ...         563 days 22 hrs ago   OxB4AecB...6F7523a5 c□               11\1    tankbonoms.eth    cD     ERC-1155
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      @        Oxl 00b7e41 e5746df9b ...      564 days 20 hrs ago   OxB4AecB... 6F7523a5 c□              11\1    tankbottoms.eth   c9     ERC·l 155
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      @        Oxfc3c31 e9e45416963...        566 days 4 hrs ago    OxB4AecB... 6F7523a5                 11\1    tankbottoms.eth          ERC-1155
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      @        Ox07 49645716e22cbdL           569 days 11 hrs ago   Null: Ox000...000    cD              11\1    tankbottoms.eth   c9     ERC-721      (@)       NFT: UnitedPunksUnion


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      @        Ox0749645716e22cbdL            569 days 11 hrs ago   Null: Ox000 ...000 (9                11\1    tankbottoms.eth   c9     ERC-721      (@)       NFT: UnitedPunksUnion


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      @        Ox0749645716e22cbdL            569 days 11 hrs ago   Null: Ox000 ...000   cD              11\1    tankbottoms.eth   c9     ERC-721      (@)       NFT: UnitedPunksUnion


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      @        Ox0749645716e22cbdf...         569 days 11 hrs ago   Null: oxooo_ ooo c□                  11\1    tankbonoms.eth    LD     ERC-721
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                                                                                                                                                                 NFT: UnitedPunksUnion#...
      @        Ox0749645716e22cbdf...         569 days 11 hrs ago   Null: oxooo._ooo     Lo              11\1    tankbonoms.eth    L□     ERC-721      (@)       NFT: UnitedPllnksUnion


      @        Oxfbc26b0cf196550c1 ...        583 days 14 hrs ago   0   ENS: ETH Registrar Co ...   LD   11\1    tankbonoms.eth    c:9    ERC-721                atsignhandle.eth
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             0x90dc980294a36715...       602 days 16 hrs ago     Null· 0x000...000 [,D   IN    tankbottoms.eth     ERC-721
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             0xea570eb916ec83fae...      602 days 16 hrs ago     Null: 0x000...000 [,D   IN    tankbottoms.et h    ERC-721
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   0   tankbottoms.eth ©                                                                                                                                                                                                                                                                           *     Mor@ v



       Overview                                                                                                    Morel·n fo                                                                                                  Multi Chain

       ETH BALANCE                                                                                                 PRIVATE NAME TAGS                                                                                           MULTICHAIN ADDRESSES
     ♦   l .000866563619795418 ETH                                                                                                                                                                                             9 addresses found Via Block,can 0
                                                                                                                        +Add

       ETH 1/ALUE                                                                                                  LAST TXN SENT
       $1,875.79 (@$1,87417/ETH)                                                                                   0xo4ee4cf3823fb.. from 14 days 37 mlns ago

     TOKEN HOLDINGS                                                                                                FIRST TXN SENT

         $4,095.51 (>172 Tokeos)                                                                        E!i        Oxd7c37add39fb9 .. from 6 10 days 42 mins ago




   Transactions             Internal Transactions           Token Transfers (ERC-20)   NFTTransfer~                  Comments



                                    Transactions        TxnFees      Ether Transfers   TokenTransfets     Txn Heatmap



       Time Series: Ether Balance                                                                                                                                                                                                                                          Tue 3, Aug 2021 • Wed 22, Mar 2 023


       e ETH Highest Balance                                                               e ETH l owest Balance                                                        ■ USO Highest Value                                                          ■ USO Lowest Value
       On Mon 26. Sept 2022                                                                On Wed 11. Aug 2021                                                          On Mon 26. Sepl 2022                                                         On Wed 11, AUg 2021
       101 .18188479364096 ETH                                                             0.003461575944674005 ETH                                                     USO 134,380.67                                                               USO 10.55



                                                                                              Elhet Balance lot 0xlclOlbaEB88412~D827l87240Alcl8 1E!IJU30cl27E
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   O ta.,kbottoma.eth ©                                                                                                                                                                                                                                                                    *     Mor@    v




     Overview                                                                                                              More Info                                                                                         Multi Chain

     ETH BALANCE                                                                                                           PRIVATE NAME TAGS                                                                                 MULTICHAIN ADDRESSES
     ♦   1.000866563619795478 ETH                                                                                              +Add                                                                                          9 address,,s found via Blockscan   0

     ETH VALUE                                                                                                             LAST TXN SENT
     $1,875.79 (@ $1,874 17/ETH)                                                                                           0xa4ee4cf3823fb... from 14 days 37 mins ago

     TOKEN HOLDINGS                                                                                                        FIRST T XN SENT

         $4,095.51 (>172 Tokeos)                                                                                           0xd7c37add39fb9 ... from 610 days 42 mins ago




   Transactions          Internal Transactions       Token Transfers (ERC.20)             NFTTraosfer~       Au lyttc..       Comments



         Ether Balance       Ir m,: m:tnt:        TxnFees               Ether Transfers   TokenTransfets      Txn Heatrnap



     Time Series: Ethereum Transactions                                                                                                                                                                                                                             Tue 3, Aug 2021 • Wed 22, Mar 2023


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   0   tankbottoms.eth ©                                                                                                                                                                                                                                                               *     Mor@    v




       Overview                                                                                                    More Info                                                                                               Multi Chain

       ETH BALANCE                                                                                                 PRIVAT£NAMETAGS                                                                                         MULTICHAIN ADDRESSES
     ♦   1.000866563619795418 ETH                                                                                    +Add                                                                                                  9 address,,s found via Blockscan 0

       ETH VALUE                                                                                                   LASTTXN SENT
       $1,875.79 (@ $1,874 17/ETH)                                                                                 Oxa4ee4cf3823fb.. from 14 days 37 mlns ago

     TOKEN HOLDINGS                                                                                                FIRST TXN SENT

         $4,095.51 (>172 Tokeos)                                                                                   Oxd7c37add39fb9 .. from 610 days 42 mins ago




   Trans-actions         Internal Transactions    Token Transfers (ERC-20)       NFTTransfer~        Au lytl~       Comments



         Ether Balance       Transactions                  EtherTransfers       TokenTransfets        Txn Heatrnap



       Time Series: Ether Transaction Fees Spent and Used                                                                                                                                                                                                       Tue 3, Aug 2021 • Wed 22, Mar 2023


       e Total Fees Speflt (As a Sender)                                                                                                                           •    Tot al Fees Used (As a recipieflt)
       13.341340981847925314 Eth                                                                                                                                   0.122719720535055000 Eth
       USO 33,287.37 (Adjusted) I USO 24,943.10 (Current)                                                                                                          USO 335.73 (Adjusted) I USO 229.44 (Current)


                                                                                     Ether Tr.1nsac1loo rees fot OxSd9Sba[B884 I 2AD827287l40AS.c2S 1E.3bB30d27E
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  V: A wal~t adc:ress is a publlcl)' available address that allows its owner to recetve funds from anolherpart)'. To access the funds In an address, you muS1 have lls private key. Learn more aboot addresses in our Kr1owledge B.a.se.




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   0   tankbottoms.eth ©                                                                                                                                                                                                                                                                       *     Mor@    v




       Overview                                                                                                 More Info                                                                                                         Multi Chain

       ETH BALANCE                                                                                              PRIVATE"NAMETAGS                                                                                                  MULTICHAIN ADDRESSES
    ♦   l .000866563619795418 ETH                                                                                  +Add                                                                                                           9 address<es found Via Bl ockscan 0

       ETH VALUE                                                                                                LASTTXN SENT
       $1,875.79 (@ $1,874 17/ETH)                                                                              0xa4ee4cf3823fb.. from 14 days 37 mlns ago

    TOKEN HOLDINGS                                                                                              FIRST TXN SENT

        $4,095.51 (>172 Tokeos)                                                                   E!i           0xd7c37add39fb9 .. from 610 days 42 mins ago




   Transactions         Internal Transactions      Token Transfers (ERC-20)      NFTTransfer~                     Comments




        Ether Balance       Transactions        TxnFees                         TokenTransfes        Txn Heatmap



       Time Series: Ether Transfers                                                                                                                                                                                                                                     Tue 3, Aug 2021 • Wed 22, Mar 2023


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  ~ A wal~t adckess is a publicly aVa1lable acktess that allcr.'ls its owner to receive funds from another party, To access the funds 1n an address. you must have its private key. Learn more abOllt addre>Ses ill our t<nowledrwe 88'3e




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     Overview                                                                                                      More Info                                                                                              Multi Chain

     ETH BALANCE                                                                                                   PRIVATE NAME TAGS                                                                                      MULTICHAIN ADDRESSES

     ♦   1.000866563619795418 ETH                                                                                    +Add                                                                                                 9 address,,s found via Blockscan 0

     ETH VALUE                                                                                                     LAST TXN SENT
     $1,875.79 (@ $1,874 17/ETH)                                                                                   0xa4ee4cf3823fb... from 14 days 37 mins ago

     TOKEN HOLDINGS                                                                                                FI RST T XN SENT

         $4,095.51 (>172Tokens)                                                                    15              0xd7c37add39fb9 ... from 610 days 42 mins ago




   Transactions            Internal Transactions      Token Transfers (ERC.20)    NFTTransfers      Au lyttc;-..    Comments



         Ether Balance         Transactions        TxnFees     Ether Transfers                       Txn Heatrnap



     Time Series: Address Token (ERC20) Transfe,s                                                                                                                                                                                                               Tue 3, Aug 2021 • Sat 4, Mar 2023


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  V: A wallet adc:ress is a publicly avallable adaes.s tha1 allows its owner to recetve funds from anolherparty, To access the funds In an address. you musl have its prlvc1te key. Learn more about addresses in our Kr1owledge 83s~




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       Overview                                                                                                   More Info                                                                                                  Multi Chain

          ETH BALANCE                                                                                             PRWATENAME TAGS                                                                                            MULTICHAIN ADDRESSES
       ♦   1.000866563619795418 ETH                                                                                  +Add                                                                                                    9 addresses found Via Block,can 0

          ETH VALUE                                                                                               LAST Tl<N SENT
          $1,875.79 (@$1,87417/ETH)                                                                               0xa4ee4d3823fb.. from 14 days. 37 mlns ago
       TOKEN HOLDINGS                                                                                             FIRST Tl<N SENT

           $4,095.51 (>ln Tokeos)                                                                     15          0xd7c37add39lb9 , from 610 days 42 mins ago




      Transactions         Internal Transactions        Token T ransfers (ERC·20)   NFT Transfer~      ·1.I\TII    Comments



           Ether Balance       Transactions         T-xnf ees    Ether Transfers    TokenT ransfets



          Ethereum Txn Heatmap                                                                                                                                                                                                                                   Sun 1, May 2022· Sun 30, Apr 2023


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  V- A wallet adct·ess is a publicly available adaes.s thal allow.sits owner to rece.!Ve funds from anolhe<party, To access the funds ~, an address. you must have 11.s pn""V,ate key   Leam m«e aboot addresses in ourJ<r1owle(j9e S.as1=




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Case 1:23-cv-20727-RKA Document 106-30 Entered on FLSD Docket 06/09/2023 Page 400
                                     of 401




                       Comments




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        Overview                                                                             More Info                                                                              Multi Chain

        ETH BALANCE                                                                          PR IVATE NAME TAGS                                                                     MULTICHAIN ADDRESSES
        t   1.000800553519795418 ETH                                                             +Add                                                                               9 addresses found via Blockscan         ~


        ETH VALUE                                                                            LAST TXN SENT
        $1,875.79 (@ $1,874.17/ETH)                                                          0xa4ee4cf3823fb_. from 14 days 37 mins ago

        TOKEN HOLDINGS                                                                       FIRST TXN SENT

            $4,096.51 (>172 Tokens)                                      V     15            0xd7c37add39fb9 ... from 610 days 42 mins ago




       Transactions       Internal Transactions     Token Transfers (ERC-20)     NFT Transfers        Analytics    Ct;,m11c.1




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             v t11111::1n\9 or tt,ls Hm"•



         OComments                                                                                                                                                                                                                              8      Login•



                      Share                                                                                                                                                                                                            Best   Newest    Oldest




                                                                                                                  This discussion has been closeo



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   ;Q'.- A wallet address i s a publicly available address that allows It s owner to receive funds from another party. To access the funds in an address, you must have its private key Learn more about addresses In our Knowledge Base.




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https://etherscan.io/address/0x5d95baEBB8412AD827287240A5c281 E3b830d27E#commenls                                                                                                                                                                                    1/1
